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         ORDERED in the Southern District of Florida on July 14, 2023.



                                                                          Peter D. Russin, Judge
                                                                          United States Bankruptcy Court
_____________________________________________________________________________




                                         UNITED STATES BANKRUPTCY COURT
                                          SOUTHERN DISTRICT OF FLORIDA
                                            FORT LAUDERDALE DIVISION
                                                 www.flsb.uscourts.gov

             In re:                                                           Chapter 11 Cases

             VITAL PHARMACEUTICALS, INC., et al.,                             Case No.: 22-17842-PDR

                      Debtors.1                                               (Jointly Administered)
                                                                   /

                AMENDED ORDER (I) AUTHORIZING AND APPROVING (A) THE SALE OF
                 SUBSTANTIALLY ALL OF THE DEBTORS’ ASSETS FREE AND CLEAR
               OF ALL LIENS, CLAIMS, AND ENCUMBRANCES AND (B) THE ASSUMPTION
              AND ASSIGNMENT OF CERTAIN EXECUTORY CONTRACTS AND UNEXPIRED
             LEASES IN CONNECTION THEREWITH, AND (II) GRANTING RELATED RELIEF
                               (Amends ECF No. 1654 to correct Exhibit B)



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               The address of the Debtors is 1600 N. Park Drive, Weston, FL 33326. The last four digits of the Debtors’ federal
               tax identification numbers are: (i) Vital Pharmaceuticals, Inc. (“Vital Pharmaceuticals”) (8430); (ii) Bang Energy
               Canada, Inc. (5454); (iii) JHO Intellectual Property Holdings, LLC (0010); (iv) JHO Real Estate Investment, LLC
               (9394); (v) Quash Seltzer, LLC (“Quash Seltzer”) (6501); (vi) Rainbow Unicorn Bev LLC (2254); and (vii) Vital
               Pharmaceuticals International Sales, Inc. (8019).


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Protections, and (III) Granting Related Relief>(&)1R@ WKH³%LGGLQJ3URFHGXUHV2UGHU´ 

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     6XFK REMHFWLRQV LQFOXGH WKH Limited Objection of Creditor ThermoLife International, LLC to Second Revised
       Proposed Sale Order [ECF No. 1628]>(&)1R@

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that May be Assumed and Assigned in Connection with a Sale of the Debtors’ Assets and (II) the

Proposed Cure Costs with Respect Thereto >(&) 1R @ LL  Supplemental Notice of

(I) Executory Contracts and Unexpired Leases that May be Assumed and Assigned in Connection

with a Sale of the Debtors’ Assets and (II) the Proposed Cure Costs with Respect Thereto>(&)

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May be Assumed and Assigned in Connection with a Sale of the Debtors’ Assets and (II) the

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of (I) Executory Contracts and Unexpired Leases that May be Assumed and Assigned in

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            +      7KH'HEWRUVVHUYHGWKH L Notice of Auction Cancellation and Successful Bidder

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     7KH³)LQDO',32UGHU´PHDQVWKHFinal Order (I) Approving Postpetition Financing, (II) Authorizing Use Of
       Cash Collateral, (III) Granting Liens and Providing Superpriority Administrative Expense Status, (IV) Granting
       Adequate Protection, (V) Modifying Automatic Stay, and (VI) Granting Related ReliefHQWHUHGRQ-DQXDU\
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ZLWKWKH%X\HU¶VWLWOHWRRUXVHDQGHQMR\PHQWRIWKH3XUFKDVHG$VVHWVEDVHGRQRUUHODWHGWRVXFK

,QWHUHVWLQFOXGLQJEXWQRWOLPLWHGWRILOLQJRUSURVHFXWLQJDQ\DFWLRQDJDLQVWWKH'HEWRUVRU%X\HU

LQFOXGLQJEXWQRWOLPLWHGWRIRUVSHFLILFSHUIRUPDQFHRULQMXQFWLYHUHOLHIUHODWLQJWRWKH3XUFKDVHG

$VVHWVLQDQ\ZD\

                7KHWUDQVIHURIWKH3XUFKDVHG$VVHWVWRWKH%X\HUSXUVXDQWWRWKH$VVHW3XUFKDVH

$JUHHPHQW DQG WKH RWKHU 7UDQVDFWLRQ 'RFXPHQWV GRHV QRW UHTXLUH DQ\ FRQVHQWV RWKHU WKDQ

VSHFLILFDOO\SURYLGHGIRULQWKH$VVHW3XUFKDVH$JUHHPHQWRUDVRWKHUZLVHSURYLGHGIRUKHUHLQ

                8SRQFRQVXPPDWLRQRIWKH6DOHDQGWKH&ORVLQJ'DWHRWKHUWKDQZLWKUHVSHFWWR

SD\PHQWRI&XUH&RVWVDOOFDVKSURFHHGVRIWKH6DOH WKH³6DOH3URFHHGV´ ZLOOEHDSSOLHGLQWKH

IROORZLQJRUGHU

              L   FirstSXUVXDQWWRWKH&RXUW¶V$SULOOrder Conditionally Denying Joint

                    Motion For Relief From The Automatic Stay To Continue Action In Non-

                    Bankruptcy Forum>(&)1R@VXEMHFWWRWKHWHUPVVHWIRUWKLQSDUDJUDSKRI

                    WKLV 6DOH 2UGHU  PLOOLRQ RXW RI WKH 6DOH 3URFHHGV WKH ³$VVHUWHG /LHQ

                    $PRXQW´  WR VDWLVI\ DQG UHOHDVH LQ IXOO WKH OLHQV DQG FODLPV RI PHFKDQLFV

                    UHSDLUPHQZRUNPHQVXSSOLHUVRUPDWHULDOPHQOLHQV WKH³$VVHUWHG/LHQV´ DVVHW

                    IRUWKLQ6HFWLRQ F RIWKH$VVHW3XUFKDVH$JUHHPHQWDQGLQLWLDOO\GHSRVLWHGLQWR

                    DVHJUHJDWHGLQWHUHVWEHDULQJDFFRXQW WKH³$VVHUWHG/LHQ(VFURZ$FFRXQW´ LQWKH

                    QDPH RI 'HEWRU 9LWDO 3KDUPDFHXWLFDOV GHEWRU LQ SRVVHVVLRQ WR EH KHOG DQG

                    GLVEXUVHGSXUVXDQWWRWKHWHUPVVHWIRUWKLQSDUDJUDSKRIWKLV6DOH2UGHU




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              LL    Second, DQ DPRXQW RI 6DOH 3URFHHGV HTXDO WR  VKDOO EH VHW DVLGH LQ D

                      VHJUHJDWHGDFFRXQWUHVHUYHGIRUWKHSD\PHQWRIWKH:$51$FWDQGRWKHUHPSOR\HH

                      OLDELOLWLHVGHVFULEHGLQ6HFWLRQ F RIWKH$VVHW3XUFKDVH$JUHHPHQWVXEMHFWLQ

                      DOOUHVSHFWVWRWKHWHUPVWKHUHRI

              LLL   Third, DQDPRXQWRI6DOH3URFHHGVHTXDOWR WRSD\LQIXOODOOSULQFLSDO

                      DQG LQWHUHVW XQGHU WKH ORDQ DJUHHPHQWV ILQDQFLQJ DJUHHPHQWV RU OHDVH

                      DUUDQJHPHQWVZLWKUHVSHFWWRWKHYHKLFOHVWKDWFRQVWLWXWHWKH3XUFKDVHG$VVHWVWR

                      WKH H[WHQW RXWVWDQGLQJ DV RI WKH &ORVLQJ LQ DFFRUGDQFH ZLWK 6HFWLRQ  RI WKH

                      $VVHW3XUFKDVH$JUHHPHQW

              LY    Fourth, DQ DPRXQW RI 6DOH 3URFHHGV HTXDO WR  LQ UHVSHFW RI LWHPV

                      D  E  DQG F  RI WKH &DUYH2XW DV GHILQHG LQ SDUDJUDSK  RI WKH )LQDO ',3

                      2UGHU SOXVDQHVWLPDWHQRWWRH[FHHG LQUHVSHFWRILWHPV G  H DQG I 

                      RIWKH&DUYH2XW VKDOOEHGHHPHGGHSRVLWHGLQWRD&DUYH2XW(VFURZ DVGHILQHG

                      LQSDUDJUDSKRIWKH)LQDO',32UGHU LQIXOODQGFRPSOHWHVDWLVIDFWLRQRIDQ\

                      REOLJDWLRQVLQFRQQHFWLRQZLWKWKH&DUYH2XWDVGHILQHGLQWKH)LQDO',32UGHURU

                      DQ\RWKHUREOLJDWLRQV LIDQ\ RIWKH',3$JHQWWKH',3/HQGHUVWKH3UH3HWLWLRQ

                      $JHQW RU WKH 3UH3HWLWLRQ /HQGHUV HDFK DV GHILQHG LQ WKH )LQDO ',3 2UGHU  LQ

                      UHVSHFW RI SURIHVVLRQDO IHHV DQG H[SHQVHV DQG RWKHU &DUYH2XW REOLJDWLRQV 

                      SD\DEOHLQFRQQHFWLRQZLWKWKHVH&KDSWHU&DVHVDQGZLWKRXWIRUDYRLGDQFHRI

                      GRXEWWKHUHTXLUHPHQWRID&DUYH2XW7HUPLQDWLRQ1RWLFHRUDQ\RWKHUQRWLFHRU

                      DFWLRQ

               Y    Fifth, DQ DPRXQW HTXDO WR WKH VXP RI $   OHVV %  DQ\ XQIXQGHG

                      SRUWLRQRIWKHFRPPLWPHQWVXQGHUWKH',3)DFLOLW\DWVXFKWLPHSOXV & DQDPRXQW



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                     HTXDOWRWKHXQUHLPEXUVHGSURIHVVLRQDOIHHVDQGH[SHQVHVRIWKH',3$JHQWDFFUXHG

                     WKURXJK WKH &ORVLQJ 'DWH OHVV '  DQ DPRXQW HTXDO WR WKH DJJUHJDWH DPRXQW RI

                     LQWHUHVWDFFUXHGLQUHVSHFWRIWKH',3)DFLOLW\WKDWWKH'HEWRUVSD\WRWKH',3$JHQW

                     GXULQJ WKH SHULRG IURP -XQH   WKURXJK WKH &ORVLQJ 'DWH LI DQ\ WR WKH

                     RXWVWDQGLQJREOLJDWLRQVXQGHUWKH',3)DFLOLW\ WREHDSSOLHGLQDFFRUGDQFHZLWK

                     WKH',3)DFLOLW\RUDVRWKHUZLVHGHWHUPLQHGE\WKH$GPLQLVWUDWLYH$JHQWXQGHUWKH

                     ',3 )DFLOLW\ DQG RWKHUZLVH SHUPLWWHG XQGHU DSSOLFDEOH ODZ WKH ³',3 3DUWLDO

                     3D\RII´ DQG

              YL   Sixth, WKH UHPDLQGHU RI WKH 6DOH 3URFHHGV VKDOO EH GHSRVLWHG LQWR D VHJUHJDWHG

                     LQWHUHVWEHDULQJ DFFRXQW WKH ³6DOH 3URFHHGV $FFRXQW´  WR IXQG H[SHQVHV RI WKH

                     'HEWRUV¶ HVWDWHV LQ WKH RUGLQDU\ FRXUVH RU WR PDNH VXFK RWKHU GLVWULEXWLRQV WR

                     FUHGLWRUVDVPD\EHDXWKRUL]HGE\IXUWKHU&RXUWRUGHU

         5HDVRQDEOHQRWLFHRIDQ\UHTXHVWIRUWKHUHOHDVHRI6DOH3URFHHGVIURPWKH6DOH3URFHHGV

$FFRXQW RU WKH $VVHUWHG /LHQ (VFURZ $FFRXQW VKDOO EH ILOHG ZLWK WKLV &RXUW DQG JLYHQ WR WKH

'HEWRUVDQGDOOSDUWLHVLQLQWHUHVWDVVHUWLQJD&ODLPWRRU,QWHUHVWLQWKH6DOH3URFHHGVDQGWKH

ULJKWVRIWKH'HEWRUVDQGDOOSDUWLHVLQLQWHUHVWWRREMHFWWRWKHUHOHDVHRIDOORUDQ\SDUWRIWKH6DOH

3URFHHGVIURPWKH6DOH3URFHHGV$FFRXQWRUWKH$VVHUWHG/LHQ(VFURZ$FFRXQWLVKHUHE\IXOO\

SUHVHUYHG$OO&ODLPVDQG,QWHUHVWVZLOODWWDFKWRWKH6DOH3URFHHGVWRWKHVDPHH[WHQWDQGZLWK

WKHVDPHSULRULW\DVH[LVWHGLPPHGLDWHO\SULRUWRFRQVXPPDWLRQRIWKH6DOHVXEMHFWWRDQ\FODLPV

GHIHQVHVDQGREMHFWLRQVLIDQ\WKDWWKH'HEWRUVWKHLUHVWDWHVRUDQ\RWKHUSDUW\LQLQWHUHVWPD\

SRVVHVVZLWKUHVSHFWWKHUHWRprovidedthatWKHIRUHJRLQJGRHVQRWDOWHURULPSDLUDQ\SDUWLHV¶ULJKWV

SURYLGHGXQGHUWKH)LQDO',32UGHU H[FHSWDVVSHFLILFDOO\SURYLGHGDERYH 




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WKHFRQWUDU\6DOH3URFHHGVLQDQDPRXQWHTXDOWRWKH$VVHUWHG/LHQ$PRXQWLQDQGRQWKH2ZQHG

5HDO3URSHUW\RQO\VKDOOEHSODFHGLQWKH$VVHUWHG/LHQ(VFURZ$FFRXQWDVVRRQDVUHDVRQDEO\

SUDFWLFDEOHDIWHUUHFHLSWRIWKH6DOH3URFHHGVDQGVKDOOUHPDLQLQWKH$VVHUWHG/LHQ(VFURZ$FFRXQW

SHQGLQJ IXUWKHU RUGHU RI WKH &RXUW RU DJUHHPHQW EHWZHHQ WKH 'HEWRUV DQG 6WHOODU *URXS ,QF

    ³6WHOODU´  )DLWK 7HFKQRORJLHV ,QFRUSRUDWHG DQG &0 %XLOGHUV ,QF GED ,QWHJUDWHG 0DVRQU\

DFWLQJRQWKHLURZQEHKDOIDQGRQEHKDOIRIQRRWKHUSDUW\provided thatRQRUEHIRUH-XO\

 6WHOODU VKDOO GHOLYHU WR WKH 'HEWRUV DQ DQDO\VLV RI ZKDW6WHOODU EHOLHYHV DUH WKH YDOLG DQG

SHUIHFWHGOLHQVXSRQWKH2ZQHG5HDO3URSHUW\DQGLQDQDPRXQW6WHOODUEHOLHYHVLVQHFHVVDU\WR

VDWLVI\WKH$VVHUWHG/LHQV WKH³)LQDO$VVHUWHG/LHQ$PRXQW´ provided, howeverWKDWLQQRHYHQW

VKDOOWKH'HEWRUV RUDQ\SDUW\ EHUHTXLUHGWRSD\DQ\DPRXQWVLQH[FHVVRIWKH$VVHUWHG/LHQ

$PRXQWZKLFKDPRXQWVKDOOIXOO\DQGILQDOO\UHVROYHDQGUHOHDVHDOOOLHQVDQGFODLPVRIPHFKDQLFV

UHSDLUPHQZRUNPHQVXSSOLHUVRUPDWHULDOPHQOLHQVZLWKUHVSHFWWRWKH$VVHUWHG/LHQVprovided

further, thatWKH'HEWRUVDQG6WHOODUVKDOOZRUNLQJRRGIDLWKWRUHVROYHDQ\GLVSXWHVDVWRWKH)LQDO

$VVHUWHG/LHQ$PRXQW7KH2ZQHG5HDO3URSHUW\WUDQVIHUUHGWRWKH%X\HUSXUVXDQWWRWKH6DOH

WKDWLVVXEMHFWWRWKH$VVHUWHG/LHQVVKDOOSDVVIUHHDQGFOHDURIDOO,QWHUHVWVQRWZLWKVWDQGLQJWKH

$VVHUWHG/LHQVLQFRQVLGHUDWLRQRIWKHSD\PHQWSURYLGHGLQSDUDJUDSK L RIWKLV6DOH2UGHU)RU

WKHDYRLGDQFHRIGRXEWWRWKHH[WHQWWKDWWKH$VVHUWHG/LHQVDUHGHHPHGYDOLGE\RUGHURIWKH&RXUW

RUDJUHHPHQWEHWZHHQWKH'HEWRUV6WHOODURUDQ\RWKHUKROGHURIDQ$VVHUWHG/LHQVXFKOLHQVVKDOO

DWWDFKVROHO\WRWKHIXQGVLQWKH$VVHUWHG/LHQ(VFURZ$FFRXQW)RUWKHDYRLGDQFHRIGRXEWLIWKH

)LQDO $VVHUWHG /LHQ $PRXQW DV GHWHUPLQHG E\ WKH &RXUW LQ WKH HYHQW WKDW HLWKHU WKH 'HEWRUV

6WHOODU RU DQ\ RWKHU KROGHU RI DQ $VVHUWHG /LHQ FDQQRW UHDFK DQ DJUHHPHQW  LV OHVV WKDQ WKH

$VVHUWHG /LHQ $PRXQW WKH 'HEWRUV VKDOO EH HQWLWOHG WR UHOHDVH RI IXQGV LQ H[FHVV RI WKH )LQDO



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$VVHUWHG/LHQ$PRXQWVRGHWHUPLQHGKHOGLQWKH$VVHUWHG/LHQ(VFURZ$FFRXQWZKLFKIXQGVVKDOO

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DQGDOOSXUSRVHVDIXOODQGFRPSOHWHJHQHUDODVVLJQPHQWFRQYH\DQFHDQGWUDQVIHUWRWKH%X\HURI

WKH3XUFKDVHG$VVHWVDQGWKH'HEWRUV¶LQWHUHVWVLQWKH3XUFKDVHG$VVHWV DFTXLUHGE\WKH%X\HU

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VKDOOKDYHEHHQXQFRQGLWLRQDOO\UHOHDVHGGLVFKDUJHGDQGWHUPLQDWHGWRWKHIXOOHVWH[WHQWSHUPLWWHG

E\DSSOLFDEOHODZDQGWKDWWKHFRQYH\DQFHVGHVFULEHGKHUHLQKDYHEHHQHIIHFWHG

               7KLV 6DOH 2UGHU LV DQG VKDOO EH ELQGLQJ XSRQ DQG JRYHUQ WKH DFWV RI DOO 3HUVRQV

    LQFOXGLQJ ZLWKRXW OLPLWDWLRQ DOO ILOLQJ DJHQWV ILOLQJ RIILFHUV WLWOH DJHQWV WLWOH FRPSDQLHV

UHFRUGHUV RI PRUWJDJHV UHFRUGHUV RI GHHGV UHJLVWUDUV RI GHHGV DGPLQLVWUDWLYH DJHQFLHV

JRYHUQPHQWDOGHSDUWPHQWVVHFUHWDULHVRIVWDWHDQGIHGHUDOVWDWHDQGORFDORIILFLDOV ZKRPD\EH

UHTXLUHG E\ RSHUDWLRQ RI ODZ WKH GXWLHV RI WKHLU RIILFH RU FRQWUDFW WR DFFHSW ILOH UHJLVWHU RU

RWKHUZLVHUHFRUGRUUHOHDVHDQ\GRFXPHQWVRULQVWUXPHQWVRUZKRPD\EHUHTXLUHGWRUHSRUWRU

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DQGWHUPLQDWHDQ\RIWKH,QWHUHVWVRUWRRWKHUZLVHFRQVXPPDWHWKH7UDQVDFWLRQFRQWHPSODWHGE\

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3URSHUW\/HDVHVWRWKH%X\HUIUHHDQGFOHDURIDOO,QWHUHVWV H[FHSWDVH[SUHVVO\VHWIRUWKLQWKH

$VVHW 3XUFKDVH $JUHHPHQW ZLWK UHVSHFW WR 3HUPLWWHG (QFXPEUDQFHV DQG $VVXPHG /LDELOLWLHV 

7KHSD\PHQWRIWKHDSSOLFDEOH&XUH&RVWV LIDQ\ RU²ZLWKUHVSHFWWRDQ\GLVSXWHG&XUH&RVWV²

WKHUHVHUYDWLRQE\WKH'HEWRUV RUWKH%X\HURQEHKDOIRIWKH'HEWRUV RIDQDPRXQWRIFDVKWKDWLV

HTXDOWRWKHOHVVHURI L WKHDPRXQWRIDQ\FXUHRURWKHUFRPSHQVDWLRQDVVHUWHGE\WKHDSSOLFDEOH

FRXQWHUSDUW\ WR VXFK $VVXPHG $JUHHPHQW RU $VVXPHG 5HDO 3URSHUW\ /HDVH DV UHTXLUHG XQGHU

VHFWLRQRIWKH%DQNUXSWF\&RGHRU LL WKHDPRXQWDSSURYHGE\RUGHURIWKLV&RXUWWRUHVHUYH

IRUVXFKSD\PHQW VXFKOHVVHUDPRXQWWKH³$OOHJHG&XUH&ODLP´ VKDOOSXUVXDQWWRVHFWLRQ

RIWKH%DQNUXSWF\&RGHDQGRWKHUDSSOLFDEOHODZ D HIIHFWDFXUHRUSURYLGHDGHTXDWHDVVXUDQFH

RIFXUHRIDOOGHIDXOWVH[LVWLQJWKHUHXQGHUDVRIWKH&ORVLQJ'DWHDQG E FRPSHQVDWHRUSURYLGH

DGHTXDWH DVVXUDQFH RI FRPSHQVDWLRQ IRU DQ\ DFWXDO SHFXQLDU\ ORVV WR VXFK QRQ'HEWRU SDUW\

UHVXOWLQJIURPVXFKGHIDXOW$FFRUGLQJO\RQDQGDVRIWKH&ORVLQJ'DWHRWKHUWKDQVXFKSD\PHQW

RUUHVHUYDWLRQQHLWKHUWKH'HEWRUVQRUWKH%X\HUVKDOOKDYHDQ\IXUWKHUOLDELOLWLHVRUREOLJDWLRQVWR

WKHQRQ'HEWRUFRXQWHUSDUWLHVWRWKH$VVXPHG$JUHHPHQWV DQG$VVXPHG5HDO3URSHUW\/HDVHV

ZLWKUHVSHFWWRDQGWKHQRQ'HEWRUFRXQWHUSDUWLHVWRWKH$VVXPHG$JUHHPHQWVDQG$VVXPHG5HDO

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DGGLWLRQDODPRXQWVRU&ODLPVWKDWDURVHDFFUXHGRUZHUHLQFXUUHGDWDQ\WLPHRQRUSULRUWRWKH

&ORVLQJ 'DWH RQ DFFRXQW RI WKH 'HEWRUV¶ FXUH RU FRPSHQVDWLRQ REOLJDWLRQV DULVLQJ XQGHU

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$VVHW3XUFKDVH$JUHHPHQWRUWKLV6DOH2UGHUIURPDQGDIWHUWKHDVVXPSWLRQDQGDVVLJQPHQWRI

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FRPSO\ZLWKWKHWHUPVRIHDFK$VVXPHG$JUHHPHQWDQG$VVXPHG5HDO3URSHUW\/HDVH7KH%X\HU

KDVSURYLGHGDGHTXDWHDVVXUDQFHRIIXWXUHSHUIRUPDQFHXQGHUWKHUHOHYDQW$VVXPHG$JUHHPHQWV

DQG$VVXPHG5HDO3URSHUW\/HDVHVZLWKLQWKHPHDQLQJRIVHFWLRQ I RIWKH%DQNUXSWF\&RGH

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³FKDQJHRIFRQWURO´SURYLVLRQ  L SURKLELWVUHVWULFWVRUFRQGLWLRQVRUSXUSRUWVWRSURKLELWUHVWULFW

RU FRQGLWLRQ VXFK DVVXPSWLRQ RU DVVLJQPHQW RU LL  LV PRGLILHG EUHDFKHG RU WHUPLQDWHG RU

GHHPHGPRGLILHGEUHDFKHGRUWHUPLQDWHGE\DQ\RIWKHIROORZLQJ D WKHFRPPHQFHPHQWRIWKHVH

&KDSWHU&DVHV E WKHLQVROYHQF\RUILQDQFLDOFRQGLWLRQRIWKH'HEWRUVDWDQ\WLPHEHIRUHWKH

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WR SURKLELW UHVWULFW RU FRQGLWLRQ VXFK DVVXPSWLRQ RU DVVLJQPHQW WR PRGLI\ RU WHUPLQDWH VXFK

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ULJKWV RU UHPHGLHV ZLWK UHVSHFW WKHUHWR LQFOXGLQJ ZLWKRXW OLPLWDWLRQ DQ\ VXFK SURYLVLRQ WKDW

SXUSRUWVWRDOORZWKHQRQ'HEWRUFRXQWHUSDUW\WKHUHWRWRUHFDSWXUHVXFK$VVXPHG$JUHHPHQWVDQG

$VVXPHG 5HDO 3URSHUW\ /HDVHV LPSRVH DQ\ SHQDOW\ WKHUHXQGHU FRQGLWLRQ DQ\ UHQHZDO RU

H[WHQVLRQWKHUHRILPSRVHDQ\UHQWDFFHOHUDWLRQRUDVVLJQPHQWIHHRULQFUHDVHRURWKHUZLVHLPSRVH

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IXUWKHU RU RWKHU DVVLJQPHQW DVVLJQPHQW DQG DVVXPSWLRQ RU RWKHU WUDQVIHU RI DQ\ $VVXPHG

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5HDO 3URSHUW\ /HDVHV IUHH DQG FOHDU RI DQ\ ,QWHUHVW RWKHU WKDQ 3HUPLWWHG (QFXPEUDQFHV DQG

$VVXPHG /LDELOLWLHV DV SURYLGHG IRU LQ WKH $VVHW 3XUFKDVH $JUHHPHQW  DQG HDFK $VVXPHG

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ZLWKLWVUHVSHFWLYHWHUPVDQGFRQGLWLRQVH[FHSWDVOLPLWHGRUPRGLILHGE\WKHSURYLVLRQVRIWKLV

6DOH 2UGHU  8SRQ DQG DV RI WKH &ORVLQJ WKH %X\HU VKDOO EH GHHPHG WR EH VXEVWLWXWHG IRU WKH

'HEWRUVDVDSDUW\WRWKHDSSOLFDEOH$VVXPHG$JUHHPHQWVDQG$VVXPHG5HDO3URSHUW\/HDVHVDQG

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VXFKQRQ'HEWRUFRXQWHUSDUW\VKDOOEHSURKLELWHGIURPFKDOOHQJLQJREMHFWLQJWRRUGHQ\LQJWKH

YDOLGLW\DQGILQDOLW\RIWKH&XUH&RVWDWDQ\WLPHDQGVXFK&XUH&RVWZKHQSDLGVKDOOEHGHHPHG

WRUHVROYHDQ\GHIDXOWVRURWKHUEUHDFKHVZLWK UHVSHFWWRDQ\ $VVXPHG$JUHHPHQWRU$VVXPHG

5HDO3URSHUW\/HDVHWRZKLFKLWUHODWHV8QOHVVDVRWKHUZLVHVHWIRUWKLQWKLV6DOH2UGHURUWKH

$VVHW 3XUFKDVH $JUHHPHQW WKH QRQ'HEWRU FRXQWHUSDUWLHV WR WKH $VVXPHG $JUHHPHQWV DQG

$VVXPHG5HDO3URSHUW\/HDVHVDUHEDUUHGIURPDVVHUWLQJDJDLQVWWKH'HEWRUVWKHLUHVWDWHVDQGWKH

%X\HUDQ\GHIDXOWRUXQSDLGREOLJDWLRQDOOHJHGO\DULVLQJRURFFXUULQJEHIRUHWKH&ORVLQJ'DWHDQ\

SHFXQLDU\ORVVUHVXOWLQJIURPVXFKGHIDXOWRUDQ\RWKHUREOLJDWLRQXQGHUWKH$VVXPHG$JUHHPHQWV

DQG$VVXPHG5HDO3URSHUW\/HDVHVDULVLQJRULQFXUUHGSULRUWRWKH&ORVLQJ'DWHRWKHUWKDQWKH

DSSOLFDEOH&XUH&RVWV8SRQWKHSD\PHQWRIWKHDSSOLFDEOH&XUH&RVWVRUWKHUHVHUYDWLRQRIWKH

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UHPDLQLQIXOOIRUFHDQGHIIHFWDQGQRGHIDXOWVKDOOH[LVWRUEHGHHPHGWRH[LVWXQGHUWKH$VVXPHG

$JUHHPHQWVDQG$VVXPHG5HDO3URSHUW\/HDVHVDVRIWKH&ORVLQJ'DWHQRUVKDOOWKHUHH[LVWRUEH

GHHPHGWRH[LVWDQ\HYHQWRUFRQGLWLRQZKLFKZLWKWKHSDVVDJHRIWLPHRUJLYLQJRIQRWLFHRU

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XQGHUHDFKVXFK$VVXPHG$JUHHPHQWDQG$VVXPHG5HDO3URSHUW\/HDVHDVRIWKHDSSOLFDEOHGDWH

RI DVVXPSWLRQ DQG DVVLJQPHQW ZLWKRXW WKH QHFHVVLW\ WR REWDLQ DQ\ QRQ'HEWRU SDUWLHV¶ ZULWWHQ

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H[FHSW DV RWKHUZLVH VHW IRUWK LQ WKLV 6DOH 2UGHU HDFK QRQ'HEWRU SDUW\ LV IRUHYHU EDUUHG DQG

HVWRSSHGIURP L GHFODULQJDGHIDXOWE\WKH'HEWRUVRUWKH%X\HUXQGHUVXFK$VVXPHG$JUHHPHQW

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$VVXPHG$JUHHPHQWRU$VVXPHG5HDO3URSHUW\/HDVHLQHDFKFDVHLQFRQQHFWLRQZLWKWKH6DOH

([FHSW DV RWKHUZLVH VHW IRUWK LQ WKLV 6DOH 2UGHU HDFK QRQ'HEWRU FRXQWHUSDUW\ LV DOVR IRUHYHU

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3URSHUW\/HDVHLVDQH[HFXWRU\FRQWUDFWRUXQH[SLUHGOHDVHXQGHUVHFWLRQRIWKH%DQNUXSWF\

&RGH,QGLYLGXDOSXUFKDVHRUGHUVLVVXHGE\YHQGRUVZLWKZKRPWKH'HEWRUVKDYHPDVWHUVXSSO\

DJUHHPHQWV VKDOO QRW EH GHHPHG WR FRQVWLWXWH RQH DQG WKH VDPH FRQWUDFW DV WKH PDVWHU VXSSO\

DJUHHPHQW7KH'HEWRUVPD\DVVXPHDQGDVVLJQWRWKH%X\HUDYHQGRU¶VPDVWHUVXSSO\DJUHHPHQW

ZLWKRXWDVVXPLQJDQGDVVLJQLQJRUSD\LQJFODLPVDULVLQJXQGHULQGLYLGXDOSXUFKDVHRUGHUVLVVXHG




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E\ VXFK YHQGRU DQG VXFK FODLPV VKDOO QRW FRQVWLWXWH &XUH &RVWV XQGHU WKH PDVWHU VXSSO\

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WLPHRQHRUPRUHWHUPVRUFRQGLWLRQVRIDQ\$VVXPHG$JUHHPHQWRU$VVXPHG5HDO3URSHUW\/HDVH

VKDOOQRWEHDZDLYHURIVXFKWHUPVRUFRQGLWLRQVRURIWKHLUUHVSHFWLYHULJKWVWRHQIRUFHHYHU\WHUP

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IRUHYHUEDUUHGHVWRSSHGDQGSHUPDQHQWO\HQMRLQHGIURPDVVHUWLQJDJDLQVWWKH%X\HUDQ\,QWHUHVW

RIDQ\NLQGRUQDWXUHZKDWVRHYHUVXFK3HUVRQKDGKDVRUPD\KDYHDJDLQVWRULQWKH'HEWRUVWKHLU

HVWDWHV RIILFHUV GLUHFWRUV PDQDJHUV VKDUHKROGHUV RU WKH 3XUFKDVHG $VVHWV LQFOXGLQJ ZLWKRXW

OLPLWDWLRQWKHIROORZLQJDFWLRQV L FRPPHQFLQJRUFRQWLQXLQJLQDQ\PDQQHUDQ\DFWLRQRURWKHU

SURFHHGLQJ WKH HPSOR\PHQW RI SURFHVV RU DQ\ DFW ZKHWKHU LQ ODZ RU HTXLW\ LQ DQ\ MXGLFLDO

DGPLQLVWUDWLYH DUELWUDO RU RWKHU SURFHHGLQJ  WR FROOHFW RU UHFRYHU DQ\ ,QWHUHVW LL HQIRUFLQJ

DWWDFKLQJ FROOHFWLQJ RU UHFRYHULQJ LQ DQ\ PDQQHU DQ\ MXGJPHQW DZDUG GHFUHH RU RUGHU ZLWK

UHVSHFWWRDQ,QWHUHVW LLL FUHDWLQJSHUIHFWLQJRUHQIRUFLQJDQ\,QWHUHVW LY DVVHUWLQJDQ\ULJKW

RIVXEURJDWLRQVHWRIIRUUHFRXSPHQWRIDQ\NLQGZLWKUHVSHFWWRDQ,QWHUHVW H[FHSWLIVXFKULJKW

ZDVDVVHUWHGEHIRUHWKH3HWLWLRQ'DWHRUSUHVHUYHGLQDWLPHO\ILOHGSURRIRIFODLPRUPRWLRQILOHG

ZLWKWKH&RXUW  Y FRPPHQFLQJRUFRQWLQXLQJDQ\DFWLRQLQDQ\PDQQHURUSODFHWKDWGRHVQRW

FRPSO\ZLWKRULVLQFRQVLVWHQWZLWKWKHSURYLVLRQVRIWKLV6DOH2UGHURWKHURUGHUVRIWKLV&RXUW

WKH $VVHW 3XUFKDVH $JUHHPHQW WKH RWKHU 7UDQVDFWLRQ 'RFXPHQWV RU DQ\ RWKHU DJUHHPHQWV RU

DFWLRQVFRQWHPSODWHGRUWDNHQLQUHVSHFWWKHUHRIRU YL UHYRNLQJWHUPLQDWLQJIDLOLQJRUUHIXVLQJ

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FRQGXFWDQ\RIWKHEXVLQHVVHVRSHUDWHGZLWKWKH3XUFKDVHG$VVHWVLQFRQQHFWLRQZLWKWKH6DOHLQ

HDFKFDVHRI L WKURXJK YL DVDJDLQVWWKH%X\HURUDQ\RILWVDIILOLDWHVRUVXEVLGLDULHVRUDQ\RI

WKHLUUHVSHFWLYH5HSUHVHQWDWLYHVRUDQ\RILWVRUWKHLUUHVSHFWLYHSURSHUW\RUDVVHWVLQFOXGLQJWKH

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DXWKRUL]DWLRQRUDSSURYDORIWKH'HEWRUVZLWKUHVSHFWWRWKH3XUFKDVHG$VVHWVDQGDOOVXFKOLFHQVHV

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7XUQRYHU´  provided, further, however WKDW WKH &KXEE &RPSDQLHV VKDOO QRW KDYH DQ\ GXW\ WR

HIIHFWXDWHD3URFHHG7XUQRYHURUOLDELOLW\UHODWHGWRD3URFHHG7XUQRYHU



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Monster Energy Company and Orange Bang, Inc.’s Joint Agreed Motion to Approved Agreement

Regarding Royalty that Accrued Postpetition>(&)1R@ WKH³5R\DOW\2UGHU´ LVPRGLILHG

VXFK WKDW ERWK WKH 'HEWRUV¶ DQG %X\HUV¶ REOLJDWLRQV XQGHU WKH 5R\DOW\ 2UGHU VKDOO EH GHHPHG

VDWLVILHGIROORZLQJGLVWULEXWLRQRIWKH2%,0RQVWHU(VFURZ$PRXQW DQGLIDSSOLFDEOHSD\PHQW

RI VXFK DPRXQW IURP UHVHUYHV IURP WKH 6DOH 3URFHHGV HVWDEOLVKHG LQ DFFRUGDQFH ZLWK WKLV 6DOH

2UGHU LQDFFRUGDQFHZLWK6HFWLRQRIWKH$VVHW3XUFKDVH$JUHHPHQW)RUWKHDYRLGDQFHRI

GRXEWXSRQ&ORVLQJRIWKH7UDQVDFWLRQXQGHUWKH$VVHW3XUFKDVH$JUHHPHQWDQGWKHVDWLVIDFWLRQ

RIWKHWHUPVRI6HFWLRQRIWKH$VVHW3XUFKDVH$JUHHPHQWWKH'HEWRUVVKDOOKDYHQRIXUWKHU

ILQDQFLDOREOLJDWLRQVWR0(&RU2UDQJH%DQJ ,QFZLWKUHVSHFWWRWKH3RVWSHWLWLRQ5R\DOW\ DV

GHILQHGLQWKH5R\DOW\2UGHU 

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Preliminary Objection to Debtors’ Expedited Motion to Approve Compromise Between (I) the

Debtors, (II) Monster Energy Company, (III) Monster Beverage Corporation, (IV) Orange Bang,

Inc., (V) the Committee, and (VI) the Supporting Lenders >(&)1R@ WKH³2ZRF2EMHFWLRQ´ 

ZLWKUHVSHFWWRDPRQJRWKHUWKLQJVWKHHQWU\RIWKLV6DOH2UGHUDQGWKH2UGHUWKH',3$JHQW

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              L   'LVSXWHG3URSHUW\)RUWKHDYRLGDQFHRIGRXEWQRWKLQJLQWKLV6DOH2UGHUWKH$VVHW

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                     2UGHU  VKDOO EH FRQVWUXHG WR DXWKRUL]H WKH WUDQVIHU RI DQ\ SURSHUW\ WKDW LV

                    GHWHUPLQHGWREHRZQHGE\WKH([FOXGHG3DUWLHVIURPWKH6HOOLQJ(QWLWLHVWRWKH

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              LL    ([FOXGHG3DUWLHV¶'LUHFW&ODLPV)RUWKHDYRLGDQFHRIGRXEWQRWKLQJLQWKLV6DOH

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                      2UGHURU6HWWOHPHQW$JUHHPHQW DVGHILQHGLQWKH2UGHU VKDOOEHFRQVWUXHG

                      WRUHOHDVHRUFRPSURPLVHDQ\GLUHFWFODLPVRUGHIHQVHVKHOGE\DQ\([FOXGHG3DUW\

                      DJDLQVW DQ\ RWKHU SDUW\ LQFOXGLQJ EXW QRW OLPLWHG WR WKH 'HEWRUV 6XSSRUWLQJ

                      /HQGHUVWKH',3$JHQW0(&DQG0%&

              LLL   2ZRF6XEURJDWLRQ&ODLPV)RUWKHDYRLGDQFHRIGRXEWQRWKLQJLQWKLV6DOH2UGHU

                      WKH$VVHW3XUFKDVH$JUHHPHQWWKH2UGHURUWKH6HWWOHPHQW$JUHHPHQW DV

                      GHILQHGLQWKH2UGHU VKDOOEHUHDGWRSUHYHQWDQ\RIWKH([FOXGHG3DUWLHVIURP

                      DVVHUWLQJ DQ\ ULJKWV RI VXEURJDWLRQ ZKHWKHU XQGHU WKH %DQNUXSWF\ &RGH RU

                      DSSOLFDEOH ODZ DJDLQVW WKH 'HEWRUV LI DQ\ SURYLGHG WKDW WKH 'HEWRUV UHWDLQ DOO

                      ULJKWVDQGGHIHQVHVLQFRQQHFWLRQWKHUHZLWK

                  )RUWKHDYRLGDQFHRIGRXEWQRWKLQJKHUHLQSUHYHQWV7KHUPR/LIH,QWHUQDWLRQDO//&

    ³7KHUPR/LIH´ IURPSXUVXLQJFODLPVDJDLQVW%X\HUEDVHGRQLWVSRVWFORVLQJFRQGXFWLQFOXGLQJ

EXWQRWOLPLWHGWRLQWHOOHFWXDOSURSHUW\LQIULQJHPHQWFODLPVUHODWHGWRWKH3XUFKDVHG$VVHWVDQG

GRHVQRWSUHYHQW7KHUPR/LIHIURP ILOLQJVXFKFODLPVLIDQ\RXWVLGHRIWKH%DQNUXSWF\&RXUW

provided, however %X\HU UHVHUYHV WKH ULJKW WR DUJXH WKDW DQ\ FODLPV DVVHUWHG E\ 7KHUPR/LIH

DJDLQVW%X\HUZKLFKDUHQRWUHODWHGWRLQWHOOHFWXDOSURSHUW\LQIULQJHPHQWFODLPVDUHVXEMHFWWRWKH

PDQGDWRU\RUGLVFUHWLRQDU\MXULVGLFWLRQRIWKH%DQNUXSWF\&RXUW

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$VVHWVWRWKH%X\HU LLL FRPSHOSHUIRUPDQFHRIREOLJDWLRQVRZHGWRWKH'HEWRUV LY UHVROYHDQ\

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RWKHU UHODWHG GRFXPHQWDWLRQ UHDVRQDEO\ UHTXHVWHG E\ WKH 'HEWRUV RU WKH %X\HU WR HYLGHQFH WKH

UHOHDVH RI DQ\ ,QWHUHVWV LQ WKH 3XUFKDVHG $VVHWV YL  HQIRUFHWKH LQMXQFWLRQV DQG OLPLWDWLRQV RI

OLDELOLW\ VHW IRUWK LQ WKLV 6DOH 2UGHU YLL HQWHU DQ\ RUGHUV XQGHU VHFWLRQV DQG  RI WKH

%DQNUXSWF\&RGHZLWKUHVSHFWWRWKH$VVXPHG$JUHHPHQWVDQG$VVXPHG5HDO3URSHUW\/HDVHV

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RIWKHDERYHRUUHODWLQJWRWKHOLDELOLWLHVRIWKH%X\HUZLWKUHVSHFWWRWKH3XUFKDVHG$VVHWVVKDOOEH

FRPPHQFHGEHIRUHWKLV&RXUW

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FKDQJHVZLWKRXWIXUWKHURUGHURIWKH&RXUW7KH'HEWRUVVKDOOILOHDPRWLRQWRFRUUHFWWKHGHEWRU¶V

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WKHWHUPVRIWKLV6DOH2UGHUVKDOOJRYHUQ

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(PDLOPQLOHV#EHUJHUVLQJHUPDQFRP
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(Attorney Guso is directed to serve this order upon all non-registered users who have yet to appear
electronically in this case and file a conforming certificate of service.)
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                                                            Contracts and Leases Subject to Assumption and Assignment with Cure Costs

*Regardless of whether included below, this Exhibit A shall serve as notice with respect to any and all amendments, modifications, supplements, etc. with respect to the Contracts and Leases included below.

    No.           Counterparty Name                           Counterparty Address                            Debtor                                    Description             Cure Amount
                                                  400 High Point Road, Suite 100, Cartersvilla, GA                                        Promissary Note Agreement, dated
1         Doehler USA Inc.                                                                         Vital Pharmaceuticals, Inc.                                             $22,000,000.00
                                                  30120                                                                                   September 29, 2022
                                                  Jason Bush 8112 Woodland Center Blvd Tampa                                              Co-Packing Agreement and Amended
2         Refresco Beverages US Inc.                                                               Vital Pharmaceuticals, Inc.                                             $9,689,098.52
                                                  FL 33614-2403                                                                           LOI, dated June 25, 2017
                                                  50 FALLON AVE / SEAFORD DE 19973-1578 /                                                 Invoices for Goods and Services,
3         Trinity Logistics Inc.                                                                   Vital Pharmaceuticals, Inc.                                             $6,130,992.54
                                                  US                                                                                      dated June 12, 2022
                                                                                                                                          Invoices for Delivery of Cans, Refused
                                                  8770 W BRYN MAWR AVE STE 175 / CHICAGO
4         Ardagh Metal Beverage USA, Inc.                                                Quash Seltzer LLC                                Cans, Dunnage, and Associated Legal $5,580,826.21
                                                  IL 60631-3515 / US
                                                                                                                                          Fees, dated November 30, 2021
                                                  400 High Point Road, Suite 100, Cartersvilla, GA                                        Settlement Agreement & Mutual
5         Doehler USA Inc.                                                                         Vital Pharmaceuticals, Inc.                                                        $4,895,665.00
                                                  30120                                                                                   Release, dated September 29, 2022
                                                  230-79 NTERNATIONAL AIRPORT CENTER BLVD
6         Expolanka USA LLC                                                                        Vital Pharmaceuticals, Inc.            Logistics / Storage Agreement               $2,078,224.58
                                                  / SPRNGFLD GDNS NY 1
                                                  11215 N COMMUNITY HOUSE RD / CHARLOTTE
7         RXO Capacity Solutions, LLC                                                              Vital Pharmaceuticals, Inc.            Credit Application Agreement                $1,940,016.10
                                                  NC 28277-4960 / US
                                                  1800 E ROOSEVELT RD / LITTLE ROCK AR 72206-                                             Invoices for Transportation Services,
8         Priority-1, Inc                                                                          Vital Pharmaceuticals, Inc.                                                  $1,736,742.63
                                                  2516 / US                                                                               dated June 27, 2022
                                                                                                                                          Acknowledgement and Agreement
                                                  4701 W 2100 S / SALT LAKE CTY UT 84120-
9         England Logistics, Inc                                                                         Vital Pharmaceuticals, Inc.      for Allowed Claim, dated December $1,497,503.99
                                                  1223 / US
                                                                                                                                          19, 2022
                                                  P.O. BOX 102922 / PASADENA CA 91189-2922
10        Green Wave Ingredients (GWI)                                                     Vital Pharmaceuticals, Inc.                    Purchase Orders (Various)                   $1,366,920.12
                                                  / US
                                                                                                                                          Engagement Letter re: Ball Metal
11        Nelson Mullins                          1320 Main St Fl 17 Columbia SC 29201-3268             Vital Pharmaceuticals, Inc.       Beverage Container Co., dated         $1,074,342.26
                                                                                                                                          October 14, 2020
                                                  Attn: Jesse Crofton 1900 Averill Road Geneva IL                                         Flavor Exclusivity Letter, dated
12        Fona International, Inc.                                                                Vital Pharmaceuticals, Inc.                                                   $868,369.18
                                                  60134                                                                                   October 05, 2017
                                                  4321 Yale Boulevard NE, Albuquerque, NM                                                 FINAL Settlement Agreement, dated
13        Premier Distributing Company                                                            Vital Pharmaceuticals Inc.                                                    $857,000.00
                                                  87107                                                                                   April 01, 2022
                                                                                                                                          Invoice for Technical Support and On-
14        Inventus, LLC Legility                  PO BOX 130114 / DALLAS TX 75313-0114 / US Vital Pharmaceuticals, Inc.                   Site Maintenance, dated June 06,      $835,457.94
                                                                                                                                          2022
                                                  314 W MICHIGAN ST / INDIANAPOLIS IN 46202-                                              Invoices for Transportation Services,
15        Direct Connect Logistix, Inc.                                                      Vital Pharmaceuticals, Inc.                                                        $725,372.36
                                                  3204 / US                                                                               dated July 05, 2022
                                                                                                                                          General Terms and Conditions, dated
16        Total Quality Logistics, LLC TQL        PO Box 634558, Cincinnati, OH 45263                   Vital Pharmaceuticals, Inc.                                             $721,828.55
                                                                                                                                          November 07, 2019
                                                                                                                                          Floor Stock Agreement, dated
17        Wild Flavors, Inc.                      1261 Pacific Ave / Erlanger KY 41018 / US             Vital Pharmaceuticals, Inc.                                             $714,836.30
                                                                                                                                          December 07, 2021
18        Shanghai Freeman Americas, LLC          2035 NJ-27 #3005 Edison NJ 08817                       Vital Pharmaceuticals, Inc.      Bill of Lading (Various)              $609,209.00
                                                                                                                                          Manufacturing and Supply
                                                  Attn: John Attayek, CEO 611 Magic Mile
19        Inovar Packaging Group, LLC                                                                    Vital Pharmaceuticals, Inc.      Agreement, dated December 16,         $605,122.30
                                                  Arlington TX 76011
                                                                                                                                          2016
                                                                                                                                          Invoices for Legal Services Rendered,
20        Gordon & Rees                           1111 Broadway / Oakland CA 94607 / US                  Vital Pharmaceuticals, Inc.                                            $574,187.64
                                                                                                                                          dated February 21, 2019
                                                  5897 Windward Pkwy Alpharetta GA 30005-
21        CHEP USA                                                                                       Vital Pharmaceuticals, Inc.      Hire Agreement, dated 2019                  $560,431.11
                                                  2044
                                                                                                                                          Invoices for Delivery of Dry and
                                                  509 S FALKENBURG RD / TAMPA FL 33619-
22        CW Carriers Dedicated Inc                                                                      Vital Pharmaceuticals, Inc.      Refrigerated Goods, dated November $550,331.00
                                                  8005 / US
                                                                                                                                          26, 2021
                                                  13371 South Fowler Avenue / Selma CA 93662
23        Khalsa Transportation Inc                                                            Vital Pharmaceuticals, Inc.                Product/Service Agreement                   $516,464.00
                                                  / US
24        Parallel Products                       P.O. X 775347 / CHICAGO IL 60677-5347 / US Quash Seltzer LLC                            Product/Service Agreement                   $510,858.25
                                                  615 JB HUNT CORPORATE DR / LOWELL AR
25        J.B. Hunt Transport, Inc.                                                            Vital Pharmaceuticals, Inc.                Logistics / Storage Agreement               $498,282.44
                                                  72745-9143 / US
                                                  1880 N CONGRESS AVE STE 210 / BOYNTON
26        PeakActivity, LLC                                                                    Vital Pharmaceuticals, Inc.                Product/Service Agreement                   $478,632.22
                                                  BEACH FL 33426-8674 /
                                                  1831 N PARK AVE / BURLINGTON NC 27217-                                                  Invoices for Transportation Services
27        Glen Raven Logistics Inc.                                                            Vital Pharmaceuticals, Inc.                                                            $467,173.45
                                                  1137 / US                                                                               Rendered, dated July 14, 2021
          Graphic Packaging International,        Attn: General Counsel 1500 Riveredge Parkway                                            Agreement for the Sale of
28                                                                                             Vital Pharmaceuticals, Inc.                                                            $456,550.43
          LLC                                     Atlanta GA 30328                                                                        Equipment, dated August 19, 2019
                                                  c/o Bankruptcy Department 3965 Airways Blvd                                             FedEx Transportation Services
29        FedEx Corporate Services                                                            Vital Pharmaceuticals, Inc.                                                   $439,220.07
                                                  Module G 3rd Floor Memphis TN 38116-5017                                                Agreement, dated October 17, 2017
                                                                                                                                          Invoices for Transportation Services
30        Fusion Logistics Services, LLC          PO BOX 33080 / LAKELAND FL 33807-3080 / US Vital Pharmaceuticals, Inc.                                                              $431,787.00
                                                                                                                                          Rendered, dated May 25, 2022
          Steven Douglas Associates, LLC.         1301 International Pkwy # 510 / Fort                                                    Invoices for Services Rendered (IT
31                                                                                                       Vital Pharmaceuticals, Inc.                                                  $386,668.48
          Steven Douglas                          Lauderdale FL 33323 / U                                                                 Analyst), dated May 27, 2022
                                   Case 22-17842-PDR                     Doc 1658           Filed 07/14/23 Engagement
                                                                                                             Page Letter
                                                                                                                      149re:ofAlfieri
                                                                                                                                 279  /
32   Nelson Mullins                        1320 Main St Fl 17 Columbia SC 29201-3268     Vital Pharmaceuticals, Inc.   Elegance Brands, Inc., dated August    $378,086.52
                                                                                                                       12, 2020
                                           6300 N FEDERAL HWY / BOCA RATON FL 33487-
33   Tactix Group Inc. Sklar Furnishings                                                Vital Pharmaceuticals, Inc.    Product/Service Agreement              $369,916.15
                                           3250 / US
                                           415 MISSION ST / SAN FRANCISCO CA 94105-
34   Salesforce.com, Inc.                                                               Vital Pharmaceuticals, Inc.    Services Agreement                     $369,253.69
                                           2533 / US
                                           Attn: General Counsel, 150 N. Clinton Street                                Master Services Agreement, dated
35   Information Resources, Inc.                                                        Vital Pharmaceuticals, Inc.                                          $363,635.98
                                           Chicago IL 60661                                                            December 15, 2018
                                           1001 FANNIN ST / HOUSTON TX 77002-6706 /                                    Offer for filling of Bang Energy
36   Recycle America LLC                                                                Quash Seltzer LLC                                                    $321,659.00
                                           US                                                                          12x500ml, dated April 08, 2022
                                           3000 SW 148th Ave Suite 116 Miramar FL                                      Statement of Work, dated August 24,
37   Genesis Global Recruiting, Inc.                                                    Vital Pharmaceuticals, Inc.                                          $291,242.20
                                           33027-4181                                                                  2020
                                           1221 W STATE ST / ONTARIO CA 91762-4015 /                                   Invoices for Caffeine Delivery, dated
38   CSPC Innovations USA Inc                                                           Vital Pharmaceuticals, Inc.                                          $281,600.00
                                           US                                                                          August 05, 2022
39   R&K Logistics, Inc.                   PO BOX 668 / PALATINE IL 60078-0668 / US     Vital Pharmaceuticals, Inc.    Logistics / Storage Agreement         $245,854.00
                                           2850 W COLUMBUS AVE / CHICAGO IL 60652-
40   Assemblers Inc.                                                                    Vital Pharmaceuticals, Inc.    Invoices (Various)                     $231,432.99
                                           1620 / US
                                                                                                                       Engagement Letter re: ProSupps, Et
41   Nelson Mullins                        1320 Main St Fl 17 Columbia SC 29201-3268     Vital Pharmaceuticals, Inc.                                          $215,677.52
                                                                                                                       Al., dated June 02, 2015
                                           600 W. CHICAGO AVE. / CHICAGO IL 60654-                                     Invoices for Transportation Services
42   Echo Global Logistics, Inc.                                                         Vital Pharmaceuticals, Inc.                                        $202,517.41
                                           2801 / US                                                                   Rendered, dated September 15, 2022
                                                                                                                       Invoices for Legal Services Rendered
                                           411 E WISCONSIN AVE STE 2400 / MILWAUKEE
43   Quarles & Brady LLP                                                            Vital Pharmaceuticals, Inc.        and Unreimbursed Costs Incurred,     $200,348.64
                                           WI 53202-4428 / US
                                                                                                                       dated June 09, 2022
                                                                                                                       Invoices for Handling and Storage,
44   Alto Freight                          2867 SURVEYOR ST / POMONA CA 91768 / US Vital Pharmaceuticals, Inc.                                              $196,285.65
                                                                                                                       dated June 16, 2022
                                                                                                                       Information Technology Master
                                           Attn: Jack McCarthy 300 SE 2nd Street Suite
45   Chestnut Hill Technologies                                                          Vital Pharmaceuticals, Inc.   Services Agreement, dated December $195,770.00
                                           600 Ft Lauderdale FL 33301
                                                                                                                       12, 2019
                                           8106 CLAUDE GILBERT TRI / DENVER CO 28037
46   Show me Shipping dba Unishippers                                                Vital Pharmaceuticals, Inc.       Logistics / Storage Agreement          $193,734.86
                                           / US
     VIRUN The Hamilton Group                                                                                          Invoices for Goods and Services,
47                                         PO Box 352 North Syracuse NY 13212            Vital Pharmaceuticals, Inc.                                          $192,206.85
     (Delaware)                                                                                                        dated August 16, 2022
     Resource Label Resource Label         147 SEABOARD LN / FRANKLIN TN 37067-8217                                    Invoices for the Sale of Products,
48                                                                                  Vital Pharmaceuticals, Inc.                                               $184,373.88
     Group, LLC.                           / US                                                                        dated July 28, 2022
                                                                                                                       Invoices for Waste and Recycling
                                           318 HAWTHORN ST / NEW BEDFORD MA
49   Skip Shapiro Enterprises, LLC                                                       Vital Pharmaceuticals, Inc.   Services Provided, dated August 01,    $175,123.52
                                           02740-2376 / US
                                                                                                                       2022
                                                                                                                       Contract Logistics Agreement, dated
50   Suddath Global Logistics, LLC         815 South Main Street Jacksonville FL 32207   Vital Pharmaceuticals, Inc.                                          $171,745.01
                                                                                                                       September 13, 2018
     ADM Archer Daniels Midland            4666 E FARIES PKWY / DECATUR IL 62526-5630                                  Invoices for Shipment of Flavors,
51                                                                                    Vital Pharmaceuticals, Inc.                                             $161,988.72
     Company                               / US                                                                        dated July 08, 2022
                                           1165 SANCTUARY PKWY / ALPHARETTA GA                                         Vehicle Management Services
52   Network LeasePlan U.S.A.,Inc.                                                       Vital Pharmaceuticals, Inc.                                      $159,786.12
                                           30009-4738 / US                                                             Agreement, dated February 04, 2019

53   Shorr Packaging Corp.                 4000 FERRY RD / AURORA IL 60502-9540 / US     Vital Pharmaceuticals, Inc.   Materials / Packaging Agreement        $145,432.75
                                           1400 W 64TH AVE / DENVER CO 80221-2430 /
54   Navajo Express, Inc                                                            Quash Seltzer LLC                  Product/Service Agreement              $144,372.00
                                           US
     EG America LLC EG Retail America      165 FLANDERS RD / WESTBOROUGH MA 01581-                                     2023 Vendor Planning Agreement,
55                                                                                  Vital Pharmaceuticals, Inc.                                                 $137,904.41
     LLC                                   1032 / US                                                                   dated November 21, 2022
56   American International Foods          8066 Fulton St E Ada MI 49301            Vital Pharmaceuticals, Inc.        Invoices (Various)                       $129,702.98
                                           10740 NALL AVE / OVERLAND PARK KS 66211-                                    Invoices for Legal Services Rendered,
57   Kuckelman Torline Kirkland, Inc.                                               Vital Pharmaceuticals, Inc.                                                 $129,188.45
                                           1367 / US                                                                   dated May 19, 2022
                                                                                                                       Invoices for Rental Equipment, dated
58   Sunbelt Rentals                       2341 Deerfield Drive Fort Mill SC 29715       Vital Pharmaceuticals, Inc.                                            $124,845.38
                                                                                                                       August 24, 2022
                                           PO BOX 502111 / PHILADELPHIA PA 19175-                                      Invoices for Sale of Flavors, dated July
59   Takasago International Corporation                                                  Vital Pharmaceuticals, Inc.                                            $116,592.04
                                           2111 / US                                                                   12, 2022
                                           c/o Ehrenstein Charbonneau Calderin Attn:
                                                                                                                       Settlement Agreement and Mutual
                                           Michael D. Ehrenstein & Latasha N. Johnson
60   Milk Specialties Company                                                            Vital Pharmaceuticals, Inc.   Limited Release, dated February 15,    $101,245.85
                                           501 Brickell Key Drive, Suite 300
                                                                                                                       2017
                                            Miami FL 33131
                                           1450 N BENSON AVE UNIT A / UPLAND CA
61   Hollins Management Group, Inc.                                                      Vital Pharmaceuticals, Inc.   Customer Agreement                     $99,346.37
                                           91786-2127 / US
                                           5599 BERMUDA DUNES CIR / LAKE WORTH FL
62   RMARR Consulting LLC                                                                Vital Pharmaceuticals, Inc.   Product/Service Agreement              $98,201.46
                                           33463-6571 / US
                                           9597 GULF RESEARCH LN / FORT MYERS FL                                       Invoices for Transportation Services,
63   Scotlynn USA Division                                                               Vital Pharmaceuticals, Inc.                                         $94,453.00
                                           33912-4552 / US                                                             dated August 02, 2022
                                                                                                                       Overhaul Agreement Line C368601,
64   Krones, Inc.                          9600 South 58th St Franklin WI 53132-6300     Vital Pharmaceuticals, Inc.   Maintenance Contract 5112147,         $83,456.38
                                                                                                                       dated June 06, 2021
                                                                                                                       Overhaul Agreement Line C368600,
65   Krones, Inc.                          9600 South 58th St Franklin WI 53132-6300     Vital Pharmaceuticals, Inc.   Maintenance Contract 5112145,         $83,456.38
                                                                                                                       dated June 06, 2021
                                  Case 4847
                                       22-17842-PDR               DocMO
                                            PARK 370 BLVD / HAZELWOOD 1658                    Filed 07/14/23 Invoices
                                                                                                                Page       150Items,
                                                                                                                      for Display of 279
                                                                                                                                      dated
66    Presence From Innovation                                                             Vital Pharmaceuticals, Inc.                                         $79,127.22
                                       63042-4412 / US                                                                   August 31, 2022
                                       Benjamin Constant, Edificio Jacaranda 4th                                         Invoices for Legal Services Rendered,
67    Berkemeyer Attorney & Counselors                                                     Vital Pharmaceuticals, Inc.                                         $74,185.50
                                       Floor 835 / 1206 A                                                                dated April 11, 2022
68    WB Warehousing & Logistics, Inc. 3700 River Road / West Bend WI 53095 / US           Vital Pharmaceuticals, Inc.   Logistics / Storage Agreement         $70,170.39
                                       12770 COIT RD STE 720 / DALLAS TX 75251-
69    Faulkner ADR Law, PLLC                                                               Vital Pharmaceuticals, Inc.   Professional Services Agreement       $68,395.00
                                       1454 / US
70    The Mercova Group LLC                8180 NW 36TH ST / DORAL FL 33166-6645 / US Vital Pharmaceuticals, Inc.        Professional Services Agreement       $67,226.76
                                           21925 Network Place / Chicago IL 60673-1219                                   Motor Vehicle Security Agreement,
71    Hitachi Capital America Corp                                                     Vital Pharmaceuticals, Inc.                                             $57,848.24
                                           / US                                                                          dated April 19, 2021
                                                                                                                         Invoices for Industrial Water
      Cherokee Chemical Co., Inc dba
72                                         3540 E 26TH ST / VERNON CA 90058-4103 / US Vital Pharmaceuticals, Inc.        Treatment Services, Equipment,        $57,174.31
      C.C.I. Chemical
                                                                                                                         Training
                                           4395 AMSTERDAM ST / N CHARLESTON SC                                           Invoices for Transport of Vehicles,
73    LMR Auto Transport Brokerage Inc.                                                    Vital Pharmaceuticals, Inc.                                         $54,400.00
                                           29418-5921 / US                                                               dated August 15, 2022
                                           7820 Innovation Blvd / Suite 100 / Indianapolis                               Invoices for Chemical Delivery, dated
74    Closure Systems International, Inc.                                                  Vital Pharmaceuticals, Inc.                                         $53,602.40
                                           IN 46278 / US                                                                 September 13, 2022
      Transportation Management            18450 PINES BLVD # 203 / PEMBROKE PINES FL                                    Invoices for Transportation Services,
75                                                                                         Vital Pharmaceuticals, Inc.                                         $53,152.00
      Solutions                            33029 / US                                                                    dated August 22, 2022
      Transportation Management            18450 PINES BLVD # 203 / PEMBROKE PINES FL
76                                                                                         Vital Pharmaceuticals, Inc.   Logistics / Storage Agreement         $53,152.00
      Solutions, Inc.                      33029 / US
77    Modinco S.A                          N 50-20 Floor 9 Carrera 52 / Medellin / CO      Vital Pharmaceuticals, Inc.   Product/Service Agreement             $50,925.00
                                           20002 N. 19th Ave / Phoenix AZ 85027-4250 /                                   Invoices for Transportation Services,
78    Knight Transportation Services, Inc.                                                 Vital Pharmaceuticals, Inc.                                         $50,912.00
                                           US                                                                            dated July 14, 2022
      Universal Protection Service, LP     161 WASHINGTON ST STE 600 /
79                                                                                         Vital Pharmaceuticals, Inc.   Product/Service Agreement             $50,021.02
      Allied Universal Security S          CONSHOHOCKEN PA 19428-2083 / US
80    Canon Financial Services, Inc.       14904 Collections Drive Chicago IL 60693        Vital Pharmaceuticals, Inc.   Equipment Schedule                    $49,181.79
                                                                                                                         Business Development Agreement
                                           3225 Cumberland Boulevard Suite 100 Atlanta
81    RaceTrac Petroleum, Inc.                                                         Vital Pharmaceuticals, Inc.       between Racetrac Petroleum, Inc.,     $48,210.00
                                           GA 30339
                                                                                                                         dated August 25, 2009
                                           P.O. BOX 888198 / LOS ANGELES CA 90088-                                       Equipment Operating Lease and Use
82    Scott Laboratories, Inc.                                                             Vital Pharmaceuticals, Inc.                                     $43,234.02
                                           8198 / US                                                                     Agreement, dated March 30, 2023
83    Prinova US LLC                       36780 Eagle Way Chicago IL 60678-1367           Vital Pharmaceuticals, Inc.   Materials / Packaging Agreement       $43,201.50
                                           RM101, BLD #1, NO.168 JIXIN
84    Shanghai Kenda Textile Co. Ltd.      RD, MINHANG DISTRICT,                           Vital Pharmaceuticals, Inc.   Product/Service Agreement             $42,832.92
                                           SHANGHAI, CHINA, 201104
                                           45 Waterview Blvd / Parsippany, NJ 07054-
85    DSM Nutritional Products, Inc.                                                       Vital Pharmaceuticals, Inc.   Materials / Packaging Agreement       $41,425.00
                                           7611 / US
                                           200 South Orange Ave Suite 1375 Orlando FL                                    Eigth Lease Amendment, dated April
86    1600FLL, LLC                                                                         Vital Pharmaceuticals, Inc.                                       $40,024.96
                                           32801                                                                         21, 2022
      CK Waitt Industrial, LLC CK          301 South College Street / Charlotte NC 28202                                 Lease Agreement, dated February 21,
87                                                                                         Vital Pharmaceuticals, Inc.                                       $38,901.05
      Properties, Inc                      / US                                                                          2019
                                           3505 NW 112TH ST / MIAMI FL 33167-3312 /
88    SupplyOne Miami                                                                      Vital Pharmaceuticals, Inc.   Materials / Packaging Agreement       $38,866.00
                                           US
                                           105 GARFIELD ST S STE 100 / CAMBRIDGE MN                                      Invoices for Security Services
89    Twin City Security                                                                   Vital Pharmaceuticals, Inc.                                         $38,825.75
                                           55008-1767 / US                                                               Performed, dated June 30, 2022
      Border States Industries Inc. Border NW 7235 PO BOX 1450 / MINNEAPOLIS MN
90                                                                                         Vital Pharmaceuticals, Inc.   Product/Service Agreement             $38,770.02
      States Electrical Suppl              55485-1450 / US
                                                                                                                         Invoices for Services Rendered and
91    Andersen Material Handling           30575 Anderson Ct / Wixom MI 48393 / US         Vital Pharmaceuticals, Inc.   Equipment Provided, dated June 02, $38,535.50
                                                                                                                         2022
                                                                                                                         Invoices for Maintainance and
                                           2801 W WILLETTA ST / PHOENIX AZ 85009-
92    Apex Refrigeration & Boiler Co.                                                      Vital Pharmaceuticals, Inc.   Replacement of Parts, dated July 06, $36,268.00
                                           3542 / US
                                                                                                                         2022
                                           12400 COLLECTIONS CENTER DRIVE / CHICAGO
93    Accountemps Robert Half                                                       Vital Pharmaceuticals, Inc.          Product/Service Agreement             $36,083.61
                                           IL 60693-0124 / US
                                           4215-E UART ANDREW BLVD STE E /                                               Invoices for UV Equipment, dated
94    Aquionics, Inc                                                                Vital Pharmaceuticals, Inc.                                                $34,764.97
                                           CHARLOTTE NC 28217-1586 / US                                                  May 13, 2022
      Yellowstone Landscape - Southeast,
95                                       P.O. X 101017 / ATLANTA GA 30392-1017 / US Vital Pharmaceuticals, Inc.          Invoice for Landscaping Services      $33,868.26
      LLC. Yellowstone Landscap
      Statco Engineering & Fabricators,    7595 REYNOLDS CIR / HUNTINGTN BCH CA                                          Invoices for Items Sold, dated July 05,
96                                                                                         Vital Pharmaceuticals, Inc.                                           $33,863.75
      Inc.                                 92647-6787 / US                                                               2022
                                                                                                                         Critical Vendor Agreement, dated
97    States Logistics Services, Inc.      5650 DOLLY AVE / BUENA PARK CA 90621 / US Vital Pharmaceuticals, Inc.                                                 $33,733.44
                                                                                                                         January 11, 2023
      Keller Warehousing & Co-Packing                                                                                    Invoices for Storage Services, dated
98                                         24862 ELLIOT ROAD / DEFIANCE OH 43512 / US Quash Seltzer LLC                                                          $33,454.40
      LLC                                                                                                                August 01, 2022
99    Cintas Corp-Phoenix                  P.O. Box 29059 / Phoenix AZ 85038-9059 / US     Vital Pharmaceuticals, Inc.   Product/Service Agreement             $33,365.59
                                           600 Gilliam Rd / Port William OH 45164-2000 /                                 Invoices for Transportation Services,
100   R&L Carriers                                                                       Vital Pharmaceuticals, Inc.                                           $32,762.48
                                           US                                                                            dated August 23, 2022
101   Ryder Truck Rental Inc.              P.O. BOX 96723 / CHICAGO IL 60693-6723 / US Vital Pharmaceuticals, Inc.       Lease Agreement                       $31,431.21
                                  Case 2131
                                       22-17842-PDR                 DocBeach
                                            SW 2nd St., BLDG 8 / Pompano 1658FL              Filed 07/14/23 Invoices
                                                                                                               Page       151Provided,
                                                                                                                     for Goods of 279  dated
102   Grainger                                                                       Vital Pharmaceuticals, Inc.                                               $30,601.22
                                           33069-3100 / US                                                              February 09, 2022
                                           4203 W ADAMS ST / PHOENIX AZ 85009-4631 /
103   IBT West LLC                                                                   Vital Pharmaceuticals, Inc.        Product/Service Agreement              $29,366.87
                                           US
104   NJ Malin & Associates LLC            PO BOX 843860 / DALLAS TX 75284-3860 / US Vital Pharmaceuticals, Inc.        Services Agreement                     $29,281.62
                                           1190 MONTEREY PASS RD / MONTEREY PARK
105   Guard-Systems, Inc                                                                  Vital Pharmaceuticals, Inc.   Product/Service Agreement              $28,575.00
                                           CA 91754-3615 / US
                                           Attn: Tom Williams 2157 Lincoln Street Salt                                  Distributor Agreement, dated April
106   Ketone Labs, LLC                                                                    Vital Pharmaceuticals, Inc.                                          $28,000.00
                                           Lake City UT 84106                                                           09, 2021
      Extra Duty Solutions Hart Halsey     1 WATERVIEW DR STE 101 / SHELTON CT
107                                                                                       Vital Pharmaceuticals, Inc.   Services Agreement                     $27,327.30
      LLC.                                 06484-4368 / US
                                                                                                                        Invoices for Transportation Services,
108   Werner Enterprises, Inc.             P.O. Box 45308 / Omaha NE 68145 / US           Vital Pharmaceuticals, Inc.                                         $27,266.00
                                                                                                                        dated March 02, 2022
      Western Packaging North, Inc.
109                                        1041 Avenue M / Grand Prairie TX 75050 / US    Vital Pharmaceuticals, Inc.   Co-manufacturing Agreement             $27,080.59
      Western Nutraceutical Packagin
110   Wheeler Material Handling            9839 S Tyron Street / Charlotte NC 28273 / US Vital Pharmaceuticals, Inc.    Product/Service Agreement              $26,780.85
      Action Elec. & Mechanical            2600 COLLINS SPRINGS DR SE / ATLANTA GA                                      Invoices for Maintainance and
111                                                                                       Vital Pharmaceuticals, Inc.                                          $26,296.04
      Contractors Action Electric Co., I   30339-1720 / US                                                              Repairs, dated December 31, 2021
      Toyota Material Handling Systems     3111 E Ponce De Leon Avenue / Scottdale GA
112                                                                                       Vital Pharmaceuticals, Inc.   Services Agreement                     $26,004.51
      Atlanta Fork Lifts, Inc.             30079 / US
                                                                                                                        Statement of Work Proposal, dated
113   Longbow Advantage USA, Inc.          555 Briarwood Circle #118 Ann Arbor MI         Vital Pharmaceuticals, Inc.                                          $25,657.50
                                                                                                                        June 21, 2019
                                                                                                                        Invoices for Legal Services Rendered
                                           1111 E. Summer St. P.O. Box 270670 / Hartford                                for Webb & Gerritsen Inc vs Vital
114   Matthiesen, Wickert & Lehrer S. C.                                                 Vital Pharmaceuticals, Inc.                                           $24,926.50
                                           WI 53027-0670                                                                Pharmaceuticals Inc, dated October
                                                                                                                        19, 2022
                                                                                                                        Filling Valve Rebuild Agreement,
115   Krones, Inc.                         9600 South 58th St Franklin WI 53132-6300      Vital Pharmaceuticals, Inc.   Maintenance Contract 5113441,          $24,904.71
                                                                                                                        dated October 07, 2021
                                                                                                                        Filling Valve Rebuild Agreement,
116   Krones, Inc.                         9600 South 58th St Franklin WI 53132-6300      Vital Pharmaceuticals, Inc.   Maintenance Contract 5113448,          $24,904.71
                                                                                                                        dated October 07, 2021
117   Volume Logistics LLC                 P.O. X 150127 / OGDEN UT 84415-0127 / US       Quash Seltzer LLC             Logistics / Storage Agreement          $24,685.00
                                           18 Augusta Pines Dr Suite 240W Spring TX                                     Master Professional Service
118   Seidor USA Corp                                                                     Vital Pharmaceuticals, Inc.                                          $24,469.33
                                           77389                                                                        Agreement
119   Speed Pallets Corp.                  3233 NW 67TH STREET / MIAMI FL 33147 / US Vital Pharmaceuticals, Inc.        Product/Service Agreement              $24,395.00
120   Reinhold Cohn and Partners           Habarzel Street 26A / 6971037 Israel / IL      Vital Pharmaceuticals, Inc.   Product/Service Agreement              $24,196.76
121   Rex Three, Inc.                      15431 SW 14TH ST / DAVIE FL 33326-1937 / US Vital Pharmaceuticals, Inc.      Materials / Packaging Agreement        $23,622.31
                                           8320 W SUNRISE BLVD STE 108 / PLANTATION                                     Direct Hire Agreement, dated August
122   EmpHire Staffing, Inc                                                           Vital Pharmaceuticals, Inc.                                             $23,169.18
                                           FL 33322-5434 / US                                                           06, 2019
                                           910 E SAINT LOUIS ST STE 400 / SPRINGFIELD                                   Invoices for Expert Witness Services,
123   FORVIS, LLP                                                                     Vital Pharmaceuticals, Inc.                                             $23,168.00
                                           MO 65806-2570 / U                                                            dated July 14, 2022
                                           3809 Collection Center Drive / Chicago IL                                    Services Agreement, dated March 16,
124   Domino Amjet, Inc                                                               Vital Pharmaceuticals, Inc.                                             $23,070.60
                                           60693 / US                                                                   2023
125   The A/C Ductologist, LLC             4700 SW 83RD TER / DAVIE FL 33328-3712 / US Vital Pharmaceuticals, Inc.      Services Agreement                     $22,345.00
                                            4320 E BROADWAY RD / PHOENIX AZ 85040-
126   Southwest Battery Company                                                        Vital Pharmaceuticals, Inc.      Services Agreement                     $22,167.05
                                            8808 / US
127   Kim & Chang                           17F 21-15 Jeongdong-gil / 04518 / KR       Vital Pharmaceuticals, Inc.      Professional Services Agreement        $21,917.23
                                            PO BOX 2711 / SACRAMENTO CA 95812-2711 /
128   CalRecycle                                                                       Vital Pharmaceuticals, Inc.      Product/Service Agreement              $21,911.62
                                            US
                                            4335 E WOOD ST / PHOENIX AZ 85040-2045 /                                    Invoices for Forklift Rentals and
129   Naumann Hobbs                                                                    Vital Pharmaceuticals, Inc.                                             $21,730.65
                                            US                                                                          Servicing, dated July 18, 2022
130   Superior Equipment Corp.              PO Box 3003 / Lantana FL 33465 / US        Vital Pharmaceuticals, Inc.      Product/Service Agreement              $21,278.87
                                            40 MCCULLOUGH DR / NEW CASTLE DE 19720-                                     Invoices for Goods Provided, dated
131   Industrial Physics Bev / Canning Inc.                                            Vital Pharmaceuticals, Inc.                                             $20,944.50
                                            2227 / US                                                                   June 13, 2022
                                            16043 AGINCOURT DR / HUNTERSVILLE NC                                        Invoices for Guard Labor, dated June
132   AMMS Inc.                                                                        Vital Pharmaceuticals, Inc.                                             $20,690.00
                                            28078-5856 / US                                                             30, 2022
                                            P.O. BOX 640169 / PITTSBURGH PA 15264-
133   VWR International                                                                Vital Pharmaceuticals, Inc.      Product/Service Agreement              $20,541.47
                                            0169 / US
                                            10550 N Stemmons Freeway / Dallas TX 75220                                  Invoices for the Sale of Equipment,
134   Briggs Equipment                                                                 Vital Pharmaceuticals, Inc.                                             $19,309.70
                                            / US                                                                        dated April 29, 2020
                                            9800 NW 100TH RD / MEDLEY FL 33178-1239 /
135   Evolution Logistics                                                              Vital Pharmaceuticals, Inc.      Logistics / Storage Agreement          $18,767.51
                                            US
                                            2500 HOLLYWOOD BLVD STE 309-4 /
136   Video for the Legal Profession, Inc.                                             Vital Pharmaceuticals, Inc.      Professional Services Agreement        $18,200.00
                                            HOLLYWOOD FL 33020-6615 / US
      Power House Gym Fitness Center
137                                         9 E Long St / Columbus OH 43015 / US       Vital Pharmaceuticals, Inc.      Talent Services Agreement              $18,000.00
      Daniel Rue
                                            10424 W STATE ROAD 84 / DAVIE FL 33324-
138   KMR Roofing, LLC                                                                 Vital Pharmaceuticals, Inc.      Product/Service Agreement              $17,600.00
                                            4271 / US
                                            1817 S HORNE STE 10 / MESA AZ 85204-6526 /                                  Invoices for Cleaning Services
139   365 Mechanical, LLC                                                              Vital Pharmaceuticals, Inc.                                             $17,471.72
                                            US                                                                          Rendered, dated July 14, 2022
                                    Case P.O.
                                         22-17842-PDR
                                              BOX 953381 / SAINT LOUISDoc   1658
                                                                       MO 63195-              Filed 07/14/23                Page 152 of 279
140   Miner, LTD                                                                           Vital Pharmaceuticals, Inc.   Services Agreement                    $16,340.23
                                           3381 / US
                                           Attn: Time Longstaff 116 Wallace Avenue                                       Exclusive Distribution Agreement,
141   National Distributors, Inc.                                                          Vital Pharmaceuticals, Inc.                                          $15,795.00
                                           South Portland ME 04106                                                       dated August 19, 2021
                                                                                                                         Beverage Production and Packaging
142   Zion Packaging                       575 Alcoa Cir Suite B Corona CA 92878-9203      Vital Pharmaceuticals, Inc.                                          $15,451.92
                                                                                                                         Agreement, dated June 01, 2022
                                                                                                                         Invoices for Sale of Equipment, dated
143   Nordson Corporation                  PO BOX 802586 / CHICAGO IL 60680-2586 / US Vital Pharmaceuticals, Inc.                                               $15,359.13
                                                                                                                         August 08, 2022
                                                                                                                         Invoices for Bottle Deposit, Handling,
144   TOMRA North America                  900 E. 136 Street / Bronx, NY 10454 / US        Vital Pharmaceuticals, Inc.   Pickup, and Recycling, dated July 09, $15,283.00
                                                                                                                         2022
      American International Chemical,     2000 W PARK DR STE 300 / WESTBOROUGH                                          Invoices for Chemical Delivery, dated
145                                                                                        Vital Pharmaceuticals, Inc.                                          $14,427.50
      Inc.                                 MA 01581-3957 / US                                                            July 07, 2022
                                                                                                                         Invoices for Shipping Materials, dated
146   Uline                                12575 Uline Dr Pleasant Prairie WI 53158        Vital Pharmaceuticals, Inc.                                          $14,236.71
                                                                                                                         June 23, 2022
147   Global Industrial Equipment          7400 Channel Rd / Skokie, IL 60076 / US    Vital Pharmaceuticals, Inc.        Product/Service Agreement              $14,185.75
                                           7575 DR PHILLIPS BLVD STE 220 / ORLANDO FL
148   TeleComp Inc.                                                                   Vital Pharmaceuticals, Inc.        Product/Service Agreement             $13,748.79
                                           32819-7221 / US
149   Metrohm USA, Inc                     PO Box # 405562 Atlanta GA 30384           Vital Pharmaceuticals, Inc.        Product/Service Agreement             $13,665.30
                                                                                                                         Invoices for Packaging Equipment
150   Aesus Packaging Systems lnc          188 Oneida / Pointe-Claire QC H9R 1A8 / CA      Vital Pharmaceuticals, Inc.                                         $13,647.58
                                                                                                                         Supplies, dated June 22, 2022
                                           2077 Convention Center Concourse / Atlanta                                    Invoices for Office Equipment Sold,
151   Staples Business Advantage                                                           Vital Pharmaceuticals, Inc.                                         $13,582.36
                                           GA 30337 / US                                                                 dated December 29, 2021
                                           181 Thorn Hill Road / Warrendale PA 15086 /
152   Evoqua Water Technologies LLC                                                        Vital Pharmaceuticals, Inc.   Product/Service Agreement             $13,536.35
                                           US
                                           P.O. X 4543 / CAROL STREAM IL 60122-4543 /
153   Synergy Flavors, Inc.                                                                Vital Pharmaceuticals, Inc.   Materials / Packaging Agreement       $13,534.84
                                           US
154   Southwest Convenience Stores LLC 7102 Commerce Way / Brent TN 37027 / US             Vital Pharmaceuticals, Inc.   Services Agreement                    $13,518.00
                                           10253 SW 49th Manor / Cooper CIty FL 33328 /
155   A Master Build LLC                                                                 Vital Pharmaceuticals, Inc.     Product/Service Agreement             $13,319.90
                                           US
      Rivadeneyra Trevinio y de Campo      31 Puente 418 7 8 Reforma Sur Metro / 72160
156                                                                                      Vital Pharmaceuticals, Inc.     Professional Services Agreement       $13,289.64
      SC                                   / MX
                                           PO BOX 406469 / ATLANTA GA 30384-6469 /
157   Trane US Inc,                                                                      Vital Pharmaceuticals, Inc.     Product/Service Agreement             $12,948.00
                                           US
                                           2770 Faith Industrial Dr NE / Buford GA 30518
158   ASG Services, LLC                                                                  Vital Pharmaceuticals, Inc.     Services Agreement                    $12,787.36
                                           / US
      Enterprise Holdings, Inc. EAN        PO BOX 801770 / KANSAS CITY MO 64180-
159                                                                                      Vital Pharmaceuticals, Inc.     Product/Service Agreement             $12,780.10
      Services, LLC dba Damage Recov       1770 / US
      Concentra - Occupational Health
160                                        PO Box 82549 Hapeville GA 30354                 Vital Pharmaceuticals, Inc.   Product/Service Agreement             $12,534.00
      Centers of the Southwest, P.
                                           1000 S. Pine Island Road Suite 440 Plantation                                 Engagement Letter, dated May 22,
161   Fiske & Company                                                                      Vital Pharmaceuticals, Inc.                                         $12,370.32
                                           FL 33324                                                                      2018
                                           11555 DUBLIN CANYON RD / PLEASANTON CA
162   Albertsons Companies Foundation                                                      Vital Pharmaceuticals, Inc.   Customer Agreement                    $12,000.00
                                           94588-2815 / US
                                           6916 Baroque Ct / San Bernardino CA 92407 /
163   Guillermo Escalante                                                                  Vital Pharmaceuticals, Inc.   Product/Service Agreement             $11,887.50
                                           US
                                           #5 South Huancheng Rd Room 815-816 Block
      UBI Logistics (China) Limited
164                                        C1 Bantian Sub-District Longgang District       Vital Pharmaceuticals, Inc.   Logistics / Storage Agreement         $11,308.81
      Shenzhen Branch
                                           Shenzhen 518129 China
                                                                                                                         Lease with Maintenance Agreement,
165   GreatAmerica Financial Services      PO BOX 660831 / DALLAS TX 75266-0831 / US Vital Pharmaceuticals, Inc.                                           $11,012.41
                                                                                                                         dated November 30, 2022
      Verizon Business Network Services
166                                     PO Box 15069 Albany NY 12212                       Vital Pharmaceuticals, Inc.   US Services Agreement                 $10,917.83
      Inc
                                                                                                                         PROPOSAL FOR: COMBI ALPHAPACK
      DEPENDABLE PACKAGING                 PETER SENGELMANN 5255 NW 159th St.
167                                                                                        Vital Pharmaceuticals, Inc.   SERVO PICK & PLACE CASE PACKER, $10,834.21
      SOLUTIONS                            Miami FL 33014
                                                                                                                         dated June 08, 2018
                                           1 INDEPENDENT DR STE 1400 / JACKSONVILLE
168   Jimerson Birr, P.A.                                                           Vital Pharmaceuticals, Inc.          Professional Services Agreement       $10,807.78
                                           FL 32202-5011 / US
                                           4700 HIGHLANDS PKWY SE / SMYRNA GA
169   Fire Systems, Inc.                                                            Vital Pharmaceuticals, Inc.          Services Agreement                    $10,259.23
                                           30082-7221 / US
                                           2 ALHAMBRA PLZ STE PH-1-B / CORAL GABLES
170   Appgate Cybersecurity, Inc.                                                   Vital Pharmaceuticals, Inc.          Product/Service Agreement             $9,972.60
                                           FL 33134-5202 / US
      Prologis Targeted U.S. Logistics                                                                                   Clear Lease Agreement, dated May
171                                        1800 Wazee Street / Denver CO 80202 / US        Vital Pharmaceuticals, Inc.                                         $9,950.19
      Fund, L.P.                                                                                                         20, 2019
172   Fuller Enterprises USA, Inc.      1735 E Grevillea Ct / Ontario CA 91761 / US        Vital Pharmaceuticals, Inc.   Materials / Packaging Agreement       $9,795.00
                                        PO BOX 406469 / ATLANTA GA 30384-6469 /
173   Trane US, Inc                                                                        Vital Pharmaceuticals, Inc.   Services Agreement                    $9,561.00
                                        US
                                        c/o GLP US Management LLC Attn: Lease
      Icon Owner Pool 1 LA Non-Business                                                                                  Multi-Tenant Industrial Triple Net
174                                     Administration Two North Riverside Plaza,          Vital Pharmaceuticals, Inc.                                         $9,025.27
      Parks, LLC                                                                                                         Lease, dated June 21, 2019
                                        Suite 2350 Chicago IL 60606
175   ECOLAB, Inc.-NY                   PO BOX 21755 / New York NY 10087 / US              Vital Pharmaceuticals, Inc.   Product/Service Agreement             $9,021.37
176   Olga Alexandrovna Abramovich      Revolucii 60/1 office 522 / 641000 Perm / RU       Vital Pharmaceuticals, Inc.   Talent Services Agreement             $9,001.50
      BROOKE WARREN-HALL HOUSE OF 11 ANTHEM POINTE CT / HENDERSON NV
177                                                                                        Vital Pharmaceuticals, Inc.   Talent Services Agreement             $9,000.00
      HANDLE LLC                        89052-6605 / US
                                    Case 4101
                                         22-17842-PDR
                                              EDISON LAKES PKWY STEDoc
                                                                   350 / 1658                 Filed 07/14/23               Page 153 of 279
178   The Jobsquad                                                                     Vital Pharmaceuticals, Inc.      Product/Service Agreement               $9,000.00
                                           MISHAWAKA IN 46545-3451 / U
                                           c/o Insurance Tracking Service Inc. PO Box                                   Evidence of Commercial Property
179   Rexcord Industrial Realty, L.P.                                                  Vital Pharmaceuticals, Inc.                                              $8,695.40
                                           20270 Long Beach FL 90801                                                    Insurance, dated June 14, 2019
                                           710 S. Dupont Ave / Ontario CA 90074-0028 /                                  Standard Industrial Multi-Tenant
180   Rexford Industrial Realty, L.P.                                                  Vital Pharmaceuticals, Inc.                                              $8,695.40
                                           US                                                                           Lease , dated May 08, 2019
                                           44 S. Washington St. / New Bremen OH 45869                                   Lease Agreement, dated March 19,
181   Crown Credit Company                                                             Vital Pharmaceuticals, Inc.                                              $8,587.58
                                           / US                                                                         2016
182   Thomson Reuters- West                PO Box 6292 / Carol Stream IL 60197 / US    Vital Pharmaceuticals, Inc.      Professional Services Agreement         $8,459.54
                                           PO BOX 7247 - 8502 / PHILADELPHIA PA 19170-
183   Firmenich Incorporated                                                           Vital Pharmaceuticals, Inc.      Materials / Packaging Agreement         $8,436.91
                                           0001 / US
                                           2 SOUTH AYNE BLVD STE 2250 / MIAMI FL                                        Invoices for Deposition Services,
184   Veritext                                                                         Vital Pharmaceuticals, Inc.                                              $8,356.30
                                           33131-1815 / US                                                              dated August 30, 2022
                                           5301 Stevens Creek Blvd / Santa Clara, CA
185   Agilent Technologies, Inc.                                                       Vital Pharmaceuticals, Inc.      Product/Service Agreement               $8,334.13
                                           95051 / US
                                                                                                                        Standard Industrial/Commercial
                                           PO BOX 452741 / LOS ANGELES CA 90045-8538
186   Taro Patch Holding LLC                                                         Vital Pharmaceuticals, Inc.        Single-Tenant Lease – Net, dated    $8,303.47
                                           / US
                                                                                                                        September 01, 2022
                                           75 Remittance Drive, Suite 3205 / Chicago IL                                 Lease Agreement, dated February 11,
187   Duke Realty Limited Partnership                                                     Vital Pharmaceuticals, Inc.                                       $8,136.97
                                           60675-3205 / US                                                              2019
      Florida Industrial Supply &
188                                        1190 Lape Lane / The Villages FL 32163 / US    Vital Pharmaceuticals, Inc.   Product/Service Agreement               $8,102.50
      Equipment Sales, Inc.
                                         11111 Wilcrest Green Suite 100 / Houston TX
189   Landmark Industries                                                             Vital Pharmaceuticals, Inc.       Product/Service Agreement               $7,925.00
                                         77042 / US
      Corporate Creations International, 801 US HIGHWAY 1 / NORTH PALM BEACH FL
190                                                                                   Vital Pharmaceuticals, Inc.       Professional Services Agreement         $7,748.00
      Inc.                               33408 / US
      WestRock Multi Packaging           1040 West Marietta St. NW / Atlanta GA 30318
191                                                                                   Vital Pharmaceuticals, Inc.       Product/Service Agreement               $7,675.00
      Solutions, Inc                     / US
                                         11622 EL CAMINO REAL / SAN DIEGO CA 92130-                                     Invoices for Legal Services Rendered,
192   Pettit Kohn Ingrassia Lutz & Dolin                                              Vital Pharmaceuticals, Inc.                                             $7,562.50
                                         2049 / US                                                                      dated May 23, 2022
                                         188 FRIES MILL RD STE G2 / TURNERSVILLE NJ
193   Premier Broker Partners, LLC                                                    Vital Pharmaceuticals, Inc.       Customer Agreement                      $7,393.42
                                         08012-2015 / US
      ACCRALAW Office Angar Abello       22nd Floor ACCRALAW Tower 2nd Ave. Cor. /
194                                                                                   Vital Pharmaceuticals, Inc.       Professional Services Agreement         $7,195.00
      Conception Regala and Cruz         1635 Bonifacio Glo
                                         880 West Center Street North Salt Lake UT                                      Customer Development Agreement,
195   Maverik, Inc.                                                                   Vital Pharmaceuticals, Inc.                                       $7,161.80
                                         84054                                                                          dated January 01, 2014
196   Flavor Materials International     PO Box 352 North Syracuse NY 13212           Vital Pharmaceuticals, Inc.       Materials / Packaging Agreement $7,120.48
197   SHI International Corporation        PO BOX 952121 / DALLAS TX 75395-2121 / US Vital Pharmaceuticals, Inc.        Product/Service Agreement               $7,018.44
198   Matheson Tri-Gas, Inc                7320 N.W. 58th Street / Miami FL 33166 / US    Vital Pharmaceuticals, Inc.   Product/Service Agreement               $7,008.09
                                           1 Millennium Drive / Willingboro, NJ 08046 /
199   Radwell International, Inc.                                                         Vital Pharmaceuticals, Inc.   Product/Service Agreement               $6,947.36
                                           US
                                           410 EXCHANGE STE 100 / IRVINE CA 92602-
200   Stretto, Inc.                                                                       Vital Pharmaceuticals, Inc.   Professional Services Agreement         $6,920.00
                                           1331 / US
                                           402 W. ROADWAY STE 1140 / SAN DIEGO CA                                       Invoices for Expert Witness Services,
201   White & Amundson, APC                                                               Vital Pharmaceuticals, Inc.                                           $6,883.14
                                           92101-8513 / US                                                              dated July 31, 2022
202   Neogen Corporation                   620 Lesher Place Lansing MI 48912              Vital Pharmaceuticals, Inc.   Product/Service Agreement               $6,663.40
                                                                                                                        Invoices for Uniform Rental
                                           P.O. Box 636525 / Cincinnati OH 45263-6525 /
203   Cintas Corporation, Location 017                                                  Vital Pharmaceuticals, Inc.     Agreement, dated November 20,           $6,557.50
                                           US
                                                                                                                        2019
                                           350 Great Southwest Parkway Atlanta GA                                       Critical Vendor Agreement, dated
204   CKS Packaging, Inc.                                                            Vital Pharmaceuticals, Inc.                                                $6,522.11
                                           30336                                                                        November 09, 2022
                                           41805 ALBRAE ST / FREMONT CA 94538-3144 /
205   AU Energy, LLC                                                                 Vital Pharmaceuticals, Inc.        Customer Agreement                      $6,390.38
                                           US
                                                                                                                        Beverage Production and Packaging
206   Berner Food and Beverage, Inc.       2034 E Factory Road Dakota IL 61018            Vital Pharmaceuticals, Inc.   Agreement, dated September 01,          $6,375.00
                                                                                                                        2020
                                           5812 JOHNSON ST / HOLLYWOOD FL 33021-
207   Pest Pro Rid All, LLC                                                            Vital Pharmaceuticals, Inc.      Services Agreement                      $6,234.89
                                           5636 / US
                                           K-03-06 Block K No. 2 Jalan Solaris / 50480
208   Abasan SDN BHD                                                                   Vital Pharmaceuticals, Inc.      Professional Services Agreement         $6,213.00
                                           Kuala Lumpur / M
      Jani-King of Phoenix related         PO BOX 51526 / LOS ANGELES CA 90051-5826
209                                                                                    Vital Pharmaceuticals, Inc.      Product/Service Agreement               $6,011.35
      Services, Inc.                       / US
                                           917 W MADISON ST / PHOENIX AZ 85007-3117
210   Electric Supply, Inc                                                             Vital Pharmaceuticals, Inc.      Services Agreement                      $6,005.29
                                           / US
211   Genesis Coito                        1643 11th St Sw Naples FL 34117             Vital Pharmaceuticals, Inc.      Talent Services Agreement               $6,000.00
212   Ecolab Pest Elimination Ecolab, Inc. 26252 Network Place / Chicago IL 60673 / US    Vital Pharmaceuticals, Inc.   Services Agreement                      $5,864.59
      Arbon Equipment Corporation -
213                                        7060 W State Road 84 / Davie FL 33317 / US     Vital Pharmaceuticals, Inc.   Product/Service Agreement               $5,731.76
      Southeast
                                           1310 MADRID ST STE 100 / MARSHALL MN
214   U.S. Bank National Association                                                      Vital Pharmaceuticals, Inc.   Lease Agreement                         $5,699.70
                                           56258-4001 / US
215   Duke Energy                          PO Box 1090 Charlotte NC 28201                 Vital Pharmaceuticals, Inc.   Product/Service Agreement               $5,423.30
216   Ankus Consulting Inc                 12555 Orange Drive / Davie FL 33330 / US       Vital Pharmaceuticals, Inc.   Professional Services Agreement         $5,333.33
                                           6060 N Central Expy Suite 334 Dallas TX 75206-                               User Agreement, dated September
217   CT Corsearch                                                                        Vital Pharmaceuticals, Inc.                                           $5,120.00
                                           5204                                                                         13, 2011
                                  Case 22-17842-PDR                         Doc 1658              Filed 07/14/23 Invoice
                                                                                                                    Page       154
                                                                                                                         for 1,000   of Bango,
                                                                                                                                   Mango 279
218   Friesens Corporation                    P.O. X 556 / PEMBINA ND 58271-0556 / US         Vital Pharmaceuticals, Inc.                                          $5,000.00
                                                                                                                            dated April 06, 2022
                                              Akademika Koroleva 4/1 / 129515 Moscow /
219   Svetlana Bilialova                                                                      Vital Pharmaceuticals, Inc.   Talent Services Agreement              $5,000.00
                                              RU
                                              80 Aberdeen St. Suite 301 / Ottowa ON K1S
220   Shoebox Ltd                                                                             Vital Pharmaceuticals, Inc.   Product/Service Agreement              $4,991.16
                                              5R5 / CA
                                                                                                                            Invoices for Legal Services Rendered
                                              2 N. IVERSIDE PLZ STE 1500 / CHICAGO IL
221   Dennemeyer & Associates, LLC                                                            Vital Pharmaceuticals, Inc.   in Relation to Trademark Filing, dated $4,926.80
                                              60606-2608 / US
                                                                                                                            June 28, 2017
222   Sigma-Aldrich Inc.                      PO BOX 535182 / Atlanta GA 30353-5182 / US Vital Pharmaceuticals, Inc.        Materials / Packaging Agreement        $4,766.16
223   Colony Capital, Inc.                    13727 Noel Road, Suite 750 Dallas TX 75240      Vital Pharmaceuticals, Inc.   Tenant Handbook                        $4,738.54
                                              Asset Manager/Everman Trade Center c/o Holt
                                                                                                                            Lease Agreement, dated October 22,
224   Everman Trade Center, L.P.              Lunsford Commercial 5950 Berkshire Lane         Vital Pharmaceuticals, Inc.                                      $4,660.46
                                                                                                                            2019
                                              Suite 900 Dallas TX 75225
                                              PO BOX 3160 / LAGUNA HILLS CA 92654-3160 /
225   National Safety Compliance, Inc.                                                        Vital Pharmaceuticals, Inc.   Product/Service Agreement              $4,604.65
                                              US
                                              Erick Del Valle PH Atlantis #18A Panama 0801
226   Stephany Gonzalez                                                                       Vital Pharmaceuticals, Inc.   Talent Services Agreement              $4,430.45
                                              Panama
                                              5722 S FLAMINGO RD / COOPER CITY FL 33330-
227   Doug Hedden Electric, Inc                                                               Vital Pharmaceuticals, Inc.   Services Agreement                     $4,397.94
                                              3206 / US
                                              29749 Network Place / Chicago IL 60673-1297
228   Spot Coolers                                                                            Vital Pharmaceuticals, Inc.   Services Agreement                     $4,351.21
                                              / US
229   Kamps Pallets                           PO BOX 675126 / DETROIT MI 48267 / US           Vital Pharmaceuticals, Inc.   Materials / Packaging Agreement        $4,312.11
      Stauber Performance Ingredients,        4120 N. Palm Street / Fullerton CA 92835-1026
230                                                                                           Vital Pharmaceuticals, Inc.   Materials / Packaging Agreement        $4,240.00
      Inc.                                    / US
231   Delta Diversified Enterprises           425 W. Gemini Dr. / Tempe AZ 85283 / US         Vital Pharmaceuticals, Inc.   Product/Service Agreement              $4,150.00
      Centimark Corp. Questmark               2400 W Union Hills Dr. Suite # 170 / Phoenix AZ                               Invoice for Service Call, dated June
232                                                                                           Vital Pharmaceuticals, Inc.                                          $4,000.00
      Flooring                                85027 / US                                                                    21, 2022
                                              15 S GRADY WAY STE 610 / RENTON WA 98057-
233   Aker BioMarine Antarctic US LLC                                                         Vital Pharmaceuticals, Inc.   Materials / Packaging Agreement        $3,875.00
                                              3218 / US
                                              3440 NE 192ND ST APT 1L / AVENTURA FL
234   Smart Technology Solutions                                                              Vital Pharmaceuticals, Inc.   Product/Service Agreement              $3,785.12
                                              33180-2422 / US
                                              1500 SOLANA BLVD STE 3400 / WESTLAKE TX
235   Core-Mark International, Inc                                                            Vital Pharmaceuticals, Inc.   Customer Agreement                     $3,776.00
                                              76262-5318 / US
236   NV, LLC                                 417 Bateasville Rd / Simpsonville SC 29681 / US Vital Pharmaceuticals, Inc.   Lease Agreement                        $3,737.39

237   FleetWash                               PO BOX 36014 / NEWARK NJ 07188-6014 / US Vital Pharmaceuticals, Inc.          Product/Service Agreement              $3,729.22
                                              5225 VERONA RD / FITCHBURG WI 53711-4497
238   Thermo Electron North America LLC                                                   Vital Pharmaceuticals, Inc.       Product/Service Agreement              $3,628.37
                                              / US
                                              2365 Matheson Blvd. E / Mississauga, ON L4W
239   Freeman Audio Visual Canada                                                         Vital Pharmaceuticals, Inc.       Product/Service Agreement              $3,545.04
                                              5B3 / CA
240   7-11 FOASC                              885 Patriot Dr. #G / Moorpark CA 93021 / US Vital Pharmaceuticals, Inc.       Customer Agreement                   $3,500.00
                                                                                                                            Critical Vendor Agreement, dated
241   Varni Brothers Corporation              400 Hosmer Avenue Modesto CA 95351              Vital Pharmaceuticals, Inc.                                        $3,474.58
                                                                                                                            October 2022
                                                                                                                            Invoices for Promotional Event,
                                              7132 WASHINGTON ST / KANSAS CITY MO
242   Daisy Duke Promotions, LLC                                                              Quash Seltzer LLC             Products & Supply, dated January 14, $3,400.47
                                              64114-1343 / US
                                                                                                                            2022
                                              102 CENTENNIAL ST / LA PLATA MD 20646-
243   Dash in Food Stores, Inc                                                                Vital Pharmaceuticals, Inc.   Customer Agreement                     $3,302.80
                                              5967 / US
                                              23009 SE 14TH ST / SAMMAMISH WA 98075-                                        Invoices for Deposition Preparation,
244   Todd King                                                                               Vital Pharmaceuticals, Inc.                                        $3,267.00
                                              9339 / US                                                                     dated June 01, 2022
                                                                                                                            Invoices for Legal Services Rendered
                                              D HUGHES PKWY STE 700 / LAS VEGAS NV                                          in Relation to Monster Energy
245   Litigation Services & Technologies                                                      Vital Pharmaceuticals, Inc.                                        $3,159.70
                                              89169-5983 / US                                                               Company Litigation, dated May 27,
                                                                                                                            2022
      MATHIAS SELLANES BAEZ MAGUS & 1830 S OCEAN DR / HALLANDLE BCH FL 33009-
246                                                                            Vital Pharmaceuticals, Inc.                  Talent Services Agreement              $3,000.00
      BOSHI LLC                     7696 / US
                                    1900 HIGHWAY 35 BYP N / ALVIN TX 77511-                                                 Invoice for Shipping and Handling
247   Communikay Graphics BeAed LP                                             Vital Pharmaceuticals, Inc.                                                         $2,970.12
                                    4786 / US                                                                               Charges, dated October 19, 2022
                                    15 North East Industrial Rd. / Branford CT
248   Global Montello Group Corp.                                              Vital Pharmaceuticals, Inc.                  Services Agreement                     $2,928.86
                                    06405 / US
                                              Attn: Donald Rogers, District Manager 2111                                    Security Services Agreement, dated
249   Securitas Security Services USA, Inc.                                                Vital Pharmaceuticals, Inc.                                             $2,925.12
                                              East Highland Ave Suite 350 Phoenix AZ 85051                                  October 01, 2019
250   Light F/X Pro's                         7261 NW 43rd Street / Miami FL 33166 / US       Vital Pharmaceuticals, Inc.   Customer Agreement                     $2,863.00
                                              250 University Ave. / Toronto ON M5H 3E5 /
251   Wilson Lue                                                                              Vital Pharmaceuticals, Inc.   Professional Services Agreement        $2,851.73
                                              CA
                                              1133 WESTCHESTER AVE STE S-125 / WEST
252   Jackson Lewis, P.C.                                                                     Vital Pharmaceuticals, Inc.   Professional Services Agreement        $2,800.00
                                              HARRISON NY 10604-3580
                                              8900 SHOAL CREEK BLVD STE 111 / AUSTIN TX
253   GreenRoad Technologies, Inc                                                             Vital Pharmaceuticals, Inc.   Services Agreement                     $2,772.92
                                              78757-6840 / US
      CL&D Graphics LLC dba CL&D              1101 W 2ND ST / OCONOMOWOC WI 53066-
254                                                                                           Vital Pharmaceuticals, Inc.   Materials / Packaging Agreement        $2,653.87
      Digital                                 3401 / US
                                   Case 990
                                        22-17842-PDR                Doc 1658
                                            N BOWSER RD. STE 740 / RICHARDSON TX              Filed 07/14/23               Page 155 of 279
255   Cellhire USA LLC                                                                    Vital Pharmaceuticals, Inc.   Services Agreement                    $2,600.00
                                           75081 / US
                                           2900 Monarch Lakes Blvd. Suite 300 Miramar                                   Master Services Agreement, dated
256   United Data Technologies, Inc.                                                      Vital Pharmaceuticals, Inc.                                         $2,550.00
                                           FL 33027                                                                     November 05, 2019
                                           11 Byls Bridge Boulevard Building No. 14,
257   Spoor & Fisher                       Highveld Ext 73, Centurion Pretoria 0157 South Vital Pharmaceuticals, Inc.   Product/Service Agreement             $2,535.78
                                           Africa
258   DMM Fleet Washing & Detail           402 Water Tower Cir Colchester VT 05446        Vital Pharmaceuticals, Inc.   Product/Service Agreement             $2,505.00
                                           2721 NW 19TH ST / POMPANO BEACH FL
259   Fire Controls, INC.                                                                 Vital Pharmaceuticals, Inc.   Professional Services Agreement       $2,504.48
                                           33069-5232 / US
                                           225 Reinekers Lane Suite 300 / Alexandria VA
260   Kramer IP Search, LLC                                                               Vital Pharmaceuticals, Inc.   Product/Service Agreement             $2,450.00
                                           22314 / US
                                           1646 NW 108TH AVE / MIAMI FL 33172-2007 /
261   Posimat-Bottle Tech, Inc                                                            Vital Pharmaceuticals, Inc.   Services Agreement                    $2,445.31
                                           US
                                           5920 Yellowstone Rd Suite 1 / Cheyenne WY
262   Block One Technologies                                                              Vital Pharmaceuticals, Inc.   Product/Service Agreement             $2,439.39
                                           82009 / US
                                           165 FLANDERS RD / WESTBOROUGH MA 01581-                                      Invoices for Bang Energy Rebates,
263   Cumberland Farms, Inc.                                                              Vital Pharmaceuticals, Inc.                                         $2,428.27
                                           1032 / US                                                                    dated October 31, 2022
                                           2955 MOMENTUM PL / CHICAGO IL 60689-
264   Coverall North America Inc.                                                         Vital Pharmaceuticals, Inc.   Services Agreement                    $2,390.62
                                           5329 / US
                                           704 MAIN AVE N / HARMONY MN 55939-8839
265   Harmony Enterprises, Inc                                                            Vital Pharmaceuticals, Inc.   Employment Agreement                  $2,369.44
                                           / US
266   Southern California Edison           4175 S Laspina St Tulare CA 93274              Vital Pharmaceuticals, Inc.   Services Agreement                    $2,338.91
                                           5030 SW 29TH AVE / FT LAUDERDALE FL 33312-                                   Invoice for Piping Room
267   Extreme Process Solutions, LLC                                                      Vital Pharmaceuticals, Inc.                                         $2,278.00
                                           5814 / US                                                                    Modifications, dated May 09, 2022
      A Mom with a Mop Residential         12531 STONEBRIAR RIDGE DR / DAVIDSON NC                                      Invoices for Cleaning Services
268                                                                                Vital Pharmaceuticals, Inc.                                             $2,250.00
      Cleaning                             28036-8626 / US                                                              Rendered, dated September 13, 2022
                                           Prospekt Mira 3rd Floor Office XIV, Room 14 6
269   Patent & Law Firm YUS, LLC                                                         Vital Pharmaceuticals, Inc.    Professional Services Agreement       $2,230.00
                                           / 129090 Mosco
270   Kaman Industrial Technologies        FILE 25356 / LOS ANGELES CA 90074-0001 / US Vital Pharmaceuticals, Inc.      Services Agreement                    $2,220.17
                                           2487 S GILBERT RD STE 106-268 / GILBERT AZ
271   Culver Equipment, LLC.                                                              Vital Pharmaceuticals, Inc.   Services Agreement                    $2,198.02
                                           85295-2818 / US
                                           7977 HILLS & DALES RD NE / MASSILLON OH
272   Bell Stores Inc                                                                     Vital Pharmaceuticals, Inc.   Customer Agreement                    $2,178.38
                                           44646 / US
                                           Jasmine Sade Williams 929 Knollwood Dr                                       Payment Agreement, dated October
273   Saia Ltl Freight                                                                    Vital Pharmaceuticals, Inc.                                          $2,177.37
                                           Desoto TX 75115                                                              24, 2014
                                                                                                                        Invoice for Legal Services Rendered in
                                           200 BUSINESS PARK DR STE 103 / ARMONK NY
274   J Robbin Law PLLC                                                             Vital Pharmaceuticals, Inc.         Relation to Brown v VPX, dated July $2,130.00
                                           10504-1751 / US
                                                                                                                        06, 2022
275   Gopakumar Nair Associates         PO Box 150127 Ogden UT 84415-0127          Vital Pharmaceuticals, Inc.          Professional Services Agreement        $2,075.00
276   Ana Paula Galvan Moreno           Dieguinos 79 / 58090 Santa Maria / MX      Vital Pharmaceuticals, Inc.          Talent Services Agreement              $2,000.00
                                        1129 E. Dominguez St / Suite K / Carson CA
277   TNC Promotional Marketing, LLC                                               Vital Pharmaceuticals, Inc.          Product/Service Agreement             $2,000.00
                                        90746 / US
                                        1025 NW 69TH AVE / MARGATE FL 33063-3448
278   ARCS Network Cabling Arch Cabling                                            Vital Pharmaceuticals, Inc.          Services Agreement                    $1,990.00
                                        / US
                                        Scarlett Hernandez 9481 Stoneybrock Pl
279   Saminchem Incorporated                                                       Vital Pharmaceuticals, Inc.          Materials / Packaging Agreement       $1,952.50
                                        Rancho Cucamonga CA 91730
                                        5555 E VAN BUREN ST STE 215 / PHOENIX AZ
280   Off Madison Ave, LLC                                                         Vital Pharmaceuticals, Inc.          Product/Service Agreement             $1,950.00
                                        85008-3486 / US
                                                                                                                        Lease Agreement - $1.00 Option,
281   Byline Financial Group               BIN 88205 / MILWAUKEE WI 53288-8205 / US Vital Pharmaceuticals, Inc.                                               $1,793.81
                                                                                                                        dated July 16, 2020
                                           69 WILLIAM ST / BELLEVILLE NJ 07109-3040 /
282   Vac-U-Max                                                                           Vital Pharmaceuticals, Inc.   Product/Service Agreement             $1,780.56
                                           US
                                                                                                                        Invoice for Bulk Chemical Inventory
283   Envirosure Solutions, LLC            1018 E Guadalupe Road / Tempe AZ 85283 / US Vital Pharmaceuticals, Inc.                                           $1,760.00
                                                                                                                        and EPA Report, dated April 20, 2022
                                           14701 Charlson Rd Suite 2400 Eden Prairie MN                                 Cargo Waiver of Liability and
284   C.H. Robinson Worldwide, Inc.                                                     Vital Pharmaceuticals, Inc.                                           $1,702.73
                                           55347                                                                        Idemnification Agreement
                                           P.O. BOX X 841461 / LOS ANGELES CA 90084-
285   National Construction Rentals, Inc                                                Vital Pharmaceuticals, Inc.     Rental Agreement                      $1,696.43
                                           1461 / US
                                           769 JERSEY AVE / NEW BRUNSWICK NJ 08901-
286   Spectrum Chemical MFG Corp.                                                       Vital Pharmaceuticals, Inc.     Materials / Packaging Agreement       $1,680.03
                                           3605 / US
                                           25 Seolleung-ro 119-gil Gangnam-gu / 06100
287   Shinsegi Patent Law Firm                                                          Vital Pharmaceuticals, Inc.     Professional Services Agreement       $1,678.15
                                           Seoul / KP
                                           6402 NW 74th Ave. / Miami FL 33166-3635 /
288   ABF Freight                                                                       Vital Pharmaceuticals, Inc.     Logistics / Storage Agreement         $1,640.28
                                           US
                                           840 Franklin Court Suite 200 / Marietta GA
289   Otis Elevator Company                                                             Vital Pharmaceuticals, Inc.     Services Agreement                    $1,590.00
                                           30067 / US
                                           4800 ROBERTS RD / COLUMBUS OH 43228-
290   Kimball Midwest                                                                   Vital Pharmaceuticals, Inc.     Services Agreement                    $1,545.55
                                           9791 / US
                                           1500 N. Mittel Blvd.                                                         Customer Information, dated
291   Videojet                                                                          Vital Pharmaceuticals, Inc.                                           $1,542.32
                                           Wood Dale, IL 60191-1073                                                     November 02, 2017
292   Molly Maid of Denver West            9797 W. Colfax Ave / Lakewood CO 80215 / US Vital Pharmaceuticals, Inc.      Product/Service Agreement             $1,429.63
                                   Case 499
                                        22-17842-PDR              Doc
                                            NW 70TH AVE / PLANTATION     1658
                                                                     FL 33317-                  Filed 07/14/23                Page 156 of 279
293   Pelican Insurance Agency, Inc.                                                     Vital Pharmaceuticals, Inc.       Product/Service Agreement              $1,401.26
                                          7500 / US
                                          Ave. Cayetano Germosen, Res / 11102 Jardines
294   NRAMOS                                                                             Vital Pharmaceuticals, Inc.       Professional Services Agreement        $1,400.00
                                          del Sur / DO
                                          7290 COLLEGE PKWY STE 200 / FORT MYERS FL                                        Invoices for Transportation Services,
295   R&L Truckload Services, LLC                                                        Vital Pharmaceuticals, Inc.                                             $1,375.00
                                          33907-5649 / US                                                                  dated December 08, 2021
                                          10601 N PENNSYLVANIA AVE / OKLAHOMA
296   Love's Travel Stops & County Stores                                                Vital Pharmaceuticals, Inc.       Customer Agreement                     $1,370.11
                                          CITY OK 73120-4108 / US
                                          1000 Bluegrass Parkway / Louisville KY 40299 /
297   Lantech.com LLC                                                                    Vital Pharmaceuticals, Inc.       Product/Service Agreement              $1,350.63
                                          US
                                          110 E Broward Blvd., Suite 1700 / Fort
298   Erica W. Stump, P.A.                                                               Vital Pharmaceuticals, Inc.       Professional Services Agreement        $1,340.00
                                          Lauderdale FL 33301 /
                                          939 S BROADWAY APT 808 / LOS ANGELES CA
299   Law Offices of Olaf J Muller                                                       Vital Pharmaceuticals, Inc.       Professional Services Agreement        $1,331.50
                                          90015-4488 / US
      Nuspark Automation & Packaging
300                                       400 Streeprock Drive / Toronto M3J 2X1 / CA Vital Pharmaceuticals, Inc.          Services Agreement                     $1,291.10
      System
301   Glanbia Nutritionals, Inc.          523 6th Street Monroe WI 53566                 Vital Pharmaceuticals, Inc.       Supply Agreement                       $1,252.13
                                                                                                                           Maintenance Service Agreement,
302   Crown Lift Trucks                   2971 Center Port Cir Pompano Beach FL 33064 Vital Pharmaceuticals, Inc.                                                 $1,249.32
                                                                                                                           dated July 01, 2022
303   Rival Graphix                       310 WHITFIELD AVE / SARASOTA FL 34243 / US Vital Pharmaceuticals, Inc.           Product/Service Agreement              $1,242.75
                                          3501 W OSBORN RD / PHOENIX AZ 85019-4037
304   MBI Industrial Medicine Inc.                                                 Vital Pharmaceuticals, Inc.             Professional Services Agreement        $1,221.00
                                          / US
      The Optimist Club of Cooper City,   9710 STIRLING RD STE 107 / HOLLYWOOD FL
305                                                                                Vital Pharmaceuticals, Inc.             Product/Service Agreement              $1,200.00
      Inc.                                33024-8018 / US
306   Sun State Landscape Management 3942 W Lincoln Street / Phoenix AZ 85009 / US Vital Pharmaceuticals, Inc.             Services Agreement                     $1,197.30
                                          8751 W Broward Blvd. Suite 300 / Plantation FL                                   Invoices for Legal Services Rendered,
307   Moore Rabinowitz Law, P.A.                                                         Vital Pharmaceuticals, Inc.                                             $1,192.00
                                          33324 / US                                                                       dated July 05, 2022
                                          1466 E GLACIER PL / CHANDLER AZ 85249-5459                                       Employment Agreement, dated
308   Steven Kunz                                                                        Vital Pharmaceuticals, Inc.                                             $1,182.07
                                          / US                                                                             November 19, 2022
309   GTT Americas, LLC                   P.O. Box 842630 / Dallas TX 75284-2630 / US Vital Pharmaceuticals, Inc.          Services Agreement                    $1,169.39
310   Esquire Deposition Solutions, LLC   PO BOX 846099 / DALLAS TX 75284-6099 / US Vital Pharmaceuticals, Inc.            Professional Services Agreement        $1,142.00
311   Anton Paar USA, Inc                 2824 Columbia Street Torrance CA 90503             Vital Pharmaceuticals, Inc.   Materials / Packaging Agreement        $1,116.65
                                          419 10TH ST STE 350 / SAN FRANCISCO CA                                           Statement of Work, dated July 04,
312   IPnavigent Associates, Inc                                                             Vital Pharmaceuticals, Inc.                                          $1,110.50
                                          94103-4303 / US                                                                  2019
                                          2501 S.W. 160th Ave., Suite 100 / Miramar FL
313   Motion Industries                                                                      Vital Pharmaceuticals, Inc.   Product/Service Agreement              $1,090.07
                                          33027 / US
                                          5720 BOZEMAN DR APT 11521 / PLANO TX
314   VB Quality Solutions LLC                                                               Vital Pharmaceuticals, Inc.   Product/Service Agreement              $1,054.95
                                          75024-5704 / US
                                          P.O. Box 25111 / Santa Ana CA 92799-5111 /
315   San Diego Gas & Electric                                                               Vital Pharmaceuticals, Inc.   Product/Service Agreement              $1,021.21
                                          US
                                          16405 NW 8TH AVE / MIAMI FL 33169-5812 /                                         Invoice for Rental, dated July 05,
316   MIX3 SOUND, INC                                                                        Vital Pharmaceuticals, Inc.                                          $1,000.00
                                          US                                                                               2022
                                          201 N Illinois Street, 16th floor, South Tower /
317   BEYOND TECHNOLOGIES LLC                                                                Vital Pharmaceuticals, Inc.   Product/Service Agreement              $999.00
                                          Indianapoli
                                                                                                                           Western Overseas Hold Harmless
318   Western Overseas Corporation        PO Box 90099 Long Beach CA 90809                   Vital Pharmaceuticals, Inc.                                          $994.63
                                                                                                                           Agreement, dated June 11, 2017
                                          PO BOX 749397 / LOS ANGELES CA 90074-9397
319   Phenomenex                                                                      Vital Pharmaceuticals, Inc.          Product/Service Agreement              $984.87
                                          / US
                                          500 MAMARONECK AVE / HARRISON NY 10528-
320   Barrington Chemical Corporation                                                 Vital Pharmaceuticals, Inc.          Materials / Packaging Agreement        $974.55
                                          1633 / US
      OneCBIZ Inc CBIZ Brining Taylor     401 B ST STE 2150 / SAN DIEGO CA 92101-4201
321                                                                                   Vital Pharmaceuticals, Inc.          Professional Services Agreement        $962.50
      Zimmer                              / US
                                          1025 Gateway Blvd / Boynton Beach FL 33426-
322   Top-Notch Investigation, Inc                                                    Vital Pharmaceuticals, Inc.          Product/Service Agreement              $960.00
                                          8348 / US
323   Advance Scientific & Chemical, Inc. 2345 SW 34th St / Ft. Lauderdale FL 33312 / US Vital Pharmaceuticals, Inc.       Materials / Packaging Agreement        $934.00
324   Mobile Force Refueling, LLC        P.O. X 13427 / TEMPE AZ 85284-0058 / US       Vital Pharmaceuticals, Inc.         Product/Service Agreement              $929.11
                                         P.O. BOX 53249 / PHOENIX AZ 85072-3249 /
325   Cox Communications                                                               Vital Pharmaceuticals, Inc.         Services Agreement                     $917.40
                                         US
326   Town of Medley                     7777 NW 72 Ave / Medley FL 33166 / US         Vital Pharmaceuticals, Inc.         Invoices for Transportation Services   $915.87
                                         442 Southwest 4th Ave Fort Lauderdale FL                                          Employment Agreement, dated June
327   Estefania Ortiz                                                                  Vital Pharmaceuticals, Inc.                                                $896.49
                                         33315                                                                             15, 2020
328   Pat Vitamins, Inc.                 9839 S Tyron St Charlotte NC 28273            Vital Pharmaceuticals, Inc.         Materials / Packaging Agreement        $887.50
                                         8969 CLEVELAND RD / CLAYTON NC 27520-                                             Invoices for Laboratory Testing of
329   Advanced Laboratories, Inc.                                                      Vital Pharmaceuticals, Inc.                                                $884.57
                                         7198 / US                                                                         Samples, dated August 19, 2022
      Toshiba America Business Solutions P.O. BOX 402709 / ATLANTA GA 30384-2709 /
330                                                                                    Vital Pharmaceuticals, Inc.         Product/Service Agreement              $880.70
      Inc                                US
                                         6307 HIRONDEL ST / HOUSTON TX 77087-6814
331   Ricky Heaven Cleaning Services                                                   Vital Pharmaceuticals, Inc.         Services Agreement                     $875.00
                                         / US
      Marine Corps Community Service
332                                      3044 Catlin Ave / Quantico VA 22134-5003 / US Vital Pharmaceuticals, Inc.         Product/Service Agreement              $850.00
      Business and Support Services
                                         1320 Brookwood Drive Suite H / Little Rock AR
333   Solitude Lake Management LLC                                                     Vital Pharmaceuticals, Inc.         Services Agreement                     $842.66
                                         72202 / US
                                 Case P.O.
                                      22-17842-PDR                  Doc
                                           Box 636525 / Cincinnati OH      1658
                                                                      45263-6525 /          Filed 07/14/23                Page 157 of 279
334   Cintas Protection No 2                                                           Vital Pharmaceuticals, Inc.     Product/Service Agreement            $831.63
                                           US
                                           1600 John F. Kennedy Blvd / Philadelphia PA
335   Post & Schell P,C.                                                               Vital Pharmaceuticals, Inc.     Services Agreement                   $825.00
                                           19103 / US
                                           P.O. BOX 7161 / PASADENA CA 91109-7161 /
336   Orkin Pest Control                                                               Vital Pharmaceuticals, Inc.     Product/Service Agreement            $815.68
                                           US
      Full Spectrum Group, LLC Full        23332 MILL CREEK DR STE 205 / LAGUNA HILLS
337                                                                                    Vital Pharmaceuticals, Inc.     Materials / Packaging Agreement      $801.80
      Spectrum Analytics                   CA 92653-7929 / U
                                           Laan Van avant Garde 314 Rotterdam 3059RA
338   Lorenzo Lugtigheid                                                               Vital Pharmaceuticals, Inc.     Talent Services Agreement            $800.00
                                           Netherlands
                                           1654 HIGH HILL RD / SWEDESBORO NJ 08085-
339   Thomas Scientific Holdings, LLC                                                  Vital Pharmaceuticals, Inc.     Product/Service Agreement            $764.57
                                           1780 / US
340   Bailey Whissel Productions           99 Yorkville Ave Toronto / ON M5R 1C1       Vital Pharmaceuticals, Inc.     Talent Services Agreement            $750.00
      Sonitrol of Fort Lauderdale Sonitrol 1770 NW 64TH ST STE 630 / FT LAUDERDALE FL
341                                                                                    Vital Pharmaceuticals, Inc.     Product/Service Agreement            $721.37
      Security Solutions                   33309-1853 / US
342   Neovia Auckland Limited            PO Box 1963, Shortland Street / Auckland 1140 Vital Pharmaceuticals, Inc.     Professional Services Agreement      $690.00
                                         3601 NE Loop 820, Suite 100 / Forth Worth TX
343   Orkin, LLC-FT. Worth                                                            Vital Pharmaceuticals, Inc.      Services Agreement                   $683.91
                                         76137 / US
                                         P. O. BOX 74007252 / CHICAGO IL 60674-7252                                    Invoice for Pages Processed, dated
344   Datasite LLC                                                                    Vital Pharmaceuticals, Inc.                                           $675.65
                                         / US                                                                          October 14, 2022
      Alarmnet Security Computer Vision
345                                       3609 SW 161 Terrace / Miramar FL 33027 / US Vital Pharmaceuticals, Inc.      Services Agreement                   $673.78
      USA36
                                          1553 W ELNA RAE ST STE 101 / TEMPE AZ
346   Tucker Hill Air Plumbing & Electric                                             Vital Pharmaceuticals, Inc.      Services Agreement                   $670.35
                                          85281-5222 / US
      Global Bodybuilding Organization, PO Box 270125 / Flower Mound TX 75027-
347                                                                                   Vital Pharmaceuticals, Inc.      Product/Service Agreement            $650.00
      LLC                                 0125 / US
                                          22835 INDUSTRIAL PL / GRASS VALLEY CA
348   Micro Precision Calibration, Inc.                                               Vital Pharmaceuticals, Inc.      Product/Service Agreement            $627.60
                                          95949-6326 / US
                                          2911 Hunter Mill Road Suite 303 / Oakton VA
349   Lehrman Beverage Law, PLLC                                                      Vital Pharmaceuticals, Inc.      Product/Service Agreement            $622.12
                                          22124 / US
                                          628 PINEBRANCH CIR / WINTER SPGS FL 32708-
350   Brandon Daniels                                                                 Vital Pharmaceuticals, Inc.      Talent Services Agreement            $600.00
                                          5641 / US
      EnsembleIQ - Stagnito Partners      20 Eglinton Ave W Suite 1800 Toronto ON M4R
351                                                                                   Vital Pharmaceuticals, Inc.      Customer Agreement                   $576.20
      Canada, Inc.                        1K8 Canada
                                          PO BOX 65019 / BALTIMORE MD 21264-5019 /
352   Counsel Press, Inc.                                                             Vital Pharmaceuticals, Inc.      Professional Services Agreement      $559.00
                                          US
                                          3330 KELLER SPRINGS RD STE 250 /
353   Orkin LLC- Carrollton                                                           Vital Pharmaceuticals, Inc.      Services Agreement                   $547.86
                                          CARROLLTON TX 75006-5053 /
                                          1804 GARNET AVE # 434 / SAN DIEGO CA
354   Gaslamp District Media                                                          Vital Pharmaceuticals, Inc.      Product/Service Agreement            $500.00
                                          92109-3352 / US
                                                                                                                       1Screen Services - Kwik Trip Business
                                         333 South Seventh Street Suite 1000
355   SPS Commerce, Inc.                                                                 Vital Pharmaceuticals, Inc.   Collaboration, dated December 09, $500.00
                                         Minneapolis MN 55402
                                                                                                                       2022
                                             San Jose, Sabana Norte, Edificio Sabana /
356   Fayca Legal Sociedad Anonima                                                       Vital Pharmaceuticals, Inc.   Professional Services Agreement      $480.25
                                             99999 / CR
                                             PO BOX 250149 / ATLANTA GA 30325-1149 /
357   Georgia Gas Distributions, Inc.                                                    Vital Pharmaceuticals, Inc.   Product/Service Agreement            $470.18
                                             US
358   ADM Wild Europe GmbH & Co. KG Am Schlangengraben 3-5 / 13597 Berlin / DE           Vital Pharmaceuticals, Inc.   Materials / Packaging Agreement        $464.40
      Shelburne Sherr Court Reporters, 501 W BROADWAY STE 1330 / SAN DIEGO CA                                          Invoices for Court Reporting Services,
359                                                                                      Vital Pharmaceuticals, Inc.                                          $456.25
      Inc                                    92101-8475 / US                                                           dated June 08, 2021
                                             404 E 88TH ST / NEW YORK NY 10128-6613 /
360   RONAN ANDRES SZWARC                                                                Vital Pharmaceuticals, Inc.   Talent Services Agreement            $451.61
                                             US
      Safelite Fulfillment, Inc dba Safelite PO BOX 633197 / CINCINNATI OH 45263-3197
361                                                                                      Vital Pharmaceuticals, Inc.   Product/Service Agreement            $449.37
      AutoGlass                              / US
                                                                                                                       Business Application, dated March
362   PNC Bank                           200 E Browand Blvd Fort Lauderdale FL 33301     Vital Pharmaceuticals, Inc.                                        $432.34
                                                                                                                       21, 2018
                                         655 Business Center Drive / Horsham PA 19044
363   PNC Equipment Finance, LLC                                                      Vital Pharmaceuticals, Inc.      Lease Agreement                      $432.34
                                         / US
364   Frank Gay Services, LLC.           3763 Mercy Star Court / Orlando FL 32808 / US Vital Pharmaceuticals, Inc.     Services Agreement                   $425.00
                                                                                                                       Employment Agreement, dated May
365   John Buck                          781 N Pennock St Philadelphia PA 19130          Vital Pharmaceuticals, Inc.                                   $424.46
                                                                                                                       03, 2021
366   Ariana Abreu                       9744 SW 154 Pl Miami FL 33196                   Vital Pharmaceuticals, Inc.   Employment Agreement            $400.00
367   Munson Machinery Co., Inc.         210 SEWARD AVE / UTICA NY 13502-5750 / US Vital Pharmaceuticals, Inc.         Materials / Packaging Agreement      $398.60
                                                                                                                       Vehicle Lease Service Agreement,
368   Canon Solutions America, Inc.      One Canon Park Melville NY 11747                Vital Pharmaceuticals, Inc.                                        $389.57
                                                                                                                       dated July 19, 2021
369   City of Fort Myers                 PO Box 30185 / Tampa FL 33630-3185 / US         Vital Pharmaceuticals, Inc.   Product/Service Agreement            $364.68
370   Christian Diaz                     2226 Pinecrest Ct Fullerton CA 92831            Vital Pharmaceuticals, Inc.   Talent Services Agreement            $357.40
      Chemline dba Sci-Chem Water        1662 BROAD ST / KISSIMMEE FL 34746-4282 /
371                                                                                      Vital Pharmaceuticals, Inc.   Product/Service Agreement            $350.00
      Treatment                          US
                                         39273 HIGHWAY 101 / PORT ORFORD OR
372   Sara Sheperd                                                                       Vital Pharmaceuticals, Inc.   Talent Services Agreement            $350.00
                                         97465-9547 / US
      GPM Investments, LLC EZ Mart EZ    602 FALVEY AVE / TEXARKANA TX 75501-6627
373                                                                                      Vital Pharmaceuticals, Inc.   Customer Agreement                   $349.32
      Mart                               / US
                               Case
      Eurofins Food Chemistry Testing    22-17842-PDR
                                      US 2200 RITTENHOUSE ST STE 175Doc      1658 Filed 07/14/23 Page 158 of 279
                                                                       / DES MOINES
374                                                                                 Vital Pharmaceuticals, Inc. Product/Service Agreement                    $348.84
      Inc.                               IA 50321-3155 / US
                                                                                                                Florida Self-Storage/Parking Space
375   CubeSmart Asset Management, LLC 13627 Amargosa Road Victorville CA 92392      Vital Pharmaceuticals, Inc. Rental Agreement, dated June 01,             $340.50
                                                                                                                2019
                                         11256 NW 42ND TER / DORAL FL 33178-1806 /
376   Paolas Creations LLC                                                          Vital Pharmaceuticals, Inc. Product/Service Agreement                    $340.00
                                         US
                                         8545 W Warm Springs Rd Ste A4182 / Las
377   Vegas Maid LLC                                                                Vital Pharmaceuticals, Inc. Services Agreement                           $340.00
                                         Vegas NV 89113 / US
378   Arnold Machinery Company           3800 Quentin St / Denver CO 80239 / US     Vital Pharmaceuticals, Inc. Product/Service Agreement                    $339.78
                                           1925 Dominion Way Suite 104 / Colorado                                       Invoices for Cleaning Services
379   Molly Maid of Colorado Springs                                                      Vital Pharmaceuticals, Inc.                                     $336.00
                                           Springs CO 80918 / US                                                        Rendered, dated December 04, 2020
                                           10690 NW 123rd Street Rd, Suite 101 / Medley
380   All-Zone Air                                                                      Vital Pharmaceuticals, Inc.     Services Agreement                   $327.52
                                           FL 33178 / US
                                           8926 SE BAHAMA CIR / HOBE SOUND FL 33455-
381   Southern Specialized Services Inc.                                                Vital Pharmaceuticals, Inc.     Services Agreement                   $320.00
                                           4311 / US
                                           2200 POWELL ST STE 1200 / EMERYVILLE CA                                      Invoices for Legal Analysis Rendered,
382   Berkeley Research Group LLC                                                         Vital Pharmaceuticals, Inc.                                         $317.10
                                           94608-1833 / US                                                              dated September 13, 2021
                                           PO BOX 14419 / LONG BEACH CA 90853-4419 /
383   The Sullivan Group                                                             Vital Pharmaceuticals, Inc.        Professional Services Agreement      $310.00
                                           US
384   MacKinnon Equipment Inc              Lock Box 841272 / Dallas TX 75284-1272 / US    Vital Pharmaceuticals, Inc.   Product/Service Agreement            $301.63
                                           13927 COLLECTIONS CENTER DRIVE / CHICAGO
385   Cole Parmer                                                                   Vital Pharmaceuticals, Inc.         Product/Service Agreement            $283.51
                                           IL 60693-0001 / US
      Roadnet Technologies Inc
386                                        P.O. Box 840720 / Dallas TX 72584 / US         Vital Pharmaceuticals, Inc.   Product/Service Agreement            $275.00
      Omnitracs
                                           6900 SW 21st Court Bldg # 9 / Davie FL 33317 /
387   Allstate Resource Management Inc.                                                   Vital Pharmaceuticals, Inc.   Services Agreement                   $270.97
                                           US
388   RV Advisor Consumer                  8 THE GRN STE A / DOVER DE 19901-3618 / US Vital Pharmaceuticals, Inc.       Product/Service Agreement            $250.00
                                           501 West Southern Ave. / Orange CA 92865 /
389   MeshWrx, Inc.                                                                       Vital Pharmaceuticals, Inc.   Product/Service Agreement            $240.00
                                           US
                                                                                                                        Employment Agreement, dated
390   Alexis Serafin Valencia              12153 Brazos Ct Jurupa Valley CA 91752         Vital Pharmaceuticals, Inc.                                        $227.73
                                                                                                                        August 08, 2022
                                           2345 WAUKEGAN RD STE 155 /
391   DocketTrack Software                                                                Vital Pharmaceuticals, Inc.   Professional Services Agreement      $225.00
                                           BANNOCKBURN IL 60015-1592 / US
                                                                                                                        Invoices for Bang Energy Invoice
392   DSD Partners LLC                     P.O. Box 1299 / Midlothian VA 23113 / US       Vital Pharmaceuticals, Inc.   Consolidation and processing, dated $223.52
                                                                                                                        April 30, 2022
                                           945 W. Deer Valley Rd. / Phoenix AZ 85027 /
393   Harmon Electric Inc                                                                 Vital Pharmaceuticals, Inc.   Services Agreement                   $213.20
                                           US
                                                                                                                        Employment Agreement, dated
394   Stephanie Olvera                     3609 Cotten Dr Denton TX 76207                 Vital Pharmaceuticals, Inc.                                        $196.78
                                                                                                                        January 21, 2020
395   Estudio Olaechea S. Civil De R. L.   Bernardo Monteagudo 201 / 27 San Isidro / PE Vital Pharmaceuticals, Inc.     Professional Services Agreement      $189.54
396   You've Got MAIDS                     1945 IBIS BAY CT / OCOEE FL 34761 / US     Vital Pharmaceuticals, Inc.       Product/Service Agreement            $180.00
      Regus Management de Mexico SA        Av. Paseo de la Reforma 350 Cuauhtemoc
397                                                                                   Vital Pharmaceuticals, Inc.       Product/Service Agreement            $172.84
      de CV                                Distrito Federal 6600 Mexico
                                           225 REINEKERS LN STE 300 / ALEXANDRIA VA
398   Kramer & Amador, P.C.                                                           Vital Pharmaceuticals, Inc.       Product/Service Agreement            $170.00
                                           22314-3199 / US
                                           2479 E BAYSHORE RD STE 175 / PALO ALTO CA
399   BirdEye, Inc                                                                    Vital Pharmaceuticals, Inc.       Product/Service Agreement            $158.00
                                           94303-3228 / US
400   Smarter Sorting                      1101 E. 6TH ST / AUSTIN TX 78702-3210 / US Vital Pharmaceuticals, Inc.       Product/Service Agreement            $155.82
      The Cleaning Company of              3954 Murphy Canyon Drive, Suite D203 / San
401                                                                                   Vital Pharmaceuticals, Inc.       Services Agreement                   $150.97
      California, Inc                      Diego CA 92123 /
402   Suburban Propane, LP.                PO BOX 260 / WHIPPANY NJ 07981-0260 / US       Vital Pharmaceuticals, Inc.   Product/Service Agreement            $145.31
                                         107 WALL ST STE 1 / CLEMSON SC 29631-2921                                      Invoices for Bio Container Pickup,
403   Environmental Marketing Services                                                 Vital Pharmaceuticals, Inc.                                           $138.00
                                         / US                                                                           dated September 08, 2022
                                         12864 BISCAYNE BLVD # 438 / NORTH MIAMI
404   Brumm, Vega & Associates, Inc.                                                   Vital Pharmaceuticals, Inc.      Professional Services Agreement      $136.50
                                         FL 33181-2007 / US
      Western States Fire Protection Co. 4346 E ELWOOD ST STE 100 / PHOENIX AZ
405                                                                                    Vital Pharmaceuticals, Inc.      Product/Service Agreement            $135.00
      dba Signal One Fire and C          85040-0901 / US
                                         13002 COLLECTIONS CENTER DRIVE / CHICAGO
406   Total Filtration Services, Inc                                                   Vital Pharmaceuticals, Inc.      Product/Service Agreement            $130.22
                                         IL 60693 / US
                                         131 Victoria Street Christchurch Central City
407   Saunders & Co Lawyers                                                            Vital Pharmaceuticals, Inc.      Professional Services Agreement      $127.88
                                         8013 New Zealand
      Steel-Toe-Shoes.com Cyber          800 WISCONSIN ST UNIT 15 / EAU CLAIRE WI                                       Invoices for Items Sold, dated August
408                                                                                    Vital Pharmaceuticals, Inc.                                            $125.85
      Marketing Network, Inc             54703-3560 / US                                                                01, 2022
409   Mia Lynn Carastro                  4501 S Datura Ave / Tampa FL 33611 / US       Vital Pharmaceuticals, Inc.      Talent Services Agreement             $120.38
                                         7349 MILLIKEN AVE / RCH CUCAMONGA CA
410   5 Star Janitorial, Inc.                                                          Vital Pharmaceuticals, Inc.      Product/Service Agreement            $111.77
                                         91730-7435 / US
411   Reliant Gases, LTD                   P.O. BOX 671243 / DALLAS TX 75267-1243 / US Vital Pharmaceuticals, Inc.      Materials / Packaging Agreement      $108.60
                                 Case 7th
                                      22-17842-PDR               Doc
                                          Floor Wisma Hamzah Knong       1658
                                                                   Hing No, 1,               Filed 07/14/23               Page 159 of 279
412   Shearn Delamore & CO                                                         Vital Pharmaceuticals, Inc.          Professional Services Agreement      $100.11
                                          Leboh / 50100 Kuala
                                          3901 BRAXTON DR / HOUSTON TX 77063-6303
413   Orkin - Houston                                                              Vital Pharmaceuticals, Inc.          Professional Services Agreement      $100.00
                                          / US
                                          21151 SAN SIMEON WAY APT 206 / MIAMI FL
414   VALERIE VARGAS                                                               Vital Pharmaceuticals, Inc.          Talent Services Agreement            $100.00
                                          33179-1989 / US
                                          ATTN: LOCKBOX OPERATIONS 515782 / 20500
415   GPS Tracking Communications                                                  Vital Pharmaceuticals, Inc.          Product/Service Agreement            $95.76
                                          BELSHAW AVENUE CA 90
                                          9252 CRIMSON CT / DALLAS TX 75217-8659 /
416   Jaleel Airic Brown                                                           Vital Pharmaceuticals, Inc.          Employment Agreement                 $80.69
                                          US
      GRM Information Management
417                                       P.O Box 744494 / Atlanta GA 33074-4494 / US Vital Pharmaceuticals, Inc.       Product/Service Agreement            $80.00
      Services of Miami,LLC
                                          10630 NW 83RD CT / PARKLAND FL 33076-
418   Stephanie Parker Ash                                                               Vital Pharmaceuticals, Inc.    Employment Agreement                 $76.87
                                          4759 / US
                                                                                                                        AT&T Mobile Business Agreement,
419   AT&T                                PO Box 10330 Fort Wayne IN 46851-0330          Vital Pharmaceuticals, Inc.                                         $75.79
                                                                                                                        dated June 02, 2015
                                          308 US HIGHWAY 80 E / SUNNYVALE TX 75182-
420   Xtreme Air Services                                                             Vital Pharmaceuticals, Inc.       Professional Services Agreement      $75.72
                                          9394 / US
                                          18800 NE 29TH AVE APT 706 / MIAMI FL 33180-
421   RICHELLE LEHRER CORIAT                                                          Vital Pharmaceuticals, Inc.       Talent Services Agreement            $67.50
                                          2850 / US
      Shenzhen Kingguand Nameplate        1-3/F.No.9 Shabolong New Road, Pingshan
422                                                                                   Vital Pharmaceuticals, Inc.       Product/Service Agreement            $61.92
      Co. LTD                             New District Shenzhen, Guangdong China
423   Valentina Mata                      14608 Murfield Ct Charlotte NC 28278        Vital Pharmaceuticals, Inc.       Employment Agreement                 $50.61
                                          2577 NW 74TH AVE / MIAMI FL 33122-1417 /
424   Kappa Laboratories, Inc                                                         Vital Pharmaceuticals, Inc.       Services Agreement                   $50.00
                                          US
425   Krishel Law Firm - Daniel Krishel   4500 Park Granada / Calabasas CA 91302 / US Vital Pharmaceuticals, Inc.       Professional Services Agreement      $50.00
      Office of the Alcoholic Beverage    820 North French Street Suite 325 /
426                                                                                Vital Pharmaceuticals, Inc.          Services Agreement                   $50.00
      OABCC                               Wilmington DE 19801 / US
                                          934 MERCED ST / REDLANDS CA 92374-4931 /
427   ZOE KLOPFER                                                                  Vital Pharmaceuticals, Inc.          Talent Services Agreement            $47.37
                                          US
      DongGuan Panther Sporting Goods A615 Hongxi Center No2 Nancheng Tai Yuk Rd
428                                                                              Vital Pharmaceuticals, Inc.            Product/Service Agreement            $47.30
      Co.,Ltd YuJa Security Protec    Dongguan Guangdong 52300 China
                                                                                                                        Employment Agreement, dated
429   Olivia Aviv                         11936 Southwest 47th St Cooper City FL 33330 Vital Pharmaceuticals, Inc.                                           $42.63
                                                                                                                        March 30, 2020
                                           1600 N PARK DR / WESTON FL 33326-3278 /
430   Anthony Joseph Adriatico                                                       Vital Pharmaceuticals, Inc.        Employment Agreement                 $36.76
                                           US
      Morrison Timing Screw dba            335 W 194TH ST / GLENWOOD IL 60425-1501 /
431                                                                                  Vital Pharmaceuticals, Inc.        Product/Service Agreement            $35.20
      Morrison Container Handling Sol. US
                                           9150 S DADELAND BLVD STE 1400 / MIAMI FL                                     Invoices for Legal Services Rendered,
432   CSK Cole, Scott & Kissane, PA                                                  Vital Pharmaceuticals, Inc.                                              $31.00
                                           33156-7855 / US                                                              dated January 12, 2022
433   Eunice Renee Garcia                  5141 North F St San Bernardino CA 92407   Vital Pharmaceuticals, Inc.        Employment Agreement                  $30.00
434   Isabella Solarte                     1254 SW 116 Ave Davie FL 33325            Vital Pharmaceuticals, Inc.        Employment Agreement                  $29.25
                                           7225 W ROOSEVELT ST STE 172 / PHOENIX AZ
435   KP Industrial Inc. AVTECH Industrial                                           Vital Pharmaceuticals, Inc.        Services Agreement                   $23.26
                                           85043-2207 / US
436   Penske Truck Leasing                PO BOX 7429 / PASADENA CA 91109-7429 / US Vital Pharmaceuticals, Inc.         Lease Agreement                      $22.98
                                                                                         Vital Pharmaceuticals, Inc.,   Confidentiality and Non-Disclosure
437   Penske Truck Leasing                2675 Morgantown Rd Reading PA 19607                                                                                $22.98
                                                                                         d/b/a Bang Energy              Agreement, dated July 29, 2021
                                          4955 NW 199 St. Lot#379 / Miami Gardens FL
438   Spotless Cleaning Team LLC                                                         Vital Pharmaceuticals, Inc.    Product/Service Agreement            $20.00
                                          33055 / US
                                          2355 Skymark Ave #200 / Mississauga ON L4W
439   Viral Nation Inc.                                                                  Vital Pharmaceuticals, Inc.    Talent Services Agreement            $19.48
                                          4Y6 / CA
                                          12202 Taylors Crossing Dr / Tomball TX 77375 /
440   Nicole Zorzetth Quiroz                                                             Vital Pharmaceuticals, Inc.    Talent Services Agreement            $14.94
                                          US
                                          435 Buena Vista Ave. 102 / Alameda CA 94501
441   Brocotish Entertainment, Inc                                                       Vital Pharmaceuticals, Inc.    Talent Services Agreement            $11.08
                                          / US
442   Shopify, Inc                        150 Elgin Street / Ottawa ON K2P 2L8 / CA      Vital Pharmaceuticals, Inc.    Product/Service Agreement            $8.99
443   Hach Company                        PO BOX 389 / LOVELAND CO 80539-0389 / US Vital Pharmaceuticals, Inc.          Product/Service Agreement            $6.99
                                          49 EDGERTON DR / N FALMOUTH MA 02556-
444   Teledyne TapTone                                                                   Vital Pharmaceuticals, Inc.    Product/Service Agreement            $6.94
                                          2821 / US
                                          2 VILLAGEVIEW DR / BARBOURSVILLE WV
445   Kylie Nicole Fisher                                                                Vital Pharmaceuticals, Inc.    Talent Services Agreement            $3.59
                                          25504-9309 / US
                                                                                                                        Invoices for Legal Services Rendered,
446   Baker Tilly US, LLP                 P.O.BOX 7398 / MADISON WI 53707-7398 / US Vital Pharmaceuticals, Inc.                                               $0.50
                                                                                                                        dated February 28, 2022
                                                                                                                        Confidentiality & Non-Disclosure
                                                                                         Vital Pharmaceuticals, Inc.,
447   14 West, LLC                        1701 Pearl St Ste 4 Waukesha WI 53186-5600                                    Agreement, dated November 12,         $0.00
                                                                                         d/b/a Bang Energy
                                                                                                                        2020
                                          Prologis 17777 Center Court Drive Denver CO                                   Lease Agreement, dated May 20,
448   1800 Wazee Street                                                                  Vital Pharmaceuticals, Inc.                                          $0.00
                                          80202                                                                         2019
                                                                                                                        Amended Limited Liability Company
449   4141 Holdings, LLC                  1600 North Park Drive Weston FL 33326          Vital Pharmaceuticals, Inc.    Operating Agreement, dated            $0.00
                                                                                                                        February 28, 2002
                                Case 22-17842-PDR                       Doc 1658             Filed 07/14/23 Mortgage
                                                                                                              PageModification
                                                                                                                     160 ofAgreement,
                                                                                                                               279
450   4141 Holdings, LLC                 1600 North Park Drive Weston FL 33326           Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                        dated April 30, 2013
451   5 Star Beverage, Inc.              7720 Formula Place #A San Diego CA 92126        Vital Pharmaceuticals, Inc.    Addendum to Distributor Agreement $0.00
      6751342 Canada Inc., d/b/a Victoria 376 Victoria Suite 240 Westmount Quebec H3Z                                   Settlement Agreement, dated August
452                                                                                   Vital Pharmaceuticals, Inc.                                          $0.00
      Park                                1C3 Canada                                                                    04, 2010
                                                                                                                        Insurance and Indemnification
453   7-Eleven, Inc                      3200 Hackberry Road Irving TX 75063             Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                        Agreement, dated July 31, 2018
                                         Attn: EDI Business Manager and Legal
                                                                                                                        FDI Trading Agreement, dated July
454   7-Eleven, Inc.                     Department 3200 Hackberry Road Irving TX        Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                        18, 2018
                                         75063
                                         Attn: EDI Business Manager and Legal
                                                                                                                        Hold Harmless Agreement, dated
455   7-Eleven, Inc.                     Department 3200 Hackberry Road Irving TX        Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                        November 15, 2016
                                         75063
                                         Attn: EDI Business Manager and Legal
                                                                                                                        INSURANCE AND INDEMNIFICATION
456   7-Eleven, Inc.                     Department 3200 Hackberry Road Irving TX        Vital Pharmaceuticals, Inc.                                   $0.00
                                                                                                                        AGREEMENT, dated July 31, 2018
                                         75063
457   81 North Mini-Storage              3508 Hopewell Rd Anderson SC 29621              Vital Pharmaceuticals, Inc.    Lease, dated June 11, 2018            $0.00
                                                                                                                        Stratum Access Master Terms of
458   84.51 LLC                          100 West Fifth Street, Cincinnati, OH 45202     Vital Pharmaceuticals, Inc.    Services Kroger Data, dated           $0.00
                                                                                                                        November 12, 2021
                                                                                                                        Distributor Agreement, dated May
459   A & B Beverage Company, L.L.C.     3901 Tull Avenue Muskogee OK 74403              Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                        28, 2019
                                         Attn: Lanny Layman 10777 High Point Road                                       Distributor Agreement, dated
460   A & B Distributing Company, Inc.                                                   Vital Pharmaceuticals, Inc.                                          $0.00
                                         Olive Branch MS 38654                                                          December 10, 2018
                                         Attn: Lanny Layman 10777 High Point Road                                       Exclusive Distribution Agreement,
461   A & B Distributing Company, Inc.                                                   Vital Pharmaceuticals, Inc.                                          $0.00
                                         Olive Branch MS 38654                                                          dated August 18, 2021
                                         Attn: Lanny Layman 10777 High Point Road                                       Exclusive Distribution Agreement,
462   A & B Distributing Company, Inc.                                                   Vital Pharmaceuticals, Inc.                                          $0.00
                                         Olive Branch MS 38654                                                          dated December 19, 2021
                                                                                                                        Exclusive Distribution Agreement,
463   A Cappione Inc                     32-54 Liberty Ave Massena NY 13662              Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                        dated May 13, 2021
                                        13010 Morris Rd, Bldg 1 Ste 600, Alpharetta,                                    FSSC 22000 Consulting Proposal,
464   A to Z Management Consulting, LLC                                              Vital Pharmaceuticals, Inc.                                              $0.00
                                        GA 30004                                                                        dated April 26, 2023
                                        David P. Cappione 54 Liberty Avenue Massena                                     Release Agreement, dated May 15,
465   A. Cappione, Inc.                                                              Vital Pharmaceuticals, Inc.                                              $0.00
                                        NY 13662                                                                        2020
                                                                                                                        Distributor Agreement, dated May
466   A. Gallo & Company                 85 Thomaston Road Lichtfield CT 06759           Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                        01, 2019
                                                                                                                        Distributor Agreement, dated
467   A.B. Beverage Company Inc.         1983 Richland Ave East Aiken SC 29801           Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                        November 01, 2018
                                         Attn: Austin George - President 1 Link Drive                                   Exclusive Distribution Agreement,
468   A.L. George LLC                                                                    Quash Seltzer, LLC                                                   $0.00
                                         Binghampton NY 13904                                                           dated January 11, 2021
                                         Attn: Austin George - President 1 Link Drive                                   Amendment to Exclusive Distribution
469   A.L. George LLC                                                                    Quash Seltzer, LLC                                                 $0.00
                                         Binghampton NY 13904                                                           Agreement, dated March 30, 2021

                                         Austin George 1 Link Drive Binghampton NY                                      Non-Exclusive Distribution
470   A.L. George LLC                                                                    Vital Pharmaceuticals, Inc.                                       $0.00
                                         13904                                                                          Agreement, dated February 04, 2021
                                         Jeffrey P. Greenberg / Alan K. Geer, 30226
471   AAP Fitness, Inc.                                                                  Vital Pharmaceuticals, Inc.    General Lease, dated April 24, 2008   $0.00
                                         Emmetts CT Wesley Chapel, FL 33544
                                                                                                                        Employment Agreement, dated
472   Aaron J Rubin                      7 Tree Top Dr Rochester NY 14625                Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                        November 22, 2021
                                                                                                                        Employment Agreement, dated
473   Aaron J Uson                       4925 Henley St Blaine WA 98230                  Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                        November 10, 2021
                                         4800 Fort Suitevens St Apt 703 Orlando FL                                      Employment Agreement, dated
474   Aaron Sandoval Aramis                                                              Vital Pharmaceuticals, Inc.                                          $0.00
                                         32822                                                                          February 14, 2022
                                                                                         Vital Pharmaceuticals, Inc.,   Confidentiality & Non-Disclosure
475   AB InBev UK Limited                Bureau 90 Fetter Ln London EC4A 1EN                                                                                  $0.00
                                                                                         d/b/a Bang Energy              Agreement, dated October 22, 2019
                                         c/o University of Oklahoma Department of
                                                                                                                        Writer Agreement, dated February
476   Abbie Smith, MS, CSCS              Health & Exercise Science 1401 Asp Ave. Lab     Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                        13, 2009
                                         #106 Norman OK 73019
                                         14500 North 46th St Apt 433 B Tampa FL                                         Employment Agreement, dated
477   Abdelrahman Ammar                                                                  Vital Pharmaceuticals, Inc.                                          $0.00
                                         33613                                                                          August 08, 2022
                                                                                                                        Brand Ambassador (National Team)
478                                                                                      Vital Pharmaceuticals, Inc.
                                                                                                                        Agreement, dated May 30, 2018
                                         1310 Southeast San Sovina Terr Port St Lucie FL                                Employment Agreement, dated June
479   Abimelek Rodriguez Correa                                                          Vital Pharmaceuticals, Inc.                                          $0.00
                                         34952                                                                          20, 2022
                                                                                         JHO Intellectual Property      Co-Existence Agreement, dated
480   Abite Brewing Company, LLC         21084 Highway 36, Abita Springs, LA 70433                                                                            $0.00
                                                                                         Holdings, LLC                  October 08, 2020
                                         Roman Yoffe, 2875 NE 191st Street, Suite 404,                                  Custom Woodcommerce Web
481   Absolute Web Services                                                              Vital Pharmaceuticals, Inc.                                          $0.00
                                         Miami, FL 33180                                                                Development
                                                                                                                        Master Services Agreement, dated
482   Absolute Web Services, Inc.        2875 NE 191st Street Suite 404 Miami FL 33180 Vital Pharmaceuticals, Inc.                                            $0.00
                                                                                                                        February 14, 2017
                                                                                                                        Acceleration Ad Serving Attachment,
483   Acceleration eMarketing, Inc       32 East 31st Street 9th FL New York, NY 10016 Vital Pharmaceuticals, Inc.                                            $0.00
                                                                                                                        dated June 28, 2010
                                Case 22-17842-PDR                       Doc 1658              Filed 07/14/23 Master
                                                                                                               Page      161 Services
                                                                                                                    Professional of 279
                                          Loui J. Silvestri, 4400 SW 95Th Avenue, Davie,
484   AccuReg, Inc.                                                                        Vital Pharmaceuticals, Inc.    Agreement, dated September 30,       $0.00
                                          FL 33328
                                                                                                                          2008
                                          Mike Krohn 401 South Anderson Street Los                                        DISTRIBUTOR AGREEMENT, dated
485   Ace Beverage LLC                                                                     Vital Pharmaceuticals, Inc.                                         $0.00
                                          Angeles CA 90033                                                                May 04, 2018
                                                                                           JHO Intellectual Property      Co-Existence Agreement, dated
486   Ace of Spades Holdings, LLC         540 West 26th Street, New York, NY 10001                                                                             $0.00
                                                                                           Holdings, LLC                  September 12, 2022
                                          R.235 Building A Mingxi Industrial Park Huaide
                                                                                         Vital Pharmaceuticals, Inc.,     Confidentiality and Non-Disclosure
487   Ace Tools Co., Ltd.                 South Road Fuyong Town Shenzhen City                                                                                 $0.00
                                                                                         d/b/a Bang Energy                Agreement, dated July 10, 2020
                                          Bao'an District 518103 China
                                                                                         Vital Pharmaceuticals, Inc.,     Confidentiality & Non-Disclosure
488   ACIBG, Corp.                        5 Victoria Hts East Aurora NY 14052                                                                                  $0.00
                                                                                         d/b/a Bang Energy                Agreement, dated July 26, 2021
      Active Threat Response, LLC -                                                                                       Vistor Non-Disclosure Agreement,
489                                       info@atresponse.org                              Vital Pharmaceuticals, Inc.                                         $0.00
      Michael Mcbride                                                                                                     dated October 18, 2019
                                                                                                                          Employment Agreement, dated
490   Adam A Gonzales                     1600 N Park Dr Weston FL 33326-3278              Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                          February 14, 2022
                                                                                                                          Employment Agreement, dated
491   Adam B Nuckols                      1600 N Park Dr Weston FL 33326-3278              Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                          January 25, 2021
                                                                                                                          Employment Agreement, dated May
492   Adam Echeverria                     5734 South 34th Place Phoenix AZ 85040           Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                          04, 2020
                                                                                                                          Employment Agreement, dated
493   Adam M Arch                         20 Pennsylvania Ave Fairless Hills PA 19030      Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                          November 25, 2019
                                                                                                                          Employment Agreement, dated
494   Adam N Pis                          1600 N Park Dr Weston FL 33326-3278              Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                          October 03, 2022
                                                                                                                          Elite Team Agreement, dated March
495                                                                                        Vital Pharmaceuticals, Inc.
                                                                                                                          11, 2019
                                                                                                                          Employment Agreement, dated
496   Adam Wroten                         1921 Kimball St Brooklyn NY 11234                Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                          February 03, 2020
      Adams Beverages of North Carolina,                                                                                  Distributor Agreement, dated
497                                      7505 Statesville Road Charlotte NC 28269          Vital Pharmaceuticals, Inc.                                         $0.00
      LLC                                                                                                                 November 20, 2018
                                                                                                                          Employment Agreement, dated
498   Adan Flores Alberto                 12321 West Florence St Avondale AZ 85323         Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                          January 27, 2020
                                                                                                                          Employment Agreement, dated May
499   Adan Vasquez Ernesto                4240 Heritage Way Acworth GA 30102               Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                          18, 2020
                                                                                                                          Trainer Services Agreement, dated
500                                                                                        Quash Seltzer, LLC
                                                                                                                          January 04, 2021
                                                                                                                          Trainer Services Agreement, dated
501                                                                                        Vital Pharmaceuticals, Inc.
                                                                                                                          January 04, 2021
                                          4590 E Thousand Oaks Blvd # 215 West Lake        Vital Pharmaceuticals, Inc.,   Confidentiality & Non-Disclosure
502   Adept Payments, Inc.                                                                                                                                   $0.00
                                          Vlg CA 91362                                     d/b/a Bang Energy              Agreement, dated February 18, 2019
                                                                                                                          Elite Agreement, dated December 01,
503                                                                                        Quash Seltzer, LLC
                                                                                                                          2021
                                                                                                                          Elite Agreement, dated December 01,
504                                                                                        Vital Pharmaceuticals, Inc.
                                                                                                                          2021
                                                                                                                          Exclusive Promotional Modeling
505                                                                                        Vital Pharmaceuticals, Inc.
                                                                                                                          Agreement, dated March 10, 2016
                                                                                                                          Absolute and Perpetual Release
                                                                                                                          Authorizing VPX to Use Image,
506                                                                                        Vital Pharmaceuticals, Inc.    Likeness, Performances and
                                                                                                                          Testimonials, dated February 10,
                                                                                                                          2009
                                          8214 West Meadowbrook Ave Phoenix AZ                                            Employment Agreement, dated April
507   Adly Lopez Rodelie                                                                   Vital Pharmaceuticals, Inc.                                        $0.00
                                          85033                                                                           26, 2021
                                                                                                                          Exclusive Promotional Modeling
508                                                                                        Vital Pharmaceuticals, Inc.
                                                                                                                          Agreement, dated March 10, 2016
                                                                                                                          Client Agreement for Access to
      ADP Screening and Selection
509                                       301 Remington Street Fort Collins CO 80524       Vital Pharmaceuticals, Inc.    Motor Vehicle Records, dated July   $0.00
      Services, Inc.
                                                                                                                          25, 2019
                                                                                                                          Addendum to ADP Workforce Now
                                                                                                                          Comprehensive Service Master
510   ADP, LLC                            One ADP Boulevard Roseland NJ 7068               Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                          Services Agreement, dated May 21,
                                                                                                                          2019
                                          4508 Southwest 160th Ave Apt 724 Miramar FL                                     Employment Agreement, dated May
511   Adrian Arredondo                                                                Vital Pharmaceuticals, Inc.                                             $0.00
                                          33027                                                                           31, 2022
                                                                                                                          Employment Agreement, dated May
512   Adrian R Valdez                     1600 N Park Dr Weston FL 33326-3278              Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                          12, 2020
                                          205 West Portland St Unit 144C Phoenix AZ                                       Employment Agreement, dated
513   Adriana A Moya                                                                       Vital Pharmaceuticals, Inc.                                        $0.00
                                          85003                                                                           February 21, 2022
                                                                                                                          Employment Agreement, dated June
514   Adriana Gondres                     3921 SW 160th Ave #303 Miramar FL 33027          Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                          10, 2019
                                                                                                                          Model Release and Affidavit, dated
515                                                                                        Vital Pharmaceuticals, Inc.
                                                                                                                          July 21, 2011
      ADS Laboratorio Nutricional LTDA-   Ricardo Armando De Angelis De Souza Rodovia                                     Distributor Agreement, dated
516                                                                                   Vital Pharmaceuticals, Inc.                                              $0.00
      EPP                                 Carl FIscher 2705 Matao SP 15990-000 Brazil                                     December 05, 2013
                                Case 22-17842-PDR                       Doc 1658            Filed 07/14/23                Page 162 of 279
                                          2/120 Bang Lamung Nong Prue Chonburi           Vital Pharmaceuticals, Inc.,   Confidentiality & Non-Circumvention
517   Advance Aesthetic                                                                                                                                     $0.00
                                          20150 Thailand                                 d/b/a VPX Sports               Agreement, dated August 01, 2016
                                        Michael Lazzerini 5200 District Boulevard                                       DISTRIBUTOR AGREEMENT, dated
518   Advance Beverage Co., Inc.                                                         Vital Pharmaceuticals, Inc.                                        $0.00
                                        Bakersfield CA 93313                                                            November 30, 2017
                                        Attn: Shawn Ball, Vice President 967 Mabury                                     Master Services Agreement, dated
519   Advanced Chemical Transport, Inc.                                                  Vital Pharmaceuticals, Inc.                                        $0.00
                                        Road San Jose CA 95133                                                          September 30, 2021
                                                                                                                        Direct Placement Agreement, dated
520   Aerotek Scientific, LLC             3689 Collection Ctr Dr Chicago IL 60693        Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                        November 19, 2019
                                                                                                                        Direct Placement Agreement, dated
521   Aerotek, Inc.                       7301 Parkway Drive Hanover MD 21076            Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                        November 19, 2019
      AFP Distributors d/b/a Southeast                                                                                  Distributor Agreement, dated August
522                                        Andrew Phillips P.O. Box 180 Athens OH 45701 Vital Pharmaceuticals, Inc.                                         $0.00
      Beverage                                                                                                          08, 2018
      AFP Distributors Inc., dba Southeast Attn: Austin Phillips PO Box 180 Athens OH                                   Exclusive Distribution Agreement,
523                                                                                     Quash Seltzer, LLC                                                  $0.00
      Beverage Company                     45701                                                                        dated January 25, 2021
      AFP Distributors, d/b/a Southeast                                                                                 Addendum to Distributor Agreement,
524                                       60 Elm St Canal Winchester OH 43110            Vital Pharmaceuticals, Inc.                                       $0.00
      Beverage                                                                                                          dated February 07, 2019
                                                                                                                    Elite Team Agreement, dated August
525                                                                                      Vital Pharmaceuticals, Inc.
                                                                                                                    30, 2018
                                         10444 Northwest 48th Manor Coral Springs FL                                Employment Agreement, dated June
526   Agnieszka Pietraszkiewicz                                                        Vital Pharmaceuticals, Inc.                                        $0.00
                                         33076                                                                      20, 2022
                                                                                                                    Confidentiality & Non-Disclosure
                                         2804 Mission College Blvd Santa Clara CA      Vital Pharmaceuticals, Inc.,
527   Agora Lab, Inc.                                                                                               Agreement, dated November 06,         $0.00
                                         95054                                         d/b/a Bang Energy
                                                                                                                    2020
528   Aidemy Fashion Co. LTD             523900 Donsgguan Guangdong / CN               Vital Pharmaceuticals, Inc. Product/Service Agreement              $0.00
                                                                                                                    Employment Agreement, dated
529   Aileen M Carpenter                 1600 N Park Dr Weston FL 33326-3278           Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                    January 06, 2020
                                                                                       Vital Pharmaceuticals, Inc., Confidentiality & Non-Disclosure
530   Airgas USA, LLC                    3737 Worsham Avenue Long Beach CA 90808                                                                          $0.00
                                                                                       d/b/a Bang Energy            Agreement, dated August 31, 2019
                                         Scott Turner, President 4010 Centrepointe                                  Distributor Agreement, dated July 11,
531   Ajax Turner Co, Inc.                                                             Vital Pharmaceuticals, Inc.                                        $0.00
                                         Drive La Vergne TN 37086                                                   2016
                                                                                                                    Affiliate Member Agreement, dated
532                                                                                    Quash Seltzer, LLC
                                                                                                                    April 25, 2021
                                                                                                                    Affiliate Member Agreement, dated
533                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                    April 25, 2021
                                         707 So. Grady Way Suite 600 Renton WA         Vital Pharmaceuticals, Inc., Confidentiality & Non-Disclosure
534   Aker BioMarine Antarctic US LLC                                                                                                                     $0.00
                                         98057                                         d/b/a Bang Energy            Agreement, dated October 28, 2020
                                                                                                                    Distributor Agreement, dated
535   Al Pugh Distributing Company, Inc. 13548 History Land Hwy Warsaw VA 22572        Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                    January 04, 2019
                                                                                                                    Exclusive Distributor Agreement,
536   Al Pugh Distributing Company, Inc. 13548 History Land Hwy Warsaw VA 22572        Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                    dated January 11, 2023
                                         1330 Corporate Woods Drive Alabaster AL       Vital Pharmaceuticals, Inc., Confidentiality & Non-Disclosure
537   Alabama Crown Distributing Co.                                                                                                                      $0.00
                                         35007                                         d/b/a Bang Energy            Agreement, dated October 18, 2019
                                         Harry A. Kampakis, President 211 Citation                                  Distributor Agreement, dated May
538   AlaBev, LLC                                                                      Vital Pharmaceuticals, Inc.                                        $0.00
                                         Court Birmingham AL 35209                                                  09, 2017
                                                                                                                    Commercial Addendum to Retail
                                         441 US HWY #27N PO Box 9200 Sebring FL
539   Alan Jay Chevrolet Buick GMC                                                     Vital Pharmaceuticals, Inc. Installment Contract, dated February $0.00
                                         33870
                                                                                                                    19, 2021
                                                                                                                    Commercial Addendum to Retail
                                         441 US HWY #27N PO Box 9200 Sebring FL
540   Alan Jay Chevrolet Buick GMC                                                     Vital Pharmaceuticals, Inc. Installment Contract, dated            $0.00
                                         33870
                                                                                                                    September 28, 2020
                                                                                                                    Conditional Delivery Agreement /
      Alan Jay Chrysler Jeep Dodge of                                                                               Separate Odometer Disclosure
541                                      2003 Us Hwy 27 South Sebring FL 33870         Vital Pharmaceuticals, Inc.                                        $0.00
      Wachula                                                                                                       Statement and Acknowledgment,
                                                                                                                    dated February 12, 2021
      Alan Jay Chrysler Jeep Dodge of                                                                               Conditional Delivery Agreement,
542                                      1401 US HIghway 17 S Wauchula FL 33783        Vital Pharmaceuticals, Inc.                                        $0.00
      Wauchilla                                                                                                     dated February 12, 2021
                                                                                                                    Employment Agreement, dated
543   Alan Lendvay                       11136 West Spartan Ct Sun City AZ 85351       Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                    September 17, 2018
                                                                                                                    Affiliate Member Agreement, dated
544                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                    September 29, 2021
                                                                                                                    CONFIDENTIALITY AND NON-
                                         8730 Wilshire Blvd Penthouse Beverly Hills CA Vital Pharmaceuticals, Inc.,
545   Alanic International Corp.                                                                                    DISCLOSURE AGREEMENT, dated July $0.00
                                         90211                                         d/b/a Bang Energy ("Bang")
                                                                                                                    07, 2020
                                                                                                                    Select Agreement, dated November
546                                                                                    Quash Seltzer, LLC
                                                                                                                    01, 2021
                                                                                                                    Select Agreement, dated November
547                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                    01, 2021
                                                                                                                    Distributor Agreement, dated
548   Albany Beverage Co.                1208 Moultrie Road Albany GA 31705            Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                    November 28, 2019
                                         Attn: Lee B Hurwitz 3115 Washington Pike                                   Distributor Agreement, dated
549   Alber and Leff Foods Company                                                     Vital Pharmaceuticals, Inc.                                        $0.00
                                         Bridgeville PA 15017                                                       February 15, 2018
                                                                                                                    Employment Agreement, dated
550   Albert Carrillo Herrera            12941 West Tara Ln Surprise AZ 85374          Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                    March 26, 2018
                                 Case 22-17842-PDR                 Doc 1658             Filed 07/14/23 Select
                                                                                                          Page     163dated
                                                                                                              Agreement, of November
                                                                                                                            279
551                                                                                  Quash Seltzer, LLC
                                                                                                                    01, 2021
                                                                                                                    Select Agreement, dated November
552                                                                                  Vital Pharmaceuticals, Inc.
                                                                                                                    01, 2021
                                     5916 Providence Crossing Trail Orlando FL                                      Employment Agreement, dated
553   Alberto Cortez                                                                 Vital Pharmaceuticals, Inc.                                       $0.00
                                     32829                                                                          September 27, 2010
                                     3500 SE Oak Grove Blvd Apt 43 Milwaukie OR                                     Employment Agreement, dated
554   Alberto Rios Antonio                                                           Vital Pharmaceuticals, Inc.                                       $0.00
                                     97267                                                                          December 16, 2019
                                     27612 Pleaseure Ride Loop Wesley Chapel FL                                     Employment Agreement, dated
555   Alberto Urena M                                                                Vital Pharmaceuticals, Inc.                                       $0.00
                                     33544                                                                          November 01, 2020
                                                                                                                    Continuing Commodity Guaranty and
556   Albertsons Companies, Inc.     250 Parkcenter Blvd Boise ID 83706              Vital Pharmaceuticals, Inc.    Indemnity Agreement, dated October $0.00
                                                                                                                    24, 2018
                                                                                     Vital Pharmaceuticals, Inc.    Mutual Nondisclosure Agreement,
557   Albertsons Companies, LLC      251 E Parkcenter Blvd Boise ID 83706                                                                              $0.00
                                                                                     d/b/a Bang Energy              dated October 11, 2018
                                                                                     Vital Pharmaceuticals, Inc.,   Confidentiality & Non-Disclosure
558   Albreco, Inc.                  1040 Technecenter Dr. Millford OH 45150                                                                           $0.00
                                                                                     d/b/a Bang Energy              Agreement, dated July 08, 2020
                                     ALD Building No. 2 Industrial 3rd Road Shiyan   Vital Pharmaceuticals, Inc.    Confidentiality and Nondisclosure
559   ALD Group Limited                                                                                                                                $0.00
                                     Town Bao'an District Shenzen China              d/b/a Bang Energy              Agreement, dated June 22, 2021
                                     Attn: Hamid R. Rafatjoo, Raines Feldman LLP,
                                                                                                                    Industrial Lease, dated November 15,
560   ALDA 4747 W. Buckeye LLC       1800 Avenue of the Stars, 12th Floor Los        Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                    2019
                                     Angeles CA 90067
                                                                                                                    Re: Letter of Intent for the Purchase
561   ALDA West LLC                  1900 Ave Of the Stars Los Angeles CA 90067      Vital Pharmaceuticals, Inc.    of 1635 S. 43rd Avenue, Phoenix, AZ $0.00
                                                                                                                    85009, dated June 19, 2019
                                                                                                                    Elite Team Agreement, dated
562                                                                                  Vital Pharmaceuticals, Inc.
                                                                                                                    November 26, 2018
                                                                                                                    Elite Team Agreement, dated
563                                                                                  Vital Pharmaceuticals, Inc.
                                                                                                                    February 18, 2018
                                                                                                                    Trainer Services Agreement, dated
564                                                                                  Quash Seltzer, LLC
                                                                                                                    October 27, 2021
                                                                                                                    Trainer Services Agreement, dated
565                                                                                  Vital Pharmaceuticals, Inc.
                                                                                                                    October 27, 2021
                                     8275 Southwest 152nd Ave Apt D 209 Miami FL                                    Employment Agreement, dated
566   Alejandro Abreu                                                            Vital Pharmaceuticals, Inc.                                               $0.00
                                     33193                                                                          October 05, 2020
                                     11717 Lakewood Blvd Apt 25 Downey CA                                           Employment Agreement, dated
567   Alejandro Figueroa                                                         Vital Pharmaceuticals, Inc.                                               $0.00
                                     90241                                                                          January 27, 2020
                                                                                                                    Employment Agreement, dated
568   Alejandro Grajales             11948 NW 11th St Pembroke Pines FL 33026        Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                    August 29, 2022
                                                                                                                    Employment Agreement, dated
569   Alejandro Maldonado            7002 W Indian School Rd Phoenix AZ 85033        Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                    August 16, 2021
                                                                                                                    Trainer Services Agreement, dated
570                                                                                  Quash Seltzer, LLC
                                                                                                                    October 18, 2021
                                                                                                                    Trainer Services Agreement, dated
571                                                                                  Vital Pharmaceuticals, Inc.
                                                                                                                    October 18, 2021
                                                                                                                    Employment Agreement, dated
572   Alessio La Torraca             437 NW 57th Ave # 21S Miami FL 33126            Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                    December 23, 2019
                                                                                                                    Employment Agreement, dated July
573   Alex Dorlus                    12120 NW 15th Ave Miami FL 33167                Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                    25, 2022
                                                                                                                    Employment Agreement, dated
574   Alex Martinez                  11830 Winterset Cove Dr Riverview FL 33579      Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                    August 15, 2022
                                                                                                                    Employment Agreement, dated
575   Alex Obrien Scott              4353 Pinewood Rd Melbourne FL 32934             Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                    March 22, 2021
576                                                                                  Vital Pharmaceuticals, Inc.    Elite Agreement, dated June 10, 2019
                                     2673 Southwest 14th Ct Deerfield Beach FL                                      Employment Agreement, dated June
577   Alexander Angueira                                                             Vital Pharmaceuticals, Inc.                                           $0.00
                                     33442                                                                          27, 2022
                                                                                                                    Employment Agreement, dated
578   Alexander Arneson Ray          740 Academy Dr 304 Kissimmee FL 34744           Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                    February 14, 2022
                                     8751 Northwest 166th Terrace Miami Lakes FL                                    Employment Agreement, dated July
579   Alexander Catoni                                                           Vital Pharmaceuticals, Inc.                                               $0.00
                                     33018                                                                          06, 2020
                                                                                                                    Employment Agreement, dated
580   Alexander Dangel Ross          2848 Wild Laurel Ct Norcross GA 30071           Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                    October 18, 2021
                                                                                                                    Brand Ambassador (National Team)
581                                                                                  Vital Pharmaceuticals, Inc.
                                                                                                                    Agreement, dated May 28, 2018
                                                                                                                    Employment Agreement, dated
582   Alexander Santacruz Luis       2918 North 88th Dr Phoenix AZ 85037             Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                    August 08, 2022
                                                                                                                    Confidentiality and Non-Disclosure
583   Alexandra Belli                alexandra.belli_v@bangenergy.com                Vital Pharmaceuticals, Inc.    Agreement, dated December 22,          $0.00
                                                                                                                    2021
                                                                                                                    Exclusive Promotional Modeling
584                                                                                  Vital Pharmaceuticals, Inc.
                                                                                                                    Agreement, dated August 28, 2016
                                   Case 22-17842-PDR                     Doc 1658             Filed 07/14/23 Letter
                                                                                                                Page       164
                                                                                                                    re: Notice     of 279
                                                                                                                               of Violation of Non
                                                                                           Vital Pharmaceuticals, Inc.   Disclosure, Non-Compete,
585   Alexandra Soto                        7224 SW 101 Ct Miami FL 33173                                                                                     $0.00
                                                                                           dba VPX/REDLINE               Confidentiality Agreement, dated
                                                                                                                         October 26, 2022
                                            17710 Northwest 73rd Ave Apt 208 Hialeah FL                                  Employment Agreement, dated June
586   Alexandra Tobon                                                                   Vital Pharmaceuticals, Inc.                                           $0.00
                                            33015                                                                        29, 2020
                                                                                                                         Select Team Agreement, dated
587                                                                                        Vital Pharmaceuticals, Inc.
                                                                                                                         December 19, 2018
                                            8891 Southwest 142nd Ave Apt 827 Miami FL                                    Employment Agreement, dated
588   Alexandria Anagnostis Christine                                                      Vital Pharmaceuticals, Inc.                                        $0.00
                                            33186                                                                        November 16, 2020
                                                                                                                         Affiliate Member Agreement, dated
589                                                                                        Vital Pharmaceuticals, Inc.
                                                                                                                         September 24, 2021
                                                                                                                         Model Release and Affidavit, dated
590                                                                                        Vital Pharmaceuticals, Inc.
                                                                                                                         September 22, 2011
                                                                                                                         Affiliate Member Agreement, dated
591                                                                                        Quash Seltzer, LLC
                                                                                                                         September 24, 2021
                                                                                                                         Affiliate Member Agreement, dated
592                                                                                        Vital Pharmaceuticals, Inc.
                                                                                                                         September 24, 2021
                                                                                                                         Brand Ambassador (Local Team)
593                                                                                        Vital Pharmaceuticals, Inc.   Agreement, dated December 18,
                                                                                                                         2018
                                                                                                                         Exclusive Promotional Modeling
594                                                                                        Vital Pharmaceuticals, Inc.
                                                                                                                         Agreement, dated March 10, 2016
      Alexia Admor French Designer                                                         Vital Pharmaceuticals, Inc.   Confidentiality and Nondisclosure
595                                         1385 Broadway Suite 310 New York NY 10018                                                                         $0.00
      Group LTD                                                                            d/b/a Bang Energy             Agreement
                                                                                                                         Elite Team Agreement, dated
596                                                                                        Vital Pharmaceuticals, Inc.
                                                                                                                         December 12, 2018
                                                                                                                         Brand Ambassador (Local Team)
597                                                                                        Vital Pharmaceuticals, Inc.   Agreement, dated December 27,
                                                                                                                         2018
                                                                                                                         Employment Agreement, dated
598   Alexis Lerma Miguel                   7433 W Globe Ave Phoenix AZ 85043              Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                         November 02, 2020
                                                                                                                         Brand Ambassador (National Team)
599                                                                                        Vital Pharmaceuticals, Inc.
                                                                                                                         Agreement, dated May 02, 2019
                                            Jeff Alford, CFO 344 W. Crown Court Imperial                                 Distributor Agreement, dated May
600   Alford Distributing company                                                          Vital Pharmaceuticals, Inc.                                        $0.00
                                            CA 92251                                                                     29, 2018
                                                                                                                         Employment Agreement, dated
601   Alfred Gomez                          12425 Laurel Ave Whittier CA 90605             Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                         August 10, 2020
                                                                                                                         Employment Agreement, dated
602   Alfredo Nieves                        6317 Lawton Ave Las Vegas NV 89107             Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                         March 21, 2022
                                                                                                                         Employment Agreement, dated April
603   Alfredo Riera Jesus                   8620 NW 97th Ave Apt 212 Medley FL 33178       Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                         16, 2018
                                                                                                                         Employment Agreement, dated
604   Alicia Sierra Adelia                  3523 West Blvd Los Angeles CA 90016            Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                         November 11, 2021
                                                                                                                         Employment Agreement, dated
605   Alisia Braxton R                      2510 Gotham Way Valrico FL 33596               Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                         March 16, 2022
                                                                                                                         Elite Team Agreement, dated August
606                                                                                        Vital Pharmaceuticals, Inc.
                                                                                                                         13, 2017
                                                                                                                         Affiliate Member Agreement, dated
607                                                                                        Quash Seltzer, LLC
                                                                                                                         April 12, 2021
                                                                                                                         Affiliate Member Agreement, dated
608                                                                                        Vital Pharmaceuticals, Inc.
                                                                                                                         April 12, 2021
      All American Licensing &              1455 Upper Ranch Road Westlake Village CA                                    Deal Memo/Proposal for Mandalay
609                                                                                        Vital Pharmaceuticals, Inc.                                        $0.00
      Management Group                      91362                                                                        Bay, dated August 28, 2014
                                            Cort Allen 7557 W. Carmelo Ave. Tracy CA
610   All Pro Fitness Distribution Inc.                                                    Vital Pharmaceuticals, Inc.   Distributor Agreement, dated 2007    $0.00
                                            95304
                                            Cort Allen 7557 W. Carmelo Ave. Tracy CA                                     Distributor Agreement, dated August
611   All Pro Fitness Distribution, Inc.                                                   Vital Pharmaceuticals, Inc.                                       $0.00
                                            95304                                                                        27, 2007
                                            Paul Burleson 8280 Stayton Drive Suite A                                     Exclusive Distribution Agreement,
612   All Sport                                                                            Vital Pharmaceuticals, Inc.                                       $0.00
                                            Jessup MD 20794                                                              dated January 15, 2009
                                            Paul Burleson 8280 Stayton Drive Suite A                                     Distributor Agreement (Exclusive -
613   All Sport Inc.                                                                       Vital Pharmaceuticals, Inc.                                       $0.00
                                            Jessup MD 20794                                                              NC, SC), dated January 09, 2009
                                                                                                                         Distributor Agreement, dated
614   All Sport, Inc.                       Gary Smith 720 Jewell Drive Waco TX 76702      Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                         January 01, 2009
                                                                                                                         Employment Agreement, dated May
615   Allan Catolos Bandoma                 2051 Carmen St West Covina CA 91792            Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                         11, 2020
                                            4529 Angeles Crest Highway Suite 300 La        Vital Pharmaceuticals, Inc.   Confidentiality and Nondisclosure
616   Allen Lund Company LLC                                                                                                                                 $0.00
                                            Canada CA 91011                                d/b/a Bang Energy             Agreement, dated July 29, 2021
                                                                                                                         Trainer Services Agreement, dated
617                                                                                        Quash Seltzer, LLC
                                                                                                                         November 30, 2021
                                                                                                                         Trainer Services Agreement, dated
618                                                                                        Vital Pharmaceuticals, Inc.
                                                                                                                         November 30, 2021
                                            Eric Monroe 4490 60th SE Grand Rapids MI                                     Distributor Agreement, dated
619   Alliance Beverage Distributing, LLC                                                  Vital Pharmaceuticals, Inc.                                       $0.00
                                            49512                                                                        November 01, 2018
                                 Case 22-17842-PDR                        Doc 1658             Filed 07/14/23 Confidentiality
                                                                                                                Page 165           of 279
                                                                                                                              and Nondisclosure
      Allied Waste Transportation                                                          Vital Pharmaceuticals, Inc.
620                                         4811 W Lower Buckeye Phoenix AZ 85043                                        Agreement, dated November 18,       $0.00
      (Republic Services)                                                                  d/b/a Bang Energy
                                                                                                                         2019
                                                                                                                         Brand Ambassador (National Team)
621                                                                                        Vital Pharmaceuticals, Inc.
                                                                                                                         Agreement, dated July 19, 2017
                                                                                                                         Employment Agreement, dated
622   Allisson Rincon Penagos               1068 Lavender Cir Weston FL 33327              Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                         March 04, 2019
                                                                                                                         Retail Installment Sale Contract -
623   Ally Financial                        PO Box 8110 Cockeysville MD 21030              Vital Pharmaceuticals, Inc.   Simple Finance Charge (with         $0.00
                                                                                                                         Arbitration Provision)
                                                                                                                         Confidentiality Agreement, dated
624   Ally Financial                        500 Woodward Ave Detroit MI 48226              Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                         June 20, 2017
                                                                                                                         Employment Agreement, dated July
625   Allyson Temple Nicole                 1309 Clark Springs Dr Keller TX 76248          Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                         26, 2021
                                                                                                                         Employment Agreement, dated
626   Alma Alvarado-Garcia                  7435 W Beryl Ave Peoria AZ 85345               Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                         February 28, 2022
                                                                                           Vital Pharmaceuticals, Inc.   Confidentiality and Nondisclosure
627   ALNA Packaging Co., Ltd.              12922 115 Avenue Surrey BC V3R 0E2                                                                               $0.00
                                                                                           d/b/a Bang Energy             Agreement, dated March 02, 2022
                                            10 Aveninda 12-60 Zona 14 Edificio Avita       Vital Pharmaceuticals, Inc.   Confidentiality and Nondisclosure
628   Alnost Guatemala S.A.                                                                                                                                  $0.00
                                            Apartmento 3C Torre Sur Guatemala              d/b/a Bang Energy             Agreement, dated August 11, 2021
                                            555 Southwest Sundance Tr Port Saint Lucie FL                                Employment Agreement, dated May
629   Alphonso Raymond                                                                    Vital Pharmaceuticals, Inc.                                        $0.00
                                            34953                                                                        28, 2019
                                                                                                                         Confidentiality and Nondisclosure
      Altius Logística Internacional Peru   Avenida Jorge Chavez No 631 Piso 4 Miraflores Vital Pharmaceuticals, Inc.
630                                                                                                                      Agreement, dated September 30,      $0.00
      S.A.C.                                Lima 15074 Peru                               d/b/a Bang Energy
                                                                                                                         2021
                                            2300 Glades Road, Suite 302E Boca Raton FL  Vital Pharmaceuticals, Inc.      Mutual Non-Disclosure Agreement,
631   Alturna-Tech Inc                                                                                                                                       $0.00
                                            33431                                       dba Bang Energy                  dated January 01, 2020
                                            2400 Veterans Memorial Blvd, Ste 300 Kenner                                  Settlement Agreement, dated August
632   Altus Global Trade Solutions                                                      Vital Pharmaceuticals, Inc.                                          $0.00
                                            LA 70062                                                                     29, 2017
                                                                                                                         Employment Agreement, dated
633   Alvaro Serna                          24219 Pansy Way Lake Elsinore CA 92532         Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                         December 02, 2019
                                                                                                                         Trainer Services Agreement, dated
634                                                                                        Quash Seltzer, LLC
                                                                                                                         October 22, 2021
                                                                                                                         Trainer Services Agreement, dated
635                                                                                        Vital Pharmaceuticals, Inc.
                                                                                                                         October 22, 2021
                                                                                                                         Elite Team Agreement, dated
636                                                                                        Vital Pharmaceuticals, Inc.
                                                                                                                         November 19, 2018
                                                                                                                         Employment Agreement, dated
637   Alyssa Consaul Nicole                 7830 Northwest 53rd Ct Lauderhill FL 33351     Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                         February 22, 2021
                                                                                                                         Employment Agreement, dated
638   Alyssa Figueroa Lynnae                112 Candle Wood Dr Hendersonville TN 37075 Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                         December 03, 2021
                                                                                                                         Brand Ambassador National Team
639                                                                                        Vital Pharmaceuticals, Inc.
                                                                                                                         Agreement, dated March 08, 2017
                                                                                                                         Brand Ambassador (National Team)
640                                                                                        Vital Pharmaceuticals, Inc.
                                                                                                                         Agreement, dated July 21, 2018
                                                                                                                         Elite Team Agreement, dated August
641                                                                                        Vital Pharmaceuticals, Inc.
                                                                                                                         25, 2017
                                                                                                                         Brand Ambassador (National Team)
642                                                                                        Vital Pharmaceuticals, Inc.
                                                                                                                         Agreement, dated January 09, 2018
                                                                                                                         Model Release and Affidavit, dated
643                                                                                        Vital Pharmaceuticals, Inc.
                                                                                                                         July 11, 2011
                                                                                                                         Employment Agreement, dated
644   Amanda Vazquez-Rios Elise             8845 Valencia Oaks Ct Orlando FL 32825         Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                         January 04, 2021
                                                                                                                         MDF/COOP Agreement, dated
645   Amazon Fulfillment Services, Inc.     410 Terry Ave N Seattle WA 98109               Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                         November 17, 2011
                                                                                                                         Vendor Terms and Conditions, dated
646   Amazon Fulfillment Services, Inc.     410 Terry Ave N Seattle WA 98109               Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                         January 19, 2010
                                                                                                                         Employment Agreement, dated
647   Amber Serrano Cecile                  951 East 10th Place Hialeah FL 33010           Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                         February 10, 2020
                                                                                                                         Brand Ambassador (National Team)
648                                                                                        Vital Pharmaceuticals, Inc.
                                                                                                                         Agreement, dated March 21, 2017
                                                                                                                         Employment Agreement, dated
649   Amber Vick R                          125 Baker St Apt 143 Costa Mesa CA 92626       Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                         March 02, 2021
                                                                                                                         Exclusive Distribution Agreement,
650   American Beer Distributors            256 Court Street Brooklyn NY 11231             Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                         dated January 23, 2023
                                                                                                                         Confidentiality and Nondisclosure
                                            2424 N Federal Highway Suite 455 Boca Raton Vital Pharmaceuticals, Inc.
651   American Clinical Solutions, LLC                                                                                   Agreement, dated November 20,       $0.00
                                            FL 33431                                    d/b/a Bang Energy
                                                                                                                         2019
                                            175 Water Street, New York, NY, 10038,                                       Foreign Liability Insurance Policy,
652   American International Group, Inc.                                                   Vital Pharmaceuticals, Inc.                                       $0.00
                                            United States                                                                dated May 31, 2023
                                            Attn: Annemarie Aune 4 New York Plaza 4th                                    Settlement Agreement and Mutual
653   American Media, Inc.                                                                 Vital Pharmaceuticals, Inc.                                       $0.00
                                            Floor New York NY 10004                                                      Release, dated May 28, 2015
                                            Greg R. Williams, 1491 San Carlos Ave Concord,                               Lease Agreement, dated August 30,
654   American Packaging Capital, Inc.                                                     Vital Pharmaceuticals, Inc.                                       $0.00
                                            California 94518                                                             2007
                                Case 22-17842-PDR                   Doc 1658             Filed 07/14/23 Non-Disclosure
                                                                                                          Page 166         of 279
                                                                                                                       & Confidentiality
                                                                                      Vital Pharmaceuticals, Inc.
655   American Soy Products, Inc.    1474 North Woodland Drive Saline MI 48176                                      Agreement, dated November 01,       $0.00
                                                                                      dba VPX/Redline
                                                                                                                    2017
                                     1474 North Woodland Dr. Saline Michigan                                        Supply & Processing Agreement,
656   American Soy Products, Inc.                                                     Vital Pharmaceuticals, Inc.                                       $0.00
                                     48176                                                                          dated June 01, 2018
                                                                                                                    Model Release and Affidavit, dated
657                                                                                   Vital Pharmaceuticals, Inc.
                                                                                                                    May 13, 2011
                                                                                                                    Confidentiality and Nondisclosure
                                                                                      Vital Pharmaceuticals, Inc.
658   Aminolabs Group NV             Research Campus 6 Hasselt 3500 Belgium                                         Agreement, dated November 19,       $0.00
                                                                                      d/b/a Bang Energy
                                                                                                                    2018
                                     2850 Northeast 14th St Cau Pompano Beach FL                                    Employment Agreement, dated
659   Amy Gold Elise                                                             Vital Pharmaceuticals, Inc.                                            $0.00
                                     33062                                                                          November 05, 2014
                                                                                                                    Elite Team Agreement, dated January
660                                                                                   Vital Pharmaceuticals, Inc.
                                                                                                                    01, 2018
                                     c/o Mark J. Berkowitz, P.A., One Ten Tower,
                                                                                                                    Settlement Agreement, dated July
661   Amy Maros                      110 SE 6th Street, Suite 1700, Ft. Lauderdale,   Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                    01, 2022
                                     FL 33301
                                                                                                                    Employment Agreement, dated
662   Amy McAllister Lynn            20570 Vine Dr Macomb MI 48044                    Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                    March 01, 2019
                                     120 19TH ST N, STE 2054, BIRMINGHAM, AL                                        Client Services Agreement, dated
663   AMZ Atlas, LLC                                                                  Vital Pharmaceuticals, Inc.                                        $0.00
                                     35203                                                                          December 07, 2022
                                     120 19TH ST N, STE 2054, BIRMINGHAM, AL                                        Amendment No. 1 to Client Services
664   AMZ Atlas, LLC                                                                  Vital Pharmaceuticals, Inc.                                        $0.00
                                     35203                                                                          Agreement, dated April 01, 2023
                                                                                                                    Select Agreement, dated November
665                                                                                   Quash Seltzer, LLC
                                                                                                                    01, 2021
                                                                                                                    Select Agreement, dated November
666                                                                                   Vital Pharmaceuticals, Inc.
                                                                                                                    01, 2021
                                                                                                                    Elite Team Agreement, dated July 21,
667                                                                                   Vital Pharmaceuticals, Inc.
                                                                                                                    2018
                                                                                                                    Elite Team Agreement, dated January
668                                                                                   Vital Pharmaceuticals, Inc.
                                                                                                                    03, 2017
                                                                                                                    Sole Distributor Supply Agreement -
669   AnaBio Technologies LTD        11 Herbert Street Dublin D02 RW27 Ireland        Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                    Term Sheet, dated July 02, 2018
                                                                                      Vital Pharmaceuticals, Inc.   Confidentiality & Non-Circumvention
670   AnaBio Technologies LTD        11 Herbert Street Dublin CO D02RW27 Ireland                                                                        $0.00
                                                                                      dba VPX                       Agreement, dated May 07, 2018
                                                                                                                    Employment Agreement, dated
671   Anayansi Ramirez Root Esther   1421 West Ocotillo Rd Phoenix AZ 85013           Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                                    November 01, 2021
                                                                                                                    Continuing Guaranty and
672   ANDA, Inc.                     6280 W 3rd St Apt 231 Los Angeles CA 90036       Vital Pharmaceuticals, Inc.   Indemnification Agreement, dated  $0.00
                                                                                                                    March 27, 2008
                                                                                                                    Trainer Services Agreement, dated
673                                                                                   Quash Seltzer, LLC
                                                                                                                    September 20, 2021
                                                                                                                    Trainer Services Agreement, dated
674                                                                                   Vital Pharmaceuticals, Inc.
                                                                                                                    September 20, 2021
                                                                                                                    Confidentiality and Nondisclosure
                                     6630 NW 16th Terrace Fort Lauderdale FL          Vital Pharmaceuticals, Inc.
675   Andler Packaging Corporation                                                                                  Agreement, dated December 12,     $0.00
                                     33309                                            d/b/a Bang Energy
                                                                                                                    2019
                                                                                                                    Brand Ambassador Agreement, dated
676                                                                                   Quash Seltzer, LLC
                                                                                                                    September 28, 2021
                                                                                                                    Brand Ambassador Agreement, dated
677                                                                                   Vital Pharmaceuticals, Inc.
                                                                                                                    September 28, 2021
                                                                                                                    Elite Team Agreement, dated May
678                                                                                   Vital Pharmaceuticals, Inc.
                                                                                                                    29, 2018
                                                                                                                    Brand Ambassador Agreement, dated
679                                                                                   Vital Pharmaceuticals, Inc.
                                                                                                                    May 10, 2021
                                                                                                                    Elite Team Agreement, dated May
680                                                                                   Vital Pharmaceuticals, Inc.
                                                                                                                    18, 2018
                                     1469 Northwest 153rd Ave Pembroke Pines FL                                     Employment Agreement, dated
681   Andrea Gil Cecilia                                                        Vital Pharmaceuticals, Inc.                                           $0.00
                                     33028                                                                          September 01, 2021
      Andrea Marcano Reimundez Del                                                                                  Employment Agreement, dated
682                                  4206 Eastgate Dr 3133 Orlando FL 32839           Vital Pharmaceuticals, Inc.                                     $0.00
      Mar                                                                                                           November 11, 2019
                                                                                                                    Trainer Services Agreement, dated
683                                                                                   Quash Seltzer, LLC
                                                                                                                    October 17, 2021
                                                                                                                    Trainer Services Agreement, dated
684                                                                                   Vital Pharmaceuticals, Inc.
                                                                                                                    October 17, 2021
                                                                                                                    Employment Agreement, dated May
685   Andreina Mendez                242 East Riverbend Dr Sunrise FL 33326           Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                                    09, 2022
                                                                                                                    Brand Ambassador (Local Team)
686                                                                                   Vital Pharmaceuticals, Inc.
                                                                                                                    Agreement, dated January 02, 2018
                                     9969 Sepulveda Blvd Apt 101 Los Angeles CA                                     Employment Agreement, dated
687   Andrew Alvarez                                                                  Vital Pharmaceuticals, Inc.                                     $0.00
                                     91345                                                                          August 09, 2021
                                                                                                                    Employment Agreement, dated May
688   Andrew Baltazar John           4727 Dozier St Los Angeles CA 90022              Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                                    02, 2018
                                                                                                                    Employment Agreement, dated
689   Andrew Colapietro J            25 Waters Edge Dr Lewiston ME 4240               Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                                    January 13, 2020
                               Case 22-17842-PDR                 Doc 1658             Filed 07/14/23 Employment
                                                                                                       Page 167       of 279
                                                                                                                Agreement, dated
690   Andrew De La Torre Jr Juan   18928 West Jefferson St Buckeye AZ 85326        Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                 January 05, 2015
                                                                                                                 Elite Team Agreement, dated
691                                                                                Vital Pharmaceuticals, Inc.
                                                                                                                 November 21, 2017
                                   c/o The Law Firm of Patrick H. Gonyea, PA.,                                   Settlement Agreement, dated July
692   Andrew LaRocca                                                           Vital Pharmaceuticals, Inc.                                           $0.00
                                   8176 Woodland Center Blvd, Tampa, FL 33614                                    29, 2022

                                   3 Bancroft Lane Kings Hill West Malling Kent    Vital Pharmaceuticals, Inc.   Confidentiality and Nondisclosure
693   Andrew Richard Blakely                                                                                                                        $0.00
                                   ME19 4BQ United Kingdom                         d/b/a Bang Energy             Agreement, dated February 15, 2019
                                                                                                                 Employment Agreement, dated
694   Andrew Samples Lee           8120 East Whitton Ave Scottsdale AZ 85251       Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                 August 09, 2021
                                                                                                                 Employment Agreement, dated
695   Andrew Schade Michael        21 Abbey Ln Annville PA 17003                   Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                 December 21, 2020
                                                                                                                 Employment Agreement, dated April
696   Andrew Wisdom David          13805 Northwest 22nd St Sunrise FL 33323        Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                 03, 2008
                                                                                                                 Employment Agreement, dated
697   Andy Rodriguez               1962 South Palomar Dr Deltona FL 32738          Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                 March 21, 2019
                                                                                                                 Employment Agreement, dated May
698   Angel Alvarez David          6645 Sylmar Ave 112A Van Nuys CA 91405          Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                 10, 2021
                                                                                                                 Employment Agreement, dated
699   Angel Aponte Alfredo         7260 Suiterling Rd 102 Hollywood FL 33024       Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                 October 22, 2018
                                                                                                                 Employment Agreement, dated
700   Angel Iglesias Ricardo       880 Sorrento Dr Weston FL 33326                 Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                 September 06, 2022
                                                                                                                 Exclusive Athlete
701                                                                                Vital Pharmaceuticals, Inc.   Endorsement/Transformation
                                                                                                                 Agreement, dated May 15, 2008
                                                                                                                 Employment Agreement, dated July
702   Angel Tellez Leogardo        7013 W Catalina Dr Phoenix AZ 85033             Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                 12, 2021
                                                                                                                 Employment Agreement, dated
703   Angel Torres                 6701 Johnson St # 209 Hollywood FL 33024        Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                 August 10, 2020
                                   2902 West Sweetwater Ave Apt 3009 Phoenix                                     Employment Agreement, dated May
704   Angela Ruiz McDavis                                                          Vital Pharmaceuticals, Inc.                                       $0.00
                                   AZ 85029                                                                      18, 2020
                                   1617 South Federal Highway Apt 2-516                                          Employment Agreement, dated
705   Angelica Cabrejos                                                            Vital Pharmaceuticals, Inc.                                       $0.00
                                   Pompano Beach FL 33062                                                        December 20, 2021
                                                                                                                 Brand Ambassador (National Team)
706                                                                                Vital Pharmaceuticals, Inc.   Agreement, dated December 17,
                                                                                                                 2018
                                                                                                                 Elite Team Agreement, dated March
707                                                                                Vital Pharmaceuticals, Inc.
                                                                                                                 29, 2018
                                   Mr. Robert Angell 455 Kunzler Ranch Rd Suite B
708   Angell Distributing                                                         Vital Pharmaceuticals, Inc.    Distributor Agreement, dated 2007   $0.00
                                   Ukiah CA 95482
                                                                                  Vital Pharmaceuticals, Inc.,   Confidentiality Agreement, dated
709   Anheuser- Busch, LLC         One Busch Pl St Louis MO 63118                                                                                    $0.00
                                                                                  d/b/a Bang Energy              2018
                                                                                                                 Confidentiality and Nondisclosure
                                                                                   Vital Pharmaceuticals, Inc.
710   Anheuser-Busch LLC           One Busch Place St. Louis MO 63118                                            Agreement, dated December 03,       $0.00
                                                                                   d/b/a Bang Energy
                                                                                                                 2020
                                                                                                                 Distributor Agreement, dated
711   Anheuser-Busch, LLC          125 West 24th Street 10th New York NY 10024 Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                 October 28, 2019
      Anheuser-Busch, LLC d/b/a    Attn: Barry Galgoci 18300 NE Portal Way                                       Distributor Agreement, dated
712                                                                                Vital Pharmaceuticals, Inc.                                       $0.00
      Western Beverage Co.         Portland OR 97230                                                             October 28, 2019
                                                                                                                 Employment Agreement, dated June
713   Anibal Hernandez Jose        630 85th St Apt 203 Miami Beach FL 33141        Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                 28, 2021
                                                                                                                 Employment Agreement, dated
714   Anibal Madrueno S            5411 South 13th Ave Phoenix AZ 85041            Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                 August 30, 2021
                                                                                                                 Elite Team Agreement, dated
715                                                                                Vital Pharmaceuticals, Inc.
                                                                                                                 October 31, 2017
                                                                                                                 Equipment Operating Lease and Use
716   Anmar Investment Group LLC   1151 Chenille Circle Weston FL 33327            Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                                 Agreement, dated January 01, 2022
                                                                                                                 Elite Team Agreement, dated
717                                                                                Vital Pharmaceuticals, Inc.
                                                                                                                 November 09, 2017
                                                                                                                 Employment Agreement, dated June
718   Anna Keener Jane             930 Benge Dr Apt 108 Arlington TX 76013         Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                 29, 2020
                                                                                                                 AFFILIATE MEMBER AGREEMENT,
719                                                                                Vital Pharmaceuticals, Inc.
                                                                                                                 dated June 22, 2018
                                                                                                                 Elite Team Agreement, dated July 19,
720                                                                                Vital Pharmaceuticals, Inc.
                                                                                                                 2017
                                   1800 North Bayshore Dr Apt 2404 Miami FL                                      Employment Agreement, dated
721   Annye Posada Carolina                                                        Vital Pharmaceuticals, Inc.                                        $0.00
                                   33132                                                                         December 28, 2020
                                                                                                                 Select Agreement, dated December
722                                                                                Quash Seltzer, LLC
                                                                                                                 01, 2021
                                                                                                                 Select Agreement, dated December
723                                                                                Vital Pharmaceuticals, Inc.
                                                                                                                 01, 2021
                                                                                                                 Employment Agreement, dated
724   Anthony Anselmo              2534 NE 42nd Ave Portland OR 97213              Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                 February 10, 2022
                                 Case 8840
                                      22-17842-PDR                 Doc
                                           Fontainebleau Blvd Apt 403     1658
                                                                      Miami FL              Filed 07/14/23 Employment
                                                                                                             Page 168       of 279
                                                                                                                      Agreement, dated May
725   Anthony Calderon                                                                  Vital Pharmaceuticals, Inc.                                          $0.00
                                        33172                                                                         21, 2018
                                                                                                                      Employment Agreement, dated
726   Anthony Campana Charles           18 Key West Ct Weston FL 33326                  Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                      March 16, 2022
                                                                                                                      Employment Agreement, dated July
727   Anthony Cerullo                   5141 Waterwood Dr Bartow FL 33830               Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                      16, 2018
                                                                                                                      Employment Agreement, dated
728   Anthony Clayton                   10401 SW 51St St Cooper City FL 33328           Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                      September 27, 2021
                                                                                                                      Employment Agreement, dated
729   Anthony Collins C                 13440 Old Englishtown Rd Wellington FL 33414 Vital Pharmaceuticals, Inc.                                             $0.00
                                                                                                                      February 03, 2020
                                        4682 Aventura Canyon Ct Las Vegas NV 89139-                                   Employment Agreement, dated
730   Anthony Dolson David                                                          Vital Pharmaceuticals, Inc.                                              $0.00
                                        7652                                                                          September 07, 2010
                                                                                                                      Employment Agreement, dated June
731   Anthony Fernandez G               4510 East Wood St Phoenix AZ 85040              Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                      14, 2021
                                                                                                                      Employment Agreement, dated
732   Anthony Fernandez Jr Gerardo      4510 East Wood St Phoenix AZ 85040              Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                      October 03, 2019
                                        8577 Boca Glades Blvd W Unit C Boca Raton FL                                  Employment Agreement, dated
733   Anthony Gaudioso Patrick                                                       Vital Pharmaceuticals, Inc.                                             $0.00
                                        33434                                                                         August 23, 2021
                                                                                                                      Trainer Services Agreement, dated
734                                                                                     Quash Seltzer, LLC
                                                                                                                      January 19, 2021
                                                                                                                      Trainer Services Agreement, dated
735                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                      January 19, 2021
                                                                                                                      Employment Agreement, dated
736   Anthony Muro                      2233 Fairview Rd #H Costa Mesa CA 92627         Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                      February 07, 2022
      Anthony Ombrellaro (Insight       c/o Insight Global 4170 Ashford Dunwoody Rd                                   Vistor Non-Disclosure Agreement,
737                                                                                 Vital Pharmaceuticals, Inc.                                              $0.00
      Global)                           NE, Suite 250 Brookhaven GA 30319                                             dated October 16, 2019
                                                                                                                      Employment Agreement, dated
738   Anthony Oropeza Michael           2392 Southeast 16th Alley Gresham OR 97080 Vital Pharmaceuticals, Inc.                                               $0.00
                                                                                                                      September 14, 2020
                                                                                                                      Employment Agreement, dated
739   Anthony Ortega Ray                8307 South 47th Ave Phoenix AZ 85339            Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                      January 18, 2022
                                                                                                                      Employment Agreement, dated
740   Anthony Perriello Joseph          14708 West Poinsettia Dr Surprise AZ 85379      Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                      September 27, 2021
                                                                                                                      Exclusive Athlete
741                                                                                     Vital Pharmaceuticals, Inc.   Endorsement/Spokesperson
                                                                                                                      Agreement, dated April 05, 2010
                                        370 West Pleasantview Ave #305 Hackensack                                     Independent Contractor Agreement,
742   Anthony Robert Connors                                                            Vital Pharmaceuticals, Inc.                                     $0.00
                                        NJ 07601                                                                      dated November 15, 2011
                                                                                                                      ELITE AGREEMENT, dated June 23,
743                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                      2019
                                                                                                                      Employment Agreement, dated
744   Anthony Velasquez Alejandro       11657 Marina Dr Jacksonville FL 32246           Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                      September 04, 2018
                                                                                                                      Employment Agreement, dated
745   Anthony Wallace Jr                3779 Maiden Fern Ln Snellville GA 30039         Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                      September 08, 2020
                                                                                                                      Talent Services Agreement, dated
746                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                      August 13, 2017
                                                                                                                      Exclusive Athlete Endorsement
747                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                      Agreement, dated March 21, 2008
748                                                                                     Vital Pharmaceuticals, Inc.   Elite Agreement, dated July 23, 2019
                                        Attn: Benjamin J. Sweet, Esq.
      Antoinette Suchenko & Jared       Nye, Stirling, Hale & Miller, LLP                                             Settlement Agreement, dated August
749                                                                                     Vital Pharmaceuticals, Inc.                                      $0.00
      Charlap                           1145 Bower Hill Road, Suite 104, Pittsburgh, PA                               20, 2020
                                        15243
                                                                                                                      Exclusive Promotional Modeling
750                                                                                     Vital Pharmaceuticals, Inc.   Agreement, dated December 02,
                                                                                                                      2016
                                        1875 Calida Dr Apt 402 West Palm Beach FL                                     Employment Agreement, dated
751   Anton Gholston L                                                                  Vital Pharmaceuticals, Inc.                                     $0.00
                                        33411                                                                         August 29, 2022
                                                                                                                      Addendum #3
752                                                                                     Vital Pharmaceuticals, Inc.   Model Consent and Release
                                                                                                                      Agreement, dated April 04, 2016
                                        Attn: Jose Antonio 4511 NW 7th Street                                         Research Agreement, dated
753   Antonio Consulting, Inc.                                                          Vital Pharmaceuticals, Inc.                                     $0.00
                                        Deerfield Beach FL 33442                                                      November 26, 2018
                                                                                                                      Employment Agreement, dated May
754   Antonio Coronado Jr               3421 North 64th Dr Phoenix AZ 85033             Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                                      03, 2022
                                                                                                                      Employment Agreement, dated
755   Antonio Estrada J                 4113 West 11th Ct Hialeah FL 33012              Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                                      October 06, 2021
                                                                                                                      Employment Agreement, dated April
756   Antonio Guerrero Salcedo          13281 Northwest 5th St Plantation FL 33325      Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                                      04, 2022
                                                                                                                      Brand Ambassador Agreement, dated
757                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                      November 15, 2021
                                                                                                                      Employment Agreement, dated
758   Antonio Ornelas Hernandez         3210 N 50th Dr Phoenix AZ 85031                 Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                                      August 23, 2021
                                                                                                                      Employment Agreement, dated May
759   Antonio Tracy Marcellos           1244 West C St Kannapolis NC 28081              Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                                      15, 2017
                                 Case 4201
                                      22-17842-PDR
                                           Monticello Gardens PlaceDoc
                                                                   Tampa 1658
                                                                         FL               Filed 07/14/23 Employment
                                                                                                           Page 169       of 279
                                                                                                                    Agreement, dated
760   Antonyous Rezk Rezk Gerges                                                       Vital Pharmaceuticals, Inc.                                      $0.00
                                            33613                                                                     October 14, 2019
                                            2880 Northwest 207th St Miami Gardens FL                                  Employment Agreement, dated
761   Antwan Johnson Edward                                                            Vital Pharmaceuticals, Inc.                                      $0.00
                                            33056                                                                     December 09, 2019
      Aon's Affininty Insurance Services,   WedSafe and Private Event Insurance 300                                   Final Summary Special Event
762                                                                                    Vital Pharmaceuticals, Inc.                                       $0.00
      Inc.                                  Jericho Quadrangle Jericho NY 11753                                       Insurance, dated December 11, 2019
      AP Sound, Inc.,                                                                                                 CONFIDENTIALITY AND NON-
                                            Attn: David Fanugao 806 Beverly Parkway    Vital Pharmaceuticals, Inc.,
763   d/b/a All Pro Integrated Systems                                                                                DISCLOSURE AGREEMENT, dated      $0.00
                                            Pensacola FL 32505                         DBA Bang Energy
      ("All Pro")                                                                                                     January 20, 2020
                                                                                                                      Employment Agreement, dated June
764   Apollonia Cooley Shanay               501 Hidden Dale Dr Fort Worth TX 76140     Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                                      15, 2020
                                            1 APPLE PARK WAY / CUPERTINO CA 95014-
765   Apple, Inc.                                                                      Vital Pharmaceuticals, Inc.    Product/Service Agreement         $0.00
                                            0642 / US
                                            Attn: Brian Happel
                                                                                       Vital Pharmaceuticals, Inc.,   Visit Non-Disclosure Agreement,
766   Applied Food Sciences                 8708 S. Congress Ave STE B290                                                                               $0.00
                                                                                       d/b/a VPX                      dated October 10, 2019
                                            Austin, TX 78745
                                                                                                                   Confidentiality and Nondisclosure
                                            Routes des Riddes 327 Aproz CH-1994        Vital Pharmaceuticals, Inc.
767   Aproz Sources Minerales SA                                                                                   Agreement, dated September 17,       $0.00
                                            Switzerland                                d/b/a Bang Energy
                                                                                                                   2021
                                       280 Moon Clinton Rd Ste F Moon Twp PA                                       Data Service Agreement, dated
768   Apta Marketing Solutions LLC                                                    Vital Pharmaceuticals, Inc.                                       $0.00
                                       15108                                                                       August 16, 2016
                                       Attn: Hector Lopez 103 Meirs Road Cream        JHO Intellectual Property    Patent License Agreement, dated
769   AquaPurine Holdings, LLC                                                                                                                          $0.00
                                       Ridge NJ 08514                                 Holdings, LLC                December 05, 2017
                                       1299 Farnam Street, Suite 500, Omaha, NE                                    Commercial Property Insurance
770   Arch Specialty Insurance Company                                                Vital Pharmaceuticals, Inc.                                       $0.00
                                       68102                                                                       Policy, dated May 31, 2023
                                                                                                                   Lease Agreement, dated July 26,
771   Archer-Daniels-Midland Company 4666 Faries Pkwy Decatur IL 62526-0000           Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                   2019
                                                                                                                   Confidentiality and Nondisclosure
                                       5639 Old Chapel Hill Rd.                       Vital Pharmaceuticals, Inc.
772   Arcs Network Cabling, LLC                                                                                    Agreement, dated September 18,       $0.00
                                       Durham, NC 27707                               d/b/a Bang Energy
                                                                                                                   2020
                                                                                                                   Sponsorship and Advertising
773   Arena Operating Company, LTD.    1 Panther Pkway, Fort Lauderdale, FL 33323     Vital Pharmaceuticals, Inc. Agreement, dated September 05,        $0.00
                                                                                                                   2019
                                                                                                                   Contact Information Sheet / ACH
                                                                                                                   Transfer Authorization Form / Direct
774                                                                                   Vital Pharmaceuticals, Inc. Deposit Set-Up Form / W-9 / Select
                                                                                                                   Agreement, dated November 01,
                                                                                                                   2021
                                                                                                                   Ambassador (National Team)
775                                                                                   Vital Pharmaceuticals, Inc.
                                                                                                                   Agreement, dated June 03, 2018
                                                                                                                   Brand Ambassador (National Team)
776                                                                                   Vital Pharmaceuticals, Inc. Agreement, dated September 27,
                                                                                                                   2017
                                                                                                                   Employment Agreement, dated
777   Ariel Moya Gedaly                5617 Soft Skies Dr Sarasota FL 34238           Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                   October 02, 2019
                                                                                                                   DISTRIBUTOR AGREEMENT, dated
778   Arizona Beverage Company, LLC    644 Linn Street, Suite 318 Cincinatti OH 45203 Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                   August 10, 2007
                                                                                                                   CONFIDENTIALITY AND NON-
                                                                                      Vital Pharmaceuticals, Inc.,
779   Ark Transportation Ltd.          17830 Englewood dr. #23 Cleveland OH 44130                                  DISCLOSURE AGREEMENT, dated          $0.00
                                                                                      d/b/a Bang Energy ("Bang")
                                                                                                                   September 21, 2021
                                                                                                                   Confidentiality & Non-Circumvention
                                                                                      Vital Pharmaceuticals, Inc.
780   Armada Nutrition LLC             4637 Port Royal Road Spring Hills TN 37174                                  Agreement, dated September 05,       $0.00
                                                                                      dba VPX
                                                                                                                   2017
                                                                                                                   Employment Agreement, dated July
781   Armando Madrigal                 929 Maple St Denton TX 76201                   Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                   26, 2021
                                                                                                                   Trainer Services Agreement, dated
782                                                                                   Quash Seltzer, LLC
                                                                                                                   September 04, 2021
                                                                                                                   Trainer Services Agreement, dated
783                                                                                   Vital Pharmaceuticals, Inc.
                                                                                                                   September 04, 2021
                                                                                                                   Fire Alarm System Service and
                                       3665 Park Central Blvd n N. Pompona Beach FL
784   Armer Protection                                                                Vital Pharmaceuticals, Inc. Monitoring Agreement, dated August $0.00
                                       33064
                                                                                                                   18, 2016
                                                                                                                   Employment Agreement, dated
785   Arnaldo Barrios Lozano Jose      10850 N Kendall Dr 114 Miami FL 33176          Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                   September 12, 2022
                                                                                                                   AGREEMENT OF WAIVER OF
                                       1215 Worthington Woods Blvd Worthington
786   Arnold Fitness Expo                                                             Vital Pharmaceuticals, Inc. LIABILITY, INDEMNIFICATION, AND $0.00
                                       OH 43085
                                                                                                                   MEDICAL RELEASE
                                                                                                                   CONFIDENTIALITY & NON-
                                       Insurgentes Sur 1605-Floor 20 Mexico City      Vital Pharmaceuticals, Inc.,
787   Arochi & Lindner S.C. ("A&L")                                                                                DISCLOSURE AGREEMENT, dated          $0.00
                                       San José, Insurgentes 3900 Mexico              DBA Bang Energy
                                                                                                                   October 03, 2018
                                                                                                                   Purchase Order/ Integrated
                                       Jeff Carey 9555 West Irving Park Rd Schiller
788   Arpac LLC                                                                       Vital Pharmaceuticals, Inc. Packaging System, dated March 25, $0.00
                                       Park IL 60176
                                                                                                                   2017
789   ARPAC, LLC                       9555 W Irving Park Rd Schiller Park IL 60176   Vital Pharmaceuticals, Inc. Agreement, dated March 25, 2017       $0.00
                                  Case 22-17842-PDR                    Doc 1658             Filed 07/14/23 Employment
                                                                                                             Page 170       of 279
                                                                                                                      Agreement, dated
790   Arthur Alvarado Steven              3109 South 100th Ln Tolleson AZ 85353          Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                        August 10, 2020
                                                                                                                        CONFIDENTIALITY AND NON-
      Arthur J. Gallagher Risk                                                           Vital Pharmaceuticals, Inc.,
791                                       2850 Golf Road, Rolling Meadows IL 63008                                      DISCLOSURE AGREEMENT, dated          $0.00
      Management Services, Inc.                                                          d/b/a Bang Energy ("Bang")
                                                                                                                        January 31, 2019
                                                                                                                        Distributor Agreement, dated
792   Arthur R. Gren Co, Inc.             1886 Mason Drive Jamestown NY 14701            Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                        January 18, 2019
                                                                                                                        Confidential Disclosure Agrement,
793   Artisan Packaging Company LP        291 West Wolf Street Harrisonburg VA 22802     Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                        dated December 20, 2019
                                          24250 N 23rd Ave Unit 2190 Phoenix AZ 85085-                                  Employment Agreement, dated
794   Arturo Benavides J                                                               Vital Pharmaceuticals, Inc.                                           $0.00
                                          1974                                                                          March 07, 2022
                                                                                                                        Employment Agreement, dated
795   Arturo Gomez                        13262 Northwest 8th Terrace Miami FL 33182 Vital Pharmaceuticals, Inc.                                             $0.00
                                                                                                                        September 21, 2020
                                                                                                                        Dang Contact Info Sheet/
796                                                                                      Quash Seltzer, LLC             Ambassador Agreement, dated
                                                                                                                        October 11, 2021
                                                                                                                        Dang Contact Info Sheet/
797                                                                                      Vital Pharmaceuticals, Inc.    Ambassador Agreement, dated
                                                                                                                        October 11, 2021
                                                                                                                        Brand Ambassador Agreement, dated
798                                                                                      Vital Pharmaceuticals, Inc.
                                                                                                                        September 30, 2021
                                                                                                                        Contact Info Sheet / Model Release
                                                                                                                        and Affidavit / Exclusive
799                                                                                      Vital Pharmaceuticals, Inc.
                                                                                                                        Promotional Modeling Contract,
                                                                                                                        dated August 28, 2013
                                                                                                                        Vital Pharmaceuticals, Inc., dated
800                                                                                      Vital Pharmaceuticals, Inc.
                                                                                                                        October 05, 2015
                                                                                                                        Employment Agreement, dated April
801   Ashley Lauren Arbuckle              5630 Dorothy Dr San Diego CA 92115             Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                        22, 2019
                                                                                                                        Elite Team Agreement, dated
802                                                                                      Vital Pharmaceuticals, Inc.
                                                                                                                        February 20, 2018
                                                                                                                        Model Release and Affidavit/
803                                                                                      Vital Pharmaceuticals, Inc.    Exclusive Promotion Model Contract,
                                                                                                                        dated October 13, 2013
                                                                                                                        Vital Pharmaceuticals, Inc., dated
804                                                                                      Vital Pharmaceuticals, Inc.
                                                                                                                        April 10, 2014
                                                                                                                        Brand Ambassador (National Team)
805                                                                                      Vital Pharmaceuticals, Inc.
                                                                                                                        Agreement, dated May 05, 2019
                                                                                                                        Waiver of Liability , dated October
806   Aslim Baksh                         3156 NW 83rd Way Plantation FL, 33024          Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                        09, 2013
                                                                                                                        Absolute and Perpetual Release and
                                                                                                                        Consent to Participate in Research
807                                                                                      Vital Pharmaceuticals, Inc.
                                                                                                                        Product Testing, dated January 18,
                                                                                                                        2010
                                                                                                                        Elite Team Agreement, dated July 30,
808                                                                                      Vital Pharmaceuticals, Inc.
                                                                                                                        2018
                                                                                                                        Commercial Property Insurance
809   Aspen Specialty Insurance Company 175 Capital Blvd, STE 300, Rocky Hill, CT 06067 Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                        Policy, dated May 31, 2023
                                                                                                                        CONFIDENTIALITY AND NON-
                                                                                         Vital Pharmaceuticals, Inc.,
810   Assemblies Unlimited Inc.           141 Covington Dr. Bloomingdale IL 60108                                       DISCLOSURE AGREEMENT, dated July $0.00
                                                                                         d/b/a Bang Energy ("Bang")
                                                                                                                        28, 2020
                                                                                                                        CONFIDENTIALITY AND NON-
                                                                                         Vital Pharmaceuticals, Inc.,
811   ASSTRA TRANS INC                    100 COREY AVE ST PETE BEACH NY 33706                                          DISCLOSURE AGREEMENT, dated          $0.00
                                                                                         d/b/a Bang Energy ("Bang")
                                                                                                                        August 04, 2021
                                                                                                                        Employment Agreement, dated
812   Atilio Herrarte Stanley             630 South Lake St Unit 203 Burbank CA 91502 Vital Pharmaceuticals, Inc.                                            $0.00
                                                                                                                        November 01, 2021
                                          5000 Fulton Industrial Boulevard Atlanta GA                                   Distributor Agreement, dated August
813   Atlanta Beverage Company                                                           Vital Pharmaceuticals, Inc.                                         $0.00
                                          30336                                                                         08, 2018
                                                                                                                        Confidential Settlement Agreement
      Atlantic Chemicals Trading of North 116 N. Maryland Aveneue Suite 210 Glendale     Vital Pharmaceuticals, Inc.
814                                                                                                                     and Mutual Release, dated August     $0.00
      America, Inc.                       CA 91206                                       dba VPX Sports
                                                                                                                        19, 2015
                                                                                                                        Terms and Conditions, dated June 01,
815   Atlantic Packaging                  806 N 23rd Street Wilmington NC 28405          Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                        2011
                                                                                                                        CONFIDENTIALITY AND NON-
                                                                                         Vital Pharmaceuticals, Inc.,
816   Atlantic Packaging, Inc.            806 N. 23rd Street Wilmington NC 28405                                        DISCLOSURE AGREEMENT, dated          $0.00
                                                                                         d/b/a Bang Energy ("Bang")
                                                                                                                        December 06, 2019
                                          6001 Broken Sound Parkway Suite 506 Boca                                      Fee Agreement, dated January 16,
817   Atlantic Partners                                                                  Vital Pharmaceuticals, Inc.                                         $0.00
                                          Raton FL 33487                                                                2019
                                          Bud Dunn 2955 W Columbia Ave Battle Creek                                     Exclusive Distribution Agreement,
818   Atlas Beverage LLC                                                                 Vital Pharmaceuticals, Inc.                                         $0.00
                                          MI 49015                                                                      dated January 29, 2021
                                                                                                                        Distributor Agreement, dated June
819   Atlas Distributing Inc.             44 Southbridge Street Auburn MA 01501          Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                        01, 2019
                                          Attn: Bud Dunn 2955 W Columbia Ave Battle                                     Exclusive Distribution Agreement,
820   Atlas Sales, Inc                                                                   Quash Seltzer, LLC                                                  $0.00
                                          Creek MI 49015                                                                dated January 29, 2021
                                  Case Jammer
                                       22-17842-PDR               Doc
                                              Road, Talwara Mughlan,       1658
                                                                     Saialkot,             Filed 07/14/23                 Page 171 of 279
                                                                                                                     CONFIDENTIALITY AND NON-
                                         Pakistan 51311                                 Vital Pharmaceuticals, Inc.,
821   Attitude Sports Wear                                                                                           DISCLOSURE AGREEMENT, dated July $0.00
                                         info@attitude-sportswear.com                   d/b/a Bang Energy ("Bang")
                                                                                                                     07, 2021
                                         attitudesportswear04@gmail.com
                                                                                                                       Brand Ambassador (National Team)
822                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                       Agreement, dated June 01, 2018
                                                                                                                       Brand Ambassador (Local Team)
823                                                                                       Vital Pharmaceuticals, Inc.
                                                                                                                       Agreement, dated March 13, 2018
                                                                                                                       Employment Agreement, dated
824   Austin Swecker Edward                4590 49th Ave S Apt 211 Fargo ND 58104         Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                       December 07, 2020
                                                                                                                       Employment Agreement, dated
825   Austin Teate Alonzo                  21043 Northeast 4th Ct Miami FL 33179          Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                       October 26, 2021
                                                                                                                       Finished Goods Development and
                                           14050 Palmetto Frontage Road Attn: Gilberto
826   Avanti Nutritional Laboratories, LLC                                                Vital Pharmaceuticals, Inc. Supply Agreement, dated September $0.00
                                           Diaz Miami Lakes FL 33016
                                                                                                                       22, 2017
                                           14050 Palmetto Frontage Road Miami Lakes FL Vital Pharmaceuticals, Inc. Non-Disclosure & Confidentiality
827   Avanti Nutritional Laboratories, LLC                                                                                                                 $0.00
                                           33016                                          dba VPX/Redline              Agreement, dated July 26, 2017
                                                                                                                       Select Agreement, dated October 01,
828                                                                                       Quash Seltzer, LLC
                                                                                                                       2021
                                           1317 S Terrace Rd Apt T4028A Tempe AZ                                       Employment Agreement, dated
829   Avery Rosenzweig Edison                                                             Vital Pharmaceuticals, Inc.                                      $0.00
                                           85281                                                                       January 14, 2019
                                                                                                                       Elite Team Agreement, dated June
830                                                                                       Vital Pharmaceuticals, Inc.
                                                                                                                       21, 2018
                                           10000 Avalon Boulevard, Suite 200, Alpharetta,                              Commercial Property Insurance
831   AXIS Surplus Insurance Company                                                      Vital Pharmaceuticals, Inc.                                      $0.00
                                           GA 30009                                                                    Policy, dated May 31, 2023
                                                                                                                       Employment Agreement, dated May
832   Aybar Pardo De Figueroa              1592 Lake Breeze Dr Wellington FL 33414        Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                       17, 2021
                                                                                                                       CONFIDENTIALITY AND NON-
                                           7255 S. Kyrene Road Suite 104 Tempe AZ         Vital Pharmaceuticals, Inc.,
833   AZPack Property, LLC                                                                                             DISCLOSURE AGREEMENT, dated July $0.00
                                           85283                                          d/b/a Bang Energy ("Bang")
                                                                                                                       01, 2018
                                                                                                                       Exclusive Distribution Agreement
                                           Attn: Chris Kaminski, President 1140 13th
834   B & K Distributing                                                                  Quash Seltzer, LLC           (Hard Seltzer), dated January 18,   $0.00
                                           Street Steamboat Spgs CO 80477
                                                                                                                       2021
                                           6401 W Hamilton Park Drive Colombus GA                                      Distributor Agreement, dated
835   B&B Beverage                                                                        Vital Pharmaceuticals, Inc.                                      $0.00
                                           31909                                                                       February 05, 2019
                                                                                                                       Distributor Agreement, dated May
836   B&E Juice Inc.                       550 Knowlton St Bridgeport CT 06608            Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                       01, 2019
                                           Chris Kominski 1140 13th St Steamboat Springs                               Exclusive Distribution Agreement,
837   B&K Distributing                                                                    Vital Pharmaceuticals, Inc.                                      $0.00
                                           CO 80487                                                                    dated January 18, 2021
      B.L. Cream Company, dba Alber &                                                                                  Settlement Agreement, dated March
838                                        3115 Washington Pike, Bridgeville, PA 15017 Vital Pharmaceuticals, Inc.                                         $0.00
      Leff Foods Company                                                                                               18, 2021
                                                                                                                       Exclusive Distribution Agreement,
839   Baker Distributing Corporation       130 Orion Dr Colchester VT 05446               Quash Seltzer, LLC                                               $0.00
                                                                                                                       dated April 05, 2021
                                           395 N Shrewsbury Rd, N Clarendon, VT, 05759-
                                                                                                                       Non-Exclusive Distribution
840   Baker Distributing Corporation       9412                                           Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                       Agreement, dated June 11, 2021
                                           130 Orion Dr, Colchester, VT, 05446
                                                                                                                       Master Lease Agreement, dated
841   Balboa Capital Corporation           2010 Main Street 11th Floor Irvine CA 92614    Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                       January 09, 2009
                                         Matthew Whiteley, Head of Sales 11620         Vital Pharmaceuticals, Inc.,    Confidentiality and Non-Disclosure
842   Bamko, LLC                                                                                                                                          $0.00
                                         Wilshire Blvd. Suite 610 Los Angeles CA 90025 d/b/a Bang Energy               Agreement, dated October 09, 2019

                                                                                                                       Certificate of Election to and
                                         100 King St W Suite 5600 Toronto ON M5X 1C9                                   Incumbency of Officer of Corporation
843   Bang Energy Canada, Inc.                                                       Vital Pharmaceuticals, Inc.                                            $0.00
                                         Canada                                                                        with Specimen Signature, dated
                                                                                                                       December 05, 2019
                                                                                                                       Certificate of Election to and
                                                                                                                       Incumbency of Director of Dutch
844   Bang Energy DV                     Rijksweg Zuid 27 Sittard 6131 AL Netherlands   Vital Pharmaceuticals, Inc.    Private Limited Liability Company    $0.00
                                                                                                                       with Specimen Signature, dated
                                                                                                                       December 05, 2019
                                                                                                                       Certificate of Election to and
                                                                                                                       Incumbency of Manager of Limited
845   Bang Jets, LLC                     1600 N Park Dr Weston FL 33326-3278            Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                       Liability Company with Specimen
                                                                                                                       Signature, dated December 05, 2019
                                                                                        Vital Pharmaceuticals, Inc.,   Confidentiality and Non-Disclosure
846   Bank of America Company             100 North Tryon Street Charlotte NC 28255                                                                         $0.00
                                                                                        d/b/a Bang Energy              Agreement
                                         Statenlaan 55 5223 LA Hertogenbosch            Vital Pharmaceuticals, Inc.    Non-Disclosure & Confidentiality
847   Banning NV                                                                                                                                            $0.00
                                         Netherlands                                    dba VPX/Redline                Agreement, dated July 13, 2017
                                                                                                                       Employment Agreement, dated May
848   Bannon Hyland James                 17552 West Polaris Dr Goodyear AZ 85338       Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                       09, 2022
                                                                                                                       Confidentiality and Non-Disclosure
                                         Irina Abramova, Director 2nd Flat/Office 202   Vital Pharmaceuticals, Inc.,
849   Banuba ("Cyprus") Limited                                                                                        Agreement, dated November 04,        $0.00
                                         Nicosia 2003 Cyprus                            d/b/a Bang Energy
                                                                                                                       2020
                                   Case 2829
                                        22-17842-PDR                 Doc 1658
                                             Southwest 13th Ct Fort Lauderdale FL              Filed 07/14/23 Employment
                                                                                                                Page 172       of 279
                                                                                                                         Agreement, dated
850   Barbara Ramirez Margarita                                                            Vital Pharmaceuticals, Inc.                                      $0.00
                                           33312                                                                        March 28, 2022
                                                                                          Vital Pharmaceuticals, Inc., Non-Disclosure Agreement, dated
851   Barry-Wehmiller Design Group, Inc. 8235 Forsyth Boulevard Clayton MO 63105                                                                            $0.00
                                                                                          d/b/a VPX Sports              November 06, 2018
                                                                                                                        Commercial Real Estate Services
                                          2233 S. Ontario St. Suite 150 Burbank CA
852   Bart Reinhard, Christian Kasparian                                                  Vital Pharmaceuticals, Inc. Counter Proposal, dated May 10,       $0.00
                                          91504
                                                                                                                        2019
                                          Tony Singleton, 23191 LaCadena Drive, Suite                                   Software Licenses (Proposal), dated
853   BatchMaster Software, Inc.                                                          Vital Pharmaceuticals, Inc.                                       $0.00
                                          101 Laguna Hills CA 92653                                                     November 29, 2012
                                                                                                                        Distributor Agreement, dated
854   Baumgarten Distributing Co., Inc. 1618 W Detweiller Dr. Peoria IL 61615             Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                        February 25, 2011
                                                                                          Vital Pharmaceuticals, Inc., Non-Disclosure Agreement, dated
855   Bavaria S.A.                        Carrera 53 A No. 127-35 Bogota DC Columbia                                                                        $0.00
                                                                                          d/b/a Bang Energy             November 11, 2019
                                          Attn: Michael Bosnich, VP/GM 1061 Factory St                                  Exclusive Distribution Agreement,
856   Bay Area Distributing                                                               Quash Seltzer, LLC                                                $0.00
                                          Richmond CA 94801                                                             dated December 31, 2020
                                                                                                                        Employment Agreement, dated
857   Bayardo Detrinidad J                5907 113th Terrace East Parrish FL 34219        Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                        October 18, 2021
                                          515 E Las Olas Blvd 5th Floor Ft. Lauderdale FL Vital Pharmaceuticals, Inc., Confidentiality and Non-Disclosure
858   BDO USA, LLP                                                                                                                                          $0.00
                                          33301                                           d/b/a Bang Energy             Agreement, dated July 28, 2020
                                          Herengracht 514 1017 CC Amsterdam               Vital Pharmaceuticals, Inc., Confidentiality and Non-Disclosure
859   BearField B.V.                                                                                                                                        $0.00
                                          Netherlands                                     d/b/a Bang Energy             Agreement, dated October 01, 2019
                                                                                                                        Confidentiality and Non-Disclosure
                                          Rodovia Abel Pinho Maia, Km 12,5 Potirendaba Vital Pharmaceuticals, Inc.,
860   Bebidas Poty Ltda.                                                                                                Agreement, dated December 16,       $0.00
                                          Distrito Industrial 15105 000 Brasil            d/b/a Bang Energy
                                                                                                                        2021
                                                                                                                        Fourth Lease Amendment, dated
861   Becknell Properties                 2750 E 146th St Suite 200 Camel IN 46033        Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                        September 20, 2016
                                                                                                                        License Agreement, dated September
862   Becknell Properties                 2750 E 146th St Suite 200 Camel IN 46033        Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                        01, 2014
                                                                                          Vital Pharmaceuticals, Inc., Non-Disclosure Agreement, dated
863   Becknell Properties                 4242 1st Avenue Suite D Lyons IL 60534                                                                            $0.00
                                                                                          d/b/a VPX Sports              November 06, 2018
      Becknell Services, LLC dba Hartrich Attn: Robert Thompson III 4242 South First Ave                                Standard Form of Agreement, dated
864                                                                                       Vital Pharmaceuticals, Inc.                                       $0.00
      Becknell Construction               Suite D Lyons IL 60534                                                        January 26, 2010
                                                                                                                        Distributor Agreement, dated
865   Bellavance Beverage Company         46 Pettengill Rd Londonderry NH 03053           Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                        September 26, 2019
                                          Attn: Joseph A. Bellavance, IV 46 Pettingill                                  Exclusive Distribution Agreement,
866   Bellavance Beverage Company, LLC                                                    Quash Seltzer, LLC                                                $0.00
                                          Road Londonderry NH 03053                                                     dated June 29, 2021
                                                                                                                        Equipment Purchase Agreement,
867   Belvac Production Machinery, Inc. 237 Graves Mill Road Lynchburg VA 24502           Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                        dated March 10, 2020
                                          Tony Lacey, Executive Strat. Growth 237         Vital Pharmaceuticals, Inc., Confidentiality and Non-Disclosure
868   Belvac Production Machinery, Inc.                                                                                                                     $0.00
                                          Graves Mills Road Lynchburg VA 24502            d/b/a Bang Energy             Agreement, dated June 12, 2019
                                          237 Graves Mill Road, Lynchburg, VA 24502-                                    Settlement Agreement, dated
869   Belvac Production Machinery, Inc.                                                   Vital Pharmaceuticals, Inc.                                       $0.00
                                          4203                                                                          November 04, 2022
                                                                                                                        CONFIDENTIALITY AND NON-
870   Ben Beckmann                        ben.beckmann_v@bangenergy.com                   Vital Pharmaceuticals, Inc. DISCLOSURE AGREEMENT, dated           $0.00
                                                                                                                        October 28, 2021
                                                                                                                        Distributor Agreement, dated May
871   Ben E. Keith Company                601 East 7th Street Fort Worth TX 76102         Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                        01, 2011
      Benderson Development Company, Attn: Joseph P. Kieffer 7978 Cooper Creek Blvd                                     Indemnity Agreement BDC, dated
872                                                                                       Vital Pharmaceuticals, Inc.                                       $0.00
      LLC                                 Suite 100 University Park FL 34201                                            April 20, 2021
                                                                                                                        Employment Agreement, dated July
873   Benjamin Durfee Mark                6154 Pine Banks Ct Las Vegas NV 89141           Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                        25, 2022
                                                                                                                        Consultant Agreement, dated March
874                                                                                       Vital Pharmaceuticals, Inc.
                                                                                                                        31, 2021
                                          Attn: CFO & General Counsel 525 West            Vital Pharmaceuticals, d.b.a. Mutual Confidentiality Agreement,
875   Berlin Packaging L.L.C.                                                                                                                               $0.00
                                          Monroe Street Chicago IL 60661                  VPX Sports                    dated March 08, 2017
                                           Sales Representative (Signature unidentifiable)                                Customer Mold and Supply
876   Berlin Packaging, LLC                                                                Vital Pharmaceuticals, Inc.                                         $0.00
                                           525 West Monroe 14th Floor Chicago IL 60661                                    Agreement, dated August 01, 2013
                                                                                                                          Beverage Production and Packaging
                                           Attn: Kirby J. Harris 2034 E Factory Road
877   Berner Food & Beverage, LLC                                                          Vital Pharmaceuticals, Inc.    Agreement Amendment, dated           $0.00
                                           Dakota IL 61018
                                                                                                                          October 30, 2020
                                                                                                                          Distributor Agreement (Exclusive -
878   Bernie Little Beverages              8061 Associate Blvd, Sebring, FL 33876          Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                          FL), dated January 20, 2010
                                           Kenneth W. Daley 1314 SW 17th St Ocala FL                                      Distributor Agreement, dated April
879   Bernie Little Beverages, LLC                                                         Vital Pharmaceuticals, Inc.                                         $0.00
                                           34471                                                                          21, 2010
                                           Keith Harris / Robert Aranda, 1701 South                                       Distributor Agreement, dated April
880   Bernie Little Dist., Inc.                                                            Vital Pharmaceuticals, Inc.                                         $0.00
                                           Florida Avenue Lakeland, FL 33803                                              13, 2010
                                           Attn: Robert Aranda 1701 South Florida                                         Mutual General Release, dated
881   Bernie Little Distributors, Inc.                                                     Vital Pharmaceuticals, Inc.                                         $0.00
                                           Avenue Lakeland FL 33803                                                       February 06, 2013
                                                                                                                          Confidentiality and Non-Disclosure
                                                                                           Vital Pharmaceuticals, Inc.,
882   Berry Global                         800 E Horizon Dr. Henderson NV 89015                                           Agreement, dated September 09,       $0.00
                                                                                           d/b/a Bang Energy
                                                                                                                          2021
      Best Beverages of West Memphis,      Attn: Walker McWherter 800 E Barton West                                       Exclusive Distribution Agreement,
883                                                                                        Quash Seltzer, LLC                                                  $0.00
      LLC                                  Memphis AR 72303                                                               dated September 01, 2021
                                           1448-2 Speonk Riverhead Road Speonk NY
884   Best Serv                                                                            Vital Pharmaceuticals, Inc.    Distributor Agreement                $0.00
                                           11927
                                    Case 22-17842-PDR                    Doc 1658              Filed 07/14/23 Distributor
                                                                                                                 PageAgreement,
                                                                                                                          173 ofdated
                                                                                                                                 279
885   Better Brands, Inc.                  908 Jackson St Myrtle Beach SC 29577            Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                          November 05, 2018
                                           Attn: Jeff J. White 22924 Banbury Court                                        Contract Broker Commission
886   Bevcore Management, Inc.                                                             Vital Pharmaceuticals, Inc.                                       $0.00
                                           Murrieta CA 92562                                                              Agreement, dated August 24, 2016
                                                                                                                          Confidential Settlement Agreement
                                           Attn: Jeff White 22924 Banbury Court Murrieta Vital Pharmaceuticals, Inc.
887   Bevcore Management, Inc.                                                                                            and Mutual Release, dated          $0.00
                                           CA 92562                                      d/b/a VPX/Redline
                                                                                                                          September 29, 2015
                                           Attn: Mike Conway 3800 King Avenue                                             Exclusive Distribution Agreement,
888   Beverage Distributors, Inc.                                                          Quash Seltzer, LLC                                                $0.00
                                           Cleveland OH 44114                                                             dated January 27, 2021
                                                                                           Vital Pharmaceuticals, Inc.    Confidentiality and Non-Disclosure
889   Bevpac NZ (1996) Limited             PO Box 58348 Botany Aukland New Zealand                                                                           $0.00
                                                                                           d/b/a Bang Energy              Agreement, dated January 23, 2019
                                                                                                                          Elite Team Agreement, dated
890                                                                                        Vital Pharmaceuticals, Inc.
                                                                                                                          October 31, 2018
891   Big Geyser Inc.                      57-65 48th Street Maspeth NY 11378              Vital Pharmaceuticals, Inc.    Distributor Agreement              $0.00
                                           Jerry Reda 57-65 48th Street Maspeth NY                                        DISTRIBUTION AGREEMENT, dated
892   Big Geyser, Inc.                                                                     Vital Pharmaceuticals, Inc.                                       $0.00
                                           11378                                                                          July 01, 2009
                                           Attn: Troy Kane 479 Fort Rd Sheridan WY                                        Exclusive Distribution Agreement,
893   Big Horn Beverage                                                                    Quash Seltzer, LLC                                                $0.00
                                           82801                                                                          dated December 01, 2020
                                                                                                                          Self Service Storage Rental
894   Big Pine Self Storage                160 N Main St, Big Pine, CA 93513               Vital Pharmaceuticals, Inc.    Agreement #9, dated September 01, $0.00
                                                                                                                          2022
                                                                                                                          Self Service Storage Rental
895   Big Pine Self Storage                160 N Main St, Big Pine, CA 93513               Vital Pharmaceuticals, Inc.    Agreement #21, dated September 01, $0.00
                                                                                                                          2022
                                                                                                                          Letter re: All Sport Distributing
      Big Red Inc. d/b/a All Sport         Attn: Paul Burleson 8280 Stayton Drive, Suite A
896                                                                                        Vital Pharmaceuticals, Inc.    Distribution Agreement, dated      $0.00
      Distributing                         Jessup MD 20794
                                                                                                                          February 06, 2009
      Big Red Inc. d/b/a All Sport         Paul Burleson 8280 Stayton Drive Suite A                                       DISTRIBUTOR AGREEMENT, dated
897                                                                                        Vital Pharmaceuticals, Inc.                                       $0.00
      Distributing Co., MD                 Jessup MD 20794                                                                January 01, 2009
                                                                                           Vital Pharmaceuticals, Inc.,   Confidentiality and Non-Disclosure
898   Bigger than Life Advertising Inc.    9380 Activity Rd Ste H San Diego CA 92126                                                                         $0.00
                                                                                           d/b/a Bang Energy              Agreement
                                                                                                                          Writer Agreement, dated February
899   Bill Campbell, Ph.D                  4138 Knollpoint Drive Wesley Chapel FL 33544 Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                          19, 2009
                                                                                                                          Employment Agreement, dated
900   Bill Southerland Jhon                10437 Stonebank St Bellflower CA 90706          Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                          November 08, 2021
                                           Attn: Cory Giertz 5900 Packer Drive NE                                         Exclusive Distribution Agreement,
901   Bill's Distributing, Ltd.                                                            Quash Seltzer, LLC                                                $0.00
                                           Menomonie WI 54751                                                             dated February 22, 2021
                                           Attn: Cory Giertz 5900 Packer Drive NE                                         Amendment to Distributor
902   Bill's Distributing, Ltd.                                                            Quash Seltzer, LLC                                                $0.00
                                           Menomonie WI 54751                                                             Agreement, dated February 23, 2021
                                                                                                                          Employment Agreement, dated May
903   Billy Parker D                       1337 Franklin St Altamonte Springs FL 32701     Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                          18, 2020
                                                                                                                          Employment Agreement, dated
904   Bingqing Cai                         4178 Cascade Terrace Weston FL 33332            Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                          January 03, 2022
                                           9608- 25th Ave Edmonton Alberta T6N 1J4         Vital Pharmaceuticals, Inc.,   Confidentiality and Non-Disclosure
905   BioNeutra North America Inc.                                                                                                                              $0.00
                                           Canada                                          d/b/a Bang Energy              Agreement, dated June 25, 2020
                                           9608- 25th Ave Edmonton Alberta T6N 1J4         Vital Pharmaceuticals, Inc.,   Non-Disclosure Agreement, dated
906   Bioneutra North America Inc.                                                                                                                              $0.00
                                           Canada                                          d/b/a VPX Sport                June 10, 2016
                                                                                                                          Confidentiality and Non-Disclosure
                                           Savan Devani, CEO and Founder 338 Spear         Vital Pharmaceuticals, Inc.,
907   BioTrillion, Inc.                                                                                                   Agreement, dated November 12,         $0.00
                                           Street #29C San Francisco CA 94105              d/b/a Bang Energy
                                                                                                                          2021
                                                                                                                          Exclusive Promotional Modeling
908                                                                                        Vital Pharmaceuticals, Inc.
                                                                                                                          Agreement, dated March 10, 2016
                                                                                                                          Distributor Agreement, dated May
909   Blach Distributing                   474-340 Commercial Way Susanville CA            Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                          23, 2018
                                           Attn: Patrick Black 131 W Main Street Elko NV                                  Distributor Agreement, dated July 27,
910   Black Beverage LLC                                                                   Vital Pharmaceuticals, Inc.                                          $0.00
                                           89801                                                                          2018
                                           Griffins Court, 24 - 32 London Road Newbury     Vital Pharmaceuticals, Inc.,   Confidentiality and Non-Disclosure
911   Blake Consultants, Ltd.                                                                                                                                   $0.00
                                           Berks RG14 1JX United Kingdom                   d/b/a Bang Energy              Agreement, dated July 09, 2020
      Blispak Acquisition Corp. a/k/a      James Horan, 1 Apollo Drive Whippany, New                                      Letter re: Settlement Agreement,
912                                                                                        Vital Pharmaceuticals, Inc.                                          $0.00
      Blispak                              Jersey 07981                                                                   dated August 29, 2017
      Blue Ocean Innovative Solutions,     3201 SW Regency Parkway Suite 5 Bentonville                                    Sales Representative Agreement,
913                                                                                        Vital Pharmaceuticals, Inc.                                          $0.00
      Inc.                                 AR 72712                                                                       dated November 22, 2011
                                           15059 North Scottsdale Road Ste. 400 /
914   Blue Yonder Inc                                                                      Vital Pharmaceuticals, Inc.    Product/Service Agreement            $0.00
                                           Scottsdale AZ 85254 /
                                           915 E 32ND ST STE B / HOLLAND MI 49423-
915   Blujay Solutions, Inc.                                                               Vital Pharmaceuticals, Inc.    Product/Service Agreement            $0.00
                                           9123 / US
      Board of Regents of the University                                                   Vital Pharmaceuticals, Inc.
916                                        1401 Asp Avenue Room 109 Norman OK 73019                                       Confidentiality Agreement            $0.00
      of Oklahoma                                                                          d/b/a VPX Sports
                                           5600 SE Crain Hwy, Upper Marlboro, MD                                          Exclusive Distribution Agreement,
917   Bob Hall LLC                                                                        Vital Pharmaceuticals, Inc.                                          $0.00
                                           20772                                                                          dated November 03, 2022
                                           Attn: Maria Fisher 2024 Selma Pike Springfield                                 Exclusive Distribution Agreement,
918   Bobby Fisher Distributing                                                           Quash Seltzer, LLC                                                   $0.00
                                           OH 45505                                                                       dated January 27, 2021
                                           Attn: Maria Fisher 2024 Selma Pike Springfield                                 Exclusive Distribution Agreement,
919   Bobby Fisher Distributing                                                           Quash Seltzer, LLC                                                   $0.00
                                           OH 45505                                                                       dated February 24, 2021
                                Case 22-17842-PDR                      Doc 1658             Filed 07/14/23 EXCLUSIVE
                                                                                                             PageDISTRIBUTION
                                                                                                                     174 of 279
920   Body Shop Colombia S.A.S.         CL 38 sur 40 41, Envigado Antioquia Colombia Vital Pharmaceuticals, Inc.        AGREEMENT                             $0.00
                                                                                                                        , dated February 22, 2019
                                                                                                                        Vendor Agreement, dated July 20,
921   Bodybuilding.com, LLC             2026 S. Silverstone Way Meridian ID 83642        Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                        2012
                                                                                         Vital Pharmaceuticals, Inc.,   Confidentiality and Non-Disclosure
922   BofA Securities, Inc.             100 North Tryon Street Charlotte NC 28255                                                                             $0.00
                                                                                         d/b/a Bang Energy              Agreement
                                                                                                                        Bonaventure Contract, dated
923   Bonaventure Resort and Spa        250 Racquet Club Road Weston FL 33326            Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                        December 02, 2015
                                        Room 606, Building 10, Hejing Industrial Park,
                                                                                         Vital Pharmaceuticals, Inc.,   Confidentiality and Non-Disclosure
924   Boosin Craft co., LTD.            No. 895, Asian Games Avenue Shiji Town,                                                                               $0.00
                                                                                         d/b/a Bang Energy              Agreement
                                        Panyu District Guangzhou Guangdong China
                                        Alda West LLC Jersey Industrial Capital LLC                                     Re: Letter of Intent for the Purchase
925   Booster TIC LLC                   1900 Avenue of the Stars, Suite 320 Los          Vital Pharmaceuticals, Inc.    of 1635 S. 43rd Avenue, Phoenix, AZ $0.00
                                        Angeles CA 90067                                                                85009, dated June 19, 2019
                                                                                                                        Employment Agreement, dated July
926   Boston Wyatt Michael              9372 West Cordes Rd Tolleson AZ 85353            Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                        31, 2018
                                        c/o Pepsi Beverages Company Attn: Mark
                                        Darrow, Region Vice President - Mountain                                        Distributor Agreement, dated August
927   Bottling Group, LLC                                                                Vital Pharmaceuticals, Inc.                                        $0.00
                                        Region 4610 S Ulster Street Suite 200 Denver                                    01, 2018
                                        CO 80237
                                                                                                                        Distributor Agreement, dated
928   Bottomley Distributing Co. Inc.   755 Yosemite Drive Milpitas CA 95035             Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                        February 07, 2019
929                                                                                      Vital Pharmaceuticals, Inc.    Elite Agreement, dated May 30, 2019
                                                                                                                        Employment Agreement, dated
930   Braden Guyot Tyler                19 Quail Hollow Dr Las Vegas NV 89014            Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                        August 22, 2022
                                                                                                                        Elite Agreement, dated October 15,
931                                                                                      Quash Seltzer, LLC
                                                                                                                        2021
                                                                                                                        Elite Agreement, dated October 15,
932                                                                                      Vital Pharmaceuticals, Inc.
                                                                                                                        2021
                                                                                                                        Employment Agreement, dated June
933   Bradley Hovey Tyler               3320 Roundabout Dr Middleburg FL 32068           Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                        16, 2022
                                                                                         Vital Pharmaceuticals, Inc.,
934   Bradley M. Braun, PH.D            2816 E Robinson St. Orlando FL 33326                                            Confidentiality Agreement             $0.00
                                                                                         DBA VPX/Redline
                                                                                                                        Employment Agreement, dated July
935   Bradley Mills C                   6944 Windwood Trail Fort Worth TX 76132          Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                        26, 2021
                                                                                                                        Employment Agreement, dated
936   Bradley Pasquale Jr. Richard      1917 East Kathleen Rd Phoenix AZ 85022           Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                        September 10, 2018
                                                                                                                        Employment Agreement, dated
937   Brady Leiter J                    13538 Santa Anita Ct Herriman UT 84096           Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                        August 08, 2022
                                                                                                                        Fitness Athlete Endorsement
938                                                                                      Vital Pharmaceuticals, Inc.
                                                                                                                        Agreement, dated April 30, 2016
                                        110 E Broward Boulevard 21st Floor Fort                                         BB&T Guaranty Agreement, dated
939   Branch Banking & Trust                                                             Vital Pharmaceuticals, Inc.                                          $0.00
                                        Lauderdale FL 33301                                                             December 05, 2019
                                        110 E Broward Boulevard 21st Floor Fort                                         Wire Terms and Conditions, dated
940   Branch Banking & Trust                                                             Vital Pharmaceuticals, Inc.                                          $0.00
                                        Lauderdale FL 33301                                                             December 05, 2019
                                                                                                                        Confidentiality Agreement, dated
941   Branch Banking & Trust            P.O. Box 1290 Whiteville NC 28472                Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                        November 01, 2018
                                                                                                                        2002 Master Agreement, dated
942   Branch Banking & Trust Company    PO Box 580050 Charlotte NC 28258-0050            Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                        December 03, 2019
                                                                                                                        First Amendment to Amended and
943   Branch Banking & Trust Company    PO Box 580050 Charlotte NC 28258-0050            Vital Pharmaceuticals, Inc.    Restated Loan Agreement, dated        $0.00
                                                                                                                        December 05, 2019
                                                                                                                        Loan Settlement Statement, dated
944   Branch Banking and Trust Company PO Box 580050 Charlotte NC 28258-0050             Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                        December 05, 2019
                                                                                                                        Post-Closing Agreement, dated
945   Branch Banking and Trust Company PO Box 580050 Charlotte NC 28258-0050             Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                        December 05, 2019
                                        IMG Worldwide LLC Luis Rodriguez
946   BRAND & JUVENTUS                  150 Alhambra Circle Suite 950 Coral Gables, FL Vital Pharmaceuticals, Inc.      SLEEVE JERSEY PROPOSAL                $0.00
                                        33134
                                                                                                                        Brand Ambassador (National Team)
947                                                                                      Vital Pharmaceuticals, Inc.
                                                                                                                        Agreement, dated January 19, 2019
                                                                                         Vital Pharmaceuticals, Inc.,   Confidentiality and Non-Disclosure
948   Brand Packaging Group             85 Price Parkway Farmingdale NY 11735                                                                                 $0.00
                                                                                         d/b/a Bang Energy              Agreement, dated August 20, 2020
                                                                                                                        Employment Agreement, dated July
949   Branden Fisher C                  3468 Cortez St Riverside CA 92504                Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                        25, 2022
                                                                                                                        Exclusive Athlete
950                                                                                      Vital Pharmaceuticals, Inc.    Endorsement/Transformation
                                                                                                                        Agreement, dated May 12, 2008
                                                                                                                        Absolute and Perpetual Release and
                                                                                                                        Agreement Authorizing VPX to Use
951                                                                                      Vital Pharmaceuticals, Inc.    Image, Likeness, Performances and
                                                                                                                        Testimonials and Affidavit, dated
                                                                                                                        April 29, 2008
                                  Case 22-17842-PDR                    Doc 1658            Filed 07/14/23 Second
                                                                                                             Page    175 to
                                                                                                                 Amendment ofExclusive
                                                                                                                              279
952   Brandismex Americas, Inc.          8600 NW 30th Terrace Miami FL 33122 USA        Vital Pharmaceuticals, Inc.   Distribution Agreement, dated         $0.00
                                                                                                                      November 22, 2021
                                         333 N. Falkenburg Rd. Unite C-304 Tampa FL                                   Lease Agreement, dated August 30,
953   Brandon Commerce Center, LLC                                                      Vital Pharmaceuticals, Inc.                                         $0.00
                                         33619                                                                        2016
                                                                                                                      Employment Agreement, dated
954   Brandon Haskell C                  6052 Royal Birkdale Dr Lake Worth FL 33463     Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                      October 03, 2022
                                                                                                                      Elite Agreement, dated January 01,
955                                                                                     Quash Seltzer, LLC
                                                                                                                      2021
                                                                                                                      Elite Agreement, dated January 01,
956                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                      2021
                                                                                                                      Employment Agreement, dated
957   Brandon Luna James                 10914 Luana Dr North Jacksonville FL 32246     Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                      January 14, 2019
                                                                                                                      Employment Agreement, dated
958   Brandon Mercado                    7116 Pasture Ct Rancho Cucamonga CA 91739 Vital Pharmaceuticals, Inc.                                              $0.00
                                                                                                                      September 06, 2022
                                                                                                                      Affiliate Member Agreement, dated
959                                                                                     Quash Seltzer, LLC
                                                                                                                      September 10, 2021
                                                                                                                      Affiliate Member Agreement, dated
960                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                      September 10, 2021
                                                                                                                      Employment Agreement, dated
961   Brandon Roberts Luvonoczek         422 Broward St Jacksonville FL 32204           Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                      January 31, 2022
                                         Humberto G. Nivilac, Vice President 8600 NW                                  Exclusive Distribution Agreement,
962   Brandsimex Americas Inc.                                                          Vital Pharmaceuticals, Inc.                                         $0.00
                                         30th Terrace Doral FL 33122                                                  dated March 10, 2021
                                                                                                                      Amendment No. 1 to the Exclusive
963   Brandsimex Americas, Inc.          8600 NW 30th Terrace Miami FL 33122 USA        Vital Pharmaceuticals, Inc.   Distribution Agreement, dated June    $0.00
                                                                                                                      07, 2021
                                         Attn: Documentation Department 113 East                                      Equipment Finance Agreement,
964   Brandywine Capital                                                                Vital Pharmaceuticals, Inc.                                         $0.00
                                         Evans Street West Chester PA 19380                                           dated April 07, 2014
                                         Attn: Documentation Department 113 East                                      Service Agreement, dated April 07,
965   Brandywine Capital                                                                Vital Pharmaceuticals, Inc.                                         $0.00
                                         Evans Street West Chester PA 19380                                           2014
                                                                                                                      Equipment Finance Agreement,
966   Brandywine Capital Associates, Inc. 113 E. Evans Street West Chester PA 19380     Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                      dated April 07, 2014
                                                                                                                      Fitness Model Endorsement
967                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                      Agreement, dated July 20, 2016
                                         222 East Jefferson St Unit 1012 Phoenix AZ                                   Employment Agreement, dated
968   Brayden Crabtree Elijah                                                           Vital Pharmaceuticals, Inc.                                         $0.00
                                         85004                                                                        January 03, 2022
                                                                                                                      Employment Agreement, dated
969   Brendan Darmanie Najee             606 North Verona Ave Avon Park FL 33825        Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                      December 10, 2018
                                                                                                                      Employment Agreement, dated
970   Brendan Merz Allan                 2720 N Mildred Ave Apt 2 Chicago IL 60614      Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                      November 15, 2021
                                         26071 Merit Circle Suite 114 Laguna Hills CA
971   Brenlin Inc.                                                                      Vital Pharmaceuticals, Inc.   Distribution Agreement                $0.00
                                         92653
                                                                                                                      Select Agreement, dated January 01,
972                                                                                     Quash Seltzer, LLC
                                                                                                                      2022
                                                                                                                      Select Agreement, dated January 01,
973                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                      2022
                                                                                                                      Employment Agreement, dated
974   Brent Boucaud                      1944 Southwest 101St Ave Davie FL 33324        Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                      September 30, 2019
975                                                                                     Vital Pharmaceuticals, Inc.   Work for Hire Agreement
                                                                                                                      Trainer Services Agreement, dated
976                                                                                     Quash Seltzer, LLC
                                                                                                                      December 14, 2021
                                                                                                                      Trainer Services Agreement, dated
977                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                      December 14, 2021
                                                                                                                      Employment Agreement, dated June
978   Brett Hayes A                      4631 Meramec Blvd Eureka MO 63025              Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                      24, 2019
                                                                                                                      Contract Videographer Agreement,
979                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                      dated March 24, 2018
                                                                                                                      Employment Agreement, dated
980   Brett Wein Jason                   4750 59th St Apt 2F Woodside NY 11377          Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                      November 18, 2019
                                                                                                                      Distributor Agreement, dated
981   Brewers Distributing Company       2421 W. Townline Peoria IL 61615               Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                      October 29, 2018
982                                                                                     Quash Seltzer, LLC            Elite Agreement, dated May 13, 2021

983                                                                                     Vital Pharmaceuticals, Inc.   Elite Agreement, dated May 13, 2021
                                                                                                                      Employment Agreement, dated
984   Brian Addison M                    64 Imperial Dr S Mulberry FL 33860             Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                      September 19, 2022
                                                                                                                      Employment Agreement, dated
985   Brian Baker K                      21 New Britain Dr Wilton NY 12831              Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                      October 01, 2020
                                                                                                                      Employment Agreement, dated April
986   Brian Bedesem D                    823 Edge Hill Rd Glenside PA 19038             Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                      05, 2021
                                         1597 West Beach Plum Dr Citrus Springs FL                                    Employment Agreement, dated June
987   Brian Kyle Lawrence                                                               Vital Pharmaceuticals, Inc.                                         $0.00
                                         34434                                                                        04, 2018
                                                                                                                      Employment Agreement, dated July
988   Brian Martin Lee                   19222 N 54th Ln Glendale AZ 85308              Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                      01, 2019
                                Case 22-17842-PDR                      Doc 1658             Filed 07/14/23 General
                                                                                                             Page      176
                                                                                                                   Release,    ofDecember
                                                                                                                            dated 279 18,
989    Brian Milkolazyk                   168 Compose Street Somerset MA 02726          Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                       2012
                                                                                                                       Elite Team Agreement, dated
990                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                       December 10, 2018
                                                                                                                       COOLER LOAN AGREEMENT, dated
991    Brian Sherwood                     3250 Dale Rd Suite M1 Modesto CA 95356        Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                       August 02, 2017
                                                                                                                       Brand Ambassador (National Team)
992                                                                                     Vital Pharmaceuticals, Inc.    Agreement, dated September 28,
                                                                                                                       2017
                                          11441 Magnolia Ave Apt 167 Riverside CA                                      Employment Agreement, dated June
993    Brian Stewart Eugene                                                             Vital Pharmaceuticals, Inc.                                         $0.00
                                          92505                                                                        01, 2020
                                                                                                                       Employment Agreement, dated
994    Brian Taylor Melvin                19 Bridge Pointe Douglasville GA 30134        Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                       March 02, 2020
                                                                                                                       Employment Agreement, dated
995    Brian Trevino Michael              240 Lanier Place Clayton NC 27527             Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                       February 10, 2020
                                                                                        Vital Pharmaceuticals, Inc.,   Confidentiality and Non-Solicitation
996    Brian W. Armstrong                 7611 Coventry Woods Drive Dublin OH 43017                                                                         $0.00
                                                                                        d/b/a VPX Sports               Agreement, dated August 06, 2015
                                                                                                                       Employment Agreement, dated
997    Brian Wilk A                       25 Abbotts Crossing Rd Coventry RI 2816       Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                       September 25, 2019
                                                                                                                       Brand Ambassador Agreement, dated
998                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                       September 17, 2021
                                                                                                                       Exclusive Promotional Modeling
999                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                       Contract, dated March 10, 2016
                                                                                                                       Employment Agreement, dated May
1000 Briana Gutierrez Patrice             3061 SW 114th Ave Miami FL 33165              Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                       24, 2021
                                                                                                                       Brand Ambassador (National Team)
1001                                                                                    Vital Pharmaceuticals, Inc.    Agreement, dated November 07,
                                                                                                                       2017
                                                                                                                       Exclusive Promotional Modeling
1002                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                       Contract, dated September 06, 2016
                                                                                                                      Exclusive Promotional Modeling
1003                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                      Agreement, dated May 01, 2014
                                                                                                                      Employment Agreement, dated
1004   Brianna Marincovich Keely          1909 Blue Sage Ct Brandon FL 33511             Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                      March 22, 2021
                                                                                                                      Distributor Agreement, dated August
1005   Briar's U.S.A., Inc.               891 Georges Road South Brunswick NJ 08852 Vital Pharmaceuticals, Inc.                                            $0.00
                                                                                                                      19, 2008
                                                                                                                      Distributor Agreement (Exclusive -
1006   Briar's USA                        891 Georges Rd Monmouth Junction NJ 08852 Vital Pharmaceuticals, Inc.                                            $0.00
                                                                                                                      NJ), dated August 19, 2010
                                                                                                                      Distributor Agreement, dated June
1007   Briar's USA, Inc.                  891 Georges Rd. . Monmouth Junction NJ         Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                      19, 2019
                                                                                                                      Exclusive Distribution Agreement,
1008   Briar's USA, Inc.                  891 Georges Rd. . Monmouth Junction NJ         Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                      dated October 14, 2022
       Bridge 2 Bridge Beverages                                                                                      Distributor Agreement Letter, dated
1009                                      5210 1st St Bremerton WA 98312                 Vital Pharmaceuticals, Inc.                                       $0.00
       Company, Inc.                                                                                                  December 15, 2019
                                                                                                                      Confidentiality and Non-Disclosure
       Briem & Associates, LLC, d/b/a                                                    Vital Pharmaceuticals, Inc.,
1010                                      4134 Rider Trail North Earth City MO 63045                                  Agreement, dated September 23,       $0.00
       Briem Engineering                                                                 d/b/a Bang Energy
                                                                                                                      2019
                                          601 N. Congress Ave, STE 206, Delray Beach, FL                              Settlement Agreement & General
1011   Brightfractal, Inc                                                                Vital Pharmaceuticals, Inc.                                       $0.00
                                          33445                                                                       Release, dated November 15, 2022
       BRIGHTFRACTAL, INC. D/B/A          601 N Congress Ave Ste 205 Delray Beach FL                                  STATEMENT OF WORK #1, dated
1012                                                                                     Vital Pharmaceuticals, Inc.                                       $0.00
       FRACTL                             33445-4627                                                                  August 12, 2019
                                                                                                                      CONFIDENTIALITY AND NON-
                                          601 N. Congress Ave. Suite 206 Delray Beach FL Vital Pharmaceuticals, Inc.,
1013   BrightFractl Inc., d/b/a Fractl                                                                                DISCLOSURE AGREEMENT, dated          $0.00
                                          33445                                          d/b/a Bang Energy ("Bang")
                                                                                                                      December 03, 2019
       British American Tobacco Servicios Francisco I Madero 2750 Col Centro Monterrey Vital Pharmaceuticals, Inc., Confidentiality and Non-Disclosure
1014                                                                                                                                                       $0.00
       SA de CV                           Nuevo Leon Mexico CP 64000                     d/b/a Bang Energy            Agreement, dated August 28, 2020
                                                                                                                      Employment Agreement, dated
1015   Brittanie Ramos Nicole             11888 Banana Ave Fontana CA 92337              Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                      January 27, 2020
                                                                                                                      Exclusive Promotional Modeling
1016                                                                                     Vital Pharmaceuticals, Inc. Agreement, dated December 02,
                                                                                                                      2016
                                                                                                                      Elite Agreement, dated September
1017                                                                                     Quash Seltzer, LLC
                                                                                                                      01, 2021
                                                                                                                      Elite Agreement, dated September
1018                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                      01, 2021
                                                                                                                      Elite Team Agreement, dated
1019                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                      December 10, 2018
                                          Trystan Farnworth, Director of Convenience
                                          and Impulse Breakspear Park, Breakspear Way Vital Pharmaceuticals, Inc., Confidentiality and Non-Disclosure
1020   Britvic Soft Drinks Limited                                                                                                                         $0.00
                                          Hemel Hempstead Hertfordshire HP2 4TZ          d/b/a Bang Energy            Agreement, dated March 06, 2019
                                          Great Britain
                                                                                                                      Engagement for Expert Fee Services ,
1021   Broad and Cassel                   One Financial Plaza Fort Lauderdale FL 33394 Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                      dated December 09, 2014
                                                                                                                      Elite Team Agreement, dated August
1022                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                      01, 2018
                                Case 10340
                                     22-17842-PDR
                                           City Center Blvd Apt 106Doc  1658
                                                                   Pembroke                Filed 07/14/23 Employment
                                                                                                            Page 177       of 279
                                                                                                                     Agreement, dated June
1023 Brooke Curry Buckman                                                               Vital Pharmaceuticals, Inc.                                       $0.00
                                          Pines FL 33025                                                              29, 2021
                                                                                                                      Brand Ambassador (National Team)
1024                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                      Agreement, dated January 18, 2019
                                                                                                                      Select Agreement, dated September
1025                                                                                     Quash Seltzer, LLC
                                                                                                                      01, 2021
                                                                                                                      Select Agreement, dated September
1026                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                      01, 2021
                                                                                                                      CONFIDENTIALITY AND NON-
                                                                                         Vital Pharmaceuticals, Inc.,
1027   Brooklyn Bottling of Milton NY, Inc. 643 South Road Milton NY 12547                                            DISCLOSURE AGREEMENT, dated         $0.00
                                                                                         d/b/a Bang Energy ("Bang")
                                                                                                                      October 29, 2018
                                                                                                                      BGC Warranty & Indemnity
                                            Attn: General Counsel 1600 WSW Loop 323
1028   Brookshire Grocery Company                                                        Vital Pharmaceuticals, Inc. Agreement, dated November 05,        $0.00
                                            Tyler TX 75701
                                                                                                                      2018
                                                                                         Vital Pharmaceuticals, Inc., Confidentiality and Non-Disclosure
1029   Broward Paper & Packaging, Inc.      1201 NE 45th Street Fort Lauderdale FL 33334                                                                  $0.00
                                                                                         d/b/a Bang Energy            Agreement, dated June 26, 2020
                                            Attn: Mark Urban 51 Swans Road Newark OH                                  Distributor Agreement, dated August
1030   Brown Distributing Company                                                        Vital Pharmaceuticals, Inc.                                      $0.00
                                            43055                                                                     08, 2018
                                                                                                                      Exclusive Distributor Agreement,
1031   Brown Distributing Company           7986 Villa Park Dr, Richmond, VA 23228       Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                      dated December 07, 2022
                                            Richard Brown 51 Swans Rd NE Newark OH                                    Exclusive Distribution Agreement,
1032   Brown Distribution Co                                                             Quash Seltzer, LLC                                               $0.00
                                            43055                                                                     dated January 19, 2021
                                            21 Gooderham Drive Georgetown ON L7G-5R7                                  Employment Agreement, dated
1033   Bruce Hayward                                                                     Vital Pharmaceuticals, Inc.                                      $0.00
                                            Canada                                                                    February 13, 2012
                                                                                                                      Exclusive Promotional Modeling
1034                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                      Agreement, dated March 23, 2017
                                                                                                                      Trainer Services Agreement, dated
1035                                                                                     Quash Seltzer, LLC
                                                                                                                      November 29, 2021
                                                                                                                      Trainer Services Agreement, dated
1036                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                      November 29, 2021
                                                                                                                      Trainer Services Agreement, dated
1037                                                                                     Quash Seltzer, LLC
                                                                                                                      September 14, 2021
                                                                                                                      Trainer Services Agreement, dated
1038                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                      September 14, 2021
                                            2896 Majestic Oaks Ln Green Cove Springs FL                               Employment Agreement, dated
1039   Bryan Conley David                                                                Vital Pharmaceuticals, Inc.                                      $0.00
                                            32043                                                                     December 14, 2020
                                                                                                                      Employment Agreement, dated
1040   Bryan Dees Shane                     12148 Bella Palazzo Dr Fort Worth TX 76126   Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                      March 11, 2021
                                                                                                                      Employment Agreement, dated
1041   Bryan Fite Adams                     806 West 5th St Apt 219 Charlotte NC 28202 Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                      March 09, 2020
                                                                                                                      Absolute and Perpetual Release and
                                                                                                                      Agreement Authorizing VPX to Use
1042                                                                                     Vital Pharmaceuticals, Inc. Image, Likeness, Performances and
                                                                                                                      Testimonials and Affidavit, dated
                                                                                                                      April 30, 2008
                                                                                                                      Elite Agreement, dated February 01,
1043                                                                                     Quash Seltzer, LLC
                                                                                                                      2022
                                                                                                                      Elite Agreement, dated February 01,
1044                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                      2022
                                            Siegfried Braun, Head of Road IZ NO Sud,
                                                                                         Vital Pharmaceuticals, Inc., Confidentiality and Non-Disclosure
1045   BTG Spedition und Logistik GmbH Strasse 14 Objekt 32 2355 Wiener Neudorf                                                                           $0.00
                                                                                         d/b/a Bang Energy            Agreement, dated January 04, 2022
                                            Austria
                                                                                                                      Rebate Agreement, dated April 11,
1046   Buc-ee's, Ltd.                       327 FM 2004, Lake Jackson, Texas 77566       Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                      2023
                                            Attn: Jeff Nate 52322 M-51 North Dowagiac MI                              Exclusive Distribution Agreement,
1047   Bud Distributing, Inc                                                             Quash Seltzer, LLC                                               $0.00
                                            49047                                                                     dated January 29, 2021
                                                                                                                      First Amendment to Distributor
       Budweiser Distributing Company of
1048                                        100 S. Philadelphia Amarillo TX 79104        Vital Pharmaceuticals, Inc. Agreement, dated December 19,        $0.00
       Borger L.P.
                                                                                                                      2019
       Budweiser Distributing Company of                                                                              Distributor Agreement, dated
1049                                        100 S Philadelphia Amarillo TX 79104         Vital Pharmaceuticals, Inc.                                      $0.00
       Borger LP                                                                                                      September 21, 2018
       Budweiser Distributing Company of Dean Morrison 100 S Philadelphia Amarillo TX                                 Exclusive Distribution Agreement,
1050                                                                                     Vital Pharmaceuticals, Inc.                                      $0.00
       Borger, LP                           79104                                                                     dated July 23, 2021
                                            2059 Wilma Rudolph Boulevard Clarksville TN                               Distributor Agreement, dated August
1051   Budweiser of Chattanooga                                                          Vital Pharmaceuticals, Inc.                                      $0.00
                                            37040                                                                     08, 2018
                                                                                                                      Distributor Agreement, dated
1052   Budweiser of Spartanburg             6645 Pottery Road Spartanburg SC 29303       Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                      September 21, 2018
       Budweiser-Busch Distributing Co, Chris Fuchs 1050 E. I-65 Service Rd. N. Mobile                                DISTRIBUTOR AGREEMENT, dated
1053                                                                                     Vital Pharmaceuticals, Inc.                                      $0.00
       Inc,                                 AL 36617                                                                  March 01, 2008
       Budweiser-Busch Distributing Co, Attn: Chris Fuchs 1050 E. I-65 Service Rd. N.
1054                                                                                     Vital Pharmaceuticals, Inc. Distributor Agreement                $0.00
       Inc.                                 Mobile AL 36617
                                            Attn: Randy Bueno PO Box 5025 Visalia CA                                  Exclusive Distribution Agreement,
1055   Bueno Beverage Co.                                                                Quash Seltzer, LLC                                               $0.00
                                            93278                                                                     dated January 15, 2021
                                            5050 North 40th Street Suite 140 Phoenix AZ                               Master Services Agreement, dated
1056   Bulbstorm, Inc.                                                                   Vital Pharmaceuticals, Inc.                                      $0.00
                                            85018                                                                     January 04, 2011
                                  Case 22-17842-PDR                     Doc 1658            Filed 07/14/23 Brand
                                                                                                              Page
                                                                                                                 Partner178   ofand
                                                                                                                         Sampling 279
                                          Attn: Adam Choate 1320 P Street Suite 200
1057 Bulu, Inc. ("Bulu Box")                                                             Vital Pharmaceuticals, Inc.  Promotions Agreement, dated April $0.00
                                          Lincoln NE 68508
                                                                                                                      20, 2017
                                          Attn: Carleton Casey 100 Eagles Nest Court                                  Distributor Agreement, dated August
1058 Buquet Distributing Co., Inc.                                                       Vital Pharmaceuticals, Inc.                                      $0.00
                                          Houma LA 70360                                                              01, 2018
                                                                                                                      DISTRIBUTOR AGREEMENT, dated
1059 Burke Distibuting Co. LLC.           89 Teed Drive Randolph MA 02368                Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                      June 01, 2019
                                           Attn: Kenneth W. Daley 545 River Birch Road                                Distributor Agreement , dated March
1060 Busch-Transou. LC                                                                   Vital Pharmaceuticals, Inc.                                      $0.00
                                           Midway FL 32343                                                            15, 2019
                                           #7 West Gateway Commerce Center Drive         Vital Pharmaceuticals, Inc. Non- Disclosure Agreement, dated
1061 Buske Lines, Inc. aka Buske Logistics                                                                                                                $0.00
                                           Edwardsville IL 62025                         dba Bang Energy              October 22, 2018
                                                                                                                      Confidentiality and Non-Disclosure
                                                                                         Vital Pharmaceuticals, Inc.,
1062 Buzzfeed, Inc.                       111 East 18th Street New York NY 10003                                      Agreement, dated November 03,       $0.00
                                                                                         d/b/a Bang Energy
                                                                                                                      2020
                                          Attn: David J. Smith 101 Second Street                                      Exclusive Distribution Agreement,
1063 C & C Distributors, Inc.                                                            Quash Seltzer, LLC                                               $0.00
                                          Newport AR 72112                                                            dated January 18, 2021
                                          Attn: David J. Smith 101 Second Street                                      Exclusive Distribution Agreement,
1064 C & C Distributors, Inc.                                                            Quash Seltzer, LLC                                               $0.00
                                          Newport AR 72112                                                            dated April 02, 2021
                                                                                                                      CONFIDENTIALITY AND NON-
                                                                                         Vital Pharmaceuticals, Inc.,
1065 C.H Robinson Worldwide, Inc.         14701 Charlson Road Eden Prairie MN 55347                                   DISCLOSURE AGREEMENT, dated         $0.00
                                                                                         d/b/a Bang Energy ("Bang")
                                                                                                                      June 17, 2021
       Cabot Industrial Value Fund VI     One Beacon Street, Suite2800 / Boston MA                                    Lease Agreement, dated October 22,
1066                                                                                     Vital Pharmaceuticals, Inc.                                      $0.00
       Operating CIVF VI-TX1M01-M04,      02108 / US                                                                  2019
                                                                                                                      Employment Agreement, dated April
1067 Caden Novikoff Samuel                1316 Calle Ultimo Oceanside CA 92056           Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                      22, 2019
                                                                                                                       Amendment to Exclusive Distribution
1068 Caffey Distributing Company Inc.     8749 W Market St Greensboro NC 27409-9653 Quash Seltzer, LLC                                                     $0.00
                                                                                                                       Agreement, dated April 06, 2021
                                                                                                                     Exclusive Distribution Agreement,
1069 Caffey Distributing Company, Inc.    Attn: Chris Caffey PO Box 579 Colfax NC 27235 Quash Seltzer, LLC                                              $0.00
                                                                                                                     dated February 03, 2021
                                                                                                                     Employment Agreement, dated July
1070   Caleb Adair Luke                    2820 Lexington Ct Oviedo FL 32765            Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                                     20, 2022
                                                                                                                     Absolute and Perpetual Release and
                                                                                                                     Agreement Authorizing VPX to Use
1071                                                                                    Vital Pharmaceuticals, Inc. Image, Likeness, Performances and
                                                                                                                     Testimonials and Affidavit, dated
                                                                                                                     April 30, 2008
                                                                                                                     Trainer Services Agreement, dated
1072                                                                                    Quash Seltzer, LLC
                                                                                                                     October 20, 2021
                                                                                                                     Trainer Services Agreement, dated
1073                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                     October 20, 2021
                                                                                        Vital Pharmaceuticals, Inc   Mutual Confidentiality Agreement,
1074   California Natural Products         1250 East Lathrop Road Lathrop CA 95330                                                                      $0.00
                                                                                        dba VPX                      dated March 30, 2017
                                                                                                                     Exclusive Promotional Modeling
1075                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                     Agreement, dated July 31, 2015
                                           2601 Northwest 47th Terrace Lauderdale Lakes                              Employment Agreement, dated
1076   Caloujery Prosper                                                                Vital Pharmaceuticals, Inc.                                     $0.00
                                           FL 33313                                                                  November 22, 2021
                                                                                                                     Absolute and Perpetual Release and
                                                                                                                     Agreement Authorizing VPX to Use
1077                                                                                    Vital Pharmaceuticals, Inc. Image, Likeness, Performances and
                                                                                                                     Testimonials and Affidavit, dated
                                                                                                                     April 30, 2008
                                                                                                                     Select Agreement, dated February
1078                                                                                    Quash Seltzer, LLC
                                                                                                                     01, 2022
                                                                                                                     Select Agreement, dated February
1079                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                     01, 2022
                                                                                                                     Brand Ambassador National Team
1080                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                     Agreement, dated June 22, 2017
                                                                                                                     Employment Agreement, dated
1081   Camilo Samaniego                    1326 East Saint Charles Ave Phoenix AZ 85042 Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                                     March 23, 2020
                                                                                                                     Employment Agreement, dated
1082   Camren Kelly Q                      5270 NW 88th Ave 103 Lauderhill FL 33321     Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                                     October 04, 2021
       Canada Dry Bottling Co. of Lansing,                                                                           Settlement Agreement, dated
1083                                       5206 Pierson Hwy, Lansing, MI 48917          Vital Pharmaceuticals, Inc.                                     $0.00
       Inc.                                                                                                          September 30, 2021
                                                                                                                     Trainer Services Agreement, dated
1084                                                                                    Quash Seltzer, LLC
                                                                                                                     November 08, 2021
                                                                                                                     Trainer Services Agreement, dated
1085                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                     November 08, 2021
                                                                                                                     CONFIDENTIALITY AND NON-
                                                                                        Vital Pharmaceuticals, Inc.,
1086   CANDY CO                            64 N. 1550 W. Lindon UT 84042                                             DISCLOSURE AGREEMENT, dated        $0.00
                                                                                        d/b/a Bang Energy ("Bang")
                                                                                                                     August 20, 2021
                                                                                                                     Addendum to Add Additional
1087   Cannon Solutions America, Inc.      One Canon Park Melville NY 11747             Vital Pharmaceuticals, Inc. Equipment to Acquisition Agreement, $0.00
                                                                                                                     dated June 18, 2018
                                 Case 22-17842-PDR                     Doc 1658            Filed 07/14/23 Lease
                                                                                                             Page     179
                                                                                                                Upgrade,     of 279
                                                                                                                         Trade-In, Return or
                                                                                                                       Buy-Out Reimbursement Addendum
1088 Cannon Solutions America, Inc.      One Canon Park Melville NY 11747               Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                       to Agreement, dated October 25,
                                                                                                                       2018
                                                                                                                       Addendum to Lease Agreement for
1089 Canon Financial Services, Inc.      14904 Collections Drive Chicago IL 60693       Vital Pharmaceuticals, Inc.    application # 1550435, dated         $0.00
                                                                                                                       October 16, 2018
                                                                                                                       Lease Agreement, dated October 16,
1090 Canon Financial Services, Inc.      14904 Collections Drive Chicago IL 60693       Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                       2018
                                                                                                                       Lease Agreement # 1587812, dated
1091 Canon Financial Services, Inc.      14904 Collections Drive Chicago IL 60693       Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                       May 29, 2019
1092 Canon Financial Services, Inc.      14904 Collections Drive Chicago IL 60693       Vital Pharmaceuticals, Inc.    Lease Agreement # 1595487            $0.00
                                                                                                                       Lease Agreement # S0871702.01,
1093 Canon Financial Services, Inc.      14904 Collections Drive Chicago IL 60693       Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                       dated September 25, 2018
                                                                                                                       Addendum to Agreement for
1094 Canon Financial Services, Inc.      14904 Collections Drive Chicago IL 60693       Vital Pharmaceuticals, Inc.    Application #1076627, dated July 02, $0.00
                                                                                                                       2018
                                                                                                                       Addendum to Agreement for
1095 Canon Financial Services, Inc.      14904 Collections Drive Chicago IL 60693       Vital Pharmaceuticals, Inc.    Application #1595487, dated June 21, $0.00
                                                                                                                       2019
                                                                                                                       Addendum to Lease Agreement for
1096 Canon Financial Services, Inc.      14904 Collections Drive Chicago IL 60693       Vital Pharmaceuticals, Inc.    application # 1073013, dated         $0.00
                                                                                                                       October 10, 2017
                                                                                                                       Acquisition Agreement Lease or
1097 Canon Solutions America, Inc.       One Canon Park Melville NY 11747               Vital Pharmaceuticals, Inc.    Purchase # S0871702.01, dated        $0.00
                                                                                                                       September 25, 2018
                                                                                                                       Acquisition Agreement Lease or
1098 Canon Solutions America, Inc.       One Canon Park Melville NY 11747               Vital Pharmaceuticals, Inc.    Purchase # S0887357.01, dated        $0.00
                                                                                                                       October 16, 2018
                                                                                                                       Acquisition Agreement Lease or
1099 Canon Solutions America, Inc.       One Canon Park Melville NY 11747               Vital Pharmaceuticals, Inc.    Purchase # S0962335.03, dated May $0.00
                                                                                                                       22, 2019
                                                                                                                       Acquisition Agreement Lease or
1100 Canon Solutions America, Inc.       One Canon Park Melville NY 11747               Vital Pharmaceuticals, Inc.    Purchase # S0981875, dated June 26, $0.00
                                                                                                                       2019
                                                                                                                       Closed End Motor Vehicle Lease (with
1101 Canon Solutions America, Inc.       One Canon Park Melville NY 11747               Vital Pharmaceuticals, Inc.    Arbitration Provision), dated        $0.00
                                                                                                                       November 29, 2021
                                                                                                                       Lease and Acquisition Agreement,
1102 Canon Solutions America, Inc.       One Canon Park Melville NY 11747               Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                       dated June 26, 2019
                                                                                                                       Lease Upgrade, Trade-In, Return or
1103 Canon Solutions America, Inc.       One Canon Park Melville NY 11747               Vital Pharmaceuticals, Inc.    Buy-Out Reimbursement Addendum $0.00
                                                                                                                       to Agreement #1595487
                                                                                                                       Lease with Maintenance Agreement,
1104 Canon Solutions America, Inc.       One Canon Park Melville NY 11747               Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                       dated December 21, 2020
                                                                                                                       Settlement Agreement and Mutual
1105 Canon Solutions America, Inc.       One Canon Park Melville NY 11747               Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                       Release, dated September 29, 2022
                                                                                                                       Software Acquisition Agreement
1106 Canon Solutions America, Inc.       One Canon Park Melville NY 11747               Vital Pharmaceuticals, Inc.    Lease or Purchase, dated September $0.00
                                                                                                                       26, 2018
                                                                                                                       Software Acquisition Agreement
1107 Canon Solutions America, Inc.       One Canon Park Melville NY 11747               Vital Pharmaceuticals, Inc.    Lease or Purchase, dated July 06,  $0.00
                                                                                                                       2018
                                                                                                                       Special Leased Equipment
                                                                                                                       Reimbursement & Return
1108 Canon Solutions America, Inc.       One Canon Park Melville NY 11747               Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                       Agreement, dated September 27,
                                                                                                                       2017
                                                                                                                       CONFIDENTIALITY AND NON-
                                                                                        Vital Pharmaceuticals, Inc.,
1109 Canon Solutions America, Inc.       One Canon Park Melville NY 11747                                              DISCLOSURE AGREEMENT, dated July $0.00
                                                                                        d/b/a Bang Energy ("Bang")
                                                                                                                       18, 2019
       Capes Sokol Goodman Sarachan      John Meyer 8182 Maryland Avenue 15th Floor                                    Exclusive Distribution Agreement,
1110                                                                                Vital Pharmaceuticals, Inc.                                           $0.00
       P.C.                              St. Louis MO 63105                                                            dated March 08, 2021
                                                                                                                       Exclusive Distribution Agreement,
1111 Capital Distributing LLC            421 N Portland Ave, Oklahoma City, OK 73107 Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                       dated November 21, 2022
       Capitol Beverage Sales, Limited   Paul Morrissey, Jr. P.O. Box 180 20240 South                                  DISTRIBUTOR AGREEMENT, dated
1112                                                                                    Vital Pharmaceuticals, Inc.                                       $0.00
       Partnership                       Diamond Lake Road Rogers MN 55374                                             July 12, 2018
                                                                                                                       CONFIDENTIALITY AND NON-
                                                                                        Vital Pharmaceuticals, Inc.,
1113 Capsuline Inc                       3236 sw 30th Dania Beach FL 33312                                             DISCLOSURE AGREEMENT, dated        $0.00
                                                                                        d/b/a Bang Energy ("Bang")
                                                                                                                       November 08, 2021
                                                                                                                       CONFIDENTIALITY AND NON-
                                                                                        Vital Pharmaceuticals, Inc.,
1114 Capsuline inc DBA Ajix, Capscanada 3236 sw 30th Dania Beach FL 33312                                              DISCLOSURE AGREEMENT, dated        $0.00
                                                                                        d/b/a Bang Energy ("Bang")
                                                                                                                       August 30, 2021
                                                                                                                       CONFIDENTIALITY AND NON-
                                                                                        Vital Pharmaceuticals, Inc.,
1115 Captive-8 Inc.                      421 7th Ave Suite 800 New York NY 10001                                       DISCLOSURE AGREEMENT, dated July $0.00
                                                                                        d/b/a Bang Energy ("Bang")
                                                                                                                       07, 2021
                               Case 22-17842-PDR                       Doc 1658            Filed 07/14/23 Insurance
                                                                                                             PageAgreement
                                                                                                                    180 of    279
                                                                                                                           Letter, dated
1116 Cardenas Markets LLC                2501 E Guasti Road Ontario CA 91761            Vital Pharmaceuticals, Inc.                                    $0.00
                                                                                                                   May 08, 2019
                                                                                                                   Exclusive Distribution Agreement,
1117 Cardinal Distributing Company, LLC 269 Jackrabbit Lane Bozeman MT 59718          Quash Seltzer, LLC                                               $0.00
                                                                                                                   dated November 20, 2021
                                        Attn: Terry Loughlin PO Box B Fruitland MD                                 Exclusive Distribution Agreement,
1118 Carey Distributors, Inc                                                          Quash Seltzer, LLC                                               $0.00
                                        21826                                                                      dated March 03, 2021
     Carey, O'Malley, Whitaker, &       Michael R. Carey, Esquire 712 S Oregon Avenue                              Settlement Stipulation, dated
1119                                                                                  Vital Pharmaceuticals, Inc.                                      $0.00
     Mueller, P.A.                      Tampa FL 33606                                                             December 29, 2014
                                                                                                                   Material Transfer and Mutual
1120 Cargill, Incorporated              15407 McGinty Road West Wayzata MN 55391 Vital Pharmaceuticals, Inc. Confidentiality Agreement, dated          $0.00
                                                                                                                   September 14, 2018
                                        3090 Northwest 46th Avenue Lauderdale Lakes                                Employment Agreement, dated
1121 Carl Hamilton Gosnel                                                             Vital Pharmaceuticals, Inc.                                      $0.00
                                        FL 33313                                                                   March 07, 2022
                                                                                                                   Writer Agreement, dated February
1122                                                                                  Vital Pharmaceuticals, Inc.
                                                                                                                   16, 2009
                                        1205 Tree Lodge Parkway Lithia Springs GA                                  Employment Agreement, dated
1123 Carlin Tucker Andrew                                                             Vital Pharmaceuticals, Inc.                                      $0.00
                                        30122                                                                      November 16, 2020
                                        2982 Clipper Cove Ln Apt 102 Kissimmee FL                                  Employment Agreement, dated May
1124 Carlos Batista Gonzalez                                                          Vital Pharmaceuticals, Inc.                                      $0.00
                                        34741                                                                      02, 2022
                                        5841 Southwest 119th Ave Cooper City FL                                    Employment Agreement, dated
1125 Carlos Duranza Jr                                                                Vital Pharmaceuticals, Inc.                                      $0.00
                                        33330                                                                      February 07, 2022
                                                                                                                   Employment Agreement, dated May
1126 Carlos Garza                       3010 Calla Lily Trail Richmond TX 77406       Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                   23, 2022
                                                                                                                   Employment Agreement, dated June
1127 Carlos Gonzalez Ernesto            8302 NW 7th St #13 Miami FL 33126             Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                   24, 2015
                                                                                                                   Employment Agreement, dated
1128 Carlos Gutiérrez de Piñeres Andrés 12421 SW 50th Ct Apt 303 Miramar FL 33027 Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                   February 21, 2022
                                                                                                                   Athlete Endorsement Agreement,
1129                                                                                  Vital Pharmaceuticals, Inc.
                                                                                                                   dated May 01, 2016
                                                                                                                   Employment Agreement, dated
1130 Carlos Ornelas Hernandez           3210 North 50th Dr Phoenix AZ 85031           Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                   August 08, 2022
                                                                                                                   Employment Agreement, dated
1131 Carlos Rodriguez Sanchez E         17169 Southwest 49th Place Miramar FL 33027 Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                   March 07, 2022
                                                                                                                   Employment Agreement, dated
1132 Carlos Sierra                      9399 NW 121 Terr Hialeah Gardens FL 33018 Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                   February 15, 2021
     Carlson & Lyter Distributing, Inc. Tom Dick 1020 Industrial Drive South P.O. Box                              DISTRIBUTOR AGREEMENT, dated
1133                                                                                  Vital Pharmaceuticals, Inc.                                      $0.00
     dba C & L Distributing             457 Sauk Rapids MN 56379                                                   July 30, 2018
                                        Attn: Joe Ryan 110 Barley Park Lane                                        Letter of Agreement, dated July 05,
1134 Carolina Beverage Group                                                          Vital Pharmaceuticals, Inc.                                      $0.00
                                        Mooresville NC 28115                                                       2016
                                                                                                                   CONFIDENTIALITY AND NON-
                                                                                      Vital Pharmaceuticals, Inc.,
1135 Carolina Beverage Group, LLC       110 Barley Park Lane Mooresville NC 28115                                  DISCLOSURE AGREEMENT, dated July $0.00
                                                                                      d/b/a Bang Energy ("Bang")
                                                                                                                   19, 2021
                                        3231 N Weslyean Boulevard Rocky Mountain                                   Distributor Agreement, dated
1136 Carolina Eagle Dist                                                              Vital Pharmaceuticals, Inc.                                      $0.00
                                        NC 27804                                                                   December 12, 2018
     Carolina Manufacturer's Services, Attn: President 2650 Pilgrim Court Winston-                                 Coupon Redemption Program
1137                                                                                  Vital Pharmaceuticals, Inc.                                      $0.00
     Inc.                               Salem NC 27106                                                             Agreement, dated January 07, 2013
                                                                                                                   Exclusive Distribution Agreement,
1138 Carolina Premium Beverage, LLC     Attn: Chris Caffey PO Box 579 Colfax NC 27235 Quash Seltzer, LLC                                               $0.00
                                                                                                                   dated February 03, 2021
                                                                                                                   Elite Team Agreement, dated
1139                                                                                  Vital Pharmaceuticals, Inc.
                                                                                                                   February 24, 2017
                                                                                                                   Elite Agreement, dated October 01,
1140                                                                                  Quash Seltzer, LLC
                                                                                                                   2021
                                                                                                                   Elite Agreement, dated October 01,
1141                                                                                  Vital Pharmaceuticals, Inc.
                                                                                                                   2021
                                                                                                                   Exclusive Promotional Modeling
1142                                                                                  Vital Pharmaceuticals, Inc.
                                                                                                                   Agreement, dated October 28, 2014
                                                                                                                   Exclusive Promotional Modeling
1143                                                                                  Vital Pharmaceuticals, Inc.
                                                                                                                   Agreement, dated May 01, 2014
                                        Attn: Mike Dougherty - Vice President 1553                                 Exclusive Distribution Agreement,
1144 Carroll Distributing Company                                                     Vital Pharmaceuticals, Inc.                                      $0.00
                                        Chad Carroll Way Melbourne FL 32940                                        dated May 10, 2023
                                                                                                                   Trainer Services Agreement, dated
1145                                                                                  Quash Seltzer, LLC
                                                                                                                   September 22, 2021
                                                                                                                   Trainer Services Agreement, dated
1146                                                                                  Vital Pharmaceuticals, Inc.
                                                                                                                   September 22, 2021
                                                                                                                   Employment Agreement, dated June
1147 Casey Rogers Lee                   802 North Luther Rd Candler NC 28715          Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                   24, 2019
                                                                                                                   Fitness Model Agreement, dated
1148                                                                                  Vital Pharmaceuticals, Inc.
                                                                                                                   March 01, 2016
                                         101 Mission Street Suite 500 San Francisco CA Vital Pharmaceuticals, Inc.,   Confidentiality & Non-Circumvention
1149 Castle Crow & Company, LLC                                                                                                                           $0.00
                                         94105                                         d/b/a VPX                      Agreement, dated October 19, 2017
                                                                                                                     CONFIDENTIALITY AND NON-
                                                                                        Vital Pharmaceuticals, Inc.,
1150 Catalent, Inc.                      14 Schoolhouse Road Somerset NJ 08873                                       DISCLOSURE AGREEMENT, dated          $0.00
                                                                                        d/b/a Bang Energy ("Bang")
                                                                                                                     November 16, 2021
                                                                                                                     Model Release and Affidavit, dated
1151                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                     June 11, 2011
                                 Case 22-17842-PDR                      Doc 1658              Filed 07/14/23 Employment
                                                                                                               Page 181       of 279
                                                                                                                        Agreement, dated
1152 Cayden Jaeger Trace                  7211 Boxelder Ct Jacksonville FL 32244           Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                         November 09, 2021
                                          Michelle LaChapelle, 8900 W 18th Terrace                                       Chili Cook Off Agreement, dated
1153 CBS Miami Integrated Marketing                                                      Vital Pharmaceuticals, Inc.                                         $0.00
                                          Doral FL 33172                                                                 December 01, 2016
                                          937 Tahoe Boulevard, Suite 100 Incline Village                                 Non-Disclosure Agreement, dated
1154 CCC NV, LLC                                                                         Vital Pharmaceuticals, Inc.                                         $0.00
                                          NV 89451                                                                       February 14, 2017
                                                                                         Vital Pharmaceuticals, Inc.,    NonDisclosure Agreement, dated July
1155 CCRS Warehousing & Logistics         201 Second Street Kewaskum WI 53040                                                                                $0.00
                                                                                         d/b/a VPX Sports                06, 2018
1156 CDW Direct, LLC                      PO BOX 75723 / CHICAGO IL 60675-5723 / US        Vital Pharmaceuticals, Inc.   Product/Service Agreement           $0.00
                                          Attn: Donna Shami 11760 Marco Beach Dr                                        Contract Broker Commission
1157 CDZ Sales Inc.                                                                        Vital Pharmaceuticals, Inc.                                       $0.00
                                          Suite 4 Jacksonville FL 32224                                                 Agreement, dated October 05, 2015
                                                                                                                        Trainer Services Agreement, dated
1158                                                                                       Quash Seltzer, LLC
                                                                                                                        November 04, 2021
                                                                                                                        Trainer Services Agreement, dated
1159                                                                                       Vital Pharmaceuticals, Inc.
                                                                                                                        November 04, 2021
                                                                                                                        Distribution Agreement, dated
1160 Cei Nutri Inc                        2625 Weston Road Weston FL 33326                 Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                        February 23, 2015
                                                                                                                        Letter re: Exclusive Promotional
                                                                                                                        Modeling Contract with Vital
1161                                                                                       Vital Pharmaceuticals, Inc.
                                                                                                                        Pharmaceuticals, Inc. Executed July
                                                                                                                        22, 2012, dated March 05, 2013
                                                                                                                        CONFIDENTIALITY AND NON-
                                                                                           Vital Pharmaceuticals, Inc.,
1162 CELEBRATION BRANDS LIMITED           214 Spanish Town Road Kingston JAM                                            DISCLOSURE AGREEMENT, dated          $0.00
                                                                                           d/b/a Bang Energy ("Bang")
                                                                                                                        April 29, 2019
                                                                                                                        Brand Ambassador (National Team)
1163                                                                                       Vital Pharmaceuticals, Inc.
                                                                                                                        Agreement, dated March 23, 2017
                                          Attn: David A. Druey 6300 NE 1st Avenue Fort     Vital Pharmaceuticals, Inc. Confidentiality Agreement, dated
1164 Centennial Bank                                                                                                                                         $0.00
                                          Lauderdale FL 33334                              dba VPX                      April 17, 2018
                                          Center Point Business Park Building D 1907-                                   Lease Proposal, dated September 14,
1165 Center Point Flex Owner LLC                                                           Vital Pharmaceuticals, Inc.                                       $0.00
                                          1911 US Highway 301 Tampa FL 33610                                            2018
                                          31920 Del Obispo St Suite 260 San Juan                                        First Amendment to Lease, dated July
1166 Center Point Flex Owner, LLC                                                          Vital Pharmaceuticals, Inc.                                       $0.00
                                          Capistrano CA 92675                                                           23, 2019
                                          31920 Del Obispo St Suite 260 San Juan                                        Lease Agreement, dated November
1167 Center Point Flex Owner, LLC                                                          Vital Pharmaceuticals, Inc.                                       $0.00
                                          Capistrano CA 92675                                                           01, 2018
                                                                                                                        Exclusive Distribution Agreement,
1168 Central Distributing Co.             3244 F 1/2 Rd, Clifton, CO 81520                 Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                        dated October 20, 2022
                                                                                                                        Distributor Agreement, dated
1169 Central Distributors, Incorporated   1876 Lager Lane Jackson TN 38305                 Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                        September 01, 2017
       Central States Beverage Company    Attn: John Kane, VP/General Manager 14220                                     Exclusive Distribution Agreement,
1170                                                                                       Quash Seltzer, LLC                                                $0.00
       of Missouri, L.L.C.                Wyandotte Kansas City MO 64145                                                dated April 12, 2021
                                                                                                                        CONFIDENTIALITY AND NON-
                                                                                           Vital Pharmaceuticals, Inc.,
1171 Centric Brands, LLC                  28 Liberty St. New York NY 10005                                              DISCLOSURE AGREEMENT, dated          $0.00
                                                                                           d/b/a Bang Energy ("Bang")
                                                                                                                        October 29, 2020
                                          Anand Swaroop 319 Enclave Lane Bedminster                                     Supply Agreement, dated May 14,
1172 Cepham Inc.                                                                           Vital Pharmaceuticals, Inc.                                       $0.00
                                          NJ 07921                                                                      2008
                                                                                                                        Employment Agreement, dated May
1173 Cesar Gonzalez                       694 San Remo Dr Weston FL 33326                  Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                        29, 2018
                                                                                                                        Employment Agreement, dated
1174 Cesar Nolazco Jose Estrada           928 Southwest 4th Ave Cape Coral FL 33991        Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                        October 16, 2018
                                                                                                                        CONFIDENTIALITY AND NON-
                                          1880 Matheson Blvd E Mississauga ON L4W          Vital Pharmaceuticals, Inc.,
1175 Ceva Freight Canada Corp.                                                                                          DISCLOSURE AGREEMENT, dated          $0.00
                                          0C2 CAN                                          d/b/a Bang Energy ("Bang")
                                                                                                                        2020
                                                                                                                        Employment Agreement, dated
1176 Chad Anderson M                      15 Consella Way Franklinton NC 27525-7702        Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                        October 03, 2022
                                          c/o Metabolic & Applied Biochemistry
                                                                                                                         Research Agreement, dated April 01,
1177 Chad M. Kersick, Ph. D.              Laboratories University of Oklahoma 1401 Asp Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                         2008
                                          Avenue Room 109 Norman OK 73019
                                                                                       Vital Pharmaceuticals, Inc.
1178 Chad M. Kersick, Ph.D.               1401 Asp Avenue Room 109 Norman OK 73019                                       Confidentiality Agreement           $0.00
                                                                                       d/b/a VPX Sports
                                                                                                                         Employment Agreement, dated May
1179 Chad Sandifer Ray                    3806 SW 5th Pl Cape Coral FL 33914               Vital Pharmaceuticals, Inc.                                   $0.00
                                                                                                                         08, 2019
                                                                                                                         Employment Agreement, dated
1180 Chad Snow Eugene                     11155 SW Hall Blvd Apt 57 Tigard OR 97223        Vital Pharmaceuticals, Inc.                                   $0.00
                                                                                                                         February 18, 2019
                                                                                                                         Employment Agreement, dated
1181 Chafin Rollins                       3515 Southeast 3rd Place Cape Coral FL 33904 Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                         December 21, 2020
       Champagne Beverage Company,        Attn Charles E. "Chuck" Reese, Chief Financial                                 Distributor Agreement, dated August
1182                                                                                       Vital Pharmaceuticals, Inc.                                       $0.00
       Inc.                               Officer One Bud Place Madisonville LA 70447                                    20, 2011
                                                                                                                         Employment Agreement, dated
1183 Chantal Hernandez Glanert            19511 Belmont Dr Cutler Bay FL 33157             Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                         January 15, 2018
                                                                                                                         Elite Team Agreement, dated April
1184                                                                                       Vital Pharmaceuticals, Inc.
                                                                                                                         15, 2018
                                                                                                                         Select Agreement, dated December
1185                                                                                       Quash Seltzer, LLC
                                                                                                                         01, 2021
                                  Case 22-17842-PDR                Doc 1658            Filed 07/14/23 Select
                                                                                                         Page     182dated
                                                                                                             Agreement, of December
                                                                                                                           279
1186                                                                                Vital Pharmaceuticals, Inc.
                                                                                                                 01, 2021
                                      21391 Town Lakes Drive #119 Boca Raton FL                                  Letter re: Engagement Agreement,
1187 Charles Chiaverini                                                             Vital Pharmaceuticals, Inc.                                    $0.00
                                      33486                                                                      dated October 05, 2015
                                                                                                                 Consulting Agreement, dated
1188                                                                                Vital Pharmaceuticals, Inc.
                                                                                                                 November 17, 2015
                                      19173 Innisbrook Ct North Fort Myers FL                                    Employment Agreement, dated
1189 Charles Horaney Edward                                                         Vital Pharmaceuticals, Inc.                                    $0.00
                                      33903                                                                      January 06, 2020
                                                                                                                 Employment Agreement, dated
1190 Charles Jean Noel E              7200 NW 20th St Sunrise FL 33313              Vital Pharmaceuticals, Inc.                                    $0.00
                                                                                                                 September 07, 2021
                                                                                                                 Elite Agreement, dated November
1191                                                                                Quash Seltzer, LLC
                                                                                                                 01, 2021
                                                                                                                 Elite Agreement, dated November
1192                                                                                Vital Pharmaceuticals, Inc.
                                                                                                                 01, 2021
                                                                                                                 CONFIDENTIALITY AND NON-
                                                                                    Vital Pharmaceuticals, Inc.,
1193 Chas Seligman Distributing Co.   10885 Clydesdale Way Walton KY 41094                                       DISCLOSURE AGREEMENT, dated       $0.00
                                                                                    d/b/a Bang Energy ("Bang")
                                                                                                                 October 30, 2019
                                                                                                                 Employment Agreement, dated
1194 Chase Bennett Wayne              6616 Dartmouth Rd Lakeland FL 33809           Vital Pharmaceuticals, Inc.                                    $0.00
                                                                                                                 August 06, 2018
                                                                                                                 Employment Agreement, dated
1195 Chase Shtogrin                   7314 Watson'S Parish Dr O'Fallon MO 63368     Vital Pharmaceuticals, Inc.                                    $0.00
                                                                                                                 November 29, 2021
                                                                                                                 Employment Agreement, dated May
1196 Chase Stiverson T                1046 Mclain Blvd Lancaster OH 43130           Vital Pharmaceuticals, Inc.                                    $0.00
                                                                                                                 07, 2018
                                                                                                                 CONFIDENTIALITY AND NON-
                                                                                    Vital Pharmaceuticals, Inc.,
1197 Chelsea F.C.                     Fulham Rd London SW6 1HS UK                                                DISCLOSURE AGREEMENT, dated       $0.00
                                                                                    d/b/a Bang Energy ("Bang")
                                                                                                                 September 09, 2020
                                                                                                                 Mutual Non-Disclosure Agreement
                                      Stamford Bridge Fulham Road London SW6        Vital Pharmaceuticals, Inc.,
1198 Chelsea FC PLC                                                                                              Commercial Terms, dated September $0.00
                                      1HS England                                   d/b/a Bang Energy
                                                                                                                 11, 2020
                                                                                                                 Exclusive Promotional Modeling
1199                                                                                Vital Pharmaceuticals, Inc.
                                                                                                                 Contract, dated May 01, 2014
                                                                                                                 Affiliate Member Agreement, dated
1200                                                                                Vital Pharmaceuticals, Inc.
                                                                                                                 October 19, 2021
                                                                                                                 Affiliate Member Agreement, dated
1201                                                                                Quash Seltzer, LLC
                                                                                                                 October 19, 2021
                                                                                                                 Amended Settlement Agreement,
1202 Chemycos Technology Co., Ltd.    1 Queens Road Central Hong Kong, China        Vital Pharmaceuticals, Inc.                                    $0.00
                                                                                                                 dated February 07, 2014
                                                                                                                 Employment Agreement, dated June
1203 Cheny Julian                     13182 Southwest 194th St Miami FL 33177       Vital Pharmaceuticals, Inc.                                    $0.00
                                                                                                                 22, 2020
                                      5897 Windward Pkwy Alpharetta GA 30005-
1204 CHEP USA                                                                       Vital Pharmaceuticals, Inc.    Hire Agreement, dated 2018          $0.00
                                      2044
                                      2525 Ponce de Leon Boulevard Suite 1040                                      Agreement for Professional
1205 Cherry Bekaert LLP                                                             Vital Pharmaceuticals, Inc.                                       $0.00
                                      Coral Gables FL 33134                                                        Engagement, dated October 02, 2015
                                                                                                                   MUTUAL NON-DISCLOSURE
                                      Attn: John D."Jack" McCarthy 300 SE 2nd       Vital Pharmaceuticals, Inc.,
1206 Chestnut Hill Technologies                                                                                    AGREEMENT, dated December 12,       $0.00
                                      Street Ft. Lauderdale FL 33301                DBA Bang Energy
                                                                                                                   2019
                                                                                                                   Cooler Agreement, dated February
1207 Chevron                          8741 W Broward Blvd Plantation 33311          Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                   02, 2016
                                      Attn: Todd Lewis 2208 E Allison Rd Cheyenne                                  Exclusive Distribution Agreement,
1208 Cheyenne Beverage, Inc.                                                        Quash Seltzer, LLC                                                 $0.00
                                      WY 82007                                                                     dated January 11, 2021
                                      Attn: Todd Lewis 2208 E Allison Rd Cheyenne                                  DISTRIBUTOR AGREEMENT, dated
1209 Cheyenne Beverage, Inc.                                                        Quash Seltzer, LLC                                                 $0.00
                                      WY 82007                                                                     January 01, 2019
                                      Attn: Todd Lewis 2208 E Allison Rd Cheyenne                                  Exclusive Distribution Agreement,
1210 Cheyenne Beverage, Inc.                                                        Quash Seltzer, LLC                                                 $0.00
                                      WY 82007                                                                     dated January 29, 2021
                                                                                                                   Employment Agreement, dated
1211 Chitrang Desai Dharmeshkumar     4945 Deckside Loop Lakeland FL 33812          Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                   March 15, 2021
                                                                                                                   Exclusive Promotional Modeling
1212                                                                                Vital Pharmaceuticals, Inc.
                                                                                                                   Contract, dated April 16, 2013
                                                                                                                   Employment Agreement, dated
1213 Christian Diaz Osvaldo           2226 Pinecrest Ct Fullerton CA 92831          Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                   February 22, 2021
                                                                                                                   Employment Agreement, dated July
1214 Christian Gonzalez               133 S172nd Dr Goodyear AZ 85338               Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                   06, 2020
                                                                                                                   Select Agreement, dated November
1215                                                                                Quash Seltzer, LLC
                                                                                                                   01, 2021
                                                                                                                   Select Agreement, dated November
1216                                                                                Vital Pharmaceuticals, Inc.
                                                                                                                   01, 2021
                                      16450 West Van Buren St Apt 2066 Goodyear                                    Employment Agreement, dated
1217 Christian Longe-Marshall James                                                 Vital Pharmaceuticals, Inc.                                        $0.00
                                      AZ 85338                                                                     October 19, 2020
                                                                                                                   Employment Agreement, dated June
1218 Christian Penoucos Sacha         620 Northeast 52nd Terrace Miami FL 33137     Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                   08, 2020
                                                                                                                   Employment Agreement, dated
1219 Christian Sasieta                156 NW 118th Dr Coral Springs FL 33071        Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                   August 17, 2020
                                      1981 Woolbright Rd Bldg E Apt 205 Boynton                                    Employment Agreement, dated
1220 Christian Sosa Torres Alberto                                                  Vital Pharmaceuticals, Inc.                                        $0.00
                                      Beach FL 33426                                                               December 16, 2019
                                   Case 1690
                                        22-17842-PDR                 Doc
                                             Hilton Head Ct Apt 2320 El Cajon 1658
                                                                              CA               Filed 07/14/23 Employment
                                                                                                                Page 183       of 279
                                                                                                                         Agreement, dated May
1221 Christian Soza Giovanni                                                                Vital Pharmaceuticals, Inc.                                          $0.00
                                             92019                                                                         02, 2022
                                                                                                                           Model Release and Affidavit, dated
1222                                                                                        Vital Pharmaceuticals, Inc.
                                                                                                                           June 07, 2011
                                                                                                                           Letter re: Notice of Violation of Non
                                                                                            Vital Pharmaceuticals, Inc.    Disclosure, Non-Compete,
1223 Christina Diaz                          2586 NW 94th Ave Coral Springs FL 33065                                                                             $0.00
                                                                                            dba VPX/REDLINE                Confidentiality Agreement, dated
                                                                                                                           October 26, 2022
                                                                                                                           Brand Ambassador (National Team)
1224                                                                                        Vital Pharmaceuticals, Inc.
                                                                                                                           Agreement , dated April 27, 2017
                                             470 Northeast 5th Ave Apt 3215 Fort                                           Employment Agreement, dated May
1225 Christina Weronik                                                                      Vital Pharmaceuticals, Inc.                                          $0.00
                                             Lauderdale FL 33301                                                           03, 2021
                                                                                                                           Employment Agreement, dated
1226 Christine King E                        275 Equestrian Dr Rockwall TX 75032            Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                           January 24, 2022
                                                                                                                           Employment Agreement, dated
1227 Christine Longero Marie                 2712 Strand Ln Mckinney TX 75071               Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                           August 23, 2021
                                                                                                                           Employment Agreement, dated
1228 Christopher Blanco Daniel               421 E Dunbar #65 Tempe AZ 85282                Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                           March 04, 2019
                                                                                                                           Employment Agreement, dated
1229 Christopher Carey                       433 Haverlake Cir Apopka FL 32712              Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                           January 24, 2022
                                                                                                                           Brand Ambassador (Select Team)
1230                                                                                        Vital Pharmaceuticals, Inc.
                                                                                                                           Agreement, dated July 17, 2017
                                                                                                                           Employment Agreement, dated May
1231 Christopher Conner Michael              18344 W Mercer Ln Surprise AZ 85388            Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                           17, 2021
                                             13820 South 44th St Unit 1114 Phoenix AZ                                      Employment Agreement, dated
1232 Christopher Jones                                                                      Vital Pharmaceuticals, Inc.                                          $0.00
                                             85044                                                                         November 09, 2020
                                             301 Southwest 1St Ave Apt 1402-B Fort                                         Employment Agreement, dated
1233 Christopher Morrison John                                                              Vital Pharmaceuticals, Inc.                                          $0.00
                                             Lauderdale FL 33301                                                           March 23, 2020
                                                                                                                           Employment Agreement, dated April
1234 Christopher Poland Honn                 10348 Glenn Abbey Ln Fishers IN 46037          Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                           27, 2020
                                                                                                                           Employment Agreement, dated
1235 Christopher Rees Nunez                  16601 N 12th St 1092 Phoenix AZ 85022          Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                           August 12, 2019
                                                                                                                           Employment Agreement, dated May
1236 Christopher Schwalen Lawrence           704 Auburn Way Morgan Hill CA 95037            Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                           24, 2018
                                                                                                                           Employment Agreement, dated
1237 Christopher Weatherford Lee             1213 Warbler Ave Forney TX 75126               Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                           February 28, 2022
                                                                                                                           Employment Agreement, dated
1238 Christy Bare Anne                       11340 Northwest 27th Ct Plantation FL 33323    Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                           December 16, 2019
                                                                                                                           Employment Agreement, dated June
1239 Christy Bare Anne                       11340 Northwest 27th Ct Plantation FL 33323    Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                           03, 2019
                                                                                                                           Employment Agreement, dated July
1240 Christy Morris L                        26 Sunset Hills Cir Choctaw OK 73020           Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                           13, 2020
                                                                                                                           Select Agreement, dated September
1241                                                                                        Quash Seltzer, LLC
                                                                                                                           01, 2021
                                                                                                                           Brand Ambassador Agreement, dated
1242                                                                                        Vital Pharmaceuticals, Inc.
                                                                                                                           August 20, 2021
                                                                                                                           Elite Team Agreement, dated
1243                                                                                        Vital Pharmaceuticals, Inc.
                                                                                                                           December 19, 2017
                                                                                                                           Select Agreement, dated September
1244                                                                                        Vital Pharmaceuticals, Inc.
                                                                                                                           01, 2021
                                                                                            Vital Pharmaceuticals, Inc.,   Non-Disclosure Agreement, dated
1245 Chrysler Capital                        1601 Elm Street Suite 1400 Dallas TX 75201                                                                          $0.00
                                                                                            d/b/a VPX Sports               September 21, 2018
                                                                                                                           Elite Team Agreement, dated
1246                                                                                        Vital Pharmaceuticals, Inc.
                                                                                                                           November 14, 2018
       Chubb Group of Insurance                                                                                            Insuring Agreement, dated December
1247                                         15 Mountain View Road Warren NJ 07059          Vital Pharmaceuticals, Inc.                                          $0.00
       Companies                                                                                                           04, 2010
                                             Attn: Hamid R. Rafatjoo, Raines Feldman LLP,
                                                                                                                           Industrial Lease, dated November 15,
1248 CI421 4747 W. Buckeye LLC               1800 Avenue of the Stars, 12th Floor Los       Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                           2019
                                             Angeles CA 90067
                                                                                                                         Elite Team Agreement, dated
1249                                                                                        Vital Pharmaceuticals, Inc.
                                                                                                                         October 01, 2018
                                                                                                                         Exclusive Promotional Modeling
1250                                                                                        Vital Pharmaceuticals, Inc.
                                                                                                                         Agreement, dated March 10, 2016
                                                                                                                         Writer Agreement, dated February
1251                                                                                        Vital Pharmaceuticals, Inc.
                                                                                                                         23, 2009
                                             5132 Southwest 140th Terrace Miramar FL                                     Employment Agreement, dated
1252 Cindy Larez D                                                                          Vital Pharmaceuticals, Inc.                                         $0.00
                                             33027                                                                       December 03, 2018
                                             170 West Tasman Drive San Jose CA 95134-                                    Mutual Non-Disclosure Agreement,
1253 Cisco Systems, Inc.                                                                    Vital Pharmaceuticals, Inc.                                         $0.00
                                             1706                                                                        dated August 26, 2020
                                                                                                                         CONFIDENTIALITY AND NON-
                                                                                            Vital Pharmaceuticals, Inc.,
1254 CITIBANK,N.A.                           388 Greenwich Street New York NY                                            DISCLOSURE AGREEMENT, dated            $0.00
                                                                                            d/b/a Bang Energy ("Bang")
                                                                                                                         August 20, 2021
       City Beverage - Illinois, LLC d/b/a                                                                               Settlement Agreement, dated
1255                                         1105 E. Lafayette St., Bloomington, IL 61701   Vital Pharmaceuticals, Inc.                                         $0.00
       Lakeshore Beverage LLC                                                                                            September 02, 2022
                                             JT Dixon 1471 Weeksville Road Elizabeth City                                DISTRIBUTOR AGREEMENT, dated
1256 City Beverage Company, Inc.                                                            Vital Pharmaceuticals, Inc.                                         $0.00
                                             NC 27909                                                                    December 17, 2018
                                 Case Attn:
                                      22-17842-PDR                  DocOrlando
                                            Colby F. Kiene PO Box 620006 1658  FL              Filed 07/14/23 Exclusive
                                                                                                                 Page       184 of
                                                                                                                        Distribution    279
                                                                                                                                     Agreement,
1257 City Beverages LLC                                                                    Vital Pharmaceuticals, Inc.                                          $0.00
                                           32862                                                                        dated May 05, 2023
                                                                                                                        CONFIDENTIALITY AND NON-
                                                                                           Vital Pharmaceuticals, Inc.,
1258 City Brewery LLC                      925 South Third Street La Crosse WI 54601                                    DISCLOSURE AGREEMENT, dated             $0.00
                                                                                           d/b/a Bang Energy ("Bang")
                                                                                                                        January 21, 2022
                                                                                           Vital Pharmaceuticals, Inc.,   Confidentiality & Non-Circumvention
1259 City Brewing Company LLC              5151 E Raines Road Memphis TN 38118                                                                                $0.00
                                                                                           d/b/a VPX                      Agreement, dated July 16, 2018

                                           Boca del Mar Banking Center 7000 W Palmetto Vital Pharmaceuticals, Inc.,       Non-Disclosure & Confidentiality
1260 City National Bank of Florida, Inc.                                                                                                                        $0.00
                                           Park Road Suite 100 Boca Raton FL 33433     d/b/a VPX Sports                   Agreement, dated August 24, 2016
                                                                                                                          Personal Property Insurance
                                           Capital City Securities, 3789 Attucks Dr Powell
1261 City Securites Insurance, LLC                                                         Vital Pharmaceuticals, Inc.    Participation Form, dated December    $0.00
                                           OH 43065
                                                                                                                          14, 2015
                                                                                           Vital Pharmaceuticals, Inc.    Non Disclosure Agreement, dated
1262 CK Afton Ridge II                     301 S. College St Charlotte NC 28202                                                                                 $0.00
                                                                                           dba VPX Sports                 January 08, 2019
                                           c/o Chrildress Klein 301 South College Street                                  Standard Warehouse Lease
1263 CK Afton Ridge II, LLC                                                                Vital Pharmaceuticals, Inc.                                          $0.00
                                           Suite 2800 Charlotte NC 28202-6021                                             Agreement, dated March 15, 2019
                                           350 Great Southwest Parkway Atlanta GA                                         Purchase and Supply Agreement,
1264 CKS Packaging, Inc                                                                    Vital Pharmaceuticals, Inc.                                          $0.00
                                           30336                                                                          dated January 07, 2017
                                                                                                                          First Amendment to Purchase and
                                           350 Great Southwest Parkway Atlanta GA
1265 CKS Packaging, Inc                                                                    Vital Pharmaceuticals, Inc.    Supply Agreement, dated July 20,      $0.00
                                           30336
                                                                                                                          2018
                                                                                                                          Settlement Agreement and Release,
1266 Claire Stone                          840 Embarcadero Del Norte Golrta CA 94553       Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                          dated October 06, 2021
       Classic Distributing and Beverage   Attn: Joe Sanchez, III 120 N Puente Ave City of                                Letter re: Authorization to Distribute
1267                                                                                       Vital Pharmaceuticals, Inc.                                           $0.00
       Group                               Industry CA 91746                                                              Products, dated May 18, 2011
       Classic Distributing and Beverage   Attn: John B. Thomas 120 North Puente Ave                                  Exclusive Distribution Agreement,
1268                                                                                       Quash Seltzer, LLC                                                   $0.00
       Group, Inc.                         Industry CA 91746                                                          dated January 24, 2021
                                                                                                                      Exclusive Distribution Agreement,
1269   Clatstop Distributing Company         1375 SE 12th Pl, Warrenton, OR 97146        Vital Pharmaceuticals, Inc.                                            $0.00
                                                                                                                      dated October 25, 2022
                                             1252 Northwest 141St Ave Pembroke Pines FL                               Employment Agreement, dated July
1270   Claudia Lopez M                                                                   Vital Pharmaceuticals, Inc.                                            $0.00
                                             33028                                                                    05, 2017
                                                                                                                      Elite Team Agreement, dated March
1271                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                      01, 2018
                                                                                                                      Elite Team Agreement, dated
1272                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                      December 30, 2018
                                                                                                                      Employment Agreement, dated
1273   Clayten VanWingerden Thomas           147 Forest Edge Dr Saint Johns FL 32259     Vital Pharmaceuticals, Inc.                                            $0.00
                                                                                                                      November 25, 2019
                                                                                                                      Employment Agreement, dated
1274   Clement Maureal Garciano              5612 Frost Ln Flower Mound TX 75028         Vital Pharmaceuticals, Inc.                                            $0.00
                                                                                                                      December 16, 2019
                                                                                                                      Employment Agreement, dated
1275   Cleonice Glanert                      2436 Okeechobee Ln Fort Lauderdale FL 33312 Vital Pharmaceuticals, Inc.                                            $0.00
                                                                                                                      September 21, 2020
                                                                                         Vital Pharmaceuticals, Inc., Confidentiality & Non-Disclosure
1276   Cleveroad                             2 Park Ave New York NY 10016                                                                                       $0.00
                                                                                         d/b/a Bang Energy            Agreement, dated July 31, 2018
                                                                                                                      CONFIDENTIALITY AND NON-
                                             Unit 325 City Centre Mall Plot No 5 Dwarka  Vital Pharmaceuticals, Inc.,
1277   CliniExperts Services Private Limited                                                                          DISCLOSURE AGREEMENT, dated               $0.00
                                             Sector 12 New Delhi 110075 India            d/b/a Bang Energy ("Bang")
                                                                                                                      August 24, 2021
                                                                                                                      CONFIDENTIALITY AND NON-
                                             7820 Innovation Boulevard Suite 100         Vital Pharmaceuticals, Inc.,
1278   Closure Systems International Inc                                                                              DISCLOSURE AGREEMENT, dated               $0.00
                                             Indianapolis IN 46278                       d/b/a Bang Energy ("Bang")
                                                                                                                      December 23, 2019
                                                                                                                      Distributor Agreement, dated June
1279   Coast Beverage Group                  2701 Dow Avenue Tustin CA 92780             Vital Pharmaceuticals, Inc.                                            $0.00
                                                                                                                      06, 2007
       Coast Beverage Group; Straub          Mark Danner 2701 Dow Avenue Tustin CA                                    DISTRIBUTOR AGREEMENT, dated
1280                                                                                     Vital Pharmaceuticals, Inc.                                            $0.00
       Distributing Company                  92780                                                                    2007
       Coast Beverage                        Attn: Bob Groux, President 410 West Grove                                DISTRIBUTOR AGREEMENT, dated
1281                                                                                     Vital Pharmaceuticals, Inc.                                            $0.00
       Group, LLC                            Avenue Orange CA 92865                                                   May 19, 2008
       Coast Beverage                        Attn: Bob Groux, President 410 West Grove                                DISTRIBUTOR AGREEMENT, dated
1282                                                                                     Vital Pharmaceuticals, Inc.                                            $0.00
       Group, LLC                            Avenue Orange CA 92865                                                   June 10, 2008
                                                                                                                      Distributor Agreement (Exclusive -
1283   Coast Beverages                       8609 Production Ave San Diego CA 92121      Vital Pharmaceuticals, Inc.                                            $0.00
                                                                                                                      CA), dated February 22, 2008
       COASTAL BEVERAGE COMPANY,           461 N Corporate Dr Wilmington NC 28401-                                        Amendment to Exclusive Distribution
1284                                                                                       Quash Seltzer, LLC                                                 $0.00
       INC.                                2305                                                                           Agreement, dated April 06, 2021
                                           461 N Corporate Dr Wilmington NC 28401-                                        Exclusive Distribution Agreement,
1285 Coastal Beverage Company, Inc.                                                        Quash Seltzer, LLC                                               $0.00
                                           2305                                                                           dated February 01, 2021
                                                                                                                          Employment Agreement, dated
1286 Cody Cullen Brian                     146 Pearl St Clinton MA 1510                    Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                          January 31, 2022
                                                                                                                          Contact Information Sheet, dated
1287                                                                                       Vital Pharmaceuticals, Inc.
                                                                                                                          September 24, 2021
                                                                                                                          Employment Agreement, dated
1288 Cody Lei                              343 Northwest Byron St Port St Lucie FL 34983 Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                          November 18, 2019
                                                                                                                          Brand Ambassador Team Agreement,
1289                                                                                       Vital Pharmaceuticals, Inc.
                                                                                                                          dated January 15, 2018
                                Case 22-17842-PDR                     Doc 1658            Filed 07/14/23 Employment
                                                                                                           Page 185       of 279
                                                                                                                    Agreement, dated
1290 Cody Phillips                       1819 Dove Field Place Brandon FL 33510        Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                  September 13, 2021
                                        5216 Bryant Irvin Rd Apt 2180 Fort Worth TX                               Employment Agreement, dated May
1291   Cody Shanley Allan                                                            Vital Pharmaceuticals, Inc.                                        $0.00
                                        76132                                                                     11, 2020
                                                                                                                  TRADEMARK SUBLICENSE
1292   Cognis Corporation               5051 Estecreek Drive Cincinnati OH 45232     Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                  AGREEMENT, dated June 04, 2007
                                                                                                                  CONFIDENTIALITY & NON-
                                        219 Red River Avenue N. Cold Spring MN       Vital Pharmaceuticals, Inc.,
1293   Cold Spring Brewery Company                                                                                CIRCUMVENTION AGREEMENT,              $0.00
                                        56320                                        d/b/a VPX
                                                                                                                  dated July 09, 2018
                                                                                                                  CONFIDENTIALITY AND NON-
                                        219 Red River Avenue N Cold Springs MN       Vital Pharmaceuticals, Inc.,
1294   Cold Springs Brewery Company                                                                               DISCLOSURE AGREEMENT, dated July $0.00
                                        56320                                        d/b/a Bang Energy ("Bang")
                                                                                                                  20, 2021
       COLFIN INDUSTRIAL ACQUISITIONS,                                                                            Proposed Industrial Building Lease,
1295                                    13727 Noel Road Suite 750 Dallas TX 75240    Vital Pharmaceuticals, Inc.                                        $0.00
       LLC,                                                                                                       dated September 04, 2018
                                                                                                                  2011-2012 Vendor Participation
       COLHOC Limited Partnership d/b/a 200 West Nationwide Boulevard Columbus OH
1296                                                                                 Vital Pharmaceuticals, Inc. Agreement, dated December 02,          $0.00
       Columbus Blue Jackets            43215
                                                                                                                  2012
                                        c/o Human Performance Laboratory
                                        Department of Exercise and Sport Science                                  Writer Agreement, dated February
1297   Colin Wilborn, Ph.D.                                                          Vital Pharmaceuticals, Inc.                                        $0.00
                                        University of Mary Hardin Baylor UMHB Box                                 16, 2009
                                        8010 Belton TX 76513
                                                                                                                  Select Agreement, dated January 01,
1298                                                                                 Quash Seltzer, LLC
                                                                                                                  2022
                                                                                                                  Select Agreement, dated January 01,
1299                                                                                 Vital Pharmaceuticals, Inc.
                                                                                                                  2022
                                        Christopher Sawyer 700 Railway St S Dundas                                DISTRIBUTOR AGREEMENT, dated
1300   College City Beverage, Inc                                                    Vital Pharmaceuticals, Inc.                                        $0.00
                                        MN 55019                                                                  July 31, 2018
                                                                                                                  Distributor Agreement, dated July 31,
1301   College City Beverage, Inc.      700 Railway St. S Dundas MN 55019            Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                  2018
                                                                                                                  Customer Contact Information, dated
1302   Colony Capital                   PO Box 209263 Austin TX 78720-9263           Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                  September 27, 2018
                                        8720 Stony Point Pkwy Ste 400 Richmond, VA,
1303   Colony Insurance Company                                                      Vital Pharmaceuticals, Inc. Excess Liquor Insurance Policy         $0.00
                                        23235
                                        8720 Stony Point Pkwy Ste 400 Richmond, VA,                               Liquor Liability Insurance Policy,
1304   Colony Insurance Company                                                      Vital Pharmaceuticals, Inc.                                        $0.00
                                        23235                                                                     dated May 31, 2023
                                        Steven A. Busch 130 Greenhorn Drive Pueblo                                DISTRIBUTOR AGREEMENT, dated
1305   Colorado Eagle LLC                                                            Vital Pharmaceuticals, Inc.                                        $0.00
                                        CO 81004                                                                  August 27, 2019
                                                                                                                  R.C: “The International" - Product
                                        Katherine Talutis, 10202 W Washington Blvd
1306   COLUMBIA PICTURES                                                             Vital Pharmaceuticals, Inc. Placement Agreement, dated             $0.00
                                        Culver City California 90232
                                                                                                                  November 12, 2007
                                                                                                                  Mutual Confidentiality and
       Comcast Cable Communications     1701 John F. Kennedy Boulevard Philadelphia
1307                                                                                 Vital Pharmaceuticals, Inc. Nondisclosure Agreement, dated         $0.00
       Management, LLC                  PA 19103-2838
                                                                                                                  November 01, 2019
                                                                                                                  CONFIDENTIALITY AND NON-
                                        Flormorado Empresarial Calle 117 #6a-60 Ofic Vital Pharmaceuticals, Inc.,
1308   Comedpra, LTDA.                                                                                            DISCLOSURE AGREEMENT, dated           $0.00
                                        306 Bogota Colombia                          d/b/a Bang Energy ("Bang")
                                                                                                                  August 11, 2021
                                        Carretera Mexico-Pachuca Km. 12.5 Rustica                                 CONFIDENTIALITY AND NON-
                                                                                     Vital Pharmaceuticals, Inc.,
1309   Comercializadora Eloro S.A.      Xalostoc Ecatepec de Morelos Estado de                                    DISCLOSURE AGREEMENT, dated           $0.00
                                                                                     d/b/a Bang Energy ("Bang")
                                        Mexico 55340 Mexico                                                       September 28, 2021
                                        Attn: Wayne Swain, GM/Vice President
                                                                                                                  Distributor Agreement, dated June
1310   Commander Beverage               Admiral Development 531 West 600 North       Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                  11, 2010
                                        Sale Lake City UT 84116
                                                                                                                  CONFIDENTIALITY AND NON-
                                                                                     Vital Pharmaceuticals, Inc.,
1311   Commerce Bancshares, Inc.        1000 Walnut St Kansas City MO 64106                                       DISCLOSURE AGREEMENT, dated           $0.00
                                                                                     d/b/a Bang Energy ("Bang")
                                                                                                                  October 21, 2021
                                                                                                                  CONFIDENTIALITY AND NON-
                                                                                     Vital Pharmaceuticals, Inc.,
1312   Commerce Bank                    209 E Main Street California MO 65018                                     DISCLOSURE AGREEMENT, dated July $0.00
                                                                                     d/b/a Bang Energy ("Bang")
                                                                                                                  20, 2021
                                        Julio Alejandro Millan Iglesia #2, Torre E,
                                                                                                                  Professional Services Proposal, dated
1313   Competimex SC                    Despacho 1203 San Angel Mexico DF 01090      Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                  March 25, 2019
                                        Mexico
                                        Julio Alejandro Millan
                                                                                                                  Project Proposal for Vital
                                        jamillan@competimex.com
1314   Competimex, S.C.                                                              Vital Pharmaceuticals, Inc. Pharmaceutical February 2019, dated $0.00
                                        Iglesia #2 Torre E Despacho 1203 Col Tizapan
                                                                                                                  March 25, 2019
                                        San Angel Mexico, DF CP 01090
                                        1930 Palomar Point Way Suite 105 Carlsbad CA                              Lease Agreement, dated May 28,
1315   Compound Solutions Inc.                                                       Vital Pharmaceuticals, Inc.                                        $0.00
                                        92008                                                                     2019
                                                                                                                  Distribution and Warranty
                                        1930 Palomar Point Way Suite 105 Carlsbad CA
1316   Compound Solutions, Inc.                                                      Vital Pharmaceuticals, Inc. Agreement, dated November 15,          $0.00
                                        92008
                                                                                                                  2017
                                        1930 Palomar Point Way Suite 105 Carlsbad CA                              Distributor Agreement, dated April
1317   Compound Solutions, Inc.                                                      Vital Pharmaceuticals, Inc.                                        $0.00
                                        92008                                                                     09, 2021
                                                                                                                     Theacrine Dietary Ingredient
                                         1930 Palomar Point Way Suite 105 Carlsbad CA
1318 Compound Solutions, Inc.                                                         Vital Pharmaceuticals, Inc.    Sublicense and Warranty Agreement, $0.00
                                         92008
                                                                                                                     dated September 16, 2014
                                 Case 22-17842-PDR                    Doc 1658             Filed 07/14/23 CONFIDENTIALITY
                                                                                                                       Page 186AND      ofNON-
                                                                                                                                            279
       Conectys Serv                    1 Preciziei Bvd District 6 Bucharest 062202    Vital Pharmaceuticals, Inc.,
1319                                                                                                                DISCLOSURE AGREEMENT, dated       $0.00
       Telecom SRL Corp.                Romania                                        d/b/a Bang Energy ("Bang")
                                                                                                                    October 29, 2020
                                                                                       Vital Pharmaceuticals, Inc., CONFIDENTIALITY AND NON-
1320 Connect Technology Group           1734 Bluffview Lane Carrollton TX 75007                                                                       $0.00
                                                                                       d/b/a Bang Energy ("Bang") DISCLOSURE AGREEMENT
                                                                                                                    Select Agreement, dated December
1321                                                                                   Quash Seltzer, LLC
                                                                                                                    01, 2021
                                                                                                                    Fitness Athlete Endorsement
1322                                                                                   Vital Pharmaceuticals, Inc.
                                                                                                                    Agreement, dated August 23, 2016
                                                                                                                    Employment Agreement, dated April
1323 Conrade Matthews Mark A            5172 Clarion Oaks Dr Orlando FL 32808          Vital Pharmaceuticals, Inc.                                    $0.00
                                                                                                                    15, 2019
                                        Michael Okun 1569 Barclay Boulevard Buffalo
1324 Contemporary Marketing Inc.                                                       Vital Pharmaceuticals, Inc.    Sales Representative Agreement        $0.00
                                        Grove IL 60089
                                        Attn: Michael Okun 1569 Barclay Boulevard                                     Sales Representative Agreement,
1325 Contemporary Marketing, Inc.                                                      Vital Pharmaceuticals, Inc.                                          $0.00
                                        Buffalo Grove IL 60089                                                        dated April 27, 2005
                                                                                                                      CONFIDENTIALITY AND NON-
                                                                                       Vital Pharmaceuticals, Inc.,
1326 Contract Pharmacal Corp            165 Oser Avenue Hauppauge NY 17788                                            DISCLOSURE AGREEMENT, dated           $0.00
                                                                                       d/b/a Bang Energy ("Bang")
                                                                                                                      September 21, 2020
                                        1100 East Apache Blvd Apt 5069 Tempe AZ                                       Employment Agreement, dated
1327 Cooper Woods Leland                                                               Vital Pharmaceuticals, Inc.                                          $0.00
                                        85281                                                                         February 24, 2020
                                                                                                                      Employment Agreement, dated
1328 Corali Marquez Iparraguirre        330 Patio Village Terrace Weston FL 33326      Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                      March 24, 2022
                                                                                                                      Affiliate Member Agreement, dated
1329                                                                                   Quash Seltzer, LLC
                                                                                                                      April 01, 2021
                                        Attn: Linda Booker 1230 Peachtree Street NE                                   Facilities Management Agreement,
1330 Core5 Services LLC                                                               Vital Pharmaceuticals, Inc.                                           $0.00
                                        Suite 3560 Atlanta GA 30309                                                   dated October 04, 2017
                                        Suite 207, 3445-114th Ave. SE Calgary Alberta Vital Pharmaceuticals, Inc.,    CONFIDENTIALITY AND NON-
1331 Core-Mark International, Inc.                                                                                                                          $0.00
                                        T2Z 0K6                                       d/b/a Bang Energy ("Bang")      DISCLOSURE AGREEMENT
                                                                                                                      Elite Team Agreement, dated
1332                                                                                   Vital Pharmaceuticals, Inc.
                                                                                                                      December 29, 2017
                                        3500 SE Oak Grove Blvd Apt 44 Milwaukie OR                                    Employment Agreement, dated July
1333 Corey Carneau Scott                                                               Vital Pharmaceuticals, Inc.                                          $0.00
                                        97267                                                                         30, 2018
                                                                                                                      Employment Agreement, dated April
1334 Corey Connett Edward               2101 James Dr Gadsden AL 35907                 Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                      18, 2022
                                        David T. Laughlin P.O. Box B 110 N Dulany                                     Exclusive Distribution Agreement,
1335 Corey Distributors, Inc.                                                          Vital Pharmaceuticals, Inc.                                          $0.00
                                        Avenue Fruitland MD 21826                                                     dated March 10, 2021
                                                                                                                      Employment Agreement, dated
1336 Corey Leja                         850 Spring Creek Ct Elk Grove Village IL 60007 Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                      December 23, 2019
                                                                                                                      Elite Agreement, dated January 01,
1337                                                                                   Quash Seltzer, LLC
                                                                                                                      2022
                                                                                                                      CONFIDENTIALITY AND NON-
                                                                                       Vital Pharmaceuticals, Inc.,
1338 Cornerstone Systems, Inc.          3250 Players Club Parkway Memphis TN 38125                                    DISCLOSURE AGREEMENT, dated           $0.00
                                                                                       d/b/a Bang Energy ("Bang")
                                                                                                                      August 20, 2022
                                                                                                                      Exclusive Promotional Modeling
1339                                                                                   Vital Pharmaceuticals, Inc.
                                                                                                                      Agreement, dated March 10, 2016
                                        Attn: Courtney Barker 219 S Timm Rd                                           Distributor Agreement, dated June
1340 Corwin Beverage Company                                                           Vital Pharmaceuticals, Inc.                                          $0.00
                                        Ridgefield WA 98642                                                           11, 2010
                                                                                                                      Basic Supplier Agreement, dated
1341 Costco Wholesale                   999 Lake Dr Issaquah WA 98027-8990             Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                      April 12, 2018
                                                                                                                      Costco Wholesale Basic Supplier
                                        Attn: Vendor Maintenance 999 Lake Drive                                       Agreement United States and its
1342 Costco Wholesale Corporation                                                      Vital Pharmaceuticals, Inc.                                          $0.00
                                        Issaquah WA 98027                                                             Territories (2017), dated April 12,
                                                                                                                      2018
                                        3-1-4 Ikegami-Shincho Kawasaki-ku Kawasaki- Vital Pharmaceuticals, Inc.,      CONFIDENTIALITY AND NON-
1343 Costco Wholesale Japan, Ltd.                                                                                                                           $0.00
                                        shi Kanagawa 210-0832 Japan                 d/b/a Bang Energy ("Bang")        DISCLOSURE AGREEMENT
                                        Geoffrey Couch 104 Lee Road Watsonville CA                                    DISTRIBUTOR AGREEMENT, dated
1344 Couch Distributing Company, Inc.                                               Vital Pharmaceuticals, Inc.                                             $0.00
                                        95076                                                                         March 07, 2019
                                                                                                                      Notice of Acquisition & Contract
                                        Attn: Paul Beykirch 1800 Eagle View Dr Sedalia                                Assignment (VPX-KBDC Distribution
1345 County Distributing Company Inc.                                                  Vital Pharmaceuticals, Inc.                                          $0.00
                                        MO 65301                                                                      Agreement), dated December 13,
                                                                                                                      2019
                                        Attn: Accounts Receivable 1560 Sierra Ridge                                   Product Supply Agreement, dated
1346 Coupang Global, LLC                                                               Vital Pharmaceuticals, Inc.                                          $0.00
                                        Drive Riverside CA 92507                                                      March 23, 2021
                                                                                                                      Trainer Services Agreement, dated
1347                                                                                   Quash Seltzer, LLC
                                                                                                                      November 10, 2021
                                                                                                                      Employment Agreement, dated
1348 Courtney McDonough                 800 El Dorado Parkway Plantation FL 33317      Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                      December 16, 2019
                                                                                                                      Brand Ambassador National Team
1349                                                                                   Vital Pharmaceuticals, Inc.
                                                                                                                      Agreement, dated March 28, 2017
                                                                                                                      Employment Agreement, dated June
1350 Courtney Wilkie Paige              2706 Taylor Street Hollywood, FL 33020         Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                      28, 2021
     Courtyard by Marriott San Diego                                                                                  ROOMS AGREEMENT, dated August
1351                                    530 Broadway San Diego CA 92101                Vital Pharmaceuticals, Inc.                                          $0.00
     Downtown                                                                                                         12, 2019
     Courtyard Dallas                   1500 Nolan Ryan Expressway Arlington TX                                       Letter of Intent, dated August 15,
1352                                                                                   Vital Pharmaceuticals, Inc.                                          $0.00
     Arlington/Entertainment District   76011                                                                         2019
                                Case 22-17842-PDR                       Doc 1658             Filed 07/14/23 Commercial
                                                                                                              Page Services
                                                                                                                       187 of   279
                                                                                                                            Agreement,
1353 Cox Business                         1550 W Deer Valley Rd Phoenix AZ 85027         Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                        dated December 18, 2019
                                                                                                                        Employment Agreement, dated
1354 Craig Dalbec Jeffery                 8672 West Bajada Rd Peoria AZ 85383            Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                        August 21, 2017
                                                                                                                        Employment Agreement, dated May
1355 Craig Verwey William                 1565 Ibis Dr Orange Park FL 32065              Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                        13, 2019
                                                                                                                        DISTRIBUTION AGREEMENT, dated
1356 Crazy Discounted                     5332 West Samantha Way Laveen AZ 85339         Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                        N/A
                                                                                                                        Addendum to Advertiser Agreement,
1357 Create Social Group, LLC             16146 Morrison St Encino CA 91436              Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                        dated July 21, 2021
                                                                                                                        General Advertising Terms and
1358 Create Social Group, LLC             16146 Morrison St Encino CA 91436              Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                        Conditions, dated July 22, 2019
                                                                                                                        CONFIDENTIALITY AND NON-
                                          600 Daugherty Street Scott City Missouri       Vital Pharmaceuticals, Inc.,
1359 Creative Compounds, LLC                                                                                            DISCLOSURE AGREEMENT, dated         $0.00
                                          63780                                          d/b/a Bang Energy ("Bang")
                                                                                                                        April 22, 2019
                                                                                                                        CONFIDENTIALITY AND NON-
                                          Moh Muslim Pura malkay kalan Sialkot Punjab Vital Pharmaceuticals, Inc.,
1360 Creative International                                                                                             DISCLOSURE AGREEMENT, dated         $0.00
                                          51310 Pakistan                              d/b/a Bang Energy ("Bang")
                                                                                                                        August 05, 2020
                                          Attn: David Smith 16607 Blanco Road Suite 804                                 Contract Broker Commission
1361 Creative Sales and Marketing, LLC                                                  Vital Pharmaceuticals, Inc.                                         $0.00
                                          San Antonio TX 78232                                                          Agreement, dated January 01, 2016
                                                                                        Vital Pharmaceuticals, Inc.,    CONFIDENTIALITY AND NON-
1362 Credit Suisse Securities (USA) LLC   80 State Street Albany NY 12207                                                                                   $0.00
                                                                                        d/b/a Bang Energy ("Bang")      DISCLOSURE AGREEMENT
1363 Creem Distributors                   960 Coral Ridge Drive Coral Springs FL 33071 Vital Pharmaceuticals, Inc.      Distribution Agreement              $0.00
                                                                                                                        CONFIDENTIALITY AND NON-
                                          Urban Industrial Plan De La Laguna #14 Antiguo Vital Pharmaceuticals, Inc.,
1364 Crio Inversiones S.A. de C.V.                                                                                      DISCLOSURE AGREEMENT, dated         $0.00
                                          Cuscatlan La Libertad El Salvador              d/b/a Bang Energy ("Bang")
                                                                                                                        August 16, 2019
                                                                                                                        Employment Agreement, dated
1365 Cristian Rodriguez                   1643 Keena Dr Las Vegas NV 89011               Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                        January 22, 2007
                                          16293 Southwest 11th St Pembroke Pines FL                                     Employment Agreement, dated June
1366 Cristian Ruiz                                                                       Vital Pharmaceuticals, Inc.                                        $0.00
                                          33027                                                                         28, 2021
                                                                                                                        Employment Agreement, dated
1367 Cristiano Silva                      1772 Aspen Ln Weston FL 33327                  Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                        September 13, 2021
                                                                                                                        Employment Agreement, dated April
1368 Cristina Benavente Maria             2273 Nova Village Dr Davie FL 33317            Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                        06, 2020
                                                                                                                        Platinum Level Sponsor Agreement,
1369 Crossfit Katy LLC                    1315 W Grand Parkway S Katy TX 77494           Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                        dated September 28, 2019
                                                                                                                        Statement of Work for Demos, dated
1370 Crossmark, Inc.                      5100 Legacy Drive Plano TX 75024               Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                        June 19, 2019
                                          Attn: Paul Bond, General Manager 1650 Linda                                   Distributor Agreement, dated June
1371 Crown Beverages, Inc.                                                               Vital Pharmaceuticals, Inc.                                        $0.00
                                          Way Sparks NV 89431                                                           12, 2007
                                                                                                                        Distributor Agreement, dated August
1372 Crown Beverages, LLC                 916 W. Darlington Street Florence SC 29501     Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                        24, 2018
                                          Christine J. Horn & Jake Soumis 770 Township                                  VPX/Crown Incremental Supply of
1373 Crown Cork & Seal USA Inc.                                                        Vital Pharmaceuticals, Inc.                                          $0.00
                                          Line Rd Yardley PA 19067-4219                                                 Ends Letter, dated June 14, 2021
                                                                                                                        Critical Vendor Agreement, dated
1374 Crown Cork & Seal USA, Inc           770 Township Line Rd Yardley PA 19067          Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                        February 24, 2023
                                                                                                                        Nondisclosure Agreement, dated
1375 CROWN Cork & Seal USA, Inc           770 Township Line Rd Yardley PA 19067          Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                        December 13, 2018
                                          Attn: James Yackish 770 Township Line Road                                    First Amendment to Supply
1376 Crown Cork & Seal USA, Inc.                                                         Vital Pharmaceuticals, Inc.                                       $0.00
                                          Yardley PA 19067                                                              Agreement, dated February 01, 2021
                                          Attn: James Yackish 770 Township Line Road                                  Container Supply Agreement, dated
1377 Crown Cork & Seal USA, Inc.                                                         Vital Pharmaceuticals, Inc.                                      $0.00
                                          Yardley PA 19067                                                            January 01, 2020
                                          Attn: James Yackish 770 Township Line Road                                  Container Supply Agreement, dated
1378 Crown Cork & Seal USA, Inc.                                                         Vital Pharmaceuticals, Inc.                                      $0.00
                                          Yardley PA 19067                                                            May 28, 2019
                                                                                                                      North America Incremental Supply of
                                          Attn: James Yackish 770 Township Line Road
1379 Crown Cork & Seal USA, Inc.                                                         Vital Pharmaceuticals, Inc. Ends Agreement, dated June 14,       $0.00
                                          Yardley PA 19067
                                                                                                                      2021
                                                                                                                      Brand Ambassador (National Team)
1380                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                      Agreement, dated June 22, 2017
                                                                                                                      CONFIDENTIALITY AND NON-
                                                                                         Vital Pharmaceuticals, Inc.,
1381 CSOFT International                  501 Boylston St 10th Floor Boston MA 02116                                  DISCLOSURE AGREEMENT, dated July $0.00
                                                                                         d/b/a Bang Energy ("Bang")
                                                                                                                      16, 2021
                                                                                                                      CALIFORNIA RENTAL AGREEMENT,
1382 CubeSmart Asset Management, LLC 13627 Amargosa Road Victorville CA 92392            Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                      dated December 14, 2015
                                                                                                                      Florida Self-Storage Rental
1383 CubeSmart Management                 550 Harper Street Stuart FL 34994              Vital Pharmaceuticals, Inc. Agreement, dated December 23,        $0.00
                                                                                                                      2015
                                                                                                                      CONFIDENTIALITY AND NON-
                                                                                         Vital Pharmaceuticals, Inc.,
1384 Cumberland Farms, Inc.               165 Flanders Road Westborough MA 01581                                      DISCLOSURE AGREEMENT, dated         $0.00
                                                                                         d/b/a Bang Energy ("Bang")
                                                                                                                      May 19, 2021
                                          300 Galleria Parkway Suite 1600 Atlanta GA                                  Master Services Agreement, dated
1385 Cumberland Group, LLC                                                               Vital Pharmaceuticals, Inc.                                      $0.00
                                          30339                                                                       August 14, 2020
                                                                                                                      Photographer Agreement, dated
1386                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                      October 13, 2016
                                 Case 22-17842-PDR                     Doc 1658             Filed 07/14/23 Employment
                                                                                                             Page 188       of 279
                                                                                                                      Agreement, dated June
1387 Curtis Fleming-Davis Russell        40774 West Portis Dr Maricopa AZ 85138         Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                       06, 2022
     Cushman & Wakefield of Florida,     Attn: Chris Metzger 225 NE Mizner Blvd Ste     Vital Pharmaceuticals, Inc.,   Confidentiality Agreement, dated
1388                                                                                                                                                         $0.00
     Inc.                                300 Boca Raton FL 33432                        d/b/a VPX/Redline              May 31, 2018
     Cushman & Wakefield of Florida,     Attn: Chris Metzger 225 NE Mizner Blvd Suite   Vital Pharmaceuticals, Inc.,   Confidentiality Agreement, dated
1389                                                                                                                                                         $0.00
     LLC                                 300 Boca Raton FL 33432                        d/b/a VPX/Redline              May 31, 2018
                                                                                                                       Indemnification Agreement, dated
1390 CVS Health Corporation              One CVS Drive Woonsocket RI 02895              Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                       October 31, 2018
                                         Anna Umberto, Vice President, Strategic
                                                                                                                       Purchase Agreement for SBT
1391 CVS Pharmacy, Inc.                  Procurement One CVS Drive Woonsocket RI        Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                       Suppliers, dated November 06, 2018
                                         02895
                                         Attn: Shane Lamb 6591 Irvine Center Drive                                   Direct Hire Services Agreement,
1392 CyberCoders, Inc.                                                                  Vital Pharmaceuticals, Inc.                                    $0.00
                                         Suite #200 Irvine CA 92618                                                  dated December 18, 2018
                                         11064 South Old Bridge Rd South Jordan UT                                   Employment Agreement, dated
1393 Cydney Hatch Afton                                                                 Vital Pharmaceuticals, Inc.                                    $0.00
                                         84009                                                                       March 04, 2019
                                         Attn: Ms. Roberta White 4795 Industrial Way                                 Settlement Agreement and Release,
1394 CytoSport, Inc.                                                                    Vital Pharmaceuticals, Inc.                                    $0.00
                                         Benecia CA 94510                                                            dated September 27, 2012
                                                                                                                     CONFIDENTIALITY AND NON-
                                         2333 Ponce de Leon Blvd Suite 900 Coral        Vital Pharmaceuticals, Inc.,
1395 Cyxtera Cybersecurity                                                                                           DISCLOSURE AGREEMENT, dated July $0.00
                                         Gables FL 33134                                d/b/a Bang Energy ("Bang")
                                                                                                                     01, 2021
                                                                                                                     CONFIDENTIALITY AND NON-
                                         2333 Ponce De Leon Blvd Suite 900 Coral        Vital Pharmaceuticals, Inc.,
1396 Cyxtera Cybersecurity (AppGate)                                                                                 DISCLOSURE AGREEMENT, dated July $0.00
                                         Gables FL 33134                                d/b/a Bang Energy ("Bang")
                                                                                                                     01, 2021
                                                                                                                     CONFIDENTIALITY AND NON-
       Cyxtera Cybersecurity Inc. dba    2333 Ponce de Leon Blvd Suite 900 Coral        Vital Pharmaceuticals, Inc.,
1397                                                                                                                 DISCLOSURE AGREEMENT, dated July $0.00
       Appgate                           Gables FL 33134                                d/b/a Bang Energy ("Bang")
                                                                                                                     20, 2021
       D.H. Smith and Associates d/b/a   David Smith 1301 Barkmore San Antonio TX
1398                                                                                    Vital Pharmaceuticals, Inc.    Sales Representative Agreement        $0.00
       Creative Sales and Marketing      78258
                                         15560 Southwest 136th St Unit 211 Miami FL                                    Employment Agreement, dated
1399 Daisy Grunewald                                                                    Vital Pharmaceuticals, Inc.                                         $0.00
                                         33196                                                                         March 14, 2022
                                                                                                                       Distributor Agreement, dated
1400 Dakota Sales Co., Inc.              1916 Demers Avenue Grand Forks ND 58201        Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                       November 01, 2018
                                                                                                                       Employment Agreement, dated
1401 Dale Egelston K                     7503 Carolina Ln Vancouver WA 98664            Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                       November 08, 2021
                                         990 Coral Ridge Dr #301 Coral Springs FL                                      Employment Agreement, dated June
1402 Damaris Feliciano                                                                  Vital Pharmaceuticals, Inc.                                         $0.00
                                         33071                                                                         16, 2022
                                                                                                                       Employment Agreement, dated
1403 Damarys Carreras Perez              15886 Southwest 84th St Miami FL 33193         Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                       October 26, 2021
                                                                                                                       Elite Team Agreement, dated July 01,
1404                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                       2017
                                                                                                                       Employment Agreement, dated
1405 Dana Abdulhay K                     2100 SW 152 Pl Miami FL 33185                  Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                       September 04, 2018
                                                                                                                       Affiliate Member Agreement, dated
1406                                                                                    Quash Seltzer, LLC
                                                                                                                       April 01, 2021
                                                                                                                       Employment Agreement, dated July
1407 Daniel Ajibike Adewumi Adebowal     8417 Seven Hills Rd Arlington TX 76002         Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                       18, 2022
                                                                                                                       Employment Agreement, dated July
1408 Daniel Bolen James                  14530 S Juniper Shade Dr Herriman UT 84096     Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                       13, 2020
                                         19340 Northwest 7th St Pembroke Pines FL                                      Employment Agreement, dated
1409 Daniel Bolivar Enrique                                                             Vital Pharmaceuticals, Inc.                                         $0.00
                                         33029                                                                         November 08, 2021
                                                                                                                       Employment Agreement, dated
1410 Daniel Burnett J                    31877 Corte Montecito Temecula CA 92592        Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                       August 04, 2021
                                                                                                                       Fitness Athlete Endorsement
1411                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                       Agreement, dated April 15, 2016
                                                                                                                       Employment Agreement, dated
1412 Daniel Hurtes Scott                 12431 Baywind Ct Boca Raton FL 33428           Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                       October 07, 2021
                                                                                                                       Employment Agreement, dated
1413 Daniel Jacque Adeniji               7943 W 2nd Ct 201 Hialeah FL 33014             Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                       December 13, 2021
                                         Attn: Dan Jacob 4900 Carpenter Rd Ysiplanti MI                                Exclusive Distribution Agreement,
1414 Daniel L. Jacob & Company, Inc.                                                    Quash Seltzer, LLC                                                  $0.00
                                         48197                                                                         dated January 31, 2021
                                         Jency Marcantel 2403 E. High Street Jackson                                   Exclusive Distribution Agreement,
1415 Daniel L. Jacob and Company, Inc.                                                  Vital Pharmaceuticals, Inc.                                         $0.00
                                         MS 49203                                                                      dated February 01, 2021
                                                                                                                       Employment Agreement, dated
1416 Daniel Lee Yu-Chieh                 3100 Jeanetta St Apt 101 Houston TX 77063      Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                       January 06, 2020
                                                                                                                       Employment Agreement, dated
1417 Daniel Lopez Martin                 8704 W Cp Hayes Dr Tolleson AZ 85353           Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                       August 16, 2021
                                                                                                                       Employment Agreement, dated
1418 Daniel Martinez Montoya             2050 West Romley Ave Phoenix AZ 85041          Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                       January 21, 2019
                                                                                                                       Employment Agreement, dated
1419 Daniel Palmer D                     5130 Bull Run Dr Baton Rouge LA 70817          Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                       November 11, 2019
                                                                                                                       Employment Agreement, dated July
1420 Daniel Tellez Ruben                 7013 W Catalina Dr Phoenix AZ 85033            Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                       01, 2019
                                                                                                                       Employment Agreement, dated April
1421 Daniel Velez                        901 S Country Club Dr 1008 Mesa AZ 85210       Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                       04, 2022
1422                                                                                    Vital Pharmaceuticals, Inc.    Elite Agreement, dated May 16, 2019
                                 Case 22-17842-PDR                    Doc 1658              Filed 07/14/23 ElitePage    189 ofdated
                                                                                                                 Team Agreement, 279July 12,
1423                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                      2017
                                                                                                                      Employment Agreement, dated
1424 Danield Najera-Armenta             7622 West College Dr Phoenix AZ 85033           Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                      November 20, 2019
                                                                                                                      Select Agreement, dated April 28,
1425                                                                                    Quash Seltzer, LLC
                                                                                                                      2021
                                                                                                                      Acknowledgement of Receipt and
1426 Daniella Giafardino                4531 NW 13th Ave Pompano Beach FL 33064         Vital Pharmaceuticals, Inc.   Understanding, dated September 22, $0.00
                                                                                                                      2011
                                                                                                                      Employment Agreement, dated May
1427 Daniella Mares Almada              21202 West Encanto Blvd Buckeye AZ 85396        Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                      31, 2022
                                                                                                                      Trainer Services Agreement, dated
1428                                                                                    Quash Seltzer, LLC
                                                                                                                      November 12, 2021
                                                                                                                      Employment Agreement, dated
1429 Danielle Brown Lisa                13501 AnNE Browers Rd Charlotte NC 28213        Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                      October 04, 2021
                                                                                                                      Employment Agreement, dated
1430 Danielle Cohen Elizabeth           21243 Southwest 89th Ct Cutler Bay FL 33189     Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                      November 25, 2019
                                                                                                                      Exclusive Promotional Modeling
1431                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                      Agreement, dated October 14, 2014
                                                                                                                      Model Release and Affidavit, dated
1432                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                      July 22, 2012
                                                                                                                      Elite Team Agreement, dated January
1433                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                      16, 2017
                                                                                                                      Elite Team Agreement, dated January
1434                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                      24, 2018
                                                                                                                      Exclusive Promotional Modeling
1435                                                                                    Vital Pharmaceuticals, Inc.   Agreement, dated November 28,
                                                                                                                      2016
                                        Attn: Scott A. Bassman, Esq.
                                        Cole, Scott & Kissane, P.A.                                                   Settlement Agreement & Mutual
1436 Danielle Pomerantz                                                                 Vital Pharmaceuticals, Inc.                                        $0.00
                                        110 SE 6th Street, Suite 2700, Fort Lauderdale,                               Release, dated March 03, 2022
                                        FL 33301
                                        Attn: Scott A. Bassman, Esq.
                                        Cole, Scott & Kissane, P.A.                                                   Settlement Agreement, dated March
1437 Danielle Pomerantz                                                                 Vital Pharmaceuticals, Inc.                                     $0.00
                                        110 SE 6th Street, Suite 2700, Fort Lauderdale,                               03, 2022
                                        FL 33301
                                                                                                                     Employment Agreement, dated April
1438 Danielson Jean-Baptiste            112 S Sequoia Dr West Palm Beach FL 33409       Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                     08, 2019
                                                                                                                     Employment Agreement, dated
1439 Danny Benabe S                     44247 Kramer Ln Maricopa AZ 85138               Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                     August 01, 2022
                                        Calle Mario Pani #400 Colonia Santa Fe Alcaldia                              CONFIDENTIALITY AND NON-
                                                                                        Vital Pharmaceuticals, Inc.,
1440 Danone de Mexico S.A. de C.V.      Cuajimalpa De Morelos Ciudad de Mexico                                       DISCLOSURE AGREEMENT, dated           $0.00
                                                                                        d/b/a Bang Energy ("Bang")
                                        05348 Mexico                                                                 June 28, 2019
                                                                                                                     DISTRIBUTOR AGREEMENT, dated
1441 Danville Distributing Co.          P.O. Box 11805 Danville VA 24543                Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                     January 23, 2019
                                                                                                                     Exclusive Distributor Agreement,
1442 Danville Distributing Co.          P.O. Box 11805 Danville VA 24543                Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                     dated February 17, 2023
                                                                                                                     CONFIDENTIALITY AND NON-
                                        1121 Northwest 43 Terrace Fort Lauderdale FL
1443 Danyiel Evans                                                                      Vital Pharmaceuticals, Inc. DISCLOSURE AGREEMENT, dated            $0.00
                                        33313
                                                                                                                     November 08, 2021
                                                                                                                      Brand Ambassador (Local Team)
1444                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                      Agreement, dated February 23, 2019
                                                                                                                      Brand Ambassador (National Team)
1445                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                      Agreement, dated July 19, 2018
                                        2040 Northwest 93rd Ave Pembroke Pines FL                                     Employment Agreement, dated July
1446 Dariel Rodriguez Barrera                                                           Vital Pharmaceuticals, Inc.                                        $0.00
                                        33024                                                                         06, 2021
                                                                                                                      Employment Agreement, dated June
1447 Dario Loredo Calderon              2047 North 51St Dr Phoenix AZ 85035             Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                      18, 2019
                                                                                                                      Employment Agreement, dated June
1448 Darnell Begay                      4621 North 19th Ave Phoenix AZ 85015            Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                      08, 2020
                                                                                                                      Employment Agreement, dated
1449 Darryl McClish L                   12811 Segovia Dr Litchfield Park AZ 85340       Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                      September 30, 2021
                                                                                                                      Writer Agreement, dated February
1450 Darryn S. Willoughby, Ph.D.        501 Aspen Incline Drive Hewitt TX 76643         Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                      23, 2009
                                        DSW Nutra-Sciences 501 Aspen Incline Drive                                    Development Agreement, dated
1451 Darryn S. Willoughby, PhD                                                          Vital Pharmaceuticals, Inc.                                        $0.00
                                        Hewitt TX 76643                                                               2011
                                        DSW Nutra-Sciences 501 Aspen Incline Drive                                    Research Agreement, dated March
1452 Darryn S. Willoughby, PhD                                                          Vital Pharmaceuticals, Inc.                                        $0.00
                                        Hewitt TX 76643                                                               02, 2009
                                                                                                                      Employment Agreement, dated
1453 Daryl Lehman Scott                 3442 Hickory Ave Adair IA 50002                 Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                      January 16, 2019
                                        Attn: David Shellito, CEO 100 W 5th Street #4F JHO Intellectual Property      Indemnification and Defense
1454 Dash LLC, dba Royalty Nutrition                                                                                                                       $0.00
                                        Long Beach CA 90802                            Holdings, LLC                  Agreement
                                        Attn: David Shellito, CEO 100 W 5th Street #4F JHO Intellectual Property      Trademark Purchase and Assignment
1455 Dash, LLC, d/b/a Royal Nutrition                                                                                                                   $0.00
                                        Long Beach CA 90802                            Holdings, LLC                  Agreement, dated March 11, 2019
                                 Case 22-17842-PDR                     Doc 1658              Filed 07/14/23 Brand
                                                                                                               Page    190select
                                                                                                                  ambassador of 279
                                                                                                                                 team
1456                                                                                      Vital Pharmaceuticals, Inc.   Agreement, dated September 08,
                                                                                                                        2017
                                                                                                                        Affiliate Member Agreement, dated
1457                                                                                      Quash Seltzer, LLC
                                                                                                                        September 07, 2021
                                                                                                                        Employment Agreement, dated April
1458 David Aguilar Christopher           304 East Beth Dr Phoenix AZ 85042                Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                        02, 2018
                                         1292 Northwest 171St Terrace Pembroke Pines                                    Employment Agreement, dated
1459 David Andrade                                                                   Vital Pharmaceuticals, Inc.                                            $0.00
                                         FL 33028                                                                       February 03, 2020
                                                                                                                        Elite Team Agreement, dated January
1460                                                                                      Vital Pharmaceuticals, Inc.
                                                                                                                        06, 2018
                                                                                                                        Employment Agreement, dated
1461 David Burgess A                     408 Tracy Cir Nokomis FL 34275                   Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                        August 15, 2022
                                         21550 Box Springs Rd 2062 Moreno Valley CA                                     Employment Agreement, dated
1462 David Buschman Brian                                                           Vital Pharmaceuticals, Inc.                                             $0.00
                                         92557                                                                          March 16, 2020
                                                                                                                        Employment Agreement, dated
1463 David Cervantes Jr                  5204 South 85th West Ave Tulsa OK 74107          Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                        December 13, 2021
                                         1945 S Ocean Dr Apt 605 Hallandale Beach FL                                    Employment Agreement, dated
1464 David Fridkin                                                                        Vital Pharmaceuticals, Inc.                                       $0.00
                                         33009                                                                          February 21, 2022
                                                                                                                        Employment Agreement, dated
1465 David Gil A                         17901 NW 48 Ct Miami Gardens FL 33055            Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                        February 03, 2020
                                                                                                                        Employment Agreement, dated
1466 David Guevara Adrian                6570 San Homero Way Buena Park CA 90620          Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                        September 03, 2019
                                         933 Apollo Beach Blvd Unit 103 Apollo Beach                                    Employment Agreement, dated July
1467 David James                                                                          Vital Pharmaceuticals, Inc.                                       $0.00
                                         FL 33572                                                                       26, 2021
                                                                                                                        Employment Agreement, dated
1468 David Jordan L                      483 N Lakeview Dr Lake Helen FL 32744            Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                        January 13, 2020
                                         77 Florence Street Suite 107 Chestnut Hill MA                                  Expert Engagement Agreement,
1469 David M. Benjamin, PhD                                                               Vital Pharmaceuticals, Inc.                                       $0.00
                                         02467                                                                          dated April 26, 2011
                                                                                                                        Employment Agreement, dated
1470 David Mauga                         4447 West Earll Dr Phoenix AZ 85031              Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                        November 18, 2019
                                                                                                                        Employment Agreement, dated July
1471 David Morelock Ray                  6319 Mill Grove Rd Indian Trail NC 28079         Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                        01, 2019
                                                                                                                        Employment Agreement, dated June
1472 David Nebieridze                    220 NW 48th St Miami FL 33127                    Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                        01, 2021
                                                                                                                        Employment Agreement, dated May
1473 David Nemes Averaham                1134 East Caroline Ct Ontario CA 91764           Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                        04, 2020
                                                                                                                        Select Agreement, dated December
1474                                                                                      Quash Seltzer, LLC
                                                                                                                        01, 2021
                                                                                                                        Employment Agreement, dated
1475 David Podkulski John                1613 Saunders Ave Saint Paul MN 55116            Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                        March 09, 2020
                                         1000 Sellers Dr Ne Apt 1 Albuquerque NM                                        Employment Agreement, dated
1476 David Polanco Dominic                                                                Vital Pharmaceuticals, Inc.                                       $0.00
                                         87112-5168                                                                     March 02, 2020
                                         1001 Northwest 94th Terrace Plantation FL                                      Employment Agreement, dated May
1477 David Power Michael                                                                  Vital Pharmaceuticals, Inc.                                       $0.00
                                         33322                                                                          22, 2019
                                         1813 Hideaway Place Apt 101 Corona CA                                          Employment Agreement, dated
1478 David Rangel                                                                         Vital Pharmaceuticals, Inc.                                       $0.00
                                         92881                                                                          January 27, 2020
                                         c/o Smith & Green Law, PLLC, 3101 N. Central                                   Mediation Settlement Agreement,
1479 David Serrano Ramirez                                                                Vital Pharmaceuticals, Inc.                                       $0.00
                                         Avenue, Suite 690, Phoenix AZ, 85012                                           dated August 08, 2022
                                         c/o Smith & Green Law, PLLC, 3101 N. Central                                   Closure Letter, dated August 11,
1480 David Serrano Ramirez                                                                Vital Pharmaceuticals, Inc.                                       $0.00
                                         Avenue, Suite 690, Phoenix AZ, 85012                                           2022
                                         Attn: David Shellito, CEO 100 W 5th Street #4F   JHO Intellectual Property     Indemnification and Defense
1481 David Shellito                                                                                                                                         $0.00
                                         Long Beach CA 90802                              Holdings, LLC                 Agreement
                                                                                                                        Employment Agreement, dated
1482 David Villalobos Esi                707 West Saint Kateri Ave Phoenix AZ 85041       Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                        February 03, 2020
                                                                                                                        Employment Agreement, dated
1483 David Whaley Lee                    8781 Wiles Rd Apt 201 Coral Springs FL 33067     Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                        November 15, 2021
                                         Attn: Marc Davis 1252 Elm Street Suite 23                                      Contract Broker Commission
1484 Davis, Giard, & Associates, Inc.                                                     Vital Pharmaceuticals, Inc.                                       $0.00
                                         West Springfield MA 01809                                                      Agreement, dated October 05, 2015
                                         11875 West Mcdowell Rd Apt 2138 Avondale                                       Employment Agreement, dated
1485 Davontay Goode D                                                                     Vital Pharmaceuticals, Inc.                                       $0.00
                                         AZ 85392                                                                       August 23, 2021
                                         3756 Plantation Oaks Blvd Orange Park FL                                       Employment Agreement, dated June
1486 Daxin Lau-Huang                                                                      Vital Pharmaceuticals, Inc.                                       $0.00
                                         32065                                                                          20, 2022
                                                                                                                        Employment Agreement, dated
1487 Dayana Abdulhay                     2100 Southwest 152nd Place Miami FL 33185        Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                        August 29, 2022
                                                                                                                        Brand Ambassador (Select Team)
1488                                                                                      Vital Pharmaceuticals, Inc.
                                                                                                                        Agreement, dated February 23, 2017
       Dayton Heidelberg Distributing Co.,                                                                              Exclusive Distribution Agreement,
1489                                       3601 Dryden Rd, Moraine, OH 45439              Vital Pharmaceuticals, Inc.                                        $0.00
       LLC                                                                                                              dated July 17, 2022
                                                                                                                        Exclusive Distribution Agreement,
1490 Daytona Beverages LLC               2275 Mason Ave Daytona Beach FL 32117            Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                        dated February 02, 2023
                                         155 NE 100th Street Suite 205 Seattle WA                                       Engagement of DBS Law Agreement,
1491 DBS Law                                                                              Vital Pharmaceuticals, Inc.                                    $0.00
                                         98125                                                                          dated February 15, 2019
                                  Case 22-17842-PDR                        Doc 1658           Filed 07/14/23 Exclusive
                                                                                                                Page      191 ofModeling
                                                                                                                       Promotional 279
1492                                                                                       Vital Pharmaceuticals, Inc.
                                                                                                                        Agreement, dated March 05, 2018
                                                                                                                        Tax Consulting Engagement Letter,
1493 De Jure Praedae C.V.                    177 Lewis Ave Brooklyn NY 11221               Vital Pharmaceuticals, Inc.                                    $0.00
                                                                                                                        dated May 25, 2017
                                                                                                                        Distributor Agreement, dated
1494 Dean Distributing Inc                   1215 Ontario Rd Green Bay WI 54311            Vital Pharmaceuticals, Inc.                                    $0.00
                                                                                                                        October 02, 2018
                                                                                                                        Exclusive Distribution Agreement,
1495 Dean Distributing, Inc.                 1215 Ontario Rd Green Bay WI 54311-8009       Quash Seltzer, LLC                                             $0.00
                                                                                                                        dated February 17, 2021
                                                                                                                        Affiliate Member Agreement, dated
1496                                                                                       Quash Seltzer, LLC
                                                                                                                        April 14, 2021
                                                                                                                        Ambassador (National Team)
1497                                                                                       Vital Pharmaceuticals, Inc.
                                                                                                                        Agreement, dated August 06, 2018
                                                                                                                        Employment Agreement, dated June
1498 Debora Duarte Jaye                      228 Bent Creek Dr Hutto TX 78634              Vital Pharmaceuticals, Inc.                                    $0.00
                                                                                                                        07, 2021
                                                                                                                        Select Agreement, dated November
1499                                                                                       Quash Seltzer, LLC
                                                                                                                        01, 2021
                                             Brand Name Resale Branch Attn: Learr (Paula                                Solicitation/Contract/Order for
1500 Defense Commisary Branch                Damron) 1300 E Avenue Fort Lee VA 23801-      Vital Pharmaceuticals, Inc. Commercial Items), dated September $0.00
                                             1800                                                                       03, 2019
                                                                                                                        CONFIDENTIALITY AND NON-
                                                                                           Vital Pharmaceuticals, Inc.,
1501 Deibel Laboratories of FL, Inc.         1315A NW 53rd Ave Gainesville FL 32609                                     DISCLOSURE AGREEMENT, dated       $0.00
                                                                                           d/b/a Bang Energy ("Bang")
                                                                                                                        August 31, 2021
                                                                                           Vital Pharmaceuticals, Inc.,   Confidentiality & Non-Circumvention
1502 Deibel Laboratories of Florida, Inc.    1315A NW 53rd Avenue Gainesville FL 32609                                                                        $0.00
                                                                                           d/b/a VPX                      Agreement, dated January 09, 2018
                                                                                                                          Exclusive Promotional Modeling
1503                                                                                       Vital Pharmaceuticals, Inc.
                                                                                                                          Agreement, dated October 23, 2014
                                         Attn: Mr. Robert Stewart 26002 East River                                        Beverage Agreement, dated February
1504 Del Sierra Beverage, LLC                                                            Vital Pharmaceuticals, Inc.                                         $0.00
                                         Road Escalon CA 95320                                                            04, 2019
                                         David Edwards 510 1st Street West Williston                                      DISTRIBUTOR AGREEMENT, dated
1505 Delaney Distributors, Inc.                                                          Vital Pharmaceuticals, Inc.                                         $0.00
                                         ND 58801                                                                         September 21, 2018
                                         4307 Collection Center Dr. / Chicago IL 60693 /
1506 Dell Financial Services                                                             Vital Pharmaceuticals, Inc.      Product/Service Agreement          $0.00
                                         US
     Deloitte Restructuring Inc. Trustee Teneo, 280 Park Ave 4th Floor New York, NY                                       Settlement Agreement and Mutual
1507                                                                                     Vital Pharmaceuticals, Inc.                                         $0.00
     of The Estate of Canusa Products    10017                                                                            Release, dated April 21, 2014
                                                                                                                          COOLER AGREEMENT, dated
1508 Delray Chevron #202682                  1909 West Atlantic Ave Delray Beach FL 33444 Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                          February 03, 2016
                                             Attn: Christopher Dunn & Mathew Brown 747
1509 Delta Pacific Beverage Company LLC                                                 Vital Pharmaceuticals, Inc.       Distributor Agreement              $0.00
                                             Wilshire Avenue, Bldg. A Stockton CA 95203
                                             Christopher Dunn
       Delta Pacific Beverage Company,                                                                                    DISTRIBUTOR AGREEMENT, dated
1510                                         Mathew Brown 747 Wilshire Avenue Bldg. A      Vital Pharmaceuticals, Inc.                                       $0.00
       LLC                                                                                                                2012
                                             Stockton CA 95203
                                                                                                                        Distributor Agreement, dated June
1511 Delta Sierra Beverage, LLC              3700 Finch Road Modesto CA 95357              Vital Pharmaceuticals, Inc.                                    $0.00
                                                                                                                        13, 2018
                                                                                                                        Employment Agreement, dated
1512 Demi Nguyen Haimy                       12323 LuSuiterleaf Dr Cypress TX 77429        Vital Pharmaceuticals, Inc.                                    $0.00
                                                                                                                        September 13, 2021
                                                                                                                        Brand Ambassador Agreement, dated
1513                                                                                       Vital Pharmaceuticals, Inc.
                                                                                                                        November 02, 2021
                                                                                                                        Brand Ambassador (Local Team)
1514                                                                                       Vital Pharmaceuticals, Inc. Agreement, dated December 15,
                                                                                                                        2019
                                                                                                                        Employment Agreement, dated May
1515 Dennie Stacy Shane                      3397 Loblolly Dr Sophia NC 27350              Vital Pharmaceuticals, Inc.                                    $0.00
                                                                                                                        29, 2019
                                             10700 City Center Blvd Apt 5219 Pembroke                                   Employment Agreement, dated July
1516 Dennis Ruiz                                                                           Vital Pharmaceuticals, Inc.                                    $0.00
                                             Pines FL 33025                                                             13, 2011
                                             1101 North Gilbert Rd Apt 85234 Gilbert AZ                                 Employment Agreement, dated
1517 Dennis Valdez                                                                         Vital Pharmaceuticals, Inc.                                    $0.00
                                             85234                                                                      September 23, 2019
                                                                                                                        Employment Agreement, dated
1518 Deon Mosley A                           11 South 12th St Apt 2116 Phoenix AZ 85034    Vital Pharmaceuticals, Inc.                                    $0.00
                                                                                                                        March 21, 2022
                                                                                                                        Employment Agreement, dated
1519 Deonta Coley D                          94 North 174th Dr Goodyear AZ 85338           Vital Pharmaceuticals, Inc.                                    $0.00
                                                                                                                        November 05, 2018
                                                                                                                        Settlement Agreement, dated
1520 Derek Andrew, Inc.                      901 104th Avenue Bellevue WA 98004            Vital Pharmaceuticals, Inc.                                    $0.00
                                                                                                                        September 09, 2008
                                                                                                                        Employment Agreement, dated
1521 Derek Simon                             11122 Topeka Place Hollywood FL 33026         Vital Pharmaceuticals, Inc.                                    $0.00
                                                                                                                        October 22, 2018
                                                                                                                        Employment Agreement, dated
1522 Derius King Jordan                      9229 Harbor Stream Ave Las Vegas NV 89149     Vital Pharmaceuticals, Inc.                                    $0.00
                                                                                                                        November 29, 2021
                                                                                                                        CONFIDENTIALITY AND NON-
                                             3773 Howard Hughes Parkway Suite 500S Las     Vital Pharmaceuticals, Inc.,
1523 Desert Sand Ventures, LLC                                                                                          DISCLOSURE AGREEMENT, dated       $0.00
                                             Vegas NV 89169                                d/b/a Bang Energy ("Bang")
                                                                                                                        January 25, 2022
                                                                                                                        Employment Agreement, dated
1524 Desiderio Lora Jr                       2425 Victory Ave Unit 509 Dallas TX 75219     Vital Pharmaceuticals, Inc.                                    $0.00
                                                                                                                        November 10, 2020
                                                                                                                        Revised Conception Engineering
                                             Attn: Sebastian Vega - Partner 8235 Forsyth
1525 Design Group Facility Solutions, Inc.                                                 Vital Pharmaceuticals, Inc. Design & Master Planning Services  $0.00
                                             Blvd Suite 900 St Louis MO 63105
                                                                                                                        Proposal, dated April 16, 2019
                                   Case 11854
                                        22-17842-PDR                 Doc 1658
                                              Southwest 13th St Apt 121-11854                      Filed 07/14/23 Employment
                                                                                                                    Page 192       of 279
                                                                                                                             Agreement, dated
1526 Destiny Alvarez M                                                                          Vital Pharmaceuticals, Inc.                                        $0.00
                                               Pembroke Pines FL 33025                                                         January 03, 2022
                                                                                                                               Brand Ambassador National Team
1527                                                                                            Vital Pharmaceuticals, Inc.
                                                                                                                               Agreement, dated March 29, 2017
                                                                                                                               Employment Agreement, dated
1528 Devrol Palmer                             8441 SW 39 Ct Davie FL 33328                     Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                               November 30, 2020
                                                                                                                               Employment Agreement, dated June
1529 Devyn O'Brien Ashley                      6827 S St Andrews Way Gilbert AZ 85298           Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                               26, 2018
                                                                                                                               Employment Agreement, dated July
1530 Dexter Jackson James-Ajani                15548 Valley High Ln Victorville CA 92394        Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                               30, 2007
                                               Dennis Silva Jr 55 Gerber Drive Tolland CT                                      DISTRIBUTOR AGREEMENT, dated
1531 DF OPCO LLC dba Dari Farms                                                                 Vital Pharmaceuticals, Inc.                                        $0.00
                                               06084                                                                           October 24, 2018
                                                                                                                               Release and Indemnification
                                               4630 S Kirkman Road Unit 368 Orlando FL
1532 DH Biosciences LLC                                                                         Vital Pharmaceuticals, Inc.    Agreement, dated November 17,       $0.00
                                               32811
                                                                                                                               2016
                                                                                                                               CONFIDENTIALITY AND NON-
                                                                                                Vital Pharmaceuticals, Inc.,
1533 Diamond Beverages Oy                      Ayritie 8 A Vanta Uusimaa 01510 Finland                                         DISCLOSURE AGREEMENT, dated         $0.00
                                                                                                d/b/a Bang Energy ("Bang")
                                                                                                                               August 11, 2020
                                                                                                                               Model Release and Affidavit, dated
1534                                                                                            Vital Pharmaceuticals, Inc.
                                                                                                                               April 29, 2011
                                                                                                                               Elite Team Agreement, dated
1535                                                                                            Vital Pharmaceuticals, Inc.
                                                                                                                               October 01, 2018
                                                                                                                               Employment Agreement, dated
1536 Diana Ocampo                              8818 NW 109 Terr Hialeah Gardens FL 33018        Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                               August 19, 2019
                                               Attn: Legal Department 1199 NASA Parkway                                        Service and License Agreement,
1537 DiCentral Corporation                                                                      Vital Pharmaceuticals, Inc.                                        $0.00
                                               Houston TX 77058                                                                dated June 05, 2014
                                               Mark Dick 1303 7th Street N.E. Grand Rapids                                     DISTRIBUTOR AGREEMENT, dated
1538 Dick Distributing Co. Inc.                                                                 Vital Pharmaceuticals, Inc.                                        $0.00
                                               MN 55744                                                                        August 20, 2018
                                                                                                                               CONFIDENTIALITY AND NON-
                                                                                                Vital Pharmaceuticals, Inc.,
1539 Dieck & Co. OHG                           PorschestraSe 4 Huckelhoven 41836 Germany                                       DISCLOSURE AGREEMENT, dated         $0.00
                                                                                                d/b/a Bang Energy ("Bang")
                                                                                                                               September 09, 2019
                                                                                                                               Employment Agreement, dated June
1540 Diego Corpus Cordova Antonio              830 S Dobson Rd #95 Mesa AZ 85202                Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                               06, 2022
                                                                                                                               CONFIDENTIALITY AND NON-
                                               25255 Cabot Road Suite 116 Laguna Hills CA       Vital Pharmaceuticals, Inc.,
1541 DigitizeYourBrand Inc.                                                                                                    DISCLOSURE AGREEMENT, dated         $0.00
                                               92653                                            d/b/a Bang Energy ("Bang")
                                                                                                                               October 20, 2019
                                                                                                                               CONFIDENTIALITY AND NON-
                                                                                                Vital Pharmaceuticals, Inc.,
1542 Direct Connect Logistics                  314 West Michigan St Indianapolis IN 46202                                      DISCLOSURE AGREEMENT, dated July $0.00
                                                                                                d/b/a Bang Energy ("Bang")
                                                                                                                               16, 2021
                                                                                                                               CONFIDENTIALITY AND NON-
                                               8201 East Riverside Drive Suite 650 Austin TX    Vital Pharmaceuticals, Inc.,
1543 Disruption Labs and its affiliates, Inc                                                                                   DISCLOSURE AGREEMENT, dated         $0.00
                                               78744                                            d/b/a Bang Energy ("Bang")
                                                                                                                               August 24, 2021
       Disruption Labs and its affiliates,     8201 East Riverside Drive Suite 650 Austin TX    Vital Pharmaceuticals, Inc.,   Confidentiality & Non-Disclosure
1544                                                                                                                                                               $0.00
       Inc.                                    78744                                            d/b/a Bang Energy              Agreement, dated August 24, 2021
                                                                                                                               Employment Agreement, dated
1545 Dixi Andrade Ortega Carolina              3881 West State Rd 84 Apt 205 Davie FL 33312 Vital Pharmaceuticals, Inc.                                            $0.00
                                                                                                                               March 18, 2019
                                               David Ji, 14241 Firestone Blvd La Mirada CA                                     Common Legal Interest and
1546 DNP International Co., Inc.                                                                Vital Pharmaceuticals, Inc.                                        $0.00
                                               90638 dji@dnpint.com                                                            Information Sharing Agreement
                                                                                                                               Manufacturing and Supply
                                               400 High Point Road, Suite 100, Cartersvilla, GA
1547 Doehler USA Inc.                                                                           Vital Pharmaceuticals, Inc.    Agreement, dated December 22,       $0.00
                                               30120
                                                                                                                               2022
                                               Attn: Pat Doldo PO Box 115 Watertown NY                                         Exclusive Distribution Agreement,
1548 Doldo Brothers, Inc.                                                                       Quash Seltzer, LLC                                                 $0.00
                                               13601                                                                           dated March 31, 2021
                                               Darrin Fidler 500 Industrial Lane Worthington                                   DISTRIBUTOR AGREEMENT, dated
1549 Doll Distributing, LLC                                                                     Vital Pharmaceuticals, Inc.                                        $0.00
                                               MN 56187                                                                        August 24, 2018
                                                                                                                               Employment Agreement, dated
1550 Domingo Dalina Melo                       2544 East La Jolla Dr Tempe AZ 85282             Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                               August 05, 2019
                                                                                                                               Employment Agreement, dated
1551 Dominque Fenton Anthony                   2280 Gulfstream Dr Miramar FL 33023              Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                               March 28, 2022
     Don Lee Distirbutor, Inc., dba West       Attn: Kyle Klopcic 5400 Patterson Ave SE Grand                                  Exclusive Distribution Agreement,
1552                                                                                          Vital Pharmaceuticals, Inc.                                          $0.00
     Side Beer Distributing                    Rapids MI 49512                                                                 dated January 29, 2021
     Don Lee Distributor, Inc., dba West       Attn: Kyle Klopcic 5400 Patterson Ave SE Grand                                  Exclusive Distribution Agreement,
1553                                                                                          Quash Seltzer, LLC                                                   $0.00
     Side Beer Distributing                    Rapids MI 49512                                                                 dated January 29, 2021
     Don Lee Distributor, Inc., dba West       Attn: Kyle Klopcic 5400 Patterson Ave SE Grand                                  Indemnity Agreement, dated June 21,
1554                                                                                          Quash Seltzer, LLC                                                   $0.00
     Side Beer Distributing                    Rapids MI 49512                                                                 2021
                                               2614 Caralea Valley Dr North Carolina NC                                        Employment Agreement, dated
1555 Don Xiong Lee                                                                            Vital Pharmaceuticals, Inc.                                          $0.00
                                               28027                                                                           November 06, 2008
                                                                                                                               Distributor Agreement, dated
1556 Donaghy Sales LLC                         2363 S. Cedar Ave. Fresno CA 93725               Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                               February 04, 2019
                                               Ryan Donaghy 2363 S. Cedar Avenue Fresno CA                                     DISTRIBUTOR AGREEMENT, dated
1557 Donaghy Sales, LLC                                                                    Vital Pharmaceuticals, Inc.                                             $0.00
                                               93725                                                                           January 31, 2018
1558                                                                                            Vital Pharmaceuticals, Inc.    Elite Agreement, dated June 20, 2019
                                                                                                                               Employment Agreement, dated
1559 Donald Rodriguez R                        8913 West Gibson Ln Tolleson AZ 85353            Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                               August 30, 2021
       Dongguan Panther SportingCase      22-17842-PDR
                                    Goods A615                          DocTai1658
                                                Hongxi Center No. 2 Nancheng      Yuk VitalFiled  07/14/23
                                                                                            Pharmaceuticals,          Page 193
                                                                                                             Inc., Confidentiality        of 279
                                                                                                                                   & Non-Disclosure
1560                                                                                                                                                        $0.00
       Co., Ltd.                          Road Dongguan Guangdong China               d/b/a Bang Energy            Agreement
       Dongguan Senlinbao hat&cap         3rd Road of Xihu Shilong Town Dongguan City Vital Pharmaceuticals, Inc., Confidentiality & Non-Disclosure
1561                                                                                                                                                        $0.00
       Industrial Co., Ltd.               Guangdong Province China                    d/b/a Bang Energy            Agreement
                                          1954 Hunters Ridge Dr Bloomfield Hills FL                                Employment Agreement, dated
1562   Donovan Dengler Richard                                                        Vital Pharmaceuticals, Inc.                                           $0.00
                                          48304                                                                    March 21, 2022
                                                                                                                   Employment Agreement, dated
1563   Dorian Sawyer M                    3021 NW 187 St Miami Gardens FL 33056       Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                   January 03, 2017
                                                                                                                   Letter of Intent for the Purchase of
       Dorothy Dibiase Family Limited     Attn: Mr. Paul Dibiase PO Box 780 Lynnfield
1564                                                                                  Vital Pharmaceuticals, Inc. Flaming Road Land, dated October          $0.00
       Partnership                        MA 01940
                                                                                                                   16, 2018
                                          c/o Metavantage Sciences, Inc. 4100 Forest                               Writer Agreement, dated February
1565   Doug Kalman, Ph.D.                                                             Vital Pharmaceuticals, Inc.                                           $0.00
                                          Drive Weston FL 33332                                                    17, 2009
                                                                                                                   Employment Agreement, dated
1566   Douglas Bradley Jr. C              1705 Powell Mill Rd Spartanburg SC 29301    Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                   November 18, 2019
                                                                                                                   Employment Agreement, dated
1567   Douglas Gibson II Daniel           1430 Northwest 196th Terrace Miami FL 33169 Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                   February 03, 2020
                                                                                                                   Employment Agreement, dated
1568   Douglas Smotherman Dwight          3028 Jacob Dr Wylie TX 75098                Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                   November 18, 2019
                                                                                      Vital Pharmaceuticals, Inc.,
1569   Dove Wear                          302 SW 4th Street Ct. Dania FL 33004                                     Confidentiality Agreement                $0.00
                                                                                      DBA VPX/Redline
                                                                                      Vital Pharmaceuticals, Inc., Confidentiality Agreement, dated
1570   DPS Holdings, Inc.                 5301 Legacy Drive Plano TX 75024                                                                                  $0.00
                                                                                      d/b/a Redline/VPX            August 04, 2017
                                                                                                                   Confidentiality & Non-Disclosure
       Dr Signs Express, LLC, d/b/a                                                   Vital Pharmaceuticals, Inc.,
1571                                      40 N.W. 3rd Street Suite 101 Miami FL 33128                              Agreement, dated November 20,            $0.00
       FASTSIGNS DAVIE                                                                d/b/a Bang Energy
                                                                                                                   2019
                                                                                                                   CONFIDENTIALITY AND NON-
                                          DINOGMI University of Genova Largo Daneo 3 Vital Pharmaceuticals, Inc.,
1572   Dr. Maurizio Balestrino                                                                                     DISCLOSURE AGREEMENT, dated              $0.00
                                          Genova IT                                   d/b/a Bang Energy
                                                                                                                   January 01, 2019
                                                                                                                   DISTRIBUTOR AGREEMENT, dated
1573   Dr. Pepper Snapple Group           5301 Legacy Drive Plano TX 75024            Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                   2008
                                                                                      Vital Pharmaceuticals, Inc. Confidentiality Agreement, dated
1574   Dr. Pepper Snapple Group           6301 Legacy Drive Plano TX 75024                                                                                  $0.00
                                                                                      dba VPX/Redline              August 30, 2018
                                                                                                                   Athlete Endorsement Agreement,
1575                                                                                  Vital Pharmaceuticals, Inc.
                                                                                                                   dated June 01, 2016
       Drink King Distributing Company                                                                             Distributor Agreement, dated
1576                                      120 Fieldcrest Ave Edison NJ 08837          Vital Pharmaceuticals, Inc.                                           $0.00
       Inc.                                                                                                        November 12, 2018
                                          Officepods 19 Unit 1 Cranford Business Centre Vital Pharmaceuticals, Inc.,    Confidentiality & Non-Disclosure
1577 Drinks Adviser Limited                                                                                                                                $0.00
                                          Stillorgan Road Dublin 4 D04X6H0 Ireland      d/b/a Bang Energy               Agreement, dated February 14, 2019
                                                                                         Vital Pharmaceuticals, Inc., Confidentiality & Non-Disclosure
1578 Drudesk, LLC                         34G Bozhenko Str. Lutsk City 4301 Ukraine                                                                         $0.00
                                                                                         d/b/a Bang Energy            Agreement, dated June 15, 2020
                                                                                                                      DISTRIBUTOR AGREEMENT, dated
1579 D-S Beverages, Inc.                  201 17th St. North Moorhead MN 56560           Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                      July 31, 2018
                                          5933 NE Win Sievers Dr #105 Portland OR        Vital Pharmaceuticals, Inc., CONFIDENTIALITY AND NON-
1580 D-Trans LLC                                                                                                                                            $0.00
                                          97220                                          d/b/a Bang Energy ("Bang") DISCLOSURE AGREEMENT
                                          5573 Pacific Blvd Apt 3515 Boca Raton FL                                    Employment Agreement, dated May
1581 Duke Machaka O                                                                      Vital Pharmaceuticals, Inc.                                        $0.00
                                          33433                                                                       04, 2020
                                          Attn: Jimmy Haughie 1448-2 Speonk Riverhead
1582 Dunne Beverage Distributors, Inc.                                                Vital Pharmaceuticals, Inc.       Distributor Agreement, dated 2008   $0.00
                                          Rd Speonk NY 11972
                                                                                                                  Employment Agreement, dated
1583 Dusten Welch B                       10700 2nd St Mansfield TX 76063                Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                  October 05, 2020
                                                                                                                  Employment Agreement, dated
1584 Dustin Loftman Lee                   1006 Hansen St West Palm Beach FL 33405    Vital Pharmaceuticals, Inc.                                            $0.00
                                                                                                                  December 31, 2018
                                                                                                                  Employment Agreement, dated
1585 Dustin Rosser C                      265 Moore St Trion GA 30753                Vital Pharmaceuticals, Inc.                                            $0.00
                                                                                                                  February 11, 2019
                                                                                                                  Distributor Agreement, dated
1586 Dutchess Beer Distributors Inc.      5 Laurel Street Poughkeepsie NY 12601      Vital Pharmaceuticals, Inc.                                            $0.00
                                                                                                                  December 19, 2018
                                                                                                                  Employment Agreement, dated
1587 Dwayne Rhymer Olandzo                10725 Sleigh Bell Ln Charlotte NC 28216    Vital Pharmaceuticals, Inc.                                            $0.00
                                                                                                                  August 08, 2022
                                                                                                                  Exclusive Promotional Modeling
1588                                                                                 Vital Pharmaceuticals, Inc.
                                                                                                                  Agreement, dated March 10, 2016
                                                                                                                  Employment Agreement, dated
1589 Dylan Gulledge Reid                  6234 Chamar Cir Kannapolis NC 28081        Vital Pharmaceuticals, Inc.                                            $0.00
                                                                                                                  December 13, 2021
                                          15501 Bruce B Downs Blvd Apt 3323 Tampa FL                              Employment Agreement, dated
1590 Dylan Watson Anthony                                                            Vital Pharmaceuticals, Inc.                                            $0.00
                                          33647                                                                   February 17, 2020
                                                                                                                  Security Service Agreement , dated
1591 Dynamic Integrated Security, Inc.    600 NORTH PARK DR. Westin FL 33326         Vital Pharmaceuticals, Inc.                                            $0.00
                                                                                                                  August 01, 2019
                                                                                                                  CONFIDENTIALITY AND NON-
                                                                                     Vital Pharmaceuticals, Inc.,
1592 D-Zingers Manufactures, Inc.         10701 Northwest 107th Ct Medley FL 33178                                DISCLOSURE AGREEMENT, dated               $0.00
                                                                                     d/b/a Bang Energy ("Bang")
                                                                                                                  August 20, 2020
                                          Todd Egizii 1030 North Grand Ave West                                   DISTRIBUTOR AGREEMENT, dated
1593 E&F Distributing Co.                                                            Vital Pharmaceuticals, Inc.                                            $0.00
                                          Springfield IL 62702                                                    March 11, 2011
                                          Attn: Dan Dorsey Jr 1043 County Route 25                                Distributor Agreement, dated
1594 Eagle Beverage Company                                                          Vital Pharmaceuticals, Inc.                                            $0.00
                                          Oswego NY 13126                                                         October 26, 2018
                                  Case Attn:
                                       22-17842-PDR                 Doc
                                             Dove Irvin 1011 Broadwater     1658
                                                                        Dr Great                 Filed 07/14/23 Exclusive
                                                                                                                   Page       194 of
                                                                                                                          Distribution    279
                                                                                                                                       Agreement,
1595 Eagle Beverage, Inc.                                                                     Quash Seltzer, LLC                                                 $0.00
                                         Falls MT 59405                                                                      dated November 12, 2021
                                         Michael Craig 310 Radford Place Knoxville TN                                        DISTRIBUTOR AGREEMENT, dated
1596 Eagle Distributing Co.                                                                   Vital Pharmaceuticals, Inc.                                        $0.00
                                         37917                                                                               December 13, 2017
                                         Attn: Bruce V. Nelsen 1100 South Bud Blvd                                           Distributor Agreement, dated June
1597 Eagle Distributing of Nebraska, LLC                                                      Vital Pharmaceuticals, Inc.                                        $0.00
                                         Fremont NE 68025                                                                    14, 2019
                                                                                                                             Exclusive Distribution Agreement,
1598 Eagle Distributing of Texarkana, Inc. 310 Radford Pl Knoxville TN 37917-4936             Quash Seltzer, LLC                                                 $0.00
                                                                                                                             dated February 23, 2021
                                              Steven C. Economos 6205-A Best Friend Road                                     DISTRIBUTOR AGREEMENT, dated
1599 Eagle Rock Distributing Company                                                          Vital Pharmaceuticals, Inc.                                        $0.00
                                              Norcross GA 30071                                                              August 08, 2018
                                                                                                                             Food & Beverage Agreement, dated
1600 Ecolab                                   1 Ecolab Place EGH/6, St. Paul, MN 55102        Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                             April 19, 2023
                                                                                              Vital Pharmaceuticals, Inc.,   Confidentiality & Non-Disclosure
1601 Ecolab Inc.                              1 Ecolab Place St. Paul MN 55102                                                                                   $0.00
                                                                                              d/b/a Bang Energy              Agreement, dated October 15, 2019
     Econocomm Inc., d/b/a Mobile                                                             Vital Pharmaceuticals, Inc.,   Confidentiality & Non-Disclosure
1602                                          3733 NW 16th St. Lauderhill FL 33316                                                                               $0.00
     Communications                                                                           d/b/a Bang Energy              Agreement
                                                                                                                             EXCLUSIVE DISTRIBUTION
1603 Ed F. Davis, Inc.                        2310 Ed F Davis Rd Durant OK 74701              Vital Pharmaceuticals, Inc.    AGREEMENT, dated February 19,       $0.00
                                                                                                                             2021
                                                                                                                             Distributor Agreement, dated
1604 Ed F. Davis, Inc.                        2600 Westside Drive Durant OK 74701             Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                             September 27, 2016
                                                                                                                             Exclusive Distribution Agreement,
1605 ED F. Davis, Inc.                        2600 Westside Drive Durant OK 74701             Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                             dated February 01, 2021
                                                                                                                             Employment Agreement, dated
1606 Edgar Coin Jr. L                         1848 East Turney Ave Phoenix AZ 85016           Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                             October 03, 2022
                                                                                                                             Employment Agreement, dated
1607 Edgar Fernandez                          921 N 17 Ct 929 Hollywood FL 33020              Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                             December 03, 2020
                                                                                                                             Trainer Services Agreement, dated
1608                                                                                          Quash Seltzer, LLC
                                                                                                                             December 07, 2021
                                                                                                                             Employment Agreement, dated
1609 Edgar Martinez                           1606 West Myrtle Ave Visalia CA 93277           Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                             March 09, 2020
                                                                                                                             Employment Agreement, dated
1610 Edgar Soto German                        286 E Raleigh Dr Chandler AZ 85286              Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                             January 06, 2020
                                              31 Bellows Road PO Box 116 Raynham MA                                          Placement Services Agreement,
1611 EDI Specialists, Inc. dba EDI Staffing                                                   Vital Pharmaceuticals, Inc.                                        $0.00
                                              02767                                                                          dated December 11, 2018
                                              Angela Mack 3576 California Road Orchard                                       DISTRIBUTOR AGREEMENT, dated
1612 EDM Distributors, LLC                                                                    Vital Pharmaceuticals, Inc.                                        $0.00
                                              Park NY 14127                                                                  October 27, 2018
                                                                                                                             Employment Agreement, dated
1613 Eduardo Ruiz                             12537 West Washington St Avondale AZ 85323 Vital Pharmaceuticals, Inc.                                             $0.00
                                                                                                                             December 06, 2021
                                              372 Northeast 36th Terrace Homestead FL                                        Employment Agreement, dated
1614 Edward Corsino                                                                           Vital Pharmaceuticals, Inc.                                        $0.00
                                              33033                                                                          January 25, 2022
                                                                                                                             Employment Agreement, dated
1615 Edward Diaz                              9444 Woodman Ave Arleta CA 91331                Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                             September 28, 2020
                                                                                                                             Employment Agreement, dated July
1616 Edward Smith Allen                       904 Northeast 10th Ln Cape Coral FL 33909       Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                             15, 2019
                                                                                                                             Employment Agreement, dated
1617 Edward Suggs M                           9870 Bellasera Cir Myrtle Beach SC 29579        Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                             October 16, 2018
                                                                                                                             Amendment to Exclusive Distribution
1618 Edward Utley Jr., Inc.                   P.O. Box 382 Henderson KY 42420                 Quash Seltzer, LLC                                                 $0.00
                                                                                                                             Agreement, dated January 21, 2022
                                                                                                                             EXCLUSIVE DISTRIBUTION
1619 Edward Utley Jr., Inc.                   P.O. Box 382 Henderson KY 42420                 Quash Seltzer, LLC                                                 $0.00
                                                                                                                             AGREEMENT, dated July 28, 2021
1620 Edward Utley Jr., Inc.                   P.O. Box 382 Henderson KY 42420                 Quash Seltzer, LLC             Rider, dated July 28, 2021          $0.00
                                                                                                                             Indemnity Agreement, dated July 28,
1621 Edward Utley Jr., Inc.                   P.O. Box 382 Henderson KY 42420                 Quash Seltzer, LLC                                                 $0.00
                                                                                                                             2021
                                                                                                                             Confidentiality & Non-Disclosure
                                                                                              Vital Pharmaceuticals, Inc.,
1622 Edward Utley Jr., Inc.                   P.O. Box 382 Henderson KY 42420                                                Agreement, dated November 01,       $0.00
                                                                                              d/b/a Bang Energy
                                                                                                                             2019
                                              820 Renaissance Pointe 105 Altamonte Springs                                   Employment Agreement, dated
1623 Edwards Anderson                                                                      Vital Pharmaceuticals, Inc.                                           $0.00
                                              FL 32714                                                                       December 27, 2021
                                                                                                                             Employment Agreement, dated
1624 Edwin Mejias Figueroa                    3921 SW 160th Ave #303 Miramar FL 33027         Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                             November 01, 2021
                                                                                                                             Employment Agreement, dated
1625 Edwin Perez Alejandro                    4080 Fort Dr Riverside CA 92509                 Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                             September 23, 2019
                                                                                                                             Employment Agreement, dated
1626 Edwin Reyes Ramon                        1087 Bismarck Dr Campbell CA 95008              Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                             February 28, 2022
                                                                                                                             Confidentiality & Non-Disclosure
                                                                                              Vital Pharmaceuticals, Inc.,
1627 EFL Group                                1975 Linden Blvd. Suite 200 Elmont NY 11003                                    Agreement, dated September 30,      $0.00
                                                                                              d/b/a Bang Energy
                                                                                                                             2020
       EGE Trading LLC., d/b/a                Maltepe Turkey Litros Yolu/yol Sok. No:3 D:1/C Vital Pharmaceuticals, Inc.,    Confidentiality & Non-Disclosure
1628                                                                                                                                                             $0.00
       1SOCK2SOCK                             Istambul 34010 Turkey                          d/b/a Bang Energy               Agreement, dated October 18, 2021
                                                                                                                             Employment Agreement, dated
1629 Eileen Velazco-Serrano                   346 Jamacha Rd Apt 135 El Cajon CA 92019        Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                             September 20, 2021
                                                                                                                             Employment Agreement, dated
1630 Eina Watford Marie                       8481 Springtree Dr Apt 303B Sunrise FL 33351 Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                             January 14, 2019
                                 Case c/o
                                      22-17842-PDR
                                          the Kepplin Law Firm, 8751Doc   1658
                                                                    W. Broward               Filed 07/14/23 Settlement
                                                                                                               PageAgreement,
                                                                                                                       195 ofdated
                                                                                                                              279June
1631 Elegance Brands Inc.,                                                               Vital Pharmaceuticals Inc.                                          $0.00
                                          Boulevard, Suite 105, Plantation FL 33324                                     16, 2022
       Elegance Brands, Inc. n/k/a Sway   9100 Wilshire Blvd Ste 362W, Beverly Hills, CA                                Confidential Mediation Settlement
1632                                                                                     Vital Pharmaceuticals, Inc.                                       $0.00
       Energy Corp.                       90212                                                                         Agreement, dated February 04, 2022
                                                                                                                        Elite Team Agreement, dated
1633                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                        February 17, 2018
                                                                                                                        Elite Team Agreement, dated August
1634                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                        21, 2017
                                                                                                                        Employment Agreement, dated
1635 Elgina Cantave                       4370 NW 12th Ct Lauderhill FL 33313            Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                        March 28, 2022
                                                                                                                        Employment Agreement, dated
1636 Eliana Morgenstern Rebecca           8315 Belay St Las Vegas NV 89166               Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                        August 01, 2022
                                                                                                                        Fitness Athlete Endorsement
1637                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                        Agreement, dated April 26, 2016
                                                                                                                        Employment Agreement, dated
1638 Elissa Rivera                        6110 Southwest 41St Ct Apt B Davie FL 33314    Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                        February 22, 2021
                                                                                                                        Trainer Services Agreement, dated
1639                                                                                     Quash Seltzer, LLC
                                                                                                                        January 19, 2021
                                                                                                                        Exclusive Promotional Modeling
1640                                                                                     Vital Pharmaceuticals, Inc.    Agreement, dated September 30,
                                                                                                                        2011
                                          5350 Northwest 84th Ave Apt 1803 Doral FL                                     Employment Agreement, dated May
1641 Elizabeth Castillo Payero                                                           Vital Pharmaceuticals, Inc.                                         $0.00
                                          33166                                                                         15, 2017
                                                                                                                        Brand Ambassador (National Team)
1642                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                        Agreement, dated March 28, 2017
                                                                                                                        Employment Agreement, dated
1643 Elizabeth Morales Nolan              9071 Northwest 16th St Plantation FL 33322     Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                        November 28, 2016
                                          Stephen Sloan, 201 W Commerce St Dallas, TX
1644 ElleCo Construction                                                              Vital Pharmaceuticals, Inc.       Proposal, dated October 08, 2019     $0.00
                                          75208
                                                                                                                        Brand Ambassador Agreement, dated
1645                                                                                     Quash Seltzer, LLC
                                                                                                                        October 30, 2021
                                                                                                                        Employment Agreement, dated
1646 Elli-Ana Hauser Shaine               4004 Risa Ct San Diego CA 92124                Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                        February 08, 2022
                                          307 Fellowship Road Suite 116 Mount Laurel NJ                                 Subscription and Order Form
1647 eMaint Enterprises LLC                                                             Vital Pharmaceuticals, Inc.                                          $0.00
                                          08054                                                                         Agreement, dated January 01, 2020
                                                                                                                        Elite Team Agreement, dated July 31,
1648                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                        2018
                                                                                                                        Affiliate Member Agreement, dated
1649                                                                                     Quash Seltzer, LLC
                                                                                                                        September 15, 2021
                                                                                                                        Ambassador (National Team)
1650                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                        Agreement, dated May 11, 2018
                                                                                                                        Employment Agreement, dated April
1651 Emma McGuinness Quinn                5514 Los Palma Vista Dr Orlando FL 32837       Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                        06, 2020
                                                                                                                        CONFIDENTIALITY AND NON-
                                          303 Evernia Street #300 West Palm Beach FL     Vital Pharmaceuticals, Inc.,
1652 Engineered Tax Services, Inc.                                                                                      DISCLOSURE AGREEMENT, dated          $0.00
                                          33401                                          d/b/a Bang Energy
                                                                                                                        February 11, 2019
                                          4701 W 2100 S / SALT LAKE CTY UT 84120-                                       Logistics Services Guide Terms and
1653 England Logistics, Inc                                                              Vital Pharmaceuticals, Inc.                                         $0.00
                                          1223 / US                                                                     Conditions, dated August 18, 2017
                                                                                                                        Logistics Services Guide Terms and
                                          4701 W 2100 S / SALT LAKE CTY UT 84120-
1654 England Logistics, Inc                                                              Vital Pharmaceuticals, Inc.    Conditions Amended by the Rider,     $0.00
                                          1223 / US
                                                                                                                        dated February 21, 2022
1655 Enmarket                             2112 Rankin Street Savannah GA 31415           Vital Pharmaceuticals, Inc.    2018 Agreement                       $0.00
                                          c/o Hovey Williams LLP, 10801 Mastin
                                                                                         JHO Intellectual Property      Settlement Agreement, dated
1656 EN-R-G Foods LLP                     Boulevard, Suite 1000, Corporate Woods,                                                                            $0.00
                                                                                         Holdings, LLC                  February 24, 2023
                                          Building 84, Overland park, Kansas 66210
                                                                                                                        Event Sponsorship Agreement (Food
       Entercom Florida, LLC d/b/a WKIS-                                                 Vital Pharmaceuticals, Inc.,
1657                                     8300 NE 2nd Ave Suite 200 Miami FL 33138                                       and Non-Alcoholic Beverage         $0.00
       FM                                                                                d/b/a Bang Energy
                                                                                                                        Sampling), dated December 17, 2019
                                          201 Alhambra Circle Suite 610 Coral Gables, FL                                Certificado de Venta Libre y
1658 Enterprise Florida, Inc.                                                            Vital Pharmaceuticals, Inc.                                         $0.00
                                          33134                                                                         Saneamiento, dated June 20, 2019
                                                                                                                        Confidentiality & Non-Disclosure
       Entertainment Outfitters, LLC.,                                                   Vital Pharmaceuticals, Inc.,
1659                                      14 Schoolhouse Road Somerset NJ 08873                                         Agreement, dated December 15,        $0.00
       d/b/a E.O.I.                                                                      d/b/a Bang Energy
                                                                                                                        2021
                                                                                         Vital Pharmaceuticals, Inc.,   Confidentiality and Non-Disclosure
1660 EPAC Miami, LLC                      3600 NW 59th St Miami FL 33142                                                                                     $0.00
                                                                                         d/b/a Bang Energy              Agreement, dated 2020
                                                                                         Vital Pharmaceuticals, Inc.,   Confidentiality & Non-Disclosure
1661 EPAC Miami, LLC.                     3600 NW 59th Street Miami FL 33142                                                                                 $0.00
                                                                                         d/b/a Bang Energy              Agreement
                                          Ste 306 30-36 Bay St Double Bay NSW 2028       Vital Pharmaceuticals, Inc.,   Confidentiality and Non-Disclosure
1662 EPIK Brands Pty Ltd.                                                                                                                                    $0.00
                                          Australia                                      d/b/a Bang Energy              Agreement, dated May 19, 2019
                                                                                                                        Elite Team Agreement, dated June
1663                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                        06, 2017
                                          12345 Southwest 151St St Apt A-203 Miami FL                                   Employment Agreement, dated
1664 Eric Allen Justin                                                                Vital Pharmaceuticals, Inc.                                            $0.00
                                          33186                                                                         September 21, 2020
                                 Case 22-17842-PDR                       Doc 1658            Filed 07/14/23 Employment
                                                                                                              Page 196       of 279
                                                                                                                       Agreement, dated
1665 Eric Amarante                         727 Dakota Dr San Jose CA 95111                Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                         October 05, 2020
                                           232 Southwest 23rd St Apt 3 Fort Lauderdale                                   Employment Agreement, dated
1666 Eric Andrade Yovany                                                                  Vital Pharmaceuticals, Inc.                                         $0.00
                                           FL 33315                                                                      December 06, 2021
                                                                                                                         Employment Agreement, dated April
1667 Eric Beyer Joseph                     14508 West Ventura St Surprise AZ 85379        Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                         27, 2022
                                                                                                                         Employment Agreement, dated
1668 Eric Joseph                           151 NE 82nd St 3 Miami FL 33138                Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                         August 23, 2021
                                           2700 Cedar Creek Ln Apt 4022 Denton TX                                        Employment Agreement, dated
1669 Eric Patton                                                                       Vital Pharmaceuticals, Inc.                                            $0.00
                                           76210                                                                         November 11, 2019
                                           1301 West Lambert Ln Apt 7104 Oro Valley AZ                                   Employment Agreement, dated
1670 Eric Peters N                                                                     Vital Pharmaceuticals, Inc.                                            $0.00
                                           85737                                                                         October 25, 2021
                                                                                                                         Employment Agreement, dated
1671 Erica Castelazo                       11850 NW 20th Ct Plantation FL 33323           Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                         January 05, 2021
                                                                                                                         Exclusive Promotional Modeling
1672                                                                                      Vital Pharmaceuticals, Inc.
                                                                                                                         Agreement, dated March 10, 2016
                                                                                                                         Employment Agreement, dated April
1673 Erick Gonzalo Perez                   350 West 20th St Apt 8 Hialeah FL 33010        Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                         08, 2019
                                                                                                                         Amendment to Exclusive Distribution
1674 Erie Beer Company                     PO Box 1205 Erie PA 16512-1205                 Quash Seltzer, LLC                                                 $0.00
                                                                                                                         Agreement, dated August 13, 2021
                                                                                                                         EXCLUSIVE DISTRIBUTION
1675 Erie Beer Company                     PO Box 1205 Erie PA 16512-1205                 Quash Seltzer, LLC                                                 $0.00
                                                                                                                         AGREEMENT, dated May 10, 2021
                                                                                                                         Employment Agreement, dated
1676 Erik De Santiago                      17458 Burma St Los Angeles CA 91316            Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                         January 10, 2022
                                                                                                                         Employment Agreement, dated
1677 Erik Iniguez                          8522 Serapis Avenue Pico Rivera CA 90660       Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                         January 27, 2020
                                           747 Washington Crossing Rd Newtown PA                                         Employment Agreement, dated
1678 Erik McKee Michael                                                                   Vital Pharmaceuticals, Inc.                                        $0.00
                                           18940                                                                         March 03, 2021
                                                                                                                         Employment Agreement, dated June
1679 Erik Vitela Fernandez O               4527 West Marlette Ave Glendale AZ 85301       Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                         07, 2021
                                                                                                                         Elite Team Agreement, dated January
1680                                                                                      Vital Pharmaceuticals, Inc.
                                                                                                                         05, 2018
                                                                                                                         Exclusive Promotional Modeling
1681                                                                                      Vital Pharmaceuticals, Inc.
                                                                                                                         Agreement, dated April 05, 2015
                                                                                                                         Brand Ambassador (National Team)
1682                                                                                      Vital Pharmaceuticals, Inc.
                                                                                                                         Agreement, dated July 25, 2018
                                                                                                                         Settlement Agreement, dated
1683 Erisbraun, Inc. d/b/a TotalE          2816 E Robinson Street Orlando FL 32806        Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                         February 21, 2014
                                                                                                                         Invoice for Genesis R&D Food and
1684 ESHA Research, Inc.                   4747 Skyline Rd S, Ste 100, Salem, OR 97306    Vital Pharmaceuticals, Inc.    Supplements Annual Subscription,    $0.00
                                                                                                                         dated September 14, 2022
                                           Attn: Kaliana Pagano / Zachery Hollman / Greg                                 Distribution Exclusivity
1685 ESPN, Inc.                            Wilson                                        Vital Pharmaceuticals, Inc.     Acknowledgement, dated May 06,      $0.00
                                           935 Middle St, Bristol, CT 06010                                              2010
                                                                                         Vital Pharmaceuticals, Inc.,    Confidentiality and Non-Disclosure
1686 Esposito Intellectual Enterprises LLC 750 3rd Ave 11th Fl New York NY 10017                                                                             $0.00
                                                                                         d/b/a Bang Energy               Agreement, dated 2020
                                                                                                                         Employment Agreement, dated
1687 Esteban Gaucin Chavez                 9310 West Bennet Plaza Phoenix AZ 85037        Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                         August 23, 2021
                                                                                                                         Employment Agreement, dated June
1688 Esteban Gaucin Guerrero               9310 West Bennet Plaza Phoenix AZ 85037        Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                         04, 2018
1689                                                                                      Vital Pharmaceuticals, Inc.    Model Release and Affidavit
                                                                                                                         Independent Contractor Agreement,
1690 Estefania Serrano                     560 Conservation Dr Weston FL 33327            Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                         dated April 25, 2014
                                                                                                                         Employment Agreement, dated
1691 Estefania Serrano Talia               560 Conservation Dr Weston FL 33327            Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                         January 13, 2020
                                                                                                                         Employment Agreement, dated
1692 Esther Capeluto-Campagna A            3792 San Simeon Cir Weston FL 33331            Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                         September 28, 2021
                                                                                                                         Employment Agreement, dated
1693 Esther Polanco C                      6530 Ridgelock Ct Davie FL 33331               Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                         October 25, 2021
       Esurance Property and Casualty      Elly Vidovich evidovich@esurance.com
1694                                                                                      Vital Pharmaceuticals, Inc.    Letter, dated March 07, 2018         $0.00
       Insurance Company                   (916) 625-3663
                                           8476 S Moondance Cellars Ct Las Vegas NV                                      Employment Agreement, dated
1695 Ethan Cohen Haim                                                                     Vital Pharmaceuticals, Inc.                                         $0.00
                                           89139                                                                         September 30, 2019
                                                                                                                         Employment Agreement, dated
1696 Ethan Mata Joseph                     3870 Prescott Loop Lakeland FL 33810           Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                         February 10, 2020
                                                                                                                         Select Agreement, dated February
1697                                                                                      Quash Seltzer, LLC
                                                                                                                         01, 2021
                                                                                                                         Employment Agreement, dated April
1698 Eugene Bukovi                         836 Lavender Cir Weston FL 33327               Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                         05, 2022
                                                                                          Vital Pharmaceuticals, Inc.,   Confidentiality and Non-Disclosure
1699 Euler Hermes                          100 Red Brook Blvd Owing Mills MD 21117                                                                            $0.00
                                                                                          d/b/a Bang Energy              Agreement, dated July 29, 2021
       Euler Hermes North America                                                                                        CONFIDENTIALITY AGREEMENT,
1700                                       800 Red Brook Blvd. Owings Mills MD 21117      Vital Pharmaceuticals, Inc.                                         $0.00
       Insurance Company                                                                                                 dated June 13, 2018
                                                                                                                         Employment Agreement, dated April
1701 Eunice Garcia Renee                   5141 North F St San Bernardino CA 92407        Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                         12, 2021
                                  Case 22-17842-PDR                       Doc 1658 VitalFiled  07/14/23
                                                                                         Pharmaceuticals,         Page 197
                                                                                                          Inc., Confidentiality      of 279
                                                                                                                                and Non-Disclosure
1702 Eurofins MET Laboratories              914 W Patapsco Ave Baltimore MD 21230                                                                              $0.00
                                                                                           d/b/a Bang Energy              Agreement, dated 2020
                                            c/o Ebix BPO PO Box 12010-84 Hemet CA
1703 Europa Sports Products                                                                Vital Pharmaceuticals, Inc.    Indemnity Agreement                  $0.00
                                            92456
                                            Todd Barber PO Box 12010-84 Hemet CA
1704 Europa Sports Products, Inc.                                                          Vital Pharmaceuticals, Inc.    ﻿VENDOR REQUIREMENTS                 $0.00
                                            92456
                                                                                                                          Confidentiality and Non-Disclosure
                                                                                           Vital Pharmaceuticals, Inc.,
1705 Eusere Regulatory Services             Kitiniitynkatu 2 C 35 33850 Tampere Finland                                   Agreement, dated September 15,       $0.00
                                                                                           d/b/a Bang Energy
                                                                                                                          2020
                                                                                                                          Elite Team Agreement, dated
1706                                                                                       Vital Pharmaceuticals, Inc.
                                                                                                                          November 05, 2018
                                                                                                                          Employment Agreement, dated
1707 Evan Beard Thomas                      203 Depot Ave 5-316 Delray Beach FL 33444      Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                          November 20, 2009
                                            395 WestcheSuiter Ave Apt 6E Port Chester NY                                  Employment Agreement, dated
1708 Evan Popham Thomas                                                                  Vital Pharmaceuticals, Inc.                                           $0.00
                                            10573                                                                         January 25, 2021
                                                                                                                          Fitness Model Endorsement
1709                                                                                       Vital Pharmaceuticals, Inc.    Agreement, dated December 01,
                                                                                                                          2016
                                                                                                                          Letter re Winner Sweepstakes
1710 Evan Waytovich                         ewayto@tampabay.rr.com                         Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                          Recission, dated December 11, 2019
                                                                                           Vital Pharmaceuticals, Inc.,   Confidentiality and Non-Disclosure
1711 Evans Transportation Services, Inc     21755 Gateway Rd Brookfield WI 53045                                                                               $0.00
                                                                                           d/b/a Bang Energy              Agreement, dated July 20, 2021
                                            c/o Traub Lieberman Straus & Shrewsberry LLP
                                            Attn: Copernicus T. Gaza Mid-Westchester                                      Settlement Agreement and Release,
1712 Evanston Insurance Company                                                           Vital Pharmaceuticals, Inc.                                          $0.00
                                            Executive Park Seven Skyline Drive Hawthorne                                  dated September 26, 2011
                                            NY 10532
                                            c/o Traub Lieberman Straus & Shrewsberry LLP
                                            Attn: Copernicus T. Gaza Mid-Westchester                                      Settlement Agreement and Release,
1713 Evanston Insurance Company                                                           Vital Pharmaceuticals, Inc.                                          $0.00
                                            Executive Park Seven Skyline Drive Hawthorne                                  dated April 26, 2013
                                            NY 10532
                                                                                          Vital Pharmaceuticals, Inc.,    Confidentiality and Non-Disclosure
1714 Everman Trade Center, L.P.             5950 Berkshire Lane Suite 900 Dallas TX 75225                                                                      $0.00
                                                                                          d/b/a Bang Energy               Agreement, dated May 01, 2019
                                                                                                                          Confidentiality & Non-Disclosure
       EverWest Real Estate Investors,                                                     Vital Pharmaceuticals, Inc.,
1715                                        1099 18th Street Suite 2900 Denver CO 80202                                   Agreement, dated November 30,        $0.00
       LLC.                                                                                d/b/a Bang Energy
                                                                                                                          2021
                                            Kaycha Holdings LLC 4131 SW 47th Ave Suite                                    Customer Terms of Service
1716 EVIO Labs, Inc.                                                                       Vital Pharmaceuticals, Inc.                                         $0.00
                                            1408 Davie, Florida 33314                                                     Agreement
                                                                                           Vital Pharmaceuticals, Inc.,   Confidentiality & Non-Disclosure
1717 EVOLUTION LOGISTICS CORP.              9800 NW 100 Road Suite #1 Medley FL 33178                                                                          $0.00
                                                                                           d/b/a Bang Energy              Agreement, dated July 02, 2021
                                            210 Sixth Avenue Suite 3300 Pittsburgh PA      Vital Pharmaceuticals, Inc.,   Confidentiality & Non-Disclosure
1718 Evoqua Water Technologies LLC                                                                                                                             $0.00
                                            15222                                          d/b/a Bang Energy              Agreement, dated January 07, 2022
                                            Batchmasters Ingrid Leon
                                                                                                                          Annual Software Enhancement &
       eWorkplace Solutions, Inc. (d.b.a.   ileon@batchmaster.com
1719                                                                                     Vital Pharmaceuticals, Inc.      Technical Support Plan, dated August $0.00
       BatchMaster Software, Inc.)          23191 La Cadena Drive Suite 101 Laguna Beach
                                                                                                                          04, 2015
                                            Hills, California 92653
                                            Eli Trujillo 176 Central Ave Suite 19                                         DISTRIBUTOR AGREEMENT, dated
1720 Exclusive Beverage                                                                  Vital Pharmaceuticals, Inc.                                           $0.00
                                            Farmingdale NY 11735                                                          2008
                                            5447 NW 24TH ST STE 5 / MARGATE FL 33063-
1721 Executive Label Inc.                                                                Vital Pharmaceuticals, Inc.      Materials / Packaging Agreement      $0.00
                                            7773 / US
                                                                                                                          Settlement Agreement, dated March
1722 Expert Aviation, Inc.                  1090 Airglades Blvd / Clewiston FL 33440       Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                          01, 2021
                                                                                                                          Rental Agreement #D018, dated
1723 Extra Space Storage                    15555 Yates Rd, Victorville, CA 92395          Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                          September 01, 2022
                                                                                                                          Lease Agreement #8035, dated
1724 Extra Space Storage                    42654 10th St, Lancaster, CA 93534             Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                          September 01, 2022
                                                                                                                          Insurance Addendum - CA #8035,
1725 Extra Space Storage                    42654 10th St, Lancaster, CA 93534             Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                          dated September 01, 2022
                                                                                                                          Insurance Addendum - CA
1726 Extra Space Storage                    42654 10th St, Lancaster, CA 93534             Vital Pharmaceuticals, Inc.    Earthquake #8035, dated September $0.00
                                                                                                                          01, 2022
                                                                                                                          Addendum to Rental Agreement for
1727 Extra Space Storage                    42654 10th St, Lancaster, CA 93534             Vital Pharmaceuticals, Inc.    Business Tenants #8035, dated     $0.00
                                                                                                                          September 01, 2022
                                                                                                                          Lease Agreement #0001, dated
1728 Extra Space Storage                    42654 10th St, Lancaster, CA 93534             Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                          September 01, 2022
                                                                                                                          Addendum to Rental Agreement for
1729 Extra Space Storage                    42654 10th St, Lancaster, CA 93534             Vital Pharmaceuticals, Inc.    Vehicle Storage #0001, dated      $0.00
                                                                                                                          September 01, 2022
                                                                                                                          Insurance Addendum - CA #0001,
1730 Extra Space Storage                    42654 10th St, Lancaster, CA 93534             Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                          dated September 01, 2022
                                                                                                                          Insurance Addendum - CA
1731 Extra Space Storage                    42654 10th St, Lancaster, CA 93534             Vital Pharmaceuticals, Inc.    Earthquake #0001, dated September $0.00
                                                                                                                          01, 2022
                                   Case 22-17842-PDR                       Doc 1658             Filed 07/14/23 Addendum
                                                                                                                 Pageto198
                                                                                                                        Rental of  279 for
                                                                                                                               Agreement
1732 Extra Space Storage                    42654 10th St, Lancaster, CA 93534               Vital Pharmaceuticals, Inc.    Business Tenants #0001, dated           $0.00
                                                                                                                            September 01, 2022
                                                                                                                            Rental Agreement #D027, dated
1733 Extra Space Storage                    15555 Yates Rd, Victorville, CA 92395            Vital Pharmaceuticals, Inc.                                            $0.00
                                                                                                                            September 01, 2022
                                                                                                                            Rental Agreement #P023, dated
1734 Extra Space Storage                    15555 Yates Rd, Victorville, CA 92395            Vital Pharmaceuticals, Inc.                                            $0.00
                                                                                                                            September 01, 2022
                                                                                                                            Rental Agreement #P025, dated
1735 Extra Space Storage                    15555 Yates Rd, Victorville, CA 92395            Vital Pharmaceuticals, Inc.                                            $0.00
                                                                                                                            September 01, 2022
                                                                                             Vital Pharmaceuticals, Inc.,   Confidentiality & Non-Disclosure
1736 Extreme Decorations, Corp.             14361 SW 120th St. Suite 104 Miami FL 33186                                                                             $0.00
                                                                                             d/b/a Bang Energy              Agreement, dated October 28, 2020
                                                                                                                            Select Agreement, dated December
1737                                                                                         Quash Seltzer, LLC
                                                                                                                            01, 2021
                                            6917 Narcoossee Road Suite 708 Orlando FL        Vital Pharmaceuticals, Inc.,   Confidentiality & Non-Disclosure
1738 F.C.S. Industrial Services, Inc.                                                                                                                               $0.00
                                            32822                                            d/b/a Bang Energy              Agreement, dated July 01, 2020
                                            Joseph R. Fabiano 1885 Bevanda Ct. Bay City                                     Exclusive Distribution Agreement,
1739 Fabiano Bros, Inc                                                                       Vital Pharmaceuticals, Inc.                                            $0.00
                                            MI 48706                                                                        dated January 29, 2021
                                                                                                                            EXCLUSIVE DISTRIBUTION
                                            Joseph R. Fabiano Il 1885 Bevanda Court Bay
1740 Fabiano Brothers - Wisconsin, LLC                                                       Quash Seltzer, LLC             AGREEMENT, dated February 18,           $0.00
                                            City MI 48706
                                                                                                                            2021
                                            Joseph R. Fabiano II 1600 Modern Street                                         EXCLUSIVE DISTRIBUTION
1741 Fabiano Brothers, Inc                                                                   Quash Seltzer, LLC                                               $0.00
                                            Detroit MI 48203                                                                AGREEMENT, dated January 29, 2021
       Fabiano Brothers, Inc. - Michigan,   Joseph R. Fabiano II 1885 Bevanda Ct. Bay City                                   DISTRIBUTOR AGREEMENT, dated
1742                                                                                         Vital Pharmaceuticals, Inc.                                             $0.00
       LLC                                  MI 48706                                                                         November 05, 2018
                                            5900 Northwest 44th St Apt 808 Lauderhill FL                                     Employment Agreement, dated
1743 Fabiola Excellent                                                                       Vital Pharmaceuticals, Inc.                                             $0.00
                                            33319                                                                            August 15, 2022
                                            500 SW 145th Ave Apt 508 Pembroke Pines FL                                       Employment Agreement, dated June
1744 Fabricio Martin                                                                         Vital Pharmaceuticals, Inc.                                             $0.00
                                            33027                                                                            29, 2021
1745 Facebook                               1 Hacker Way, Menlo Park, CA 94025               Vital Pharmaceuticals, Inc.    ﻿CONTACT INFORMATION SHEET               $0.00
                                            Robert Fahr PO Box 358 1369 Martin Road                                          DISTRIBUTOR AGREEMENT, dated
1746 Fahr Beverage, Inc.                                                                     Vital Pharmaceuticals, Inc.                                             $0.00
                                            Waterloo IA 50701                                                                November 21, 2018
                                            Michael Stokes, 3811 Tarry St. Wichita Falls, TX                                 Distributor Agreement (Exclusive -
1747 Falls Distributing Co. Inc.                                                             Vital Pharmaceuticals, Inc.                                             $0.00
                                            76308 Mstokes@fallsdistributing.com                                              TX), dated March 06, 2009
                                                                                                                             Sponsorship Agreement, dated June
1748                                                                                         Vital Pharmaceuticals, Inc.
                                                                                                                             26, 2012
                                                                                                                             Select Agreement, dated November
1749                                                                                         Quash Seltzer, LLC
                                                                                                                             01, 2021
                                            Calle Pidagro No. 25 El Millon Santo Domingo     Vital Pharmaceuticals, Inc.,    Confidentiality & Non-Disclosure
1750 Farah Group Company SRL                                                                                                                                         $0.00
                                            Dominican Republic                               d/b/a Bang Energy               Agreement, dated August 24, 2021
                                                                                                                             CONFIDENTIALITY AND NON-
                                            Rua Cesar Augusto Dalcoquio 5001 sala 7A         Vital Pharmaceuticals, Inc.,
1751 FARO IMP EXP DIST LTDA.                                                                                                 DISCLOSURE AGREEMENT, dated             $0.00
                                            Itajai SC 88311-500 Brazil                       d/b/a Bang Energy
                                                                                                                             August 01, 2021
1752 Favorite Brands, LLC.                  3900 N. McColl Rd. McAllen TX 78501              Vital Pharmaceuticals, Inc.    Distributor Agreement                    $0.00
                                            Bismillah Chowk Pasrur Road Sialkot 51310        Vital Pharmaceuticals, Inc.,    Confidentiality & Non-Disclosure
1753 Favour Sports                                                                                                                                                   $0.00
                                            Pakistan                                         d/b/a Bang Energy               Agreement, dated July 10, 2020
                                                                                                                             Federal Express Canada Corporation
                                                                                                                             General Agency Agreement and
       Federal Express Canada
1754                                        5985 Explorer Drive Mississauga ON L4W 5K6       Vital Pharmaceuticals, Inc.     Power of Attorney with Power to         $0.00
       Corporation
                                                                                                                             Appoint a Sub-Agent, dated
                                                                                                                             November 12, 2019
                                            202B Hall's Mill Road, Whitehouse Station, NJ                                    Workers Compensation Insurance
1755 Federal Insurance Company                                                               Vital Pharmaceuticals, Inc.                                             $0.00
                                            08889                                                                            Policy, dated May 31, 2023
                                            202B Hall's Mill Road, Whitehouse Station, NJ                                    Excess Auto Liability Insurance Policy,
1756 Federal Insurance Company                                                               Vital Pharmaceuticals, Inc.                                             $0.00
                                            08889                                                                            dated May 31, 2023
                                            202B Hall's Mill Road, Whitehouse Station, NJ                                    Commercial Property Insurance
1757 Federal Insurance Company                                                               Vital Pharmaceuticals, Inc.                                             $0.00
                                            08889                                                                            Policy, dated May 31, 2023
                                                                                                                             Employment Agreement, dated
1758 Federica Santaella Isabel              6081 West Suburban Dr Pinecrest FL 33156         Vital Pharmaceuticals, Inc.                                             $0.00
                                                                                                                             November 29, 2019
                                                                                                                             Select Agreement, dated October 01,
1759                                                                                         Vital Pharmaceuticals, Inc.
                                                                                                                             2021
                                            c/o Bankruptcy Department 3965 Airways Blvd                                     FedEx Ship Manager - Print Your
1760 Fedex                                                                              Vital Pharmaceuticals, Inc.                                                 $0.00
                                            Module G 3rd Floor Memphis TN 38116-5017                                        Label(s)
     FedEx Trade Networks Trade             General Counsel 6075 Poplar Avenue Suite 300                                    CONSULTING AGREEMENT, dated
1761                                                                                     Vital Pharmaceuticals, Inc.                                                $0.00
     Services, Inc                          Memphis TN 38119                                                                November 21, 2017
     FedEx Trade Networks Trade             Attn: General Counsel 6075 Poplar Avenue                                        Consulting Agreement, dated
1762                                                                                     Vital Pharmaceuticals, Inc.                                                $0.00
     Services, Inc.                         Suite 300 Memphis TN 38119                                                      November 21, 2017
                                                                                                                            Employment Agreement, dated
1763 Felipe Grando Kroeff                   8300 Northwest 115th Ct Doral FL 33178           Vital Pharmaceuticals, Inc.                                            $0.00
                                                                                                                            February 21, 2022
                                                                                                                            Employment Agreement, dated
1764 Felipe Rodriguez Jose                  14920 Castlegate Ave Davie FL 33331              Vital Pharmaceuticals, Inc.                                            $0.00
                                                                                                                            November 29, 2021
                                                                                                                            Employment Agreement, dated July
1765 Felipe Vergara Aleman                  1915 East Turney Ave Phoenix AZ 85016            Vital Pharmaceuticals, Inc.                                            $0.00
                                                                                                                            27, 2022
                                                                                                                            Employment Agreement, dated
1766 Ferdinand Carey Jr. Charles            11851 Northwest 31St St Sunrise FL 33323         Vital Pharmaceuticals, Inc.                                            $0.00
                                                                                                                            January 27, 2020
                                  Case 22-17842-PDR                     Doc 1658             Filed 07/14/23                Page 199 of 279
1767                                                                                      Quash Seltzer, LLC             Elite Agreement, dated June 08, 2021
                                                                                                                         Brand Ambassador (Local Team)
1768                                                                                      Vital Pharmaceuticals, Inc.
                                                                                                                         Agreement, dated April 08, 2017
                                                                                                                         Trainer Services Agreement, dated
1769                                                                                      Quash Seltzer, LLC
                                                                                                                         October 15, 2021
                                           Attn: Michele Seibold 8363 W Sunset Rd, Suite                                 Purchase Agreement and Joint
1770 Fidelity National Title Group                                                       Vital Pharmaceuticals, Inc.                                            $0.00
                                           100 Las Vegas NV 89113                                                        Escrow Instructions
                                           1560 Sawgrass Corporate Parkway, Suite 220
                                                                                                                         Second Amendment to Forbearance
                                           Sunrise, FL 3323
1771 Fifth Third Bank                                                                   Vital Pharmaceuticals, Inc.      and Loan Modification Agreement, $0.00
                                           Gary Singer, Esq Mombach Boyle Hardin PA
                                                                                                                         dated December 20, 2013
                                           500 East Broward Blvd Ft Lauderdale FL 33394
                                                                                                                         Employment Agreement, dated
1772 Filadelfo Gamino                      22722 Lukens Ln Perris CA 92570                Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                         August 01, 2022
                                           3301 Gateway Centre Blvd. Pinellas Park FL     Vital Pharmaceuticals, Inc.,   Confidentiality & Non-Disclosure
1773 Film Source International                                                                                                                             $0.00
                                           33782                                          d/b/a Bang Energy              Agreement, dated October 14, 2020
                                                                                                                         Commercial Premium Finance
1774 FIRST Insurance Funding               450 Skokie Blvd Ste 1000 Northbrook IL 60062 Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                         Agreement, dated February 08, 2022
                                           185 Commerce Drive Unit 102 Fort                                              Lease Agreement, dated October 21,
1775 FirstLease                                                                           Vital Pharmaceuticals, Inc.                                           $0.00
                                           Washington PA 19034                                                           2009
                                           Robert Thompson 25 Ironia Road Flanders NJ                                    DISTRIBUTOR AGREEMENT, dated
1776 Fischer-Thompson Beverages Inc.                                                      Vital Pharmaceuticals, Inc.                                           $0.00
                                           07836                                                                         June 20, 2019
                                           Robert Thompson 25 Ironia Road Flanders NJ                                    Exclusive Distribution Agreement,
1777 Fischer-Thompson Beverages Inc.                                                      Vital Pharmaceuticals, Inc.                                           $0.00
                                           07836                                                                         dated October 19, 2022
                                                                                          Vital Pharmaceuticals, Inc.,   Confidentiality & Non-Disclosure
1778 Fish Collection Inc.                  20340 NW 15 Ct. North Miami FL 33179                                                                                 $0.00
                                                                                          d/b/a Bang Energy              Agreement
                                           Attn: Lukas J Fischer 7950 NW 53rd Avenue                                     ADDENDUM TO SETTLEMENT
1779 Fit Lab LLC                                                                          Vital Pharmaceuticals, Inc.                                           $0.00
                                           #337 Miami FL 33166                                                           AGREEMENT, dated June 09, 2016
                                                                                                                         Private Label Manufacturing
                                           Attn: Lukas J Fischer 7950 NW 53rd Avenue
1780 Fit Lab LLC                                                                          Vital Pharmaceuticals, Inc.    Agreement for Mircrotabs in Liquid     $0.00
                                           #337 Miami FL 33166
                                                                                                                         Capsules, dated October 30, 2014
       FLANIGAN DISTRIBUTING OF DOOR Attn: Brian Flanigan 5600 Gordon Rd. Sturgeon                                       DISTRIBUTOR AGREEMENT, dated
1781                                                                               Vital Pharmaceuticals, Inc.                                                  $0.00
       COUNTY INC.                   Bay WI 54235                                                                        October 31, 2018
                                                                                                                         EXCLUSIVE DISTRIBUTION
1782 Flathead Beverage Co.                 1390 Us Highway 2 W Kalispell MT 59901-3414 Quash Seltzer, LLC                AGREEMENT, dated November 14,          $0.00
                                                                                                                         2021
1783                                                                                      Vital Pharmaceuticals, Inc.    Elite Agreement, dated May 30, 2019
                                       10441 Northwest 11th St Unit 101 Pembroke                                         Employment Agreement, dated
1784 Flavio Alexandre Marrone Schmidt                                                     Vital Pharmaceuticals, Inc.                                           $0.00
                                       Pines FL 33026                                                                    August 10, 2021
                                       Jeff Harris, 28350 W Witherspoon Pkwy                                             Flavor Exclusivity Agreement, dated
1785 Flavor Producers, Inc.                                                               Vital Pharmaceuticals, Inc.                                           $0.00
                                       Valencia CA 91355                                                                 November 08, 2017
     Flex Nutrition International Inc.
1786 (Dba. OB&EB Representacaoe Dist 620 SE 13th Street Fort Lauderdale FL 33316          Vital Pharmaceuticals, Inc.    Distribution Agreement                 $0.00
     & Suplementos Nutricionais Ltda.)
                                                                                                                         EXCLUSIVE DISTRIBUTION
1787 Floral City Beveral                   720 Huber Dr Monroe MI 48162                   Quash Seltzer, LLC                                               $0.00
                                                                                                                         AGREEMENT, dated January 29, 2021
                                           4722 N.W. Boca Raton Blvd Suite C-102 Boca Vital Pharmaceuticals, Inc.        Confidentiality and Nondisclosure
1788 Florida Aquastore, Inc.                                                                                                                                   $0.00
                                           Raton FL 33431                               d/b/a Bang Energy                Agreement, dated October 27, 2020
                                           Attn: Mark Rohling 4005 Deerwood Cir Pace FL                                  Distributor Agreement, dated July 25,
1789 Florida Beverage Sales LLC                                                         Vital Pharmaceuticals, Inc.                                            $0.00
                                           32571                                                                         2008
                                           Matthew T. Davidson, Esq., 7733 Hooper Road Vital Pharmaceuticals, Inc.,      CONFIDENTIALITY AND NON-
1790 Florida Drilling, Inc.                                                                                                                                    $0.00
                                           West Palm Beach FL 33411                     d/b/a Bang Energy                DISCLOSURE AGREEMENT
                                                                                                                         CONFIDENTIALITY AND NON-
                                           Matthew T. Davidson, Esq., 7733 Hooper Road Vital Pharmaceuticals, Inc.,
1791 Florida Drilling, Inc.                                                                                              DISCLOSURE AGREEMENT, dated           $0.00
                                           West Palm Beach FL 33411                    d/b/a Bang Energy
                                                                                                                         October 08, 2020
                                                                                                                         Sponsorship and Advertising
                                           Attn: President, CEO One Panthers Parkway
1792 Florida Panthers Hockey Club, LTD.                                                   Vital Pharmaceuticals, Inc.    Agreement, dated September 05,        $0.00
                                           Sunrise FL 33323
                                                                                                                         2019
                                           Attn: Dr. Kirby W. Kemper, President
       Florida State University Research                                                                                 Research Agreement, dated
1793                                       874 Traditions Way Suite 300 Tallahassee FL    Vital Pharmaceuticals, Inc.                                           $0.00
       Foundation, Inc.                                                                                                  December 01, 2010
                                           32306-4166
                                                                                          Vital Pharmaceuticals, Inc.,   Confidentiality & Non-Circumvention
1794 Florida Supplement, L.L.C.            10301 Commerce Parkway Miramar FL 33025                                                                           $0.00
                                                                                          d/b/a VPX                      Agreement, dated October 14, 2017
                                                                                                                         CONFIDENTIALITY AND NON-
                                           Matthew T. Davidson, Esq., 2405 S. Roosevelt   Vital Pharmaceuticals, Inc.,
1795 FLP LLC                                                                                                             DISCLOSURE AGREEMENT, dated            $0.00
                                           Street Tempe AZ 85282                          d/b/a Bang Energy
                                                                                                                         November 08, 2021
                                           288 Lorimer Street Port Melbourne VIC 3207     Vital Pharmaceuticals, Inc.,   Confidentiality & Non-Circumvention
1796 Flush Fitness Pty Ltd.                                                                                                                                  $0.00
                                           Australia                                      d/b/a VPX Sports               Agreement, dated August 18, 2016
                                                                                                                         Sale and Purchase Agreement, dated
1797 Fogg Filler Company                   3455 John F. Donnely Drive Holland MI 49424    Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                         August 07, 2012
                                  Case Attn:
                                       22-17842-PDR                  Doc
                                             Jim Folsom 250 Citrus Lane Wood1658
                                                                             River IL           Filed 07/14/23 Distributor
                                                                                                                  PageAgreement,
                                                                                                                           200 ofdated
                                                                                                                                  279July 22,
1798 Folsom Distributing Co., Inc.                                                          Vital Pharmaceuticals, Inc.                                          $0.00
                                            62095                                                                          2010
                                            Jim Folsom 250 Citrus Lane Wood River IL                                       DISTRIBUTOR AGREEMENT, dated
1799 Folsom Distributing Company                                                            Vital Pharmaceuticals, Inc.                                          $0.00
                                            62095                                                                          November 09, 2018
                                                                                            Vital Pharmaceuticals, Inc.    Mutual Confidentiality Agreement,
1800 Fona International Inc.                1900 Averill Road Geneva IL 60134                                                                                    $0.00
                                                                                            DBA VPX                        dated February 12, 2019
                                            Attn: Jesse Crofton 1900 Averill Road Geneva IL                                Rebate Agreement, dated July 01,
1801 Fona International, Inc.                                                               Vital Pharmaceuticals, Inc.                                          $0.00
                                            60134                                                                          2018
                                                                                                                           CONFIDENTIALITY AND NON-
                                            Forza Technology Centre 4&5 Javelin        Vital Pharmaceuticals, Inc.,
1802 FORZA Industries Ltd.                                                                                                 DISCLOSURE AGREEMENT, dated           $0.00
                                            Enterprise Park Ashford Kent TN248DE300 UK d/b/a Bang Energy
                                                                                                                           September 20, 2018
                                            Joseph D Smeester P.O. Box 2100 Iron                                           Exclusive Distribution Agreement,
1803 Four Seasons Beer                                                                      Vital Pharmaceuticals, Inc.                                          $0.00
                                            Mountain MI 49802                                                              dated February 01, 2021
                                                                                                                           EXCLUSIVE DISTRIBUTION
                                            Joseph D Smeester P.O. Box 2100 Iron
1804 Four Seasons Beer Dist.                                                                Quash Seltzer, LLC             AGREEMENT, dated February 01,         $0.00
                                            Mountain MI 49802
                                                                                                                           2021
                                                                                                                           EXCLUSIVE DISTRIBUTION
                                            Joseph D Smeester P.O. Box 2100 Iron
1805 Four Seasons Beer Distributors, Inc.                                                   Quash Seltzer, LLC             AGREEMENT, dated September 22,        $0.00
                                            Mountain MI 49802
                                                                                                                           2021
                                            7330 Ocean Terrace 1101 Miami Beach FL                                         Employment Agreement, dated
1806 Francis Massabki                                                                       Vital Pharmaceuticals, Inc.                                          $0.00
                                            33141                                                                          October 07, 2019
                                                                                                                           Employment Agreement, dated
1807 Francisco Vasquez Gamez J              4235 West Denton Ln Phoenix AZ 85019            Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                           August 22, 2022
                                                                                                                           Employment Agreement, dated
1808 Francisco Zazueta-Osorio               22758 West Mohave St Buckeye AZ 85326           Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                           March 29, 2022
                                                                                                                           Employment Agreement, dated
1809 Frandy Michel Andre                    4625 Northwest 9th Dr Plantation FL 33317       Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                           March 06, 2019
                                            4245 Palm Forest Dr South Delray Beach FL                                      Employment Agreement, dated
1810 Frank Guagenti                                                                         Vital Pharmaceuticals, Inc.                                          $0.00
                                            33445                                                                          March 02, 2020
                                            2506 West Stroud Ave Apt 211 Tampa FL                                          Employment Agreement, dated May
1811 Frank Marcantoni Michael                                                               Vital Pharmaceuticals, Inc.                                          $0.00
                                            33629                                                                          04, 2020
                                                                                                                           Employment Agreement, dated April
1812 Fred Garcia Abraham                    8051 4th St Apt 29 Buena Park CA 90621          Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                           13, 2020
                                                                                                                           Employment Agreement, dated
1813 Fred Martinez                          9767 West 34th Ln Hialeah FL 33018              Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                           January 25, 2022
                                                                                                                           Employment Agreement, dated
1814 Frederick Armstrong III W              6008 PiNE Creek Dr St Augustine FL 32092        Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                           August 22, 2022
                                            Attn: Sean Pierce 19907 E Walnut Drive South                                   Letter re: Authorization to Distribute
1815 Freedom Beverage                                                                    Vital Pharmaceuticals, Inc.                                              $0.00
                                            City of Industry CA 91789                                                      Products, dated March 01, 2010
                                                                                                                           CONFIDENTIALITY AND NON-
                                            1830 S. Ocean Drive Unit 4808 Hallandale        Vital Pharmaceuticals, Inc.,
1816 Freight Essentials LLC/CEO                                                                                            DISCLOSURE AGREEMENT, dated           $0.00
                                            Beach FL 33009                                  d/b/a Bang Energy
                                                                                                                           October 13, 2021
       Freight Logistics International      3320 NW 67TH AVE UNIT 900 / MIAMI FL
1817                                                                                        Vital Pharmaceuticals, Inc.    Product/Service Agreement             $0.00
       Rhenus Logistics LLC.                33122-2265 / US
                                            Carl Asbell 425 N. Broadway Avenue Riverton                                    DISTRIBUTOR AGREEMENT, dated
1818 Fremont Distributing, LLC                                                              Vital Pharmaceuticals, Inc.                                        $0.00
                                            WY 82501                                                                       January 01, 2019
                                                                                            Vital Pharmaceuticals, Inc.,   Confidentiality & Non-Disclosure
1819 Freyr                                  150 College Rd W Ste 102 Princeton NJ 08540                                                                        $0.00
                                                                                            d/b/a Bang Energy              Agreement, dated August 03, 2018
                                                                                            Vital Pharmaceuticals, Inc.,   Confidentiality & Nondisclosure
1820 Freyr, Inc.                            150 College Rd W Ste 102 Princeton NJ 08540                                                                        $0.00
                                                                                            d/b/a Bang Energy              Agreement, dated August 13, 2018
                                                                                                                           CONFIDENTIALITY AND NON-
                                                                                            Vital Pharmaceuticals, Inc.,
1821 Friaaz AZ                              CMS Sialkot Sialkot 51310 Pakistan                                             DISCLOSURE AGREEMENT , dated        $0.00
                                                                                            d/b/a Bang Energy
                                                                                                                           August 24, 2020
                                            Jimmy Murdock 3801 East Highway 90 Del Rio                                     DISTRIBUTOR AGREEMENT, dated
1822 Frio Distributing, LLC                                                            Vital Pharmaceuticals, Inc.                                             $0.00
                                            TX 78840                                                                       January 01, 2019
                                                                                                                           Employment Agreement, dated
1823 Fritz Tilus C                          11003 Royal Palm Blvd Coral Springs FL 33065 Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                           September 06, 2022
                                                                                                                           NON-DISCLOSURE &
                                                                                            Vital Pharmaceuticals, Inc.,
1824 Frontier Equity, LLC                   5950 Berkshire Ln Ste 900 Dallas TX 75225                                      CONFIDENTIALITY AGREEMENT,          $0.00
                                                                                            DBA Bang Energy
                                                                                                                           dated October 15, 2019
                                                                                                                           Mutual Release Agreement, dated
1825 Full Circle Distributor                1200 Watercrest Way Cheswick PA 15024           Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                           June 04, 2020
                                                                                                                           Non-Exclusive Right to Represent &
                                            Michael G. Levine 3315 Berkmar Drive Suite 2A Vital Pharmaceuticals, Inc.
1826 Future Perfect Worldwide, Inc.                                                                                        Fee Agreement, dated December 12, $0.00
                                            Charlottesvile VA 22901                       d/b/a VPX Sports
                                                                                                                           2018
                                                                                                                           Loftin Properties Lease Addendum,
1827 G & L Properties                       2101 Barrancas Avenue Pensacola FL 32502        Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                           dated December 13, 2018
                                            Michael Falcone 2543 Centreville Road                                          EXCLUSIVE DISTRIBUTION
1828 G&G Distributors Inc                                                                   Quash Seltzer, LLC                                                 $0.00
                                            Centreville MD 21617                                                           AGREEMENT, dated March 02, 2021
                                            Michael Falcone P.O. Box 186 Centreville MD                                    Exclusive Distribution Agreement,
1829 G&G Distributors, Inc.                                                                 Vital Pharmaceuticals, Inc.                                        $0.00
                                            21617                                                                          dated March 11, 2021
                                                                                                                           Elite Team Agreement, dated January
1830                                                                                        Vital Pharmaceuticals, Inc.
                                                                                                                           01, 2018
                                                                                                                           Elite Team Agreement, dated August
1831                                                                                        Vital Pharmaceuticals, Inc.
                                                                                                                           21, 2018
                                  Case 22-17842-PDR                     Doc 1658             Filed 07/14/23 Contact
                                                                                                              Page       201WIRE
                                                                                                                    Info Sheet, of 279
                                                                                                                                   PAYMENT
1832                                                                                      Vital Pharmaceuticals, Inc.    FORM, ELITE AGREEMENT, dated
                                                                                                                         May 08, 2019
                                                                                                                         Employment Agreement, dated
1833 Gabriel Diaz Mariano                 1013 Better Days Place Valrico FL 33594         Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                         March 09, 2020
                                          4146 East Mendez St Apt 226 Long Beach CA                                      Employment Agreement, dated
1834 Gabriel Karanopoulos James Lee                                                       Vital Pharmaceuticals, Inc.                                        $0.00
                                          90815                                                                          December 02, 2019
                                                                                                                         Employment Agreement, dated May
1835 Gabriel Rodriguez                    1730 Lancelot Loop Tampa FL 33619               Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                         09, 2022
                                                                                                                         Contract Videographer Agreement,
1836                                                                                      Vital Pharmaceuticals, Inc.
                                                                                                                         dated June 25, 2018
       Gabriela Hernandez Gonzalez                                                                                       Employment Agreement, dated
1837                                      1600 N Park Dr Weston FL 33326-3278             Vital Pharmaceuticals, Inc.                                        $0.00
       Cristina                                                                                                          December 10, 2019
                                          4329 West Orangewood Ave Glendale AZ                                           Employment Agreement, dated
1838 Gabriella Calderon Blancas                                                           Vital Pharmaceuticals, Inc.                                        $0.00
                                          85301                                                                          November 02, 2020
                                                                                                                         Elite Agreement, dated December 01,
1839                                                                                      Quash Seltzer, LLC
                                                                                                                         2021
                                                                                                                         Employment Agreement, dated
1840 Gabriella Verne A                    850 Sunflower Cir Weston FL 33327               Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                         February 03, 2020
                                                                                                                         Brand Ambassador Agreement, dated
1841                                                                                      Vital Pharmaceuticals, Inc.
                                                                                                                         October 15, 2021
                                                                                                                         Brand Ambassador (National Team)
1842                                                                                      Vital Pharmaceuticals, Inc.
                                                                                                                         Agreement, dated May 21, 2018
                                                                                                                         Employment Agreement, dated
1843 Gabrielle McKean Megan               504 Bedford Ave Weston FL 33326                 Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                         December 14, 2020
                                          3609 W MacArthur Blvd Ste 808 Santa Ana CA                                     Service Agreement, dated January
1844 Gain[z] Box, LLC                                                                Vital Pharmaceuticals, Inc.                                             $0.00
                                          92704                                                                          05, 2022
                                                                                                                         Employment Agreement, dated
1845 Galdino Martinez                     5227 South 46th St Phoenix AZ 85040             Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                         September 09, 2021
                                                                                                                         Elite Agreement, dated November
1846                                                                                      Quash Seltzer, LLC
                                                                                                                         01, 2021
                                                                                                                         Employment Agreement, dated
1847 Gary De Myer Francis                 10857 Madison Dr Boynton Beach FL 33437         Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                         March 21, 2022
                                                                                                                         Employment Agreement, dated
1848 Gary Puchalski John                  2423 East Detroit Ct Chandler AZ 85225          Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                         August 02, 2022
                                          575 Prospect Street Suite 230 Lakewood NJ                                      Settlement Agreement, dated
1849 Gaspari Nutrition, Inc.                                                              Vital Pharmaceuticals, Inc.                                        $0.00
                                          08701                                                                          November 11, 2011
                                                                                                                         Retainer & Deposit Agreement, dated
1850 Gauntlett & Associates               18400 Von Karman Suite 300 Irvine CA 92612      Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                         December 26, 2018
                                                                                                                         Employment Agreement, dated
1851 Gaven Obrecht                        6307 Montezuma Rd San Diego CA 92115            Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                         December 02, 2019
                                          5150 West Eugie Ave Apt 2056 Glendale AZ                                       Employment Agreement, dated
1852 Gavin McGrail Hugh                                                                   Vital Pharmaceuticals, Inc.                                        $0.00
                                          85304                                                                          September 19, 2019
                                                                                                                         Employment Agreement, dated
1853 Gavin Stoub William                  1047 Willow Ln Batavia IL 60510                 Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                         October 04, 2019
                                                                                                                         Employment Agreement, dated
1854 Gavin Teevan H                       243 Erin Ct Greenwood IN 46142                  Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                         October 29, 2021
                                          Pat Gault / Dan Litchfield, PO BOX 6130 Santa                                  Letter re: Authorization to Distribute
1855 GBL Distributing Company                                                             Vital Pharmaceuticals, Inc.                                           $0.00
                                          Barbara CA 93160 sbgl@gbldist.com                                              Products, dated June 01, 2013
                                                                                                                         CONFIDENTIALITY AND NON-
       GDP Global Drinks                                                                  Vital Pharmaceuticals, Inc.,
1856                                      Marien Strasse 17 Munich 82319 Germany                                         DISCLOSURE AGREEMENT, dated           $0.00
       Partnership GmbH (“GDP”)                                                           DBA Bang Energy
                                                                                                                         February 26, 2019
       GDS - Grow Dietary Supplements     Rua Ferrucio Brinatti, No. 231 Vila                                            Licensing Agreement, dated March
1857                                                                                      Vital Pharmaceuticals, Inc.                                          $0.00
       do Brasil Ltda                     Sulamericana, Carapicuiba SP CEP 06394-050                                     15, 2016
     GE Capital Commercial Inc. dba
     Ford Credit Commercial Leasing;      500 N Capital of Texas Hwy Bldg 1, Austin TX                                   Master Lease Agreement (Vehicle),
1858                                                                                      Vital Pharmaceuticals, Inc.                                          $0.00
     Colonial Pacific Leasing Corporation 78746-3334                                                                     dated April 26, 2011
     dba Ford Credit Commercial Leasing
                                                                                                                         Schedule and Addendum No.
       GE Capital Commercial Inc. dba     300 E John Carpenter Freeway Suite 204 Irving                                  8487934-006 ("Schedule") to Master
1859                                                                                    Vital Pharmaceuticals, Inc.                                         $0.00
       Ford Credit Commrcial Leasing      TX 75062-2712                                                                  Lease Agreement No. 8497934, dated
                                                                                                                         June 01, 2011
       GE Capital Commerical Inc. dba                                                                                    Commercial Lease, dated May 04,
1860                                      PO Box 650575 Dallas TX 75265-0575              Vital Pharmaceuticals, Inc.                                       $0.00
       Ford Credit Commercial Leasing                                                                                    2015
                                                                                                                         Employment Agreement, dated
1861 Geisy Montealegre Ruano              7051 Environ Blvd 132 Lauderhill FL 33319       Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                         November 15, 2021
                                          Steenbergstraat 31 Kerkade AB 6465                                             Non-Disclosure Agreement, dated
1862 Gelhlen Schols Logistics                                                             Vital Pharmaceuticals, Inc.                                       $0.00
                                          Netherlands                                                                    January 01, 2018
                                                                                                                         Confidentiality And Non-Disclosure
                                          7570 NW 14th Street, Suite 106-B Miami FL       Vital Pharmaceuticals, Inc,
1863 GEMCAP Investments, LLC                                                                                             Agreement, dated December 07,      $0.00
                                          33126                                           d/b/a Bang Energy
                                                                                                                         2019
       Gemcap Investments, LLC dba        Lawrence J. Roberts and Associates                                             Settlement Agreement & Mutual
1864                                                                                      Vital Pharmaceuticals, Inc.                                       $0.00
       Gemcap Logistics                   249 Catalonia Ave, Coral Gables, FL 33317                                      Release, dated March 17, 2021
                                  Case 22-17842-PDR                      Doc 1658             Filed 07/14/23 Employment
                                                                                                               Page 202       of 279
                                                                                                                        Agreement, dated
1865 Gene Clinton Craig                    1004 Rainbow Cliff Ct Las Vegas NV 89123       Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                         January 16, 2017
                                                                                                                         Employment Agreement, dated
1866 Gene Gausselin E                      345 W 44th St Apt 4 San Bernardino CA 92407 Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                         August 23, 2021
                                           Purchasing Department 300 Sixth Avenue                                        Canada Purchasing Agreement, dated
1867 General Nutrition Corporation                                                        Vital Pharmaceuticals, Inc.                                       $0.00
                                           Pittsburgh PA 15222                                                           August 21, 2019
       General Nutrition Corporation dba
1868                                         300 Sixth Avenue Pittsburgh PA 15222         Vital Pharmaceuticals, Inc.    Vendor Exhibition Agreement         $0.00
       Nutrimarket
       General Nutrition Corporation fka                                                                                 Purchasing Agreement #4384
1869                                         300 Sixth Avenue Pittsburgh PA 15222         Vital Pharmaceuticals, Inc.                                       $0.00
       General Nutrition Distribution, L.P.                                                                              Addendum #R, dated July 19, 2018
       General Nutrition Corporation,                                                                                    Purchasing Agreement # 4384
1870   f/k/a General Nutrition Distribution, 300 Sixth Avenue Pittsburgh PA 15222         Vital Pharmaceuticals, Inc.    Addendum # Q, dated March 23,      $0.00
       L.P.                                                                                                              2018
       General Nutrition Distribution L.P.                                                                               Vendor Exhibition Agreement, dated
1871                                         300 Sixth Avenue Pittsburgh PA 15222         Vital Pharmaceuticals, Inc.                                       $0.00
       d/b/a NutriMarket                                                                                                 November 24, 2008
                                             Purchasing Department 300 Sixth Avenue                                      Purchasing Agreement, dated
1872   General Nutrition Distribution, LP                                                 Vital Pharmaceuticals, Inc.                                       $0.00
                                             Pittsburgh PA 15222                                                         November 20, 2008
       General Transport, Inc. (“General                                                  Vital Pharmaceuticals, Inc.,   CONFIDENTIALITY AND NON-
1873                                         1100 Jenkins Blvd. Akron OH 44306                                                                              $0.00
       Transport”)                                                                        DBA Bang Energy                DISCLOSURE AGREEMENT
       General                                                                                                           CONFIDENTIALITY AND NON-
                                                                                          Vital Pharmaceuticals, Inc.,
1874   Transport, Inc. ("General             1100 Jenkins Blvd. Akron OH 44306                                           DISCLOSURE AGREEMENT, dated        $0.00
                                                                                          DBA Bang Energy
       Transport")                                                                                                       August 25, 2020
       General                                                                                                           CONFIDENTIALITY AND NON-
                                                                                          Vital Pharmaceuticals, Inc.,
1875   Transport, Inc. (“General             1100 Jenkins Blvd. Akron OH 44306                                           DISCLOSURE AGREEMENT, dated        $0.00
                                                                                          DBA Bang Energy
       Transport”)                                                                                                       August 25, 2020
                                                                                                                         Elite Team Agreement, dated
1876                                                                                      Vital Pharmaceuticals, Inc.
                                                                                                                         October 26, 2017
                                                                                                                         CONFIDENTIALITY AND NON-
       Genesis Global                      3000 Southwest 148 Avenue 116 Miramar FL       Vital Pharmaceuticals, Inc.,
1877                                                                                                                     DISCLOSURE AGREEMENT, dated July $0.00
       Recruiting, Inc. ("Genesis")        33027                                          DBA Bang Energy
                                                                                                                         01, 2020
                                           Robert W. Anpinia Jr. 1 Pepsi Lane Geneva NY                                  EXCLUSIVE DISTRIBUTION
1878 Geneva Club Beverage Co. Inc.                                                        Quash Seltzer, LLC                                                $0.00
                                           14456                                                                         AGREEMENT, dated May 04, 2021
                                           Robert W. Anpinia Jr. 1 Pepsi Lane Geneva NY                                  Exclusive Distribution Agreement,
1879 Geneva Club Beverage Co., Inc.                                                       Vital Pharmaceuticals, Inc.                                       $0.00
                                           14456                                                                         dated April 08, 2021
                                                                                                                         Distributor Agreement, dated
1880 Geo. A. Mueller Beer Co.              1506 McBride Ave. Decatur IL 62526             Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                         February 16, 2011
                                           Attn: Georgii Korobov Proezd 4807, 3, Bldg. 8,
                                                                                                                         Exclusive Distributor Agreement,
1881 Geography LLC                         Block 1, Room #16 Moscow, Zelenograd           Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                         dated July 19, 2016
                                           122489 Russian Federation
                                                                                                                         Employment Agreement, dated
1882 George Harris III M                   6262 Seminole Dr Olive Branch MS 38654         Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                         August 26, 2019
                                                                                                                         Trainer Services Agreement, dated
1883                                                                                      Quash Seltzer, LLC
                                                                                                                         September 03, 2021
                                                                                                                         Employment Agreement, dated
1884 Gerald Roberson Lee                   12828 North 57th Ave Glendale AZ 85304         Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                         October 08, 2018
                                                                                                                         Employment Agreement, dated
1885 Gerardo Hernandez                     10511 West Heatherbrae Dr Phoenix AZ 85037 Vital Pharmaceuticals, Inc.                                            $0.00
                                                                                                                         February 11, 2019
                                                                                                                         Employment Agreement, dated July
1886 Gerardo Martinez                      3845 West Cactus Wren Dr Phoenix AZ 85051      Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                         26, 2021
                                           25332 Southwest 108th Ave Homestead FL                                        Employment Agreement, dated
1887 German Tinoco C                                                                      Vital Pharmaceuticals, Inc.                                        $0.00
                                           33032                                                                         March 16, 2020
                                           Mcelroy Deutsch Mulvaney Carpenter LLP
1888 Geroge H. Parsells                    1300 Mount Kemble Avenue, PO Box 2075          Vital Pharmaceuticals, Inc.    Retainer, dated July 05, 2011       $0.00
                                           Morristown NJ 07962
                                                                                                                         Brand Ambassador (National Team)
1889                                                                                      Vital Pharmaceuticals, Inc.
                                                                                                                         Agreement, dated March 28, 2018
                                                                                                                         Affiliate Member Agreement, dated
1890                                                                                      Quash Seltzer, LLC
                                                                                                                         September 28, 2021
                                                                                                                         Exclusive Promotional Modeling
1891                                                                                      Vital Pharmaceuticals, Inc.
                                                                                                                         Agreement, dated March 10, 2016
                                                                                                                         Exclusive Promotional Modeling
1892                                                                                      Vital Pharmaceuticals, Inc.
                                                                                                                         Agreement, dated August 23, 2016
                                                                                                                         Trainer Services Agreement, dated
1893                                                                                      Quash Seltzer, LLC
                                                                                                                         January 13, 2021
                                                                                                                         Employment Agreement, dated
1894 Gideon Eckhouse Barak                 5900 Lindenhurst Ave Los Angeles CA 90036      Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                         December 13, 2021
                                                                                                                         Employment Agreement, dated
1895 Gina De Angelis S                     9840 NW 2nd Ct Plantation FL 33324             Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                         December 16, 2021
                                                                                                                         CONFIDENTIALITY AND NON-
       Gintzler Graphics, Inc ("Gintzler                                                  Vital Pharmaceuticals, Inc.,
1896                                       100 Lawrence Bell Drive Buffalo NY 14221                                      DISCLOSURE AGREEMENT, dated         $0.00
       Graphics")                                                                         DBA Bang Energy
                                                                                                                         September 14, 2021
                                                                                                                         Employment Agreement, dated
1897 Giorgio Moreno Armani                 828 West Julie Dr Tempe AZ 85283               Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                         February 12, 2020
                                                                                                                         Brand Ambassador (National Team)
1898                                                                                      Vital Pharmaceuticals, Inc.
                                                                                                                         Agreement, dated March 16, 2018
                                   Case 22-17842-PDR                     Doc 1658             Filed 07/14/23 Employment
                                                                                                               Page 203       of 279
                                                                                                                        Agreement, dated
1899 Giuseppe Mannino                      10115 Elderberry Park Ln Tomball TX 77375       Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                          November 15, 2021
                                                                                                                          CONFIDENTIALITY AND NON-
       Givaudan Flavors Corporation                                                        Vital Pharmaceuticals, Inc.,
1900                                       1199 Edison Drive, Cincinnati OH 45216                                         DISCLOSURE AGREEMENT , dated        $0.00
       (“Givaudan Flavors”)                                                                DBA Bang Energy
                                                                                                                          January 20, 2022
                                                                                                                          CONFIDENTIALITY AND NON-
       Givaudan Flavors Corporation                                                        Vital Pharmaceuticals, Inc.,
1901                                       1199 Edison Drive, Cincinnati OH 45216                                         DISCLOSURE AGREEMENT , dated        $0.00
       (“Givaudan Flavors”)                                                                DBA Bang Energy
                                                                                                                          November 11, 2020
                                                                                                                          CONFIDENTIALITY AND NON-
       Glanbia Nutritionals Inc.                                                           Vital Pharmaceuticals, Inc.,
1902                                       5500 Nobel Drive Suite 250 Fitchburg WI 53711                                  DISCLOSURE AGREEMENT , dated        $0.00
       (“Glanbia”)                                                                         DBA Bang Energy
                                                                                                                          May 20, 2019
                                                                                                                          CONFIDENTIALITY AND NON-
       Glazer Beer and Beverage, LLC       Attn: Phil Meacham 14911 Quorum Drive,          Vital Pharmaceuticals, Inc.,
1903                                                                                                                      DISCLOSURE AGREEMENT , dated        $0.00
       ("Glazer")                          Suite 200 Dallas, TX 75254                      DBA Bang Energy
                                                                                                                          October 18, 2019
                                                                                                                          Letter re: Exclusive Distribution
       Glazer's Beer & Beverage of Texas   14911 Quorum Drive, Suite 200 Dallas TX
1904                                                                                       Vital Pharmaceuticals, Inc.    Agreement dated January 18, 2021,   $0.00
       LLC                                 75254
                                                                                                                          dated April 28, 2021
       Glazer's Beer and Beverage of Texas                                                                                Amendment to Exclusive Distribution
1905                                       1002 S Callaghan Rd San Antonio TX 78227        Quash Seltzer, LLC                                                 $0.00
       LLC                                                                                                                Agreement, dated August 06, 2021
       Glazer's Beer and Beverage of                                                                                      EXCLUSIVE DISTRIBUTION
1906                                       1002 S Callaghan Rd San Antonio TX 78227        Quash Seltzer, LLC                                                 $0.00
       Texas, LLC                                                                                                         AGREEMENT, dated May 03, 2021
                                           9874 NamaSuite Loop Apt 4205 Orlando FL                                        Employment Agreement, dated
1907 Glen Fannin Michael                                                                   Vital Pharmaceuticals, Inc.                                        $0.00
                                           32836                                                                          September 28, 2020
                                                                                                                          Brand Ambassador (Local Team)
1908                                                                                       Vital Pharmaceuticals, Inc.    Agreement, dated December 14,
                                                                                                                          2018
                                        Attn: Bernardo Lobato Fernandes Rua Ministro                                      CONFIDENTIALITY AND NON-
       Globalbev Bebidas e Alimentos SA                                              Vital Pharmaceuticals, Inc.,
1909                                    Orozimbo Nonato 102, Vila da Serra Vila da                                        DISCLOSURE AGREEMENT , dated        $0.00
       ("Globalbev Bebidas")                                                         DBA Bang Energy
                                        Serra, , MG, CNPJ 04175027/0001-76                                                September 21, 2021
                                        Attn: Bernardo Lobato Fernandes Rua Ministro                                      CONFIDENTIALITY AND NON-
     Globalbev Bebidas e Alimentos SA                                                Vital Pharmaceuticals, Inc.,
1910                                    Orozimbo Nonato 102 Vila da Serra, , MG,                                          DISCLOSURE AGREEMENT , dated        $0.00
     (Globalbev Bebidas)                                                             DBA Bang Energy
                                        CNPJ : 04175027/0001-76 Nova Lima                                                 September 21, 2021
                                        Baulkham Hills Business Centre, PO Box 6318 JHO Intellectual Property             Settlement Agreement, dated June
1911 Globe Consultancy Services Pty Ltd                                                                                                                       $0.00
                                        Baulkham Hills, HSW, 2153, Australia         Holdings, LLC                        29, 2022
                                                                                                                          Employment Agreement, dated
1912 Gloria Solarte Isabella               1254 SW 116 Ave Davie FL 33325                  Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                          March 01, 2021
                                                                                                                          Employment Agreement, dated July
1913 Gloria Soto N                         101 Berkley Rd Apt 305 Hollywood FL 33024       Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                          26, 2021
                                           Two North Riverside Plaza Suite 2350 Chicago                                   Multi-Tenant Industrial Triple Net
1914 GLP US Management LLC                                                              Vital Pharmaceuticals, Inc.                                           $0.00
                                           IL 60606                                                                       Lease, dated June 14, 2019
                                                                                                                          Engagement for Legal
1915 Glynn & Finley, LLP                   100 Pringle Ave #500 Walnut Creek CA 94596      Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                          Representation, dated July 05, 2021
                                                                                                                          Cooler Agreement, dated January 27,
1916 GNC # 2265                            9774 Glades Rd Boca Raton FL 33434              Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                          2016
                                           c/o GNC Holdings, Inc.                                                         Mutual Nondisclosure Agreement,
1917 GNC (Shanghai) Trading Co. Ltd.                                                       Vital Pharmaceuticals, Inc.                                        $0.00
                                           75 Hopper Pl, Pittsburgh, PA 15222                                             dated November 09, 2018
                                           Attn: John W. Saputo 7051 Wireless Court                                       Exclusive Distribution Agreement,
1918   Gold Coast Eagle Distributing, LLLP                                                 Vital Pharmaceuticals, Inc.                                        $0.00
                                           Sarasota FL 34240                                                              dated May 04, 2023
                                           Brett Birt 2361 B Avenue Ogden UT 84401-                                       DISTRIBUTOR AGREEMENT, dated
1919   Golden Beverage Company, L.L.C.                                                     Vital Pharmaceuticals, Inc.                                        $0.00
                                           1201                                                                           October 18, 2018
1920   Golden Eagle Distribing, Inc.       9669 Highway 168 Hannibal MO 63401              Quash Seltzer, LLC             Rider, dated July 27, 2021          $0.00
                                           Mark Meisenheimer - President 5235 Charter                                     EXCLUSIVE DISTRIBUTION
1921   Golden Eagle Distributing, Inc.                                                     Quash Seltzer, LLC                                                 $0.00
                                           Oak Drive Paducha KY 42001                                                     AGREEMENT, dated July 27, 2021
                                           Mark Meisenheimer - President 5235 Charter                                     Indemnity Agreement, dated July 27,
1922   Golden Eagle Distributing, Inc.                                                     Quash Seltzer, LLC                                                 $0.00
                                           Oak Drive Paducha KY 42001                                                     2021
                                           Barry Capps 1900 East 15th Street Little Rock                                  EXCLUSIVE DISTRIBUTION
1923 Golden Eagle of Arkansas, Inc.                                                        Quash Seltzer, LLC                                               $0.00
                                           AR 72202                                                                       AGREEMENT, dated January 31, 2021
                                           Attn: Robby Vogel
                                                                                                                          Settlement Agreement, dated
1924 Golden Eagle of Arkansas, Inc.        1900 East 15th Street                           Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                          October 26, 2021
                                           Little Rock, AK 72202
                                                                                                                          Amendment to Exclusive Distribution
1925 Golden Eagle of Arkansas, LLC         1900 E 15th St Little Rock AR 72202-5708        Quash Seltzer, LLC             Agreement, dated November 03,       $0.00
                                                                                                                          2021
                                                                                           Vital Pharmeceuticals, Inc.,   Confidential Service Agreement,
1926 Golub Corporation                     461 Nott Street Schenectady NY 12308                                                                               $0.00
                                                                                           DBA VPX Sports                 dated September 03, 2019
                                                                                           Vital Pharmaceuticals, Inc.,   Confidentiality & Non-Disclosure
1927 GoodCat, LLC.                         1440 Rail Head Blvd. Suite 5 Naples FL 34110                                                                       $0.00
                                                                                           d/b/a Bang Energy              Agreement, dated August 18, 2021
                                           Attn: Ronald P. Gossett 4700 Sheridan St.                                      Retainer Agreement, dated March
1928 Gossett & Gossett, P.A.                                                               Vital Pharmaceuticals, Inc.                                        $0.00
                                           Building I Hollywood FL 33021                                                  15, 2015
                                           3833 Ingraham St Apt A107 San Diego CA                                         Employment Agreement, dated July
1929 Grace Costello Kathleen Mcavoy                                                        Vital Pharmaceuticals, Inc.                                        $0.00
                                           92109                                                                          26, 2021
                                                                                                                          Elite Agreement, dated December 01,
1930                                                                                       Quash Seltzer, LLC
                                                                                                                          2021
                                 Case 22-17842-PDR                      Doc 1658             Filed 07/14/23 Affiliate
                                                                                                               Page      204
                                                                                                                      Member    of 279dated
                                                                                                                             Agreement,
1931                                                                                     Quash Seltzer, LLC
                                                                                                                        April 01, 2021
                                          1301 International Pkwy #300 Fort Lauderdale Vital Pharmaceuticals, Inc.,     Confidentiality & Non-Disclosure
1932 Grant Thorton, LLP                                                                                                                                     $0.00
                                          FL 33323                                     d/b/a Bang Energy                Agreement
                                                                                                                        Employment Agreement, dated July
1933 Granville Keys                       16 West Alicen Ct Phoenix AZ 85021             Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                        20, 2020
     Graphic Packaging International,     Attn: General Counsel 1500 Riveredge Parkway                                  Critical Vendor Agreement, dated
1934                                                                                   Vital Pharmaceuticals, Inc.                                          $0.00
     LLC                                  Atlanta GA 30328                                                              March 29, 2023
     Graphic Packaging International,     Attn: General Counsel 1500 Riveredge Parkway                                  Settlement Agreement, dated
1935                                                                                   Vital Pharmaceuticals, Inc.                                          $0.00
     LLC                                  Atlanta GA 30328                                                              November 14, 2022
     Graphic Packaging International,     1500 Riveredge Parkway Suite 100 Atlanta GA Vital Pharmaceuticals, Inc.,      Confidentiality & Non-Disclosure
1936                                                                                                                                                        $0.00
     LLC                                  30328                                        d/b/a Bang Energy                Agreement, dated July 16, 2019
     Graphic Packaging International,     Attn: General Counsel 1500 Riveredge Parkway                                  Agreement for the Sale of
1937                                                                                   Vital Pharmaceuticals, Inc.                                          $0.00
     LLC                                  Atlanta GA 30328                                                              Equipment, dated September 2021
                                          Attn: Ron Petrini CEO 2750 Eagle Ave N St.                                    Exclusive Distribution Agreement,
1938 Great Bay Distributors, Inc.                                                      Vital Pharmaceuticals, Inc.                                          $0.00
                                          Petersburg FL 33716                                                           dated May 03, 2023
                                                                                                                        Confidentiality & Non-Disclosure
                                                                                         Vital Pharmaceuticals, Inc.,
1939 Great Lakes Label, LLC               910 Metzgar Ct NW Comstock Park MI 49321                                      Agreement, dated November 16,       $0.00
                                                                                         d/b/a Bang Energy
                                                                                                                        2021
                                          100 South 5th Street, Suite 1800, Minneapolis,                                Business Auto Insurance Policy,
1940 Great Northern Insurance Company                                                    Vital Pharmaceuticals, Inc.                                        $0.00
                                          MN 55402                                                                      dated May 31, 2023
                                          Rich Porcaro 5701 East Hwy 84 Lubbock TX                                      EXCLUSIVE DISTRIBUTION
1941 Great Plains Distributors, LP                                                       Quash Seltzer, LLC                                                 $0.00
                                          79404                                                                         AGREEMENT, dated May 13, 2021
                                          Rich Porcaro 5701 East Hwy 84 Lubbock TX                                      Indemnity Agreement, dated
1942 Great Plains Distributors, LP                                                       Quash Seltzer, LLC                                                 $0.00
                                          79404                                                                         February 18, 2021
                                          Attn: Ron Fournier 1001 Quality Dr Hooksett
1943 Great State Beverage Inc                                                            Vital Pharmaceuticals, Inc.    Distributor Agreement, dated 2007   $0.00
                                          NH 03106
                                                                                                                       Distributor Agreement (Exclusive -
1944 Great State Beverages                1311 Dayton St Suite D Salinas CA 93901         Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                       NH)
       Great State Beverages d/b/a        Attn: Ronald Fournier 1000 Quality Dr Hooksett                               Distributor Agreement, dated July 06,
1945                                                                                      Vital Pharmaceuticals, Inc.                                        $0.00
       Premium Beverage Distributors      NH 03106                                                                     2007
                                          Attn Ron Fournier 1000 Quality Drive Hooksett                                Distributor Agreement, dated July 09,
1946 Great State Beverages Inc                                                            Vital Pharmaceuticals, Inc.                                        $0.00
                                          NH 03106                                                                     2007
                                                                                          Vital Pharmaceuticals, Inc., Confidentiality and Non-Disclosure
1947 Green Bay Packaging Inc.             1700 North Webster Ct Green Bay WI                                                                                 $0.00
                                                                                          d/b/a Bang Energy            Agreement, dated January 13, 2022
                                          PO Box 121233 Dept 1233 Dallas TX 75312-                                     Enrollment Authorization, dated
1948 Green Mountain Energy Company                                                        Vital Pharmaceuticals, Inc.                                        $0.00
                                          1233                                                                         October 03, 2018
                                          1440 Coral Ridge Drive Suite 435 Coral Springs                               Staffing Agreement, dated May 07,
1949 Greenlight Staffing Services, Inc.                                                   Vital Pharmaceuticals, Inc.                                        $0.00
                                          FL 33071-3345                                                                2012
                                                                                                                       Letter re: Miscellaneous Labor and
                                          Attn: Peter R. Siegel, Esq One Boca Place 2255
1950 Greenspoon Marder, P.A.                                                              Vital Pharmaceuticals, Inc. Employment Matters, dated              $0.00
                                          Glades Road, Suite 400-E Boca Raton FL 33431
                                                                                                                       September 29, 2017
                                          Florida Atlantic University 5353 Parkside Drive                              Expert Witness Retention Contract,
1951 Gregg B. Fields, Ph.D                                                                Vital Pharmaceuticals, Inc.                                        $0.00
                                          Building MC17 Jupiter FL 33458                                               dated September 08, 2015
                                                                                                                       Non Disclosure and Confidentiality
1952 Gregg B. Fields, Ph.D.               5353 Parkside Drive Jupiter FL 33458            Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                       Agreement
                                                                                                                       Employment Agreement, dated June
1953 Gregg Ginalick Allen                 330 Willow Run Prosper TX 75078                 Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                       15, 2020
                                          1513 Northwest 178th Way Pembroke Pines FL                                   Employment Agreement, dated April
1954 Gregg Metzger Howard                                                                 Vital Pharmaceuticals, Inc.                                        $0.00
                                          33029                                                                        04, 2022
                                                                                                                       Employment Agreement, dated April
1955 Gregg Shore William                  808 Rogers Ct Casselberry FL 32707              Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                       05, 2021
                                                                                                                       Employment Agreement, dated April
1956 Gregg Titus David                    4200 Yellowleaf Dr Fort Worth TX 76133          Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                       01, 2019
                                          6755 North 83rd Ave Apt 11101 Glendale AZ                                    Employment Agreement, dated
1957 Gregorio Cruz                                                                        Vital Pharmaceuticals, Inc.                                        $0.00
                                          85303                                                                        February 01, 2018
                                                                                                                       Employment Agreement, dated
1958 Gregory Decker F                     768 Ilwaco Place Northeast Renton WA 98059 Vital Pharmaceuticals, Inc.                                             $0.00
                                                                                                                       February 14, 2022
                                                                                                                       Employment Agreement, dated
1959 Gregory Donadio                      9059 West Sunrise Blvd Plantation FL 33322      Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                       August 02, 2021
                                          1901 North Ocean Blvd Unit 2C Fort Lauderdale                                Employment Agreement, dated
1960 Gregory Robbins R                                                                    Vital Pharmaceuticals, Inc.                                        $0.00
                                          FL 33305                                                                     January 03, 2022
                                                                                                                       Indemnity Agreement, dated April
1961 Grellner Sales & Service, Inc.       3705 Highway V Rolla MO 65401-8575              Quash Seltzer, LLC                                                 $0.00
                                                                                                                       09, 2021
                                          Attn: Rodney Edwards, 3705 State Hwy, Rolla,                                 Exclusive Distribution Agreement,
1962 Grellner Sales & Service, Inc.                                                       Vital Pharmaceuticals, Inc.                                        $0.00
                                          MO 65401                                                                     dated May 19, 2023
                                          Rodney Edwards 3705 Highway V Rolla MO                                       EXCLUSIVE DISTRIBUTION
1963 Grellner Sales and Service, Inc                                                      Quash Seltzer, LLC                                                 $0.00
                                          65401                                                                        AGREEMENT, dated April 19, 2021
                                                                                                                       CONFIDENTIALITY AND NON-
                                          6350 N. Andrews Ave. Suite 200 Fort             Vital Pharmaceuticals, Inc.,
1964 Greyson Technologies, Inc.                                                                                        DISCLOSURE AGREEMENT, dated July $0.00
                                          Lauderdale FL 33309                             d/b/a Bang Energy ("Bang")
                                                                                                                       17, 2019
                                                                                                                       CONFIDENTIALITY AND NON-
                                                                                          Vital Pharmaceuticals, Inc.,
1965 Grocery Corporation Pty Limited      22 Darley Road Suite 28 Manly NSW 2095 AU                                    DISCLOSURE AGREEMENT, dated           $0.00
                                                                                          d/b/a Bang Energy ("Bang")
                                                                                                                       January 17, 2019
                                          PO Box 638 75483-0638 130 Hillcrest 75482
1966 GROCERY SUPPLY COMPANY                                                               Vital Pharmaceuticals, Inc. ﻿HOURS OF OPERATION                    $0.00
                                          Sulpher Springs TX
                                  Case Carretera
                                       22-17842-PDR
                                                 Mexico-Pachuca Km.Doc    1658
                                                                   12.5 Rustica                Filed 07/14/23 Confidentiality
                                                                                                                Page 205           of 279
                                                                                                                              and Non-Disclosure
                                                                                            Vital Pharmaceuticals, Inc.,
1967 GRUPO JUMEX, S.A. de C.V.              Xalostoc Ecatepec de Morelos Estado de                                         Agreement, dated September 28,      $0.00
                                                                                            d/b/a Bang Energy
                                            Mexico 55340 Mexico                                                            2021
       GSC Enterprises, Inc., dba Grocery                                                                                  GSC - Vendor Agreement, dated April
1968                                        P.O. Box 638, Sulphur Springs, Texas 75483      Vital Pharmaceuticals, Inc.                                        $0.00
       Supply Company                                                                                                      20, 2023
                               No. 9 Baihesan Rd East area of the Economic
     GUANGDONG-HONG KONG SMART                                                              Vital Pharmaceuticals, Inc.,   Confidentiality and Non-Disclosure
1969                           Technology Development Zone of Guangzhou                                                                                         $0.00
     PRINTING (GZ)CO.,LTD                                                                   d/b/a Bang Energy              Agreement, dated June 21, 2021
                               China
                                                                                                                           Employment Agreement, dated
1970 Guillermo Campos R                     18141 SW 144th Ct Miami FL 33177                Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                           March 16, 2020
                                            Attn Darrel Duchesneau 5525 Telephone Road
1971 Gulf Coast Beverages, Inc.                                                             Vital Pharmaceuticals, Inc.    Distributor Agreement                $0.00
                                            Houston TX 77375
     Gulf Coast Beverages, Inc., d/b/a      Attn: Robert Thalji 5525 Telephone Rd Ste E                                    Distributor Agreement, dated July 01,
1972                                                                                        Vital Pharmaceuticals, Inc.                                          $0.00
     Natural Brands Beverages               Houston TX 77375                                                               2007
                                            P.O. Box 3072 43456 Ellsworth Street Fremont
1973 Guru Enterprises, Inc.                                                                 Vital Pharmaceuticals, Inc.    Distribution Agreement               $0.00
                                            CA 94539
                                            11745 West Atlantic Blvd Apt 36 Coral Springs                                  Employment Agreement, dated April
1974 Gustavo Paiva E                                                                        Vital Pharmaceuticals, Inc.                                       $0.00
                                            FL 33071                                                                       25, 2022
                                                                                                                           Employment Agreement, dated July
1975 Gustavo Terrazas Casias                19392 West Woodlands Ave Buckeye AZ 85326 Vital Pharmaceuticals, Inc.                                             $0.00
                                                                                                                           12, 2021
                                            100 N Pacific Coast Hwy Ste 1600 El Segundo,                                   Settlement Agreement, dated August
1976 Guthy-Renker LLC                                                                       Vital Pharmaceuticals, Inc.                                       $0.00
                                            CA 90245                                                                       04, 2014
                                                                                                                           Brand Ambassador (National Team)
1977                                                                                        Vital Pharmaceuticals, Inc.
                                                                                                                           Agreement, dated July 19, 2017
                                            Mark C. Ribec 1402 Sawyer Road Traverse City                                   Exclusive Distribution Agreement,
1978 H. Cox and Son, Inc.                                                                Vital Pharmaceuticals, Inc.                                          $0.00
                                            MI 49685                                                                       dated January 29, 2021
                                            Mark E. Ribel 1402 Sawyer Rd. Taverse City MI                                  EXCLUSIVE DISTRIBUTION
1979 H. COXAND Son INC.                                                                   Quash Seltzer, LLC                                                 $0.00
                                            49685                                                                          AGREEMENT, dated January 29, 2021
       H.B. Fuller Company - Michael        1200 Willow Lake Blvd                                                          Vistor Non-Disclosure Agreement,
1980                                                                                        Vital Pharmaceuticals, Inc.                                       $0.00
       Anderson                             St. Paul, MN 55110-5146                                                        dated September 26, 2019
                                                                                                                           Employment Agreement, dated
1981 Hal Gerson Kevin                       210 Camilo Ave Coral Gables FL 33134            Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                           December 23, 2019
                                                                                                                           Fitness Model Agreement, dated
1982                                                                                        Vital Pharmaceuticals, Inc.
                                                                                                                           April 01, 2016
                                                                                                                           Employment Agreement, dated June
1983 Haley Sedgewick Rose                   10103 L Pavia Blvd Venice FL 34292              Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                           27, 2022
                                            5420 Lyndon B. Johnson Freeway, Suite 1100,                                    Commercial Property Insurance
1984 Hallmark Insurance Company                                                             Vital Pharmaceuticals, Inc.                                       $0.00
                                            Dallas, TX 75240-2345                                                          Policy
                                                                                                                           EXCLUSIVE DISTRIBUTION
       Hammond Beverage Group of            Erin Murcia, General Manager 15827
1985                                                                                        Quash Seltzer, LLC             AGREEMENT, dated October 26,       $0.00
       Maryland LLC                         Commerce Court Upper Marlboro MD 20774
                                                                                                                           2021
                                                                                                                           Elite Team Agreement, dated
1986                                                                                        Vital Pharmaceuticals, Inc.
                                                                                                                           December 06, 2018
       Hand Family Companies KY, LLC,                                                                                      Distributor Agreement, dated March
1987                                        2059 Wilma Rudolph Blvd. Clarksville TN 37040 Vital Pharmaceuticals, Inc.                                         $0.00
       d/b/a Budweiser of Hopkinsville                                                                                     30, 2015
                                            301 Jungyoun Geovil BD 122-3 Yeonhui-dong                                      Memorandum of Understanding,
1988 Hankook Optimum Sports Inc.                                                            Vital Pharmaceuticals, Inc.                                       $0.00
                                            Seodaemun-gu Seoul 120-825 South Korea                                         dated September 09, 2010
                                                                                                                           Brand Ambassador Agreement, dated
1989                                                                                        Vital Pharmaceuticals, Inc.
                                                                                                                           October 11, 2021
                                                                                                                           Brand Ambassador (National Team)
1990                                                                                        Vital Pharmaceuticals, Inc.
                                                                                                                           Agreement, dated May 03, 2019
                                                                                                                           Employment Agreement, dated
1991 Hannah Williamson Joy                  7700 Jasmine Falls Dr Las Vegas NV 89179        Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                           January 15, 2020
                                            619 Orton Ave Apt 304 Fort Lauderdale FL                                       Employment Agreement, dated
1992 Hans Hernandez Miguel                                                                  Vital Pharmaceuticals, Inc.                                       $0.00
                                            33304                                                                          March 23, 2020
                                            Attn: Anthony Haralambos 2300 Pellissier Pl
1993 Haralambos Beverage Co.                                                                Vital Pharmaceuticals, Inc.    Distributor Agreement, dated 2007    $0.00
                                            City of Industry CA 90601
                                                                                                                           Acceptance of Responsibility - Use of
1994 Harboes Bryggeri A/S                   Spegerborgvej 34 Skaelskor 4230 Denmark         Vital Pharmaceuticals, Inc.    Cans and Product Packaging, dated $0.00
                                                                                                                           November 08, 2019
                                                                                                                           Confidentiality and Non-Disclosure
                                                                                            Vital Pharmaceuticals, Inc.,
1995 Harboes Bryggeri A/S                   Spegerborgvej 14 4230 Skaelkor Denmark                                         Agreement, dated December 21,         $0.00
                                                                                            d/b/a Bang Energy
                                                                                                                           2021
                                                                                            Vital Pharmaceuticals, Inc.    Confidentiality and Non-Disclosure
1996 Harboes Bryggeri AS                    Spegerborgvej 14 Skaelskor 4230 Denmark                                                                              $0.00
                                                                                            dba Bang Energy                Agreement, dated April 01, 2019
                                            50 Schouweiler Tract Road East Elma WA                                         Distributor Agreement, dated
1997 Harbor Pacific Bottling, Inc.                                                          Vital Pharmaceuticals, Inc.                                          $0.00
                                            98541                                                                          October 01, 2018
                                            Jay Harris 3505 Hillsborough Rd Durham NC                                      Distributor Agreement, dated
1998 Harris Beverages, LLC                                                                  Vital Pharmaceuticals, Inc.                                          $0.00
                                            27705                                                                          December 12, 2018
                                                                                                                           Employment Agreement, dated
1999 Harris Fahie Jr                        6330 Southwest 34th St Miramar FL 33023         Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                           August 15, 2022
                                                                                                                           Employment Agreement, dated
2000 Harry Hale James                       516 Bankhead Dr Cary NC 27519                   Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                           March 23, 2020
                                                                                                                           Employment Agreement, dated
2001 Haven Hansana Pauline                  1010 Pakse St Venus TX 76084                    Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                           January 15, 2020
                                  Case 22-17842-PDR                     Doc 1658           Filed 07/14/23 Employment
                                                                                                            Page 206       of 279
                                                                                                                     Agreement, dated
2002 Haven Hansana Pauline               1010 Pakse St Venus TX 76084                   Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                       August 08, 2022
                                                                                                                       EXCLUSIVE DISTRIBUTION
2003 Havre Distributors, Inc             935 1St St Havre MT 59501-3705                 Quash Seltzer, LLC             AGREEMENT, dated November 22,        $0.00
                                                                                                                       2021
                                         Carl W. Halkyer Jr 1010A Underwood Rd.                                        DISTRIBUTOR AGREEMENT, dated
2004 Hawk Enterprises                                                                   Vital Pharmaceuticals, Inc.                                         $0.00
                                         Olyphant PA 18447                                                             December 28, 2018
                                                                                                                       Amendment to Exclusive Distribution
2005 Healy Wholesale Company             PO Box 36157 Fayetteville NC 28303-1157        Quash Seltzer, LLC                                                 $0.00
                                                                                                                       Agreement, dated April 06, 2021
                                                                                                                       Exclusive Distribution Agreement,
2006 Healy Wholesale Company, Inc.       PO Box 36157 Fayetteville NC 28303-1157        Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                       dated March 18, 2021
                                                                                                                       Employment Agreement, dated
2007 Heather Gray Lynn                   3427 Nassau St Everett WA 98201                Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                       January 11, 2021
                                                                                                                       Employment Agreement, dated April
2008 Hector Lira Salguero Manuel         12210 West Riverside Ave Tolleson AZ 85353     Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                       27, 2020
                                         968 SW 143rd Ave Pembroke Pines FL 33027-                                     Employment Agreement, dated April
2009 Hector Ortiz De Jesus                                                              Vital Pharmaceuticals, Inc.                                         $0.00
                                         3302                                                                          29, 2014
                                         5463 Northwest Norris Ave Port St Lucie FL                                    Employment Agreement, dated
2010 Hector Rodriguez                                                                   Vital Pharmaceuticals, Inc.                                         $0.00
                                         34986                                                                         November 08, 2021
                                                                                                                       Employment Agreement, dated July
2011 Hector Sanchez Gonzalez Manuel      250 West Juniper Ave Unit 59 Gilbert AZ 85233 Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                       25, 2022
                                         8477 Sandstone Lake Dr Apt 101 Town 'N'                                       Employment Agreement, dated
2012 Hector Torres Santiago Luis                                                        Vital Pharmaceuticals, Inc.                                         $0.00
                                         Country FL 33615                                                              August 05, 2019
     Hedinger Beverage Distributing Co., Attn: Keith G. Hedinger PO Box 52 950 South                                   Distributor Agreement, dated April
2013                                                                                    Vital Pharmaceuticals, Inc.                                         $0.00
     Inc.                                St. Charles Street Jasper IN 47546                                            03, 2019
                                                                                                                       Exclusive Promotional Modeling
2014                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                       Contract, dated January 23, 2014
                                                                                                                       Model Release and Affidavit, dated
2015                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                       October 12, 2011
                                                                                                                       Distributor Agreement, dated April
2016 Heimark Distributing, LLC           82851 Avenue 45 Indio CA 92201                 Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                       10, 2018
                                                                                                                       Employment Agreement, dated
2017 Heith Warshaw Michael               54 Queen AnNE Ln Wappingers Fall NY 12590      Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                       December 05, 2018
                                         8/9 Monterey Rd Dandenong VIC 3175             Vital Pharmaceuticals, Inc.,   Confidentiality & Non-Circumvention
2018 Hellay Australia Pty Ltd.                                                                                                                             $0.00
                                         Australia                                      d/b/a VPX                      Agreement, dated May 07, 2018
                                                                                        Vital Pharmaceuticals, Inc.,   Confidentiality and Non-Disclosure
2019 Hemberga Dryckesgrossisten AB       Frihamnsgatan 28 115 56 Stockholm Sweden                                                                          $0.00
                                                                                        d/b/a Bang Energy              Agreement, dated 2020
                                                                                                                       Employment Agreement, dated
2020 Henry Barefoot Martinez             8451 SW 163rd Pl Miami FL 33193                Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                       August 01, 2022
                                                                                                                       Employment Agreement, dated
2021 Henry Diaz                          2838 Live Oak St Huntington Park CA 90255      Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                       February 21, 2022
                                                                                                                       STANDARD DESIGN-BUILD
                                                                                                                       AGREEMENT AND GENERAL
2022 Hensel Phelps Construction Co.      3125 East Wood Street Phoenix AZ 85040         Vital Pharmaceuticals, Inc.    CONDITIONS BETWEEN OWNER AND $0.00
                                                                                                                       DESIGN-BUILDER, dated May 04,
                                                                                                                       2020
                                                                                                                       Exclusive Distribution Agreemen,
2023 Hensley & Co                        4201 North 45th Avenue Phoenix AZ 85031        Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                       dated August 12, 2022
                                                                                                                       First Addendum to Exclusive
2024 Hensley & Co                        4201 North 45th Avenue Phoenix AZ 85031        Vital Pharmaceuticals, Inc.    Distribution Agreemen, dated August $0.00
                                                                                                                       18, 2022
                                                                                                                       Distributor Agreement, dated March
2025 Hensley Beverage Company            4201 North 45th Avenue Phoenix AZ 85031        Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                       01, 2010
                                                                                                                       Employment Agreement, dated
2026 Heriberto Adorno                    247 Cascade Bend Dr Ruskin FL 33570            Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                       January 11, 2021
                                                                                                                       Project Site Visit Indemnification
       Hernandez Construction, LLC; South Alex Hernandez, President 20351 Sheridan
2027                                                                                    Vital Pharmaceuticals, Inc.    Agreement, dated December 11,       $0.00
       Florida Distribution Center, LLC   Street Pembroke Pines FL 33332
                                                                                                                       2019
                                         4630 S. Kirkman Road Unit 368 Orlando FL                                      Consulting Agreement, dated January
2028 Heuer M.D. Research, Inc.                                                          Vital Pharmaceuticals, Inc.                                        $0.00
                                         32811                                                                         24, 2014
                                                                                                                       Master Agreement, dated November
2029 HH Staffing Services                2910 University Parkway Sarasota FL 34243      Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                       09, 2018
     High Country                        Steve Nichols 4200 Ronald Reagan Boulevard                                    Distributor Agreement, dated
2030                                                                                    Vital Pharmaceuticals, Inc.                                        $0.00
     Beverage Corp.                      Johnstown CO 80534                                                            February 01, 2019
                                                                                                                       Distributor Agreement, dated
2031 High Peaks Distributing             1016 State Route 3 Saranac Lake NY 12983       Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                       October 23, 2018
                                                                                                                       Exclusive Distribution Agreement
                                         Attn: Chad McCraith 20 Burrstone Road New
2032 High Peaks Distributing LLC                                                        Quash Seltzer, LLC             (MIXX Hard Seltzer), dated August   $0.00
                                         York Mills NY 13417
                                                                                                                       18, 2021
                                                                                                                       Employment Agreement, dated
2033 Hilda Restrepo                      6120 NW 186th St #206 Hialeah FL 33015         Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                       March 12, 2020
                                         Attn: Jack P Hilliard, Jr 1000 Independence                                   Distributor Agreement (Exclusive),
2034 Hilliard Distributing Co., Inc.                                                    Vital Pharmaceuticals, Inc.                                        $0.00
                                         Brayn TX 77803                                                                dated July 31, 2009
                                  Case 22-17842-PDR                    Doc 1658             Filed 07/14/23 Distributor
                                                                                                              PageAgreement
                                                                                                                       207 of(Exclusive
                                                                                                                               279 -
2035 Hilliard Distributing Co., Inc.     1000 Independence Ave Bryan TX 77803-2032 Vital Pharmaceuticals, Inc.                                                $0.00
                                                                                                                        TX)
                                                                                                                        Letter re: Proposal for Chief
                                         650 Graham Rd, Ste 106 Cuyahoga Falls, OH                                      Restructuring Advisor ("Engagement
2036 Hillyer Group, LLC                                                                  Vital Pharmaceuticals, Inc.                                          $0.00
                                         44221                                                                          Agreement"), dated October 28,
                                                                                                                        2014
                                                                                                                        Credit Application, dated October 09,
2037 Hilmar Cheese Company, Inc.         PO Box 901 Hilmar CA 95324                      Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                        2019
                                                                                                                        Confidentiality and Non-Disclosure
                                                                                         Vital Pharmaceuticals, Inc.,
2038 Hitachi Capital America Corp.       251 Little Falls Dr Wilmington DE 19808                                        Agreement, dated November 03,         $0.00
                                                                                         d/b/a Bang Energy
                                                                                                                        2020
                                                                                                                        Non Disclosure and Confidentiality
2039 Hi-Tech Pharmaceuticals Inc.        6015-B Unity Drive Norcross GA 30071            Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                        Agreement, dated January 20, 2015
                                                                                         Vital Pharmaceuticals, Inc.    Non-Disclosure & Confidentiality
2040 HM Capital Partners                 200 Crescent Court Suite 1600 Dallas TX 75201                                                                        $0.00
                                                                                         dba VPX/Redline                Agreement, dated March 01, 2021
                                         4105 S. Military Highway Chesapeake VA                                         Distributor Agreement, dated
2041 Hoffman Beverage                                                                    Vital Pharmaceuticals, Inc.                                          $0.00
                                         23321                                                                          December 20, 2018
                                         4105 S. Military Highway Chesapeake VA                                         Exclusive Distributor Agreement,
2042 Hoffman Beverage                                                                    Vital Pharmaceuticals, Inc.                                          $0.00
                                         23321                                                                          dated December 13, 2022
                                         Alexandra Holland                                                              Auction Sale Agreement, dated
2043 Holland Industrial Group                                                            Vital Pharmaceuticals, Inc.                                          $0.00
                                         13105 NW 42nd Ave Opa Locka, FL 33054                                          January 26, 2022
                                                                                                                        Distributor Agreement, dated
2044 Holston Distributing Co., Inc.      310 Lafe Cox Drive Johnson City TN 37604        Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                        February 12, 2018
                                                                                                                        Elite Team Agreement, dated March
2045                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                        25, 2017
                                                                                                                        Employment Agreement, dated
2046 Horasio Horosco                     3353 E Ave T2 Palmdale CA 93550                 Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                        January 13, 2020
2047 Horizon Beverage Company LP         8380 Pardee Drive Oakland CA 94621              Vital Pharmaceuticals, Inc.    Distributor Agreement                 $0.00
                                         c/o Century Foods International 400 Century     Vital Pharmaceuticals, Inc.,   Confidentiality & Non-Circumvention
2048 Hormel Foods Corporation                                                                                                                               $0.00
                                         Court Sparta WI 54656                           d/b/a VPX                      Agreement, dated March 29, 2018

                                                                                         Vital Pharmaceuticals, Inc.,   Confidentiality & Non-Circumvention
2049 Horseshoe Beverage Co.              590 Enterprise Drive Neenah WI 54956                                                                               $0.00
                                                                                         d/b/a VPX                      Agreement, dated July 17, 2018
       Horseshoe Beverage Company                                                        Vital Pharmaceuticals, Inc.,   Confidentiality and Non-Disclosure
2050                                     1101 Moasis Dr Little Chute WI 54140                                                                                 $0.00
       ("Horseshoe"), LLC                                                                d/b/a Bang Energy              Agreement, dated January 06, 2020
                                         700 CHURCH ST / BOWLING GREEN KY 42101-                                        Platinum Merchandising Execution
2051 Houchens Food Group, Inc                                                    Vital Pharmaceuticals, Inc.                                                  $0.00
                                         1816 / US                                                                      Program, dated November 21, 2022
                                                                                         Vital Pharmaceuticals, Inc.,   Confindentiality and Non-Disclosure
2052 Houchens Industries                 700 Church Street Bowling Green KY 42101                                                                           $0.00
                                                                                         d/b/a Bang Energy              Agreement, dated August 25, 2021
                                                                                                                        Contract Packaging Agreement,
2053 HP Hood LLC                         President Six Kimball Lane Lynnfield MA 01940 Vital Pharmaceuticals, Inc.                                            $0.00
                                                                                                                        dated August 01, 2008
                                         No. 69 of Guishan Road Yangtz River Industrial Vital Pharmaceuticals, Inc.,    Confindentiality and Non-Disclosure
2054 Hubei ORG Packaging Co., Ltd                                                                                                                           $0.00
                                         Park Xianning City Hubei Province China        d/b/a Bang Energy               Agreement, dated October 27, 2020
                                         530 Walnut Street Suite 850 Philadelphia PA                                    Model Release and Affidavit, dated
2055 Human Performance Magazine                                                      Vital Pharmaceuticals, Inc.                                           $0.00
                                         19106                                                                          July 20, 2011
                                         Roger Brown 400 North 5th Street Fort Dodge                                    Distributor Agreement, dated
2056 Humes Distributing, Inc.                                                        Vital Pharmaceuticals, Inc.                                           $0.00
                                         IA 50501                                                                       January 10, 2019
                                                                                                                        Hunter & Michaels Executive Search
2057 Hunter & Michaels Executive         8330 LBJ Freeway, Suite 580 Dallas TX 75243     Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                        Firm, dated October 13, 2021
2058 Hunter Hernandez                    2300 Wedekind Rd Apt 64 Reno NV                 Vital Pharmaceuticals, Inc.    Endorsement Agreement, dated 2011 $0.00
                                                                                                                        Employment Agreement, dated
2059 Hunter Leffler Michelle             5904 Reiter Ave Las Vegas NV 89108              Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                        January 14, 2019
                                         741 Street #2 Puran Nagar Paris Road Sialkot    Vital Pharmaceuticals, Inc.,   Confindentiality and Non-Disclosure
2060 Hurley Sports                                                                                                                                          $0.00
                                         Punjab 51310 Pakistan                           d/b/a Bang Energy              Agreement, dated July 15, 2020
                                                                                                                        Exclusive Distribution Agreement
                                         Attn: Jim Johnston 509 Cavanaugh St Alpena
2061 Huron Distributors                                                                  Quash Seltzer, LLC             (Hard Seltzer), dated January 29,     $0.00
                                         MI 49707
                                                                                                                        2021
                                         Jim Johnston 509 Cavanaugh Street Alpina MI                                    Exclusive Distribution Agreement,
2062 Huron Distributors Inc.                                                             Vital Pharmaceuticals, Inc.                                          $0.00
                                         49707                                                                          dated January 29, 2021
                                         James E. Johnston 509 Cavanaugh Street                                         Distributor Agreement, dated
2063 Huron Distributors Inc.                                                             Vital Pharmaceuticals, Inc.                                          $0.00
                                         Alpena MI 49707                                                                November 14, 2018
                                                                                                                        Employment Agreement, dated
2064 Hussein Delawar                     1500 Stadium Ct Lehigh Acres FL 33971           Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                        December 30, 2019
                                                                                                                        Confindentiality and Non-Disclosure
                                                                                         Vital Pharmaceuticals, Inc.,
2065 Hybrid Shipping and Logistics LLC   11552 NW 87TH PL Hialeah FL 33018                                              Agreement, dated December 07,         $0.00
                                                                                         d/b/a Bang Energy
                                                                                                                        2021
       I.PALIOURIS MON.EPE Trading as                                                    Vital Pharmaceuticals, Inc.,   Confidentiality and Non-Disclosure
2066                                     Vouliagmenis Ave 538 Athens 17456 Greece                                                                             $0.00
       Premium Brands                                                                    d/b/a Bang Energy              Agreement, dated July 20, 2021
                                                                                                                        Trainer Services Agreement, dated
2067                                                                                     Quash Seltzer, LLC
                                                                                                                        October 18, 2021
                                  Case Attn:
                                       22-17842-PDR
                                             Lease Administration c/o Doc
                                                                      GLP US 1658              Filed 07/14/23                 Page 208 of 279
       Icon FL Orlando Industrial Owner                                                                                    Multi-Tenant Industrial Triple Net
2068                                      Management, LLC Two North Riverdale Plaza         Vital Pharmaceuticals, Inc.                                            $0.00
       Pool 5 GA/FL, LLC                                                                                                   Lease, dated November 10, 2017
                                          Suite 2350 Chicago IL 60606
                                                                                                                           Letter re: Lease with respect to
     Icon FL Orlando Industrial Owner     c/o Link Industrial Management LLC 220
                                                                                                                           property located at 4187-4213 34th
2069 Pool 5 GA/FL, LLC (fka BRE/FL        Commerce Drive, Suite 400 Fort Washington         Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                           Street, Orlando, FL, dated September
     Orlando Indstrl)                     PA 19034
                                                                                                                           26, 2019
                                                                                                                           Confindentiality and Non-Disclosure
                                          Clarence V. Lee III One East Weaver Street        Vital Pharmaceuticals, Inc.,
2070 Icon International, Inc.                                                                                              Agreement, dated November 18,        $0.00
                                          Greenwich CT 06831                                d/b/a Bang Energy
                                                                                                                           2020
                                                                                                                           Distributor Agreement, dated June
2071 Idaho Beverages, Inc.                2108 1st Ave. N Lewiston ID 83501                 Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                           13, 2011
2072 Idaho Milk Products Inc.             2249 S Tiger Dr / Jerome ID 83338 / US            Vital Pharmaceuticals, Inc.    Materials / Packaging Agreement      $0.00
                                                                                                                           Ideoclick Fulfillment Services
2073 IdeoClick                            568 1st Ave S, Suite 600 Seattle WA 98104         Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                           Agreement, dated April 14, 2016
                                          2600 S Douglas Road Suite 508 Coral Gables FL                                    Videographer Agreement, dated
2074 iEntertain Inc                                                                     Vital Pharmaceuticals, Inc.                                             $0.00
                                          33134                                                                            August 10, 2018
                                          1509 W Hebron Pkwy Ste 120 Carrollton TX      Vital Pharmaceuticals, Inc.,       Confindentiality and Non-Disclosure
2075 IGHTY SUPPORT, LLC                                                                                                                                         $0.00
                                          75010                                         d/b/a Bang Energy                  Agreement
                                          3308 Towewood Drive, Farmers Branch, Tx       JHO Intellectual Property          FINAL Co-Existence Agreement,
2076 Ignite International, Ltd                                                                                                                                  $0.00
                                          75234                                         Holdings, LLC                      dated August 05, 2022
                                                                                                                           Distributor Agreement, dated
2077 Ike Auen Distributing Company Inc Jim Auen 102 N Grant Rd Carrol IA 51401              Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                           January 09, 2019
                                                                                                                           Nunc Pro Tunc Confidentiality and
                                          Anthony L. Almada 32565 Golden Lantern Ste        Vital Pharmaceuticals, Inc.,
2078 ImagiNutrition, Inc                                                                                                   Non-Disclosure Agreement, dated      $0.00
                                          B, PMB 477 Dana Point CA 92629                    d/b/a Bang Energy
                                                                                                                           September 21, 2018
                                                                                                                           Employment Agreement, dated
2079 Imer Amador Esquivel Alfredo         19310 NW 37 Ave Miami Gardens FL 33056            Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                           March 30, 2020
                                                                                                                           Confindentiality and Non-Disclosure
                                          150 Alhambra Circle, Suite 950 Coral Gables FL Vital Pharmaceuticals, Inc.,
2080 IMG Worldwide, LLC                                                                                                    Agreement, dated September 15,       $0.00
                                          33134                                          d/b/a Bang Energy
                                                                                                                           2020
                                                                                                                           Employment Agreement, dated
2081 Ina Walters Consuelo                 10843 South 175th Dr Goodyear AZ 85338            Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                           November 23, 2020
     Industrial Power Truck Leasing, LLC,                                                                                  Confindentiality and Non-Disclosure
                                          Peter Cippari 712 N. Beach St. Fort Worth TX Vital Pharmaceuticals, Inc.,
2082 d/b/a Industrial Power Truck &                                                                                        Agreement, dated November 14,        $0.00
                                          76111                                        d/b/a Bang Energy
     Equipment                                                                                                             2019
                                          3351 Michelson Drive Suite 100 Irvine CA     Vital Pharmaceuticals, Inc          Non-Disclosure Agreement, dated
2083 Ingram Micro Inc.                                                                                                                                          $0.00
                                          92612                                        dba VPX                             September 18, 2018
                                          4170 Ashford Dunwoody RdNE Suite 250                                             Statement of Work, dated September
2084 Insight Global, LLC                                                               Vital Pharmaceuticals, Inc.                                              $0.00
                                          Brookhaven GA 30319                                                              09, 2019
                                          4980 NW 165th St., Unit A-7 Miami Gardens FL Vital Pharmaceuticals, Inc.,        Confindentiality and Non-Disclosure
2085 Integrated Technology Services                                                                                                                             $0.00
                                          33014                                        d/b/a Bang Energy                   Agreement
                                          800 Douglas Rd 12th Floor Coral Gables FL
2086 Inter Miami FC, LLC                                                               Vital Pharmaceuticals, Inc.         Exhibit A Rights, dated July 08, 2020   $0.00
                                          33134
                                          Candece Hadley 22 North 1400 West                 Vital Pharmaceuticals, Inc.,   Confindentiality and Non-Disclosure
2087 Intermountain Business Forms, Inc.                                                                                                                        $0.00
                                          Centerville UT 84014                              d/b/a Bang Energy              Agreement, dated July 09, 2020
                                                                                                                           Exclusive Distribution Agreement
2088 Intermountain Distributing Co.       1010 Intermountain St Billings MT 59101-7721 Quash Seltzer, LLC                  (Hard Seltzer), dated November 18, $0.00
                                                                                                                           2021
                                                                                                                           Agreement for Appraisal Service ,
2089 International Appraisals, Inc        Ronald Savill intappraise@aol.com                 Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                           dated October 23, 2014
                                          Luis Rodriguez 150 Alhambra Circle, Suite 950     Vital Pharmaceuticals, Inc.,   Confindentiality and Non-Disclosure
2090 International Management Group                                                                                                                            $0.00
                                          Coral Gables FL 33134                             d/b/a Bang Energy              Agreement
                                          Veronica Salazar, Account Manager 6400            Vital Pharmaceuticals, Inc.,   Confidentiality and Non-Disclosure
2091 International Paper Company                                                                                                                               $0.00
                                          Poplar Ave. Memphis TN 38197                      d/b/a Bang Energy              Agreement, dated January 06, 2020
       International Society of Sports    Erica Stump, 110 E Broward Blvd Suite 1700 Ft                                    Sponsorship Agreement, dated May
2092                                                                                        Vital Pharmaceuticals, Inc.                                        $0.00
       Nutrition                          Lauderdale FL 33301                                                              06, 2019
                                          Lisa Krinsky 140 NW 16TH ST Boca Raton FL                                        Substituted Settlement Agreement,
2093 Intocell Distributors, LLC                                                             Vital Pharmaceuticals, Inc.                                        $0.00
                                          33432                                                                            dated May 01, 2014
                                                                                                                           Exclusive Distribution Agreement
2094 Intrastate Distributors, Inc.        6400 E 8 Mile Rd Detroit MI 48234-1111            Quash Seltzer, LLC             (MIXX Hard Seltzer), dated December $0.00
                                                                                                                           02, 2021
                                                                                                                           Confindentiality and Non-Disclosure
                                                                                            Vital Pharmaceuticals, Inc.,
2095 Inversiónes Reyes Pericon            Calle Topater #1105 Urb Illampu El Alto Bolivia                                  Agreement, dated December 08,       $0.00
                                                                                            d/b/a Bang Energy
                                                                                                                           2021
                                          Jay Cohen 10151 N.W. 67th St. Tamarac FL          Vital Pharmaceuticals, Inc.,   Confindentiality and Non-Disclosure
2096 IQ Formulations, LCC                                                                                                                                      $0.00
                                          33321                                             d/b/a Bang Energy              Agreement, dated August 29, 2019
                                                                                                                           Employment Agreement, dated May
2097 Irina Garcia Caridad                 11431 Lakeside Dr Apt 1402 Doral FL 33178         Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                           04, 2020
                                                                                                                           Employment Agreement, dated April
2098 Isabel Bolivar                       10958 SW 232 Ter Miami FL 33032                   Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                           22, 2019
                                                                                                                           Employment Agreement, dated July
2099 Isabel Montes Perez                  11437 West Yavapai St Avondale AZ 85323           Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                           18, 2022
                                   Case 22-17842-PDR                         Doc 1658             Filed 07/14/23 ElitePage   209
                                                                                                                       Agreement,    ofFebruary
                                                                                                                                  dated 279 01,
2100                                                                                           Quash Seltzer, LLC
                                                                                                                              2022
                                                                                                                              Addendum to Elite Agreement, dated
2101                                                                                           Vital Pharmaceuticals, Inc.
                                                                                                                              May 05, 2021
                                              1200 Brickell Avenue Suite 1900 Miami FL                                        Settlement Agreement, dated April
2102 Isicoff, Ragatz & Koenigsberg                                                             Vital Pharmaceuticals, Inc.                                       $0.00
                                              33131                                                                           10, 2007
                                                                                                                              Brand Ambassador (National Team)
2103                                                                                           Vital Pharmaceuticals, Inc.
                                                                                                                              Agreement, dated July 19, 2017
                                              Timothy P. Breen, Chief Financial Officer 10856 Vital Pharmaceuticals, Inc.,    Confindentiality and Non-Disclosure
2104 itelligence, Inc.                                                                                                                                            $0.00
                                              Reed Hartman Highway Cincinnati OH 45242 d/b/a Bang Energy                      Agreement, dated February 26, 2019
                                                                                                                              Employment Agreement, dated
2105 Ivan Enriquez Agustin                    909 SE 9th Ave Ocala FL 34471-3849               Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                              January 31, 2022
                                                                                                                              Trainer Services Agreement, dated
2106                                                                                           Quash Seltzer, LLC
                                                                                                                              September 03, 2021
                                                                                                                              Contact Information Sheet, ACH
                                                                                                                              Transfer Authorization Form, W9,
2107                                                                                           Vital Pharmaceuticals, Inc.
                                                                                                                              Trainer Services Agreement, dated
                                                                                                                              September 03, 2021
                                                                                                                              Employment Agreement, dated
2108 Ivan Morales Del Carmen                  14442 Southwest 179th Ln Miami FL 33177          Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                              November 11, 2019
                                                                                                                              Employment Agreement, dated July
2109 Ivan Morales Rico O                      14442 Southwest 179th Ln Miami FL 33177          Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                              19, 2022
                                                                                                                              Employment Agreement, dated
2110 Ivan Perez                               27225 Staten Place Valencia CA 91354             Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                              November 02, 2020
                                                                                                                              Exclusive Promotional Modeling
2111                                                                                           Vital Pharmaceuticals, Inc.
                                                                                                                              Agreement, dated April 26, 2015
                                              4405 Three Oaks Road Suite B Crystal Lake IL     Vital Pharmaceuticals, Inc.,   Confidentiality & Non-Circumvention
2112 Ivanhoe Capital Advisors, LLC                                                                                                                                $0.00
                                              60014                                            d/b/a VPX Sports               Agreement, dated July 21, 2015

                                              c/o Lucy's Bazar Brazil Inc. dba Vitaflex 5263                                  Independent Contractor Agreement,
2113 Izabella Falconi                                                                          Vital Pharmaceuticals, Inc.                                      $0.00
                                              International Drive C-2 Orlando FL 32819                                        dated September 09, 2013
                                              Lucy Bazar Brazil, Inc., 5263 International
2114 Izabella Falconi, Bella                                                                   Vital Pharmaceuticals, Inc.    Independent Contractor Agreement       $0.00
                                              Drive, C2 Orlando, FL 32819
                                                                                                                              Confindentiality and Non-Disclosure
                                              Melindsa Yeaman 615 J.B. Hunt Corporate          Vital Pharmaceuticals, Inc.,
2115 J.B. Hunt Transport, Inc.                                                                                                Agreement, dated December 01,       $0.00
                                              Drive Lowell AK 72745                            d/b/a Bang Energy
                                                                                                                              2020
       J.J. Taylor Distributing Company of Attn: President/GM 701 Industrial Blvd NE                                          Exclusive Distribution Agreement
2116                                                                                           Quash Seltzer, LLC                                                  $0.00
       Minnesota, Inc.                     Minneapolis MN 55413                                                               (Hard Seltzer), dated March 01, 2021
       J.J. Taylor Distributing Company of Attn: President/GM 701 Industrial Blvd NE                                          Exclusive Distribution Agreement,
2117                                                                                           Quash Seltzer, LLC                                                    $0.00
       Minnesota, Inc.                     Minneapolis MN 55413                                                               dated April 01, 2021
                                                                                                                              Exclusive Distribution Agreement
                                              Attn: President/GM 5102 16th Ave South
2118 J.J. Taylor Distributing Florida, Inc.                                                    Quash Seltzer, LLC             (MIXX Hard Seltzer), dated April 05,   $0.00
                                              Tampa FL 33619
                                                                                                                              2021
                                                                                                                              Employment Agreement, dated
2119 Jack Chanthaphoumy                       3668 Marbon Rd Jacksonville FL 32223             Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                              September 06, 2022
                                                                                                                              Exclusive Distribution Agreement,
2120 Jack Hillard Distributing Co., Inc.      1000 Independence Ave Bryan TX 77803-2032 Vital Pharmaceuticals, Inc.                                                  $0.00
                                                                                                                              dated March 01, 2021
                                                                                                                              Amendment to Exclusive Distribution
2121 Jack Hillard Distributing Co., Inc.      1000 Independence Ave Bryan TX 77803-2032 Vital Pharmaceuticals, Inc.                                               $0.00
                                                                                                                              Agreement, dated March 12, 2021

                                                                                                                              Amendment to Exclusive Distribution
2122 Jack Hillard Distributing Co., Inc.      1000 Independence Ave Bryan TX 77803-2032 Vital Pharmaceuticals, Inc.                                               $0.00
                                                                                                                              Agreement, dated April 28, 2021

                                                                                                                              Amendment to Exclusive Distribution
2123 Jack Hillard Distributing Co., Inc.      1000 Independence Ave Bryan TX 77803-2032 Vital Pharmaceuticals, Inc.                                               $0.00
                                                                                                                              Agreement, dated August 19, 2021

                                                                                                                              Amendment to Exclusive Distribution
2124 Jack Hillard Distributing Co., Inc.      1000 Independence Ave Bryan TX 77803-2032 Vital Pharmaceuticals, Inc.                                               $0.00
                                                                                                                              Agreement, dated January 06, 2022
                                                                                                                              Exclusive Distribution Agreement
                                              Attn: Ron Longoria 1000 Independence Ave
2125 Jack Hilliard Distributing Co., Inc.                                                      Quash Seltzer, LLC             (MIXX Hard Seltzer), dated April 09, $0.00
                                              Bryan TX 77803
                                                                                                                              2021
                                                                                                                              Asset Sales Agreement, dated
2126 Jack Hilliard Distributing Co., Inc.     1000 Independence Ave Bryan TX 77803-2032 Vital Pharmaceuticals, Inc.                                                $0.00
                                                                                                                              September 07, 2022
                                                                                                                              Restricted Stock Agreement, dated
2127 Jack Owoc                                1600 N Park Dr Weston FL 33326                   Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                              May 03, 2013
                                              401 East Jackson Street Suite 3300 Tampa FL                                     SERVICE AGREEMENT, dated January
2128 Jacked In the Box LLC                                                                     Vital Pharmaceuticals, Inc.                                         $0.00
                                              33602                                                                           04, 2022
                                                                                                                              Trainer Services Agreement, dated
2129                                                                                           Quash Seltzer, LLC
                                                                                                                              November 08, 2021
                                                                                                                              Affiliate Member Agreement, dated
2130                                                                                           Vital Pharmaceuticals, Inc.
                                                                                                                              September 19, 2021
                                Case 22-17842-PDR                  Doc 1658             Filed 07/14/23 Employment
                                                                                                         Page 210       of 279
                                                                                                                  Agreement, dated April
2131 Jacob Choate Hogan              116 Shepherd Valley Rd Mooresville NC 28115 Vital Pharmaceuticals, Inc.                                             $0.00
                                                                                                                   09, 2018
                                                                                                                   Employment Agreement, dated July
2132 Jacob Gonzalez Manuel           9336 Roadmaster Court Las Vegas NV 89178        Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                   25, 2022
                                                                                                                   Brand Ambassador (National Team)
2133                                                                                 Vital Pharmaceuticals, Inc.
                                                                                                                   Agreement, dated July 20, 2017
2134                                                                                 Vital Pharmaceuticals, Inc.   Work for Hire Agreement
                                                                                                                   Employment Agreement, dated
2135 Jacob Payne                     1975 Cody St Lakewood CO 80215                  Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                   August 03, 2020
                                                                                                                   Employment Agreement, dated
2136 Jacob Potter Daniel             4402 N 113th Dr Phoenix AZ 85037                Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                   September 30, 2019
                                                                                                                   Employment Agreement, dated July
2137 Jacob Williamson Chatt          7700 Jasmine Falls Dr Las Vegas NV 89179        Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                   05, 2022
                                                                                                                   Employment Agreement, dated July
2138 Jacobo Estrada Lopez            5175 Genoa St Ave Maria FL 34142                Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                   06, 2020
                                                                                                                   Employment Agreement, dated
2139 Jacqueline Ortuno Michelle      18822 Northwest 89th Ave Hialeah FL 33018       Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                   February 10, 2020
                                                                                                                   Employment Agreement, dated June
2140 Jacqueline Whittaker Patricia   503 West Conference Dr Boca Raton FL 33486 Vital Pharmaceuticals, Inc.                                              $0.00
                                                                                                                   27, 2022
                                                                                                                   Employment Agreement, dated July
2141 Jade Jacoby Orion               4700 North 16th St Apt 254 Phoenix AZ 85016 Vital Pharmaceuticals, Inc.                                             $0.00
                                                                                                                   13, 2020
                                                                                                                   Exclusive Promotional Modeling
2142                                                                                 Vital Pharmaceuticals, Inc.
                                                                                                                   Agreement, dated March 10, 2016
                                                                                                                   Employment Agreement, dated
2143 Jaden Conkling Alexander        6710 Collins Rd Apt 418 Jacksonville FL 32244   Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                   November 16, 2020
                                                                                                                   Elite Agreement, dated November
2144                                                                                 Quash Seltzer, LLC
                                                                                                                   01, 2021
                                                                                                                   Elite Agreement, dated November
2145                                                                                 Vital Pharmaceuticals, Inc.
                                                                                                                   01, 2021
                                                                                                                   Brand Ambassador (National Team)
2146                                                                                 Vital Pharmaceuticals, Inc.
                                                                                                                   Agreement, dated July 24, 2018
                                                                                                                   Beverage Production and PA
                                     President Q-Bev Sp zoo Cybernetyki 7 St
2147 Jagoda Iwanzcuzk                                                                Vital Pharmaceuticals, Inc.   Beverage Production and Packaging     $0.00
                                     Warszawa 02-677
                                                                                                                   Agreement, dated January 01, 2021
                                                                                                                   Employment Agreement, dated
2148 Jaice Martinez                  4420 SW 52nd Ct 4 Fort Lauderdale FL 33314      Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                   October 23, 2019
2149                                                                                 Quash Seltzer, LLC            Elite Agreement, dated May 19, 2021
                                                                                                                   Employment Agreement, dated June
2150 Jaime Montes                    4742 Canehill Ave Lakewood CA 90713             Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                   29, 2020
                                                                                                                   Employment Agreement, dated
2151 Jaime Redmon Kristen            1801 Mccord Way Apt 738 Frisco TX 75033         Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                   March 07, 2022
                                                                                                                   Brand Ambassador (National Team)
2152                                                                                 Vital Pharmaceuticals, Inc.   Agreement, dated September 28,
                                                                                                                   2017
                                                                                                                   Photographer Agreement, dated
2153                                                                                 Vital Pharmaceuticals, Inc.
                                                                                                                   October 10, 2014
                                                                                                                   Brand Ambassador (Local Team
2154                                                                                 Vital Pharmaceuticals, Inc.   Agreement), dated September 20,
                                                                                                                   2017
                                                                                                                   Select Agreement, dated February
2155                                                                                 Quash Seltzer, LLC
                                                                                                                   01, 2022
                                                                                                                   Elite Agreement, dated November
2156                                                                                 Quash Seltzer, LLC
                                                                                                                   01, 2021
                                                                                                                   Brand Ambassador Agreement, dated
2157                                                                                 Vital Pharmaceuticals, Inc.
                                                                                                                   October 01, 2021
                                                                                                                   Employment Agreement, dated
2158 Jamal Terry Roydel              10421 West Georgia Ave Glendale AZ 85307        Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                   November 25, 2019
                                                                                                                   Bang Fuel Team Agreement, dated
2159                                                                                 Vital Pharmaceuticals, Inc.
                                                                                                                   September 21, 2018
                                                                                                                   Employment Agreement, dated July
2160 James Balbes E                  7321 Atlanta St Hollywood FL 33024              Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                   30, 2018
                                                                                                                   Employment Agreement, dated
2161 James Bracco Paul               110 MatisSE Cir Aliso Viejo CA 92656            Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                   March 17, 2014
                                                                                                                   Employment Agreement, dated
2162 James Diamond Robert            555 Fallwood Dr Concord NC 28025                Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                   August 15, 2022
                                                                                                                   Employment Agreement, dated May
2163 James Diggs Allen               1713 Lake Clay Dr Lake Placid FL 33852          Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                   20, 2019
                                     1441 Southwest 97th Ave Pembroke Pines FL                                     Employment Agreement, dated May
2164 James Dominique                                                                 Vital Pharmaceuticals, Inc.                                       $0.00
                                     33025                                                                         11, 2022
                                                                                                                   Marketing Project X Confidentiality
                                     1441 Southwest 97th Ave Pembroke Pines FL
2165 James Dominique                                                                 Vital Pharmaceuticals, Inc.   and Non-Disclosure Agreement,       $0.00
                                     33025
                                                                                                                   dated September 22, 2021
                                                                                                                   Employment Agreement, dated
2166 James Fuzi Dean                 7177 West Bajada Rd Peoria AZ 85383             Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                   March 14, 2022
                               Case 22-17842-PDR                    Doc 1658             Filed 07/14/23 Employment
                                                                                                          Page 211       of 279
                                                                                                                   Agreement, dated
2167 James Hellkamp Matthew           9547 Brehm Rd Cincinnati OH 45252              Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                    January 31, 2022
                                                                                                                    Employment Agreement, dated
2168 James Jang Jin                   14505 NW Oak Shadow Ct Portland OR 97229 Vital Pharmaceuticals, Inc.                                                 $0.00
                                                                                                                    February 22, 2021
                                                                                                                    Employment Agreement, dated
2169 James Johns III L                8694 Via Mar Rosso Lake Worth FL 33467         Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                    January 03, 2022
                                                                                                                    Employment Agreement, dated
2170 James Johnson Rob Blake          420 Circuit Dr Roseville CA 95678              Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                    March 07, 2022
                                                                                                                    Employment Agreement, dated May
2171 James Lacour Bernard             1415 Genesis Dr Mansfield TX 76063             Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                    03, 2021
                                                                                                                    Employment Agreement, dated
2172 James Mannella Patrick           4107 Guilford Rd Rockford IL 61107             Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                    November 01, 2021
                                                                                                                    Employment Agreement, dated July
2173 James Paul M                     5125 Heron Place Coconut Creek FL 33073        Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                    06, 2020
                                      14584 West Hidden Terrace Loop Litchfield                                     Employment Agreement, dated
2174 James Schutt                                                                    Vital Pharmaceuticals, Inc.                                           $0.00
                                      Park AZ 85340                                                                 December 13, 2021
                                      10081 Lee Vista Blvd Apt 10104 Orlando FL                                     Employment Agreement, dated
2175 James Smith                                                                     Vital Pharmaceuticals, Inc.                                           $0.00
                                      32829                                                                         August 08, 2022
                                                                                                                    Employment Agreement, dated
2176 James Via Andrew                 175 Hidden Lake Loop Haines City FL 33844      Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                    September 06, 2022
                                                                                                                    Employment Agreement, dated June
2177 James Walker Leroy               1518 17th Ave North Lake Worth FL 33460        Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                    01, 2021
                                                                                                                    Employment Agreement, dated
2178 James Whitehead Jr. Mitchell     7930 Granada Blvd Miramar FL 33023             Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                    August 01, 2022
                                                                                                                    Model Release and Affidavit, dated
2179                                                                                 Vital Pharmaceuticals, Inc.
                                                                                                                    June 02, 2011
                                                                                                                    Transfer Services Agreement, dated
2180                                                                                 Quash Seltzer, LLC
                                                                                                                    January 14, 2021
                                                                                                                    Transfer Services Agreement, dated
2181                                                                                 Vital Pharmaceuticals, Inc.
                                                                                                                    January 14, 2021
2182                                                                                 Vital Pharmaceuticals, Inc.    Elite Agreement, dated June 22, 2019
                                                                                                                    Exclusive Promotional Modeling
2183                                                                                 Vital Pharmaceuticals, Inc.
                                                                                                                    Agreement, dated March 10, 2016
                                                                                                                    Brand Ambassador (National Team)
2184                                                                                 Vital Pharmaceuticals, Inc.
                                                                                                                    Agreement, dated April 02, 2018
                                                                                                                    Elite Agreement, dated November
2185                                                                                 Quash Seltzer, LLC
                                                                                                                    01, 2021
                                      510 Northwest 86th Ave Pembroke Pines FL                                      Employment Agreement, dated
2186 Janice Cruz                                                                     Vital Pharmaceuticals, Inc.                                         $0.00
                                      33024                                                                         February 03, 2020
                                                                                                                    Elite Team Agreement, dated March
2187                                                                                 Vital Pharmaceuticals, Inc.
                                                                                                                    26, 2018
                                                                                                                    Trainer Services Agreement, dated
2188                                                                                 Quash Seltzer, LLC
                                                                                                                    November 02, 2021
                                                                                                                    Elite Team Agreement, dated July 31,
2189                                                                                 Vital Pharmaceuticals, Inc.
                                                                                                                    2018
                                                                                                                    Employment Agreement, dated
2190 Jared Jimenez Wade               5155 Central Ave Apt 33 Riverside CA 92504     Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                    January 24, 2022
                                                                                                                    Employment Agreement, dated
2191 Jared Morrison Dalton            6250 Mountain ViNE Ave Kannapolis NC 28081 Vital Pharmaceuticals, Inc.                                             $0.00
                                                                                                                    August 01, 2018
                                                                                                                    Employment Agreement, dated
2192 Jarred Tims David                901 Ebenezer Rd Palmer TX 75152                Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                    January 24, 2022
                                                                                                                    Elite Agreement, dated October 01,
2193                                                                                 Quash Seltzer, LLC
                                                                                                                    2021
                                                                                                                    Marketing Project X Confidentiality
                                      9459 SW 18th St
2194 Jason Aparcana                                                                  Vital Pharmaceuticals, Inc.    and Non-Disclosure Agreement,        $0.00
                                      Miramar, FL 33025
                                                                                                                    dated September 30, 2021
                                                                                                                    Employment Agreement, dated June
2195 Jason Aparcana Alfredo           9459 SW 18th St Miramar FL 33025               Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                    07, 2022
                                                                                                                    Contract Videographer Agreement,
2196                                                                                 Vital Pharmaceuticals, Inc.
                                                                                                                    dated October 05, 2017
                                                                                     Vital Pharmaceuticals, Inc.,   Confidentiality Agreement, dated
2197 Jason Ellis                      32 Gingerwood Irvine CA 92603                                                                                      $0.00
                                                                                     d/b/a VPX Sports               October 05, 2017
                                                                                                                    Employment Agreement, dated
2198 Jason English Robert Frederick   9950 58th St East Parrish FL 34219             Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                    March 14, 2022
                                                                                                                    Employment Agreement, dated
2199 Jason Fuerbach L                 18425 135th St East Bonney Lake WA 98391       Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                    September 08, 2020
                                                                                                                    Employment Agreement, dated
2200 Jason Hinton Dwayne              4446 Lower Meadow Dr Mulberry FL 33860         Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                    August 09, 2022
                                                                                                                    Employment Agreement, dated June
2201 Jason Hoak Allen                 3300 Windsor Dr Sacramento CA 95864            Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                    01, 2021
                                                                                                                    Employment Agreement, dated
2202 Jason Ocheltree Lee              11416 East Quicksilver Ave Mesa AZ 85212       Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                    September 27, 2021
                                      2110 Sweetbroom Circle, Bldg 5, Apt 101, Lutz,                                Settlement Agreement, dated
2203 Jason Robert Trujillo                                                           Vital Pharmaceuticals, Inc.                                         $0.00
                                      FL 33559                                                                      October 14, 2021
                                Case 22-17842-PDR                     Doc 1658             Filed 07/14/23 Employment
                                                                                                            Page 212       of 279
                                                                                                                     Agreement, dated
2204 Jason Schnaible George              3529 Meadowbrook Dr Napa CA 94558              Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                       January 20, 2020
                                                                                                                       Employment Agreement, dated
2205 Jason Sonchik Allen                 2215 E Crest Ln Phoenix AZ 84024               Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                       August 30, 2021
                                                                                                                       Employment Agreement, dated
2206 Jason Tran Manh Duc                 32721 Fullerton Ct Union City CA 94587         Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                       January 31, 2022
                                                                                        Vital Pharmaceuticals, Inc.,   Non-Disclosure & Confidentiality
2207 Jasper Products, LLC                3877 E 27th Street Joplin MO 64804                                                                                 $0.00
                                                                                        d/b/a VPX Sports               Agreement, dated April 08, 2016
                                                                                                                       Invention, Non-Disclosure, Non-
                                         1018 Grove Park Circle Boynton Beach FL        Vital Pharmaceuticals, Inc.,   Competition,
2208 Javier D. Perez                                                                                                                                        $0.00
                                         33436                                          d/b/a VPX Sports               And Non-Solicitation Agreement,
                                                                                                                       dated October 09, 2017
                                                                                                                       Employment Agreement, dated
2209 Javier Esparza L                    44609 Calston Ave Lancaster CA 93535           Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                       March 29, 2021
                                                                                                                       Employment Agreement, dated June
2210 Javier Hernandez                    12775 Southwest 189th Ct Miami FL 33177        Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                       01, 2020
                                                                                                                       Employment Agreement, dated
2211 Javier Nunez                        7416 West Turney Ave Phoenix AZ 85033          Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                       February 08, 2021
                                                                                                                       Employment Agreement, dated June
2212 Javier Salas                        17915 SW 138th Ct Miami FL 33177               Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                       01, 2020
                                                                                                                       Elite Agreement, dated January 01,
2213                                                                                    Quash Seltzer, LLC
                                                                                                                       2022
                                         c/o Koach Sport and Nutrition 415 Briggs Road                                 Writer Agreement, dated February
2214 Jay Hoffman, Ph.D.                                                                Vital Pharmaceuticals, Inc.                                          $0.00
                                         Langhorne PA 19047                                                            19, 2009
                                                                                                                       Employment Agreement, dated
2215 Jayla Thach Alicia                  2333 Garden Park Ct Arlington TX 76013         Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                       February 24, 2017
                                                                                                                       Contract Photographer Agreement,
2216                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                       dated June 26, 2018
                                                                                                                       Select Agreement, dated May 04,
2217                                                                                    Quash Seltzer, LLC
                                                                                                                       2021
                                         Robert Spiteri, Imports and Exports Manager                                   Confidentiality and Non-Disclosure
       JB METROPOLITAN DISTRIBUTORS                                                  Vital Pharmaceuticals, Inc.,
2218                                     368-370 Newbridge Rd Moorebank NSW 2170                                       Agreement, dated December 10,        $0.00
       PTY LIMITED                                                                   d/b/a Bang Energy
                                         Australia                                                                     2018
                                                                                                                       Exclusive Distribution Agreement,
2219 JC Mensore Distributing             134 N Bridge St, New Martinsville, WV 26155    Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                       dated November 18, 2022
                                         15059 North Scottsdale Road Suite 400          Vital Pharmaceuticals, Inc.    Confidentiality and Non-Disclosure
2220 JDA Software Group Inc.                                                                                                                              $0.00
                                         Scottsdale AZ 85254                            dba Bang Energy                Agreement, dated February 06, 2019

                                         Reema Omeri 15059 North Scottsdale Road,       Vital Pharmaceuticals, Inc.,   Confindentiality and Non-Disclosure
2221 JDA Software Group, Inc.                                                                                                                              $0.00
                                         Suite 400 Scottsdale AZ 85254                  d/b/a Bang Energy              Agreement, dated February 06, 2019
                                                                                                                       Elite Agreement, dated November
2222                                                                                    Quash Seltzer, LLC
                                                                                                                       01, 2021
                                                                                                                       Employment Agreement, dated April
2223 Jean Paul Senior Arzuaga            14666 Southwest 126th Place Miami FL 33186 Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                       25, 2022
                                                                                        Vital Pharmaceuticals, Inc.,
2224 Jeff Bloom                          3708 Somerset Drive Apt. 1 Seaford NY 11783                                   Confidentiality Agreement            $0.00
                                                                                        DBA VPX/Redline
                                                                                                                       Elite Team Agreement, dated June
2225                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                       06, 2017
                                         c/o University of Oklahoma Department of
                                                                                                                       Writer Agreement, dated February
2226 Jeff Stout, Ph.D.                   Health & Exercise Science 1401 Asp Ave. Lab    Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                       13, 2009
                                         #106 Norman OK 73019
                                                                                                                       Agreement for Cellular/ Blackberry
                                         15751 SW 41st Street Suite 300 Davie FL
2227 Jeff White                                                                         Vital Pharmaceuticals, Inc.    Corporate Telephones, dated          $0.00
                                         33331
                                                                                                                       October 14, 2009
                                         15751 SW 41st Street Suite 300 Davie FL                                       Independent Contractor Agreement,
2228 Jeff White                                                                         Vital Pharmaceuticals, Inc.                                      $0.00
                                         33331                                                                         dated November 28, 2011
                                         Attn: Richard Raposa 799 Mid Atlantic Parkway                                 Distributor Agreement, dated
2229 Jefferson Distributing Company                                                    Vital Pharmaceuticals, Inc.                                          $0.00
                                         Martinsburg WV 25404                                                          November 16, 2018
       Jefferson Distributing Company,   799 Mid Atlantic Parkway Martinsburg WV                                       Exclusive Distribution Agreement
2230                                                                                    Vital Pharmaceuticals, Inc.                                         $0.00
       Inc.                              25404                                                                         (Hard Seltzer), dated March 18, 2021
       Jefferson Distributing Company,   799 Mid Atlantic Parkway / Martinsburg WV                                     Exclusive Distribution Agreement,
2231                                                                                    Vital Pharmaceuticals, Inc.                                         $0.00
       Inc.                              25404 / US                                                                    dated November 01, 2022
                                                                                                                       Employment Agreement, dated May
2232 Jeffery Wanous Lane                 11126 20th Dr Southeast Everett WA 98208       Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                       31, 2022
                                         1300 Via Lugano Cir Apt 209 Boynton Beach FL                                  Employment Agreement, dated
2233 Jeffrey Aubrey Allen                                                             Vital Pharmaceuticals, Inc.                                           $0.00
                                         33436                                                                         January 25, 2021
                                                                                                                       Employment Agreement, dated April
2234 Jeffrey Huber T.                    6828 NW 12th Ct Plantation FL 33313            Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                       04, 2022
                                                                                                                       Employment Agreement, dated May
2235 Jeffrey Lay Allen                   15932 Wolf Run Findlay OH 45840                Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                       18, 2022
                                                                                                                       Employment Agreement, dated
2236 Jeffrey Quick Lee                   318 Orchard Cir Hayden AL 35079                Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                       January 03, 2022
                                 Case 22-17842-PDR                   Doc 1658             Filed 07/14/23 Employment
                                                                                                           Page 213       of 279
                                                                                                                    Agreement, dated
2237 Jeffrey Reiter Peter               8710 Ferry Rd Grosse Ile Township MI 48138     Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                     November 29, 2021
                                                                                                                     Employment Agreement, dated
2238 Jeffrey Urstadt Steven             820 South Park Rd 03-17 Hollywood FL 33021     Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                     September 16, 2021
                                                                                                                     Employment Agreement, dated April
2239 Jeffry Edlen David                 12706 214th Ave East Bonney Lake WA 98391 Vital Pharmaceuticals, Inc.                                            $0.00
                                                                                                                     18, 2016
                                                                                                                     Elite Team Agreement, dated January
2240                                                                                   Vital Pharmaceuticals, Inc.
                                                                                                                     15, 2019
                                                                                                                     Model Release and Affidavit, dated
2241                                                                                   Vital Pharmaceuticals, Inc.
                                                                                                                     May 09, 2011
                                                                                                                     Trainer Services Agreement, dated
2242                                                                                   Quash Seltzer, LLC
                                                                                                                     September 20, 2021
                                                                                                                     Affiliate Member Agreement, dated
2243                                                                                   Quash Seltzer, LLC
                                                                                                                     April 14, 2021
                                                                                                                     Trainer Services Agreement, dated
2244                                                                                   Quash Seltzer, LLC
                                                                                                                     December 14, 2021
                                                                                                                     Exclusive Promotional Modeling
2245                                                                                   Vital Pharmaceuticals, Inc.
                                                                                                                     Agreement, dated March 10, 2016
                                                                                                                     Model Release and Affidavit, dated
2246                                                                                   Vital Pharmaceuticals, Inc.
                                                                                                                     August 04, 2011
                                                                                                                     Employment Agreement, dated
2247 Jennifer Peix                      2400 Limehouse Ln Apt 208 Oviedo FL 32765      Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                     February 17, 2020
                                                                                                                     Exclusive Promotional Modeling
2248                                                                                   Vital Pharmaceuticals, Inc.
                                                                                                                     Agreement, dated March 10, 2016
                                                                                                                     Brand Ambassador (National Team)
2249                                                                                   Vital Pharmaceuticals, Inc.
                                                                                                                     Agreement, dated March 22, 2017
                                                                                                                     Brand Ambassador (National Team)
2250                                                                                   Vital Pharmaceuticals, Inc.
                                                                                                                     Agreement, dated January 10, 2018
                                                                                                                     Employment Agreement, dated
2251 Jeremy Barron Michael              519 White Wing Ct Dickinson TX 77539           Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                     January 13, 2020
                                                                                                                     Employment Agreement, dated
2252 Jeremy Bennett Gamrin              238 Sudbury St Marlborough MA 01752            Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                     August 30, 2021
                                                                                                                     Employment Agreement, dated
2253 Jeremy Carpenter Matthew           702 Cape Cod Cir Valrico FL 33594              Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                     January 13, 2020
2254                                                                                   Vital Pharmaceuticals, Inc.   Elite Agreement, dated June 07, 2019
                                                                                                                     Employment Agreement, dated July
2255 Jeremy Ybarra Jay                  2989 N Brooklyn Dr Buckeye AZ 85396            Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                     08, 2020
                                                                                                                     Employment Agreement, dated
2256 Jermaine Jarrett D                 2396 Northwest 89th Dr Coral Springs FL 33065 Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                     January 20, 2020
                                        2011 Northwest 55th Ave Apt 303 Lauderhill FL                                Employment Agreement, dated
2257 Jerry Walker                                                                     Vital Pharmaceuticals, Inc.                                           $0.00
                                        33313                                                                        October 12, 2020
                                                                                                                     Re: Letter of Intent for the Purchase
                                        1900 Avenue Of The Stars, Suite 320 Los
2258 Jersey Industrial Capital LLC                                                     Vital Pharmaceuticals, Inc.   of 1635 S. 43rd Avenue, Phoenix, AZ $0.00
                                        Angeles CA 90067
                                                                                                                     85009, dated June 19, 2019
                                                                                                                     Brand Ambassador (Local Team)
2259                                                                                   Vital Pharmaceuticals, Inc.   Agreement, dated November 13,
                                                                                                                     2017
2260                                                                                   Vital Pharmaceuticals, Inc.   Work for Hire Agreement
                                        14242 Alderwood Rd Lake Hughes CA 93532-                                     Employment Agreement, dated July
2261 Jesse Michal Ronald                                                               Vital Pharmaceuticals, Inc.                                          $0.00
                                        1448                                                                         27, 2020
                                                                                                                     Employment Agreement, dated
2262 Jesse Peterson Lance               5597 Somersby Rd Windermere FL 34786           Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                     November 16, 2020
                                                                                                                     Employment Agreement, dated May
2263 Jessica Allison Hali               796 Hill Dr Apt H West Palm Beach FL 33415     Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                     16, 2022
                                                                                                                     Select Agreement, dated November
2264                                                                                   Quash Seltzer, LLC
                                                                                                                     01, 2021
                                                                                                                     Trainer Services Agreement, dated
2265                                                                                   Quash Seltzer, LLC
                                                                                                                     October 19, 2021
                                        6790 Southwest 10th Ct Pembroke Pines FL                                     Employment Agreement, dated April
2266 Jessica Leguizamon Alexandra                                                      Vital Pharmaceuticals, Inc.                                          $0.00
                                        33023                                                                        30, 2018
2267                                                                                   Quash Seltzer, LLC            Elite Agreement, dated May 29, 2021
                                                                                                                     Exclusive Promotional Modeling
2268                                                                                   Vital Pharmaceuticals, Inc.
                                                                                                                     Agreement, dated March 10, 2016
                                        10650 Southeast Sunnyside Rd Bldg C                                          Employment Agreement, dated
2269 Jessica Pineda-Diaz Joelle Tyree                                                  Vital Pharmaceuticals, Inc.                                          $0.00
                                        Clackamas OR 97015                                                           August 23, 2021
                                                                                                                     Exclusive Promotional Modeling
2270                                                                                   Vital Pharmaceuticals, Inc.
                                                                                                                     Agreement, dated May 01, 2014
                                                                                                                     Employment Agreement, dated
2271 Jesus Alcazar                      8438 N 54th Dr Glendale AZ 85302-6107          Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                     December 16, 2019
                                                                                                                     Employment Agreement, dated
2272 Jesus Alfaro David                 25114 Geddy Dr Land O' Lakes FL 34639          Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                     October 05, 2020
                                        3240 Las Vegas Blvd North Apt 237 Las Vegas                                  Employment Agreement, dated July
2273 Jesus Gutierrez Armando                                                           Vital Pharmaceuticals, Inc.                                          $0.00
                                        NV 89115                                                                     26, 2021
                                 Case 22-17842-PDR                        Doc 1658             Filed 07/14/23 Employment
                                                                                                                Page 214       of 279
                                                                                                                         Agreement, dated
2274 Jesus Martinez                        37511 Sabal St Palmdale CA 93552                 Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                           November 08, 2021
                                                                                                                           Employment Agreement, dated
2275 Jesus Mendez Silvio                   5211 Southwest 155th Ave Miramar FL 33027        Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                           August 01, 1996
                                                                                                                           Employment Agreement, dated April
2276 Jesus Monter Ortiz E                  534 West Princeton Ave Gilbert AZ 85233          Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                           05, 2021
                                                                                                                           Employment Agreement, dated
2277 Jesus Ramos Hernandez                 530 W Elena Ave Mesa AZ 85210                    Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                           January 13, 2020
                                                                                                                           Employment Agreement, dated May
2278 Jesus Serna                           17394 Valencia Ave #34 Fontana CA 92335          Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                           17, 2021
                                                                                                                           Employment Agreement, dated
2279 Jesus Velasquez Leopoldo              1007 Peach Grove Riverside CA 92501              Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                           January 06, 2020
                                         12017 Northwest 13th St Pembroke Pines FL                                         Employment Agreement, dated
2280 Jhana Hyman Neshae                                                                     Vital Pharmaceuticals, Inc.                                        $0.00
                                         33026                                                                             December 03, 2018
                                         John H. Owoc
     JHO Intellectual Property Holdings,                                                                                   Trademark License Agreement, dated
2281                                     1721 SW 131 Terrace Davie FL 33325                 Vital Pharmaceuticals, Inc.                                       $0.00
     LLC                                                                                                                   March 14, 2019
                                         1600 North Park Drive Weston, FL 33326
                                                                                                                           1635 South 43rd Avenue, Phoenix AZ
2282 JHO Real Estate Investment, LLC       1600 N Park Dr Weston FL 33326-3278              Vital Pharmaceuticals, Inc.    Lease Agreement, dated December $0.00
                                                                                                                           22, 2020
                                                                                                                           Employment Agreement, dated
2283 Jimena Villegas                       12878 Southwest 135th St Miami FL 33186          Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                           January 10, 2022
                                          Jinan Erjin Import & Export
                                                                                            Vital Pharmaceuticals, Inc.,   Confindentiality and Non-Disclosure
2284 Jinan Erjin Import & Export Co., Ltd Co., Ltd. Licheng District Jinan City, Shandong                                                                      $0.00
                                                                                            d/b/a Bang Energy              Agreement, dated June 06, 2019
                                          Province China
                                                                                                                         Employment Agreement, dated April
2285 Jing Guo                              785 Heron Rd Weston FL 33326                     Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                         29, 2019
                                           No.230, Haibin Rd., Haibin Community, Xibin                                   CONFIDENTIALITY AND NON-
                                                                                            Vital Pharmaceuticals, Inc.,
2286 JinJiang Simple Imp. & Exp. Co., Ltd. Town, Jinjiang City Jinjiang, Fujian, 362200                                  DISCLOSURE AGREEMENT, dated July $0.00
                                                                                            d/b/a Bang Energy ("Bang")
                                           China                                                                         10, 2020
                                           Attn: Andres Link, President 4651 Sheridan                                    Estimate, Proposal and Statement of
2287 jLAN Technologies                                                                      Vital Pharmaceuticals, Inc.                                      $0.00
                                           Street Suite 475 Hollywood FL 33021                                           work, dated April 11, 2012
                                           Attn: Andres Link, President 4651 Sheridan                                    Professional Services Agreement,
2288 jLAN Technologies, Inc.                                                                Vital Pharmaceuticals, Inc.                                      $0.00
                                           Street Suite 475 Hollywood FL 33021                                           dated April 11, 2012
                                           Attn: Sarah Stemer
                                           Orion Intellectual Property Law Group
                                           6067 Dudley Court, Arvada, CO 80004                                             Confidential Settlement & Release
2289 Joan Edmundo Jumenez Suero                                                             Vital Pharmaceuticals Inc.                                         $0.00
                                                                                                                           Agreement, dated April 26, 2022
                                           Kushnirsky Gerber PLLC
                                           27 Union Square W # 301, New York, NY 10003
                                                                                                                           Select Agreement, dated November
2290                                                                                        Quash Seltzer, LLC
                                                                                                                           01, 2021
                                                                                                                           Employment Agreement, dated April
2291 Joe Rodriguez Angel                   10801 West 3rd St Cashion AZ 85329               Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                           26, 2021
                                                                                                                           Brand Ambassador (National Team)
2292                                                                                        Vital Pharmaceuticals, Inc.    Agreement, dated September 27,
                                                                                                                           2017
                                                                                                                           EXPERT CONSULTANT / WITNESS
2293 Joel T. Cramer, PhD                   5431 W Chancery Rd. Lincoln NE 68521             Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                           AGREEMENT, dated April 30, 2014
                                                                                                                           Exclusive Promotional Modeling
2294                                                                                        Vital Pharmaceuticals, Inc.
                                                                                                                           Agreement, dated March 10, 2016
                                           Dan Conkling 44414 South Dakota Hwy 50
2295 John A. Conkling Distributing. Inc.                                                    Vital Pharmaceuticals, Inc.    Distributor Agreement               $0.00
                                           Yankton SD 57078
                                           3719 Northwest 84th Ave Apt 3C Sunrise FL                                       Employment Agreement, dated
2296 John Farrar James                                                                      Vital Pharmaceuticals, Inc.                                        $0.00
                                           33351                                                                           August 23, 2021
                                           c/o Fennemore Craig, P.C. Bank of America                                       Letter re: Bonanza Distribution
2297 John H. Mowbray                       Plaza 300 South Fourth Street, Suite 1400 Las    Vital Pharmaceuticals, Inc.    Agreement for REDLINE, dated June   $0.00
                                           Vegas NV 89101                                                                  13, 2008
                                                                                                                           Certificate of Election to and
                                                                                                                           Incumbency of Officer of Corporation
2298 John H. Owoc                          1600 North Park Drive Weston FL 33326            Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                           with Specimen Signature, dated
                                                                                                                           December 05, 2019
                                                                                                                           Credit and Security Agreement, dated
2299 John H. Owoc                          1600 North Park Drive Weston FL 33326            Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                           October 31, 2014
                                                                                                                           Mortgage Modification Agreement,
2300 John H. Owoc                          1600 North Park Drive Weston FL 33326            Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                           dated April 30, 2013
                                           13364 Beach Blvd Unit 940 Jacksonville FL                                       Employment Agreement, dated
2301 John Hall William                                                                      Vital Pharmaceuticals, Inc.                                         $0.00
                                           32224                                                                           January 06, 2020
                                                                                                                           Employment Agreement, dated
2302 John Helm Benjamin                    629 Gaines Rd Hernando MS 38632                  Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                           February 24, 2020
                                                                                                                           Employment Agreement, dated
2303 John Kaufman Richard                  5570 NW 107th Ave #910 Doral FL 33178            Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                           August 15, 2022
                                           Jamie Lenore 1250 Delevan Drive San Diego CA                                    Exclusive Distribution Agreement,
2304 John Lenore & Co.                                                                  Vital Pharmaceuticals, Inc.                                             $0.00
                                           92102                                                                           dated August 30, 2021
                                   Case 22-17842-PDR                     Doc 1658           Filed 07/14/23 Employment
                                                                                                             Page 215       of 279
                                                                                                                      Agreement, dated
2305 John Matheson McGregor                5930 Cherry Oak Dr Valrico FL 33596           Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                       August 30, 2021
                                                                                                                       Employment Agreement, dated May
2306 John Matthews J                       1324 Arrowsmith Ave Orlando FL 32809          Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                       16, 2022
                                                                                                                       Employment Agreement, dated
2307 John Morrow Fossey                    6141 Sherman Cir Minneapolis MN 55436         Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                       March 04, 2019
                                           Dan Mullarkey 2200 Ridge Road Glenview IL                                   DISTRIBUTOR AGREEMENT, dated
2308 John Mullarkey Distributors, Inc.                                                   Vital Pharmaceuticals, Inc.                                        $0.00
                                           60025                                                                       October 01, 2008
                                           16720 Stratford Ct Southwest Ranches FL                                     Employment Agreement, dated
2309 John Owoc H                                                                         Vital Pharmaceuticals, Inc.                                        $0.00
                                           33331                                                                       March 07, 2022
                                                                                                                       Employment Agreement, dated April
2310 John Schrody Joseph                   711 Longwood Dr Allen TX 75013                Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                       11, 2022
                                                                                         JHO Intellectual Property     Copyright Assignment Agreement,
2311 John Self                             105 Governors Dr SW Leesburg VA 20175                                                                            $0.00
                                                                                         Holdings, LLC                 dated January 04, 2018
                                                                                                                       Employment Agreement, dated
2312 John Smith II Paul                    2531 SW 2nd Terr Cape Coral FL 33993          Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                       August 01, 2022
                                           2531 Southwest 2nd Terrace Cape Coral FL                                    Employment Agreement, dated
2313 John Smith Paul                                                                    Vital Pharmaceuticals, Inc.                                         $0.00
                                           33991                                                                       November 08, 2021
                                           Richard Johrison 4571 N Valdosta Rd Valdosta                                Distributor Agreement, dated August
2314 Johnson Distributing Company                                                       Vital Pharmaceuticals, Inc.                                         $0.00
                                           GA 31602                                                                    25, 2018
                                                                                                                       Brand Ambassador Agreement, dated
2315                                                                                     Quash Seltzer, LLC
                                                                                                                       April 01, 2021
                                                                                                                       Trainer Services Agreement, dated
2316                                                                                     Quash Seltzer, LLC
                                                                                                                       December 20, 2021
                                                                                                                       General Release, dated August 08,
2317 Jon Fuller                            212 South Ballard, Silver City NM 88061       Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                       2007
                                                                                                                       Employment Agreement, dated
2318 Jon Lamar Michael                     103 Russell St Lorena TX 76655                Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                       December 13, 2021
                                                                                                                       Non Disclosure and Confidentiality
2319 Jon Muir                              3665 Plum Creek Drive St. Cloud MN 56301      Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                       Agreement
                                                                                                                       Employment Agreement, dated
2320 Jonathan Alphonse R                   4639 Jetty St Orlando FL 32817                Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                       January 06, 2020
                                           4139 Paramount Blvd Apt 4 Pico Rivera CA                                    Employment Agreement, dated July
2321 Jonathan Gamboa Adam                                                                Vital Pharmaceuticals, Inc.                                        $0.00
                                           90660                                                                       26, 2021
                                                                                                                       Brand Ambassador (Select Team)
2322                                                                                     Vital Pharmaceuticals, Inc.   Agreement, dated September 23,
                                                                                                                       2017
                                           Attn: Anne Kupperman 5802 Breckenridge                                      Lease Agreement, dated November
2323 Jones Lang LaSalle                                                                  Vital Pharmaceuticals, Inc.                                        $0.00
                                           Parkway, Suite 102 Tampa FL 33610                                           01, 2018
                                                                                                                       Letter of Intent for the Purchase of
                                           Attn: Anne Kupperman 5802 Breckenridge
2324 Jones Lang Lasalle                                                                  Vital Pharmaceuticals, Inc.   Flaming Road Land, dated October     $0.00
                                           Parkway, Suite 102 Tampa FL 33610
                                                                                                                       16, 2018
                                           Attn: Head of U.S. Industrial Property
                                                                                                                       Facilities Management Agreement,
2325 Jones Lang LaSalle Americas, Inc.     Management and General Counsel 200 East       Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                       dated October 04, 2017
                                           Randolph Drive Chicago IL 60601
       Jones, Walker, Waechter,                                                                                        Engagement for Legal Services
2326                                        200 E Randolph St Chicago IL 60601           Vital Pharmaceuticals, Inc.                                       $0.00
       Poitevent, Carrere & Denegre, L.L.P.                                                                            Agreement
                                                                                                                       Brand Ambassador Agreement, dated
2327                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                       January 12, 2022
                                                                                                                       Photographer Agreement, dated
2328                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                       October 11, 2014
                                                                                                                       Affiliate Member Agreement, dated
2329                                                                                     Quash Seltzer, LLC
                                                                                                                       September 25, 2021
                                                                                                                       Elite Team Agreement, dated March
2330                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                       29, 2018
                                           3244 Northwest 84th Ave Apt 410 Sunrise FL                                  Employment Agreement, dated
2331 Jordan Storey Tyler                                                                 Vital Pharmaceuticals, Inc.                                     $0.00
                                           33351                                                                       February 17, 2020
                                                                                                                       Affiliate Member Agreement, dated
2332                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                       June 10, 2018
                                                                                                                       Employment Agreement, dated
2333 Jorge Alvarez Jr.                     21220 West Granada Rd Buckeye AZ 85396        Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                                       February 21, 2022
                                                                                                                       Employment Agreement, dated May
2334 Jorge Rios                            15344 SW 70th Lane Miami FL 33326             Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                                       01, 2012
                                           Michael Marrara 1151 Greenbag Road                                          Exclusive Distribution Agreement,
2335 Jo's Globe Dist Co.                                                                 Vital Pharmaceuticals, Inc.                                     $0.00
                                           Morgantown WV 26508                                                         dated January 31, 2021
                                                                                                                       Exclusive Distribution Agreement
                                           Michael Marrara 1151 Greenbag Road
2336 Jo's Globe Dist Co.                                                                 Vital Pharmaceuticals, Inc.   (Hard Seltzer), dated January 29, $0.00
                                           Morgantown WV 26508
                                                                                                                       2021
                                           Attn: Michael Marrara 1151 Greenbag Road                                    Distributor Agreement, dated
2337 Jo's Globe Distributing Co.                                                         Vital Pharmaceuticals, Inc.                                     $0.00
                                           Morgantown WV 26508                                                         December 14, 2018
                                                                                                                       Employment Agreement, dated
2338 Jose Antonio                          4511 NW 7th Street Deerfield Beach FL 33442 Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                       February 11, 2007
                                                                                                                       Employment Agreement, dated July
2339 Jose Arias Luis                       3016 Summer HouSE Dr Valrico FL 33594         Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                                       13, 2020
                                Case 12822
                                     22-17842-PDR                 Doc
                                           West Apodaca Dr Litchfield Park1658
                                                                          AZ                Filed 07/14/23 Employment
                                                                                                             Page 216       of 279
                                                                                                                      Agreement, dated
2340 Jose Chavez L                                                                       Vital Pharmaceuticals, Inc.                                      $0.00
                                           85340                                                                       August 17, 2020
                                                                                                                       Employment Agreement, dated July
2341 Jose Martinez Guadalupe               11272 Cypress Ave Riverside CA 92505          Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                       05, 2022
                                                                                                                       Employment Agreement, dated May
2342 Jose Mata Manuel                      3870 Prescott Loop Lakeland FL 33810          Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                       09, 2022
                                                                                                                       Employment Agreement, dated
2343 Jose Medina Alvarez Hector            7410 E Drummer Ave Mesa AZ 85208              Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                       January 13, 2020
                                                                                                                       Employment Agreement, dated
2344 Jose Medina Eduardo                   7410 E Drummer Ave Mesa AZ 85208              Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                       September 05, 2017
                                                                                                                       Employment Agreement, dated
2345 Jose Molina Lago Carlos               3301 Southwest 9th St Apt 24 Miami FL 33135 Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                       August 07, 2019
                                                                                                                       Employment Agreement, dated
2346 Jose Montero Miguel                   4115 Copper Canyon Blvd Valrico FL 33594      Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                       August 15, 2022
                                                                                                                       Employment Agreement, dated
2347 Jose Moreno                           3741 West Oregon Ave Phoenix AZ 85019         Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                       December 16, 2019
                                                                                                                       Brand Ambassador Agreement, dated
2348                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                       December 15, 2021
                                                                                                                       Employment Agreement, dated
2349 Jose Rosales Luis                     7359 Craner Avenue Los Angeles CA 91352       Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                       January 06, 2020
                                                                                                                       Employment Agreement, dated
2350 Jose Sotolongo Travieso Manuel        843 SE 8th Ct Hialeah FL 33010                Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                       February 05, 2019
                                                                                                                       Employment Agreement, dated
2351 Jose Vazquez Rosales Antonio          6120 ReeSE Rd Apt 112 Davie FL 33314          Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                       October 26, 2020
                                                                                                                       Contact Information Sheet, dated
2352                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                       October 13, 2021
                                                                                                                       Employment Agreement, dated June
2353 Joseph Davy Michael                   15064 Calle Verano Chino Hills CA 91709       Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                       20, 2022
                                                                                                                       Employment Agreement, dated
2354 Joseph Deniz Jesus                    6943 West Hubbell St Phoenix AZ 85035         Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                       August 16, 2021
                                                                                                                       Employment Agreement, dated
2355 Joseph Farris Douglas                 1024 N 2nd Ave Apt 436C Phoenix AZ 85003      Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                       August 08, 2022
                                                                                                                       Employment Agreement, dated April
2356 Joseph Gates Michael                  4904 Needles Ct Las Vegas NV 89130            Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                       15, 2019
                                                                                                                       Employment Agreement, dated
2357 Joseph Huntowskan                     25262 Treliage Ave Plainfield IL 60585        Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                       March 21, 2009
                                                                                                                       Employment Agreement, dated
2358 Joseph Johnson Christopher            263 Timberlake Cir Douglasville GA 30134      Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                       February 11, 2019
                                           2334 West Tanner Ranch Rd San Tan Valley AZ                                 Employment Agreement, dated May
2359 Joseph Macklin III                                                                Vital Pharmaceuticals, Inc.                                        $0.00
                                           85142                                                                       10, 2021
                                                                                                                       Select Agreement, dated December
2360                                                                                     Quash Seltzer, LLC
                                                                                                                       01, 2021
                                                                                                                       Select Agreement, dated December
2361                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                       01, 2021
                                                                                                                       Employment Agreement, dated
2362 Joseph Morales Francisco              291 East 4th Ave Apt 4 Hialeah FL 33010       Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                       January 21, 2019
                                                                                                                       Letter re: Distributor Agreement
                                                                                                                       between Vital Pharmaceuticals,
                                                                                                                       Inc.(“Manufacturer”) and Joseph
                                           Attn: Dan Mullarkey 2200 Ridge Road Glenview
2363 Joseph Mullarkey Distributors, Inc                                                 Vital Pharmaceuticals, Inc.    Mullarkey Distributors, Inc.       $0.00
                                           IL 60025
                                                                                                                       (“Distributor”) (“Agreement”)
                                                                                                                       executed on October 1, 2008, dated
                                                                                                                       April 01, 2010
                                           Dan Mullarkey / Kevin P Mullarkey 2200 Ridge                                Distributor Agreement, dated
2364 Joseph Mullarkey Distributors, Inc.                                                Vital Pharmaceuticals, Inc.                                       $0.00
                                           Road Glenview IL 60025                                                      October 01, 2008
                                                                                                                       Letter re: Distributor Agreement
                                           Dan Mullarkey / Kevin P Mullarkey 2200 Ridge
2365 Joseph Mullarkey Distributors, Inc.                                                Vital Pharmaceuticals, Inc.    executed on October 1, 2008, dated $0.00
                                           Road Glenview IL 60025
                                                                                                                       April 01, 2010
                                                                                                                       Employment Agreement, dated
2366 Joseph Nickell                        1491 Old 122 Rd Lebanon OH 45036              Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                       August 05, 2019
                                                                                                                       Employment Agreement, dated July
2367 Joseph Orozco Anthony                 3353 E Ave T2 Palmdale CA 93550-9241          Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                       13, 2022
                                                                                                                       Employment Agreement, dated
2368 Joseph Perez Michael                  2241 S Sherman Cir C316 Miramar FL 33025      Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                       November 04, 2019
                                                                                                                       Employment Agreement, dated
2369 Joseph Powers                         PO Box 537 Phoenix AZ 85001                   Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                       December 09, 2019
                                                                                                                       Employment Agreement, dated
2370 Joseph Roosta                         16300 Golf Club Rd 214 Weston FL 33326        Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                       February 13, 2020
                                                                                                                       Employment Agreement, dated
2371 Joseph Tallent                        8431 74th Ave N Seminole FL 33777             Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                       March 14, 2022
                                                                                                                       Employment Agreement, dated
2372 Josephine Lopez                       7943 West Hess Ave Phoenix AZ 85043           Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                       August 10, 2020
                                                                                                                       Contract Photographer Agreement,
2373                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                       dated June 28, 2018
                                                                                                                       Contact Information Sheet, dated
2374                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                       September 19, 2021
                               Case 22-17842-PDR               Doc 1658            Filed 07/14/23 Employment
                                                                                                    Page 217       of 279
                                                                                                             Agreement, dated
2375 Joshua Cabrera H              3468 Foxcroft Rd # 308 Miramar FL 33025      Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                             September 08, 2020
                                                                                                             Employment Agreement, dated
2376 Joshua Cook Lynn              16790 Edward Dr Gulf Shores AL 36542         Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                             March 11, 2019
                                   7400 Tallow Wind Trail Apt F Fort Worth TX                                Employment Agreement, dated
2377 Joshua Edwards                                                             Vital Pharmaceuticals, Inc.                                       $0.00
                                   76133                                                                     September 06, 2022
                                                                                                             Employment Agreement, dated
2378 Joshua Eliot Harrison         1301 Southwest 82nd Ave Plantation FL 33324 Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                             October 03, 2022
                                   5828 Ermemin Ave Northwest Albuquerque                                    Employment Agreement, dated June
2379 Joshua Griego                                                              Vital Pharmaceuticals, Inc.                                       $0.00
                                   NM 87114                                                                  21, 2021
                                                                                                             Employment Agreement, dated May
2380 Joshua Griffin Don            189 Cr 428 Lorena TX 76655                   Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                             11, 2020
                                                                                                             Employment Agreement, dated
2381 Joshua Kozak J                6048 Madison Ave Ottumwa IA 52501            Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                             August 30, 2021
                                   26788 North Claudette St Apt 356 Canyon                                   Employment Agreement, dated May
2382 Joshua Moreno Steve                                                        Vital Pharmaceuticals, Inc.                                       $0.00
                                   Country CA 91351                                                          04, 2020
                                                                                                             Contact Information Sheet, dated
2383                                                                            Vital Pharmaceuticals, Inc.
                                                                                                             October 21, 2021
                                   10543 Northwest 3rd St Pembroke Pines FL                                  Employment Agreement, dated
2384 Joshua Wilson David                                                        Vital Pharmaceuticals, Inc.                                       $0.00
                                   33026                                                                     September 23, 2019
                                                                                                             Employment Agreement, dated
2385 Josue Vargas Mercado          200 NE 38th St 5 Oakland Park FL 33334       Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                             February 01, 2021
                                   JP Morgan Securities, 383 Madison Avenue                                  Contact Information Sheet, dated
2386 JP Morgan                                                                  Vital Pharmaceuticals, Inc.                                       $0.00
                                   New York, NY 10179                                                        October 14, 2021
                                                                                                             COOLER AGREEMENT, dated
2387 JRB Convenience               660 Linton Blvd Delray Beach FL 33444        Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                             February 03, 2016
                                                                                                             Employment Agreement, dated
2388 Juan Avila                    15225 West Hearn Rd Surprise AZ 85379        Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                             November 19, 2018
                                                                                                             Employment Agreement, dated
2389 Juan Garza Francisco          5010 South 6th St Phoenix AZ 85040           Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                             February 22, 2021
                                                                                                             Employment Agreement, dated
2390 Juan Gaytan Donosa Alberto    299 North Comanche Dr Chandler AZ 85224      Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                             September 13, 2021
                                   26487 Arboretum Way Unit 2103 Murrieta CA                                 Employment Agreement, dated
2391 Juan Jimenez Manuel                                                        Vital Pharmaceuticals, Inc.                                       $0.00
                                   92563                                                                     March 08, 2021
                                                                                                             Employment Agreement, dated
2392 Juan Ramos Manuel             142 Wilton Dr Apt 3 Campbell CA 95008        Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                             October 05, 2020
                                                                                                             Employment Agreement, dated
2393 Juan Rios Carlos              825 North Rowan Ave Los Angeles CA 90063     Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                             August 21, 2019
                                                                                                             Employment Agreement, dated
2394 Juan Ruiz C                   653 Bedford Ave Weston FL 33326              Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                             August 08, 2022
                                   5630 Northwest 114th Path Apt 105 Doral FL                                Employment Agreement, dated
2395 Juan Velez Cock Gonzalo                                                    Vital Pharmaceuticals, Inc.                                       $0.00
                                   33178                                                                     November 06, 2019
                                                                                                             CONFIDENTIALITY AND NON-
                                                                                Vital Pharmaceuticals, Inc.,
2396 JuanCarlos Wong II            215 Castro Place Erie CO 80516                                            DISCLOSURE AGREEMENT, dated          $0.00
                                                                                d/b/a Bang Energy ("Bang")
                                                                                                             August 16, 2019
                                                                                                             Employment Agreement, dated
2397 Jucary Estrada Airam          1725 Main St Apt 1010 Houston TX 77002       Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                             November 21, 2019
                                                                                                             Employment Agreement, dated
2398 Julian Feiss W                4930 Magnolia Run Dr Sugarland TX 77478      Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                             August 23, 2021
                                                                                                             Affiliate Member Agreement, dated
2399                                                                            Quash Seltzer, LLC
                                                                                                             September 20, 2021
                                                                                                             Employment Agreement, dated
2400 Julianna Lippe E              1535 Everglades Blvd S Naples FL 34117       Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                             February 13, 2020
                                                                                                             Employment Agreement, dated
2401 Julianna Lippe E              1535 Everglades Blvd S Naples FL 34117       Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                             November 18, 2019
                                                                                                             Master Services Agreement, dated
2402 JuliusWorks, Inc              1600 North Park Drive Weston FL 33326        Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                             August 01, 2019
                                                                                                             Elite Agreement, dated January 01,
2403                                                                            Vital Pharmaceuticals, Inc.
                                                                                                             2022
                                                                                                             Employment Agreement, dated May
2404 Justin Brumfield              4400 Northwest 8th St Coconut Creek FL 33066 Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                             18, 2020
                                                                                                             Employment Agreement, dated April
2405 Justin Castro Michael         17617 N 9th St 3105 Phoenix AZ 85022         Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                             15, 2019
                                                                                                             Brand Ambassador (Local Team)
2406                                                                            Vital Pharmaceuticals, Inc.
                                                                                                             Agreement, dated June 08, 2017
                                                                                                             Employment Agreement, dated
2407 Justin Niemeyer Thomas        1720 Northeast 40th Ct Oakland Park FL 33334 Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                             December 13, 2021
                                                                                                             Employment Agreement, dated
2408 Justin Nunez Daniel           13436 Cypress Ave Chino CA 91710             Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                             December 16, 2019
                                                                                                             Trainer Services Agreement, dated
2409                                                                            Quash Seltzer, LLC
                                                                                                             October 19, 2021
                                                                                                             Employment Agreement, dated
2410 Justin Stevens Michael        4826 W Milada Dr Phoenix AZ 85339            Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                             March 07, 2022
                                                                                                             Trainer Services Agreement, dated
2411                                                                            Quash Seltzer, LLC
                                                                                                             November 10, 2021
                                  Case Tim
                                       22-17842-PDR                 Doc
                                           Scholl 1809 South Benjamin Box 781658
                                                                             Mason       Filed 07/14/23 Distributor
                                                                                                           PageAgreement,
                                                                                                                    218 ofdated
                                                                                                                           279
2412 Kabrick Distributing, Inc.                                                       Vital Pharmaceuticals, Inc.                                        $0.00
                                          CIty IA 50401                                                             December 11, 2018
                                                                                                                    CONTACT INFORMATION SHEET,
2413                                                                                  Vital Pharmaceuticals, Inc.
                                                                                                                    dated March 10, 2016
                                                                                                                    CONTACT INFORMATION SHEET,
2414                                                                                  Vital Pharmaceuticals, Inc.
                                                                                                                    dated May 01, 2014
                                                                                                                    Brand Ambassador Agreement, dated
2415                                                                                  Quash Seltzer, LLC
                                                                                                                    April 13, 2021
                                          510 Northeast 17th Ave Apt 101 Fort                                       Employment Agreement, dated
2416 Kajal Boghara Shailesh                                                           Vital Pharmaceuticals, Inc.                                        $0.00
                                          Lauderdale FL 33301                                                       January 17, 2022
                                                                                                                    Elite Agreement, dated August 23,
2417                                                                                  Vital Pharmaceuticals, Inc.
                                                                                                                    2019
                                                                                                                    LIVE POWERFULLYTM, dated
2418 Kaleigh OConnell                     1120 NE Pierce Place Lees Summit MO 64086   Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                    December 19, 2018
                                                                                                                    Employment Agreement, dated June
2419 Kalen Bull Courtney                  6564 Secluded Ave Las Vegas NV 89110        Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                    10, 2013
                                                                                                                    ﻿CONTACT INFORMATION SHEET,
2420                                                                                  Vital Pharmaceuticals, Inc.
                                                                                                                     dated October 22, 2017
                                                                                                                     Model Release and Affidavit, dated
2421                                                                                  Vital Pharmaceuticals, Inc.
                                                                                                                     March 09, 2011
                                                                                                                     Elite Agreement, dated November
2422                                                                                  Vital Pharmaceuticals, Inc.
                                                                                                                     01, 2021
                                                                                                                     Letter re: Notice of Violation of
                                                                                                                     Exclusive Promotional Modeling
2423                                                                                  Vital Pharmaceuticals, Inc.
                                                                                                                     Contract executed on July 22, 2012,
                                                                                                                     dated August 23, 2013
                                                                                                                     Employment Agreement, dated
2424 Karen Karie Louise                   7725 South 67th Ln Phoenix AZ 85339         Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                     September 14, 2020
                                          19028 East Cardinal Way Queen Creek AZ                                     Employment Agreement, dated
2425 Karen Kwan Jessy                                                                 Vital Pharmaceuticals, Inc.                                        $0.00
                                          85142                                                                      November 07, 2018
                                                                                                                     Elite Team Agreement, dated March
2426                                                                                  Vital Pharmaceuticals, Inc.
                                                                                                                     20, 2017
                                                                                                                     Employment Agreement, dated
2427 Kari Murphy Gene                     2699 Wax Rd Southeast Aragon GA 30104       Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                     December 07, 2020
                                                                                                                     Employment Agreement, dated
2428 Karin Albright                       6616 Dartmouth Rd Lakeland FL 33809         Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                     November 11, 2019
                                                                                                                     Contact Information Sheet / ACH
                                                                                                                     Transfer Authorization Form / W-9 /
2429                                                                                  Vital Pharmaceuticals, Inc.
                                                                                                                     Select Agreement, dated December
                                                                                                                     01, 2021
                                                                                                                     Brand Ambassador (Local Team)
2430                                                                                  Vital Pharmaceuticals, Inc.
                                                                                                                     Agreement, dated June 26, 2017
2431                                                                                  Vital Pharmaceuticals, Inc.   Elite Agreement, dated July 20, 2019
                                                                                                                    Employment Agreement, dated
2432 Karsten Pascua Valeros John          3018 El Ku Ave Escondido CA 92025           Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                                    October 06, 2021
                                                                                                                    MODEL RELEASE AND AFFIDAVIT, W-
2433                                                                                   Vital Pharmaceuticals, Inc.
                                                                                                                    9, dated April 08, 2011
                                                                                                                    Elite Agreement, dated November
2434                                                                                   Quash Seltzer, LLC
                                                                                                                    01, 2021
                                                                                                                    Elite Agreement, dated November
2435                                                                                   Vital Pharmaceuticals, Inc.
                                                                                                                    01, 2021
                                                                                                                    Employment Agreement, dated
2436 Katelyn Sisk Nicole                  8110 Pike Rd Apt 1316 Charlotte NC 28262     Vital Pharmaceuticals, Inc.                                    $0.00
                                                                                                                    March 02, 2020
                                                                                                                    Employment Agreement, dated April
2437 Katherine Bailey Rena                2608 Forsythe Ln Concord NC 28025            Vital Pharmaceuticals, Inc.                                    $0.00
                                                                                                                    30, 2019
                                                                                                                    Contact Information Sheet, dated
2438                                                                                   Vital Pharmaceuticals, Inc.
                                                                                                                    November 12, 2021
                                          20355 Northeast 34th Ct Apt 1123 Aventura FL                              Employment Agreement, dated
2439 Katherine Gonzalez Michelle                                                       Vital Pharmaceuticals, Inc.                                    $0.00
                                          33180                                                                     September 21, 2020
                                          1451 Northwest 108th Ave Apt 302 Plantation                               Employment Agreement, dated
2440 Kathleen Calderon-Sousa J                                                         Vital Pharmaceuticals, Inc.                                    $0.00
                                          FL 33322                                                                  October 03, 2022
                                                                                                                    Employment Agreement, dated
2441 Kathleen Cole Ann                    54548 Jack Drive Macomb MI 48042             Vital Pharmaceuticals, Inc.                                    $0.00
                                                                                                                    October 18, 2021
                                                                                                                    Elite Agreement, dated August 22,
2442                                                                                   Vital Pharmaceuticals, Inc.
                                                                                                                    2019
                                                                                                                    Employment Agreement, dated July
2443 Katrina Giles                        7617 Shoal Creek Blvd Austin TX 78757        Vital Pharmaceuticals, Inc.                                    $0.00
                                                                                                                    13, 2020
                                                                                                                    CONFIDENTIALITY AND NON-
                                                                                       Vital Pharmaceuticals, Inc.,
2444 Kaufman, Rossin & Co.                2699 S. Bayshore Drive Miami FL 33133                                     DISCLOSURE AGREEMENT, dated       $0.00
                                                                                       d/b/a Bang Energy ("Bang")
                                                                                                                    February 26, 2019
                                                                                                                    AGREEMENT FOR PROFESSIONAL
2445 KAUFMAN, ROSSIN & CO., P.A           2699 South Bayshore Drive Miami FL 33133     Vital Pharmaceuticals, Inc. ENGAGEMENT, dated December 27, $0.00
                                                                                                                    2018
                                 Case 22-17842-PDR                      Doc 1658            Filed 07/14/23 AGREEMENT
                                                                                                             Page 219      of 279
                                                                                                                     FOR PROFESSIONAL
2446 KAUFMAN, ROSSIN & CO., P.A.          2699 South Bayshore Drive Miami FL 33133       Vital Pharmaceuticals, Inc.   ENGAGEMENT, dated December 27, $0.00
                                                                                                                       2018
                                                                                                                       Contract for Engagement of Services
2447 Kaufman, Rossin & Co., P.A.          2699 South Bayshore Drive Miami FL 33133       Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                       Reviewed
                                                                                                                       Employment Agreement, dated
2448 Kaycee Vielma Gil S                  7000 Idyllwild Ln Riverside CA 92503           Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                       August 26, 2021
                                                                                                                       Select Agreement, dated November
2449                                                                                     Quash Seltzer, LLC
                                                                                                                       01, 2021
                                                                                                                       Brand Ambassador (Select Team)
2450                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                       Agreement, dated July 17, 2017
2451                                                                                     Quash Seltzer, LLC            Elite Agreement, dated June 04, 2021
                                                                                                                       Brand Ambassador Agreement, dated
2452                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                       October 15, 2021
                                                                                                                       Select Agreement, dated November
2453                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                       01, 2021
                                                                                                                       Elite Team Agreement, dated March
2454                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                       11, 2018
                                                                                                                       Contact Information Sheet, dated
2455                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                       October 19, 2021
                                          Frank Fenimore 200 Cascade Blvd. Milford CT
2456 KCF                                                                                Vital Pharmaceuticals, Inc.    Distributor Agreement, dated 2007      $0.00
                                          06460
                                          Attn: Frank Fenimore 200 Cascade Blvd Milford
2457 KCF Nutrition Distributors, Inc.                                                   Vital Pharmaceuticals, Inc.    Distributor Agreement, dated 2007      $0.00
                                          CT 06460
                                          Kohner Mann Kailas
                                          4650 N Port Washington Rd, Milwaukee WI
2458 Kehe Distributors, LLC                                                             Vital Pharmaceuticals, Inc.    Final Notice, dated July 25, 2014      $0.00
                                          53212
                                          12740 Gran Bay Parkway Jacksonville, FL 32258
                                                                                                                      Employment Agreement, dated
2459 Keiran Larkin S                      5148 W Warner St Phoenix AZ 85043              Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                      November 12, 2018
                                                                                                                      Employment Agreement, dated
2460   Keith Butler Antoine                 506 Rosemont Dr Decatur GA 30032             Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                      January 10, 2022
       Kelby Bello / KRA Asset Group, LLC /                                                                           Settlement Agreement, dated May
2461                                        15242 SW 20TH ST, MIRAMAR, FL 33027          Vital Pharmaceuticals, Inc.                                          $0.00
       KRA Finance, LLC                                                                                               19, 2020
                                                                                                                      CONFIDENTIALITY AND NON-
                                                                                         Vital Pharmaceuticals, Inc.,
2462   Keller Logistics Group Inc.          24862 Elliott Rd. Defiance OH 43512                                       DISCLOSURE AGREEMENT, dated             $0.00
                                                                                         d/b/a Bang Energy ("Bang")
                                                                                                                      September 09, 2021
                                                                                                                      Employment Agreement, dated
2463   Kelley Faulk T                       1408 10th Ave Se Ruskin FL 33570             Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                      October 07, 2019
                                                                                                                      Employment Agreement, dated July
2464   Kellie Mignoli Ann                   10761 North Saratoga Dr Hollywood FL 33026 Vital Pharmaceuticals, Inc.                                            $0.00
                                                                                                                      06, 2021
                                                                                                                      Fitness Model Agreement, dated
2465                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                      January 26, 2016
                                                                                                                      Trainer Services Agreement, dated
2466                                                                                     Quash Seltzer, LLC
                                                                                                                      November 10, 2021
                                                                                                                      Elite Team Agreement, dated
2467                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                      February 26, 2019
                                                                                                                      Exclusive Promotional Modeling
2468                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                      Agreement, dated April 08, 2017
                                                                                                                      Employment Agreement, dated
2469   Kelly Kayla Nguyen                   8398 West Denton Ln Glendale AZ 85305        Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                      November 25, 2019
                                            c/o Smith & Green Law, PLLC, 3101 N. Central                              Mediation Settlement Agreement,
2470   Kelly Ramirez Serrano Ocampo                                                      Vital Pharmaceuticals, Inc.                                          $0.00
                                            Avenue, Suite 690, Phoenix AZ, 85012                                      dated August 08, 2022
                                            c/o Smith & Green Law, PLLC, 3101 N. Central                              Closure Letter, dated August 11,
2471   Kelly Serrano Ramirez Ocampo                                                      Vital Pharmaceuticals, Inc.                                          $0.00
                                            Avenue, Suite 690, Phoenix AZ, 85012                                      2022
                                                                                                                       Ambassador (National Team)
2472                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                       Agreement, dated February 22, 2017
                                                                                                                       Trainer Services Agreement, dated
2473                                                                                     Quash Seltzer, LLC
                                                                                                                       November 23, 2021
2474                                                                                     Vital Pharmaceuticals, Inc.   Work for Hire Agreement
2475                                                                                     Vital Pharmaceuticals, Inc.   Contact Information Sheet
                                                                                                                       Employment Agreement, dated
2476 Kenna Mikesell Nicole                1776 East Sierra Madre Ct Gilbert AZ 85296     Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                       December 13, 2021
                                                                                                                       Employment Agreement, dated
2477 Kenneth Chapman Andrew               3940 Appletree Dr Valrico FL 33594             Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                       January 31, 2022
                                                                                                                       Employment Agreement, dated
2478 Kenneth Harris David                 6153 N 89th Ave Glendale AZ 85305              Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                       March 14, 2022
                                                                                                                       Employment Agreement, dated
2479 Kenneth Hartwick J                   1535 Evening Spirit Ave Las Vegas NV 89183     Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                       August 23, 2021
                                                                                                                       Employment Agreement, dated
2480 Kenneth Herrera                      107-43 Inwood St Jamaica NY 11435              Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                       October 05, 2020
                                          Attn: Michael E. Welsh, President 101                                        Distributor Agreement, dated
2481 K-Enterprises                                                                       Vital Pharmaceuticals, Inc.                                          $0.00
                                          Commerce Dr Danville IN 46122                                                October 09, 2007
                                  Case 22-17842-PDR                  Doc 1658             Filed 07/14/23 Employment
                                                                                                           Page 220       of 279
                                                                                                                    Agreement, dated
2482 Kenton Powell Dwayne               1477 Pheasant Run New Richmond WI 54017        Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                     August 12, 2019
                                        Attn: David Stubblefield, Vice
                                                                                                                     Exclusive Distribution Agreement
2483 Kentucky Eagle, Inc.               President/General Manager 2440 Innovation      Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                     (Hard Seltzer), dated March 02, 2021
                                        Drive Lexington KY 40511
                                        Attn: David Stubblefield, Vice
                                                                                                                     Indemnity Agreement, dated March
2484 Kentucky Eagle, Inc.               President/General Manager 2440 Innovation      Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                     02, 2021
                                        Drive Lexington KY 40511
                                                                                                                   CONFIDENTIALITY AND NON-
                                                                                      Vital Pharmaceuticals, Inc.,
2485 Kentucky Eagle, Inc.               2440 Innovation Drive Lexington KY 40511                                   DISCLOSURE AGREEMENT, dated            $0.00
                                                                                      d/b/a Bang Energy ("Bang")
                                                                                                                   October 30, 2019
                                        8683 W Sahara Ave, Ste 180 Las Vegas NV                                    Exclusive Distribution Agreement,
2486 Kenz LLC                                                                         Vital Pharmaceuticals, Inc.                                         $0.00
                                        89117                                                                      dated March 21, 2023
                                        187 Boul Begin Sainte Claire QC G0R 2V0                                    Indemnification Agreement, dated
2487 Kerry Quebec                                                                     Vital Pharmaceuticals, Inc.                                         $0.00
                                        Canada (418) 833-3301                                                      March 01, 2009
                                                                                                                   Employment Agreement, dated
2488 Keshaad Johnson Etrell             17544 W Hearn Rd Surprise AZ 85388            Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                   November 29, 2019
                                        Attn: Tom Williams 2157 Lincoln Street Salt                                Lease Agreement, dated January 25,
2489 Ketone Labs, LLC                                                                 Vital Pharmaceuticals, Inc.                                         $0.00
                                        Lake City UT 84106                                                         2019
                                                                                                                   CONFIDENTIALITY AND NON-
                                                                                      Vital Pharmaceuticals, Inc.,
2490 Ketone Labs, LLC                   2157 Lincoln Street Salt Lake City UT 84106                                DISCLOSURE AGREEMENT, dated            $0.00
                                                                                      d/b/a Bang Energy ("Bang")
                                                                                                                   August 04, 2021
                                                                                                                   CONFIDENTIALITY AND NON-
                                                                                      Vital Pharmaceuticals, Inc.,
2491 Kevin Anderson & Associates Inc.   1115 Broadway Floor 10 New York NY 10010                                   DISCLOSURE AGREEMENT, dated July $0.00
                                                                                      d/b/a Bang Energy ("Bang")
                                                                                                                   01, 2021
                                                                                                                   Employment Agreement, dated April
2492 Kevin Conde                        2829 SW 13th Ct Fort Lauderdale FL 33312      Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                   05, 2021
                                                                                                                   Employment Agreement, dated
2493 Kevin Dooley B                     3501 Jepsen Dr # 3220 Forth Worth TX 72364 Vital Pharmaceuticals, Inc.                                            $0.00
                                                                                                                   March 07, 2022
                                                                                                                   Employment Agreement, dated
2494 Kevin Einsmann                     1612 Allenton Ave Brandon FL 33511            Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                   January 06, 2020
                                        3010 West Yorkshire Dr Apt 2009 Phoenix AZ                                 Employment Agreement, dated
2495 Kevin Foster Joseph                                                              Vital Pharmaceuticals, Inc.                                         $0.00
                                        85027-3910                                                                 September 30, 2019
                                                                                                                   Employment Agreement, dated July
2496 Kevin Hamilton Andre               14557 Zachary Dr South Jacksonville FL 32218 Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                   13, 2020
                                                                                                                   Employment Agreement, dated
2497 Kevin Hooks Rhyne                  218 West ArmiSuitead Dr Brandon MS 39042 Vital Pharmaceuticals, Inc.                                              $0.00
                                                                                                                   August 08, 2022
                                                                                                                   Employment Agreement, dated
2498 Kevin Kennedy Michael              7577 East Calle Granada Anaheim CA 92808      Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                   February 24, 2020
                                                                                                                   Employment Agreement, dated
2499 Kevin Koschier A                   10105 N Silver Palm Dr Estero FL 33928        Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                   August 04, 2021
                                                                                                                   Employment Agreement, dated
2500 Kevin McGinnis David               5338 N 77th St Scottsdale AZ 85250            Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                   March 09, 2020
                                        12395 61St Ln North West Palm Beach FL                                     Employment Agreement, dated
2501 Kevin Shelp                                                                      Vital Pharmaceuticals, Inc.                                         $0.00
                                        33412                                                                      November 11, 2019
                                                                                                                   Employment Agreement, dated
2502 Kevin Thompson A                   10619 W Clairmont Cir Tamarac FL 33321        Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                   September 14, 2020
                                                                                                                   Distribution Agreement, dated March
2503 Keystone Distributing              3717 Paragon Drive Columbus OH 43228          Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                   11, 2011
                                                                                                                   CONFIDENTIALITY AND NON-
                                                                                      Vital Pharmaceuticals, Inc.,
2504 Khalsa Transportation Inc.         13371 South Fowler Ave Selma CA 93662                                      DISCLOSURE AGREEMENT, dated            $0.00
                                                                                      d/b/a Bang Energy ("Bang")
                                                                                                                   September 18, 2020
                                                                                                                   Trainer Services Agreement, dated
2505                                                                                  Vital Pharmaceuticals, Inc.
                                                                                                                   October 01, 2021
                                                                                                                   Employment Agreement, dated
2506 Kimber Thomson Leigh               230 S Cherrywood Dr #103 Lafayette CO 80026 Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                   September 03, 2020
                                                                                                                   Exclusive Promotional Model
2507                                                                                  Vital Pharmaceuticals, Inc.
                                                                                                                   Agreement, dated May 01, 2014
                                                                                                                   Employment Agreement, dated
2508 Kimberly Ryder                     201 S Hoskins Rd #214 Charlotte NC 28208      Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                   March 23, 2020
                                                                                                                   Employment Agreement, dated
2509 Kimberly Santore Jan               1778 NE 38th St Oakland Park FL 33334         Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                   January 02, 2020
                                        450 Newport Center Drive Suite 500 Newport                                 Legal Services Agreement, dated
2510 King Parret & Droste LLP                                                         Vital Pharmaceuticals, Inc.                                         $0.00
                                        Beach CA 92660                                                             February 02, 2012
                                                                                                                   Employment Agreement, dated July
2511 Kira Lovas Marie                   1130 North 2nd St Apt 303 Phoenix AZ 85004 Vital Pharmaceuticals, Inc.                                            $0.00
                                                                                                                   12, 2019
                                        501 4th Avenue PO Box 396 Menominee MI                                     Confidential Stipulation and Order for
2512 KK Integrated Logistics, Inc.                                                    Vital Pharmaceuticals, Inc.                                         $0.00
                                        49858                                                                      Dismissal, dated June 08, 2015
                                        2040 Northwest Flagler Terrace Apt 2 Miami FL                              Employment Agreement, dated June
2513 Kleyber Valdes                                                                   Vital Pharmaceuticals, Inc.                                         $0.00
                                        33125                                                                      14, 2021
2514                                                                                   Vital Pharmaceuticals, Inc.   Elite Agreement, dated July 23, 2019
                                                                                                                    CONFIDENTIALITY AND NON-
       KMR Construction Management,     10424 W State Road 84 Suite 10 Davie FL        Vital Pharmaceuticals, Inc.,
2515                                                                                                                DISCLOSURE AGREEMENT, dated             $0.00
       Inc.                             33324                                          d/b/a Bang Energy ("Bang")
                                                                                                                    June 30, 2020
                                   Case Jay
                                        22-17842-PDR
                                            R. Hoffman PhD 415 Briggs Doc    1658
                                                                      Rd Langhorne           Filed 07/14/23 Research
                                                                                                              Page      221 of
                                                                                                                     Agreement    279 ,
                                                                                                                               - Meltdown
2516 Koach Sports and Nutrition                                                           Vital Pharmaceuticals, Inc.                                         $0.00
                                           PA 19047                                                                     dated April 04, 2008
                                           Attn: Jordan Koerner 1601 Pike Avenue                                        Exclusive Distribution Agreement,
2517 Koerner Distributor, Inc.                                                             Vital Pharmaceuticals, Inc.                                        $0.00
                                           Effingham IL 62401                                                           dated April 23, 2021
                                           Attn: Jordan Koerner 1601 Pike Avenue                                        Indemnity Agreement, dated April
2518 Koerner Distributor, Inc.                                                             Vital Pharmaceuticals, Inc.                                        $0.00
                                           Effingham IL 62401                                                           23, 2021
                                                                                                                        Exclusive Distribution Agreement
                                           Attn: Courtland Kohlfeld 4691 East Jackson
2519 Kohlfeld Distributing, Inc.                                                           Vital Pharmaceuticals, Inc. (Hard Seltzer), dated January 21,      $0.00
                                           Blvd. Jackson MO 63755
                                                                                                                        2021
                                           Attn: Courtland Kohlfeld 4691 East Jackson                                   Indemnity Agreement, dated January
2520 Kohlfeld Distributing, Inc.                                                           Vital Pharmaceuticals, Inc.                                        $0.00
                                           Blvd. Jackson MO 63755                                                       27, 2021
                                           40 Exchange Place Suite 2010 New York NY        Vital Pharmaceuticals, Inc., Confidential Finder's Fee Agreement,
2521 Kolay Tun, d/b/a D.I., Brokerage                                                                                                                         $0.00
                                           10005                                           d/b/a VPX                    dated January 24, 2017
                                                                                                                        Konings Drinks BV Offer Letter, dated
2522 Konings Drinks BV                     Teteringsedijk 227 Breda ME 4817 Netherlands Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                        April 28, 2022
                                                                                                                        CONFIDENTIALITY AND NON-
       Konsey Tekstil                                                                      Vital Pharmaceuticals, Inc.,
2523                                       1. Sk.Sariana Marmaris Mugla 48700 TR                                        DISCLOSURE AGREEMENT, dated           $0.00
       ITH.IHR.SAN.TIC.LTD.STI                                                             d/b/a Bang Energy ("Bang")
                                                                                                                        2020
                                                                                                                        Confidentiality and Non-Disclosure
                                           11737 West Atlantic Blvd Apt 6 Coral Springs FL
2524 Krista Ali                                                                            Vital Pharmaceuticals, Inc. Agreement, dated November 03,          $0.00
                                           33071
                                                                                                                        2021
                                           11807 SW 47th Ct Fort Lauderdale FL 33330-                                   Employment Agreement, dated
2525 Krista Owoc Marie                                                                     Vital Pharmaceuticals, Inc.                                        $0.00
                                           4007                                                                         August 02, 2021
                                                                                                                        Fitness Model Agreement, dated
2526                                                                                       Vital Pharmaceuticals, Inc.
                                                                                                                        April 04, 2016
                                                                                                                        Employment Agreement, dated
2527 Kristen Oubre L                       3242 West Acoma Dr Phoenix AZ 85053             Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                        November 21, 2018
                                                                                                                        Brand Ambassador (National Team)
2528                                                                                      Vital Pharmaceuticals, Inc.
                                                                                                                        Agreement, dated February 14, 2017
                                                                                                                       Brand Ambassador (National Team)
2529                                                                                      Vital Pharmaceuticals, Inc.
                                                                                                                       Agreement, dated January 09, 2018
                                                                                                                       Exclusive Promotional Modeling
2530                                                                                      Vital Pharmaceuticals, Inc.
                                                                                                                       Agreement, dated March 10, 2016
                                                                                                                       Brand Ambassador (National Team)
2531                                                                                      Vital Pharmaceuticals, Inc.
                                                                                                                       Agreement, dated March 28, 2017
                                                                                                                       Brand Ambassador (National Team)
2532                                                                                      Vital Pharmaceuticals, Inc.
                                                                                                                       Agreement, dated May 06, 2019
                                                                                                                       Distributor Agreement, dated August
2533 KW Beverage                           825 Bluff Road Columbia SC 29201               Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                       27, 2018
                                                                                                                       CONFIDENTIALITY AND NON-
                                                                                          Vital Pharmaceuticals, Inc.,
2534 Kwangdong Pharmaceutical Ltd.         85 Seochojungangro Seoul SK                                                 DISCLOSURE AGREEMENT, dated         $0.00
                                                                                          d/b/a Bang Energy ("Bang")
                                                                                                                       November 19, 2021
                                                                                                                       Cooler Agreement, dated February
2535 Kwik Stop                             700 S Federal Hwy Ft. Lauderdale FL 33302      Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                       02, 2016
                                           8313 Solano Bay Loop Apt 1531 Tampa FL                                      Employment Agreement, dated
2536 Kyle Kozlowski Andrew                                                                Vital Pharmaceuticals, Inc.                                      $0.00
                                           33635                                                                       September 09, 2019
                                                                                                                       Employment Agreement, dated
2537 Kyle Mabe Aaron                       4026 West Saint Kateri Dr Phoenix AZ 85041     Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                       March 22, 2021
2538                                                                                      Vital Pharmaceuticals, Inc.   Elite Agreement, dated July 23, 2019
                                                                                                                        Select Agreement, dated December
2539                                                                                      Quash Seltzer, LLC
                                                                                                                        01, 2021
                                                                                                                        Select Agreement, dated December
2540                                                                                      Vital Pharmaceuticals, Inc.
                                                                                                                        01, 2021
                                                                                                                        Exclusive Promotional Modeling
2541                                                                                      Vital Pharmaceuticals, Inc.   Agreement, dated December 29,
                                                                                                                        2016
                                           3200 Mottman Rd Sw Tumwater WA 98512-                                        Addendum to Distributor Agreement,
2542 L & E Bottling Co., Inc.                                                             Vital Pharmaceuticals, Inc.                                      $0.00
                                           5658                                                                         dated February 22, 2019
                                                                                                                      Confidentiality & Non-Disclosure
       L Catterton Growth Managing                                                       Vital Pharmaceuticals, Inc.,
2543                                       599 West Putnam Ave. Greenwich CT 06830                                    Agreement, dated November 30,            $0.00
       Partner IV, Limited Partnership                                                   d/b/a Bang Energy ("Bang")
                                                                                                                      2021
                                                                                                                      Confidentiality & Non-Disclosure
                                                                                         Vital Pharmaceuticals, Inc.,
2544 L Catterton Management Limited        599 W Putnam Ave Greenwich CT 06830                                        Agreement, dated December 01,            $0.00
                                                                                         d/b/a Bang Energy
                                                                                                                      2021
                                                                                                                      Distributor Agreement, dated
2545 L&E Bottling Co., Inc                 3200 Mottman Road SW Olympia WA 98512         Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                      October 01, 2015
       L&H Investments LLC dba Bernie      Attn: Joseph Little 4105 Maine Ave Eaton Park                              Exclusive Distribution Agreement,
2546                                                                                     Vital Pharmaceuticals, Inc.                                           $0.00
       Little Distributors                 FL 33840                                                                   dated May 2023
2547                                                                                     Vital Pharmaceuticals, Inc. Model Release and Affidavit
                                                                                                                      Trainer Services Agreement, dated
2548                                                                                     Quash Seltzer, LLC
                                                                                                                      October 01, 2021
                                                                                                                      Trainer Services Agreement, dated
2549                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                      October 01, 2021
                                  Case 22-17842-PDR                   Doc 1658            Filed 07/14/23 Distributor
                                                                                                            PageAgreement,
                                                                                                                     222 ofdated
                                                                                                                            279
2550 LaGrange Grocery Company           143 Busch Drive LaGrange GA 30241              Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                      October 01, 2018
                                        Attn: Bernie Schroeder, President 900 John                                    Distributor Agreement, dated
2551 Lake Beverage Corp.                                                               Vital Pharmaceuticals, Inc.                                        $0.00
                                        Street West Henrietta NY 14586                                                December 31, 2018
                                        Attn: Charles W. Hand 400 N Elizabeth Street                                  Distributor Agreement, dated August
2552 Lakeshore Beverage LLC                                                            Vital Pharmaceuticals, Inc.                                        $0.00
                                        Chicago IL 60624                                                              08, 2018
                                                                                                                      Brand Ambassador (National Team)
2553                                                                                   Vital Pharmaceuticals, Inc.
                                                                                                                      Agreement, dated May 21, 2018
                                        8709 Flying Ranch Rd Fort Worth TX 76134-                                     Employment Agreement, dated
2554 Lamon Burkley Dewayne                                                             Vital Pharmaceuticals, Inc.                                        $0.00
                                        4168                                                                          February 28, 2022
                                        Michael J. LaMonnica, Jr. 4060 Rock Valley                                    Distributor Agreement, dated
2555 LaMonica Beverages , Inc.                                                         Vital Pharmaceuticals, Inc.                                        $0.00
                                        Parkway Loves Park iL 61111                                                   October 29, 2018
     Landmark American Insurance        945 East Paces Ferry Road NE, Suite 1800,                                     Commercial Property Insurance
2556                                                                                   Vital Pharmaceuticals, Inc.                                        $0.00
     Company                            Atlanta, GA 30326                                                             Policy, dated May 31, 2023
                                                                                                                      Employment Agreement, dated
2557 Lane Ory A                         79 Southwest 12th St Apt 3305 Miami FL 33130 Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                      November 04, 2010
                                                                                                                      Employment Agreement, dated
2558 Lanice Davison Mechelle            7723 South 45th Ln Phoenix AZ 85339            Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                      August 09, 2021
                                                                                                                      Employment Agreement, dated
2559 Lanorris Drayton Louis             677 Northwest 42nd Ave Plantation FL 33317     Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                      August 01, 2022
       LAPCO Inc, d/b/a Humboldt Beer   Attn: Scott Cooper, General Manager 202                                       Distributor Agreement, dated April
2560                                                                                   Vital Pharmaceuticals, Inc.                                        $0.00
       Distributors                     Commercial Street Eureka CA 95501                                             12, 2018
                                        7545 Oso Blanca Rd Unit 3209 Las Vegas NV                                     Employment Agreement, dated
2561 Laron Turner William                                                              Vital Pharmaceuticals, Inc.                                        $0.00
                                        89149                                                                         February 17, 2020
                                        6420 Northwest 102nd Path Apt 303 Doral FL                                    Employment Agreement, dated May
2562 Larry Morillo Mendez J                                                            Vital Pharmaceuticals, Inc.                                        $0.00
                                        33178                                                                         30, 2016
                                                                                                                      Employment Agreement, dated
2563 Larry Thaxton Eugene               15310 West Evans Dr Surprise AZ 85379          Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                      March 03, 2022
                                        Attn: Tyson R. Gutschow 3815 Playbird Road                                    Exclusive Distribution Agreement,
2564 Larry's Distributing Co., Inc.                                                    Vital Pharmaceuticals, Inc.                                        $0.00
                                        Sheboygan WI 53083                                                            dated February 17, 2021
                                                                                                                      Exclusive Promotional Modeling
2565                                                                                   Vital Pharmaceuticals, Inc.
                                                                                                                      Agreement, dated March 10, 2016
                                                                                                                      Model Release and Affidavit, dated
2566                                                                                   Vital Pharmaceuticals, Inc.
                                                                                                                      May 02, 2011
                                                                                                                      Brand Ambassador Agreement, dated
2567                                                                                   Vital Pharmaceuticals, Inc.
                                                                                                                      August 23, 2021
                                                                                                                      Brand Ambassador (Select Team)
2568                                                                                   Vital Pharmaceuticals, Inc.
                                                                                                                      Agreement, dated October 06, 2018
                                                                                                                      Exclusive Promotional Modeling
2569                                                                                   Vital Pharmaceuticals, Inc.    Agreement, dated November 18,
                                                                                                                      2014
                                                                                                                      Elite Team Agreement, dated
2570                                                                                   Vital Pharmaceuticals, Inc.
                                                                                                                      September 01, 2017
                                        Attn: Laurel A. Decker 519 N D Street Lake
2571 Laurel A. Decker, P.A.                                                            Vital Pharmaceuticals, Inc.    Independent Contractor's Agreement $0.00
                                        Worth FL 33460
                                                                                                                      Independent Contractor Non-
                                        Attn: Laurel A. Decker 519 N D Street Lake     Vital Pharmaceuticals, Inc.
2572 Laurel A. Decker, P.A.                                                                                           Disclosure and Confidentiality      $0.00
                                        Worth FL 33460                                 DBA VPX/Redline
                                                                                                                      Agreement
                                                                                                                      Elite Team Agreement, dated March
2573                                                                                   Vital Pharmaceuticals, Inc.
                                                                                                                      03, 2019
                                                                                                                      Brand Ambassador (Local Team)
2574                                                                                   Vital Pharmaceuticals, Inc.
                                                                                                                      Agreement, dated March 08, 2019
                                                                                                                      Elite Team Agreement, dated January
2575                                                                                   Vital Pharmaceuticals, Inc.
                                                                                                                      08, 2019
                                                                                                                      Employment Agreement, dated April
2576 Laurence Costa                     5410 Marlatt St Jurupa Valley CA 91752         Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                      17, 2006
                                        Paul Kevins 111 West 19th Street, 5th Floor                                   Subscription Order Form - Enterprise
2577 Law360                                                                            Vital Pharmaceuticals, Inc.                                         $0.00
                                        New York NY 10011                                                             Plan, dated December 09, 2019
                                                                                                                      Employment Agreement, dated July
2578 Lawrence Blackwood John            2930 Sandwell Dr Winter Park FL 32792          Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                      26, 2021
                                                                                                                      Employment Agreement, dated
2579 Lawson Rivenbark Ray               5105 Flowes Store Rd Concord NC 28025          Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                      November 25, 2019
                                        Attn: Will Gosnell PO BOX 176209, Denver CO                                   Lease Agreement, dated March 08,
2580 LawToolBox                                                                        Vital Pharmaceuticals, Inc.                                         $0.00
                                        80217                                                                         2019
2581 LawToolBox.com, Inc.               PO BOX 176209 Denver, CO 80217                 Vital Pharmaceuticals, Inc.    Pallet                               $0.00
                                                                                       Vital Pharmaceuticals, Inc.,   Confidentiality and Non-Disclosure
2582 Layne Christensen Company          1209 N Orange St Wilmington DE 19801                                                                               $0.00
                                                                                       d/b/a Bang Energy              Agreement, dated August 24, 2020
                                        c/o Fedex, 942 South Shady Grove Road,         Vital Pharmaceuticals, Inc.    Voter Non-Disclosure Agreement,
2583 Lazaro Diaz                                                                                                                                           $0.00
                                        Memphis, TN 38120                              dba VPX                        dated October 30, 2019
                                        2665 Havenwood Rd West Palm Beach FL                                          Employment Agreement, dated July
2584 Lazaro Medina Revilla                                                           Vital Pharmaceuticals, Inc.                                           $0.00
                                        33415                                                                         19, 2021
                                        Attn: Sandy Elliot 10610 E 26th Circle North                                  Distributor Agreement, dated
2585 LDF Sales & Distributing, Inc.                                                  Vital Pharmaceuticals, Inc.                                           $0.00
                                        Wichita KS 67226                                                              November 28, 2018
                                        10610 E 26TH CIR N / WICHITA KS 67226-4536                                    Exclusive Distribution Agreement,
2586 LDF Sales & Distributing, Inc.                                                  Vital Pharmaceuticals, Inc.                                           $0.00
                                        / US                                                                          dated November 11, 2022
                               Case 22-17842-PDR                        Doc 1658           Filed 07/14/23 ElitePage    223 ofdated
                                                                                                                Team Agreement, 279July 02,
2587                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                  2018
                                                                                                                  Elite Team Agreement, dated
2588                                                                                 Vital Pharmaceuticals, Inc.
                                                                                                                  February 01, 2018
                                                                                                                  Confidentiality & Non-Disclosure
       Lebolo Construction Management,                                               Vital Pharmaceuticals, Inc.,
2589                                     2100 Corporate Drive Boynton Beach FL 33426                              Agreement, dated December 05,     $0.00
       Inc.                                                                          d/b/a Bang Energy ("Bang")
                                                                                                                  2019
                                                                                                                  Exclusive Promotional Modeling
2590                                                                                 Vital Pharmaceuticals, Inc.
                                                                                                                  Agreement, dated March 10, 2016
                                                                                                                  Employment Agreement, dated April
2591   Leda Lerida                       6441 SW 20 Ct Miramar FL 33023              Vital Pharmaceuticals, Inc.                                    $0.00
                                                                                                                  19, 2013
                                         Attn: Ben Fukukura
                                                                                                                  Disclosure Regarding Real Estate
                                         13181 Crossroads Pkwy North Ste 300 City of
2592   Lee & Associates - Industry, Inc.                                             Vital Pharmaceuticals, Inc. Agency Relationship, dated August  $0.00
                                         Industry, CA 91746
                                                                                                                  24, 2017
                                         562-699-75000
                                                                                                                  Employment Agreement, dated
2593   Lee Kindel B                      544 Hartzell School Rd Fombell PA 16123     Vital Pharmaceuticals, Inc.                                    $0.00
                                                                                                                  September 14, 2020
                                                                                                                      Independent Contractor Agreement,
2594 Lee McCucheon aka Lee Priest         PO Box 49 Telerah 2320 Australia              Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                                      dated February 01, 2011
     Legacy Distributing Group NEW                                                                                    Exclusive Distribution Agreement,
2595                                      18245 E 40th Avenue, Aurora, CO 80011         Vital Pharmaceuticals, Inc.                                         $0.00
     AGE                                                                                                              dated November 11, 2022
2596 LegalSearch, Inc                     510 East 85th Street New York NY 10028        Vital Pharmaceuticals, Inc.   Search Fee Agreement                  $0.00
                                          c/o Human Performance Laboratory
                                          Department of Exercise and Sport Science                                    Writer Agreement, dated February
2597 Lem Taylor, Ph.D.                                                                  Vital Pharmaceuticals, Inc.                                         $0.00
                                          University of Mary Hardin Baylor UMHB Box                                   16, 2009
                                          8010 Belton TX 76513
                                          12374 Northwest 12th Ct Pembroke Pines FL                                   Employment Agreement, dated
2598 Leonardo Zuluaga                                                                   Vital Pharmaceuticals, Inc.                                         $0.00
                                          33026                                                                       August 08, 2022
                                          1372 Avon Ln Apt 210 North Lauderdale FL                                    Employment Agreement, dated
2599 Lerby Sylvera David                                                                Vital Pharmaceuticals, Inc.                                         $0.00
                                          33068                                                                       January 31, 2022
                                          3201 Meridius Place Unit 304 Kissimmee FL                                   Employment Agreement, dated April
2600 Leroy Cobb                                                                         Vital Pharmaceuticals, Inc.                                         $0.00
                                          34747                                                                       04, 2022
                                                                                                                      Employment Agreement, dated July
2601 Levis Cordero                        18620 NW 48th Pl Miami FL 33055               Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                      19, 2021
                                                                                                                      Employment Agreement, dated May
2602 Leviticus Meymand Tomas              1512 Hollow Hill Dr Bryan TX 77802            Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                      20, 2019
                                                                                                                      Exclusive Promotional Modeling
2603                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                      Agreement, dated March 10, 2016
                                                                                                                      Commercial Property Insurance
2604 Lexington Insurance Company          99 High St, Floor 24, Boston, MA 02110-2378   Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                      Policy, dated May 31, 2023
                                                                                                                      Contact Information Sheet / ACH
                                                                                                                      Payment Form / W-9 / Brand
2605                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                      Ambassador Agreement / Rules &
                                                                                                                      Regulations, dated October 18, 2017
                                          10825 Southwest 88th St Apt 140 Miami FL                                    Employment Agreement, dated April
2606 Lhaura Rodriguez                                                                   Vital Pharmaceuticals, Inc.                                         $0.00
                                          33176                                                                       22, 2019
                                                                                                                      Employment Agreement, dated May
2607 Lia Panzacchi Beatrice               1420 Brickell Bay Dr Apt 104 Miami FL 33131   Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                      23, 2022
                                                                                                                      Employment Agreement, dated April
2608 Liana Roman                          10717 Northwest 76th Ln Medley FL 33178       Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                      04, 2022
                                                                                                                      Employment Agreement, dated June
2609 Liangxi Li                           10371 NW 17th Ct Plantation FL 33322          Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                      15, 2022
                                                                                                                      Confidential Employee Loan
2610 Liangxi Li                           10871 NW 12th Place Weston FL 33322           Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                      Agreement, dated April 06, 2018
                                                                                                                      Nondisclosure & Non-circumvention
2611 Linal, Inc.                          900-C River Street Windsor CT 06095           Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                                      Agreement, dated May 05, 2016
       Lincoln Fincancial Media Company   20450 Northwest Second Avenue Miami FL
2612                                                                                    Vital Pharmaceuticals, Inc.   General Release, dated July 07, 2014 $0.00
       of Florida aka Waxy-Fm             33169
                                                                                                                     Exclusive Promotional Modeling
2613                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                     Agreement, dated January 01, 2015
                                                                                        Vital Pharmaceuticals, Inc., Confidentiality & Non-Disclosure
2614 Link Logistics                       3400 NE 192 St. Suite 107 Aventura FL 33180                                                                       $0.00
                                                                                        d/b/a Bang Energy ("Bang") Agreement, dated August 01, 2021
                                          62228 Collections Center Drive, Chicago IL
2615 Linkedln Corporation                                                               Vital Pharmaceuticals, Inc.   Subscription Services Agreement       $0.00
                                          60693-0622
                                                                                                                      Employment Agreement, dated
2616 Lisa Fernandez Marie                 1395 NE 33rd Ave 107 Homestead FL 33033       Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                      September 08, 2014
                                                                                                                      Brand Ambassador (Local Team)
2617                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                      Agreement, dated January 03, 2018
                                                                                                                      Model Release and Affidavit, dated
2618                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                      May 10, 2011
                                                                                                                      Elite Team Agreement, dated
2619                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                      November 15, 2018
                                 Case 22-17842-PDR                     Doc 1658            Filed 07/14/23 Exclusive
                                                                                                             Page      224 ofModeling
                                                                                                                    Promotional 279
2620                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                     Agreement, dated March 10, 2016
                                                                                                                     Confidentiality & Non-Disclosure
                                         5 International Drive Suite 125 Rye Brook NY   Vital Pharmaceuticals, Inc.,
2621 Lithia Springs Holdings, LLC                                                                                    Agreement, dated November 07,         $0.00
                                         10573                                          d/b/a Bang Energy ("Bang")
                                                                                                                     2019
                                                                                                                     Confidentiality & Non-Disclosure
                                         2105 South Bascom Ave #195 Campbell CA         Vital Pharmaceuticals, Inc.,
2622 LiveWorld, Inc.                                                                                                 Agreement, dated November 02,         $0.00
                                         95008                                          d/b/a Bang Energy ("Bang")
                                                                                                                     2020
                                                                                                                     Pricing Agreement, dated April 03,
2623 Livingston                          670 Young St Tonawanda NY 14150-4403           Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                     2019
                                         405 The West Mall Toronto ON M9C 5K7
2624 Livingston International Inc.                                                      Vital Pharmaceuticals, Inc.   Client Service Agreement             $0.00
                                         Canada
                                         425 South Financial Place Gateway Plaza Suite Vital Pharmaceuticals, Inc.    Confidentiality and Non-Disclosure
2625 Livingston International, Inc.                                                                                                                      $0.00
                                         3200 Chicago IL 60605                         dba Bang Energy                Agreement, dated February 26, 2019
                                                                                                                      Employment Agreement, dated May
2626 Lizbeth Ruiz                        1118 East 7th St Mesa AZ 85203                 Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                      30, 2017
                                                                                                                      Exclusive Distribution Agreement
                                         Attn: Rodney Edwards 3705 Highway V Rolla
2627 Lloyd Distributing Company, Inc.                                                   Vital Pharmaceuticals, Inc.   (MIXX Hard Seltzer), dated April 20, $0.00
                                         MO 65401
                                                                                                                      2021
                                         23731 State Highway 11 Kirksville MO 63501-                                  Amendment to Exclusive Distribution
2628 Lloyd Distributing Company, LLC                                                    Vital Pharmaceuticals, Inc.                                       $0.00
                                         7709                                                                         Agreement, dated May 05, 2021
                                                                                                                    Confidentiality & Non-Disclosure
       Lloyd-James Plant Based Sales &   Suite 203-2780 Granville Street Vancouver BC  Vital Pharmaceuticals, Inc.,
2629                                                                                                                Agreement, dated November 12,          $0.00
       Marketing                         V6H-3J3 Canada                                d/b/a Bang Energy ("Bang")
                                                                                                                    2018
                                         6170 SW 5th Street Margate FL 33068                                        Employment Agreement, dated
2630 Lloydlyn Garcon                                                                   Vital Pharmaceuticals, Inc.                                         $0.00
                                         (305) 978-7842                                                             March 25, 2020
                                                                                                                    Stock Thru Put / Cargo / General
                                         280 Park Avenue, East Tower, 25th Floor, New
2631 Lloyd's of London                                                                 Vital Pharmaceuticals, Inc. Liability Insurance Policy, dated May   $0.00
                                         York, NY 10017
                                                                                                                    31, 2023
                                         280 Park Avenue, East Tower, 25th Floor, New                               General Liability Insurance Policy,
2632 Lloyd's of London                                                                 Vital Pharmaceuticals, Inc.                                         $0.00
                                         York, NY 10017                                                             dated May 31, 2023
                                         280 Park Avenue, East Tower, 25th Floor, New                               Commercial Property Insurance
2633 Lloyd's of London                                                                 Vital Pharmaceuticals, Inc.                                         $0.00
                                         York, NY 10017                                                             Policy
                                                                                       Vital Pharmaceuticals, Inc., Confidentiality & Non-Disclosure
2634 LMI Tech Systems, LLC               4860 N. Royal Atlanta Drive Tucker GA 30084                                                                       $0.00
                                                                                       d/b/a Bang Energy ("Bang") Agreement
                                                                                                                    Exclusive Distribution Agreement
                                         Attn: Tim Hukriede 18098 365th Avenue Green
2635 Locher Bros., Inc.                                                                Vital Pharmaceuticals, Inc. (MIXX Hard Seltzer), dated April 02,    $0.00
                                         Isle MN 55338
                                                                                                                    2021
                                         501 Southeast 2nd St Apt 1204 Fort Lauderdale                              Employment Agreement, dated
2636 Logan Bean Patrick                                                                Vital Pharmaceuticals, Inc.                                         $0.00
                                         FL 33301                                                                   October 03, 2011
                                         Leonard DelBaggio 150 W 14th Street Tyrone                                 Exclusive Distribution Agreement,
2637 Logan Beverage                                                                    Vital Pharmaceuticals, Inc.                                         $0.00
                                         PA 16686                                                                   dated January 21, 2021
                                         Attn: Leonard DelBaggio 150 W 14th St Tyrone                               Exclusive Distribution Agreement,
2638 Logan Beverage, Inc.                                                              Vital Pharmaceuticals, Inc.                                         $0.00
                                         PA 16686                                                                   dated January 21, 2021
                                         2850 University Square Dr Unit 226 Tampa FL                                Employment Agreement, dated June
2639 Logan Watson Michael                                                              Vital Pharmaceuticals, Inc.                                         $0.00
                                         33612                                                                      15, 2020
                                                                                                                    Employment Agreement, dated
2640 London Wilson Wayne                 4337 Hedge Dr East Lakeland FL 33812          Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                    August 06, 2018
                                         2340 E. Trinity Mills Ste. 300 Carrollton TX  Vital Pharmaceuticals, Inc., Confidentiality & Non-Disclosure
2641 Lone Star Cable                                                                                                                                       $0.00
                                         75006                                         d/b/a Bang Energy ("Bang") Agreement
                                                                                                                      Amendment to Exclusive Distribution
2642 Long Beverage, Inc.                 10500 World Trade Blvd Raleigh NC 27617        Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                      Agreement, dated April 06, 2021
                                                                                                                     Exclusive Distribution Agreement
2643 Long Beverage, Inc.                 10500 World Trade Blvd Raleigh NC 27617        Vital Pharmaceuticals, Inc.  (MIXX Hard Seltzer), dated March 09, $0.00
                                                                                                                     2021
                                         555 Briarwood Circle Suite 118 Ann Arbor MI    Vital Pharmaceuticals, Inc., Confidentiality & Non-Disclosure
2644 Longbow Advantage USA, Inc.                                                                                                                          $0.00
                                         48108                                          d/b/a Bang Energy ("Bang") Agreement, dated January 30, 2019
                                         11121 Veterans Memorial Hwy Lot 59                                          Employment Agreement, dated
2645 Louceria Ford Sherrell                                                             Vital Pharmaceuticals, Inc.                                       $0.00
                                         Douglasville GA 30134                                                       February 28, 2022
                                                                                                                     Employment Agreement, dated May
2646 Lourdes Barsky                      1844 Southwest 142nd Place Miami FL 33175      Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                     25, 2021
2647 Love Bottling Company               3200 S 24th Street West Muskogee OK 74402      Vital Pharmaceuticals, Inc. Distributor Agreement                 $0.00
                                                                                                                      Confidentiality & Non-Circumvention
2648 LSQ Funding Group, LLC              2600 Lucien Way Ste 100 Maitland FL 32751      Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                      Agreement, dated April 06, 2015
                                                                                                                      Employment Agreement, dated
2649 Lu Li                               252 Aspen Way Davie FL 33325                   Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                      January 25, 2022
                                                                                                                      Select Agreement, dated January 01,
2650                                                                                    Quash Seltzer, LLC
                                                                                                                      2022
                                                                                                                      Elite Team Agreement, dated June
2651                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                      05, 2017
                                                                                                                      Employment Agreement, dated June
2652 Lucas Hill Eugene                   3580 Organ Church Rd Rockwell NC 28138         Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                      06, 2022
                                Case 5000
                                     22-17842-PDR                Doc 1658
                                          Southwest 148th Ave Southwest Ranches             Filed 07/14/23 Employment
                                                                                                             Page 225       of 279
                                                                                                                      Agreement, dated
2653 Lucero Alejo                                                                       Vital Pharmaceuticals, Inc.                                        $0.00
                                          FL 33331                                                                    February 28, 2022
                                                                                                                      Authorized Distribution Agreement,
2654   Lucky 7 Beverage Co                545 Southwest 2nd Avenue Canby OR 97013 Vital Pharmaceuticals, Inc.                                              $0.00
                                                                                                                      dated February 10, 2023
                                          2 Longwalk Road Stockley Park Uxbrideg UB11 Vital Pharmaceuticals, Inc., Confidentiality & Non-Disclosure
2655   Lucozade Ribena Suntory Limited                                                                                                                     $0.00
                                          1BA UK                                         d/b/a Bang Energy ("Bang") Agreement
                                                                                                                      Exclusive Distribution Agreement
                                          Attn: Rick Tyndall 816 N Washington Ave.
2656   Ludington Beverage Co. Inc                                                        Vital Pharmaceuticals, Inc. (Hard Seltzer), dated January 29,     $0.00
                                          Ludington MI 49431
                                                                                                                      2021
                                          Rick Tyndall 816 N Washington Ave Ludington                                 Exclusive Distribution Agreement,
2657   Ludington Beverage Co. Inc.                                                       Vital Pharmaceuticals, Inc.                                       $0.00
                                          MI 49431                                                                    dated January 29, 2021
                                          Bob Ludwig, President 3003 Meadow View Ct                                   Fee Agreement, dated October 28,
2658   Ludwig & Associates                                                               Vital Pharmaceuticals, Inc.                                       $0.00
                                          Harrison City PA 15636                                                      2019
                                                                                                                      CONFIDENTIALITY AND NON-
2659   Luis Caro                          luis.caro_v@bangenergy.com                     Vital Pharmaceuticals, Inc. DISCLOSURE AGREEMENT, dated           $0.00
                                                                                                                      October 28, 2021
                                                                                                                      Elite Team Agreement, dated July 31,
2660                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                      2018
                                                                                                                      Elite Agreement, dated September
2661                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                      01, 2021
                                                                                                                      Employment Agreement, dated
2662   Luis Garcia Lamas Miguel           8177 NW 8th St Apt D3 Miami FL 33126           Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                      August 29, 2022
                                                                                                                      Select Agreement, dated February
2663                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                      01, 2022
                                                                                                                      Employment Agreement, dated May
2664   Luis Reyes Velez Rafael            4053 Abbey Ct Haines City FL 33844             Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                      23, 2022
                                          18432 NW 22nd St, Pembroke Pines FL                                         Employment Agreement, dated
2665   Luis Rios                                                                         Vital Pharmaceuticals, Inc.                                       $0.00
                                          (954) 433-7681                                                              March 10, 2008
                                                                                                                      Employment Agreement, dated
2666   Luis Rodriguez Rafael              14440 SW 51St St Miami FL 33175                Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                      February 08, 2021
                                                                                                                      Employment Agreement, dated
2667   Luis Villarreal Carlos             4621 West Ellis St Phoenix AZ 85339            Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                      October 08, 2018
                                                                                                                      Employment Agreement, dated
2668   Luis Villarreal Jr Carlos          4522 North 15th Ave Phoenix AZ 85015           Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                      December 16, 2021
                                                                                                                      Photographer Agreement, dated
2669                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                      October 17, 2014
                                                                                                                      Employment Agreement, dated July
2670   Luisa Benjumea F                   8498 Telfair Dr 124 Kissimmee FL 34747         Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                      26, 2021
                                                                                                                      Exclusive Promotional Modeling
2671                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                      Agreement, dated March 10, 2016
                                                                                                                      Elite Team Agreement, dated
2672                                                                                     Quash Seltzer, LLC
                                                                                                                      December 01, 2021
                                                                                                                      ADDENDUM TO SETTLEMENT
2673   Lukas J. Fischer                   7950 NW 53RD ST Suite 337 Miami, FL 33166 Vital Pharmaceuticals, Inc.                                            $0.00
                                                                                                                      AGREEMENT, dated June 09, 2016
                                          2850 University Square Dr Room 478C Tampa                                   Employment Agreement, dated
2674   Luke Chop William                                                                 Vital Pharmaceuticals, Inc.                                       $0.00
                                          FL 33612                                                                    December 16, 2019
                                                                                                                      Brand Ambassador (National Team)
2675                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                      Agreement, dated October 25, 2017
                                                                                                                      Employment Agreement, dated
2676   Luke Locascio Joseph               7001 NW 5th St Plantation FL 33317             Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                      October 02, 2019
                                                                                                                      Employment Agreement, dated June
2677   Luke Short Charles Toan            1428 South Terrace Rd Tempe AZ 85281           Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                      24, 2019
                                                                                                                      Confidentiality & Non-Disclosure
                                                                                         Vital Pharmaceuticals, Inc.,
2678   Lunchbox Technologies Inc.         1216 Broadway New York NY 10001                                             Agreement, dated September 27,       $0.00
                                                                                         d/b/a Bang Energy ("Bang")
                                                                                                                      2021
                                                                                                                      Elite Team Agreement, dated
2679                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                      December 18, 2018
                                                                                                                      Employment Agreement, dated May
2680   Luz Morales Johanna                14831 Southwest 18th St Miramar FL 33027       Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                      18, 2020
                                                                                                                      Employment Agreement, dated
2681   Luz Rodriguez                      402 SW 74th Ave North Lauderdale FL 33068 Vital Pharmaceuticals, Inc.                                            $0.00
                                                                                                                      August 23, 2021
                                                                                                                      Employment Agreement, dated
2682   Lysnel Petit Frere                 551 NW 42nd Ave 606 Plantation FL 33317        Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                      March 09, 2022
                                          Carter Mollgaard 419 North 9th Street Miles                                 Distributor Agreement, dated
2683   M & C Beverage, Inc                                                               Vital Pharmaceuticals, Inc.                                       $0.00
                                          City MT 59301                                                               November 01, 2018
                                                                                                                      2023 Shelf Slotting Agreement, dated
2684   M. M. Fowler, Inc. dba Family Fare 4220 Neal Road / Durham NC 27705 / US          Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                      October 21, 2022
                                          Chance Price One Budweiser Street Hampton                                   Distributor Agreement, dated
2685   M. Price Distributing, LLC                                                        Vital Pharmaceuticals, Inc.                                       $0.00
                                          VA 23661                                                                    November 12, 2018
                                          Attn: Nick Makris 310 South Linden Street Pine                              Distributor Agreement, dated August
2686   M.K. Distributors, Inc.                                                           Vital Pharmaceuticals, Inc.                                       $0.00
                                          Bluff AR 71601                                                              08, 2018
                                          PO BOX 745747 / ATLANTA GA 30374-5747 /
2687   Mac Papers                                                                        Vital Pharmaceuticals, Inc. Product/Service Agreement             $0.00
                                          US
                                                                                                                      Confidentiality and Non-Disclosure
                                          3722 S Las Vegas Blvd #2302 Las Vegas NV       Vital Pharmaceuticals, Inc.
2688   Maceoo, LLC                                                                                                    Agreement, dated September 23,       $0.00
                                          89103                                          dba Bang Energy
                                                                                                                      2020
                                Case 22-17842-PDR                       Doc 1658            Filed 07/14/23 Sponsorship
                                                                                                             Page Agreement,
                                                                                                                       226 of dated
                                                                                                                              279
2689 Mac's Convenience Stores            PO Box 347 Columbus IN 47202                   Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                      December 01, 2010
                                                                                                                      Employment Agreement, dated April
2690 Madeline Dellinger Elizabeth        722 Bryson Way Southlake TX 76092              Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                      27, 2020
                                                                                                                      Employment Agreement, dated
2691 Madeline Hubbard Grace              128 Mesa Dr Johnson City TN 37615              Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                      November 15, 2021
                                         Les Rickett 315 East Industrial Boulevard                                    DISTRIBUTOR AGREEMENT, dated
2692 Made-Rite Company                                                                  Vital Pharmaceuticals, Inc.                                       $0.00
                                         Longview TX                                                                  May 01, 2008
                                                                                                                      Affiliate Member Agreement, dated
2693                                                                                    Quash Seltzer, LLC
                                                                                                                      September 17, 2021
                                                                                                                      Distributor Agreement, dated
2694 Madison Bottling Company            Scot Roth 2369 Hwy 40 Madison MN 56256         Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                      September 18, 2018
                                                                                                                      Exclusive Distribution Agreement
2695 Madison Bottling Company            2369 HWY 40 / MADISON MN 56256 / US            Vital Pharmaceuticals, Inc.   Reinstatement, dated October 11,    $0.00
                                                                                                                      2022
                                                                                                                      Employment Agreement, dated June
2696 Madison Holmes Lee                  7170 Barton Creek Ct Las Vegas NV 89113        Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                      27, 2022
                                                                                                                      Trainer Services Agreement, dated
2697                                                                                    Quash Seltzer, LLC
                                                                                                                      September 20, 2021
                                                                                                                      Exclusive Promotional Modeling
2698                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                      Agreement, dated July 13, 2018
                                         7500 West Sunrise Boulevard Plantation FL   Vital Pharmaceuticals, Inc.,     Confidentiality & Non-Disclosure
2699 Magic Leap, Inc.                                                                                                                                     $0.00
                                         33322                                       d/b/a Bang Energy ("Bang")       Agreement, dated October 26, 2021
                                         11665 SW 17th St Bldg 172 Pembroke Pines FL                                  Employment Agreement, dated
2700 Maikel Contreras Rojas J                                                        Vital Pharmaceuticals, Inc.                                          $0.00
                                         33025-1700                                                                   January 02, 2019
                                                                                                                      Exclusive Distribution Agreement
                                         Attn: Dave Niewiadomski 202 S. Lansing
2701 Main Beverage                                                                      Vital Pharmaceuticals, Inc.   (Hard Seltzer), dated January 29,   $0.00
                                         Owosso MI 48867
                                                                                                                      2021
                                                                                                                      Non Disclosure and Confidentiality
2702 Main Street Ingredients             2340 Enterprise Avenue La Crosse WI 54603      Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                      Agreement
                                                                                        Vital Pharmaceuticals, Inc.   Manufacturing, Confidentiality, and
2703 Main Street Ingredients             2340 Enterprise Avenue La Crosse WI 54603                                                                        $0.00
                                                                                        d/b/a VPX Sports              Non-Compete Agreement
                                                                                                                      Exclusive Distribution Agreement
                                         Attn Douglas Solman, President 5 Coffey Street
2704 Maine Distributors, Inc.                                                           Vital Pharmaceuticals, Inc.   (Hard Seltzer), dated September 03, $0.00
                                         Bangor ME 04401
                                                                                                                      2021
                                                                                                                      Residential Lease Agreement, dated
2705 Makasa Covin                        1474 Nena Hills Ct. Tallahassee FL 32304       Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                      January 25, 2013
                                                                                                                      Employment Agreement, dated
2706 Makenzie Wiemer Taylor              5515 East 5th St Tulsa OK 74112                Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                      December 05, 2018
                                                                                                                      CONFIDENTIALITY AND NON-
                                                                                        Vital Pharmaceuticals, Inc,
2707 Makers Nutrition                    315 Oser Ave Hauppauge NY 11788                                              DISCLOSURE AGREEMENT, dated         $0.00
                                                                                        d/b/a Bang Energy ("Bang")
                                                                                                                      October 05, 2021
                                         2324 W Scissortail Ct North Las Vegas NV                                     Employment Agreement, dated
2708 Malcolm Green Rashad                                                               Vital Pharmaceuticals, Inc.                                       $0.00
                                         89084                                                                        January 06, 2020
                                                                                                                      Elite Team Agreement, dated
2709                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                      February 25, 2019
                                                                                                                      Statement of Service Terms, dated
2710 Managed Mobile, Inc.                1901 Nancita Circle Placentia CA 92870         Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                      August 02, 2018
                                                                                                                      CONFIDENTIALITY AND NON-
       Manchester United Football Club   Sir Matt Busby Way Old Trafford Manchester     Vital Pharmaceuticals, Inc,
2711                                                                                                                  DISCLOSURE AGREEMENT, dated         $0.00
       Limited                           M16 0RA UK                                     d/b/a Bang Energy ("Bang")
                                                                                                                      November 09, 2021
                                                                                                                      CONFIDENTIALITY AND NON-
                                                                                        Vital Pharmaceuticals, Inc,
2712 Mane Inc.                           2501 Henkle Dr. Lebanon OH 45036                                             DISCLOSURE AGREEMENT, dated July $0.00
                                                                                        d/b/a Bang Energy ("Bang")
                                                                                                                      29, 2021
       Mango Technologies, Inc. DBA      350 10TH AVE STE 500 / SAN DIEGO CA 92101-
2713                                                                                 Vital Pharmaceuticals, Inc.      Product/Service Agreement          $0.00
       ClickUp                           7497 / US
                                         Bruce Richards, SVP and Chief Legal Officer
                                                                                     Vital Pharmaceuticals, Inc.,     Confidentiality and Non-Disclosure
2714 Manhattan Associates, Inc.          2300 Windy Ridge Parkway, 10th Floor,                                                                           $0.00
                                                                                     d/b/a Bang Energy                Agreement, dated February 11, 2019
                                         Atlanta, Georgia 30339
                                                                                                                   Employment Agreement, dated April
2715 Manjit Gill S                       19512 SW 53rd St Miramar FL 33029              Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                   01, 2019
                                                                                                                   CONFIDENTIALITY AND NON-
       ManTech Advanced Systems                                                        Vital Pharmaceuticals, Inc,
2716                                     2251 Corporate Park Drive Herndon VA 20171                                DISCLOSURE AGREEMENT, dated           $0.00
       International Incorporated                                                      d/b/a Bang Energy ("Bang")
                                                                                                                   August 01, 2021
                                                                                                                   Employment Agreement, dated
2717 Manuel Fraijo                       8002 W Orange Dr Glendale AZ 85303-5564       Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                   August 22, 2022
                                                                                                                   Employment Agreement, dated April
2718 Manuel Gallardo A                   7803 Northwest 194th St Hialeah FL 33015      Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                   04, 2022
     Map Legacy, Inc., dba               1995 E. Oakland Park Blvd. #210, Fort                                     Proposal for Settlement, dated
2719                                                                                   Vital Pharmaceuticals, Inc.                                       $0.00
     Signature Grand                     Lauderdale, FL 33306                                                      October 28, 2020
                                         Jerome R. Schechter, P.A.
       Map Legacy, Inc., dba                                                                                       Stipulation for Dismissal with
2720                                     1995 E. Oakland Park Blvd. #210, Fort         Vital Pharmaceuticals, Inc.                                       $0.00
       Signature Grand                                                                                             Prejudice, dated April 01, 2021
                                         Lauderdale, FL 33306
                                         Attn: John P. Hipp 371 Cleveland Road Norwalk                             Distributor Agreement, dated
2721 Maple City Ice Co., Inc.                                                          Vital Pharmaceuticals, Inc.                                       $0.00
                                         OH 44857                                                                  January 25, 2019
       Maple City Ice             Case John
                                       22-17842-PDR                 Doc
                                            P, Hipp 371 Cleveland Road     1658
                                                                       Norwalk OH          Filed 07/14/23 Distributor
                                                                                                             PageAgreement,
                                                                                                                      227 ofdated
                                                                                                                             279
2722                                                                                    Vital Pharmaceuticals, Inc.                                        $0.00
       Co., Inc.                          44857                                                                      January 25, 2019
                                                                                                                     Employment Agreement, dated
2723 Marc Bower Edward                    18133 North Cook Dr Maricopa AZ 85138          Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                     March 25, 2019
                                                                                                                     Elite Agreement, dated January 01,
2724                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                     2022
                                                                                                                     Power of Attorney for Acts Before
2725 Marc J. Kesten, Esq.                 9220 Trotters Ln Parkland FL 33067             Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                     Invima, dated June 07, 2019
                                                                                                                     Trainer Services Agreement, dated
2726                                                                                     Quash Seltzer, LLC
                                                                                                                     November 20, 2021
                                          Attn: JoAnn L. Jorgensen 700 Emeline Street                                Exclusive Distribution Agreement,
2727 Marchetti Distributing Co., Inc.                                                    Vital Pharmaceuticals, Inc.                                       $0.00
                                          Sault Ste. Marie MI 49783                                                  dated February 01, 2021
                                                                                                                     Exclusive Distribution Agreement
       Marchetti Distributing Company     Attn: JoAnn L. Jorgensen 700 Emeline Street
2728                                                                                     Vital Pharmaceuticals, Inc. (Hard Seltzer), dated February 01,    $0.00
       Inc.                               Sault Ste. Marie MI 49783
                                                                                                                     2021
                                                                                                                     Employment Agreement, dated April
2729 Marckel Bell L                       422 Tala Dr Sw Concord NC 28027                Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                     25, 2022
                                                                                                                     CONFIDENTIALITY AND NON-
                                          450 East Las Olas Boulevard Ninth Floor Ft.    Vital Pharmaceuticals, Inc,
2730 Marcum, LLP                                                                                                     DISCLOSURE AGREEMENT, dated           $0.00
                                          Lauderdale FL 33301                            d/b/a Bang Energy ("Bang")
                                                                                                                     August 11, 2020
                                                                                                                     Engagement Letter, dated July 07,
2731 Marcus, Clegg & Mistretta            One Canal Plaza Suite 600 Portland ME 04101 Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                     2014
                                                                                                                     CONFIDENTIALITY AND NON-
                                                                                         Vital Pharmaceuticals, Inc,
2732 Marden-Kate, Inc.                    575 Underhill Blvd. Suite 222 Syosset NY 11791                             DISCLOSURE AGREEMENT, dated           $0.00
                                                                                         d/b/a Bang Energy ("Bang")
                                                                                                                     October 09, 2020
                                                                                                                     Model Release and Affidavit, dated
2733                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                     June 02, 2011
                                                                                                                     Employment Agreement, dated
2734 Margaret Sycalik Elizabeth           4406 Feagan St Unit A Houston TX 77007         Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                     August 05, 2019
                                                                                                                      Addendum "3" MODEL RELEASE AND
2735                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                      AFFIDAVIT, dated February 24, 2014
                                                                                                                      Select Agreement, dated October 01,
2736                                                                                    Quash Seltzer, LLC
                                                                                                                      2021
                                                                                                                      Elite Team Agreement, dated January
2737                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                      27, 2018
                                          574 Southwest 183rd Way Pembroke Pines FL                                   Employment Agreement, dated
2738 Maria Corona Angeles                                                           Vital Pharmaceuticals, Inc.                                           $0.00
                                          33029                                                                       November 02, 2020
                                                                                                                      Employment Agreement, dated
2739 Maria De Leon A                      3513 Salzedo St Coral Gables FL 33134         Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                      October 18, 2021
                                          25080 Southwest 107th Ave Homestead FL                                      Employment Agreement, dated April
2740 Maria Demiranda Alejandra                                                          Vital Pharmaceuticals, Inc.                                       $0.00
                                          33032                                                                       20, 2020
                                                                                                                      Employment Agreement, dated
2741 Maria Diaz Guadalupe                 7906 West Cavalier Dr Glendale AZ 85303       Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                      March 11, 2019
2742                                                                                    Vital Pharmaceuticals, Inc.   Contact Information Sheet
                                                                                                                      Exclusive Promotional Modeling
2743                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                      Agreement, dated March 10, 2016
                                          1480 Northwest North River Dri Apt 609 Miami                                Employment Agreement, dated May
2744 Maria Morales Camila                                                              Vital Pharmaceuticals, Inc.                                        $0.00
                                          FL 33125                                                                    31, 2019
                                                                                                                      Employment Agreement, dated
2745 Maria Solis Del Pilar                13279 Northwest 5th St Plantation FL 33325    Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                      October 03, 2022
                                                                                                                      Exclusive Promotional Modeling
2746                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                      Agreement, dated March 10, 2016
                                                                                                                      Employment Agreement, dated
2747 Maribel Flecha                       3265 Countryside View Dr St Cloud FL 34772    Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                      January 06, 2020
                                                                                                                      Employment Agreement, dated
2748 Maricarmen Rozas                     14821 SW 54th St Miramar FL 33027             Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                      January 31, 2022
                                                                                                                      Employment Agreement, dated
2749 Marice Pomo                          8421 Sheraton Dr Miramar FL 33025             Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                      November 01, 2021
                                                                                                                      Writer Agreement, dated February
2750                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                      18, 2009
                                                                                                                      Brand Ambassador (National Team)
2751                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                      Agreement, dated March 27, 2018
                                                                                                                      Model Release and Affidavit, dated
2752                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                      June 03, 2011
                                                                                                                      Trainer Services Agreement, dated
2753                                                                                    Quash Seltzer, LLC
                                                                                                                      September 16, 2021
                                                                                                                      Photographer Agreement, dated
2754                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                      April 30, 2016
                                                                                                                      Employment Agreement, dated
2755 Mario Arauz                          19515 NW 55 Cir Pl Miami FL 33055             Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                      December 26, 2016
                                                                                                                      Employment Agreement, dated
2756 Mario Gelig Alvarado                 12418 West Monroe St Avondale AZ 85323        Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                      February 28, 2022
                                          436 North Bellflower Blvd Apt 118 Long Beach                                Employment Agreement, dated May
2757 Mario Guerrero                                                                    Vital Pharmaceuticals, Inc.                                        $0.00
                                          CA 90814                                                                    16, 2022
                                   Case 22-17842-PDR                 Doc 1658           Filed 07/14/23 Employment
                                                                                                         Page 228       of 279
                                                                                                                  Agreement, dated
2758 Mario Quagliatta III Gustavo      12761 Southwest 20th Street Miami FL 33175    Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                    March 02, 2020
                                                                                                                    Employment Agreement, dated
2759 Marissa Garcia A                  3958 Devenshire Ct Coconut Creek FL 33073     Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                    March 14, 2022
                                                                                                                    Elite Team Agreement - Marketing
                                                                                                                    Contractor Services Agreement, W-9
2760                                                                                 Vital Pharmaceuticals, Inc.
                                                                                                                    and direct deposit forms, dated
                                                                                                                    February 25, 2019
                                                                                                                    Fitness Model Endorsement
2761                                                                                 Vital Pharmaceuticals, Inc.    Agreement, dated November 01,
                                                                                                                    2016
                                                                                     Vital Pharmaceuticals, Inc.,   Confidentiality & Non-Circumvention
2762 Mark Caporale                     21278 Calistoga Road Middletown CA 95461                                                                         $0.00
                                                                                     d/b/a VPX                      Agreement, dated October 18, 2017
                                                                                                                    Employment Agreement, dated July
2763 Mark Euceda Anthony               5442 Pomona Blvd East Los Angeles CA 90022 Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                    20, 2020
                                                                                                                    Employment Agreement, dated
2764 Mark Fagan W.                     4649 Gillespie Ln Plant City FL 33567         Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                    December 07, 2020
                                                                                                                    Elite Agreement, dated September
2765                                                                                 Quash Seltzer, LLC
                                                                                                                    01, 2021
                                                                                                                    Exclusive Promotional Modeling
2766                                                                                 Vital Pharmaceuticals, Inc.
                                                                                                                    Agreement, dated March 10, 2016
       Markstein Beverage Co. of       Hayden Markstein 60                                                          Distributor Agreement, dated August
2767                                                                                 Vital Pharmaceuticals, Inc.                                        $0.00
       Sacramento                      Main Avenue Sacramento CA 95838                                              07, 2018
                                                                                                                    Addendum to Distributor Agreement,
2768 Markstein Sales Company           1645 Dr In Way Antioch CA 94506               Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                    dated February 18, 2019
                                       6257 Shore PiNE Ct Rancho Cucamonga CA                                       Employment Agreement, dated
2769 Marlisse Garcia Angel                                                           Vital Pharmaceuticals, Inc.                                         $0.00
                                       91739                                                                        December 04, 2015
                                                                                                                    Employment Agreement, dated
2770 Marlon Mais Olando                9520 Northwest 9th Ct Plantation FL 33324     Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                    February 07, 2019
                                                                                                                    Addendum for commercial Ford van
2771 Maroone Ford of Margate           5401 West Copans Road Margate FL 33063        Vital Pharmaceuticals, Inc.    lease agreement, dated November      $0.00
                                                                                                                    22, 2011
                                                                                                                    Commercial Ford Van lease
2772 Maroone Ford of Margate           5401 West Copans Road Margate FL 33063        Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                    agreement, dated August 19, 2011
                                                                                                                    Retail Purchase Agreement, dated
2773 Maroone Ford of Margate           5401 West Copans Road Margate FL 33063        Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                    April 23, 2012
     Marsala Beverage Limited          Attn: Damon Marsala, President 825 Stone                                     Distributor Agreement, dated
2774                                                                                 Vital Pharmaceuticals, Inc.                                         $0.00
     Partnership                       Avenue Monroe LA 71201                                                       November 02, 2018
     Marsh & McLennan Agency LLC,
                                       9171 Towne Centre Drive Suite 500 San Diego                                  Mutual Non-Disclosure Agreement,
2775 d/b/a Marsh & McLennan                                                          Vital Pharmaceuticals, Inc.                                         $0.00
                                       CA 92122                                                                     dated January 08, 2019
     Insurance Agency LLC
                                                                                                                    Elite Team Agreement, dated
2776                                                                                 Vital Pharmaceuticals, Inc.
                                                                                                                    February 04, 2018
                                       39852 Bridgeview St Harrison Township MI                                     Employment Agreement, dated
2777 Martino Montalto J                                                              Vital Pharmaceuticals, Inc.                                      $0.00
                                       48045                                                                        October 05, 2020
                                                                                                                    Fitness Athlete Endorsement
2778                                                                                 Vital Pharmaceuticals, Inc.
                                                                                                                    Agreement, dated October 01, 2016
                                                                                                                    Brand Ambassador (Local Team)
2779                                                                                 Vital Pharmaceuticals, Inc.
                                                                                                                    Agreement, dated May 25, 2017
                                                                                                                    Brand Ambassador (National Team)
2780                                                                                 Vital Pharmaceuticals, Inc.
                                                                                                                    Agreement, dated February 06, 2018
                                                                                                                Employment Agreement, dated June
2781 Mary Hinson Deese                 15928 White St Apt 207 Charlotte NC 28278     Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                15, 2021
                                                                                                                Brand Ambassador (National Team)
2782                                                                                Vital Pharmaceuticals, Inc. Agreement, dated December 18,
                                                                                                                2018
                                                                                                                Employment Agreement, dated July
2783 Mary Perkins Lynne                590 Brinkburn Point Ave Las Vegas NV 89178 Vital Pharmaceuticals, Inc.                                            $0.00
                                                                                                                06, 2020
                                                                                                                Employment Agreement, dated
2784 Mary Winter Kate                  2669 Michael Ct Northeast Salem OR 97305     Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                August 11, 2008
                                                                                                                ADDENDUM TO DISTRIBUTOR
2785 Matagrano, Inc.                   440 Forbes Blvd S San Fran CA 94080-2015     Vital Pharmaceuticals, Inc. AGREEMENT, dated February 06,            $0.00
                                                                                                                2019
                                                                                                                CONFIDENTIALITY AND NON-
                                       10695 Dean Martin Drive USA Unit 1201 Las    Vital Pharmaceuticals, Inc,
2786 Matchbox Mobile, Inc.                                                                                      DISCLOSURE AGREEMENT, dated              $0.00
                                       Vegas NV 89141                               d/b/a Bang Energy ("Bang")
                                                                                                                November 02, 2020
                                                                                                                Elite Team Agreement, dated
2787                                                                                Vital Pharmaceuticals, Inc.
                                                                                                                September 22, 2018
                                                                                                                Employment Agreement, dated
2788 Mathias Pedersen Brix             4305 Laurel Ridge Cir Weston FL 33331        Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                November 22, 2021
                                                                                                                CONFIDENTIALITY AND NON-
                                                                                    Vital Pharmaceuticals, Inc,
2789 Mathias Properties, Inc.          5571 Bleaux Ave. Suite A Springdale AR 72764                             DISCLOSURE AGREEMENT, dated              $0.00
                                                                                    d/b/a Bang Energy ("Bang")
                                                                                                                September 09, 2020
                                  Case 22-17842-PDR                Doc 1658             Filed 07/14/23               Page 229 of 279
2790                                                                                 Quash Seltzer, LLC            Elite Agreement, dated May 03, 2021

2791                                                                                 Vital Pharmaceuticals, Inc.   Elite Agreement, dated May 03, 2021
2792 Matrix-Exclusive Beverage        154 Marine St. Farmingdale NY 11735            Vital Pharmaceuticals, Inc.   Distributor Agreement                 $0.00
                                                                                                                   Marketing Project X Confidentiality
                                      4418 Shrewbury Pl
2793 Matt Dunwoody                                                                   Vital Pharmaceuticals, Inc.   and Non-Disclosure Agreement,         $0.00
                                      Land O' Lakes, FL 34638
                                                                                                                   dated October 13, 2021
                                                                                                                   Fitness Athlete Endorsement
2794                                                                                 Vital Pharmaceuticals, Inc.   Agreement, dated September 09,
                                                                                                                   2016
                                                                                                                   Consent and Release for Use of
2795 Matthew Acton                    26 Prentice Road Levittown NY 11756            Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                   Likeness, dated April 01, 2016
                                                                                                                   Employment Agreement, dated
2796 Matthew Buswell Wayne            200 E Alessandro #71 Riverside CA 92508        Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                   March 31, 2021
                                                                                                                   Employment Agreement, dated
2797 Matthew Camp                     851 Briargrove Ave Davenport FL 33837          Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                   March 30, 2020
                                                                                                                   Employment Agreement, dated July
2798 Matthew Cox Tyson                106 Greenbriar Spartanburg SC 29302            Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                   26, 2021
                                                                                                                   Employment Agreement, dated July
2799 Matthew Fearneyhough Len         2754 Greenbrier Dr Cleveland TN 37312          Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                   19, 2022
                                                                                                                   Employment Agreement, dated June
2800 Matthew Garza                    605 Bunting Ave Fountain CO 80817-1807         Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                   17, 2019
                                                                                                                   Employment Agreement, dated
2801 Matthew Lotterman E              600 Fairbanks Ct Unit 2507 Chicago IL 60611    Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                   August 26, 2019
                                                                                                                   Employment Agreement, dated May
2802 Matthew Malone David             513 Niagara Falls Dr Anna TX 75409             Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                   02, 2022
                                                                                     Vital Pharmaceuticals,Inc.,   Confidential Settlement Agreement
2803 Matthew Owen Shuler              824 Walden Hills Court Augusta GA 30909                                                                            $0.00
                                                                                     DBA VPX Sports                and General Release
                                      3042 Southwest Indian Place Redmond OR                                       Employment Agreement, dated
2804 Matthew Phillips Allen                                                          Vital Pharmaceuticals, Inc.                                         $0.00
                                      97756                                                                        March 29, 2022
                                                                                                                   Trainer Services Agreement, dated
2805                                                                                 Quash Seltzer, LLC
                                                                                                                   January 03, 2021
                                                                                                                   Fitness Athlete Endorsement
2806                                                                                 Vital Pharmaceuticals, Inc.   Agreement, dated September 20,
                                                                                                                   2016
                                                                                                                   Employment Agreement, dated
2807 Matthew Tomlinson R              3003 EaSuitern Ave Baltimore MD 21224          Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                   August 30, 2021
                                                                                                                   Employment Agreement, dated
2808 Matthew Wolov Blake              4710 Pin Oaks Cir Rockwall TX 75032            Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                   March 07, 2022
                                                                                                                   Elite Agreement, dated January 01,
2809                                                                                 Quash Seltzer, LLC
                                                                                                                   2022
                                                                                                                   Elite Agreement, dated January 01,
2810                                                                                 Vital Pharmaceuticals, Inc.
                                                                                                                   2022
                                                                                                                   Employment Agreement, dated
2811 Mauricio Gonzalez-Maya Andres    3842 San Simeon Cir Weston FL 33331            Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                   March 07, 2022
                                      Attn: Tim Thomas 1322 E Harman Ave Omaha                                     Distributor Agreement, dated
2812 Maverick Distribution LLC                                                       Vital Pharmaceuticals, Inc.                                         $0.00
                                      NE 68110                                                                     January 15, 2019
                                                                                                                   ADDENDUM TO DISTRIBUTOR
2813 Maverick Distribution, LLC       1322 E Hartman Ave Omaha NE 68110              Vital Pharmaceuticals, Inc.   AGREEMENT, dated September 24, $0.00
                                                                                                                   2019
                                                                                                                   Standard Vendor Terms and
                                      Attn: Mark Keller 880 W. Center Street North
2814 Maverick, Inc.                                                                  Vital Pharmaceuticals, Inc.   Conditions for Products, dated        $0.00
                                      Salt Lake UT 84054
                                                                                                                   December 14, 2015
                                                                                                                   Standard Vendor Terms and
                                      185 S STATE ST STE 800 / SALT LAKE CTY UT                                    Conditions for Food Product
2815 Maverik, Inc.                                                                   Vital Pharmaceuticals, Inc.                                         $0.00
                                      84111-1549 / US                                                              Agreement, Amendment #3, dated
                                                                                                                   December 22, 2022
                                                                                                                   Credit Application, dated February
2816 MayPro                           2975 Westchester Avenue Purchase NY 10577 Vital Pharmaceuticals, Inc.                                              $0.00
                                                                                                                   25, 2014
                                                                                                                   Elite Agreement, dated December 01,
2817                                                                                 Quash Seltzer, LLC
                                                                                                                   2021
                                                                                                                   Elite Agreement, dated December 01,
2818                                                                                 Vital Pharmaceuticals, Inc.
                                                                                                                   2021
                                      Chad McCraith 20 Burrstone Road New York                                     Distributor Agreement, dated
2819 McCraith Beverages Inc                                                          Vital Pharmaceuticals, Inc.                                         $0.00
                                      Mills NY 13417                                                               October 23, 2018
                                                                                                                   Exclusive Distribution Agreement
                                      Attn: Chad McCraith 20 Burrstone Road New
2820 Mccraith Beverages, Inc.                                                        Vital Pharmaceuticals, Inc.   (MIXX Hard Seltzer), dated August     $0.00
                                      York Mills NY 13417
                                                                                                                   18, 2021
                                                                                                                   Supplier Agreement, dated August
2821 McLane Company, Inc.             4747 McLane Parkway Temple TX 76504            Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                   23, 2016
                                                                                                                   Letter re: Nationwide Distribution of
                                      Attn: Teresa Voelter 4747 McLane Pkwy
2822 McLane Distributing                                                             Vital Pharmaceuticals, Inc.   Products by McLane Distributing,      $0.00
                                      Temple TX 76504
                                                                                                                   dated February 01, 2011
                                      Attn: Shannon McQuade-Ely 1150 Industrial Dr                                 Distributor Agreement, dated
2823 McQuade Distributing Co., Inc.                                                Vital Pharmaceuticals, Inc.                                           $0.00
                                      Bismarck ND 58501                                                            September 12, 2018
                                   Case Attn:
                                        22-17842-PDR
                                              Jarrad Katz 5960 S. JonesDoc
                                                                       Blvd Las1658
                                                                               Vegas          Filed 07/14/23 Purchase
                                                                                                                Page     230 of
                                                                                                                      Agreement and279
                                                                                                                                   Joint
2824 MDL Group                                                                             Vital Pharmaceuticals, Inc.                                         $0.00
                                           NV 89118                                                                    Escrow Instructions
       Meadwestvaco Packaging Systems                                                                                  Equipment Lease, dated January 08,
2825                                  1040 West Marietta Street, NW                        Vital Pharmaceuticals, Inc.                                         $0.00
       LLC                                                                                                             2006
                                                                                                                       Brand Ambassador (Local Team)
2826                                                                                       Vital Pharmaceuticals, Inc.
                                                                                                                       Agreement, dated April 30, 2019
                                                                                                                       CONFIDENTIALITY AND NON-
                                                                                           Vital Pharmaceuticals, Inc,
2827 Medisca Inc                           661 Route 3 Unit C Plattsburgh NY 12901                                     DISCLOSURE AGREEMENT, dated             $0.00
                                                                                           d/b/a Bang Energy ("Bang")
                                                                                                                       October 26, 2021
                                           Isidora Goyenechea 3120 / 8696406 Santiago /
2828 Mediterranean Shipping                                                             Vital Pharmaceuticals, Inc.      Logistics / Storage Agreement         $0.00
                                           CL
2829 Medium Rare Live, LLC                 280 Park Ave South 4M New York NY 10010      Vital Pharmaceuticals, Inc.      AGREEMENT, dated July 01, 2019        $0.00
                                                                                                                         Brand Ambassador (National Team)
2830                                                                                       Vital Pharmaceuticals, Inc.
                                                                                                                         Agreement, dated February 21, 2017

                                                                                                                         Brand Ambassador (National Team)
2831                                                                                       Vital Pharmaceuticals, Inc.
                                                                                                                         Agreement, dated February 15, 2017
                                                                                                                         Employment Agreement, dated July
2832 Megan Owoc                            1721 SW 131 Terrace Davie FL 33325              Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                                         25, 2022
2833                                                                                       Vital Pharmaceuticals, Inc.   Affiliate Member Agreement
                                                                                                                         Employment Agreement, dated June
2834 Melissa Malonson Ann                  12911 West Central St Surprise AZ 85374         Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                                         21, 2021
                                                                                                                         Affiliate Member Agreement, dated
2835                                                                                       Quash Seltzer, LLC
                                                                                                                         April 28, 2021
                                           Attn: Marc Kesten 101 NE 3rd Avenue Suite                                     Engagement Letter, dated November
2836 Melville Law                                                                          Vital Pharmaceuticals, Inc.                                     $0.00
                                           1500 Fort Lauderdale FL 33301                                                 06, 2018
                                                                                                                         Employment Agreement, dated
2837 Mercedes Goldseth Dawn                86607 Illusive Lake Crt Yulee FL 32097          Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                                         February 18, 2019
                                                                                                                         Select Agreement, dated December
2838                                                                                       Quash Seltzer, LLC
                                                                                                                         01, 2021
                                       c/o Treasure Coast Commercial Real Estate,
                                                                                                                         Commercial Lease Agreement, dated
2839 MERCPL, LLC                       Inc. Attn: Pamela Delgado-Burt PO Box 899     Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                         July 01, 2017
                                       Stuart FL 34995
                                       111 East Wacker Drive #2300 Chicago IL 60601- Vital Pharmaceuticals, Inc.         Confidentiality and Non-Disclosure
2840 Merieux NutriSciences Corporation                                                                                                                         $0.00
                                       4214                                          dba Bang Energy                     Agreement, dated April 23, 2019
     MERRILL LYNCH, PIERCE. FENNER &                                                                                     CONSENT TO ADVISORY REFERRAL,
2841                                   701 Brickell Ave 11th Miami, FL 33131         Vital Pharmaceuticals, Inc.                                               $0.00
     SMITH INCORPORATED                                                                                                  dated January 16, 2012
                                                                                                                         Exclusive Distribution Agreement,
2842 Mervenne Beverage, Inc.               Jim Permesang 4209 M 40 Holland MI 49423        Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                         dated January 29, 2021
                                                                                                                         Exclusive Distribution Agreement
2843 Mervenne Beverage, Inc.               Jim Permesang 4209 M 40 Holland MI 49423        Vital Pharmaceuticals, Inc.   (Hard Seltzer), dated January 29,     $0.00
                                                                                                                         2021
                                           Nick Gagliardi, President 8870 Liquid Court San
2844 Mesa Distributing Co., Inc.                                                           Vital Pharmaceuticals, Inc.   Distributor Agreement                 $0.00
                                           Diego CA 92121
2845 Metavantage Science, Inc.             4100 FOREST DRIVE, WESTON, FL, 33332            Vital Pharmaceuticals, Inc.   Retainer and Agreement                $0.00
                                           P.O. Box 804466 / Kansas City MO 64180-4466
2846 MetLife Insurance                                                                     Vital Pharmaceuticals, Inc.   Insurance Agreement                   $0.00
                                           / US
       Metro Beverage of Philadelphia,                                                                                   Distributor Agreement, dated
2847                                       455 Dunksferry Rd Bensalem PA 19020             Vital Pharmaceuticals, Inc.                                         $0.00
       Inc.                                                                                                              October 04, 2018
                                                                                                                         Service / Maintenance Equipment
2848 Metro Fire Equipment, Inc.            63 South Hamilton Place Gilbert AZ 85233        Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                         Agreement, dated April 04, 2023
                                           Attn: Hamid R. Rafatjoo, Raines Feldman LLP,
                                                                                                                         Industrial Lease, dated November 15,
2849 MFP 4747 W. Buckeye LLC               1800 Avenue of the Stars, 12th Floor Los        Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                         2019
                                           Angeles CA 90067
                                                                                                                       Affiliate Member Agreement, dated
2850                                                                                       Quash Seltzer, LLC
                                                                                                                       April 01, 2021
                                                                                           Vital Pharmaceuticals, Inc, CONFIDENTIALITY AND NON-
2851 Miami Apparel Group LLC               8533 Franjo Rd Cutler Bay FL 33189                                                                              $0.00
                                                                                           d/b/a Bang Energy ("Bang") DISCLOSURE AGREEMENT
                                                                                                                       CONFIDENTIALITY AND NON-
                                                                                           Vital Pharmaceuticals, Inc,
2852 Miami Flower Walls, LLC               5846 S Flamingo Rd Cooper City FL 33330                                     DISCLOSURE AGREEMENT, dated         $0.00
                                                                                           d/b/a Bang Energy ("Bang")
                                                                                                                       November 06, 2020
                                                                                                                       Brand Ambassador Agreement, dated
2853                                                                                       Quash Seltzer, LLC
                                                                                                                       October 06, 2021
                                                                                                                       Employment Agreement, dated April
2854 Michael Carrion                       3195 Coral Ridge Dr Coral Springs FL 33065      Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                                       12, 2021
                                                                                                                       Employment Agreement, dated
2855 Michael Cloutier J                    31 Temple Dr Methuen MA 1844                    Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                                       August 08, 2022
                                                                                                                       Elite Agreement, dated December 01,
2856                                                                                       Quash Seltzer, LLC
                                                                                                                       2021
                                                                                                                       Employment Agreement, dated
2857 Michael Delgiudice                    4703 South Saint Brides Cir Orlando FL 32812    Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                                       March 28, 2022
2858                                                                                       Vital Pharmaceuticals, Inc.   Elite Agreement, dated May 27, 2019
                                           9860 Sheridan St Apt 101 Pembroke Pines FL                                    Employment Agreement, dated
2859 Michael Diaz II E                                                                     Vital Pharmaceuticals, Inc.                                         $0.00
                                           33024                                                                         October 14, 2019
                               Case 22-17842-PDR                    Doc 1658           Filed 07/14/23                Page 231 of 279
2860                                                                                Quash Seltzer, LLC            Elite Agreement, dated April 30, 2021

2861                                                                                Vital Pharmaceuticals, Inc.   Elite Agreement, dated April 30, 2021
                                                                                                               Employment Agreement, dated April
2862 Michael Gilmer Lee                 4592 S Point Rd Diamond Springs CA 95619    Vital Pharmaceuticals, Inc.                                    $0.00
                                                                                                               23, 2018
                                      3700 Northeast Akin Cir Unit B Lees Summit                               Employment Agreement, dated
2863   Michael Greer Christopher                                                  Vital Pharmaceuticals, Inc.                                      $0.00
                                      MO 64064                                                                 November 02, 2010
                                                                                                               Elite Team Agreement, dated August
2864                                                                              Vital Pharmaceuticals, Inc.
                                                                                                               16, 2018
                                                                                                               Elite Team Agreement, dated April
2865                                                                              Vital Pharmaceuticals, Inc.
                                                                                                               19, 2018
                                                                                                               Employment Agreement, dated
2866   Michael Kennedy L              1727 W CatheriNE Dr Anaheim CA 92801        Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                               December 02, 2019
                                                                                                               Exclusive Athlete Endorsement
2867                                                                              Vital Pharmaceuticals, Inc. Agreement, dated September 23,
                                                                                                               2008
                                                                                                               Employment Agreement, dated June
2868   Michael Long Anthony           504 Early Wyne Dr Taylorsville KY 40071     Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                               07, 2021
                                                                                                               Employment Agreement, dated
2869   Michael McKnight J             605 Ave H Delray Beach FL 33483             Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                               February 17, 2020
                                                                                                               Employment Agreement, dated
2870   Michael Monahan J              2970 Oakland Dr Green Cove Springs FL 32043 Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                               December 27, 2021
                                                                                                               Elite Team Agreement, dated June
2871                                                                              Vital Pharmaceuticals, Inc.
                                                                                                               01, 2017
                                                                                                               Employment Agreement, dated
2872   Michael O'Rielly Eugene        15218 South 42nd St Phoenix AZ 85044        Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                               September 13, 2021
                                                                                                               Talent Endorsement Agreement,
2873                                                                              Vital Pharmaceuticals, Inc.
                                                                                                               dated July 24, 2017
                                                                                                               Employment Agreement, dated
2874   Michael Prange L               5636 N Rogers Ave Chicago IL 60646          Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                               December 06, 2021
                                                                                                               Employment Agreement, dated
2875   Michael Renick Wesley          656 Desert Passage St Henderson NV 89002    Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                               February 24, 2020
                                      1119 Northwest 143rd Ave Pembroke Pines FL                               Employment Agreement, dated
2876   Michael Sayih Paul                                                         Vital Pharmaceuticals, Inc.                                      $0.00
                                      33028                                                                    December 21, 2020
                                                                                                               Brand Ambassador Agreement, dated
2877                                                                              Vital Pharmaceuticals, Inc.
                                                                                                               September 01, 2021
                                                                                                               Employment Agreement, dated
2878   Michael Spadea Dominick        5187 College Ave San Diego CA 92115         Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                               September 17, 2021
                                                                                                               Employment Agreement, dated June
2879   Michael Tate Raymond           1019 Enfilar Ln Arlington TX 76017-6344     Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                               07, 2021
                                                                                                               Employment Agreement, dated
2880   Michael Tripp II B             1600 N Park Dr Weston FL 33326-3278         Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                               November 04, 2019
                                                                                                               CONFIDENTIALITY AND NON-
                                      3848 Aspen Leaf Dr
2881   Michael Watson                                                             Vital Pharmaceuticals, Inc. DISCLOSURE AGREEMENT, dated          $0.00
                                      Boynton Beach, FL 33436
                                                                                                               November 16, 2021
                                                                                                               Employment Agreement, dated
2882   Michael Watson Ray             3848 Aspen Leaf Dr Boynton Beach FL 33436 Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                               November 15, 2021
                                                                                                               Employment Agreement, dated
2883   Michael Weddel J               6731 Grace Hammock Rd St Cloud FL 34773     Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                               December 30, 2019
                                                                                                               Employment Agreement, dated
2884   Michael Woods Winston          3764 Sedgewick St Sw Concord NC 28027       Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                               December 30, 2019
                                                                                                               Employment Agreement, dated
2885   Michael Zmerzlikar Anthony     4895 Summit View Dr El Dorado CA 95623      Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                               February 28, 2022
                                                                                                               Select Agreement, dated November
2886                                                                              Quash Seltzer, LLC
                                                                                                               01, 2021
                                                                                                               Select Agreement, dated November
2887                                                                              Vital Pharmaceuticals, Inc.
                                                                                                               01, 2021
                                                                                                               Absolute and Perpetual Release
                                                                                                               Authorizing VPX to Use Image,
2888                                                                              Vital Pharmaceuticals, Inc.
                                                                                                               Likeness, Performances and
                                                                                                               Testimonials, dated March 29, 2008
                                                                                                               Employment Agreement, dated May
2889   Michelle Castaneda Ruby        7565 Blanchard Ave Fontana CA 92336         Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                               13, 2022
                                                                                                               Employment Agreement, dated
2890   Michelle Gardner M             9521 Stanley Ln Tamarac FL 33321            Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                               October 11, 2021
                                                                                                               CONFIDENTIALITY AND NON-
                                      2571 Northwest 4th Court Fort Lauderdale FL Vital Pharmaceuticals, Inc,
2891   Micro Printing Inc.                                                                                     DISCLOSURE AGREEMENT, dated         $0.00
                                      33311                                       d/b/a Bang Energy ("Bang")
                                                                                                               August 03, 2020
                                      Attn: Theodore Weiss 1805 East Third Street                              Exclusive Distribution Agreement,
2892   Mid-State Beverage Co.                                                     Vital Pharmaceuticals, Inc.                                      $0.00
                                      Williamsport PA 17701                                                    dated March 09, 2021
       Midwest Assembly, Warehouse, &                                             Vital Pharmaceuticals, Inc., NonDisclosure Agreement, dated July
2893                                  5001 S River Road West Bend WI 53095                                                                         $0.00
       Distribution LLC                                                           d/b/a VPX Sports             06, 2018
                                                                                                               Employment Agreement, dated
2894   Miguel Aguilar                 27480 Cherry Creek Dr Valencia CA 91354     Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                               January 15, 2019
                                 Case 22-17842-PDR                      Doc 1658            Filed 07/14/23 Trainer
                                                                                                              Page       232
                                                                                                                   Services     of 279
                                                                                                                            Agreement, dated
2895                                                                                     Quash Seltzer, LLC
                                                                                                                        October 28, 2021
                                                                                                                        Trainer Services Agreement, dated
2896                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                        October 28, 2021
                                                                                                                        Employment Agreement, dated
2897 Miguel Barajas Wenceslao             16428 Ruby Lake Weston FL 33331                Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                        September 23, 2019
                                                                                                                        Employment Agreement, dated July
2898 Miguelina Santana A                  3323 Northwest 79th Way Hollywood FL 33024 Vital Pharmaceuticals, Inc.                                               $0.00
                                                                                                                        30, 2020
                                                                                                                        Exclusive Promotional Modeling
2899                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                        Agreement, dated April 12, 2018
     Mike Hopkins Distributor Company,                                                                                  Distributor Agreement (Exclusive -
2900                                   1751 Hwy 290 West Brenham TX 77834                Vital Pharmaceuticals, Inc.                                           $0.00
     Inc                                                                                                                TX)
     Mike Hopkins Distributor Company, Mike Hopkins P.O. Box 1919 Brenham TX                                            DISTRIBUTOR AGREEMENT, dated
2901                                                                                     Vital Pharmaceuticals, Inc.                                           $0.00
     Inc,                              77834                                                                            2009
                                       320 Via Villagio                                                                 Vistor Non-Disclosure Agreement,
2902 Mike Schoeman                                                                       Vital Pharmaceuticals, Inc.                                           $0.00
                                       Hypoluxo, FL 33462                                                               dated October 31, 2019
                                                                                                                        Contract Broker Commission
                                          Attn: Mark Sullivan 1674 East Cliff Road
2903 Mike Sullivan Sales Company                                                         Vital Pharmaceuticals, Inc.    Agreement, dated December 14,          $0.00
                                          Burnsville MN 55337
                                                                                                                        2015
2904                                                                                     Vital Pharmaceuticals, Inc.    Elite Agreement, dated June 12, 2019
                                                                                                                     Employment Agreement, dated April
2905 Milad Abramov                        420 Queens Rd Unit 10 Charlotte NC 28207       Vital Pharmaceuticals, Inc.                                   $0.00
                                                                                                                     01, 2019
                                                                                                                     CONFIDENTIALITY AND NON-
                                                                                         Vital Pharmaceuticals, Inc,
2906 Milan Entertainment S.R.L            Via Aldo Rossi 8 Milan Milan 20149 Italy                                   DISCLOSURE AGREEMENT, dated       $0.00
                                                                                         d/b/a Bang Energy ("Bang")
                                                                                                                     January 10, 2022
                                         c/o Ehrenstein Charbonneau Calderin Attn:
                                         Michael D. Ehrenstein & Latasha N. Johnson                                     Settlement Agreement and Mutual
2907   Milk Specialties Company                                                          Vital Pharmaceuticals, Inc.                                         $0.00
                                         501 Brickell Key Drive, Suite 300                                              Limited Release, dated June 28, 2013
                                          Miami FL 33131
       Milk Specialties Company dba Milk Flying Cloud Drive Suite 500 Eden Prairie MN                                   Settlement Agreement and Mutual
2908                                                                                     Vital Pharmaceuticals, Inc.                                           $0.00
       Specialties Global                55344                                                                          Release, dated May 28, 2013
       Milk Specialties Company dba Milk Flying Cloud Drive Suite 500 Eden Prairie MN                                   Settlement Agreement, dated
2909                                                                                     Vital Pharmaceuticals, Inc.                                           $0.00
       Specialties Global                55344                                                                          December 31, 2013
       Milk Specialties Company dba Milk Flying Cloud Drive Suite 500 Eden Prairie MN                                   Settlement Agreement, dated June
2910                                                                                     Vital Pharmaceuticals, Inc.                                           $0.00
       Specialties Global                55344                                                                          28, 2013
                                                                                                                        Mutal Confidentiality and Non-
       Milk Specialties Company dba Milk Flying Cloud Drive Suite 500 Eden Prairie MN    Vital Pharmaceuticals, Inc.
2911                                                                                                                    Disclosure Agreement, dated June       $0.00
       Specialties Global                55344                                           dba VPX Sports
                                                                                                                        03, 2016
                                                                                                                        Sales Contract Agreement, dated
2912 Mill Haven Foods, LLC                211 Leer St PO Box 132 New Lisbon WI 53950     Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                        February 15, 2017
2913 Mill Haven Foods, LLC                211 Leer St PO Box 132 New Lisbon WI 53950     Vital Pharmaceuticals, Inc.    Settlement Agreement                   $0.00
                                                                                                                     Settlement Agreement and Release,
2914 Millennium Media, LLC                3 Chaser Court Holmdel NJ 07733                Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                                     dated June 16, 2014
                                          Peter Boutros, President 19 Veterans Way                                   Sales Representative Agreement,
2915 Mina, Inc.                                                                          Vital Pharmaceuticals, Inc.                                     $0.00
                                          Edgewater NJ 07020                                                         dated September 28, 2007
                                                                                                                     Services Agreement, dated August
2916 MindFire Internet Solutions, Inc     30 Corporate Park Suite 301 Irvine CA 92606    Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                                     02, 2011
                                                                                                                     CONFIDENTIALITY AND NON-
                                                                                         Vital Pharmaceuticals, Inc,
2917 Mini Investments LLC                 6332 Galleon Dr Mechanicsburg PA                                           DISCLOSURE AGREEMENT, dated         $0.00
                                                                                         d/b/a Bang Energy ("Bang")
                                                                                                                     January 10, 2022
                                          Attn: Doug Yingling, President 550 South                                   Distributor Agreement, dated May
2918 Mission Beverage Company                                                            Vital Pharmaceuticals, Inc.                                     $0.00
                                          Mission Road Los Angeles CA 90033                                          07, 2018
                                                                                                                     Distributor Agreement, dated August
2919 Missouri Eagle LLC.                  242 Hwy MM Lebanon MO 65536                    Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                                     17, 2018
                                          c/o Chesapeake Beverage Company 10000                                         Exclusive Distribution Agreement
2920 Mitchell Beverage Of Maryland, LLC                                                  Vital Pharmaceuticals, Inc.                                          $0.00
                                          Franklin Square Drive Nottingham MD 21236                                     (Hard Seltzer), dated August 10, 2021
                                                                                                                        Distributor Agreement, dated
2921 Mitchell Distributing                100 James E. Chaney Drive Meridian MS 39307 Vital Pharmaceuticals, Inc.                                             $0.00
                                                                                                                        November 28, 2018
                                                                                                                        Exclusive Distribution Agreement,
2922 Mitchell Distributing Company, Inc. 100 49th Ave Meridian MS 39307                  Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                        dated August 03, 2021
                                                                                                                        Confidential Settlement Agremeent
                                                                                         Vital Pharmaceuticals, Inc
2923 Mitlo, Inc.                          19 Paddock Street Avenell NJ 07001                                            and Release, dated February 16,       $0.00
                                                                                         dba VPX/Redline
                                                                                                                        2017
                                          Attn: Alexandrea Schlosser Nibelungenweg       Vital Pharmaceuticals, Inc.,   Confidentiality and Non-Disclosure
2924 MKA Quadrat GMBN                                                                                                                                         $0.00
                                          11-13, D-50996 Koln Germany                    DBA Bang Energy                Agreement , dated March 03, 2019
2925 MLF Group, LLC                       86776 McVay Eugene OR 97405                    Vital Pharmaceuticals, Inc.    Distributor Agreement                 $0.00
                                          Andy Moore / Eric Forrest 86776 McVay                                         Distributor Agreement (Exclusive -
2926 MLF Group, LLC.                                                                     Vital Pharmaceuticals, Inc.                                          $0.00
                                          Highway, Eugene OR 97405                                                      OR)
                                                                                                                        Release Agreement, dated June 12,
2927 Mockler Beverage Company             11811 Reiger Rd Baton Rouge LA 70809-4925      Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                        2020
                                          Patrick Mockler, President 11811 Reiger Road                                  Distributor Agreement, dated July 08,
2928 Mockler Beverage Company, ALP                                                       Vital Pharmaceuticals, Inc.                                          $0.00
                                          Baton Rouge LA 70809                                                          2011
                                 Case 22-17842-PDR                     Doc 1658            Filed 07/14/23 Employment
                                                                                                            Page 233       of 279
                                                                                                                     Agreement, dated June
2929 Moises Campos Batista                1700 Mindanao Dr 907 Jacksonville FL 32246    Vital Pharmaceuticals, Inc.                               $0.00
                                                                                                               22, 2020
       Molson Coors Brewing Company UK                                                                         CONFIDENTIALITY AND NON-
                                       137 High Street Burton Upon Trent           Vital Pharmaceuticals, Inc,
2930   Limited D/B/A Molson Coors                                                                              DISCLOSURE AGREEMENT, dated        $0.00
                                       Staffordshire DE14 1JZ, England             d/b/a Bang Energy ("Bang")
       Beverage Company                                                                                        November 11, 2020
                                                                                                               Photographer Agreement, dated July
2931                                                                               Vital Pharmaceuticals, Inc.
                                                                                                               18, 2017
                                                                                                               Exclusive Promotional Modeling
2932                                                                               Vital Pharmaceuticals, Inc. Agreement, dated September 01,
                                                                                                               2016
                                                                                                               CONFIDENTIALITY AND NON-
                                                                                   Vital Pharmaceuticals, Inc,
2933   Monarq B.V.                     Stargardlaan 1 1404 Bussum The Netherlands                              DISCLOSURE AGREEMENT, dated        $0.00
                                                                                   d/b/a Bang Energy ("Bang")
                                                                                                               September 14, 2021
                                                                                                               Employment Agreement, dated
2934   Monica Lara Marie               8438 North 54th Dr Glendale AZ 85302        Vital Pharmaceuticals, Inc.                                    $0.00
                                                                                                               December 23, 2019
                                                                                                               Employment Agreement, dated
2935   Monica Schlosser                11570 Gorham Dr Cooper City FL 33026        Vital Pharmaceuticals, Inc.                                    $0.00
                                                                                                               August 14, 2017
                                                                                                               Trainer Services Agreement, dated
2936                                                                               Quash Seltzer, LLC
                                                                                                               September 29, 2021
                                                                                                               Employment Agreement, dated
2937   Morgan Spencer Gage             7810 N 14th Place #1028 Phoenix AZ 85020    Vital Pharmaceuticals, Inc.                                    $0.00
                                                                                                               October 28, 2021
                                                                                                               Transfer Services Agreement, dated
2938   Morgan Valorie Smith            910 W Timberlane Drive Mount Holly NC 28120 Quash Seltzer, LLC                                             $0.00
                                                                                                               September 19, 2021
                                       Ron Morris, President 454 Payran Street
2939   Morris Distributing                                                         Vital Pharmaceuticals, Inc. DISTRIBUTOR AGREEMENT              $0.00
                                       Petaluma CA 94952
                                       Ron Morris 3800 Lakeville Hwy, Petaluma CA                              Distributor Agreement (Exclusive -
2940   Morris Distributing Co., Inc.                                               Vital Pharmaceuticals, Inc.                                    $0.00
                                       949952                                                                  CA)
2941   Morris Polich & Purdy LLP       1055 W 7th Ste Ste 2400 Los Angeles, CA     Vital Pharmaceuticals, Inc. Attorney-Client Fee Agreement      $0.00
                                                                                                               Employee Loan Agreement, dated
2942   Morseen Lindsay                 5891 NW 16th Court Sunrise FL 33313         Vital Pharmaceuticals, Inc.                                    $0.00
                                                                                                               March 15, 2017
                                                                                                                      Letter re: Amendment to Distributor
2943 Mountain Eagle Inc.                  559 Industrial Park Rd Beaver WV 25813        Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                      Agreement, dated August 13, 2019
                                                                                                                      Distributor Agreement, dated
2944 Mountain State Beverage              300 Grienbrier Road Summersville WV 26651     Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                      December 17, 2018
                                          300 Greenbrier Rd Summersville WV 26651-                                    Exclusive Distribution Agreement,
2945 Mountain State Beverage, Inc.                                                      Vital Pharmaceuticals, Inc.                                       $0.00
                                          1826                                                                        dated May 07, 2021
                                          300 Greenbrier Rd Summersville WV 26651-                                    Amendment to Exclusive Distribution
2946 Mountain State Beverage, Inc.                                                      Vital Pharmaceuticals, Inc.                                       $0.00
                                          1826                                                                        Agreement, dated October 26, 2021
       Mountain West Distributing, Inc.
2947                                      2889 South 900 West Salt Lake City UT 84119   Vital Pharmaceuticals, Inc.   DISTRIBUTOR AGREEMENT, dated No $0.00
       d/b/a Mountain West - AZ
                                          300 S. Main Street
       Mountains to Main Street Half                                                                                  2021 Prisma Half Marathon
2948                                      Greenville, SC US 29601                       Vital Pharmaceuticals, Inc.                                       $0.00
       Marathon                                                                                                       Sponsorship, dated April 09, 2021
                                          (864) 280-9828
                                          162 Savage Drive Cambridge Ontario N1T1SF                                   Letter re: Settlement Agreement -
2949 Mr. Ritu                                                                           Vital Pharmaceuticals, Inc.                                       $0.00
                                          Canada                                                                      Final Payment, dated March 14, 2017
                                          2300 East Newlands Drive / Fernley NV 89408-
2950 MSC Industrial Supply Co.                                                         Vital Pharmaceuticals, Inc.    Product/Service Agreement           $0.00
                                          0000 / US
                                                                                                                     Employment Agreement, dated June
2951 Muinda Royal                         7820 NW 45th St Lauderhill FL 33351           Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                                     25, 2018
                                                                                                                     Distributor Agreement, dated
2952 Mullally Distributing Comnpany       1401 Martin Street Cuba MO 65435               Vital Pharmaceuticals, Inc.                                    $0.00
                                                                                                                     January 07, 2019
                                          Merchandise                                                                BEVERAGE AGREEMENT , dated July
2953 Murphy Oil USA, Inc.                                                                Vital Pharmaceuticals, Inc.                                    $0.00
                                          Legal 200 Peach Street El Dorado AR 71730                                  22, 2019
                                                                                                                     CONFIDENTIALITY AND NON-
                                                                                         Vital Pharmaceuticals, Inc,
2954 Murray Market Development Inc.       6415 64th Street Delta BC V4K4E2 Canada                                    DISCLOSURE AGREEMENT, dated        $0.00
                                                                                         d/b/a Bang Energy ("Bang")
                                                                                                                     December 07, 2018
2955 Mussetter Distributing               12979 Earhart Ave Auburn CA 95602              Vital Pharmaceuticals, Inc. Distributor Agreement (Exclusive)  $0.00
                                          Attn: Jeff Paolina, President 5120 Guernsey St                             Exclusive Distribution Agreement,
2956 Muxie Distributing Co.                                                              Vital Pharmaceuticals, Inc.                                    $0.00
                                          Bellaire OH 43906                                                          dated January 28, 2021
                                                                                                                     Confidentiality and Non-Disclosure
                                          Attn: Jeff Paolina 5120 Guernsey St. Bellaire Vital Pharmaceuticals, Inc.,
2957 Muxie Distributing Co.                                                                                          Agreement, dated December 14,      $0.00
                                          OH 43906                                       DBA VPX/Redline
                                                                                                                     2018
                                                                                                                     Brand Ambassador Agreement, dated
2958                                                                                     Quash Seltzer, LLC
                                                                                                                     September 28, 2021
                                                                                                                     Employment Agreement, dated
2959 Myrlande Boni Ulysse                 3820 Hunt Rd Unit 204 Tampa FL 33614           Vital Pharmaceuticals, Inc.                                    $0.00
                                                                                                                     December 02, 2019
                                          8107 North 31St Dr Apt 8107 Phoenix AZ                                     Employment Agreement, dated
2960 Nairobi Erby                                                                        Vital Pharmaceuticals, Inc.                                    $0.00
                                          85051                                                                      September 30, 2019
                                          158 South Khailkur National University Gazipur Vital Pharmaceuticals, Inc, CONFIDENTIALITY AND NON-
2961 Najah Textile & Garments Ltd.                                                                                                                      $0.00
                                          Bangladesh,                                    d/b/a Bang Energy ("Bang") DISCLOSURE AGREEMENT
                                                                                                                     Employment Agreement, dated April
2962 Nancy Torres                         6701 Johnson St 209 Hollywood FL 33024         Vital Pharmaceuticals, Inc.                                    $0.00
                                                                                                                     06, 2020
                                  Case Attn:
                                       22-17842-PDR                  Doc
                                             Eugene Scholl Trappistenweg    1658
                                                                         8 Venlo                Filed 07/14/23 Letter
                                                                                                                  Page     234forof
                                                                                                                      Agreement     279
                                                                                                                                 Return of Bang,
2963 Naskorsports Bv                                                                        Vital Pharmaceuticals, Inc.                                       $0.00
                                             5928 LM The Netherlands                                                    dated April 14, 2016
                                                                                                                        Exclusive Promotional Modeling
2964                                                                                        Vital Pharmaceuticals, Inc. Agreement, dated September 22,
                                                                                                                        2016
                                                                                                                        Exclusive VPX Athlete Agreement,
2965                                                                                        Vital Pharmaceuticals, Inc.
                                                                                                                        dated December 04, 2015
                                                                                                                        Exclusive VPX Athlete Letter
2966                                                                                        Vital Pharmaceuticals, Inc. Agreement, dated December 04,
                                                                                                                        2015
                                             65 Southwest 12th Ave Apt 508 Deerfield                                    Employment Agreement, dated
2967 Natalia Carreno                                                                        Vital Pharmaceuticals, Inc.                                       $0.00
                                             Beach FL 33442                                                             March 04, 2014
                                                                                                                        Select Agreement, dated January 01,
2968                                                                                        Quash Seltzer, LLC
                                                                                                                        2022
                                                                                                                        Employment Agreement, dated
2969 Natalie Cabrera Ann                     5482 West 20th Ave Hialeah FL 33016            Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                        September 12, 2022
                                                                                                                        Brand Ambassador (Local Team)
2970                                                                                        Vital Pharmaceuticals, Inc.
                                                                                                                        Agreement, dated January 09, 2018
                                                                                                                        Employment Agreement, dated
2971 Natalie Estevez L                       5440 NW 182nd St Miami Gardens FL 33055        Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                        March 19, 2018
                                                                                                                        Elite Team Agreement, dated
2972                                                                                        Vital Pharmaceuticals, Inc.
                                                                                                                        November 14, 2017
                                                                                                                        Trainer Services Agreement, dated
2973                                                                                        Quash Seltzer, LLC
                                                                                                                        October 18, 2021
                                                                                                                        Model Release and Affidavit, dated
2974                                                                                        Vital Pharmaceuticals, Inc.
                                                                                                                        July 08, 2011
                                                                                                                        Employment Agreement, dated
2975 Nathaniel Russell S                     485 RidgestoNE Dr Franklin TN 37064            Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                        February 01, 2021
                                                                                                                        CONFIDENTIALITY AND NON-
                                                                                            Vital Pharmaceuticals, Inc,
2976 National Dry Company LTd.               30 Arrow Road Toronto Ontario M9M 2L7                                      DISCLOSURE AGREEMENT, dated           $0.00
                                                                                            d/b/a Bang Energy ("Bang")
                                                                                                                        September 09, 2019
                                                                                                                        Select Agreement, dated September
2977                                                                                        Quash Seltzer, LLC
                                                                                                                        01, 2021
       Natural Alternatives International,
2978                                         1535 Faraday Ave Carlsbad CA 92008             Vital Pharmaceuticals, Inc.   Agreement, dated August 04, 2011    $0.00
       Inc.
                                                                                                                     CONFIDENTIALITY AND NON-
       Nature's Way Purewater Systems                                                    Vital Pharmaceuticals, Inc,
2979                                         164 Commerce Road Pittson PA 18640                                      DISCLOSURE AGREEMENT, dated              $0.00
       Inc. d/b/a US Hydrations                                                          d/b/a Bang Energy ("Bang")
                                                                                                                     November 20, 2018
                                             Attn: Greg Nauser 6000 Paris Rd Columbia MO                             Exclusive Distribution Agreement,
2980 Nauser Beverage Company                                                             Vital Pharmaceuticals, Inc.                                          $0.00
                                             65202                                                                   dated April 30, 2021
                                             Attn: Greg Nauser 6000 Paris Rd Columbia MO                                  Amendment to Exclusive Distribution
2981 Nauser Beverage Company                                                             Vital Pharmaceuticals, Inc.                                          $0.00
                                             65202                                                                        Agreement, dated May 05, 2021
                                                                                                                          Group and Social Event Terms &
2982 Nautilus Hotel                          1825 Collins Ave Miami Beach FL 33139          Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                          Conditions, dated July 11, 2019
       Navigators Specialty Insurance
2983                                         ONE HARTFORD PLAZA. HARTFORD, CT 06155 Vital Pharmaceuticals, Inc.           Excess Liquor Insurance Policy      $0.00
       Company
                                                                                                                          Employment Agreement, dated April
2984 Nayla Norton Nicole                     2532 Pointe Marie Dr Henderson NV 89044        Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                          15, 2019
                                             570 Northwest 102nd Ave Pembroke Pines FL                                    Employment Agreement, dated
2985 Nefertia Jones                                                                         Vital Pharmaceuticals, Inc.                                       $0.00
                                             33026                                                                        February 11, 2019
                                                                                                                          Employment Agreement, dated
2986 Neftaly Guevara Efrain                  9968 Arleta Ave Los Angeles CA 91331           Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                          September 20, 2021
                                             1115 Davenport Bridge Ln Unit 308 Brandon FL                                 Employment Agreement, dated
2987 Neiko Paolino J                                                                      Vital Pharmaceuticals, Inc.                                         $0.00
                                             33511                                                                        August 02, 2018
                                             5169 NW Wisk Fern Cir Port Saint Lucie FL                                    Employment Agreement, dated
2988 Nelson Jimenez                                                                       Vital Pharmaceuticals, Inc.                                         $0.00
                                             34986                                                                        March 02, 2018
                                                                                                                          Employment Agreement, dated
2989 Nelson Morinvil                         820 SW 10th St 2 Pompano Beach FL 33060        Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                          January 30, 2020
                                                                                                                          Exclusive Distribution Agreement,
2990 Nemont Beverage Corporation             174 Mt Hwy 24 North Glasgow MT 59230           Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                          dated November 24, 2021
                                                                                                                          Non-Exclusive Distribution
                                             Tim Jennings, President 174 Mt Hwy 24 N
2991 Nemont Beverage Corporation                                                            Vital Pharmaceuticals, Inc.   Agreement, dated September 30,      $0.00
                                             Glasgow MT 59230
                                                                                                                          2021
                                                                                                                          Employment Agreement, dated July
2992 Nerilien Joseph Leslie                  4914 6th St West Lehigh Acres FL 33973         Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                          26, 2021
                                             Attn Henry Dominguez, Co-Owner and CEO                                       Distributor Agreement, dated March
2993 Nevada Beverage Company                                                            Vital Pharmaceuticals, Inc.                                          $0.00
                                             3940 W Tropicana Avenue Las Vegas NV 89103                                   01, 2015
                                             Don Franz 1400 East 28th Street Little Rock AR                               DISTRIBUTOR AGREEMENT, dated
2994 New Age Distributing, Inc.                                                             Vital Pharmaceuticals, Inc.                                      $0.00
                                             72206                                                                        April 01, 2008
                                             Attn: Christopher A. Brown, President & CEO                                  Exclusive Distribution Agreement,
2995 New Hampshire Distributors, LLC                                                        Vital Pharmaceuticals, Inc.                                      $0.00
                                             65 Regional Drive Concord NH 03301                                           dated June 02, 2021
                                             Attn: Jim Brant, General Manager 325 E Nugget                                Distributor Agreement, dated March
2996 New West Distributing, Inc.                                                            Vital Pharmaceuticals, Inc.                                      $0.00
                                             Avenue Sparks NV 89432                                                       08, 2018
                                  Case 4100
                                       22-17842-PDR               DocBeach
                                            MacArthur Blvd #150 Newport 1658
                                                                           CA               Filed 07/14/23 Temporary
                                                                                                             PageStaffing
                                                                                                                     235Service
                                                                                                                          of 279
2997 Nexem Staffing, Inc.                                                                Vital Pharmaceuticals, Inc.                                        $0.00
                                           92660                                                                       Agreement, dated October 03, 2018
                                                                                                                       Elite Team Agreement, dated
2998                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                       December 18, 2018
                                           Attn: Mark Levin 63 Gene Upshaw Place 1133                                  NFL Collective Bargaining Agreement,
2999 NFL Players Association                                                             Vital Pharmaceuticals, Inc.                                        $0.00
                                           20th Street NW Washington DC 20036                                          dated March 15, 2020
       NFP Property & Casualty Services,   500 West Madison Street Suite 2710 Chicago,   VItal Pharmaceuticals, Inc.   Mutual Nondisclosure Agreement,
3000                                                                                                                                                        $0.00
       Inc. Sports                         IL 60661                                      dba VPX                       dated January 07, 2016
                                                                                                                       Model Release and Affidavit, dated
3001                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                       March 11, 2010
                                                                                                                       Trainer Services Agreement, dated
3002                                                                                     Quash Seltzer, LLC
                                                                                                                       November 04, 2021
                                                                                                                       Employment Agreement, dated
3003 Nicholas Bridgwood Miles              111 Hamilton St Belchertown MA 1007           Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                       January 24, 2022
                                                                                                                       Employment Agreement, dated June
3004 Nicholas Chavez Andrew                509 Lynne Dr Grand Prairie TX 75052           Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                       15, 2021
                                                                                                                       Employment Agreement, dated
3005 Nicholas Dolan Ryan                   4231 Craighill Ln Charlotte NC 28278          Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                       December 16, 2021
                                                                                                                       Employment Agreement, dated
3006 Nicholas Hopkins B                    40 Greybarn Ln Apt 203 Amityville NY 11701    Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                       March 10, 2008
                                           1520 Northwest 125th Ave Apt 10201 Sunrise                                  Employment Agreement, dated June
3007 Nicholas Knight Andre Juan                                                          Vital Pharmaceuticals, Inc.                                        $0.00
                                           FL 33323                                                                    15, 2020
                                                                                                                       Employment Agreement, dated June
3008 Nicholas Meinhardt L                  25725 Lakeland Dr Loxley AL 36551             Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                       09, 2022
                                                                                                                       Employment Agreement, dated
3009 Nicholas Molde                        114 W Bluejay Way Ontario CA 91762            Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                       February 01, 2019
                                           1814 San Antonio Way #105 Rockledge FL                                      Employment Agreement, dated
3010 Nicholas Santoro Ronald                                                             Vital Pharmaceuticals, Inc.                                        $0.00
                                           32955                                                                       February 17, 2020
                                                                                                                       Elite Team Agreement, dated January
3011                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                       15, 2018
                                                                                                                       Exclusive Promotional Modeling
3012                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                       Agreement, dated March 10, 2016
3013                                                                                     Quash Seltzer, LLC            Elite Agreement, dated June 22, 2021
                                                                                                                       Exclusive Promotional Modeling
3014                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                       Contract, dated October 07, 2011
                                                                                                                       Elite Team Agreement, dated
3015                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                       October 29, 2018
                                                                                                                       Brand Ambassador (National Team)
3016                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                       Agreement, dated March 28, 2017
                                                                                                                       Brand Ambassador (Local Team)
3017                                                                                     Vital Pharmaceuticals, Inc.   Agreement, dated December 14,
                                                                                                                       2018
                                                                                                                       Elite Team Agreement, dated March
3018                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                       14, 2019
                                           6565 South SyracuSE Way Unit 2211                                           Employment Agreement, dated
3019 Nicole Wynne Elizabeth                                                              Vital Pharmaceuticals, Inc.                                       $0.00
                                           Centennial CO 80111                                                         September 13, 2021
                                                                                                                       Employment Agreement, dated
3020 Nidia Oliva Luisa                     10040 NW 9th St Cir Apt 204 Miami FL 33172    Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                       January 31, 2022
                                                                                                                       Elite Team Agreement, dated
3021                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                       November 11, 2017
                                                                                                                       Exclusive Promotional Modeling
3022                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                       Agreement, dated March 10, 2016
                                           1900 Southwest 8th St Apt E908 Miami FL                                     Employment Agreement, dated
3023 Nila Azuero Patricia                                                                Vital Pharmaceuticals, Inc.                                       $0.00
                                           33135                                                                       January 06, 2020
                                                                                                                       Employment Agreement, dated June
3024 Nilmarie Segarra                      18550 NW 22nd Ct Pembroke Pines FL 33029      Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                       06, 2022
                                                                                                                       Elite Team Agreement, dated March
3025                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                       29, 2018
                                                                                                                       Employment Agreement, dated
3026 Ninrod Esteban Obed                   6039 Miles Ave Huntington Park CA 90255       Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                       November 16, 2020
                                                                                                                       Service Agreement, dated August 18,
3027 No Bugs Left Behind                   7331 NW 37 St Unit 4 Hollywood FL 33024       Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                       2017
                                                                                                                       Brand Ambassador (National Team)
3028                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                       Agreement, dated January 25, 2019
                                                                                                                       Employment Agreement, dated June
3029 Noelia Lopez Rosales                  1625 East Silverbirch Ave Buckeye AZ 85326    Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                       13, 2022
                                                                                                                       Exclusive Promotional Modeling
3030                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                       Contract, dated September 12, 2013
                                                                                                                       Employment Agreement, dated April
3031 Noraida Herrera                       11201 SW 55St Box 376 Miramar FL 33025        Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                                       30, 2019
                                                                                                                       Confidentiality Agreement, dated
3032 Nor-Cal Beverage Co., Inc.            2286 Stone Blvd. West Sacramento CA 95691     Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                                       May 06, 2016
                                   Case 22-17842-PDR                   Doc 1658           Filed 07/14/23 Contract
                                                                                                           Page      236 of and
                                                                                                                  Manufacturing 279
3033 Nor-Cal Beverage Company, Inc.     2286 Stone Blvd West Sacramento CA 95691                                Packaging Agreement, dated January $0.00
                                                                                       Vital Pharmaceuticals, Inc.
                                                                                                                01, 2018
3034 North Texas Fence & Deck           114 S. Carriage House Way Wylie TX 75098    Vital Pharmaceuticals, Inc. Proposal, dated October 01, 2018    $0.00
                                                                                                                FIRST AMENDMENT TO DISTRIBUTOR
       Northeast Beverage Corp, of
3035                                    1202 Jefferson Blvd Warwick RI 02886        Vital Pharmaceuticals, Inc. AGREEMENT, dated February 01,       $0.00
       Connecticut
                                                                                                                2020
                                                                                                                Distributor Agreement, dated May
3036 Northeast Beverage Corp.           32 Robinson Blvd. Orange CT 06477           Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                                30, 2019
       Northeast Beverage Corp. of      Attn: Jacquelyn Mancini 119 Hopkins Hill Rd                             Exclusive Distribution Agreement,
3037                                                                                Vital Pharmaceuticals, Inc.                                     $0.00
       Connecticut                      West Greenwich RI 02817                                                 dated March 31, 2021
                                        Attn: David Black 840 Ronald Wood Rd Winder                             Exclusive Distribution Agreement,
3038 Northeast Sales Dist.                                                          Vital Pharmaceuticals, Inc.                                     $0.00
                                        GA 30680                                                                dated January 11, 2021
                                        David Black 840 Ronald Wood Road Winder GA                              Agreement and Indemnity, dated
3039 Northeast Sales Distributing                                                   Vital Pharmaceuticals, Inc.                                     $0.00
                                        30680                                                                   January 11, 2021
                                                                                                                Distributor Agreement, dated
3040 Northern Eagle Inc.                333 Jersey Mt. Road Romney WV 26157         Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                                December 17, 2018
                                        1320 GREENWOOD ST WEST, THIEF RIVER                                     Exclusive Distribution Agreement,
3041 Northwest Beverage Inc.                                                        Vital Pharmaceuticals, Inc.                                     $0.00
                                        FALLS, MN 56701                                                         dated October 25, 2022
                                        Attn: Jeff Stevens 300 US Highway 1 South                               Contract Manufacturing Agreement,
3042 NoSo Holdings, LLC                                                             Vital Pharmaceuticals, Inc.                                     $0.00
                                        Cheraw SC 29520                                                         dated January 09, 2019
                                        Attn: Bob Green 10 Henderson Drive West                                 Settlement and Release Agreement,
3043 Novel Ingredient Services, LLC                                                 Vital Pharmaceuticals, Inc.                                     $0.00
                                        Caldwell NJ 07006                                                       dated May 07, 2012
                                                                                                                Shots Distribution Agreement, dated
3044 Novelart Topicz                    2121 Section Road Cincinnati OH 45237       Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                                April 13, 2023
                                                                                                                CONFIDENTIALITY AND NON-
                                                                                    Vital Pharmaceuticals, Inc,
3045 Novembal USA Inc.                  8606 W Ludlow Dr Peoria AZ 85381                                        DISCLOSURE AGREEMENT, dated         $0.00
                                                                                    d/b/a Bang Energy ("Bang")
                                                                                                                January 27, 2022
                                                                                                                Employment Agreement, dated
3046 Nubia Pineros Patricia             13110 Southwest 44th St Miramar FL 33027    Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                                September 16, 2019
                                        Adolfo Graubard 1061 Twin Branch Lane                                   Distributor Agreement, dated
3047 Nuforma Distributors, LLC                                                      Vital Pharmaceuticals, Inc.                                     $0.00
                                        Weston FL 33326                                                         December 09, 2014
                                        162 Savage Drive Cambridge Ontario N1T1SF                               Settlement Agreement, dated June
3048 Nutra Blend Foods, Inc.                                                        Vital Pharmaceuticals, Inc.                                     $0.00
                                        Canada                                                                  30, 2015
     Nutrablend Foods, LLC (NY LLC) &
                                        c/o Tripp Scott, P.A, 110 S.E. Sixth Street,                                  Notice of Service of Proposal for
3049 Nutrablend Foods, Inc. (Canadian                                                  Vital Pharmaceuticals Inc.                                           $0.00
                                        Fifteenth Floor, Fort Lauderdale, FL, 33301                                   Settlement, dated June 20, 2022
     corporation)
     Nutrablend Foods, LLC (NY LLC) &
                                        c/o Tripp Scott, P.A, 110 S.E. Sixth Street,                                  Notice of Acceptance of Proposal for
3050 Nutrablend Foods, Inc. (Canadian                                                  Vital Pharmaceuticals, Inc.                                         $0.00
                                        Fifteenth Floor, Fort Lauderdale, FL, 33301                                   Settlement, dated June 24, 2022
     corporation)
     Nutrablend Foods, LLC (NY LLC) &
                                        c/o Tripp Scott, P.A, 110 S.E. Sixth Street,                                  Joint Stipulation of Dismissal with
3051 Nutrablend Foods, Inc. (Canadian                                                  Vital Pharmaceuticals, Inc.                                          $0.00
                                        Fifteenth Floor, Fort Lauderdale, FL, 33301                                   Prejudice, dated July 14, 2022
     corporation)
                                                                                                                      Confidentiality & Non-Circumvention
                                                                                       Vital Pharmaceuticals, Inc.,
3052 NutraSource, Inc.                  6309 Morning Dew Court Clarksville MD 21029                                   Agreement, dated December 03,       $0.00
                                                                                       d/b/a VPX
                                                                                                                      2015
                                        Siege Social 18C Rue du Sabot Ploufragan       Vital Pharmaceuticals, Inc.    Non- Disclosure & Confidentiality
3053 Nutraveris Consulting                                                                                                                                $0.00
                                        22440 France                                   dba VPX                        Agreement, dated March 31, 2016
                                                                                                                      Bonus Buy Agreement, dated
3054 Nutrition Express Corporation      2575 West 237th St Torrance CA 90505-5216      Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                      December 15, 2014
                                                                                                                      Addendum to Manufacturing,
                                        Attn: Adolfo Graubard 14700 NW 60th            Vital Pharmaceuticals, Inc.
3055 Nutrition Formulators, Inc.                                                                                      Confidentiality, and Non-Compete    $0.00
                                        Avenue Miami Lakes FL 33014                    d/b/a VPX Sports
                                                                                                                      Agreement
                                        James Airaghi 423 NE 2nd Ave Hallandale                                       Sales Representative Agreement,
3056 Nutritional Alliance                                                              Vital Pharmaceuticals, Inc.                                        $0.00
                                        Beach FL 33009                                                                dated August 08, 2019
                                                                                       Vital Pharmaceuticals, Inc.,   Non-Disclosure/Confidentiality
3057 Nutritional Laboratories, Inc.     2151 Logan Street Clearwater FL 33765                                                                             $0.00
                                                                                       d/b/a/ VPX/REDLINE             Agreement, dated July 19, 2017
                                                                                                                      Cooler Agreement, dated January 20,
3058 Nutritional Power Center (NPC)     11402 NW 41st St # 121 Doral FL 33178          Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                      2016
                                                                                                                      Cooler Agreement, dated January 26,
3059 Nutritional Power Center Pines     18451 Pines Blvd Pembroke Pines FL 33029       Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                      2016
                                        6701 Democracy Boulevard Suite 300 Bethesda                                   Non Disclosure and Confidentiality
3060 Nutroganics, Inc.                                                              Vital Pharmaceuticals, Inc.                                           $0.00
                                        MD 20817                                                                      Agreement
                                        R Joana Antoniolli Scarassatti Numero 289
3061 Nutry Pro                                                                      Vital Pharmaceuticals, Inc.       Distributor Agreement                 $0.00
                                        Paulinia SP Brazil
                                                                                                                      NON-DISCLOSURE &
                                                                                       Vital Pharmaceuticals, Inc.,
3062 Nuveen Global Investments, LLC     333 W. Wacker Drive Chicago IL 60606                                          CONFIDENTIALITY AGREEMENT,         $0.00
                                                                                       DBA Bang Energy
                                                                                                                      dated October 21, 2019
                                                                                       Vital Pharmaceuticals, Inc.,   Confidentiality and Non-Disclosure
3063 Nuveen Global Investments, LLC     333 W. Wacker Drive Chicago IL 60606                                                                             $0.00
                                                                                       d/b/a Bang Energy              Agreement, dated October 14, 2019
                                                                                                                      Subordination, Non-Disturbance and
                                                                                       Vital Pharmaceuticals, Inc.
3064 NV, LLC                            417 Batesville Rd Simpsonville SC 29681                                       Attornment Agreement and Estoppel $0.00
                                                                                       dba VPX Sports
                                                                                                                      Certificate, dated March 14, 2019
                                        Attn: P.I. Sullivan 6700 Wales Road Northwood                                 Exclusive Distribution Agreement,
3065 NWO Beverage, Inc.                                                               Vital Pharmaceuticals, Inc.                                           $0.00
                                        OH 43619                                                                      dated January 25, 2021
                                 Case 22-17842-PDR                      Doc 1658             Filed 07/14/23 Employment
                                                                                                              Page 237       of 279
                                                                                                                       Agreement, dated
3066 Nyah Aguayo Alyssa                   432 Capitol St Salinas CA 93901                 Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                         August 15, 2022
                                                                                                                         Elite Agreement, dated January 01,
3067                                                                                      Quash Seltzer, LLC
                                                                                                                         2022
                                                                                                                         Overview of Agreement, dated
3068 Object 9                             1145 Zonolite Road Suite 2 Atlanta GA 30306     Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                         March 13, 2012
                                          1145 Zonolite Road, NE Suite 2 Atlanta GA                                      Business Summary (Zero Impact Diet
3069 Object 9 Mobile (09M)                                                                Vital Pharmaceuticals, Inc.                                       $0.00
                                          30306                                                                          Program), dated December 07, 2011
                                          Bellevuelaan 187 Haarlem 2012BX The             JHO Intellectual Property      Copyright Assignment Agreement,
3070 Octavio Maginnis Castro                                                                                                                                    $0.00
                                          Netherlands                                     Holdings, LLC                  dated November 30, 2017
                                                                                                                         Elite Team Agreement, dated
3071                                                                                      Vital Pharmaceuticals, Inc.
                                                                                                                         September 19, 2017
                                                                                                                         Videographer Agreement, dated
3072                                                                                      Vital Pharmaceuticals, Inc.
                                                                                                                         September 27, 2017
                                          1726 Southwest Buttercup Avenu Port St Lucie                                   Employment Agreement, dated
3073 Octavious Moring Dexsthon                                                         Vital Pharmaceuticals, Inc.                                              $0.00
                                          FL 34953                                                                       September 14, 2020
                                                                                                                         Employment Agreement, dated
3074 Odell Coles Thomas                   5608 Chiefly Ct Charlotte NC 28212              Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                         November 18, 2019
                                                                                          Vital Pharmaceuticals, Inc,    Confidentiality And Non-Disclosure
3075 Oettinger Brauerei GmbH              Brauhausstr. 8 Dettingen 86732 Germany                                                                                $0.00
                                                                                          d/b/a Bang Energy              Agreement, dated July 10, 2019
                                          c/o Lawrence J. Roberts & Associates, P.A. 249                                 Settlement Stipulation, dated July 22,
3076 Old Dominion Freight Line, Inc.                                                     Vital Pharmaceuticals, Inc.                                            $0.00
                                          Catalonia Avenue Coral Gables FL 33134                                         2014
                                                                                                                         Affiliate Member Agreement, dated
3077                                                                                      Quash Seltzer, LLC
                                                                                                                         April 19, 2021
                                          14245 South 48th St PMB 124 Phoenix AZ                                         Employment Agreement, dated
3078 Olivia Juarez Andrea                                                                 Vital Pharmaceuticals, Inc.                                           $0.00
                                          85044                                                                          March 31, 2020
                                                                                                                         Exclusive Promotional Modeling
3079                                                                                      Vital Pharmaceuticals, Inc.
                                                                                                                         Agreement, dated March 27, 2017
                                          415 Galleria Professional Building 915 Middle                                  Attorney-Client Fee and Cost
3080 Oltman, Flynn & Kubler                                                              Vital Pharmaceuticals, Inc.                                           $0.00
                                          Riber Drive Suite 415 Fort Lauderdale FL 33304                                 Agreement, dated March 25, 2015
                                          1601 North Woodbine Road St. Joseph MO                                         Distributor Agreement, dated
3081 O'Malley Beverage                                                                    Vital Pharmaceuticals, Inc.                                        $0.00
                                          64506                                                                          December 17, 2018
                                                                                                                         Employment Agreement, dated
3082   Omar Favela A                        117 Heritage Dr Crowley TX 76036                Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                         August 22, 2022
                                                                                                                         Employment Agreement, dated July
3083   Omar Rodriguez                       10052 Barnett Loop Port Richey FL 34668         Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                         06, 2020
                                                                                                                         Elite Agreement, dated December 01,
3084                                                                                        Quash Seltzer, LLC
                                                                                                                         2021
                                                                                                                         CONFIDENTIALITY AND NON-
       One A LLC d/b/a One A                                                                Vital Pharmaceuticals, Inc,
3085                                        2100 Corporate Drive Boynton Beach FL 33426                                  DISCLOSURE AGREEMENT, dated         $0.00
       Architechure                                                                         d/b/a Bang Energy ("Bang")
                                                                                                                         December 04, 2019
                                            5400 W.T. Harris Boulevard, Suite L, Charlotte, JHO Intellectual Property    Settlement Agreement, dated May
3086   ONE Brands, LLC                                                                                                                                       $0.00
                                            North Carolina 28269                            Holdings, LLC                17, 2022
                                            Attn: Scott Bader 14093 Balboa Blvd. Sylmar CA                               Specialty License Agreement, dated
3087   Onhaskell I Limited Partnership                                                      Vital Pharmaceuticals, Inc.                                      $0.00
                                            91342                                                                        January 17, 2019
                                                                                            Vital Pharmaceuticals, Inc., Non-Disclosure Agreement, dated
3088   OnHaskell I, LP                      14093 Balboa Blvd Sylmar CA 91342                                                                                $0.00
                                                                                            d/b/a VPX Sports             January 17, 2019
                                            4103 Monticello Gardens Place Apt 301A                                       Employment Agreement, dated June
3089   Oona Lawrence Aleecia                                                                Vital Pharmaceuticals, Inc.                                      $0.00
                                            Tampa FL 33613                                                               01, 2020
                                            Attn: Matt Everette 2902 Lager Drive                                         Distributor Agreement, dated
3090   Orange & Blue Distributing Co., Inc.                                                 Vital Pharmaceuticals, Inc.                                      $0.00
                                            Champaign IL 61822                                                           February 09, 2011
                                            Two North 13115 Telfair Avenue Sylmar CA                                     Settlement Agreement, dated August
3091   ORANGE BANG                                                                          Vital Pharmaceuticals, Inc.                                      $0.00
                                            91342                                                                        01, 2010
                                                                                                                         CONFIDENTIALITY AND NON-
                                            1850 82 Street Apartment 3H Brooklyn NY         Vital Pharmaceuticals, Inc,
3092   Oril, Inc.                                                                                                        DISCLOSURE AGREEMENT, dated         $0.00
                                            11214                                           d/b/a Bang Energy ("Bang")
                                                                                                                         June 15, 2020
                                                                                                                         Employment Agreement, dated
3093   Orion McCants Ernest                 912 Coade StoNE Dr Seffner FL 33584             Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                         March 29, 2021
                                                                                                                         Transfer Services Agreement, dated
3094   Orlando Daniel Gonzalez              19652 E Country Club Dr Aventura FL 33180       Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                         October 16, 2021
                                                                                                                         Employment Agreement, dated
3095   Orlando Pulido                       500 NE 2nd St 122 Dania Beach FL 33004          Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                         October 26, 2020
                                                                                          Vital Pharmaceuticals, Inc.,   Confidentiality and Material Transfer
3096 Ortho-Nutra, LLC                     103 Meirs Road Cream Ridge NJ 08514                                                                                  $0.00
                                                                                          d/b/a VPX Sports               Agreement, dated June 14, 2017
                                                                                          Vital Pharmaceuticals, Inc.,   Confidentiality and Non-Disclosure
3097 Osborne Distribuidora SA             Calle Salvatierra 6 Madrid 28034 Spain                                                                               $0.00
                                                                                          d/b/a Bang Energy              Agreement, dated June 15, 2020
                                                                                                                         Employment Agreement, dated
3098 Oscar Bravo D                        7280 Stirling Rd Apt 205 Hollywood FL 33024     Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                         December 17, 2018
                                                                                                                         Employment Agreement, dated June
3099 Oscar Santiago                       25302 Beechwood Dr Land O' Lakes FL 34639       Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                         24, 2019
                                                                                                                         Employment Agreement, dated June
3100 Oscar Valdaliso A                    5053 NW 195th Ter Miami Gardens FL 33055       Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                         13, 2022
                                  Case 22-17842-PDR                      Doc 1658             Filed 07/14/23 Employment
                                                                                                               Page 238       of 279
                                                                                                                        Agreement, dated
3101 Oscar Visoso Jesus                   30827 W Flower St Buckeye AZ 85396              Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                         October 09, 2000
                                                                                                                         Exclusive Distribution Agreement,
3102 Osprey Beverages                     4255 South Hwy 89 Jackson WY 83001              Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                         dated January 11, 2021
                                                                                                                         Letter/Performance Agreement for
                                          Sunil Mahtori, EVP CFO 666 Third Avenue New
3103 Ovation Travel Group                                                             Vital Pharmaceuticals, Inc.        Travel Management Services, dated      $0.00
                                          York NY 10017
                                                                                                                         October 02, 2018
                                                                                                                         Amendment No.1 to the Letter
3104 Ovation Travel Group, Inc.           666 Third Avenue, New York NY 10017             Vital Pharmaceuticals, Inc.    Agreement, dated November 06,          $0.00
                                                                                                                         2018
                                                                                          Vital Pharmaceuticals, Inc.,   Confidentiality and Non-Disclosure
3105 Oy Kopparberg Finland Ab             Tiilenpolttajankuja 5 A Vantaa 1720 Finland                                                                           $0.00
                                                                                          d/b/a Bang Energy              Agreement, dated 2020
                                          440 INDUSTRIAL DR / HOLLINS VA 24019-8572                                      Exclusive Distribution Agreement,
3106 PA Short Distributing Co.                                                      Vital Pharmaceuticals, Inc.                                                 $0.00
                                          / US                                                                           dated December 13, 2022
                                                                                                                         Consulting Agreement, dated
3107                                                                                      Vital Pharmaceuticals, Inc.
                                                                                                                         September 01, 2017
                                                                                                                         Employment Agreement, dated
3108 Pablo Tomasielli H                   1441 SE 20th Rd Homestead FL 33035              Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                         August 17, 2021
                                                                                          Vital Pharmaceuticals, Inc.    Non-Disclosure & Confidentiality
3109 Paca Foods, LLC                      5212 Cone Road Tampa FL 3610-5302                                                                                 $0.00
                                                                                          dba VPX/Redline                Agreement, dated February 02, 2016
                                          Attn: Jeff Jordano 5305 Ekwill Street Santa                                    Distributor Agreement, dated
3110 Pacific Beverage Company                                                             Vital Pharmaceuticals, Inc.                                           $0.00
                                          Barbara CA 93111                                                               December 15, 2017
                                                                                          Vital Pharmaceuticals, Inc.,   Confidentiality and Non-Disclosure
3111 Pacific Western Sales                2980 Enterprise St Brea CA 92821                                                                                      $0.00
                                                                                          d/b/a Bang Energy              Agreement, dated June 15, 2020
                                                                                                                         Transfer Services Agreement, dated
3112 Paige Marx                           1036 Oriole St Charlotte NC 28203               Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                         December 13, 2021
                                                                                                                         Trainer Services Agreement, dated
3113                                                                                      Quash Seltzer, LLC
                                                                                                                         September 27, 2021
                                                                                                                         Employment Agreement, dated
3114 Paige Obrecht                        6172 Mary Ln Dr San Diego CA 92115              Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                         November 02, 2020
                                                                                                                         Brand Ambassador (Select Team)
3115                                                                                      Vital Pharmaceuticals, Inc.
                                                                                                                         Agreement, dated April 08, 2017
                                          Puerto Rica 9 Claudia St Amelia Industrial Park Vital Pharmaceuticals, Inc.,   Confidentiality and Non-Disclosure
3116 Pan American Properties Corp.                                                                                                                              $0.00
                                          Guaynabo 00968 Puerto Rico                      d/b/a Bang Energy              Agreement, dated 2021
                                                                                          Vital Pharmaceuticals, Inc.,   Confidentiality and Non-Disclosure
3117 PanTheryx, Inc                       2235 South Central Ave Phoenix AZ 85004                                                                               $0.00
                                                                                          d/b/a Bang Energy              Agreement, dated August 01, 2021
                                          Unit 622, Bldg 4 No. 142 Gaozhai Rd Fuuzhou Vital Pharmaceuticals, Inc.,       Confidentiality and Non-Disclosure
3118 Panway International Limited                                                                                                                               $0.00
                                          Fujian China                                    d/b/a Bang Energy              Agreement, dated 2020
                                                                                                                         Select Agreement, dated May 14,
3119                                                                                      Vital Pharmaceuticals, Inc.
                                                                                                                         2019
                                          7875 Northwest 107th Ave Bldg 4 Doral FL                                       Employment Agreement, dated
3120 Paola Herrera Napolitano Estefania                                                   Vital Pharmaceuticals, Inc.                                           $0.00
                                          33178                                                                          September 08, 2020
                                                                                                                         Distributor Agreement, dated
3121 Paradise Beverages, Inc.             94-1450 Moaniani Street Waipahu HI 96797        Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                         February 22, 2019
                                                                                                                         Distributor Agreement, dated
3122 Paragon Distributing LLC             911 E 4th Avenue Anchorage AK 99501             Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                         February 26, 2019
                                                                                                                         Contact Information Sheet, ACH
3123                                                                                      Vital Pharmaceuticals, Inc.    Transfer Authorization Form, W9,
                                                                                                                         Elite Agreement, dated May 30, 2019

3124                                                                                      Vital Pharmaceuticals, Inc.    Elite Agreement, dated July 23, 2019
                                                                                                                         Confidential Settlement Agreement
                                                                                          Vital Pharmaceuticals, Inc.,
3125 Paris Art Label, Inc.                217 River Avenue Patchogue NY 11772                                            and Mutual Release, dated April 13, $0.00
                                                                                          d/b/a VPX Sports
                                                                                                                         2017
                                                                                                                         Elite Agreement - Marketing
                                                                                                                         Contractor Services Agreement, W-9
3126                                                                                      Vital Pharmaceuticals, Inc.
                                                                                                                         and direct deposit forms, dated
                                                                                                                         January 01, 2022
                                                                                                                         Employment Agreement, dated
3127 Parks McBride Ryan                   555 Northeast 8th St Fort Lauderdale FL 33304 Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                         March 09, 2022
                                                                                                                         Confidentiality and Non-Disclosure
       Patken Corp. DBA Everlasting       2600 NW 55th Ct #237 Fort Lauderdale FL         Vital Pharmaceuticals, Inc.,
3128                                                                                                                     Agreement, dated September 14,      $0.00
       Embroidery                         33309                                           d/b/a Bang Energy
                                                                                                                         2021
                                                                                                                         Employment Agreement, dated
3129 Patrice Dewar Helen                  273 Duval Ct Weston FL 33326                    Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                         August 29, 2022
                                                                                                                         Brand Ambassador Agreement, dated
3130                                                                                      Vital Pharmaceuticals, Inc.
                                                                                                                         May 06, 2021
                                                                                                                         Employment Agreement, dated
3131 Patricia Levano Neyra Rossana        3510 Silver Lace Ln 48 Boynton Beach FL 33436 Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                         August 10, 2020
                                                                                                                         Employment Agreement, dated May
3132 Patricia Velez-Ornelas Maribel       1619 Renee St Lancaster CA 93535                Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                         26, 2020
                                                                                                                         Marketing Project X Confidentiality
                                          14531 SW 24th St
3133 Patrick Doliny                                                                       Vital Pharmaceuticals, Inc.    and Non-Disclosure Agreement,       $0.00
                                          Davie, FL 33325
                                                                                                                         dated June 17, 2021
                                Case 22-17842-PDR                    Doc 1658              Filed 07/14/23 Employment
                                                                                                            Page 239       of 279
                                                                                                                     Agreement, dated
3134 Patrick Gueret                     633 Summerlake Dr East Mobile AL 36608          Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                       September 12, 2022
                                                                                                                       Employment Agreement, dated
3135 Patrick Hastings Dean              4338 East Hartford Ave Phoenix AZ 85032         Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                       December 16, 2019
                                                                                                                       Confidentiality and Non-Disclosure
3136 Patrick J. Doliny                  14531 SW 24th St Davie FL 33325                 Vital Pharmaceuticals, Inc.    Agreement, dated November 03,        $0.00
                                                                                                                       2021
                                                                                                                       Employment Agreement, dated July
3137 Patrick Kovach James               3311 Southridge Dr Unit B Acworth GA 30101      Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                       30, 2018
                                                                                                                       Employment Agreement, dated April
3138 Patrick McDonald Allen             42 Crestwood Rd Rockaway NJ 7866                Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                       22, 2019
                                                                                                                       Employment Agreement, dated
3139 Patrick McMahon                    4367 55th Ave Bettendorf IA 52722               Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                       October 14, 2019
                                                                                                                       Employment Agreement, dated
3140 Patrick Rutherford Allen           16019 West Linden St Goodyear AZ 85338          Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                       October 04, 2021
                                                                                                                       Employment Agreement, dated
3141 Patrick Vilus                      3673 High PiNE Dr Coral Springs FL 33065        Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                       August 14, 2017
                                                                                                                       Employment Agreement, dated April
3142 Paul Bojorquez Felix E             17798 West Calavar Rd Surprise AZ 85388         Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                       05, 2021
                                        107 Northwest 133rd Terrace Bldg 51 201                                        Employment Agreement, dated
3143 Paul Borrelli M                                                               Vital Pharmaceuticals, Inc.                                              $0.00
                                        Plantation FL 33325                                                            December 09, 2019
                                        c/o Department of Health, Human
                                                                                                                       Writer Agreement, dated February
3144 Paul M. La Bounty, Ph.D.           Performance and Recreation One Bear Place  Vital Pharmaceuticals, Inc.                                              $0.00
                                                                                                                       01, 2009
                                        97313 Waco TX 76798-7313
                                        17051 NE 35th Ave 307 North Miami Beach FL                                     Employment Agreement, dated
3145 Paul Small Robert                                                             Vital Pharmaceuticals, Inc.                                             $0.00
                                        33160                                                                          November 15, 2021
                                                                                                                       Employment Agreement, dated July
3146 Paul Soto Stephen                  7301 North Mahr Ct Spokane WA 99208             Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                       25, 2022
                                                                                                                       Employment Agreement, dated June
3147 Paul Specter Daniel                9821 Shallow Creek Dr Waco TX 76708             Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                       28, 2021
                                                                                                                       Employment Agreement, dated
3148 Paula Baysinger Ida                317 8th Ave Columbia TN 38401                   Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                       August 08, 2022
                                                                                                                       Select Agreement, dated October 01,
3149                                                                                    Quash Seltzer, LLC
                                                                                                                       2021
                                        Randy Peck, Report Agent 7501 W Memorial
3150 Paycom Payroll, LLC dba Paycom                                                     Vital Pharmaceuticals, Inc.    Payroll Service Agreement            $0.00
                                        Rd Oklahoma City OK 73142-1404
                                        Attn: Jeff Sandlin 309 Birch Street Hazard KY                                  Exclusive Distribution Agreement,
3151 PDI of Ashland, Inc.                                                               Vital Pharmaceuticals, Inc.                                        $0.00
                                        41701                                                                          dated July 28, 2021
                                        Attn: Jeff Sandlin 309 Birch Street Hazard KY                                  Indemnity Agreement, dated July 28,
3152 PDI of Ashland, Inc.                                                               Vital Pharmaceuticals, Inc.                                        $0.00
                                        41701                                                                          2021
                                        514 New Street P.O. Box 538 Lawrenceville VA                                   Distributor Agreement, dated
3153 Pecht Distributors, Inc.                                                           Vital Pharmaceuticals, Inc.                                        $0.00
                                        23868                                                                          January 23, 2019
                                                                                                                       Employment Agreement, dated
3154 Pedro Gonzalez                     2505 Bloods Grove Cir Delray Beach FL 33445     Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                       August 26, 2019
                                                                                                                       Employment Agreement, dated
3155 Pedro Nolasco                      11117 Leadwell St Los Angeles CA 91352          Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                       February 24, 2020
                                                                                                                       Employment Agreement, dated
3156 Pedro Romero R                     1910 SW 97th Terrace Miramar FL 33025           Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                       February 28, 2022
                                        Attn: Jason Dickerson VP of Sales 4480                                         Distributor Agreement, dated June
3157 Pendleton Bottling, Inc.                                                           Vital Pharmaceuticals, Inc.                                        $0.00
                                        Westgate Drive Pendleton OR 97801                                              13, 2011
                                        Attn: Nick Funchion 2801 Township Line Road                                    Exclusive Distribution Agreement,
3158 Penn Beer Distributors, Inc.                                                       Vital Pharmaceuticals, Inc.                                        $0.00
                                        Hatfield PA 19440                                                              dated August 23, 2021
                                        Attn: Nick Funchion 2801 Township Line Road                                    Indemnity Agreement, dated August
3159 Penn Beer Distributors, Inc.                                                       Vital Pharmaceuticals, Inc.                                        $0.00
                                        Hatfield PA 19440                                                              23, 2021
                                                                                        Vital Pharmaceuticals, Inc.,   Confidentiality and Non-Disclosure
3160 Penske Truck Leasing Co., L.P.     2675 Morgantown Rd Reading PA 19607                                                                                $0.00
                                                                                        d/b/a Bang Energy              Agreement, dated August 04, 2021
                                      Attn: Greg McLeod - President 4121 N 50th St                                     Exclusive Distribution Agreement,
3161 Pepin Distributing Company, LLC                                                    Vital Pharmaceuticals, Inc.                                        $0.00
                                      Tampa FL 33610                                                                   dated May 04, 2023
     PepperJam Exchange, a GSI Media, Sheena Lymaster, Account Executive 7 South                                       Program Management Service
3162                                                                                    Vital Pharmaceuticals, Inc.                                        $0.00
     Inc. Company                     Main Street, 3rd Floor Wilkes-Barre PA 18701                                     Agreement, dated June 12, 2013
                                      Ken Pastega 2636 NE Belvue Corvalis OR                                           Distributor Agreement, dated June
3163 Pepsi Cola of Corvallis, Inc.                                                      Vital Pharmaceuticals, Inc.                                        $0.00
                                      97330                                                                            23, 2010
                                      3003 Rw Johnson Boulevard Turnwater WA            Vital Pharmaceuticals, Inc.,   Non-Disclosure/Confidentiality
3164 Pepsi Northwest Beverages, LLC                                                                                                                        $0.00
                                      98512                                             d/b/a/ VPX/REDLINE             Agreement, dated June 30, 2017
                                                                                        Vital Pharmaceuticals Inc.,
                                                                                        Quash Seltzer LLC, JHO
                                                                                                                       Settlement Agreement, dated June
3165 Pepsico, Inc                       700 Anderson Hill Road, Purchase, NY 10577      Intellectual Property                                               $0.00
                                                                                                                       21, 2022
                                                                                        Holdings LLC, Elite IP
                                                                                        Holdings LLC
3166 Perfect Nutrition                  16606 Schoenborn Street North Hills CA 91343 Vital Pharmaceuticals, Inc.       Distribution Agreement               $0.00
                                                                                                                  CONFIDENTIALITY AND NON-
                                        919 North Market Street Suite 950 Wilmington Vital Pharmaceuticals, Inc.,
3167 Perfect Shaker, Inc.                                                                                         DISCLOSURE AGREEMENT, dated July $0.00
                                        DE 19801                                     d/b/a Bang Energy ("Bang")
                                                                                                                  10, 2020
                                        Eric J Barash, President 2606 South Federal                               Retainer Agreement, dated June 17,
3168 Performance Capital Corporation                                                 Vital Pharmaceuticals, Inc.                                     $0.00
                                        Hwy Fort Lauderdale FL 33316                                              2014
                                  Case Attn:
                                       22-17842-PDR                   Doc 1658
                                             Executive Vice President Operations              Filed 07/14/23 Foodservice
                                                                                                               Page Products
                                                                                                                         240 of 279
                                                                                                                             Supplier
3169 Performance Food Group, Inc.                                                          Vital Pharmaceuticals, Inc.                                      $0.00
                                         12500 West Creek Pkwy Richmond VA 23238                                         Agreement, dated July 19, 2019
                                         Attn: Executive Vice President Operations                                       Foodservice Products Supplier
3170   Performance Food Group, Inc.                                                        Vital Pharmaceuticals, Inc.                                      $0.00
                                         12500 West Creek Pkwy Richmond VA 23238                                         Agreement, dated March 01, 2001
       Performance Food Group, Inc., dba Attn: Executive Vice President Operations                                       Deferred Bottle Deposit Payment
3171                                                                                       Vital Pharmaceuticals, Inc.                                      $0.00
       Vistar                            12500 West Creek Pkwy Richmond VA 23238                                         Agreement, dated March 01, 2023
       Performance Food Group, Inc., dba Attn: Executive Vice President Operations                                       Marketing Agreement, dated January
3172                                                                                       Vital Pharmaceuticals, Inc.                                      $0.00
       Vistar                            12500 West Creek Pkwy Richmond VA 23238                                         03, 2023
                                         Attn: Jeff Sandlin, General Manager 309 Birch                                   Exclusive Distribution Agreement,
3173   Perry Distributors, Inc.                                                            Vital Pharmaceuticals, Inc.                                      $0.00
                                         Street Hazard KY 41701                                                          dated July 28, 2021
                                         Attn: Jeff Sandlin, General Manager 309 Birch
3174   Perry Distributors, Inc.                                                            Vital Pharmaceuticals, Inc.   Rider, dated July 28, 2021            $0.00
                                         Street Hazard KY 41701
                                         Attn: Jeff Sandlin, General Manager 309 Birch                                   Indemnity Agreement, dated July 28,
3175   Perry Distributors, Inc.                                                            Vital Pharmaceuticals, Inc.                                       $0.00
                                         Street Hazard KY 41701                                                          2021
                                         12 Derakshan Alley Setayesh Street Satarkhan
3176   Persian Mokamel Iranian                                                             Vital Pharmaceuticals, Inc.   Distribution Agreement                $0.00
                                         Avenue Tehran 1457763711 Iran
                                             c/o Bernick's Beverages and Vending 113 27th                                Letter re: Authorization to Distribute
3177 Pete Hill                                                                            Vital Pharmaceuticals, Inc.                                           $0.00
                                             North East, Suite P Minneapolis MN 55418                                    Products, dated March 01, 2011
                                                                                                                         Consulting Agreement, dated August
3178                                                                                       Vital Pharmaceuticals, Inc.
                                                                                                                         01, 2015
                                             8069 Clear Shores Circle                                                    Vistor Non-Disclosure Agreement,
3179 Peter Cinieri                                                                         Vital Pharmaceuticals, Inc.                                      $0.00
                                             Delray Beach, FL 33446                                                      dated September 19, 2019
                                                                                                                         Trainer Services Agreement, dated
3180                                                                                       Quash Seltzer, LLC
                                                                                                                         November 05, 2021
                                                                                                                         Employment Agreement, dated
3181 Peter Leonard N                         1508 Lakeview Dr Royal Palm Beach FL 33411    Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                         November 02, 2020
                                                                                                                         Employment Agreement, dated
3182 Peter Roccosalvo Anthony                193 Jerome Ave Staten Island NY 10305         Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                         March 14, 2022
                                             Attn: Brad Petitpren 44500 N Groesbeck Hwy                                  Exclusive Distribution Agreement,
3183 Petitpren Inc.                                                                        Vital Pharmaceuticals, Inc.                                      $0.00
                                             Clinton Twp MI 48036                                                        dated January 29, 2021
                                             Attn: Brad Petitpren 44500 N Groesbeck Hwy                                  Exclusive Distribution Agreement,
3184 Petitpren Inc.                                                                        Vital Pharmaceuticals, Inc.                                      $0.00
                                             Clinton Twp MI 48036                                                        dated April 19, 2023
                                                                                                                         Amendment to Exclusive Distribution
                                             Brad Petitpren 44500 N. Groesbeck Highway
3185 Petitpren, Inc.                                                                       Vital Pharmaceuticals, Inc.   Agreement (Territory Amendment), $0.00
                                             Clinton Twp MI 48036
                                                                                                                         dated January 29, 2021
                                             c/o Hackleman, Olive & Judd, P.A.
                                             Attn:Christian A. Petersen & Kara Strochlic                                 Settlement Agreement and Mutual
3186 PGP International, Inc.                                                               Vital Pharmaceuticals, Inc.                                        $0.00
                                             2438 East Las Olas Blvd. Fort Lauderdale FL                                 Limited Release, dated June 28, 2013
                                             33301
                                                                                                                        CONFIDENTIALITY AND NON-
                                                                                           Vital Pharmaceuticals, Inc.,
3187 Pharmacenter LLC                        15851 SW 41st St Davie FL 33331                                            DISCLOSURE AGREEMENT, dated         $0.00
                                                                                           d/b/a Bang Energy ("Bang")
                                                                                                                        September 04, 2020
       PHD Corporation Ptd Ltd t/a           37 Bentley Street Wetherill Park New South    Vital Pharmaceuticals, Inc. Confidentiality and Non-Disclosure
3188                                                                                                                                                        $0.00
       Performance Health Distribution       Wales 2164 Australia                          dba Bang Energy              Agreement, dated July 16, 2019
                                                                                                                        Letter re: VPX deciding to keep
                                             c/o Bridge 2 Bridge Beverages 5120 1st Street
3189 Phil Isle                                                                             Vital Pharmaceuticals, Inc. territory lines in Mason County,     $0.00
                                             Bremerton WA 98312
                                                                                                                        Washington
                                                                                                                        Employment Agreement, dated July
3190 Philip DeLuca                           948 Arbor Hill Cir Minneola FL 34715          Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                        25, 2018
                                             5614 Tranquility Oaks Dr Apt 106 Tampa FL                                  Employment Agreement, dated
3191 Philip Rosas Andres                                                                   Vital Pharmaceuticals, Inc.                                      $0.00
                                             33624                                                                      September 14, 2020
                                             11023 North Kendall Dr Apt M203 Miami FL                                   Employment Agreement, dated July
3192 Phillip Humaran                                                                       Vital Pharmaceuticals, Inc.                                      $0.00
                                             33176                                                                      11, 2007
                                                                                                                        Cooler Agreement, dated January 20,
3193 Physique by Design                      713 Shotgun Rd Fort Lauderdale FL 33326       Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                        2016
                                                                                                                        Employment Agreement, dated
3194 Pierre Balian                           4145 Pearl St Lake Elsinore CA 92530          Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                        August 15, 2022
                                                                                                                        Exclusive Distribution Agreement,
3195 Pike Distributors                       353 US 41 Negaunee MI 49837                   Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                        dated February 01, 2021
                                                                                                                        Exclusive Distribution Agreement,
3196 Pike Distributors Inc.                  353 US 41 East Negaunee MI 49837              Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                        dated January 31, 2021
                                                                                                                        Warranty, Indemnification, and
       Pilot Travel Centers LLC, "Pilot      Mike Schneider 1261 Pacific Ave Erlanger KY
3197                                                                                       Vital Pharmaceuticals, Inc. Insurance Agreement, dated           $0.00
       Travel Ceners" d/b/a Pilot Flying J   41018
                                                                                                                        November 02, 2018
                                             Attn: Dale Pisani PO Box 40 Atlantic Mine MI                               Exclusive Distribution Agreement,
3198 Pisani Company, Inc.                                                                  Vital Pharmaceuticals, Inc.                                      $0.00
                                             49905                                                                      dated January 30, 2021
                                                                                                                        Confidential Settlement Agreement
                                             11512 Poema Place Unit 201 Chatsworth CA      Vital Pharmaceuticals, Inc.,
3199 Planet Muscle, LLC                                                                                                 and Mutual Release, dated August    $0.00
                                             91311                                         d/b/a VPX Sports
                                                                                                                        03, 2015
                                             2911 James L Redman Pkwy Plant City FL                                     Cooler Agreement, dated February
3200 Plant City Sunoco # 229                                                               Vital Pharmaceuticals, Inc.                                      $0.00
                                             33566                                                                      01, 2016
                                             Larry Garza 17203 NW Military, Suite 8306 San                              Contract Agreement, dated
3201 Play Ball Marketing                                                                   Vital Pharmaceuticals, Inc.                                      $0.00
                                             Antonio TX 78257                                                           September 16, 2019
                                 Case 22-17842-PDR                        Doc 1658              Filed 07/14/23 Exclusive
                                                                                                                  Page       241 of
                                                                                                                         Distribution    279
                                                                                                                                      Agreement,
3202 Polar Beverages Co. Inc                1001 Southbridge St, Worcester, MA 01610         Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                           dated August 30, 2022
                                            Attn Legal Notice 300 Constitution Ave., Suite                                 Confidentiality Agreement, dated
3203 PoliteMail Software                                                                     Vital Pharmaceuticals, Inc.                                       $0.00
                                            200 Portsmouth NH 03801                                                        November 04, 2020
                                                                                                                           Rental Agreement, dated July 12,
3204 Powdersville Self Storage              11411 Anderson Rd Greenville SC 29611            Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                           2016
                                            c/o PGIM Real Estate Attn: PRISA Asset
                                                                                        Vital Pharmaceuticals, Inc.,       Mutual Non-Disclosure Agreement,
3205 PR Lewis Business Center II, LLC       Manager 4 Embarcadero Center Suite 2700 San                                                                        $0.00
                                                                                        d/b/a VPX Sports                   dated January 18, 2019
                                            Francisco CA 94111
                                            4321 Yale Boulevard NE, Albuquerque, NM                                       Distributor Agreement, dated
3206 Premier Distributing Company                                                       Vital Pharmaceuticals Inc.                                             $0.00
                                            87107                                                                         January 28, 2019
                                            4321 Yale Boulevard NE, Albuquerque, NM                                       Legacy Reinstatement, dated August
3207 Premier Distributing Company                                                       Vital Pharmaceuticals, Inc.                                            $0.00
                                            87107                                                                         12, 2022
     Premier Glazer's Beer & Beverage,      Attn: President and General Manager 2505                                      Exclusive Distribution Agreement,
3208                                                                                    Vital Pharmaceuticals, Inc.                                            $0.00
     LLC                                    Murray Sioux City IA 51111                                                    dated April 29, 2021
     Premier Glazer's Beer and              Attn: President and General Manager 2505                                      Agreement and Indemnity, dated
3209                                                                                    Vital Pharmaceuticals, Inc.                                            $0.00
     Beverage, LLC                          Murray Sioux City IA 51111                                                    March 22, 2021
                                                                                                                          CONFIDENTIALITY AND NON-
                                                                                             Vital Pharmaceuticals, Inc.,
3210 Premier Packaging LLC                  3900 Produce Rd. Louisville KY 40218                                          DISCLOSURE AGREEMENT, dated          $0.00
                                                                                             d/b/a Bang Energy ("Bang")
                                                                                                                          October 26, 2021
                                            12100 Sunset Hills Road, Suite 300,              Vital Pharmaceuticals, Inc., Visit Non-Disclosure Agreement,
3211 Presidio                                                                                                                                                  $0.00
                                            Reston, VA 20190-3295                            d/b/a VPX                    dated October 31, 2019
                                                                                                                          Master Services Agreement, dated
3212 Presidio Network Solutions LLC         1 Penn Plaza, Suite 2832 New York NY 10119       Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                          January 22, 2020
                                                                                                                          CONFIDENTIALITY AND NON-
                                            12100 Sunset Hills Road Suite 300 Reston VA      Vital Pharmaceuticals, Inc.,
3213 Presidio Networked Solutions LLC                                                                                     DISCLOSURE AGREEMENT, dated          $0.00
                                            20190-3295                                       d/b/a Bang Energy ("Bang")
                                                                                                                          November 05, 2019
                                            Attn: Jay Staples, Associate General Counsel
                                                                                                                           Mediated Settlement Agreement,
3214 Presidio Networked Solutions, LLC      3340 Peachtree Rd N.E., Suite 2700, Atlanta,     Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                           dated December 07, 2021
                                            GA 30326
                                            Butters Realty and Management, LLC 6820
                                                                                                                           First Amendment to Lease, dated
3215 Principle Life Insurance Company       Lyons Technology Circle Suite 100 Coconut        Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                           February 27, 2009
                                            Creek FL 33073
                                                                                                                         CONFIDENTIALITY AND NON-
       Prinova (Changzhou) Solutions Co., No.5, LingXiang Road Wujin Economic Zone          Vital Pharmaceuticals, Inc.,
3216                                                                                                                     DISCLOSURE AGREEMENT, dated         $0.00
       Ltd                                Changzhou Jiangsu 213149 CN                       d/b/a Bang Energy ("Bang")
                                                                                                                         October 26, 2021
                                                                                                                         Confidentiality & Non-Circumvention
                                                                                            Vital Pharmaceuticals, Inc.,
3217 Prinova Europe Limited                 10 Aldersgate Street London EC1A 4HJ England                                 Agreement, dated September 21,      $0.00
                                                                                            d/b/a VPX
                                                                                                                         2017
                                                                                                                         Confidentiality & Non-Circumvention
                                                                                            Vital Pharmaceuticals, Inc.
3218 Prinova US LLC                         285 E Fullerton Avenue Carol Stream IL 60188                                 Agreement, dated September 05,      $0.00
                                                                                            dba VPX
                                                                                                                         2017
                                                                                                                         CONFIDENTIALITY AND NON-
                                                                                            Vital Pharmaceuticals, Inc.,
3219 Prinova US LLC, d/b/a Prinova USA      285 E. Fullerton Ave. Carol Stream IL 60188                                  DISCLOSURE AGREEMENT, dated         $0.00
                                                                                            d/b/a Bang Energy ("Bang")
                                                                                                                         May 24, 2019
                                                                                                                         CONFIDENTIALITY AND NON-
       Prinova US                           Attn: Roberto Elias 285 E. Fullerton Ave. Carol Vital Pharmaceuticals, Inc.,
3220                                                                                                                     DISCLOSURE AGREEMENT, dated         $0.00
       LLC, d/b/a Prinova USA ("Prinova")   Stream IL 60188                                 DBA Bang Energy
                                                                                                                         May 24, 2019
                                                                                                                         Confidentiality & Non-Circumvention
                                                                                            Vital Pharmaceuticals, Inc.,
3221 Pri-Pak, Inc.                          2000 Schenley Place Greendale IN 47025                                       Agreement, dated November 17,       $0.00
                                                                                            d/b/a VPX
                                                                                                                         2017
                                                                                                                         Exclusive Promotional Modeling
3222                                                                                        Vital Pharmaceuticals, Inc.
                                                                                                                         Agreement, dated May 01, 2014
                                            5501 Headquarters Drive, Suite 150W, Plano,                                  Proposal for Settlement, dated
3223 PRO SUPPS USA, LLC                                                                     Vital Pharmaceuticals, Inc.                                      $0.00
                                            TX 75024                                                                     October 18, 2019
                                                                                                                         CONFIDENTIALITY AND NON-
                                            Building 1 - 2201 No.735 Liyang Road Hong Kou Vital Pharmaceuticals, Inc.,
3224 Process Brand Evolution Ltd.                                                                                        DISCLOSURE AGREEMENT, dated         $0.00
                                            District Shanghai 200080 CN                     d/b/a Bang Energy ("Bang")
                                                                                                                         May 24, 2019
                                            Milla 8 Via Transistmica Omar Torrijos San                                   CONFIDENTIALITY AND NON-
                                                                                            Vital Pharmaceuticals, Inc.,
3225 Productos de Prestigio, S.A.           Miguelito Parque Industrial Correagua Panama                                 DISCLOSURE AGREEMENT, dated         $0.00
                                                                                            d/b/a Bang Energy ("Bang")
                                            City PA                                                                      February 03, 2022
                                                                                                                         CONFIDENTIALITY AND NON-
                                            320 W 37th Street 14th Floor New York NY        Vital Pharmaceuticals, Inc.,
3226 PROFESSIONAL FIGHTERS LEAGUE                                                                                        DISCLOSURE AGREEMENT, dated         $0.00
                                            10018                                           d/b/a Bang Energy ("Bang")
                                                                                                                         November 09, 2021
                                            Attn: Jeffrey C. Schneider, P.A.
                                            LEVINE KELLOGG LEHMAN SCHNEIDER +
                                                                                                                         Notice of Acceptance of Settlement,
3227 PROFESSIONAL SUPPLEMENTS, LLC          GROSSMAN LLP                                    Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                         dated November 18, 2019
                                            201 South Biscayne Blvd, 22nd Floor
                                            Miami, Florida 33131
                                            Attn: Jeffrey C. Schneider, P.A.
                                            LEVINE KELLOGG LEHMAN SCHNEIDER +
                                                                                                                         Order Granting Joint Stipulation of
3228 PROFESSIONAL SUPPLEMENTS, LLC          GROSSMAN LLP                                    Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                         Dismissal, dated September 08, 2022
                                            201 South Biscayne Blvd, 22nd Floor
                                            Miami, Florida 33131
                               Case 22-17842-PDR                Doc 1658              Filed 07/14/23 CONFIDENTIALITY
                                                                                                                  Page 242AND   ofNON-
                                                                                                                                   279
                                   Unit 3 Freemans Parc Penarth Road Cardiff      Vital Pharmaceuticals, Inc.,
3229 Promixx, Ltd.                                                                                             DISCLOSURE AGREEMENT, dated       $0.00
                                   CF11 8EQ GB                                    d/b/a Bang Energy ("Bang")
                                                                                                               2020
3230 PROPERTY MANAGEMENT INC       2901 2 Bluegrass Blvd, Ste 420, Lehi UT 84043 Vital Pharmaceuticals, Inc.   Discount Check                    $0.00
                                   Attn: Leasing 2316 Walsh Avenue Santa Clara                                 Confidentiality Agreement, dated
3231 PS Business Parks, L.P.                                                      Vital Pharmaceuticals, Inc.                                     $0.00
                                   CA 95051                                                                    March 20, 2018
                                   Attn: Leasing 2316 Walsh Avenue Santa Clara                                 Confidentiality Agreement, dated
3232 PS Business Parks, LP                                                        Vital Pharmaceuticals, Inc.                                     $0.00
                                   CA 95051                                                                    March 20, 2018
                                                                                                               Rental Agreement #A42, dated June
3233 Public Storage                11770 Southwest Fwy, Houston, TX 77031         Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                               06, 2023
                                                                                                               Addendum to Lease/Rental
3234 Public Storage                11770 Southwest Fwy, Houston, TX 77031         Vital Pharmaceuticals, Inc. Agreement for Parking Space #A42, $0.00
                                                                                                               dated June 06, 2023
                                                                                                               Rental Agreement #A37, dated June
3235 Public Storage                11770 Southwest Fwy, Houston, TX 77031         Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                               06, 2023
                                                                                                               Addendum to Lease/Rental
3236 Public Storage                11770 Southwest Fwy, Houston, TX 77031         Vital Pharmaceuticals, Inc. Agreement for Parking Space #A37, $0.00
                                                                                                               dated June 06, 2023
                                                                                                               Rental Agreement #9044, dated May
3237 Public Storage                1010 W Lumsden Road, Brandon, FL 33511         Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                               25, 2023
                                                                                                               Addendum to Lease/Rental
3238 Public Storage                1010 W Lumsden Road, Brandon, FL 33511         Vital Pharmaceuticals, Inc. Agreement for Parking Space #9044, $0.00
                                                                                                               dated May 25, 2023
                                                                                                               Rental Agreement #9037, dated May
3239 Public Storage                1010 W Lumsden Road, Brandon, FL 33511         Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                               25, 2023
                                                                                                               Addendum to Lease/Rental
3240 Public Storage                1010 W Lumsden Road, Brandon, FL 33511         Vital Pharmaceuticals, Inc. Agreement for Parking Space #9037, $0.00
                                                                                                               dated May 25, 2023
                                                                                                               Rental Agreement #9014, dated May
3241 Public Storage                1010 W Lumsden Road, Brandon, FL 33511         Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                               25, 2023
                                                                                                               Addendum to Lease/Rental
3242 Public Storage                1010 W Lumsden Road, Brandon, FL 33511         Vital Pharmaceuticals, Inc. Agreement for Parking Space #9014, $0.00
                                                                                                               dated May 25, 2023
                                                                                                               Rental Agreement #9010, dated May
3243 Public Storage                1010 W Lumsden Road, Brandon, FL 33511         Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                               25, 2023
                                                                                                               Addendum to Lease/Rental
3244 Public Storage                1010 W Lumsden Road, Brandon, FL 33511         Vital Pharmaceuticals, Inc. Agreement for Parking Space #9010, $0.00
                                                                                                               dated May 25, 2023
                                                                                                               Rental Agreement #5016, dated May
3245 Public Storage                1010 W Lumsden Road, Brandon, FL 33511         Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                               25, 2023
                                                                                                               Rental Agreement #9007, dated May
3246 Public Storage                1010 W Lumsden Road, Brandon, FL 33511         Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                               25, 2023
                                                                                                               Addendum to Lease/Rental
3247 Public Storage                1010 W Lumsden Road, Brandon, FL 33511         Vital Pharmaceuticals, Inc. Agreement for Parking Space #9007, $0.00
                                                                                                               dated May 25, 2023
                                                                                                               Rental Agreement #7111, dated May
3248 Public Storage                8149 Aircenter Court, Orlando, FL 32809        Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                               24, 2023
                                                                                                               Addendum to Lease/Rental
3249 Public Storage                8149 Aircenter Court, Orlando, FL 32809        Vital Pharmaceuticals, Inc. Agreement for Parking Space #7111, $0.00
                                                                                                               dated May 24, 2023
                                                                                                               Rental Agreement #7103, dated May
3250 Public Storage                8149 Aircenter Court, Orlando, FL 32809        Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                               24, 2023
                                                                                                               Addendum to Lease/Rental
3251 Public Storage                8149 Aircenter Court, Orlando, FL 32809        Vital Pharmaceuticals, Inc. Agreement for Parking Space #7103, $0.00
                                                                                                               dated May 24, 2023
                                                                                                               Rental Agreement #3074, dated May
3252 Public Storage                8149 Aircenter Court, Orlando, FL 32809        Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                               24, 2023
                                                                                                               Addendum to Lease/Rental
3253 Public Storage                8149 Aircenter Court, Orlando, FL 32809        Vital Pharmaceuticals, Inc. Agreement for Parking Space #3074, $0.00
                                                                                                               dated May 24, 2023
                                                                                                               Rental Agreement #3073, dated June
3254 Public Storage                8149 Aircenter Court, Orlando, FL 32809        Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                               05, 2023
                                                                                                               Rental Agreement #4063, dated June
3255 Public Storage                8149 Aircenter Court, Orlando, FL 32809        Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                               05, 2023
                                                                                                               Rental Agreement #4025, dated June
3256 Public Storage                8149 Aircenter Court, Orlando, FL 32809        Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                               05, 2023
                                                                                                               Rental Agreement #B036, dated June
3257 Public Storage                3345 S Rainbow Blvd, Las Vegas, NV 89146       Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                               14, 2023
                                                                                                               Rental Agreement #C141, dated June
3258 Public Storage                2317 Main Street, Chula Vista, CA 91911        Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                               17, 2023
                                                                                                               Rental Agreement #4008, dated June
3259 Public Storage                1010 W Lumsden Road, Brandon, FL 33511         Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                               14, 2023
                                                                                                               CONFIDENTIALITY AND NON-
                                                                                  Vital Pharmaceuticals, Inc.,
3260 Publigraphic, LLC             8430 Northwest 61st Street Miami FL 33166                                   DISCLOSURE AGREEMENT, dated        $0.00
                                                                                  d/b/a Bang Energy ("Bang")
                                                                                                               August 10, 2020
                                 Case 22-17842-PDR                      Doc 1658             Filed 07/14/23                Page 243 of 279
                                                                                                                        Continuing Guaranty and Indemnity
                                          3300 Publix Corporate Parkway Lakeland FL
3261 Publix Super Market Inx                                                             Vital Pharmaceuticals, Inc.    Agreement/ Standard Non Disclosure $0.00
                                          33811
                                                                                                                        Agreement, dated March 15, 2017
                                          160 Pehle Ave, Suite 307, Saddle Brook, NJ                                    Continuing Indemnity Agreement,
3262 PumpMan LLC                                                                         Vital Pharmaceuticals, Inc.                                         $0.00
                                          07663                                                                         dated May 19, 2022
                                          1835 Stout Field West Dr # 101 Indianapolis IN                                Distributor Agreement (Exclusive),
3263 Pure Beverage Co, Inc.                                                              Vital Pharmaceuticals, Inc.                                         $0.00
                                          46241-4018                                                                    dated September 15, 2009
                                          1806 Stout Field West Drive Indianapolis IN                                   Distributor Agreement, dated
3264 Pure Beverage Company                                                               Vital Pharmaceuticals, Inc.                                         $0.00
                                          46241                                                                         November 09, 2018
                                                                                                                        Exclusive Distribution Agreement,
3265 Pure Beverages                       2301 Airwest Blvd Plainfield IN 46168          Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                        dated July 01, 2022
                                                                                                                        Amendment to Exclusive Distribution
3266 Pure Beverages                       2301 Airwest Blvd Plainfield IN 46168          Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                        Agreement, dated October 14, 2022
                                                                                                                        Non-Disclosure & Confidentiality
                                                                                         Vital Pharmaceuticals, Inc.
3267 Purple Mood Media, LLC               1505 E Robinson Street Orlando 32801                                          Agreement, dated November 07,        $0.00
                                                                                         dba VPX/Redline
                                                                                                                        2016
                                                                                                                        Website Development Brief dated
3268 Purple Moon Media                    1505 E. Robinson St. Orlando FL 32801          Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                        11/30/16, dated January 02, 2017
                                                                                                                        Settlement Agreement, dated June
3269 Q Tonic, LLC                         20 Jay St, Suite 630, Brooklyn, NY 11201       Elite IP Holdings, LLC                                              $0.00
                                                                                                                        13, 2022
                                          Warsaw, ul. Cybernetyki 7, 02-677 Warsaw                                      Settlement Agreement, dated May
3270 Q-Bev Sp. Z o.o                                                                     Vital Pharmaceuticals Inc.                                          $0.00
                                          Poland                                                                        23, 2022
                                          4705 S 129TH EAST AVE / TULSA OK 74134-                                       2023 Pricing Agreement, dated
3271 QTR Corporation                                                                     Vital Pharmaceuticals, Inc.                                         $0.00
                                          7005 / US                                                                     December 15, 2022
     Quail Mountain, Inc., d/b/a Pepsi    Attn: Leo Bocchi, President 4033 Miller Avenue                                Distributor Agreement, dated
3272                                                                                     Vital Pharmaceuticals, Inc.                                         $0.00
     Cola                                 Klamath Falls OR 97603                                                        October 05, 2018
     Quality Acquisition Company, LLC     Attn: General Manager 3201 NW 72nd Ave                                        Exclusive Distribution Agreement,
3273                                                                                     Vital Pharmaceuticals, Inc.                                         $0.00
     dba Eagle Brands Sales               Miami FL 33122                                                                dated May 04, 2023
                                                                                                                        Quality Software Systems, Inc.
                                          Ed Troianello 200 Centennial Avenue
3274 Quality Software Systems Inc                                                        Vital Pharmaceuticals, Inc.    License and Integration Agreement,   $0.00
                                          Piscataway NJ 08854
                                                                                                                        dated August 05, 2005
     Quality
                                          Rehmat Pura, Kothay Bhiko Chore Sialkot        Vital Pharmaceuticals, Inc.,   CONFIDENTIALITY AND NON-
3275 Professional ("Quality                                                                                                                                  $0.00
                                          Sialkot Pakistan                               DBA Bang Energy                DISCLOSURE AGREEMENT
     Professional")
     Quality                                                                                                            CONFIDENTIALITY AND NON-
                                          Attn: Hifza Ali, Rehmat Pura, Kothay Bhiko     Vital Pharmaceuticals, Inc.,
3276 Professional (“Quality                                                                                             DISCLOSURE AGREEMENT, dated July $0.00
                                          Chore Sialkot Sialkot Pakistan                 DBA Bang Energy
     Professional”)                                                                                                     16, 2020
                                                                                                                        Employment Agreement, dated
3277 Quang Nguyen T                       211 9th St Marina CA 93933                     Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                                        January 21, 2019
     Quash Seltzer, LLC, d/b/a Mixx                                                                                     AFFILIATE MEMBER AGREEMENT,
3278                                      1600 North Park Drive Weston FL 33326          Vital Pharmaceuticals, Inc.                                     $0.00
     ("MIXX")                                                                                                           dated 2022
     Quash Seltzer, LLC, d/b/a Mixx                                                                                     BRAND AMBASSADOR AGREEMENT
3279                                      1600 North Park Drive Weston FL 33326          Vital Pharmaceuticals, Inc.                                     $0.00
     ("MIXX")                                                                                                           , dated 2022
     Quash Seltzer, LLC, d/b/a Mixx                                                                                     BRAND AMBASSADOR AGREEMENT
3280                                      1600 North Park Drive Weston FL 33326          Vital Pharmaceuticals, Inc.                                     $0.00
     (MIXX)
                                                                                                                        Exclusive Distribution Agreement
       Queen City Beverage, Inc. Braun    153 26TH ST W / DICKINSON ND 58601-6550 /
3281                                                                                Vital Pharmaceuticals, Inc.         Reinstatement, dated November 03,    $0.00
       Distributing                       US
                                                                                                                        2022
       Queen City Beverage, Inc., d/b/a                                                                                 Distributor Agreement, dated
3282                                      153 26th Street West Dickson ND 58601          Vital Pharmaceuticals, Inc.                                         $0.00
       Braun Distributing                                                                                               October 19, 2018
                                                                                                                        Employment Agreement, dated
3283 Quentin Wilson J                     1025 W Knox Ave Unit D Spokane WA 99205        Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                        December 10, 2018
                                                                                                                        Employment Agreement, dated
3284 Quinton Davis Lashawn                501 Hidden Dale Dr Fort Worth TX 76140         Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                        February 07, 2022
                                                                                                                        Employment Agreement, dated June
3285 Quinton Smith Robert                 5 Vineyard Haven Dr Pooler GA 31322            Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                        07, 2021
                                                                                                                        Exclusive Distribution Agreement,
3286 R & H dba Hodgen Distributing        4340 Westgate Pl, Pendleton, OR 97801          Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                        dated October 13, 2022
                                          Attn: R. Michael Ramirez, President 17500                                     Distributor Agreement, dated May
3287 R & S Beverage Company                                                             Vital Pharmaceuticals, Inc.                                          $0.00
                                          Adelanto Road Adelanto CA 92301                                               02, 2018
                                          Attn: John K. Martin, President 1302 E Whaley                                 Exclusive Distribution Agreement,
3288 R&K Distributors, Inc.                                                             Vital Pharmaceuticals, Inc.                                          $0.00
                                          Street Longview TX 75601                                                      dated August 09, 2021
       R.A. Jeffreys Distributing Company,                                                                              Distributor Agreement, dated
3289                                       420 Civic Boulevard Raleigh NC 27610          Vital Pharmaceuticals, Inc.                                         $0.00
       LLC                                                                                                              October 31, 2018
       R.H. Barringer Distributing                                                                                      Distributor Agreement, dated June
3290                                       1620 Fairfax Road Greensboro NC 27407         Vital Pharmaceuticals, Inc.                                         $0.00
       Company                                                                                                          07, 2018
       R.H. Barringer Distributing                                                                                      Exclusive Distributor Agreement,
3291                                       1620 Fairfax Road Greensboro NC 27407         Vital Pharmaceuticals, Inc.                                         $0.00
       Company                                                                                                          dated February 02, 2023
       R.L. Lipton Distributing Company,                                                                                Distributor Agreement, dated
3292                                       425 Victoria Road Austintown OH 44515         Vital Pharmaceuticals, Inc.                                         $0.00
       LLC.                                                                                                             January 01, 2019
                                                                                                                        CONFIDENTIALITY AND NON-
                                                                                         Vital Pharmaceuticals, Inc.,
3293 R.R. Donnelley & Sons                35 W. Wacker Dr Chicago IL 60601                                              DISCLOSURE AGREEMENT, dated          $0.00
                                                                                         DBA Bang Energy
                                                                                                                        September 04, 2020
     R.R. Donnelley          Case 22-17842-PDR Doc 1658 Filed 07/14/23 CONFIDENTIALITY                  Page 244AND     ofNON-
                                                                                                                           279
                                                                        Vital Pharmaceuticals, Inc.,
3294 & Sons Company ("R.R. Donnelley & 35 W. Wacker Dr Chicago IL 60601                              DISCLOSURE AGREEMENT, dated                             $0.00
                                                                        DBA Bang Energy
     Sons")                                                                                          September 10, 2020
3295                                                                    Vital Pharmaceuticals, Inc. Fitness Model Agreement
                                                                                                                      Exclusive Promotional Modeling
3296                                                                                   Vital Pharmaceuticals, Inc.
                                                                                                                      Contract, dated September 25, 2013
                                        318 thomas Dorsey Dr Apt 9 Villa Rica GA                                      Employment Agreement, dated
3297 Rachel Jackson Malissa                                                            Vital Pharmaceuticals, Inc.                                           $0.00
                                        30180                                                                         November 02, 2020
                                                                                                                      Model Release and Affidavit, dated
3298                                                                                   Vital Pharmaceuticals, Inc.
                                                                                                                      April 27, 2011
                                                                                                                      Exclusive Promotional Modeling
3299                                                                                   Vital Pharmaceuticals, Inc.
                                                                                                                      Agreement, dated May 01, 2014
                                                                                                                      Brand Ambassador (Local Team)
3300                                                                                   Vital Pharmaceuticals, Inc.
                                                                                                                      Agreement, dated June 15, 2018
                                                                                                                      Affiliate Member Agreement, dated
3301                                                                                   Vital Pharmaceuticals, Inc.
                                                                                                                      September 28, 2021
                                                                                                                      Trainer Services Agreement, dated
3302                                                                                   Quash Seltzer, LLC
                                                                                                                      November 09, 2021
                                                                                                                      Trainer Services Agreement, dated
3303                                                                                   Quash Seltzer, LLC
                                                                                                                      November 13, 2021
                                        8124 Cantabria Falls Dr Boynton Beach FL                                      Employment Agreement, dated
3304 Rakeeb Mehter Ahmead                                                              Vital Pharmaceuticals, Inc.                                           $0.00
                                        33473                                                                         August 06, 2019
                                                                                                                      Trainer Services Agreement, dated
3305                                                                                   Quash Seltzer, LLC
                                                                                                                      December 13, 2021
                                        Attn: Legal Department PO Box 54143 Los                                       Continuing Warranty and Guaranty,
3306 Ralphs Grocery Company                                                            Vital Pharmaceuticals, Inc.                                           $0.00
                                        Angeles CA 90054                                                              dated August 03, 2007
                                                                                                                      Select Agreement, dated January 01,
3307                                                                                   Quash Seltzer, LLC
                                                                                                                      2022
                                                                                                                      Employment Agreement, dated
3308 Randy Brinkley Edwin               2600 Whippoorwill Ln White Hall AR 71602       Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                      November 09, 2021
                                                                                                                      Contract Videographer Agreement,
3309                                                                                   Vital Pharmaceuticals, Inc.
                                                                                                                      dated October 09, 2017
                                        Simon St. Ledger, Chief Executive Officer,
                                                                                                                      Confidentiality and Non-Disclosure
                                        Managing Director and Executive Director 40-   Vital Pharmaceuticals, Inc.,
3310 RAPID NUTRITION PTY LTD                                                                                          Agreement, dated November 22,          $0.00
                                        46 Nestor Drive Meadowbrook QLD 4131           d/b/a Bang Energy
                                                                                                                      2018
                                        Australia
                                                                                                                      CONFIDENTIALITY AND NON-
                                        Attn: Simon St. Ledger 40-46 Nestor Drive,     Vital Pharmaceuticals, Inc.,
3311 RAPID NUTRITION PTY LTD (RAPID)                                                                                  DISCLOSURE AGREEMENT                   $0.00
                                        Meadowbrook Qld 4131 Australia                 DBA Bang Energy
       Rappaport Osborne & Rappaport &
3312                                   1300 N Federal Hwy, Boca Raton FL 33432         Vital Pharmaceuticals, Inc.    Retainer Agreement                     $0.00
       Kiem, PL
                                                                                                                      Trainer Services Agreement, dated
3313                                                                                   Quash Seltzer, LLC
                                                                                                                      November 29, 2021
                                                                                                                      Letter re: Unauthorized Use of Vital
                                        c/o Tri-State Wholesale 3636 1/2 Ringgold                                     Pharmaceuticals, Inc.'s Trademarks
3314 Ray Patel                                                                         Vital Pharmaceuticals, Inc.                                           $0.00
                                        Road East Ridge TN 37412                                                      and Unfair Competition, dated
                                                                                                                      February 09, 2016
                                        12171 Beach Blvd Apt 806 Jacksonville FL                                      Employment Agreement, dated
3315 Raymond Lazinsky H                                                                Vital Pharmaceuticals, Inc.                                           $0.00
                                        32246                                                                         March 08, 2021
                                                                                                                      Employment Agreement, dated June
3316 Raymond Ramirez                    25260 Old Farm St Moreno Valley CA 92553       Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                      28, 2021
                                                                                                                      Select Agreement, dated November
3317                                                                                   Quash Seltzer, LLC
                                                                                                                      08, 2021
                                                                                                                      Exclusive Promotional Modeling
3318                                                                                   Vital Pharmaceuticals, Inc.
                                                                                                                      Agreement, dated March 10, 2016
                                                                                                                      Elite Agreement, dated November
3319                                                                                   Quash Seltzer, LLC
                                                                                                                      01, 2021
                                        Attn: Wesley Polsdorfer 1288 Research Road                                    Lease Agreement, dated March 01,
3320 Rbrothers LLC                                                                     Vital Pharmaceuticals, Inc.                                           $0.00
                                        Gahanna OH 43230                                                              2018
                                                                                                                      Assignment of Leases, Guaranties
                                        5639 Brookshire Boulevard Suite C Charlotte
3321 RBrothers, LLC                                                                    Vital Pharmaceuticals, Inc.    and Warranties, dated March 14,        $0.00
                                        North Carolina 28216
                                                                                                                      2019
                                        5639 Brookshire Boulevard Suite C Charlotte
3322 RBrothers, LLC                                                                    Vital Pharmaceuticals, Inc.    Lease, dated February 01, 2018         $0.00
                                        North Carolina 28216
                                        5639 Brookshire Boulevard Suite C Charlotte                                   Tenant Estoppel Form, dated
3323 RBrothers, LLC                                                                    Vital Pharmaceuticals, Inc.                                     $0.00
                                        North Carolina 28216                                                          February 08, 2019
                                        Attn: Crystal Yang 14th floor, Building 3,                                    CONFIDENTIALITY AND NON-
       REACH24H Consulting Group                                                       Vital Pharmaceuticals, Inc.,
3324                                    Haichuang Technology Center 1288 West                                         DISCLOSURE AGREEMENT, dated July $0.00
       (“REACH24H”)                                                                    DBA Bang Energy
                                        Wenyi Road Hangzhou 311121 China                                              01, 2021
                                        Attn: Crystal Yang 14th floor, Building 3,                                    CONFIDENTIALITY AND NON-
       REACH24H Consulting Group                                                       Vital Pharmaceuticals, Inc.,
3325                                    Haichuang Technology Center 1288 West                                         DISCLOSURE AGREEMENT             $0.00
       (REACH24H)                                                                      DBA Bang Energy
                                        Wenyi Road Hangzhou 311121 China                                              , dated July 01, 2021
                                        Avenida de las Fuerzas Armadas 402,            Vital Pharmaceuticals, Inc.    Non-Disclousure Agreement, dated
3326 Real Madrid Club De Futbol                                                                                                                        $0.00
                                        Madrid, Spain 28055                            DBA Bang Energy                June 22, 2020
                                 Case 22-17842-PDR                    Doc 1658             Filed 07/14/23 ElitePage    245 ofdated
                                                                                                                Team Agreement, 279January
3327                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                       01, 2018
                                                                                                                       Affiliate Member Agreement, dated
3328                                                                                    Quash Seltzer, LLC
                                                                                                                       October 11, 2021
                                                                                                                       Select Agreement, dated November
3329                                                                                    Quash Seltzer, LLC
                                                                                                                       01, 2021
                                                                                                                       Marketing Project X Confidentiality
                                        Reddy Prasanna
3330 Reddy Atury                                                                        Vital Pharmaceuticals, Inc.    and Non-Disclosure Agreement,       $0.00
                                        (reddy.atury_v@bangenergy.com)
                                                                                                                       dated June 30, 2021
                                                                                                                       Settlement Agreement, dated
3331 Redline Coffee, L.L.C.             2575 48th Street Unit C Boulder CO 80301        Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                       October 28, 2010
                                                                                                                       Settlement and Coexistence
                                        5700 Stirling Road Suite 100 Hollywood FL
3332 Redline Media Group, Inc.                                                          Vital Pharmaceuticals, Inc.    Agreement, dated November 15,       $0.00
                                        33021
                                                                                                                       2012
                                        1151 Harbor Bay Parkway, Suite 126 Alameda                                     Settlement Agreement, dated July
3333 Redline Staffing Inc.                                                              Vital Pharmaceuticals, Inc.                                        $0.00
                                        94502                                                                          15, 2011
                                                                                                                       Elite Team Agreement, dated
3334                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                       November 28, 2018
                                                                                                                       Brand Ambassador Agreement, dated
3335                                                                                    Quash Seltzer, LLC
                                                                                                                       August 08, 2021
                                                                                                                       Second Amended Letter of Intent
                                                                                                                       Relative to Purchase and Installment
                                        Jason Bush 8112 Woodland Center Blvd Tampa
3336 Refresco Beverages US Inc.                                                    Vital Pharmaceuticals, Inc.         of Equipment Refresco Beverages US $0.00
                                        FL 33614-2403
                                                                                                                       Inc's Manufacturing Facility in
                                                                                                                       Wilson, NC, dated January 17, 2019
                                                                                                                       Letter re: VPX - Date Coding / Shelf-
                                        Jason Bush 8112 Woodland Center Blvd Tampa
3337 Refresco Beverages US Inc.                                                    Vital Pharmaceuticals, Inc.         Life Indemnification, dated June 22,    $0.00
                                        FL 33614-2403
                                                                                                                       2017
                                        3200 Park Center Drive Suite 250 Costa Mesa     Vital Pharmaceuticals, Inc.,   Confidentiality Agreement, dated
3338 Regents Capital Corporation                                                                                                                               $0.00
                                        CA 92626                                        d/b/a VPX Sports               January 12, 2016
                                                                                                                       Brand Ambassador (National Team)
3339                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                       Agreement, dated March 26, 2018
                                                                                                                       Trainer Services Agreement, dated
3340                                                                                    Quash Seltzer, LLC
                                                                                                                       November 23, 2021
                                                                                                                       Employment Agreement, dated
3341 Regino Gonzalez Fabelo             5505 NW 7th St W 308 Miami FL 33126             Vital Pharmaceuticals, Inc.                                            $0.00
                                                                                                                       August 16, 2021
                                                                                                                       Writer Agreement, dated February
3342                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                       01, 2009
     Related Services,                                                                                                 CONFIDENTIALITY AND NON-
                                        Attn: Ed Antos 7740 N. 16th                     Vital Pharmaceuticals, Inc.,
3343 Inc. d/b/a Jani-King of Phoenix                                                                                   DISCLOSURE AGREEMENT, dated             $0.00
                                        Street Suite 110 Phoenix AZ 85020               DBA Bang Energy
     (“Related”)                                                                                                       November 07, 2019
                                        13969 Southwest 155th Terrace Miami FL                                         Employment Agreement, dated
3344 Renato Gonzalez Maza Miguel                                                        Vital Pharmaceuticals, Inc.                                            $0.00
                                        33177                                                                          January 04, 2021
                                                                                                                       Employment Agreement, dated July
3345 Rene Otero                         4530 Blush Ct Lorain OH 44053                   Vital Pharmaceuticals, Inc.                                            $0.00
                                                                                                                       27, 2020
       Republic National Distributing                                                                                  Amendment to Exclusive Distribution
3346                                    751 NW 31St Ave Ft Lauderdale FL 33311          Vital Pharmaceuticals, Inc.                                        $0.00
       Company, LLC                                                                                                    Agreement, dated May 05, 2021
       Republic National Distributing                                                                                  Exclusive Distribution Agreement,
3347                                    751 NW 31St Ave Ft Lauderdale FL 33311          Vital Pharmaceuticals, Inc.                                       $0.00
       Company, LLC                                                                                                    dated April 28, 2021
                                        Attn: Joel D. Rossi, President PO Box 143 2903                                 Exclusive Distribution Agreement,
3348 Resort Beverage Co., Inc.                                                         Vital Pharmaceuticals, Inc.                                        $0.00
                                        Route 611 Tannersville PA 18372-0143                                           dated April 09, 2021
                                                                                       Vital Pharmaceuticals, Inc.     Confidentiality and Non-Disclosure
3349 Resource Label Group, LLC          147 Seaboard Lane Franklin TN 37067                                                                               $0.00
                                                                                       dba Bang Energy                 Agreement, dated October 20, 2020
                                                                                       Vital Pharmaceuticals, Inc.,    CONFIDENTIALITY AND NON-
3350 Resource Label Group, LLC (RLG)    147 Seaboard Lane Franklin TN 37067                                                                               $0.00
                                                                                       DBA Bang Energy                 DISCLOSURE AGREEMENT
                                                                                                                       CONFIDENTIALITY AND NON-
       Resource Label                                                                   Vital Pharmaceuticals, Inc.,
3351                                    147 Seaboard Lane Franklin TN 37067                                            DISCLOSURE AGREEMENT, dated        $0.00
       Group, LLC (“RLG”)                                                               DBA Bang Energy
                                                                                                                       October 15, 2020
                                        Admir Dobraca, CEO & President 55 South         Vital Pharmaceuticals, Inc.,   Confidentiality and Non-Disclosure
3352 Retal PA, LLC                                                                                                                                        $0.00
                                        Washington Street Donora PA 15033               d/b/a Bang Energy              Agreement, dated June 04, 2019
                                                                                                                       CONFIDENTIALITY AND NON-
       Retal PA, LLC                    Attn: Admir Dobraca 55 South Washington         Vital Pharmaceuticals, Inc.,
3353                                                                                                                   DISCLOSURE AGREEMENT, dated        $0.00
       ("RPA")                          Street Donora PA 15033                          DBA Bang Energy
                                                                                                                       June 04, 2019
                                                                                                                       STATE OF MAINE COLLECTION
3354 Returnable Services, LLC           150 Mt. Vernon Avenue Augusta ME 04330          Vital Pharmaceuticals, Inc.    SERVICE AGREEMENT, dated May 05, $0.00
                                                                                                                       2017
3355                                                                                    Vital Pharmaceuticals, Inc.    Elite Agreement, dated June 07, 2019
                                                                                                                       Standard Confidentiality and
                                        11620 Wilshire Boulevard Suite 1000 Los
3356 Rexford Industrial Realty, Inc.                                                    Vital Pharmaceuticals, Inc.    Nondisclosure Agreement, dated July $0.00
                                        Angeles CA 90025
                                                                                                                       28, 2017
                                                                                                                       Employment Agreement, dated
3357 Reyes Perez                        4138 Maris Ave Pico Rivera CA 90660             Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                       March 16, 2016
                                 Case 2nd
                                      22-17842-PDR
                                          Floor 98 Glebe Point Road Doc    1658 VitalFiled
                                                                    Glebe Sydney            07/14/23
                                                                                      Pharmaceuticals,        Page 246
                                                                                                       Inc. Confidentiality      of 279
                                                                                                                            and Non-Disclosure
3358 RFA Regulatory Affairs                                                                                                                              $0.00
                                           NSW 2037 Australia                            dba Bang Energy                Agreement, dated August 30, 2018
                                                                                                                        CONFIDENTIALITY AND NON-
       RG Refresco Embotelladora de        San Pablo Xochimehuacan Puebla 72014          Vital Pharmaceuticals, Inc.,
3359                                                                                                                    DISCLOSURE AGREEMENT, dated July $0.00
       México, S.A. de C.V. ("Refresco")   Mexico                                        DBA Bang Energy
                                                                                                                        08, 2021
                                                                                                                        CONFIDENTIALITY AND NON-
       RG Refresco Embotelladora de        De los Palos No. 35 San Pablo Xochimehuacan Vital Pharmaceuticals, Inc.,
3360                                                                                                                    DISCLOSURE AGREEMENT, dated July $0.00
       Mxico, S.A. de C.V. (Refresco)      Puebla Puebla 72014 Mexico                  DBA Bang Energy
                                                                                                                        07, 2021
                                                                                                                        Employment Agreement, dated
3361 Ricardo Almeida Lobato                10044 Burrock Dr Santee CA 92071              Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                                        March 21, 2022
                                                                                                                        Employment Agreement, dated
3362 Ricardo Flores                        25866 West Dunlap Rd Buckeye AZ 85326         Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                                        November 29, 2021
                                           14467 Southwest 139th Ave Cir West Miami FL                                  Employment Agreement, dated
3363 Ricardo Molieri Enrique                                                           Vital Pharmaceuticals, Inc.                                       $0.00
                                           33186                                                                        January 24, 2022
                                                                                                                        Employment Agreement, dated
3364 Ricardo Ortiz                         1120 Ayer Dr Gilroy CA 95020                  Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                                        March 08, 2021
                                                                                                                        Employment Agreement, dated
3365 Richard Clark Thomas                  5 Scarlet Oak Ct Lake Saint Louis MO 63367    Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                                        August 29, 2022
                                                                                                                        Employment Agreement, dated
3366 Richard Davis L                       3725 Briar Ln Orange Park FL 32065            Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                                        November 08, 2021
                                           c/o Barbat, Mansour & Suciu PLLC 6905
                                                                                                                        Settlement Agreement and Mutual
3367 Richard Ferrari                       Telegraph Rd. Suite 115 Bloomfield Hills MI   Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                        Release, dated August 06, 2015
                                           48301
                                           2439 1/2 8th Ave N Uppr St Petersburg FL                                     Employment Agreement, dated
3368 Richard Florance John                                                               Vital Pharmaceuticals, Inc.                                         $0.00
                                           33713                                                                        March 09, 2020
                                                                                                                        Employment Agreement, dated
3369 Richard Heisler Vernon                7225 Hamiltonhills Dr Cincinnati OH 45244     Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                        March 12, 2020
                                                                                                                        Writer Agreement, dated February
3370 Richard J. Bloomer, PhD               6359 Quail Ridge Cove Bartlett TN 38135       Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                        06, 2009
                                           c/o Department of Brain and Cognitive
                                                                                                                        Letter re: terms of agreement for
                                           Sciences Room 46-2005 Massachusetts
3371 Richard J. Wurtman, M.D.                                                            Vital Pharmaceuticals, Inc.    consulting services, dated August 27, $0.00
                                           Institute of Technology 77 Massachusetts
                                                                                                                        2011
                                           Avenue Cambridge MA 02139-4307
                                                                                                                        Employment Agreement, dated
3372 Richard Martinez E                    2540 Country Hills Rd 222 Brea CA 92821       Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                        March 09, 2020
                                                                                                                        Employment Agreement, dated
3373 Richard McGuire Matthew               9018 Suntree Ln Gulfport MS 39503             Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                        February 04, 2019
                                                                                                                        Employment Agreement, dated July
3374 Richard Moreno                        804 West 6th St Pomona CA 91766               Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                        06, 2021
                                           230 East DunNE Ave Apt 221 Morgan Hill CA                                    Employment Agreement, dated
3375 Richard Orta John                                                                   Vital Pharmaceuticals, Inc.                                       $0.00
                                           95037                                                                        November 22, 2021
                                                                                                                        Employment Agreement, dated
3376 Richard Ramos C                       5150 N 99th Ave #3119 Glendale AZ 85305       Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                        August 10, 2020
                                           6099 Overseas Hwy Lot 15 E Marathon FL                                       Employment Agreement, dated
3377 Richard Rodriguez                                                                   Vital Pharmaceuticals, Inc.                                       $0.00
                                           33050                                                                        March 14, 2022
                                                                                                                        Employment Agreement, dated
3378 Richard Sutherland A                  840 SW 80th Ave North Lauderdale FL 33068     Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                        February 08, 2016
                                                                                                                        Employment Agreement, dated
3379 Richard Toledo E                      10401 N Blvd Tampa FL 33613                   Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                        February 25, 2019
                                                                                                                        Employment Agreement, dated June
3380 Richard Wells Dylan                   1767 Foggy Day Dr Middleburg FL 32068         Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                        07, 2021
                                                                                                                        Employment Agreement, dated July
3381 Richard Zalmanowski S                 9915 Mayfield Livonia MI 48150                Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                        27, 2020
     Richmond Communications Group, 2750 Northaven Rd Ste 202 Dallas TX 75229-           Vital Pharmaceuticals, Inc.,   CONFIDENTIALITY AND NON-
3382                                                                                                                                                       $0.00
     Inc (RCG)                      7057                                                 DBA Bang Energy                DISCLOSURE AGREEMENT
                                    c/o General Distributors, Inc. 13895 Fir Street                                     Letter re: Distributor Agreement,
3383 Rick Antonacci                                                                      Vital Pharmaceuticals, Inc.                                       $0.00
                                    Oregon City OR 97045                                                                dated April 12, 2010
                                                                                                                        Employment Agreement, dated
3384 Ricky Millender Lamar                 7940 W Watkins St Phoenix AZ 85043            Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                        January 25, 2021
                                                                                                                        Employment Agreement, dated
3385 Rico Robinson Ray                     13120 WeatherstoNE Dr Spring Hill FL 34609    Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                        January 27, 2020
                                           9920 W Camelback Rd Apt 1048 Phoenix AZ                                      Employment Agreement, dated
3386 Rigoberto Quiroz Jimenez                                                            Vital Pharmaceuticals, Inc.                                       $0.00
                                           85037                                                                        March 16, 2020
                                                                                                                        Employment Agreement, dated
3387 Rikki Romero Timothy                  10634 East Knowles Ave Mesa AZ 85209          Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                        August 29, 2022
                                                                                                                        Employment Agreement, dated
3388 Rita Rendon Serafina                  9821 West Fern Ln Miramar FL 33025            Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                        January 13, 2020
                                                                                                                        Employment Agreement, dated July
3389 Rita Varano A                         2320 T St Richmond VA 23223                   Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                        06, 2021
                                                                                                                        Guaranteed Sales Agreement and
                                           Attn: Manager, Front End Returns 30 Hunter
3390 Rite Aid Corporation                                                                Vital Pharmaceuticals, Inc.    Rite Aid Returns Agreement, dated $0.00
                                           Lane Camp Hill PA 17011
                                                                                                                        February 22, 2008
                                                                                                                        Confidential Settlement Agreement
                                           PO Box 3165                                   Vital Pharmaceuticals, Inc.,
3391 Rite Aid Hdqtrs. Corp.                                                                                             and Mutual Release, dated December $0.00
                                           Harrisburg, PA 17105                          d/b/a VPX/Redline
                                                                                                                        07, 2015
                                 Case 1200
                                      22-17842-PDR                 Doc
                                           Intrepid Avenue, 2nd Floor,      1658
                                                                       Philadelphia,          Filed 07/14/23 Returns
                                                                                                                Page     247 dated
                                                                                                                     Agreement, of 279
                                                                                                                                    August 01,
3392 Rite Aid Headquarters Corp.                                                          Vital Pharmaceuticals, Inc.                                          $0.00
                                           PA 19112                                                                      2019
                                                                                                                         CONFIDENTIALITY AND NON-
                                           2903 9th St West Bradenton Bradenton FL        Vital Pharmaceuticals, Inc.,
3393 Rival Graphix LLC ("Rival Graphix")                                                                                 DISCLOSURE AGREEMENT, dated           $0.00
                                           34205                                          DBA Bang Energy
                                                                                                                         December 21, 2021
                                                                                                                         Authorization to Distribute Products,
3394 RL Distributing Inc.                  5850 Washington Blvd Culver City CA 91730      Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                         dated December 08, 2010
                                                                                                                         Commercial Property Insurance
3395 RLI Insurance Company                 9025 N. Lindbergh Drive, Peoria, IL 61615      Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                         Policy, dated May 31, 2023
       RMC Distributors, LLC d/b/a RMC     1525 N. Newport Road Colorado Springs CO                                      Distributor Agreement, dated
3396                                                                                      Vital Pharmaceuticals, Inc.                                          $0.00
       Distributing Company                80916                                                                         February 21, 2019
                                           85 Chrysanthemum Dr Ormond Beach FL                                           Employment Agreement, dated
3397 Robert Burnett William                                                               Vital Pharmaceuticals, Inc.                                          $0.00
                                           32174                                                                         March 09, 2020
                                                                                                                         Employment Agreement, dated July
3398 Robert Campos                         4577 E 6th Los Angeles CA 90022                Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                         26, 2021
     Robert E. Carter Enterprises
                                           Attn: Mark Carter, Vice President 110 E County                                Distributor Agreement, dated August
3399 Incorporated, d/b/a Superior                                                         Vital Pharmaceuticals, Inc.                                        $0.00
                                           Road 53 Willows CA 95988                                                      21, 2018
     Products Company
     Robert E. Carter Enterprises, Inc     Attn: Mark Carter 110 E County Road 53                                        Exclusive Distribution Agreement,
3400                                                                                      Vital Pharmaceuticals, Inc.                                      $0.00
     dba Superior Products Company         Willows CA 95988                                                              dated December 28, 2020
                                                                                                                         Writer Agreement, dated February
3401 Robert E.C. Wildman, Ph.D.            2211 Ben Franklin Drive Pittsburgh PA 15237    Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                         13, 2009
                                                                                                                         Elite Agreement, dated November
3402                                                                                      Vital Pharmaceuticals, Inc.
                                                                                                                         01, 2021
                                                                                                                         Employment Agreement, dated
3403 Robert Gary R                         708 Myrtle Ave Green Cove Springs FL 32043     Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                         February 17, 2022
                                                                                                                         Employment Agreement, dated
3404 Robert Gocklin Thomas                 401 Illinois Ave St Cloud FL 34769             Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                         December 09, 2019
                                                                                                                         Employment Agreement, dated
3405 Robert Goode III Joseph               1553 Little Rock Blvd Charleston SC 29412      Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                         September 27, 2021
                                                                                                                         Employment Agreement, dated
3406 Robert Johnson Paul                   272 Brookspring Rd Columbia SC 29223           Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                         November 16, 2020
                                                                                                                         Employment Agreement, dated
3407 Robert Kennedy Lewis                  405 Forest Knoll Dr Apt 5 Roseville CA 95678   Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                         March 04, 2019
                                                                                                                         Employment Agreement, dated
3408 Robert Kennedy Lowell                 6010 Drexel Ln Apt 11-08 Fort Myers FL 33919 Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                         September 09, 2019
                                                                                                                         Employment Agreement, dated July
3409 Robert Miller Gary                    5446 Latham Manor Dr Gainesville GA 30506      Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                         11, 2022
                                                                                                                         Mutual Non-Disclosure Agreement,
3410 Robert Reiset & Co., Inc.             725 Dedham Street Canton MA 02021              Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                         dated August 09, 2019
                                                                                                                         Employment Agreement, dated
3411 Robert Richards Jasen                 6123 113th Terrace East Parrish FL 34219       Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                         August 22, 2022
                                           220 SW 116th Av Unit 15-308 Pembroke Pines                                    Employment Agreement, dated
3412 Robert Ruiz Antonio                                                              Vital Pharmaceuticals, Inc.                                          $0.00
                                           FL 33025                                                                      January 02, 2020
                                           4916 Olaughlin Ct Southwest Mableton GA                                       Employment Agreement, dated
3413 Robert Sullivan James                                                            Vital Pharmaceuticals, Inc.                                          $0.00
                                           30126                                                                         January 13, 2020
                                                                                                                         Employment Agreement, dated
3414 Roberto Ceniceros Carlos              10546 Oxnard St Los Angeles CA 91606           Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                         January 31, 2022
                                                                                                                         Employment Agreement, dated April
3415 Roberto Enriquez                      16194 North Desert Sage St Surprise AZ 85378 Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                         06, 2020
                                                                                                                         Employment Agreement, dated
3416 Roberto Lamboy                        157 Tracy Cir Haines City FL 33844             Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                         November 30, 2020
                                                                                                                         Employment Agreement, dated June
3417 Roberto Perez                         10218 Lev Ave Arleta CA 91331                  Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                         14, 2021
                                                                                                                         Distributor Agreement, dated
3418 Rocco J. Testani Inc.                 29 Phelps Street Binghamton NY 13901           Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                         January 15, 2019
                                                                                                                         Brand Ambassador (Select Team)
3419                                                                                      Vital Pharmaceuticals, Inc.    Agreement, dated December 09,
                                                                                                                         2017
                                                                                                                         Employment Agreement, dated
3420 Rodney Brown James                    5550 Twin Oak Dr Douglasville GA 30135         Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                         January 31, 2022
                                                                                                                         Employment Agreement, dated
3421 Rodney McComb Verl                    1083 South 224th Ln Buckeye AZ 85326           Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                         March 02, 2020
                                                                                                                         Employment Agreement, dated
3422 Rodney Roberts Ludell                 2597 Carol Cir Douglasville GA 30135           Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                         March 28, 2022
                                           1337 Brandy Lake View Cir Winter Garden FL                                    Employment Agreement, dated
3423 Rodney Rooplal                                                                       Vital Pharmaceuticals, Inc.                                      $0.00
                                           34787                                                                         August 09, 2021
                                                                                                                         Brand Ambassador Agreement, dated
3424                                                                                      Quash Seltzer, LLC
                                                                                                                         April 14, 2021
                                                                                                                         Employment Agreement, dated
3425 Rodolfo Gaytan Donosa                 40075 West Robbins Dr Maricopa AZ 85138        Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                         March 18, 2019
                                           511 Southeast 5th Ave Apt 2415 Fort                                           Employment Agreement, dated June
3426 Rodrigo Rodriguez Gonzalez Alonso                                                    Vital Pharmaceuticals, Inc.                                      $0.00
                                           Lauderdale FL 33301                                                           28, 2021
                                           Newport Trial Group, 4100 Newport Place,
3427 Roger Harris                                                                         Vital Pharmaceuticals, Inc.    Agreement, dated August 04, 2011     $0.00
                                           Suite 800, Newport Beach CA 92660
                                  Case 22-17842-PDR                   Doc 1658             Filed 07/14/23 Employment
                                                                                                            Page 248       of 279
                                                                                                                     Agreement, dated April
3428 Roger Jean-Louis                   6325 Seminole Terrace Margate FL 33063         Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                      19, 2021
                                                                                                                      Employment Agreement, dated
3429 Roger Zaldivar                     510 NW 7th Ave Cape Coral FL 33993             Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                      February 08, 2021
       ROGERS COLISEUM 52ND STREET,                                                                                   Lease Agreement, dated February 01,
3430                                    155 East 55 St 5th Floor New York NY 10022     Vital Pharmaceuticals, Inc.                                        $0.00
       LLC                                                                                                            2020
                                        Attn: Clement Sayers 65 Roberts Street E                                      Distributor Agreement, dated August
3431 Rogo Distributors                                                                 Vital Pharmaceuticals, Inc.                                        $0.00
                                        Hartford CT 06108                                                             31, 2018
                                        2110 Artesia Blvd #B137 Redondo Beach, CA                                     Employment Acknowledgement
3432 Roland M. Esparza                                                                 Vital Pharmaceuticals, Inc.                                        $0.00
                                        90278 (310) 502-1037                                                          Agreement, dated March 05, 2012
                                        Attn: Ronny Shiflet 4709 Ecton Dr. Marietta GA                                Distributor Agreement, dated
3433 Ronny’s a’la Carte, Inc.                                                          Vital Pharmaceuticals, Inc.                                        $0.00
                                        30066                                                                         December 01, 2007
                                                                                                                      Employment Agreement, dated June
3434 Rosalio Montez Rene-Paul           419 Sandy Shores Dr Glenn Heights TX 75154     Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                      29, 2020
                                                                                                                      Select Agreement, dated December
3435                                                                                   Quash Seltzer, LLC
                                                                                                                      01, 2021
                                                                                                                      Affiliate Member Agreement, dated
3436                                                                                   Quash Seltzer, LLC
                                                                                                                      September 17, 2021
                                                                                                                      Elite Agreement, dated November
3437                                                                                   Vital Pharmaceuticals, Inc.
                                                                                                                      01, 2021
                                                                                                                      Elite Agreement, dated November
3438                                                                                   Quash Seltzer, LLC
                                                                                                                      01, 2021
                                        31500 Northwestern HWY STE 300 Farmington                                     Conditional Delivery Agreement,
3439 RouteOne                                                                     Vital Pharmaceuticals, Inc.                                             $0.00
                                        Hills MI 48334                                                                dated February 12, 2021
                                                                                                                      Employment Agreement, dated April
3440 Roy Bryn A                         3420 Goldenhills St Deltona FL 32738           Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                      19, 2021
                                                                                                                      Employment Agreement, dated May
3441 Roy Roberts Michael                4323 East Gatewood Rd Phoenix AZ 85050         Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                      02, 2022
                                                                                       Vital Pharmaceuticals, Inc.,   CONFIDENTIALITY AND NON-
3442 RSM US LLP (RSM)                   80 State Street Albany NY 12207-2543                                                                              $0.00
                                                                                       DBA Bang Energy                DISCLOSURE AGREEMENT
                                                                                                                      Employment Agreement, dated June
3443 Ruben Franco JR                    7622 West College Dr Phoenix AZ 85033          Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                      15, 2020
                                                                                                                      Employment Agreement, dated
3444 Ruben Hernandez                    20173 West Tonto St Buckeye AZ 85326           Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                      February 05, 2020
                                                                                                                      Employment Agreement, dated May
3445 Ruben Salazar                      818 S Flower St Inglewood CA 90301             Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                      28, 2019
                                                                                                                      Employment Agreement, dated
3446 Ruben Santana                      1016 North 191St Ave Buckeye AZ 85326          Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                      February 24, 2020
                                                                                                                      Employment Agreement, dated
3447 Ruben Villalobos Jr Arturo         9338 Autumn Storm San Antonio TX 78249         Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                      March 30, 2020
                                                                                                                      Select Agreement, dated November
3448                                                                                   Quash Seltzer, LLC
                                                                                                                      01, 2021
                                                                                                                      CONFIDENTIALITY AND NON-
       Runyon Insurance Services, LLC   8905 W Post Road Suite 210 Las Vegas NV        Vital Pharmaceuticals, Inc.,
3449                                                                                                                  DISCLOSURE AGREEMENT, dated         $0.00
       ("RIS")                          89148                                          DBA Bang Energy
                                                                                                                      June 23, 2020
                                                                                                                      MUTUAL NON-DISCLOSURE
       Runyon Insurance Services, LLC   8905 W Post Road Suite 210 Las Vegas NV        Vital Pharmaceuticals, Inc.,
3450                                                                                                                  AGREEMENT, dated December 12,       $0.00
       (RIS)                            89148                                          DBA Bang Energy
                                                                                                                      2019
                                                                                                                      Release and Agreement, dated May
3451 Russ Phillip                       700 Enterprise Dr. Oak Brook IL 60523          Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                      06, 2008
                                        410 Southeast 16th Ct Apt 311 Fort Lauderdale                                 Employment Agreement, dated
3452 Rustam Saitov M                                                                  Vital Pharmaceuticals, Inc.                                         $0.00
                                        FL 33316                                                                      August 15, 2022
                                                                                                                      Brand Ambassador (National Team)
3453                                                                                   Vital Pharmaceuticals, Inc.
                                                                                                                      Agreement, dated July 19, 2017
                                                                                                                      Vital Pharmaceuticals, Inc., DBA
                                        Attn: Dave Palumbo 3708
3454 RX Muscle, Inc.                                                                   Vital Pharmaceuticals, Inc.    VPX/Redline, DBA VPX Sports, dated $0.00
                                        Somerset Drive Seaford NY 11783
                                                                                                                      June 07, 2011
                                                                                                                      Advertising and Consulting
                                        Attn: Dave Palumbo 3708
3455 RX Muscle, Inc.                                                                   Vital Pharmaceuticals, Inc.    Agreement, dated November 03,       $0.00
                                        Somerset Drive Seaford NY 11783
                                                                                                                      2010
                                                                                                                      Employment Agreement, dated
3456 Ryan Broadbent Marshall            9745 East Empress Ave Mesa AZ 85208            Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                      January 06, 2020
                                                                                                                      Employment Agreement, dated
3457 Ryan Cobb Hawkins                  1361 Sky Ridge Ct San Marcos CA 92078          Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                      October 15, 2018
                                                                                                                      Employment Agreement, dated
3458 Ryan Garczynski Cameron            30 Beauregard Dr Spencer NC 28159              Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                      December 27, 2018
                                                                                                                      Elite Agreement, dated September
3459                                                                                   Vital Pharmaceuticals, Inc.
                                                                                                                      05, 2019
                                                                                                                      Absolute and Perpetual Release and
                                                                                                                      Consent to Participate in Research
3460 Ryan Owoc                          11807 SW 47 Ct Cooper City FL 33330            Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                      Product Testing, dated January 14,
                                                                                                                      2010
                                                                                                                      Employment Agreement, dated
3461 Ryan Owoc                          11807 SW 47 Ct Cooper City FL 33330            Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                      August 24, 2020
                                                                                                                      Employment Agreement, dated June
3462 Ryan Rutherford Scott              1837 N 209th Ave Buckeye AZ 85396              Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                      29, 2020
                                  Case 22-17842-PDR                    Doc 1658            Filed 07/14/23 Employment
                                                                                                            Page 249       of 279
                                                                                                                     Agreement, dated
3463 Ryan Thornlow Joseph                5575 Barney Dr Dublin OH 43016                 Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                       November 16, 2009
                                                                                                                       Employment Agreement, dated April
3464 Ryan Wellbrock Coulter              5902 Lomond Dr San Diego CA 92120              Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                       24, 2020
                                                                                                                       Employment Agreement, dated
3465 Rylan Lashua Thomas                 13021 Firth Ct Apt A-25-B Tampa FL 33612       Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                       December 09, 2019
                                                                                                                       Distributor Agreement, dated
3466 S&S Distributing, Inc.              2000 Riley Road Sparta WI 54656                Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                       October 08, 2018
                                         Attn: David Schamhofer 2000 Riley Road Sparta                                 Exclusive Distribution Agreement,
3467 S. & S. Distributing, Inc.                                                        Vital Pharmaceuticals, Inc.                                        $0.00
                                         WI 54656                                                                      dated March 03, 2021
                                                                                                                       Agreement and Mutual Limited
3468 S.A.N. Nutrition Corporation        716 N Ventura Road Oxnard CA 93030             Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                       Release, dated July 03, 2007
                                                                                                                        CONFIDENTIALITY AND NON-
                                         3031 Tisch Way, 110 Plaza West San Jose CA     Vital Pharmaceuticals, Inc.,
3469 SA Technologies Inc (SAT) ("SAT")                                                                                 DISCLOSURE AGREEMENT, dated        $0.00
                                         95128                                          DBA Bang Energy
                                                                                                                       January 27, 2022
                                                                                                                        CONFIDENTIALITY AND NON-
                                         3031 Tisch Way, 110 Plaza West San Jose CA     Vital Pharmaceuticals, Inc.,
3470 SA Technologies Inc (SAT) (“SAT”)                                                                                 DISCLOSURE AGREEMENT, dated        $0.00
                                         95128                                          DBA Bang Energy
                                                                                                                       January 27, 2022
                                                                                                                       Employment Agreement, dated
3471 Sabrina Diamond-Ortiz Victoria      15855 Southwest 143rd Path Miami FL 33177      Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                       November 16, 2015
                                        Attn: Gary Saccani 2600 5th Street Sacramento                                  Exclusive Distribution Agreement,
3472 Saccani Distributing Company                                                     Vital Pharmaceuticals, Inc.                                         $0.00
                                        CA 95818                                                                       dated June 15, 2021
                                        Attn: Gary Saccani 2600 5th Street Sacramento                                  DISTRIBUTOR AGREEMENT, dated
3473 Saccani Distributing Company, Inc.                                               Vital Pharmaceuticals, Inc.                                         $0.00
                                        CA 95818                                                                       May 21, 2007
                                                                                                                       Continuing Commodity Guaranty and
                                         5918 Stoneridge Mall Road Pleasanton CA
3474 Safeway Inc.                                                                       Vital Pharmaceuticals, Inc.    Indemnity Agreement, dated January $0.00
                                         94588-3229
                                                                                                                       25, 2010
                                                                                                                       Distribution Interconnection
       Salt River Project Agricultural
3475                                     C - 160 3230 E BRdway Rd Phoenix AZ 85040      Vital Pharmaceuticals, Inc.    Agreement, dated November 12,      $0.00
       Improvement and Power District
                                                                                                                       2019
                                         902 Gembler Rd Apt 1207 San Antonio TX                                        Employment Agreement, dated July
3476 Salvador Vela III                                                                  Vital Pharmaceuticals, Inc.                                       $0.00
                                         78219                                                                         25, 2022
                                                                                                                       Brand Ambassador (National Team)
3477                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                       Agreement, dated January 10, 2018
                                                                                                                       Affiliate Member Agreement, dated
3478                                                                                    Quash Seltzer, LLC
                                                                                                                       September 07, 2021
                                                                                                                       Model Release and Affidavit, dated
3479                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                       July 01, 2011
                                                                                                                       Employment Agreement, dated
3480 Samantha Deutch Ellen               856 Coach HouSE Rd Henderson NV 89002          Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                       September 20, 2021
                                                                                                                       Brand Ambassador Agreement, dated
3481                                                                                    Quash Seltzer, LLC
                                                                                                                       October 14, 2021
                                                                                                                       Affiliate Member Agreement, dated
3482                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                       September 07, 2021
                                                                                                                       Affiliate Member Agreement, dated
3483                                                                                    Quash Seltzer, LLC
                                                                                                                       September 07, 2021
                                                                                                                       Model Release and Affidavit, dated
3484                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                       September 15, 2011
                                                                                                                       Trainer Services Agreement, dated
3485                                                                                    Quash Seltzer, LLC
                                                                                                                       November 24, 2021
                                                                                                                       Employment Agreement, dated
3486 Samantha Villegas Donette           108 Reserve Cir Apt 108 Oviedo FL 32765        Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                       January 31, 2022
                                                                                                                       Brand Ambassador Agreement, dated
3487                                                                                    Quash Seltzer, LLC
                                                                                                                       October 14, 2021
                                                                                                                       Employment Agreement, dated
3488 Samuel Jimenez                      6244 1/2 Wilcox Ave Bell CA 90201              Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                       November 30, 2021
                                                                                                                       Employment Agreement, dated
3489 Samuel Parrish Robert               9324 Stanmoor Ln Jacksonville FL 32244         Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                       February 08, 2021
                                                                                                                       Employment Agreement, dated
3490 Samuel Reichley Griffith            3008 West Las Palmaritas Dr Phoenix AZ 85051 Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                       September 19, 2018
                                                                                                                       Employment Agreement, dated July
3491 Samuel Rodriguez                    4511 SW 33rd Dr West Park FL 33023             Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                       28, 2022
                                         Greg Sandefur 2828 Center Port Circle
3492 Sand Dollar Distributors, LLC                                                      Vital Pharmaceuticals, Inc.    Distributor Agreement                 $0.00
                                         Pompano Beach FL 33069
                                                                                                                       Letter re Sand Dollar Proposals for
                                         Greg Sandefur 2828 Center Port Circle
3493 Sand Dollar Distributors, LLC                                                      Vital Pharmaceuticals, Inc.    Distribution Agreement/ Settlement    $0.00
                                         Pompano Beach FL 33069
                                                                                                                       Proposal, dated February 04, 2011
                                                                                                                       Retail Installment Sale Contract -
       Santander Consumer USA Inc. DBA
3494                                   1601 Elm Street, Suite 800 Dallas TX 75201       Vital Pharmaceuticals, Inc.    Simple Finance Charge (with           $0.00
       Chrysler Capital
                                                                                                                       Arbitration Provision)
     Santorian, LLC d/b/a                                                                                               CONFIDENTIALITY AND NON-
                                                                                        Vital Pharmaceuticals, Inc.,
3495 LegalBillReview.com (Santorian,     11 Bala Avenue Bala Cynwyd PA 19004                                           DISCLOSURE AGREEMENT, dated           $0.00
                                                                                        DBA Bang Energy
     LLC)                                                                                                              October 04, 2021
                                         Attn: Christopher Sanzo PO Box 396 Olean NY                                   Distributor Agreement, dated
3496 Sanzo Beverage Co. Inc                                                          Vital Pharmaceuticals, Inc.                                             $0.00
                                         14760                                                                         November 07, 2018
                                 Case 22-17842-PDR                       Doc 1658            Filed 07/14/23 Trainer
                                                                                                               Page       250
                                                                                                                    Services     of 279
                                                                                                                             Agreement, dated
3497                                                                                      Quash Seltzer, LLC
                                                                                                                        December 29, 2021
3498                                                                                      Vital Pharmaceuticals, Inc.   Elite Agreement, dated July 19, 2019
                                                                                                                          Elite Agreement, dated December 01,
3499                                                                                      Quash Seltzer, LLC
                                                                                                                          2021
                                                                                                                          Elite Team Agreement, dated March
3500                                                                                         Vital Pharmaceuticals, Inc.
                                                                                                                          14, 2017
                                                                                                                          Employment Agreement, dated July
3501   Sarah Houx Marie                     2 North Slope Ln Pomona CA 91766                 Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                          26, 2021
                                            10025 Boca Vue Dr Apt 208 Boca Raton FL                                       Employment Agreement, dated
3502   Sarah Kacena Maria                                                                    Vital Pharmaceuticals, Inc.                                      $0.00
                                            33428                                                                         August 23, 2021
                                                                                                                          Trainer Services Agreement, dated
3503                                                                                         Quash Seltzer, LLC
                                                                                                                          September 09, 2021
                                                                                                                          Brand Ambassador (Select Team)
3504                                                                                         Vital Pharmaceuticals, Inc.
                                                                                                                          Agreement, dated June 21, 2018
                                                                                                                          Brand Ambassador (National Team)
3505                                                                                         Vital Pharmaceuticals, Inc.
                                                                                                                          Agreement, dated June 03, 2018
                                                                                                                          Select Agreement; Contact
                                                                                                                          information Sheet, ACH Transfer
3506                                                                                         Vital Pharmaceuticals, Inc.
                                                                                                                          Authorization Form, and W9, dated
                                                                                                                          December 01, 2021
                                                                                                                          Affiliate Member Agreement; Contact
                                                                                                                          information Sheet, ACH Transfer
3507                                                                                         Vital Pharmaceuticals, Inc.
                                                                                                                          Authorization Form, and W9, dated
                                                                                                                          January 28, 2021
                                                                                                                          Affiliate Member Agreement, dated
3508                                                                                         Quash Seltzer, LLC
                                                                                                                          September 16, 2021
                                                                                                                          CONFIDENTIALITY AND NON-
       SCG & Associates, Inc. D/B/A Team 4001 S.W. 47TH Avenue Suite 202 Davie FL            Vital Pharmaceuticals, Inc.,
3509                                                                                                                      DISCLOSURE AGREEMENT, dated         $0.00
       SCG                                  33314                                            d/b/a Bang Energy ("Bang")
                                                                                                                          2020
       SCG &                                                                                                              CONFIDENTIALITY AND NON-
                                            4001 S.W. 47TH Avenue Suite 202 Davie FL         Vital Pharmaceuticals, Inc.,
3510   Associates, Inc. D/B/A Team SCG                                                                                    DISCLOSURE AGREEMENT, dated         $0.00
                                            33314                                            DBA Bang Energy
       ("Team SCG")                                                                                                       October 27, 2020
                                            Attn: Charles H. Schilling II 2901 Moss Street                                Distributor Agreement, dated
3511   Schilling Distributing Company LLC                                                    Vital Pharmaceuticals, Inc.                                      $0.00
                                            Lafayette LA 70501                                                            November 17, 2017
                                            Jeremy Theriot 2901 Moss Street Lafayette LA                                  DISTRIBUTOR AGREEMENT, dated
3512   Schilling Distributing Company, Inc.                                                  Vital Pharmaceuticals, Inc.                                      $0.00
                                            70501                                                                         2012
                                            Attn: Jeremy Theriot 2901 Moss St. Lafayette                                  Exclusive Distributor Agreement,
3513   Schilling Distributing Company, Inc.                                                  Vital Pharmaceuticals, Inc.                                      $0.00
                                            LA 70501                                                                      dated November 30, 2022
                                            3101 PACKERLAND DR / GREEN BAY WI 54313-
3514   Schneider National Carriers, Inc.                                                     Vital Pharmaceuticals, Inc. Logistics / Storage Agreement        $0.00
                                            6187 / US
                                                                                                                          Distributor Agreement, dated August
3515   Schott Distributing Company, Inc. 6735 Hwy 14 E. Rochester MN 55904                   Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                          02, 2018
                                                                                                                          CONFIDENTIALITY AND NON-
                                                                                             Vital Pharmaceuticals, Inc.,
3516   Scientific Editing                   4978 Yonge St Toronto ON M2N 7GE CA                                           DISCLOSURE AGREEMENT, dated         $0.00
                                                                                             d/b/a Bang Energy ("Bang")
                                                                                                                          October 05, 2021
                                                                                                                          CONFIDENTIALITY AND NON-
                                                                                             Vital Pharmaceuticals, Inc.,
3517   Scotlynn USA Division                9597 Gulf Research Lane Fort Myers FL 33912                                   DISCLOSURE AGREEMENT, dated         $0.00
                                                                                             d/b/a Bang Energy ("Bang")
                                                                                                                          October 28, 2021
                                                                                                                          Elite Agreement, dated November
3518                                                                                         Quash Seltzer, LLC
                                                                                                                          01, 2021
                                                                                                                          Letter re: Outstanding Balance owed
                                            2300 Pellissier Place City of Industry CA 90601-                              to Vital Pharmaceuticals, Inc. by 5
3519   Scott J. Therrien                                                                     Vital Pharmaceuticals, Inc.                                      $0.00
                                            1503                                                                          Star Beverage, Inc., dated May 08,
                                                                                                                          2012
                                                                                                                          Employment Agreement, dated
3520   Scott Kacherian Thomas               24 Lebel Way Rowley MA 1969                      Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                          March 14, 2022
                                                                                                                          Lease Agreement, dated June 26,
3521   Scott Laboratories, Inc.             1480 Cader Lane Petaluma CA 94954                Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                          2019
                                                                                                                          Lease Agreement, dated September
3522   Scott Laboratories, Inc.             1480 Cader Lane Petaluma CA 94954                Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                          27, 2018
                                            c/o SilverCap Partners LLC Attn: Trey Dempsey
                                                                                                                          Lease Agreement, dated August 01,
3523   SCP-G Parker Drive LLC               6101 Carnegie Boulevard, Suite 425 Charlotte Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                          2019
                                            NC 28209
                                                                                                                        Confidentiality & Non-Circumvention
3524 SDC Nutrition                         170 Industry Drive Pittsburgh PA 15275         Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                        Agreement, dated February 12, 2015
                                           Attn: Tom Hcaley 131 Westfield Ave Clark NJ                                  Contract Broker Commission
3525 Seaboard Marketing                                                                   Vital Pharmaceuticals, Inc.                                          $0.00
                                           07066                                                                        Agreement, dated October 05, 2015
                                                                                                                        Employment Agreement, dated
3526 Sean Davis A                          158 Birdfield Ct St Augustine FL 32092         Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                        January 18, 2021
                                                                                                                        Employment Agreement, dated
3527 Sean Delveaux Charles                 10139 Baronne Cir Dallas TX 75218              Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                        March 25, 2019
                                           3183 Gus Robinson Rd Powder Springs GA                                       Employment Agreement, dated June
3528 Sean Drake Christopher                                                               Vital Pharmaceuticals, Inc.                                          $0.00
                                           30127                                                                        03, 2019
                                 Case 2207
                                      22-17842-PDR                 Doc 1658
                                           Southwest 1St Ct Fort Lauderdale FL               Filed 07/14/23 Employment
                                                                                                              Page 251       of 279
                                                                                                                       Agreement, dated
3529 Sean Eubanks C                                                                       Vital Pharmaceuticals, Inc.                                      $0.00
                                           33312                                                                        September 11, 2019
                                                                                                                        Employment Agreement, dated
3530 Sean Harrum Michael                   8520 W Palm Ln 1004 Phoenix AZ 85037           Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                        February 10, 2020
                                                                                                                        Employment Agreement, dated July
3531 Sean Moritz Patrick                   200 Carlisle Dr Miami Springs FL 33166         Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                        01, 2019
                                                                                                                        Consent Agreement, dated March 31,
3532 Seattle Bike Supply, Inc.             7620 South 192nd Kent WA 98032                 Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                        2008
                                                                                                                        Distributor Agreement, dated June
3533 Seaview Beverage Inc.                 195 Lehigh Ave Lakewood NJ 08701               Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                        20, 2019
                                           195 LEHIGH AVE / LAKEWOOD NJ 08701-4555 /                                    Exclusive Distribution Agreement,
3534 Seaview Beverage Inc.                                                           Vital Pharmaceuticals, Inc.                                           $0.00
                                           US                                                                           dated October 17, 2022
                                                                                                                        Trainer Services Agreement, dated
3535                                                                                      Quash Seltzer, LLC
                                                                                                                        October 18, 2021
                                                                                                                        Employment Agreement, dated
3536 Sebastian Florez                      350 Lakeview Dr 101 Weston FL 33326            Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                        February 11, 2019
                                           Attn: Joe Murphy 807 SW 1st St Suite 21                                      Contract Broker Commission
3537 Select-Sales and Marketing Group                                                     Vital Pharmaceuticals, Inc.                                      $0.00
                                           Bentonville AR 72712                                                         Agreement, dated October 05, 2015
                                                                                                                        Employment Agreement, dated
3538 Selin Mathai T                        11912 NW 12th St Pembroke Pines FL 33026       Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                        November 23, 2020
                                           Attn: Robert P. Seltzer 4117 Wagon Trail Ave                                 Purchase Agreement and Joint
3539 Seltzer Holdings LLC                                                                 Vital Pharmaceuticals, Inc.                                      $0.00
                                           Las Vegas NV 89118                                                           Escrow Instructions
                                                                                                                        Distributor Agreement, dated
3540 Senpa Beverage Corp.                  2085 Lake Road Elmira NY 14905                 Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                        September 12, 2018
                                           Matt Kirchner 2740 Charleston Road Lancaster                                 Exclusive Distribution Agreement,
3541 Serena A Kirchner, Inc                                                             Vital Pharmaceuticals, Inc.                                        $0.00
                                           PA 17603                                                                     dated January 27, 2021
                                           Attn: Matt Kirchner 2740 Charlestown Rd                                      Exclusive Distribution Agreement,
3542 Serena A. Kirchner Inc                                                             Vital Pharmaceuticals, Inc.                                        $0.00
                                           Lancaster PA 17603                                                           dated January 27, 2021
                                                                                                                        Employment Agreement, dated
3543 Sergio Rojo Alejandro Arzate          3514 West Chambers St Phoenix AZ 85041         Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                        March 14, 2022
                                                                                                                        Elite Team Agreement, dated March
3544                                                                                      Vital Pharmaceuticals, Inc.
                                                                                                                        01, 2019
       Servicio Automotriz Heca, S.A. DE   Avenida Paseo De La Reforma 42 Centro          Vital Pharmaceuticals, Inc.   Confidentiality and Non-Disclosure
3545                                                                                                                                                       $0.00
       C.V.                                Cuauhtemoc Ciudad de Mexcio 06040 MX           dba Bang Energy               Agreement, dated January 07, 2022
                                                                                                                        Employment Agreement, dated June
3546 Seth Strasburg Ammon                  708 N 153rd Ave Goodyear AZ 85338              Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                        07, 2022
                                         Super Park Precinct, Corner of Brollo & Barbara
                                                                                         Vital Pharmaceuticals, Inc., Confidentiality & Non-Disclosure
3547   SG Gateway Services               Roads, Isando, Kempton Park, Johannesburg                                                                     $0.00
                                                                                         d/b/a Bang Energy ("Bang") Agreement, dated July 15, 2019
                                         South Africa
                                                                                                                      CONFIDENTIALITY AND NON-
       Shaanxi Cuiying Biological        Suite 1-602 Building 4 Jiaheyuan North Houji    Vital Pharmaceuticals, Inc.,
3548                                                                                                                  DISCLOSURE AGREEMENT, dated      $0.00
       Company, Ltd                      Road Yangling City Shaanxi CN                   d/b/a Bang Energy ("Bang")
                                                                                                                      January 26, 2022
                                                                                                                      Employment Agreement, dated
3549   Shae Jenkins Lamont               707 East Eason Ave Buckeye AZ 85326             Vital Pharmaceuticals, Inc.                                   $0.00
                                                                                                                      March 01, 2019
                                                                                                                      Employment Agreement, dated
3550   Shahina Rashid                    11911 SW 49 Ct Cooper City FL 33330             Vital Pharmaceuticals, Inc.                                   $0.00
                                                                                                                      September 05, 2019
                                                                                                                      CONFIDENTIALITY AND NON-
       Shandong Gaotang JBS                                                              Vital Pharmaceuticals, Inc.,
3551                                     Gaotang County Liaocheng City Shandong CN                                    DISCLOSURE AGREEMENT, dated      $0.00
       Bioengineering Co., Ltd.                                                          d/b/a Bang Energy ("Bang")
                                                                                                                      June 09, 2019
                                                                                                                      Employment Agreement, dated June
3552   Shane Darrow Graham               5984 Kingslake Dr Hilliard OH 43026             Vital Pharmaceuticals, Inc.                                   $0.00
                                                                                                                      07, 2021
                                                                                                                      CONFIDENTIALITY AND NON-
                                                                                         Vital Pharmaceuticals, Inc.,
3553   Shanghai Freemen Europe B.V.      Lange Kleiweg 52H Rijswijk 2288GK NL                                         DISCLOSURE AGREEMENT, dated      $0.00
                                                                                         d/b/a Bang Energy ("Bang")
                                                                                                                      December 02, 2020
                                                                                                                      CONFIDENTIALITY AND NON-
                                         Lane 633 Lianxing Road Pudong Shanghai          Vital Pharmaceuticals, Inc.,
3554   Shanghai Handim Chemical Co., LTD                                                                              DISCLOSURE AGREEMENT, dated July $0.00
                                         201201 CN                                       d/b/a Bang Energy ("Bang")
                                                                                                                      30, 2021
                                                                                                                      CONFIDENTIALITY AND NON-
                                         Building 7, No.8868 Chuannanfeng Road           Vital Pharmaceuticals, Inc.,
3555   Shanghai Kenda Textile Co. Ltd                                                                                 DISCLOSURE AGREEMENT, dated      $0.00
                                         Fengcheng Town Fengxian Shanghai CN             d/b/a Bang Energy ("Bang")
                                                                                                                      2020
                                                                                                                      Employment Agreement, dated
3556   Shannon Troglia Kyle              1670 W Gunstock Loop Chandler AZ 85286          Vital Pharmaceuticals, Inc.                                   $0.00
                                                                                                                      October 21, 2019
                                                                                                                      Elite Team Agreement, dated June
3557                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                      05, 2017
                                                                                                                      Employment Agreement, dated July
3558   Shatoya Moreland N                707 West Alverdez Ave Clewiston FL 33440        Vital Pharmaceuticals, Inc.                                   $0.00
                                                                                                                      08, 2019
                                         122 Delaware St Apt 1301 Kansas City MO                                      Employment Agreement, dated
3559   Shaun Capilitan Phillip Java                                                      Vital Pharmaceuticals, Inc.                                   $0.00
                                         64105                                                                        February 07, 2022
                                                                                                                      Employment Agreement, dated
3560   Shaun Leftwich M                  3320 Roundabout Dr Middleburg FL 32068          Vital Pharmaceuticals, Inc.                                   $0.00
                                                                                                                      August 03, 2020
                                         3244 Northwest 84th Ave Apt 410 Sunrise FL                                   Employment Agreement, dated
3561   Shawn Storey Patrick                                                              Vital Pharmaceuticals, Inc.                                   $0.00
                                         33351                                                                        March 28, 2017
                                                                                                                      Employment Agreement, dated
3562   Shawn Walker Allen                PO Box 853 Newberry FL 32669                    Vital Pharmaceuticals, Inc.                                   $0.00
                                                                                                                      February 07, 2022
                                                                                                                      Exclusive Promotional Modeling
3563                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                      Agreement, dated March 10, 2016
                                  Case 22-17842-PDR                      Doc 1658            Filed 07/14/23 Exclusive
                                                                                                               Page      252 ofModeling
                                                                                                                      Promotional 279
3564                                                                                      Vital Pharmaceuticals, Inc.   Agreement, dated November 08,
                                                                                                                        2014
                                            Attn: General Counsel 5700 Sixth Avenue
3565 Sheetz, Inc.                                                                         Vital Pharmaceuticals, Inc.   Vendor Master Agreement            $0.00
                                            Altoona PA 16602
                                                                                                                 Brand Ambassador Agreement, dated
3566                                                                                Quash Seltzer, LLC
                                                                                                                 April 01, 2021
                                                                                                                 Employment Agreement, dated
3567   Shelbi Meek Leneigh             2710 Grand Ave Unit 63 San Diego CA 92109    Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                 November 30, 2020
                                                                                                                 Exclusive Promotional Modeling
3568                                                                                Vital Pharmaceuticals, Inc. Agreement, dated September 07,
                                                                                                                 2016
                                                                                                                 Cooler Agreement, dated February
3569   Shell                           2020 S State Rd 7 Ft Lauderdale FL 33301     Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                 15, 2016
                                                                                                                 Cooler Agreement, dated January 18,
3570   Shell/Chombliss Ltd             1410 N Park Dr Weston FL 33326               Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                 2016
                                                                                                                 Severance Agreement and General
3571   Shelly Moore                    15821 Huntridge Road Davie FL 33331          Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                 Release, dated May 02, 2014
                                                                                                                 Employment Agreement, dated
3572   Shenijua Johnson Nicole         1805 Sundance Dr St Cloud FL 34771           Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                 November 30, 2018
                                       Bantian Group commercial center, 4/F Bantian                              CONFIDENTIALITY AND NON-
       Shenzhen Kinggaund Namplate Co.                                              Vital Pharmaceuticals, Inc.,
3573                                   Town Longgang Dafapu community Shenzhen                                   DISCLOSURE AGREEMENT, dated         $0.00
       Ltd                                                                          d/b/a Bang Energy ("Bang")
                                       CN                                                                        2020
                                       Bantian Group commercial center, 4/F Bantian                              CONFIDENTIALITY AND NON-
       Shenzhen Kinggaund Namplate Co.                                              Vital Pharmaceuticals, Inc.,
3574                                   Town Longgang Dafapu community Shenzhen                                   DISCLOSURE AGREEMENT, dated July $0.00
       Ltd                                                                          d/b/a Bang Energy ("Bang")
                                       CN                                                                        15, 2020
                                                                                                                 Employment Agreement, dated April
3575   Shereen Grant Frances           7415 NW 33 St # 1101 Hollywood FL 33024      Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                 25, 2022
                                       1666 Kennedy Causeway Suite 604 North Bay                                 Terms of Business for Direct Hire
3576   SherlockTalent Inc                                                           Vital Pharmaceuticals, Inc.                                      $0.00
                                       Village FL 33141                                                          Staff, dated December 17, 2018
                                                                                                                 Team Subscription Custom License,
3577   Shutterstock, Inc               350 Fifth Ave 21St Floor New York NY 10118   Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                 dated July 21, 2017
                                                                                                                 Employment Agreement, dated
3578   Shweta Gahlot                   13712 Blueberry Hill Dr Little Elm TX 75068  Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                 March 30, 2005
                                                                                                                 Commercial Offer: Engineering
                                       1045 Highway 13 North Laval Quebec H7W
3579   Sidel Canana Inc.                                                            Vital Pharmaceuticals, Inc. Services, Conceptual Line Design,    $0.00
                                       4V3 Canada
                                                                                                                 dated October 28, 2019
                                                                                                                        Signature Grand Corporate &
3580 Signature Grand                        6900 State Road 84 Davie FL 33317             Vital Pharmaceuticals, Inc.   Organization Reservation Agreement, $0.00
                                                                                                                        dated November 07, 2018
                                                                                                                        Employment Agreement, dated May
3581 Sikander Khan                          1320 Southwest 116th Way Davie FL 33325       Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                        13, 2019
                                                                                                                        Contract Videographer Agreement,
3582                                                                                       Vital Pharmaceuticals, Inc.
                                                                                                                        dated February 16, 2018
                                                                                                                        Employment Agreement, dated
3583 Silas Aguiar Santos                    888 Brickell Key Dr Apt 2400 Miami FL 33131 Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                        January 04, 2021
                                            Attn: Dane Johnson 4609 West US Highway 90                                  Exclusive Distribution Agreement,
3584 Silver Eagle Beverages, LLC                                                           Quash Seltzer, LLC                                               $0.00
                                            W San Antonio TX 78237                                                      dated January 18, 2021
       Silver Eagle Distributors Houston,   c/o CT Corporation System 1999 Bryan St Ste                                 Exclusive Distribution Agreement,
3585                                                                                       Vital Pharmaceuticals, Inc.                                      $0.00
       LLC                                  900 Dallas TX 75201                                                         dated January 19, 2021
                                                                                                                        Exclusive Distribution Agreement
       Silver Eagle Distributors Houston,   c/o CT Corporation System 1999 Bryan St Ste
3586                                                                                       Vital Pharmaceuticals, Inc. (Hard Seltzer), dated January 18,    $0.00
       LLC                                  900 Dallas TX 75201
                                                                                                                        2021
       Silver Eagle Distributors Houston,   c/o CT Corporation System 1999 Bryan St Ste                                 Exclusive Distribution Agreement,
3587                                                                                       Vital Pharmaceuticals, Inc.                                      $0.00
       LLC                                  900 Dallas TX 75201                                                         dated January 19, 2021
                                            330 Southwest 2nd Ave Apt 15 Hallandale                                     Employment Agreement, dated June
3588 Silvina Sonin De La Plaza Andrea                                                      Vital Pharmaceuticals, Inc.                                      $0.00
                                            Beach FL 33009                                                              27, 2022
                                            201 County Court Blvd. Suite 200 Brampton ON                                Engagement Letter, dated January
3589 Simmons da Silva LLP                                                                  Vital Pharmaceuticals, Inc.                                      $0.00
                                            L6W 4L2 Canada                                                              15, 2019
                                            Lisa Orecchio 1600 Boston Providence Hwy.                                   Development Agreement, dated
3590 Sino Bio USA                                                                          Vital Pharmaceuticals, Inc.                                      $0.00
                                            Suite 247 Walpore MA 02081                                                  August 01, 2010
                                                                                                                        CONFIDENTIALITY AND NON-
                                            Yatai Caifu Center Level 26 Hutang Wujin       Vital Pharmaceuticals, Inc.,
3591 Sino Goods IMP. & EXP.                                                                                             DISCLOSURE AGREEMENT, dated         $0.00
                                            Changzhou Jiangsu CN                           d/b/a Bang Energy ("Bang")
                                                                                                                        2020
                                            Attn: Shelley Brown Floyd, CEO PO Box 320087                                Distributor Agreement, dated
3592 Sipindipity Refreshments, LLC                                                         Vital Pharmaceuticals, Inc.                                      $0.00
                                            Flowood MS 39232                                                            October 23, 2018
                                                                                                                        Distributor Agreement, dated
3593 Skyland Distributing                   1 Overland Industrial Blvd. Asheville NC 28806 Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                        November 28, 2018
                                            Attn: Brian Eddington 1 Overland Industrial                                 Exclusive Distribution Agreement,
3594 Skyland Distributing Co.                                                              Vital Pharmaceuticals, Inc.                                      $0.00
                                            Blvd Asheville NC 28806                                                     dated January 11, 2021
                                            1 Overland Industrial Blvd Asheville NC 28806-                              Agreement and Indemnity, dated
3595 Skyland Distributing Company                                                          Vital Pharmaceuticals, Inc.                                      $0.00
                                            1376                                                                        January 11, 2021
                                                                                                                        Elite Team Agreement, dated January
3596                                                                                       Vital Pharmaceuticals, Inc.
                                                                                                                        30, 2018
                                  Case S.22-17842-PDR
       SLBS Limited Partnership d/b/a     Kim Barrow 3201 Rider Trail Doc
                                                                       South St.1658
                                                                                 Louis      Filed 07/14/23 Exclusive    Page       253 of
                                                                                                                               Distribution     279
                                                                                                                                            Agreement,
3597                                                                                    Vital Pharmaceuticals, Inc.                                       $0.00
       Summit Distributing             MO 63045                                                                      dated March 08, 2021
                                                                                                                     Exclusive Distribution Agreement
       SLBS Limited Partnership, dba   Attn: S. Kim Barrow 3201 Rider Trail South St.
3598                                                                                    Quash Seltzer, LLC           (MIXX Hard Seltzer), dated March 08, $0.00
       Summit Distributing             Louis MO 63045
                                                                                                                     2021
       SLBS Limited Partnership, dba   Attn: S. Kim Barrow 3201 Rider Trail South St.                                Indemnity Agreement, dated March
3599                                                                                    Vital Pharmaceuticals, Inc.                                       $0.00
       Summit Distributing             Louis MO 63045                                                                08, 2021
                                                                                                                     CONFIDENTIALITY AND NON-
                                                                                        Vital Pharmaceuticals, Inc.,
3600   Sleeve Seal, LLC                14000 Dineen Drive Little Rock AR 72206                                       DISCLOSURE AGREEMENT, dated          $0.00
                                                                                        d/b/a Bang Energy ("Bang")
                                                                                                                     June 17, 2021
                                                                                                                     CONFIDENTIALITY AND NON-
                                       JBC 1, Jumeriah Lake Towers 29th Floor Cluster Vital Pharmaceuticals, Inc.,
3601   SLIMSTOCK PARTICIPATIONS B.V.                                                                                 DISCLOSURE AGREEMENT, dated          $0.00
                                       G Dubai UAE                                      d/b/a Bang Energy ("Bang")
                                                                                                                     December 10, 2018
                                       10500 NE 8TH ST / BELLEVUE WA 98004-4345 /
3602   Smartsheet, Inc.                                                                 Vital Pharmaceuticals, Inc. Product/Service Agreement             $0.00
                                       US
       Smith Brothers Distributing     Attn: Francis X Smith, President 1207 N Third St                              Exclusive Distribution Agreement
3603                                                                                    Vital Pharmaceuticals, Inc.                                       $0.00
       Company                         Bardstown KY 40004                                                            (Hard Seltzer), dated July 30, 2021
       Smith Brothers Distributing     Attn: Francis X Smith, President 1207 N Third St
3604                                                                                    Vital Pharmaceuticals, Inc. Rider, dated July 30, 2021            $0.00
       Company                         Bardstown KY 40004
       Smith Brothers Distributing     Attn: Francis X Smith, President 1207 N Third St                              Indemnity Agreement, dated July 30,
3605                                                                                    Vital Pharmaceuticals, Inc.                                       $0.00
       Company                         Bardstown KY 40004                                                            2021
                                                                                                                     Exclusive Distribution Agreement
                                       Attn: Drew Brining 1195 E Huron Ave Bad Axe
3606   Smith Distributing Co                                                            Vital Pharmaceuticals, Inc. (Hard Seltzer), dated January 31,     $0.00
                                       MI 48413
                                                                                                                     2021
                                       Andrew Brining 1195 E Huron Ave Bad Axe MI                                    Exclusive Distribution Agreement,
3607   Smith Distributing Co.                                                           Vital Pharmaceuticals, Inc.                                       $0.00
                                       48413                                                                         dated January 31, 2021
                                       Attn: Mr. Joseph Poli, 433 Blair Road Avenel NJ
3608   Snapple Distributors, Inc                                                        Vital Pharmaceuticals, Inc. DISTRIBUTOR AGREEMENT                 $0.00
                                       07001
                                       Attn: Joseph Poli, President 433 Blair Rd Avenel
3609   Snapple Distributors, Inc.                                                       Vital Pharmaceuticals, Inc. Distribution Agreement, dated 2007 $0.00
                                       NJ 07001
                                                                                                                     Addendum #3
                                                                                                                     Model Consent and Release
3610                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                     Agreement, dated December 13,
                                                                                                                     2016
                                       Steve Mahaney, Chief Sales Officer Unknown
3611   Social Toaster                                                                   Vital Pharmaceuticals, Inc. Statement of Work 1                   $0.00
                                       Unknown Unknown Unknown
                                           Attn: Legal Department 1033 University Place    Vital Pharmaceuticals, Inc.,   Non-Disclosure/Confidentiality
3612 Socius Ingredients, LLC                                                                                                                                 $0.00
                                           Suite 110 Evanston IL 60201                     d/b/a/ VPX/REDLINE             Agreement, dated February 12, 2018
                                           11135 SW Industrial Way # 10-1 Tualatin OR                                     Authorized Distribution Agreement,
3613 Soda Express                                                                          Vital Pharmaceuticals, Inc.                                           $0.00
                                           97062                                                                          dated February 10, 2023
                                                                                                                          Affiliate Member Agreement, dated
3614                                                                                       Vital Pharmaceuticals, Inc.
                                                                                                                          September 22, 2021
3615                                                                                       Vital Pharmaceuticals, Inc.    Elite Agreement, dated June 23, 2019

3616 SoFlo Movement Inc.                   15781 NW 7th Street Pembroke Pines FL 33028 Vital Pharmaceuticals, Inc.        AGREEMENT, dated August 24, 2018 $0.00
                                           Attn: Legal Department 7171 Southwest
3617 Solarwinds Worldwide, LLC                                                             Vital Pharmaceuticals, Inc.    Velcorin Supply Agreement              $0.00
                                           Parkway Building 400 Austin TX 78735
       Solomon Appeals, Mediation &        Donna Greenspan Solomon, Esq. 901 South                                        Engagement Letter, dated May 09,
3618                                                                                     Vital Pharmaceuticals, Inc.                                             $0.00
       Arbitration                         Federal Hwy. Ste. 300 Ft. Lauderdale FL 33316                                  2019
                                                                                                                        CONFIDENTIALITY AND NON-
                                                                                           Vital Pharmaceuticals, Inc.,
3619 Solugen Blending LLC                  14549 Minetta St. Houston TX 77035                                           DISCLOSURE AGREEMENT, dated          $0.00
                                                                                           d/b/a Bang Energy ("Bang")
                                                                                                                        June 03, 2021
                                                                                                                        Employment Agreement, dated
3620 Sommer Aguilar Shalyn                 140 N Lincoln St Redlands CA 92374              Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                        March 14, 2022
                                                                                                                        Talent Services Agreement, dated
3621                                                                                       Vital Pharmaceuticals, Inc.
                                                                                                                        August 13, 2017
                                                                                                                        Elite Team Agreement, dated July 26,
3622                                                                                       Vital Pharmaceuticals, Inc.
                                                                                                                        2018
                                                                                                                          Subordination, Non-Disturbance and
                                           Simpsonville Five Forks 520 Gervais Street PO   Vital Pharmaceuticals, Inc.
3623 South State Bank                                                                                                     Attornment Agreement and Estoppel $0.00
                                           Box 100113 Columbia SC 29202-3113               dba VPX Sports
                                                                                                                          Certificate, dated March 14, 2019

       Southeast Bottling & Beverage                                                       Vital Pharmaceuticals, Inc.,   Confidentiality & Non-Circumvention
3624                                       15340 Citrus Country Drive Dade City FL 33523                                                                      $0.00
       Company                                                                             d/b/a VPX                      Agreement, dated August 23, 2017

                                                                                                                          (i)Corporate Reclamation Agreement;
                                                                                                                          (ii) Discontinued Item Agreement; (iii)
                                           SVP, Merchandising - Center Store 8928
       Southeastern Grocers, Inc.; Winn-                                                                                  Product Recall and Removal
3625                                       Prominence Parkway Bldg. 200 Jacksonville FL Vital Pharmaceuticals, Inc.                                               $0.00
       Dixie Stores, Inc.; BI-LO, LLC                                                                                     Processing Fee Agreement; and (iv)
                                           32256
                                                                                                                          Vendor Indemnity Agreement, dated
                                                                                                                          May 10, 2019
       Southeastern Marketing & Case 1017
                                     22-17842-PDR                  Doc
                                          Shive Lane Suite B Bowling Green1658
                                                                          KY       Filed 07/14/23 DistributorPageAgreement,
                                                                                                                      254 ofdated
                                                                                                                             279
3626                                                                           Vital Pharmaceuticals, Inc.                                                   $0.00
       Distribution Inc.             42103                                                                 December 27, 2018
                                           Attn: Theo Costas, Jr. 1939 Davis Johnson Dr                                 Exclusive Distribution Agreement
3627 Southern Beverage Co., Inc.                                                          Vital Pharmaceuticals, Inc.                                        $0.00
                                           Richland MS 39218                                                            (Hard Seltzer), dated March 09, 2021
     Southern Beverage Distributors,                                                                                    Distributor Agreement, dated
3628                                       401 Industrial Drive Batesville MS 38606       Vital Pharmaceuticals, Inc.                                       $0.00
     LLC.                                                                                                               November 23, 2018
     Southern Beverage Distributors,                                                                                    Distributor Agreement, dated
3629                                       401 Industrial Drive Batesville MS 38606       Vital Pharmaceuticals, Inc.                                       $0.00
     LLC.                                                                                                               January 01, 2019
                                                                                                                        Distributor Agreement, dated August
3630 Southern Crown Partners, LLC          1320 US 80 Savannah GA 31408                   Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                        27, 2018
                                           Attn: Bobby Burgess 5300 Glades Cut Off Rd                                   Exclusive Distribution Agreement,
3631 Southern Eagle Distributing, Inc.                                                    Vital Pharmaceuticals, Inc.                                       $0.00
                                           Fort Pierce FL 34981                                                         dated May 05, 2023
                                                                                                                        DISTRIBUTOR AGREEMENT, dated
3632 Southern Eagle Sales & Service, LP    5300 Blair Drive Metairie LA 70003             Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                        August 02, 2011
       Southern Eagle Sales and Service,   Attn: Chad Hoffmeister, General Manager 5300                                 Distributor Agreement, dated May
3633                                                                                    Vital Pharmaceuticals, Inc.                                         $0.00
       L.P.                                Blair Drive Metairie LA 70003                                                24, 2018
                                           Boyd Ahlers 887 N. Washington Street                                         DISTRIBUTOR AGREEMENT, dated
3634 Southern Illinois Beverage, Inc.                                                   Vital Pharmaceuticals, Inc.                                         $0.00
                                           Nashville IL 62263                                                           December 01, 2008
                                           2711 North Haskell Avenue Dallas TX 75204-                                   Insurance and Indemnification
3635 Southland Corporation                                                                Vital Pharmaceuticals, Inc.                                      $0.00
                                           2906                                                                         Agreement, dated February 15, 2007
                                                                                                                        Amendment to Distributor
3636 Southwest Beverage Company            108 Franklin St Leesville LA 71446             Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                        Agreement, dated August 16, 2019
                                                                                                                        Second Amendment to Distributor
3637 Southwest Beverage Company, Inc 3600 Broad Street LA 70615                           Vital Pharmaceuticals, Inc.   Agreement, dated November 26,        $0.00
                                                                                                                        2019
                                           Attn: Ben Marriner, President 3860 Broad                                     Distributor Agreement, dated June
3638 Southwest Beverage Company. Inc.                                                     Vital Pharmaceuticals, Inc.                                        $0.00
                                           Street Lake Charles LA 70615                                                 30, 2018
                                           Attn: Rob Belote, Owner 1036 Gordon                                          Exclusive Distribution Agreement
3639 Southwest Distributors, Inc.                                                         Vital Pharmaceuticals, Inc.                                         $0.00
                                           Covington Rd Summit MS 39666                                                 (Hard Seltzer), dated August 19, 2021
     Sovran Acquisition Limited - Uncle                                                                                 Rental Agreement - not executed,
3640                                       195 E. Fairfield Dr. Pensacola FL 32503        Vital Pharmaceuticals, Inc.                                        $0.00
     Bob's Self Storage #53                                                                                             dated February 01, 2016
     Sovran Acquisition Limited - Uncle                                                                                 Rental Agreement - not executed,
3641                                        1005 S. Alexander St. Plant City FL 33563-8403 Vital Pharmaceuticals, Inc.                                       $0.00
     Bob's Self Storage #99                                                                                             dated Not listed
                                                                                                                        CONFIDENTIALITY AND NON-
                                            1564 Setor B Brazil Alameda Itajuba Valinhos Vital Pharmaceuticals, Inc.,
3642   SP Drinks & Food LTDA                                                                                            DISCLOSURE AGREEMENT, dated          $0.00
                                            Joapiranga SP BR                               d/b/a Bang Energy ("Bang")
                                                                                                                        December 15, 2021
                                            Attn: Julia K Kriegel                                                       Exclusive Distribution Agreement
3643   Sparkling City Distributors, LLC     1401 S Padre Island Dr, Corpus Christi, TX     Vital Pharmaceuticals, Inc. (MIXX Hard Seltzer), dated October    $0.00
                                            78416                                                                       25, 2021
                                                                                                                        CONFIDENTIALITY AND NON-
                                            11-KM, Zafarwal Road Ratta Arraian Opp         Vital Pharmaceuticals, Inc.,
3644   Speed Ego International                                                                                          DISCLOSURE AGREEMENT, dated          $0.00
                                            Sialkot PK                                     d/b/a Bang Energy ("Bang")
                                                                                                                        November 03, 2020
                                            1776 N COMMERCE PKWY / WESTON FL 33326-
3645   SpeedPro Imaging                                                                    Vital Pharmaceuticals, Inc. Product/Service Agreement             $0.00
                                            3277 / US
                                                                                                                        CONFIDENTIALITY AND NON-
                                                                                           Vital Pharmaceuticals, Inc.,
3646   Speedway, LLC                        500 Speedway Drive Enon OH 45323                                            DISCLOSURE AGREEMENT, dated          $0.00
                                                                                           d/b/a Bang Energy ("Bang")
                                                                                                                        August 20, 2020
                                                                                                                        Brand Ambassador (Select Team)
3647                                                                                       Vital Pharmaceuticals, Inc. Agreement, dated December 14,
                                                                                                                        2018
       Spirit & Sanzone Distributors Co., c/o Hochheiser & Akmal, PLLC, 910 Franklin                                    Settlement Agreement, dated
3648                                                                                       Vital Pharmaceuticals, Inc.                                       $0.00
       Inc.                                 Ave., Suite 220, Garden City, NY 11530                                      September 12, 2022
       Spirit and Sanzone Distributors Co.,                                                                             Distributor Agreement, dated
3649                                        6495 Fly Road East Syracuse NY 13057           Vital Pharmaceuticals, Inc.                                       $0.00
       Inc.                                                                                                             November 07, 2018
                                                                                                                        Non Disclosure and Confidentiality
3650 Splash 4 Partners, LLC                3435 Reagans Way Zanesville OH 43701           Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                        Agreement, dated February 05, 2015
                                           Attn: Angela Solis
                                                                                                                        Materials Release, dated June 22,
3651 Spoke Studios LLC                     484 PACIFIC STREET, THIRD FLOOR STAMFORD Vital Pharmaceuticals, Inc.                                              $0.00
                                                                                                                        2021
                                           CT 06902
                                                                                                                        CONFIDENTIALITY AND NON-
                                                                                           Vital Pharmaceuticals, Inc.,
3652 SportShaker, LLC.                     601 S Main Street Schulenburg TX 78956                                       DISCLOSURE AGREEMENT, dated July $0.00
                                                                                           d/b/a Bang Energy ("Bang")
                                                                                                                        07, 2020
                                                                                                                        Exclusive Distribution Agreement
                                           Attn: Nicholas A. Williams 1 Childress Pl South
3653 Spriggs Distributing Co.                                                              Vital Pharmaceuticals, Inc. (Hard Seltzer), dated January 29, $0.00
                                           Charleston WV 25309
                                                                                                                        2021
                                                                                                                        Distributor Agreement, dated
3654 Spriggs Distributing Co., Inc.        140 3rd Ave. West Huntington WV 25701           Vital Pharmaceuticals, Inc.                                   $0.00
                                                                                                                        December 04, 2018
                                                                                                                        CONFIDENTIALITY AND NON-
                                           148 Edumund Street Rutland House                Vital Pharmaceuticals, Inc.,
3655 Squire Patton Boggs (UK) LLP                                                                                       DISCLOSURE AGREEMENT, dated      $0.00
                                           Birmingham B3 2JR UK                            d/b/a Bang Energy ("Bang")
                                                                                                                        April 14, 2019
                                  Case 22-17842-PDR                     Doc 1658             Filed 07/14/23 Brand
                                                                                                               Page    255(Local
                                                                                                                  Ambassador of 279
                                                                                                                                 Team)
3656                                                                                      Vital Pharmaceuticals, Inc. Agreement, dated November 03,
                                                                                                                      2017
                                                                                                                      Exclusive Distribution Agreement
                                          Attn: Kevin Lilly 5509 Corporate Dr St. Joseph
3657   St. Joseph Beverage, LLC                                                          Vital Pharmaceuticals, Inc. (MIXX Hard Seltzer), dated May 14,     $0.00
                                          MD 64507
                                                                                                                      2021
                                                                                         Vital Pharmaceuticals, Inc., Confidentiality & Non-Disclosure
3658   St. Onge Company                   1400 Williams Road York PA 17402                                                                                  $0.00
                                                                                         d/b/a Bang Energy ("Bang") Agreement, dated October 17, 2019
                                                                                                                      Exclusive Promotional Modeling
3659                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                      Agreement, dated March 10, 2016
                                                                                                                      Trainer Services Agreement, dated
3660                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                      January 26, 2022
                                                                                                                      Addendum #3
                                                                                                                      Model Consent and Release
3661                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                      Agreement, dated December 02,
                                                                                                                      2016
                                          Michael J. Stagnaro, CEO 351 Wilmer Ave                                     Exclusive Distribution Agreement,
3662   Stagnaro Distributing, Inc.                                                       Vital Pharmaceuticals, Inc.                                        $0.00
                                          Cincinnati OH 45226                                                         dated January 27, 2021
       Stagnaro, Saba & Patterson Co,     Jeffrey G. Stagnaro, Esq. 2623 Erie Ave                                     Exclusive Distribution Agreement,
3663                                                                                     Vital Pharmaceuticals, Inc.                                        $0.00
       L.P.A.                             Cincinnati OH 45208                                                         dated January 27, 2021
                                                                                                                      Exclusive Distribution Agreement
                                          Attn: CFO 2526 E. 36th Circle No. Wichita KS
3664   Standard Beverage Corporation                                                     Vital Pharmaceuticals, Inc. (Hard Seltzer), dated February 28,     $0.00
                                          67219
                                                                                                                      2021
                                          Attn: Steve Zarett 100 Mews Dr New Castle DE                                Exclusive Distribution Agreement,
3665   Standard Distributing Company, Inc                                                Vital Pharmaceuticals, Inc.                                        $0.00
                                          19720                                                                       dated January 05, 2021
                                          1801 Spencer Mountain Road Gastonia NC                                      Distributor Agreement, dated
3666   Standard Distributors, Inc                                                        Vital Pharmaceuticals, Inc.                                        $0.00
                                          28054                                                                       November 05, 2018
                                          Attn: Sean Moore 4800 42nd St Suite 400                                     Exclusive Distribution Agreement,
3667   Standard Sales Company, L.P.                                                      Vital Pharmaceuticals, Inc.                                        $0.00
                                          Odessa TX 79762                                                             dated August 18, 2021
                                          Attn: Sean Moore 4800 42nd St Suite 400
3668   Standard Sales Company, L.P.                                                      Vital Pharmaceuticals, Inc. Rider, dated March 25, 2021            $0.00
                                          Odessa TX 79762
                                          Attn: Sean Moore 4800 42nd St Suite 400                                       Exclusive Distribution Agreement
3669 Standard Sales Company, L.P.                                                         Vital Pharmaceuticals, Inc.                                        $0.00
                                          Odessa TX 79762                                                               (Hard Seltzer), dated March 25, 2021
                                          Attn: Sean Moore 4800 42nd St Suite 400                                       Exclusive Distributor Agreement,
3670 Standard Sales Company, L.P.                                                         Vital Pharmaceuticals, Inc.                                       $0.00
                                          Odessa TX 79762                                                               dated January 13, 2023
                                          200 S John Ben Shepperd Pkwy Odessa TX                                        Amendment to Exclusive Distribution
3671 Standard Sales LP                                                                    Vital Pharmaceuticals, Inc.                                       $0.00
                                          79761-2012                                                                    Agreement, dated January 21, 2022
                                                                                                                         Confidentiality & Non-Disclosure
                                                                                            Vital Pharmaceuticals, Inc.,
3672 Standard Sales, LP                   440 Produce Road Louisville KY 40219                                           Agreement, dated November 01,      $0.00
                                                                                            d/b/a Bang Energy ("Bang")
                                                                                                                         2019
       StarStone National Insurance       201 East Fifth Street, Suite 1200, Cincinnati, OH                              Commercial Property Insurance
3673                                                                                        Vital Pharmaceuticals, Inc.                                     $0.00
       Company                            45202                                                                          Policy
3674 States Logistics Services, Inc.      5650 DOLLY AVE / BUENA PARK CA 90621 / US Vital Pharmaceuticals, Inc.         Co-manufacturing Agreement          $0.00
                                                                                    Vital Pharmaceuticals, Inc., Confidentiality & Non-Disclosure
3675 States Logistics Services, Inc.      5650 Dolly Avenue Buena Park CA 90621                                                                     $0.00
                                                                                    d/b/a Bang Energy ("Bang") Agreement, dated July 13, 2021
                                                                                                                 Warehouse Agreement, dated
3676 States Logistics Services, Inc.      5650 DOLLY AVE / BUENA PARK CA 90621 / US Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                                 September 28, 2021
                                                                                                                 First Amendment to Warehouse
3677 States Logistics Services, Inc.      5650 DOLLY AVE / BUENA PARK CA 90621 / US Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                                 Agreement, dated May 15, 2023
                                                                                                                 Self Storage Rental Agreement,
3678 Statewide Mini Storage               1500 State St, Barstow, CA 92311          Vital Pharmaceuticals, Inc. Contract #3312, dated September 27, $0.00
                                                                                                                 2022
                                                                                                                 Self Storage Rental Agreement,
3679 Statewide Mini Storage               1500 State St, Barstow, CA 92311          Vital Pharmaceuticals, Inc. Contract #3314, dated September 30, $0.00
                                                                                                                 2022
                                                                                                                        Commercial LP Gas Supply and Lease
3680 Statewide Propane, LLC               PO Box 901309 Homestead FL 33090                Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                        Agreement, dated August 26, 2020
                                                                                                                        Brand Ambassador Agreement, dated
3681                                                                                      Vital Pharmaceuticals, Inc.
                                                                                                                        April 13, 2021
                                          Attn: Johnny Grizzaffi & Catherine Stein 601                                  Distributor Agreement, dated August
3682 Stein Distributing Company                                                           Vital Pharmaceuticals, Inc.                                        $0.00
                                          North Phillippi Street Boise ID 83706                                         23, 2019
                                          558 East Stonewall St Apt 386 Charlotte NC                                    Employment Agreement, dated
3683 Stephanie Ash Parker                                                                 Vital Pharmaceuticals, Inc.                                        $0.00
                                          28202                                                                         August 22, 2022
                                                                                                                        Elite Team Agreement, dated July 21,
3684                                                                                      Vital Pharmaceuticals, Inc.
                                                                                                                        2017
                                                                                                                        Employment Agreement, dated April
3685 Stephanie Khouri S                   478 Bay Ln Key Biscayne FL 33149                Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                        13, 2020
                                                                                                                        Employment Agreement, dated
3686 Stephanie Medina Moran               920 North Orange Grove Ave Colton CA 92323 Vital Pharmaceuticals, Inc.                                             $0.00
                                                                                                                        November 25, 2019
                                                                                                                        Model Release and Affidavit, dated
3687                                                                                      Vital Pharmaceuticals, Inc.
                                                                                                                        July 20, 2011
                               Case 22-17842-PDR                     Doc 1658            Filed 07/14/23 Product
                                                                                                           Page      256Agreement,
                                                                                                                Placement of 279
3688 Stephen Alexander                   1651 S Dobson Road #147 Mesa AZ 85202        Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                  dated November 22, 2017
                                                                                                                  Employment Agreement, dated
3689 Stephen Cohen J                    1202 Red Bud Ln Canton GA 30114              Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                  October 23, 2019
                                                                                                                  Employment Agreement, dated April
3690 Stephen Madaras Howard             490 19th St Southwest Naples FL 34117        Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                  03, 2019
                                        21115 E Estrella Rd Apt 2124 Queen Creek AZ                               Employment Agreement, dated
3691 Stephen Quinton Earl                                                            Vital Pharmaceuticals, Inc.                                       $0.00
                                        85142-5593                                                                February 22, 2021
                                        11929 Northeast Prescott St Portland OR                                   Employment Agreement, dated
3692 Stephen Santoro Joseph                                                          Vital Pharmaceuticals, Inc.                                       $0.00
                                        97220                                                                     December 14, 2020
                                                                                                                  Employment Agreement, dated May
3693 Stephen Street Franklin            4305 North 10th St Tampa FL 33603            Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                  04, 2020
                                        Attn: Todd Stephens / President 5650 Anglers                              Exclusive Distribution Agreement,
3694 Stephens Distributing Company                                                   Vital Pharmaceuticals, Inc.                                       $0.00
                                        Ave Fort Lauderdale FL 33312                                              dated May 04, 2023
                                        2403 West LoNE Cactus Dr Apt 179 Phoenix AZ                               Employment Agreement, dated
3695 Stephon Sykes II Livias                                                         Vital Pharmaceuticals, Inc.                                       $0.00
                                        85027                                                                     August 23, 2021
                                                                                                                  CONFIDENTIALITY & NON-
                                        9100 Wilshire Boulevard Suite 100W Beverly Vital Pharmaceuticals, Inc.,
3696 Steve Aoki (“Aoki”)                                                                                          DISCLOSURE AGREEMENT, dated          $0.00
                                        Hills CA 90212                               DBA Bang Energy
                                                                                                                  February 08, 2019
                                                                                                                  Employment Agreement, dated July
3697 Steve Brooks Brandt                11609 West Hill Dr Avondale AZ 85323         Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                  26, 2021
                                                                                                                  Employment Agreement, dated
3698 Steve Curtis Lawrence              2604 WaterstoNE Dr Orange Park FL 32073      Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                  September 12, 2022
                                                                                                                  Employment Agreement, dated
3699 Steven Addison Earl                2403 Oakview Dr Jacksonville FL 32246        Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                  January 08, 2019
                                                                                                                  Brand Ambassador (Select Team)
3700                                                                                 Vital Pharmaceuticals, Inc.
                                                                                                                  Agreement, dated July 31, 2018
                                                                                                                  Employment Agreement, dated April
3701 Steven Darabos                     122 Ricewood Ln Moncks Corner SC 29461       Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                  06, 2020
                                                                                                                  Employment Agreement, dated
3702 Steven Guerrero Martin             13415 Cranston Ave Sylmar CA 91342           Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                  January 03, 2022
                                                                                                                  Employment Agreement, dated May
3703 Steven Kelly Michael               21 Obispo Rancho Santa Margarita CA 92688 Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                  18, 2020
                                                                                                                  Employment Agreement, dated
3704 Steven Kriz J                      16312 Brookefield Dr Edmond OK 73013         Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                  September 13, 2021
                                                                                                                  Employment Agreement, dated April
3705 Steven Kunz F                      1466 East Glacier Place Chandler AZ 85249    Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                  22, 2019
                                                                                                                  Employment Agreement, dated
3706 Steven Narvaez Gerard              265 Stonehouse Rd Trumbull CT 6611           Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                  January 07, 2019
                                                                                                                  Employment Agreement, dated
3707 Steven Sanchez                     7421 Indigo Ln Fontana CA 92336              Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                  December 28, 2021
                                        13625 South 48th St Apt 2146 Phoenix AZ                                   Employment Agreement, dated
3708 Steven Soto Jr                                                                  Vital Pharmaceuticals, Inc.                                       $0.00
                                        85044                                                                     February 22, 2021
                                        2100 North 145th Ave Apt 1115 Goodyear AZ                                 Employment Agreement, dated
3709 Steven Suarez                                                                   Vital Pharmaceuticals, Inc.                                       $0.00
                                        85395                                                                     December 02, 2019
                                                                                                                  Exclusive Distribution Agreement
                                        Attn: Kurt Stevenson 201 E Madison Box 592
3710 Stevenson Beer Distributing Co.                                                 Vital Pharmaceuticals, Inc. (Hard Seltzer), dated February 22,    $0.00
                                        Trinity TX 75862
                                                                                                                  2021
     Stevenson Beer Distributing Co.,                                                                             Exclusive Distribution Agreement,
3711                                    Kurt Stevenson P.O. Box 592 Trinity TX 75862 Vital Pharmaceuticals, Inc.                                       $0.00
     Ltd.                                                                                                         dated February 05, 2021
                                        1505 Monument Hill Rd Apt 3040 Charlotte NC                               Employment Agreement, dated June
3712 Stevie Ryan Marie                                                               Vital Pharmaceuticals, Inc.                                       $0.00
                                        28213                                                                     03, 2019
                                                                                                                  Talent Endorsement Agreement,
3713 Stipe Miocic, LLC                  19800 Ridge Road North Royalton OH 44133     Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                  dated March 01, 2018
                                                                                     Vital Pharmaceuticals, Inc., Confidentiality & Non-Disclosure
3714 StockBagDepot.com                  5418 Schaefer Ave. Chino CA 91710                                                                              $0.00
                                                                                     d/b/a Bang Energy ("Bang") Agreement
                                                                                                                  Affiliate Member Agreement, dated
3715 Stoked, LLC                        1600 North Park Drive Weston FL 33326        Quash Seltzer, LLC                                                $0.00
                                                                                                                  April 01, 2021
                                        6949 South Potomac Street Centennial CO      Vital Pharmaceuticals, Inc., Mutual Non-Disclosure Agreement,
3716 Stolle Machinery Company, LLC                                                                                                                     $0.00
                                        80112                                        d/b/a VPX Sports             dated December 14, 2018
                                                                                                                  2023 CMA Agreement, dated
3717 Stop-N-Go                          1626 OAK ST / LA CROSSE WI 54603-2308 / US Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                  October 07, 2022
                                                                                                                  Rental Agreement Contract, dated
3718 Storage King USA - 1501 Cap Circle 1501 Capital Circle NW Tallahassee FL 32303  Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                  November 11, 2016
                                        Attn: Mr. Mark Danner, President/CEO 2701
3719 Straub Distributing Company                                                     Vital Pharmaceuticals, Inc. Distributor Agreement, dated 2007     $0.00
                                        Dow Ave Tustin CA 92780
                                        Attn: Mark Danner, President E. La Palma                                  Distributor Agreement, dated April
3720 Straub Distributing Company, Ltd.                                               Vital Pharmaceuticals, Inc.                                       $0.00
                                        Avenue Anaheim CA 92807                                                   06, 2018
                                                                                                                  Agreement, dated December 12,
3721 Strong Arm Touring, Inc.           2635 West 79 Street Hialeah FL 33016         Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                  2018
                                        16831 NW 21St Apt 204 Pembroke Pines FL                                   Employment Agreement, dated April
3722 Sujata Santiago U                                                               Vital Pharmaceuticals, Inc.                                       $0.00
                                        33028                                                                     24, 2017
                                        KM 1.5 VIA FUNZA SIBERIA BD 10 PAR.          Vital Pharmaceuticals, Inc., Confidentiality & Non-Disclosure
3723 Sulicor S.A.S.                                                                                                                                    $0.00
                                        Industrial San Diego Funza 25286 Columbia    d/b/a Bang Energy ("Bang") Agreement, dated October 13, 2021
                                                                                                                  Model Release and Affidavit, dated
3724                                                                                 Vital Pharmaceuticals, Inc.
                                                                                                                  May 17, 2011
                                  Case 22-17842-PDR                     Doc 1658            Filed 07/14/23 Employment
                                                                                                             Page 257       of 279
                                                                                                                      Agreement, dated
3725 Summer Wyatt Marie                   9372 West Cordes Rd Tolleson AZ 85353          Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                        October 02, 2017
                                                                                                                        Confidentiality & Non-Circumvention
                                                                                         Vital Pharmaceuticals, Inc.,
3726 Summit Beverage Group, LLC           211 Washington Avenue Marion VA 24354                                         Agreement, dated December 31,        $0.00
                                                                                         d/b/a VPX
                                                                                                                        2017
                                                                                                                        Exclusive Distribution Agreement,
3727 Summit Beverage of Oregon Inc.       100 C St, Phoenix, OR 97535                    Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                        dated November 23, 2022
                                          Attn: Tom Mitchell / CEO 2996 Hanson St Fort                                  Exclusive Distribution Agreement,
3728 Suncoast Beverage Sales, LLC                                                       Vital Pharmaceuticals, Inc.                                          $0.00
                                          Meyers FL 33916                                                               dated May 04, 2023
                                          Attn: General Counsel 250 South 850 East Lehi                                 Settlement Agreement, dated
3729 Sundesa, LLC                                                                       Vital Pharmaceuticals, Inc.                                          $0.00
                                          UT 84043                                                                      November 13, 2018
                                                                                                                        Settlement Agreement/Vital
       Sundesa, LLC, d/b/a Blender Bottle Douglas Espenschied, Esq. 250 S. 850 E. Lehi
3730                                                                                     Vital Pharmaceuticals, Inc.    Pharmaceuticals, Inc. (VPX) - Shaker $0.00
       Company                            UT 84043
                                                                                                                        Cups, dated November 20, 2018
                                                                                                                        Employment Agreement, dated
3731 Sunil Garib G                        6770 NW 22nd Ct Margate FL 33063               Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                        January 17, 2022
                                          c/o Carey, O'Malley, Whitaker & Mueller, P.A                                  Amendment to Settlement
3732 Sun-Pac Manufacturing, Inc.          Attn Michael R. Carey 712 S Oregon Ave Tampa Vital Pharmaceuticals, Inc.      Stipulation, dated December 29,      $0.00
                                          FL 33606                                                                      2014
                                                                                       Vital Pharmaceuticals, Inc.      Manufacturing, Confidentiality, and
3733 Sun-Pac Manufacturing, Inc.          602 N. Newport Avenue Tampa FL 33606                                                                               $0.00
                                                                                       d/b/a VPX Sports                 Non-Compete Agreement
                                                                                                                        Standard Vendor Agreement, dated
3734 Super Center Concepts, Inc.          15510 Carmenita Rd Santa Fe Springs CA 90670 Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                        February 26, 2019
                                          Attn: Kevin Staab PO Box 18215 Fairfield OH                                   Authorized Distributor Agreement,
3735 Super Health Center                                                                 Vital Pharmaceuticals, Inc.                                         $0.00
                                          45018                                                                         dated February 06, 2018
                                          Attn: Don Warmington 12 Randy Johnson                                         DISTRIBUTOR AGREEMENT, dated
3736 Superior Beverages, LLC                                                             Vital Pharmaceuticals, Inc.                                         $0.00
                                          Street Superior WI 54880                                                      August 21, 2018
                                                                                                                        Exclusive Distribution Agreement
                                          Attn: Don Warmington 12 Randy Johnson
3737 Superior Beverages, LLC                                                             Vital Pharmaceuticals, Inc.    Reinstatement, dated October 25,     $0.00
                                          Street Superior WI 54880
                                                                                                                        2022
                                          Mark Carter 100 E County Rd 53 Willows CA                                     Exclusive Distribution Agreement,
3738 Superior Products Company                                                           Vital Pharmaceuticals, Inc.                                         $0.00
                                          95988                                                                         dated December 28, 2020
                                                                                         Vital Pharmaceuticals, Inc.,   Confidentiality & Non-Circumvention
3739 Superior Supplements Pty Ltd.        22 Grimes Court Derrimut VIC 3030 Australia                                                                       $0.00
                                                                                         d/b/a VPX Sports               Agreement, dated April 18, 2018
                                                                                                                        Employment Agreement, dated
3740 Suphia Khatun                        5456 NW 184 St Opalocka FL 33055               Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                        December 09, 2019
                                          c/o Stephen Schmitz, M.D. 103 Meirs Rd Cream                                  Consulting Agreement, dated April
3741 Supplement Safety Solutions, LLC.                                                 Vital Pharmaceuticals, Inc.                                            $0.00
                                          Ridge NJ 08514                                                                03, 2013
                                                                                                                        Auction Sale Agreement, dated
3742 Surplus Management LLC               5144 N Springs Way Coral Springs FL 33076      Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                        January 26, 2022
                                                                                                                        Trainer Services Agreement, dated
3743                                                                                     Quash Seltzer, LLC
                                                                                                                        October 01, 2021
                                                                                                                        Employment Agreement, dated
3744 Susan Jones Lynn                     1255 Fairlake Trace Apt 311 Weston FL 33326    Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                        March 16, 2005
                                                                                                                        Employment Agreement, dated
3745 Suzanne Kohler Elizabeth             7880 North 8000 West Lehi UT 84043             Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                        January 27, 2020
                                                                                                                        Elite Team Agreement, dated
3746                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                        October 31, 2018
                                                                                                                        Distributor Agreement, dated
3747 Swartz and Sons Distributors Inc     3815 38th St Brentwood MD 20722                Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                        November 26, 2018
                                                                                                                        Elite Team Agreement, dated June
3748                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                        13, 2017
                                                                                                                        Hold Harmless Agreement and
       Sysco Corporation and/or its       Attn: Vice President of Merchandising 1390
3749                                                                                     Vital Pharmaceuticals, Inc.    Guaranty/Warranty of Product,         $0.00
       Affiliates                         Enclave Parkway Houston TX 77077
                                                                                                                        dated October 27, 2010
                                                                                                                        Contact Info Sheet, ACH Transfer
3750                                                                                     Quash Seltzer, LLC             form, W-9, Brand Ambassador
                                                                                                                        Agreement, , dated October 18, 2021
       Tactix Group Inc., d/b/a Sklar     6300 North Federal Highway Boca Raton FL       Vital Pharmaceuticals, Inc., Confidentiality & Non-Disclosure
3751                                                                                                                                                          $0.00
       Furnishings                        33487                                          d/b/a Bang Energy ("Bang") Agreement, dated October 18, 2019
                                                                                                                      brand ambassador, dated June 20,
3752                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                      2018
                                                                                                                      Employment Agreement, dated
3753 Taft Mays A                          2748 S Cupertino Dr Gilbert AZ 85295           Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                      December 13, 2021
                                                                                                                      Elite Agreement, dated November
3754                                                                                     Quash Seltzer, LLC
                                                                                                                      01, 2021
                                          8960 NW 8th St Pembroke Pines FL 33024-                                     Employment Agreement, dated
3755 Tairi Ortiz                                                                         Vital Pharmaceuticals, Inc.                                          $0.00
                                          6410                                                                        February 01, 2021
                                                                                                                      Confidentiality & Non-Disclosure
                                                                                         Vital Pharmaceuticals, Inc.,
3756 Takasago Europe GmbH                 Industriestrasse 53909 Zülpich Germany                                      Agreement, dated December 01,           $0.00
                                                                                         d/b/a Bang Energy ("Bang")
                                                                                                                      2020
                                                                                                                      Confidentiality & Non-Disclosure
                                                                                         Vital Pharmaceuticals, Inc.,
3757 Takasago International (S) Pte Ltd   5 Sunview Road 627616 Singapore                                             Agreement, dated November 02,           $0.00
                                                                                         d/b/a Bang Energy ("Bang")
                                                                                                                      2021
                                  Case 22-17842-PDR                   Doc 1658             Filed 07/14/23 Confidentiality
                                                                                                                       Page 258        of 279
                                                                                                                                 & Non-Disclosure
                                                                                       Vital Pharmaceuticals, Inc.,
3758 Takasago International Corp. USA   4 Volvo Drive Rockleigh NJ 07647                                            Agreement, dated September 13,          $0.00
                                                                                       d/b/a Bang Energy ("Bang")
                                                                                                                    2021
3759                                                                                   Quash Seltzer, LLC            Elite Agreement, dated June 14, 2021
                                                                                                                     Brand Ambassador (National Team)
3760                                                                                   Vital Pharmaceuticals, Inc.
                                                                                                                     Agreement, dated March 18, 2019
                                        Attn: Joe Kondelis 22 Road 2 AB Cody WY                                      Exclusive Distribution Agreement,
3761 Tanager Beverages LLC                                                             Vital Pharmaceuticals, Inc.                                          $0.00
                                        82414                                                                        dated January 20, 2021
                                                                                                                     Exclusive Distribution Agreement,
3762 Tanager Beverages, LLC             Joe Kondelis 22 Road 2 AB Cody WY 82414        Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                     dated February 24, 2021
                                                                                                                     Exclusive Promotional Modeling
3763                                                                                   Vital Pharmaceuticals, Inc.
                                                                                                                     Agreement, dated March 10, 2016
                                                                                                                     Employment Agreement, dated
3764 Tanner Allford Robert              11802 SW 16th St Pembroke Pines FL 33025       Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                     January 10, 2022
                                                                                                                     Employment Agreement, dated July
3765 Tanya Pagan Pierobon               3191 North Oasis Dr Boynton Beach FL 33426     Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                     18, 2022
                                        Attn: Ross H. Tarver 8360 Hiwassee Street                                    Release Agreement, dated June 03,
3766 Tarver Distributing Co., Inc.                                                     Vital Pharmaceuticals, Inc.                                          $0.00
                                        Charleston TN 37310                                                          2020
                                        Attn: Ross H. Tarver 8360 Hiwassee Street                                    Distributor Agreement, dated
3767 Tarver Distributing Company Inc.                                                  Vital Pharmaceuticals, Inc.                                          $0.00
                                        Charleston TN 37310                                                          February 08, 2016
                                                                                                                     Exclusive Promotional Modeling
3768                                                                                   Vital Pharmaceuticals, Inc.
                                                                                                                     Contract, dated September 23, 2013
                                        2680 Hammondville Rd Pompano Beach FL                                      Employment Agreement, dated
3769 Tavian Grubbs Shanod                                                              Vital Pharmaceuticals, Inc.                                   $0.00
                                        33069                                                                      March 09, 2020
                                                                                                                   Employment Agreement, dated May
3770 Tayler Berblinger Jane             5115 63rd St San Diego CA 92115               Vital Pharmaceuticals, Inc.                                    $0.00
                                                                                                                   30, 2017
                                                                                                                   Brand Ambassador Agreement, dated
3771                                                                                  Vital Pharmaceuticals, Inc.
                                                                                                                   September 20, 2021
                                                                                                                   Brand Ambassador (National Team)
3772                                                                                  Vital Pharmaceuticals, Inc.
                                                                                                                   Agreement, dated May 01, 2019
                                                                                                                   Exclusive Promotional Modeling
3773                                                                                  Vital Pharmaceuticals, Inc.
                                                                                                                   Agreement, dated March 10, 2016
                                                                                                                   Elite Agreement, dated November
3774                                                                                  Vital Pharmaceuticals, Inc.
                                                                                                                   01, 2021
                                                                                                                   Elite Agreement, dated November
3775                                                                                  Quash Seltzer, LLC
                                                                                                                   01, 2021
                                                                                                                   Confidentiality & Non-Disclosure
                                                                                      Vital Pharmaceuticals, Inc.,
3776 TCS Group, Inc.                    3922 Coral Ridge Drive Coral Springs FL 33065                              Agreement, dated September 04,    $0.00
                                                                                      d/b/a Bang Energy ("Bang")
                                                                                                                   2020
                                        Attn: Noah Bremen 5417 Pinnacle Point Dr Ste                               Sales Representative Agreement,
3777 Team Direct Management LLC                                                       Vital Pharmaceuticals, Inc.                                    $0.00
                                        501 Rogers AR 72758                                                        dated 2007
3778 Team Lone Star                     N MacArthur Blvd Ste 120 Irving TX 75063       Vital Pharmaceuticals, Inc.   Bill of Sale, dated November 01, 2011 $0.00
                                        1920 E Hallandale Blvd. Hallandale Beach FL    Vital Pharmaceuticals, Inc., Confidentiality & Non-Disclosure
3779 Technology Transfer Corporation                                                                                                                  $0.00
                                        33009                                          d/b/a Bang Energy ("Bang") Agreement, dated June 15, 2020
                                                                                                                    Employment Agreement, dated April
3780 Ted Burnette W                     600 1E Ladera Ln Anaheim CA 92807              Vital Pharmaceuticals, Inc.                                    $0.00
                                                                                                                    01, 2022
                                        222 Lakeview Avenue Suite 1200 West Palm       Vital Pharmaceuticals, Inc., Confidentiality & Non-Disclosure
3781 Templeton & Company, LLC.                                                                                                                       $0.00
                                        Beach FL 33401                                 d/b/a Bang Energy ("Bang") Agreement, dated February 27, 2019
                                                                                                                     Employment Agreement, dated
3782 Tera Stroud M                      108 Crystalwood Ct Nw Concord NC 28027         Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                     February 18, 2019
                                        Attn: Brian Jonkman 8946 N 700 W DeMotte IN                                  Distributor Agreement, dated
3783 Terborg Distributing Inc                                                       Vital Pharmaceuticals, Inc.                                             $0.00
                                        46310                                                                        November 17, 2018
                                                                                                                     Employment Agreement, dated
3784 Teresa Perez Nicole                12870 Southwest 117th St Miami FL 33186        Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                     August 13, 2019
                                                                                                                     Employment Agreement, dated April
3785 Terry Colding Eugene               2702 Wilder Park Dr Plant City FL 33566        Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                     22, 2019
                                                                                                                     Employment Agreement, dated May
3786 Terymer Collazo                    14441 Lexington Pl Davie FL 33325              Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                     13, 2019
                                        AvTech Capital - Tetra Financial Group, LLC
                                                                                                                     Confidentiality Agreement, dated
3787 Tetra Financial Group, LLC         PO Box 7551                                    Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                     January 11, 2016
                                        Convington, WA 98042-0044
                                                                                       Vital Pharmaceuticals, Inc.   Mutual Confidentiality Agreement,
3788 Tetra Pak, Inc.                    3300 Airport Road Denton TX 76207                                                                                   $0.00
                                                                                       dba VPX Sports                dated October 17, 2018
                                                                                                                     Employment Agreement, dated
3789 Tevin Jackson Mitchell Jonn        2205 S 84th Ave Tolleson AZ 85353              Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                     December 07, 2020
                                        Attn: Dr. Bukuo Ni 2200 Campbell Street                                      Confidential Service Agreement,
3790 Texas A&M University Commerce                                                     Vital Pharmaceuticals, Inc.                                          $0.00
                                        Commerce TX 75428                                                            dated November 04, 2016
                                                                                                                     Vendor Purchase Program
3791 Teyo Brandwell                     1621 Shields Ave Encintas CA 92024             Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                     Agreement, dated April 12, 2018
                                        3165 East Millrock Drive Suite 400 Salt Lake                                 Agreement and Bill of Sale, dated
3792 TFG-Florida, L.P.                                                                 Vital Pharmaceuticals, Inc.                                          $0.00
                                        City UT 84121                                                                September 18, 2014
                                Case 22-17842-PDR                       Doc 1658            Filed 07/14/23 Amended
                                                                                                             Page  and259    ofLease
                                                                                                                       Restated 279
                                          3165 East Millrock Drive Suite 400 Salt Lake
3793 TFG-Florida, L.P.                                                                   Vital Pharmaceuticals, Inc.   Schedule No. 002 to Master Lease   $0.00
                                          City UT 84121
                                                                                                                       Agreement, dated May 27, 2010
                                          3165 East Millrock Drive Suite 400 Salt Lake                                 Master Lease Agreement, dated July
3794 TFG-Florida, L.P.                                                                   Vital Pharmaceuticals, Inc.                                      $0.00
                                          City UT 84121                                                                30, 2009
                                          3165 East Millrock Drive Suite 400 Salt Lake                                 Partial Acceptance and Authorization,
3795 TFG-Florida, L.P.                                                                   Vital Pharmaceuticals, Inc.                                         $0.00
                                          City UT 84121                                                                dated March 09, 2017

                                                                                                                       Partial Acceptance and Authorization
                                          3165 East Millrock Drive Suite 400 Salt Lake
3796 TFG-Florida, L.P.                                                                   Vital Pharmaceuticals, Inc.   for Progress Payments / Lease        $0.00
                                          City UT 84121
                                                                                                                       Schedule, dated June 18, 2019
                                          c/o Nuveen Real Estate 4675 MacArthur Court,
3797 TGA Cactus DC II LLC                                                              Vital Pharmaceuticals, Inc.     Industrial Lease, dated April 01, 2020 $0.00
                                          Suite 1100 Newport Beach CA 92626
                                                                                                                        Confidentiality & Non-Disclosure
                                          5290 Overpass Road Suite 122 Santa Barbara       Vital Pharmaceuticals, Inc.,
3798 The Alliance Group                                                                                                 Agreement, dated November 30,      $0.00
                                          CA 93111                                         d/b/a Bang Energy ("Bang")
                                                                                                                        2021
       The Board of Trustees of the Leland 450 Jane Stanford Way                                                        Confidential Settlement and Mutual
3799                                                                                       Vital Pharmaceuticals, Inc.                                     $0.00
       Stanford Junior University          Stanford, CA 94305–2004                                                      Release, dated August 30, 2019
                                                                                                                        Confidentiality & Non-Disclosure
                                                                                           Vital Pharmaceuticals, Inc.,
3800   The Cansultants LLC                 6895 Counselors Way Alpharetta GA 30005                                      Agreement, dated September 06,     $0.00
                                                                                           d/b/a Bang Energy ("Bang")
                                                                                                                        2019
                                                                                                                        Confidentiality & Non-Disclosure
                                                                                           Vital Pharmaceuticals, Inc.,
3801   The Cansultants LLC                 6895 Counselors Way Alpharetta GA 30005                                      Agreement, dated September 09,     $0.00
                                                                                           d/b/a Bang Energy ("Bang")
                                                                                                                        2019
                                                                                                                        Confidentiality and Non-Disclosure
       The Center for Applied Health                                                       Vital Pharmaceuticals, Inc.,
3802                                       6570 Seville Dr, Canfield OH 44406                                           Agreement, dated December 15,      $0.00
       Sciences, LLC                                                                       d/b/a Bang Energy
                                                                                                                        2021
                                                                                           Vital Pharmaceuticals, Inc., Non-Disclosure/Confidentiality
3803   The Firestone Group Inc.            3205 Saint James Drive Boca Raton FL 33434                                                                      $0.00
                                                                                           d/b/a/ VPX/REDLINE           Agreement, dated June 09, 2017
                                           Keith Perkey 111 Riverside Ave. Jacksonville FL Vital Pharmaceuticals, Inc., Confidentiality and Non-Disclosure
3804   The Haskell Company                                                                                                                                 $0.00
                                           32202                                           d/b/a Bang Energy            Agreement, dated June 12, 2019
                                           15892 S Rockwell Park Cove Herriman UT          Vital Pharmaceuticals, Inc. Confidentiality and Non-Disclosure
3805   The HB Group, LLC                                                                                                                                   $0.00
                                           84096                                           dba Bang Energy              Agreement, dated July 07, 2020
                                                                                                                        Confidentiality and Non-Disclosure
                                           R. Olimpiadas, 205 - Itaim Bibi Sao Paulo - SP  Vital Pharmaceuticals, Inc.,
3806   The Heineken Company , Brazil                                                                                    Agreement, dated December 21,      $0.00
                                           04546-004 Brazil                                d/b/a Bang Energy
                                                                                                                        2021
                                           Rafael Rizzi, Director of Business Strategy R.                               Confidentiality and Non-Disclosure
                                                                                           Vital Pharmaceuticals, Inc.,
3807   The Heineken Company ,Brazil        Olimpiadas, 205 - Itaim Bibi Sao Paulo - SP                                  Agreement, dated December 21,      $0.00
                                                                                           d/b/a Bang Energy
                                           04546-004 Brazil                                                             2021
                                                                                                                        Receivables Purchase Agreement,
3808   The Huntington National Bank        7 Easton Oval, Columbus, OH 43219               Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                                        dated June 30, 2021
3809   The Hype House LA, LLC              4440 Hayvenhurst Ave Encino CA 91436            Vital Pharmaceuticals, Inc. Materials Release                   $0.00
                                                                                                                        Standard Vendor Agreement, dated
3810   The Kroger Co.                      1014 Vine Street, Cincinnati, OH 45202          Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                                        November 02, 2018
                                                                                                                        Ship to Home Addendum to the
3811   The Kroger Co.                      1014 Vine Street, Cincinnati, OH 45202          Vital Pharmaceuticals, Inc. Standard Vendor Agreement, dated $0.00
                                                                                                                        December 07, 2021
                                                                                                                        Distributor Agreement, dated
3812   The Lewis Bear Company              6120 Enterprise Drive Pensacola FL 32505        Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                                        November 20, 2018
                                                                                                                        Exclusive Distributor Agreement,
3813   The Lewis Bear Company              6120 Enterprise Drive Pensacola FL 32505        Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                                        dated December 14, 2022
                                           PO Box 3283                                                                  Settlement Agreement, dated
3814   The Made-Rite Company, LTD                                                          Vital Pharmaceuticals, Inc.                                     $0.00
                                           Longview, TX 75606                                                           November 03, 2021
       The Medical Institute for Weight    Richard J. Rose, M.D. 2999 NE 191st St Suite
3815                                                                                       Vital Pharmaceuticals, Inc. Settlement Agreement                $0.00
       Loss, Inc.                          705 Aventura FL 33139
                                                                                                                        Production and Advertising
3816   The MHM Group, Inc.                 2129 Via Teca San Clemente CA 92673             Vital Pharmaceuticals, Inc. Agreement, dated December 01,       $0.00
                                                                                                                        2011
                                                                                                                        Catering Contract, dated July 22,
3817   The Miami Beach Edition             2901 Collins Avenue Miami Beach FL 33140        Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                                        2019
                                           Mike Sutton, Contract Packaging Manager         Vital Pharmaceuticals, Inc., Confidentiality and Non-Disclosure
3818   The Noel Corporation                                                                                                                                $0.00
                                           1001 S. 1st Street Yakima WA 98901-3403         d/b/a Bang Energy            Agreement, dated May 22, 2019
                                           11400 SE 8th Street, Suite 300, Bellevue, WA                                 Distribution Agreement, dated
3819   The Odom Corporation                                                                Vital Pharmaceuticals, Inc.                                     $0.00
                                           98004                                                                        September 30, 2022
                                                                                                                        Confidentiality and Non-Disclosure
                                           17035 West Wisconsin Avenue Suite 120           Vital Pharmaceuticals, Inc.,
3820   The Probst Group                                                                                                 Agreement, dated September 14,     $0.00
                                           Brookfield WI 53005                             d/b/a Bang Energy
                                                                                                                        2020
                                           4343 Anchor Plaza Pkwy Suite 125 Tampa FL                                    Payment Agreement Contract, dated
3821   The Staffing Resource Group, Inc.                                                   Vital Pharmaceuticals, Inc.                                     $0.00
                                           33634                                                                        November 17, 2014
                                                                                           Vital Pharmaceuticals, Inc   CONFIDENTIALITY AGREEMENT,
3822   The Superlative Group, Inc,         2843 Franklin Blvd. Cleveland OH 44113                                                                          $0.00
                                                                                           DBA Bang Eneregy             dated December 19, 2019
                                           Attn: Mable Dixon 315 Administration Building                                Amendment to the Agreement, dated
3823   The University of Memphis                                                           Vital Pharmaceuticals, Inc.                                     $0.00
                                           Memphis TN 38152                                                             November 15, 2008
                                           Attn: Mable Dixon 315 Administration Building                                Sponsored Research Agreement,
3824   The University of Memphis                                                           Vital Pharmaceuticals, Inc.                                     $0.00
                                           Memphis TN 38152                                                             dated August 07, 2008
                                 Case 22-17842-PDR                        Doc 1658            Filed 07/14/23 Settlement
                                                                                                                PageAgreement,
                                                                                                                        260 ofdated
                                                                                                                               279April
3825 ThermoLife International, Inc.         1334 E Chandler Blvd Phoenix AZ 85048          Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                          04, 2013
                                            Jeff Simpson, GM 360 Balm Court Wood Dale IL Vital Pharmaceuticals, Inc.,     Confidentiality and Non-Disclosure
3826 Thermo-Pak, Co.                                                                                                                                           $0.00
                                            60191                                        d/b/a Bang Energy                Agreement, dated July 30, 2020
                                                                                                                          Elite Team Agreement, dated August
3827                                                                                       Vital Pharmaceuticals, Inc.
                                                                                                                          21, 2018
                                            230 Turner Center P.O. Box 1848 University MS Vital Pharmaceuticals, Inc.,    Confidentiality and Non-Disclosure
3828 Thomas Andre                                                                                                                                              $0.00
                                            38677-1848                                    d/b/a Bang Energy               Agreement, dated October 18, 2021
                                                                                                                          Employment Agreement, dated
3829 Thomas Chavez                          3314 West WindroSE Dr Phoenix AZ 85029         Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                          October 03, 2017
                                                                                                                          Employment Agreement, dated May
3830 Thomas Del Duca J                      985 Colonial Dr Mount Pleasant SC 29464        Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                          24, 2021
                                                                                                                          Employment Agreement, dated
3831 Thomas Foss Allen                      5609 South 30th Glen Phoenix AZ 85041          Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                          December 30, 2019
                                                                                                                          Employment Agreement, dated July
3832 Thomas Garrigan L                      7410 Panama St Miramar FL 33023                Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                          26, 2021
     Thomas Group, LLC, d/b/a Eagle                                                                                       Distributor Agreement, dated June
3833                                        5463 Skylane Blvd Santa Rosa CA 94503          Vital Pharmaceuticals, Inc.                                         $0.00
     Distributing Co.                                                                                                     18, 2018
                                                                                                                          Employment Agreement, dated
3834 Thomas Hebert                          2575 Tupelo Ave Mims FL 32754                  Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                          September 13, 2021
                                                                                                                          Employment Agreement, dated
3835 Thomas Llewellyn R                     1232 Belhaven Ln Ponte Vedra FL 32081          Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                          November 29, 2021
                                                                                                                          Employment Agreement, dated
3836 Thomas Marincovich                     1909 Blue Sage Ct Brandon FL 33511             Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                          February 21, 2022
                                                                                                                          Employment Agreement, dated
3837 Thomas McAlister II Preston            7937 Roswell Rd Apt A Sandy Springs GA 30350 Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                          August 08, 2022
                                                                                                                          Employment Agreement, dated
3838 Thomas Perez Anthony                   10236 West Preston Ln Tolleson AZ 85353        Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                          February 13, 2017
                                                                                                                          Employment Agreement, dated
3839 Thomas Principe Santino                1616 Aspen Meadows Dr Henderson NV 89014 Vital Pharmaceuticals, Inc.                                               $0.00
                                                                                                                          December 08, 2021
                                                                                                                          Employee Placement Agreement,
3840 Thompson Legal Services, Inc.          799 Brickell Plaza Suite 603 Miami FL 33131    Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                          dated September 22, 2008
                                            Attn: Marketing Implementation Manager                                        Indemnification Agreement, dated
3841 Thorntons Inc.                                                                     Vital Pharmaceuticals, Inc.                                            $0.00
                                            2600 James Thornton Way Louisville KY 40245                                   January 03, 2019
     Three Lakes Distributing dba                                                                                         Exclusive Distribution Agreement
                                         Attn: Ryan O'Connor 1515 E 4th St Little Rock
3842 O'Connor Distributing- Three Lakes                                                    Vital Pharmaceuticals, Inc.    (Hard Seltzer), dated November 11, $0.00
                                         AR 72202
     Division                                                                                                             2021
     Three Rivers Distributing, LLC dba                                                                                   Exclusive Distribution Agreement
                                         Attn: Ryan O'Connor 1515 E 4th St Little Rock
3843 O'Connor Distributing- Three Rivers                                                   Vital Pharmaceuticals, Inc.    (Hard Seltzer), dated November 11, $0.00
                                         AR 72202
     Division                                                                                                             2021
                                                                                                                          Employment Agreement, dated
3844 Tia McCall Nakesha                     PO Box 266824 Weston FL 33326                  Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                          February 01, 2021
                                                                                                                          Elite Team Agreement, dated August
3845                                                                                       Vital Pharmaceuticals, Inc.
                                                                                                                          30, 2017
                                                                                                                          Elite Team Agreement, dated May
3846                                                                                       Vital Pharmaceuticals, Inc.
                                                                                                                          11, 2018
                                                                                                                          Employment Agreement, dated
3847 Tiffany Hallich Nicole                 16439 NW 16th St Pembroke Pines FL 33028       Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                          December 23, 2019
                                                                                                                          Model Release and Affidavit, dated
3848                                                                                       Vital Pharmaceuticals, Inc.
                                                                                                                          May 10, 2011
                                                                                                                          Employment Agreement, dated June
3849 Timothy Amko Paul                      7383 Southwest 9th Ct Plantation FL 33317      Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                          14, 2021
                                            c/o Schian Walker P.L.C 1850 North Central                                    Settlement Agreement, dated
3850 Timothy H. Shaffer                                                                    Vital Pharmaceuticals, Inc.                                        $0.00
                                            Avenue Suite 900 Phoenix AZ 85004-4531                                        November 26, 2014
                                                                                                                          Employment Agreement, dated
3851 Timothy Hodges Jacob                   6968 Clarkridge Dr Apt 302 Dallas TX 75236     Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                          August 07, 2017
                                            6325 Chadmore Ln Sw Ocean Isle Beach NC                                       Employment Agreement, dated May
3852 Timothy Kotowski Jay                                                                  Vital Pharmaceuticals, Inc.                                        $0.00
                                            28469                                                                         16, 2022
                                                                                                                          Employment Agreement, dated
3853 Tina Carter Michelle                   7913 Footman Way Raleigh NC 27615              Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                          October 04, 2021
                                                                                                                          Elite Team Agreement, dated January
3854                                                                                       Vital Pharmaceuticals, Inc.
                                                                                                                          01, 2018
                                                                                                                          Employment Agreement, dated
3855 Tino Sangster St George                306 Forrest Crest Ct Ocoee FL 34761            Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                          November 02, 2020
                                                                                                                          Confidentiality and Non-Disclosure
       Tipton Mills Foods, LLC • d/b/a                                                     Vital Pharmaceuticals, Inc.,
3856                                        835 S Mapleton Street Columbus IN 47201                                       Agreement, dated September 16,      $0.00
       Tipton Mills                                                                        d/b/a Bang Energy
                                                                                                                          2021
                                                                                                                          Confidentiality and Non-Disclosure
       Tipton Mills Foods, LLC dba Tipton                                                  Vital Pharmaceuticals, Inc.
3857                                        835 S Mapleton Street Columbus IN 47201                                       Agreement, dated September 09,      $0.00
       Mills                                                                               dba Bang Energy
                                                                                                                          2021
                                            Herikerbergweg 238 1101 CM Amsterdam
                                                                                           Vital Pharmaceuticals, Inc.,   Confidentiality and Non-Disclosure
3858 TMF Group B.V.                         Netherlands, registered with the Kamer van                                                                         $0.00
                                                                                           d/b/a Bang Energy              Agreement, dated January 25, 2022
                                            Koophandel under number KvK 34210962
                                                                                           Vital Pharmaceuticals, Inc.,   Confidentiality and Non-Disclosure
3859 TMF USA Inc.                           80 SW 8th Street Suite 2900 Miami FL 33130                                                                         $0.00
                                                                                           d/b/a Bang Energy              Agreement, dated January 13, 2022
                                    Case 1129
                                         22-17842-PDR
                                              E Dominguez Street Ste KDoc
                                                                      Carson1658
                                                                            CA   VitalFiled  07/14/23
                                                                                       Pharmaceuticals,        Page 261
                                                                                                        Inc. Confidentiality      of 279
                                                                                                                             and Non-Disclosure
3860 TNC Promotional Marketing, LLC                                                                                                                            $0.00
                                            90746                                           dba Bang Energy                Agreement, dated July 09, 2020
                                            3111 N University Drive Suite 105 Coral Springs Vital Pharmaceuticals, Inc.,   Confidentiality and Non-Disclosure
3861 TOK Corp                                                                                                                                                  $0.00
                                            FL 33065                                        d/b/a Bang Energy              Agreement, dated June 15, 2020
                                                                                                                           Employment Agreement, dated July
3862 Tomasz Leszczynski T                   104 Hillvue Dr Seven Fields PA 16046            Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                           19, 2021
                                                                                                                           Employment Agreement, dated July
3863 Tommy Ruelas Michael Richard           7242 West College Dr Phoenix AZ 85033           Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                           12, 2021
                                                                                                                           Employment Agreement, dated April
3864 Toney Freeman                          655 S. Preston Court Alpharetta GA 30022        Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                           23, 2003
                                                                                                                           Elite Team Agreement, dated
3865                                                                                        Vital Pharmaceuticals, Inc.
                                                                                                                           February 09, 2018
                                                                                                                           Select Team Agreement, dated
3866                                                                                        Vital Pharmaceuticals, Inc.
                                                                                                                           February 14, 2019
                                                                                                                           Brand Ambassador Agreement, dated
3867                                                                                        Vital Pharmaceuticals, Inc.
                                                                                                                           November 01, 2021
                                            4720 Baileys Lake Rd Nw Apt 104 Concord NC                                     Employment Agreement, dated
3868 Torrey Kyles A                                                                         Vital Pharmaceuticals, Inc.                                        $0.00
                                            28027                                                                          January 20, 2020
                                                                                                                           Confidentiality and Non-Disclosure
                                                                                            Vital Pharmaceuticals, Inc.
3869 Total Quality Logistics, LLC           4289 Ivy Pointe Blvd Cincinnati OH 45245                                       Agreement, dated December 15,       $0.00
                                                                                            dba Bang Energy
                                                                                                                           2021
                                                                                                                           Customer Application, dated
3870 Total Quality Logistics, LLC TQL       PO Box 634558, Cincinnati, OH 45263             Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                           November 07, 2019
                                            3100 3rd Ave. P.O.Box 3527 Mankato MN                                          Distributor Agreement, dated August
3871 Tow Distributing Corporation                                                           Vital Pharmaceuticals, Inc.                                        $0.00
                                            56002                                                                          21, 2018
                                                                                                                           Exclusive Distribution Agreement
                                            3100 3RD AVE / MANKATO MN 56001-2728 /
3872 Tow Distributing Corporation                                                           Vital Pharmaceuticals, Inc.    Reinstatement, dated October 19,    $0.00
                                            US
                                                                                                                           2022
                                                                                                                           Exclusive Promotional Modeling
3873                                                                                        Vital Pharmaceuticals, Inc.
                                                                                                                           Contract, dated September 06, 2013
3874 Transportation Alliance Bank Inc.      4185 Harrison Blvd Ogden UT 84403               Vital Pharmaceuticals, Inc.    Confidentiality Agreement              $0.00
                                                                                                                           Confidentiality and Non-Disclosure
       Transportation Management            18450 Pines Boulevard Ste 203 Pembroke          Vital Pharmaceuticals, Inc.,
3875                                                                                                                       Agreement, dated November 08,          $0.00
       Solutions, Inc.                      Pines FL 33029                                  d/b/a Bang Energy
                                                                                                                           2021
                                                                                                                           Confidentiality/Disclosure/Registratio
                                            2121 Vista Pkwy
3876 Transworld Business Brokers, LLC                                                       Vital Pharmaceuticals, Inc.    n Agreement (TWCA), dated July 19, $0.00
                                            West Palm Beach, Florida 33411
                                                                                                                           2016
     Travelers Property Casualty
3877                                        PO Box 660317 / Dallas TX 75266-0317 / US       Vital Pharmaceuticals, Inc.    Product/Service Agreement              $0.00
     Company of America
     Travelers Property Casualty                                                                                           Boiler & Machinery Insurance Policy,
3878                                        1 Tower Sq, Hartford, CT, 06183                 Vital Pharmaceuticals, Inc.                                           $0.00
     Company of America                                                                                                    dated May 31, 2023
                                                                                                                           Employment Agreement, dated
3879 Travis Deal Allen                      5115 63rd St San Diego CA 92115                 Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                           February 13, 2019
                                                                                                                           Elite Team Agreement, dated March
3880                                                                                        Vital Pharmaceuticals, Inc.
                                                                                                                           27, 2018
                                                                                                                           Employment Agreement, dated
3881 Travis Hendrix Scot                    7078 Post Rd Winston GA 30187                   Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                           August 08, 2022
                                                                                            Vital Pharmaceuticals, Inc.,   Confidentiality and Non-Disclosure
3882 Trekker Logistics, LLC                 8122 Bunkum Rd Caseyville IL 62232                                                                                    $0.00
                                                                                            d/b/a Bang Energy              Agreement, dated August 11, 2020
3883                                                                                        Vital Pharmaceuticals, Inc.    Elite Agreement, dated June 07, 2019
                                                                                                                           Employment Agreement, dated May
3884 Trevor Guthrie                         7816 Southside Blvd 187 Jacksonville FL 32256 Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                           26, 2020
                                            Attn: Peter H. Heimark, President 12065 E. Pike                                Distributor Agreement, dated April
3885 Triangle Distributing Co.                                                              Vital Pharmaceuticals, Inc.                                       $0.00
                                            Street Santa Fe Springs CA 90670                                               09, 2018
                                            Ryland Thomas 612 Industrial Park Drive                                        Distributor Agreement, dated
3886 Tri-Cities Beverage Corp.                                                              Vital Pharmaceuticals, Inc.                                       $0.00
                                            Newport News VA 23608                                                          September 03, 2008
                                                                                                                           Triller Influencer Network Brand
3887                                                                                        Vital Pharmaceuticals, Inc.    Promotion Agreement, dated
                                                                                                                           September 20, 2018
3888 Trilliant Food & Nutrition, LLC        1101 Moasis Drive / Little Chute WI 54140 / US Vital Pharmaceuticals, Inc.     Co-manufacturing Agreement             $0.00
                                            Attn: Ken Bachey 201 Milford Pkwy Milford OH
3889 Tri-State Juice Company                                                             Vital Pharmaceuticals, Inc.       Distributor Agreement, dated 2008      $0.00
                                            45150
                                                                                                                           Elite Team Agreement, dated
3890                                                                                        Vital Pharmaceuticals, Inc.
                                                                                                                           November 20, 2017
                                            23675 Southwest 120th Ave Homestead FL                                         Employment Agreement, dated
3891 Tristen Ferguson Robert                                                                Vital Pharmaceuticals, Inc.                                           $0.00
                                            33032                                                                          October 29, 2021
                                                                                                                           Employment Agreement, dated
3892 Tristian Scott L                       1123 Junipero St 3 Long Beach CA 90804          Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                           November 30, 2021
                                                                                                                           Employment Agreement, dated
3893 Troy Boone Matthew                     6313 Spring HouSE Place Bridgeville PA 15017    Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                           January 31, 2022
                                                                                                                           Employment Agreement, dated
3894 Troy Seydel S                          3145 Poppy St West Sacramento CA 95691          Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                           August 08, 2022
                                 Case 43
                                      22-17842-PDR                 Doc
                                         Mons Street Condell Park NSW 22001658 VitalFiled  07/14/23
                                                                                     Pharmaceuticals,         Page 262 of 279
                                                                                                      Inc., Non-Disclosure/Confidentiality
3895 Tru Blu Beverages Pty Ltd                                                                                                                               $0.00
                                         Australia                                   d/b/a/ VPX/REDLINE                Agreement, dated March 13, 2018
                                                                                     Vital Pharmaceuticals, Inc.,      Confidentiality and Non-Disclosure
3896 Tulip Interfaces, Inc.              561 Windsor St Ste B204 Somerville MA 02143                                                                         $0.00
                                                                                     d/b/a Bang Energy                 Agreement, dated 2020
                                                                                                                       Contract Videographer Agreement,
3897                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                       dated February 13, 2018
                                                                                                                       Settlement Agreement, dated
3898 TWI Group, LLC                      PO Box 60086 Las Vegas NV 89160                Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                       October 24, 2018
                                                                                                                       Elite Team Agreement, dated
3899                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                       September 12, 2018
                                         Attn: Retail Contract Administration 6555                                     Base Contract for Supply of
3900 TXU Energy Retail Company LLC                                                      Vital Pharmaceuticals, Inc.                                          $0.00
                                         Sierra Drive 1-W-1 Irving TX 75039                                            Electricity, dated August 23, 2019
                                                                                                                       Employment Agreement, dated
3901 Ty Meissner Jason                   18149 Rachael Dr Sandy OR 97055                Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                       March 11, 2019
                                                                                                                       Employment Agreement, dated June
3902 Tyler Bullerwell Austin             8678 Falling Blue Place Riverview FL 33578     Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                       14, 2021
                                                                                                                       Employment Agreement, dated
3903 Tyler Nobis Dwayne                  30 W Carter Dr 7-206 Tempe AZ 85282            Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                       November 29, 2021
                                         Jim Tyler 2100 Park Street Muskegon Heights                                   Exclusive Distribution Agreement ,
3904 Tyler Sales Company, Inc.                                                          Vital Pharmaceuticals, Inc.                                          $0.00
                                         MI 49444                                                                      dated January 29, 2021
                                                                                                                       Exclusive Distribution Agreement
                                         Jim Tyler 2100 Park Street Muskegon Heights
3905 Tyler Sales Company, Inc.                                                          Vital Pharmaceuticals, Inc.    (Hard Seltzer), dated January 29,     $0.00
                                         MI 49444
                                                                                                                       2021
                                                                                                                       Employment Agreement, dated
3906 Tyson Harper Leigh                  12803 Orpington St Orlando FL 32826            Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                       March 28, 2022
     U.S. Customs and Border Protection
                                                                                                                       U.S. Power of Attorney (POA), dated
3907 Bureau for Livingston International, 670 Young St Tonawanda NY 14150-4403          Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                       March 15, 2019
     Inc.
                                                                                                                       Distributor Agreement, dated
3908 UB Distributors, LLC.               1213-1217 Grand Street Brooklyn NY 11211       Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                       December 05, 2018
                                                                                                                       Invoice for Annual Subscription
3909 UL Verification Services Inc.       333 Pfingsten Rd, Northbrook, IL 60062-2002    Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                       Services, dated July 05, 2023
                                                                                                                       Elite Team Agreement, dated April
3910                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                       08, 2018
                                         Steven Shapiro 299 Broadway Suite 1700 New                                    Retainer Agreement, dated April 15,
3911 Ullman, Shapiro & Ullman, LLP                                                  Vital Pharmaceuticals, Inc.                                              $0.00
                                         York NY 10007                                                                 2011
                                         333 City Blvd. West, Suite 100 Orange CA                                      General Release, dated September
3912 Ultimate Staffing Services LP                                                  Vital Pharmaceuticals, Inc.                                              $0.00
                                         92868                                                                         15, 2014
                                                                                                                       RENTAL AGREEMENT - FLORIDA ,
3913 Uncle Bob's Management, LLC         6467 Main Street Williamsville NY 14221        Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                       dated January 14, 2016
                                                                                                                       ﻿SETTLEMENT AGREEMENT, dated
3914 Under Armour, Inc.,                 1020 Hull Street Baltimore MD 21230            Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                        January 23, 2015
                                      Sean Pierce 750 Columbia Street Brea CA                                           Delinquent Account, dated October
3915 Underground Beverage Brands, LLC                                                   Vital Pharmaceuticals, Inc.                                          $0.00
                                      92821                                                                             07, 2011
                                                                                        Vital Pharmaceuticals, Inc.,    Confidentiality and Non-Disclosure
3916 UNIBEV LIMITED                      222 Marcus Garvey Dr Kingston 11 Jamaica                                                                            $0.00
                                                                                        d/b/a Bang Energy               Agreement, dated January 12, 2022
3917 UniChem                             1905 S Lynx Ave Ontario CA 91761-8055          Vital Pharmaceuticals, Inc.    Application for Credit Terms          $0.00
                                                                                                                       USG Performance Ads & Promotions,
3918 Unified Strategies Group, Inc.      1000 Village Dr Suite 200 Greensburg PA 15601 Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                       dated October 01, 2019

       UNION OF ORTHODOX JEWISH                                                                                        LETTER OF KOSHER CERTIFICATION,
3919                                     40 Rector St 4th Floor New York NY 10006       Vital Pharmaceuticals, Inc.                                          $0.00
       CONGREGATIONS OF AMERICA                                                                                        dated December 28, 2018
     Union of Orthodox Jewish
                                        Rabbi YAtzchok Mincer 11 Broadway New York                                     AGREEMENT, dated November 01,
3920 Congregations of America, Kashruth                                            Vital Pharmaceuticals, Inc.                                               $0.00
                                        NY 10004                                                                       2018
     Division
                                                                                                                       United States Food and Drug
3921 United                              PO Box 1214 Charlotte NC 28201-1214            Vital Pharmaceuticals, Inc.    Administration Consumer Complaint $0.00
                                                                                                                       / Injury Report, dated July 17, 2019
                                                                                                                       Exclusive Distribution Agreement,
3922 United Beverage, Inc.               Cody Drake PO Box 818 Hickory NC 28603         Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                       dated February 03, 2021
                                                                                                                       Exclusive Distribution Agreement,
3923 United Beverage, Inc.               Cody Drake PO Box 818 Hickory NC 28603         Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                       dated November 08, 2021
                                                                                                                       MUTUAL NON-DISCLOSURE
       United Data Technologies, Inc.    2900 Monarch Lakes Blvd, Suite 300
3924                                                                                    Vital Pharmaceuticals, Inc.    AGREEMENT, dated November 05,         $0.00
       d/b/a UDT                         Miramar, FL 33027
                                                                                                                       2019
                                                                                                                       Distributor Agreement, dated
3925 United Distributing, Inc.           5500 United Drive Smyrna GA 30082              Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                       October 28, 2008
                                         Mike Mulder 5500 United Drive Smyrna GA                                       Exclusive Distribution Agreement,
3926 United Distributors, Inc.                                                          Vital Pharmaceuticals, Inc.                                          $0.00
                                         30082                                                                         dated March 25, 2021
                                                                                                                       Administrative Services Agreement,
                                         3100 S.W. 145th Ave 2nd Floor / Miramar FL
3927 United HealthCare Services, Inc.                                                   Vital Pharmaceuticals, Inc.    Contract No. 916825, dated January    $0.00
                                         33027 / US
                                                                                                                       01, 2020
                                         3100 S.W. 145th Ave 2nd Floor / Miramar FL                                    Financial Renewal and Terms
3928 United HealthCare Services, Inc.                                                   Vital Pharmaceuticals, Inc.                                          $0.00
                                         33027 / US                                                                    Amendment, dated May 27, 2022
                                  Case 22-17842-PDR                    Doc 1658             Filed 07/14/23 Financial
                                                                                                              Page      263andofTerms
                                                                                                                     Renewal      279
                                         3100 S.W. 145th Ave 2nd Floor / Miramar FL
3929 United HealthCare Services, Inc.                                                   Vital Pharmaceuticals, Inc.    Amendment, dated February 14,          $0.00
                                         33027 / US
                                                                                                                       2023
                                                                                                                       Supplier Agreement, dated January
3930 United Natural Foods, Inc.          313 Iron Horse Way Providence RI 02908         Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                       26, 2016
                                                                                                                        Distributorship Authorization , dated
3931 United Wholesale & Nutrition LLC    9102 NW 106TH ST Medley FL 33178               Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                       January 22, 2015
     UnitedHealthcare Insurance          3100 S.W. 145th Ave 2nd Floor / Miramar FL                                    Stop Loss Policy, GA-916825AL, dated
3932                                                                                    Vital Pharmaceuticals, Inc.                                           $0.00
     Company                             33027 / US                                                                    January 01, 2020
     United-Johnson Brothers of          President 6000 Greenwood Parkway, Suite 100                                   Exclusive Distribution Agreement,
3933                                                                                    Vital Pharmaceuticals, Inc.                                           $0.00
     Alabama, LLC                        Bessemer AL 35022                                                             dated April 06, 2021
                                         University of Oklahoma 1401 Asp Avenue                                        Research Agreement, dated April 01,
3934 University of Oklahoma                                                             Vital Pharmaceuticals, Inc.                                           $0.00
                                         Room 109 Norman OK 73019                                                      2008
                                         307 University Blvd N, AD-200 Mobile AL 36688-                                Amendment 2 to University Service
3935 University of South Alabama                                                        Vital Pharmaceuticals, Inc.                                           $0.00
                                         0002                                                                          Agreement, dated March 22, 2018
                                         307 University Blvd N, AD-200 Mobile AL 36688-                                Material Transfer Agreement, dated
3936 University of South Alabama                                                        Vital Pharmaceuticals, Inc.                                           $0.00
                                         0002                                                                          June 08, 2016
                                         307 University Blvd N, AD-200 Mobile AL 36688-                                SERVICE AGREEMENT, dated October
3937 University of South Alabama                                                        Vital Pharmaceuticals, Inc.                                           $0.00
                                         0002                                                                          14, 2016
                                                                                                                       Confidentiality & Non-Circumvention
                                         200 Summit Lake Drive Suite 350 Valhalla NY    Vital Pharmaceuticals, Inc.,
3938 USI Insurance Services, LLC                                                                                       Agreement, dated September 30,         $0.00
                                         10595                                          d/b/a VPX Sports
                                                                                                                       2017
                                         Andrew Dervin 28839 Industry Drive Valencia                                   Specialty License Agreement, dated
3939 Valencia Pipe Company, Inc.                                                        Vital Pharmaceuticals, Inc.                                           $0.00
                                         CA 91355                                                                      May 03, 2019
                                                                                                                       Employment Agreement, dated
3940 Valentina Mata V                    14608 Murfield Ct Charlotte NC 28278           Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                       March 07, 2022
                                                                                                                       Brand Ambassador (Local Team)
3941                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                       Agreement, dated April 26, 2017
                                                                                                                       Elite Team Agreement, dated
3942                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                       February 09, 2018
                                                                                                                       Elite Team Agreement, dated
3943                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                       February 03, 2018
                                                                                                                       Brand Ambassador (Local Team)
3944                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                       Agreement, dated April 08, 2017
3945                                                                                    Vital Pharmaceuticals, Inc.    Elite Agreement, dated May 21, 2019

                                         Hacienda de Temixco 18 Bosques de Echegaray Vital Pharmaceuticals, Inc.,      Confidentiality and Non-Disclosure
3946 Valle Redondo SA de CV                                                                                                                               $0.00
                                         Naucalpan de Juarez Estado de Mexico 53310 d/b/a Bang Energy                  Agreement, dated February 03, 2022
                                         Michael Runser PO Boc 2007 Lewiston ME                                        Exclusive Distribution Agreement,
3947 Valley Distributors, Inc.                                                          Vital Pharmaceuticals, Inc.                                           $0.00
                                         04241                                                                         dated August 17, 2021
                                                                                                                       Distributor Agreement, dated
3948 Valley Sales Company, Inc.          1218 8th Street SE Jamestown ND 58401          Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                       October 17, 2018
                                                                                                                       Rental Agreement, dated January 15,
3949 Valrico Mini Storage                2108 Jelane Dr Valrico FL 33594                Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                       2016
                                                                                                                       Employment Agreement, dated
3950 Vanessa Coatney Ann                 405 Kayla St Troy TX 76579                     Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                       October 26, 2020
                                                                                                                       Employment Agreement, dated
3951 Vanessa De La Torre Elizabeth       2560 Southwest 140th Ave Miami FL 33175        Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                       January 20, 2020
                                                                                                                       Photographer Agreement, dated
3952                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                       October 10, 2014
                                                                                                                       Elite Agreement, dated November
3953                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                       01, 2021
                                                                                                                       Elite Agreement, dated November
3954                                                                                    Quash Seltzer, LLC
                                                                                                                       01, 2021
                                                                                                                       Elite Team Agreement, dated
3955                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                       December 14, 2017
                                                                                                                       Co-Packing Agreement, dated
3956 Varni Brothers Corporation          400 Hosmer Avenue Modesto CA 95351             Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                       January 30, 2019
                                                                                                                       Addendum to Co-Packing Addendum
3957 Varni Brothers Corporation          400 Hosmer Avenue Modesto CA 95351             Vital Pharmaceuticals, Inc.    for Sleeving Services, dated July 18, $0.00
                                                                                                                       2022
                                                                                        Vital Pharmaceuticals, Inc.,   Confidentiality and Non-Disclosure
3958 Varni Brothers Corporation          400 Hosmer Avenue Modesto CA 95351                                                                                   $0.00
                                                                                        d/b/a Bang Energy              Agreement, dated August 23, 2018
                                         Andrew Kowalich 5310 Warren Road #9            JHO Intellectual Property      Exhibit A - Form of Letter of Consent,
3959 Vaxxen Labs, Inc.                                                                                                                                        $0.00
                                         Cortland OH 44410                              Holdings, LLC                  dated May 16, 2019
                                         Andrew Kowalich 5310 Warren Road #9            JHO Intellectual Property      Coexistence Agreement, dated June
3960 Vaxxen Labs, Inc.                                                                                                                                        $0.00
                                         Cortland OH 44410                              Holdings, LLC                  07, 2019
                                         11 Penn Plaza 5th Floor Suite 5105 New York                                   Non Disclosure and Confidentiality
3961 Vedeqsa, Inc.                                                                      Vital Pharmaceuticals, Inc.                                           $0.00
                                         NY 10001                                                                      Agreement
                                         Marc J. Keston 3355 Las Vegas Boulevard                                       Agreement, dated September 11,
3962 Venetian Casino Resort, LLC,                                                       Vital Pharmaceuticals, Inc.                                           $0.00
                                         South Las Vegas NV 89109                                                      2019
     Venture South Distributors, Inc.
                                        Mitch Wattens 104 Crandon Blvd Key Biscayne                                    Exclusive Distribution Agreement,
3963 d/b/a Watkins Distributing Sales &                                             Vital Pharmaceuticals, Inc.                                              $0.00
                                        FL 33149                                                                       dated March 26, 2021
     Service; CentennIal Distributing
                                   Case 22-17842-PDR Doc 1658 VitalFiled
       Venture Transportation Partners                                                             07/14/23
                                                                                             Pharmaceuticals,          Page 264
                                                                                                              Inc., Confidentiality       of 279
                                                                                                                                    and Non-Disclosure
3964                                        1101 Harding Ct Indianapolis IN 46268                                                                       $0.00
       LLC                                                                             d/b/a Bang Energy            Agreement, dated 2020
       Verizon Business Network Services                                                                            Amendment to US Services
3965                                        PO Box 15069 Albany NY 12212               Vital Pharmaceuticals, Inc.                                      $0.00
       Inc                                                                                                          Agreement
       Verizon Business Network Services Shawn Harrs One Verizon Way Basking Ridge                                  Non-Disclosure Agreement, dated
3966                                                                                   Vital Pharmaceuticals, Inc.                                      $0.00
       Inc                                  NJ 07920                                                                October 01, 2019
                                                                                                                    Select Agreement, dated January 01,
3967                                                                                   Vital Pharmaceuticals, Inc.
                                                                                                                    2021
                                            PO Box 358 Dulwich Hill New South Wales    Vital Pharmaceuticals, Inc., Confidentiality and Non-Disclosure
3968   Veslos Pty. Ltd.                                                                                                                                 $0.00
                                            Australia                                  d/b/a Bang Energy            Agreement, dated June 18, 2019
                                                                                                                    Employment Agreement, dated
3969   Victor La Tempa J                    7642 East Boise St Mesa AZ 85207           Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                    March 08, 2021
                                                                                                                    Employment Agreement, dated
3970   Victoria Austin Yurievna             209 West Riverbend Dr Sunrise FL 33326     Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                    October 04, 2021
                                                                                                                    Employment Agreement, dated July
3971   Victoria Ballanti                    3924 Osprey Ct Weston FL 33331             Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                    06, 2020
                                                                                                                    Modeling Agreement, dated May 04,
3972                                                                                   Vital Pharmaceuticals, Inc.
                                                                                                                    2014
                                                                                                                    Brand Ambassador (Select Team)
3973                                                                                   Vital Pharmaceuticals, Inc. Agreement, dated December 14,
                                                                                                                    2018
                                                                                                                    Select Agreement, dated January 01,
3974                                                                                   Quash Seltzer, LLC
                                                                                                                    2022
                                            1500 N. Mittel Blvd.                                                    Full Care Package Agreement, dated
3975   VideoJet                                                                        Vital Pharmaceuticals, Inc.                                      $0.00
                                            Wood Dale, IL 60191-1073                                                September 22, 2015
                                                                                                                    Independent Contractor Agreement,
3976   Vincent Joseph Russo                 608 Washington Avenue Kenilworth NJ 07003 Vital Pharmaceuticals, Inc.                                       $0.00
                                                                                                                    dated May 01, 2014
                                                                                                                    Employment Agreement, dated
3977   Vincent Milano Michael               2490 Martin Ave Bellmore NY 11710          Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                    January 03, 2022
       VIP Sports Getaway,                                                                                          Contract Agreement, dated
3978                                        104 Spinks Rd Abilene TX 79603             Vital Pharmaceuticals, Inc.                                      $0.00
       LLC                                                                                                          September 16, 2019
                                                                                                                    Employment Agreement, dated
3979   Virgil Osborn III Leroy              2616 Sands Rd Lakeland FL 33810            Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                    January 27, 2020
                                                                                                                    Exclusive Distribution Agreement,
3980   Virginia Beverage Company            306 WALLING ROAD, BRISTOL, VA 24201        Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                    dated November 14, 2022
       Virginia Eagle Distributing Company Attn: Scott Heinz 827 Lee Hwy PO Box 496                                 Distributor Agreement, dated
3981                                                                                   Vital Pharmaceuticals, Inc.                                      $0.00
       LLC                                  Verona VA 24482                                                         December 19, 2018
       Virginia Eagle Distributing Company Attn: Scott Heinz 827 Lee Hwy PO Box 496                                 Exclusive Distributor Agreement,
3982                                                                                   Vital Pharmaceuticals, Inc.                                      $0.00
       LLC                                  Verona VA 24482                                                         dated December 07, 2022
       Vista Insurance Partners of IL dba A                                                                         Insuring Agreement, dated December
3983                                        6 W Hubbard St 4th Fl Chicago IL 60610     Vital Pharmaceuticals, Inc.                                      $0.00
       J Renner & AS                                                                                                04, 2010
                                            1083 S Hiawassee Road Suite 628 Orlando FL
3984   Vitaflex                                                                        Vital Pharmaceuticals, Inc. Distributor Agreement                $0.00
                                            32835
                                                                                                                      Certificate of Election to and
     Vital Pharmaceuticals International                                                                              Incumbency of Officer of Corporation
3985                                     1600 N Park Drive Weston, FL 33326            Vital Pharmaceuticals, Inc.                                         $0.00
     Sales, Inc.                                                                                                      with Specimen Signature, dated
                                                                                                                      December 05, 2019
                                                                                                                      Elite Team Agreement, dated
3986                                                                                   Vital Pharmaceuticals, Inc.
                                                                                                                      November 15, 2018
                                                                                                                      Vitamin Shoppe Purchase
3987 Vitamin Shoppe Industries Inc.      2101 91st Street North Bergen NJ 07047        Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                      Agreement, dated March 01, 2011
                                                                                                                      Confidentiality and Non-Disclosure
                                                                                       Vital Pharmaceuticals, Inc.,
3988 Vitamin Shoppe Industries LLC       300 Harmon Meadow Blvd Secaucus NJ 07094                                     Agreement, dated September 29,       $0.00
                                                                                       d/b/a Bang Energy
                                                                                                                      2021
                                                                                                                      Freight Collect Addendum to Supply
3989 Vitamin Shoppe Industries, Inc.     2101 91St St North Bergen NJ 07047            Vital Pharmaceuticals, Inc.    Agreement, dated September 12,       $0.00
                                                                                                                      2013
       Vitamin Shoppe Procurement                                                                                     Freight Collect Addendum, dated
3990                                     2101 91St St North Bergen NJ 07047            Vital Pharmaceuticals, Inc.                                         $0.00
       Services, Inc.                                                                                                 November 16, 2015
                                                                                                                      Employment Agreement, dated June
3991 Viviana Muci Torres Eugenia         10710 NW 66th St 105 Doral FL 33178-4552      Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                      20, 2022
                                         2460 Grand Central Parkway Suite 12 Orlando                                  Talent Endorsement Agreement,
3992 VO5                                                                             Vital Pharmaceuticals, Inc.                                           $0.00
                                         FL 32839                                                                     dated May 15, 2017
       Volunteer Beer Distributing       Attn: Mike McWherter, President One                                          Distributor Agreement, dated
3993                                                                                   Vital Pharmaceuticals, Inc.                                         $0.00
       Company, Inc.                     Volunteer Place PO Box 30 Dresden TN 38225                                   September 01, 2017
                                         431 Cranbury Road Suite C East Brunswick NJ                                  Non Disclosure and Confidentiality
3994 VRM Media, Inc.                                                                   Vital Pharmaceuticals, Inc.                                         $0.00
                                         08816                                                                        Agreement, dated March 31, 2017
                                                                                                                      Employment Agreement, dated June
3995 Vyctoria Sanchez M                  10418 Wagner Way Riverside CA 92505           Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                      03, 2019
                                         Chris Trate 1130 Old Route 15 New Columbia                                   Exclusive Distribution Agreement,
3996 W.A. DeHart, Inc.                                                                 Vital Pharmaceuticals, Inc.                                         $0.00
                                         PA 17856                                                                     dated February 12, 2021
       W.H. Edwards Co., dba Midwest     Attn: Stebe Edwards - President, 421 NW                                      Foodservice Products Supplier
3997                                                                                   Vital Pharmaceuticals, Inc.                                         $0.00
       Distribution                      Capital Drive, Lee's Summit, MO 64086                                        Agreement, dated March 24, 2023
                                  Case 22-17842-PDR                     Doc 1658             Filed 07/14/23 Business
                                                                                                              Page       265 of
                                                                                                                     Agreement,    279
                                                                                                                                dated October
3998 Walgreen Co.                         200 Wilmot Road Deerfield IL 60015             Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                        24, 2019
                                                                                                                        Electronic Payments Agreement,
3999 Walgreen Co.                         200 Wilmot Road Deerfield IL 60015             Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                        dated December 12, 2018
                                                                                                                        Letter re: MELTDOWN 72 CT
                                          Attn: Scott Minger 200 Wilmot Road #2209                                      Manufactured by Vital
4000 Walgreens                                                                           Vital Pharmaceuticals, Inc.                                           $0.00
                                          Deerfield IL 60015-4681                                                       Pharmaceuticals, Inc., dated
                                                                                                                        February 10, 2012
                                          Attn: General Merchandise Manager 702 SW                                      Supplier Agreement, dated May 03,
4001 Wal-Mart Stores, Inc.                                                               Vital Pharmaceuticals, Inc.                                           $0.00
                                          8th Street Bentonville AR 72716                                               2007
                                          Attn: Jim Callaghan 1350 Pacific Pl Ferndale                                  Distributor Agreement, dated
4002 Walton Beverage Company Inc.                                                        Vital Pharmaceuticals, Inc.                                           $0.00
                                          WA 98248                                                                      November 11, 2010
                                                                                                                        ADDENDUM TO DISTRIBUTOR
4003 Walton Beverage Company, Inc.        1350 Pacific Pl Ferndale WA 98248-8985         Vital Pharmaceuticals, Inc.                                      $0.00
                                                                                                                        AGREEMENT, dated January 17, 2019
                                          General Manager 11743 Hopewell Road                                           Exclusive Distribution Agreement,
4004 Wantz Distributors, Inc.                                                            Vital Pharmaceuticals, Inc.                                        $0.00
                                          Hagerstown MA 21740                                                           dated March 03, 2021
                                                                                         Vital Pharmaceuticals, Inc.,   Confidentiality & Nondisclosure
4005 Watson Inc.                          301 Heffernan Dr West Haven CT 06516                                                                              $0.00
                                                                                         d/b/a Bang Energy              Agreement, dated August 13, 2018
                                          Attn: John Williams 2900 West First St Sanford                                Exclusive Distribution Agreement,
4006 Wayne Densch, Inc.                                                                  Vital Pharmaceuticals, Inc.                                        $0.00
                                          FL 32771                                                                      dated May 08, 2023
                                                                                                                        Exclusive Distribution Agreement,
4007 WDI LLC                              1100 Wilburn Rd Sun Prairie WI 53590           Vital Pharmaceuticals, Inc.                                        $0.00
                                                                                                                        dated February 17, 2021
       WDI LLC, d/b/a Wisconsin           Attn: Casey Trudgeon 900 Progress Way Sun                                     Distributor Agreement, dated August
4008                                                                                     Vital Pharmaceuticals, Inc.                                        $0.00
       Distributors                       Prairie WI 53590                                                              07, 2018
                                          Joseph Weinstein 410 Peters Street East
4009 Weinstein Beverage Company                                                          Vital Pharmaceuticals, Inc.    DISTRIBUTOR AGREEMENT                  $0.00
                                          Wenatchee WA 98801
                                          350 East Las Olas Blvd Fort Lauderdale FL                                     Non-Disclosure Agreement, dated
4010 Wells Fargo Bank, N.A.                                                              Vital Pharmaceuticals, Inc.                                           $0.00
                                          33301                                                                         January 17, 2019
     Wells Fargo Bank, National           Attn: Roanne Disalvatore One East Broward                                     Mortgage Modification Agreement,
4011                                                                                     Vital Pharmaceuticals, Inc.                                           $0.00
     Association                          Blvd, 2nd Floor Ft. Lauderdale FL 33301                                       dated April 30, 2013
                                                                                                                        Trainer Services Agreement, dated
4012                                                                                     Quash Seltzer, LLC
                                                                                                                        November 30, 2021
                                          Attn: Lisa Harman 650 Madison Avenue Cape                                     Distributor Agreement, dated
4013 Wendell Distributing Company Inc                                                    Vital Pharmaceuticals, Inc.                                           $0.00
                                          Charles VA 23310                                                              January 23, 2019
                                                                                         Vital Pharmaceuticals, Inc.,   Confidentiality & Non-Disclosure
4014 Werner Enterprises Inc.              14507 Frontier Rd Omaha NE 68138                                                                                     $0.00
                                                                                         d/b/a Bang Energy              Agreement, dated July 23, 2021
4015                                                                                     Vital Pharmaceuticals, Inc.    Elite Agreement, dated June 20, 2019
                                                                                                                        Employment Agreement, dated
4016 Wesley Baker Paul                    14722 Baytown Ct Huntersville NC 28078         Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                        October 28, 2019
                                          4255 Pebble Ridge Cir Apt 102 Colorado                                        Employment Agreement, dated
4017 Wesley Barnes                                                                       Vital Pharmaceuticals, Inc.                                           $0.00
                                          Springs CO 80906                                                              November 02, 2020
                                                                                                                        Employment Agreement, dated
4018 Wesley Haring James                  1200 Scotia Dr Apt 401 Hypoluxo FL 33462       Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                        December 18, 2017
                                                                                                                        Employment Agreement, dated
4019 Wesley Witter Jr. Dale               8249 West Dreyfus Dr Peoria AZ 85381           Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                        March 01, 2021
                                                                                         Vital Pharmaceuticals, Inc.,   Confidentiality and Non-Disclosure
4020 West Atlantic Logistics Corp.        227 Hwy 49 S Concord NC 28025                                                                                        $0.00
                                                                                         d/b/a Bang Energy              Agreement, dated 2020
                                                                                                                        Master Services Agreement, dated
4021 West LLC                             11808 Miracle Hills Drive Omaha NE 68154       Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                        May 29, 2019
                                       Kyle Klopcik 5400 Patterson Ave SE Grand                                         Exclusive Distribution Agreement,
4022   West Side Beer Distributing                                                       Vital Pharmaceuticals, Inc.                                           $0.00
                                       Rapids MI 49512                                                                  dated January 29, 2021
                                       4350 La Jolla Village Drive Suite 900 San Diego                                  Confidentiality and Non-Disclosure
4023   Westcore Properties, LLC                                                          Vital Pharmaceuticals, Inc.                                           $0.00
                                       CA 92122                                                                         Agreement, dated October 04, 2019
                                       Attn: Barry Galgoci 18300 NE Portal Way                                          Distributor Agreement, dated
4024   Western Beverage Company                                                          Vital Pharmaceuticals, Inc.                                           $0.00
                                       Portland OR 97230                                                                October 28, 2019
       Western Beverage LLC dba Double Attn: Barry Galgoci 18300 NE Portal Way                                          Exclusive Distribution Agreement,
4025                                                                                     Vital Pharmaceuticals, Inc.                                           $0.00
       Eagle Distribtuing              Portland OR 97230                                                                dated May 05, 2023
                                                                                                                        Exclusive Distribution Agreement,
4026 Western Distributing Company         Kirk Klungness P.O. Box 1969 Casper WY 82602 Vital Pharmaceuticals, Inc.                                             $0.00
                                                                                                                        dated February 19, 2021
                                                                                                                        Exclusive Distribution Agreement,
4027 Western Distributing Company         Kirk Klungness PO Box 1969 Casper KY 82602     Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                        dated January 14, 2021
                                          Sean M Valentine 100 Reliance Road PO Box                                     Exclusive Distribution Agreement,
4028 Western Wyoming Beverages, INC                                                      Vital Pharmaceuticals, Inc.                                           $0.00
                                          1336 Rock Springs WY 82901                                                    dated January 19, 2021
                                          Attn: Sean Valentine 100 Reliance Road Rock                                   Distributor Agreement, dated June
4029 Western Wyoming Beverages, Inc.                                                     Vital Pharmaceuticals, Inc.                                           $0.00
                                          Springs WY 82901                                                              04, 2019
                                                                                                                        Employment Agreement, dated
4030 Westley Misilagi Paul                10431 Cochran Ave Riverside CA 92505           Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                        March 16, 2020
                                                                                                                        Exclusive Promotional Modeling
4031                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                        Agreement, dated January 15, 2018
                                          2142 Van Buren St Apt 504 Hollywood FL                                        Employment Agreement, dated May
4032 Wiam Oussir                                                                       Vital Pharmaceuticals, Inc.                                             $0.00
                                          33020                                                                         21, 2020
       Wicker Smith O'Hara McCoy &        Suntrust Center Suite 1400 PO Box 14460 Fort                                  Agreement to Represent, dated
4033                                                                                   Vital Pharmaceuticals, Inc.                                             $0.00
       Ford, P.A.                         Lauderdale FL 33302                                                           March 06, 2013
                                 Case 22-17842-PDR                       Doc 1658           Filed 07/14/23 Distributor
                                                                                                              PageAgreement,
                                                                                                                       266 ofdated
                                                                                                                              279June
4034 Wil Fischer Distributing Co., Inc.    3539 W. Farm Road 142 Springfield MI 65807    Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                        15, 2018
       Wil Fischer Distributing Company,   Attn: Dr. Jeff Gower, CEO 3539 W. Farm Road                                  Distributor Agreement, dated June
4035                                                                                     Vital Pharmaceuticals, Inc.                                          $0.00
       Inc.                                142 Springfield MO 65807                                                     15, 2018
                                           Attn: Legal Department 1261 Pacific Avenue    Vital Pharmaceuticals, Inc.    Confidentiality Agreement, dated July
4036 Wild Flavors, Inc.                                                                                                                                       $0.00
                                           Erlanger KY 41018                             dba VPX/Redline                28, 2020
                                                                                                                        Employment Agreement, dated
4037 William Bauman Clyde                  5754 High Ridge Loop Lakeland FL 33812        Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                        November 08, 2021
                                                                                                                        Employment Agreement, dated
4038 William Bethel M                      597 Southwest Ray Ave Port St Lucie FL 34983 Vital Pharmaceuticals, Inc.                                           $0.00
                                                                                                                        January 14, 2019
                                                                                                                        Employment Agreement, dated
4039 William Dunwoody M                    4418 Shrewbury Pl Land O' Lakes FL 34638      Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                        August 03, 2020
                                                                                                                        Fitness Athlete Endorsement
4040                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                        Agreement, dated April 01, 2016
                                                                                                                        Videographer Agreement, dated
4041                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                        August 04, 2017
                                                                                                                        Brand Ambassador (National Team)
4042                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                        Agreement, dated January 20, 2019
                                                                                                                        Employment Agreement, dated June
4043 William Housley III Clay              106 Hillcrest Way Crandall TX 75114           Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                        01, 2021
                                                                                                                        Trainer Services Agreement, dated
4044                                                                                     Quash Seltzer, LLC
                                                                                                                        November 22, 2021
                                                                                                                        Employment Agreement, dated
4045 William Malnar Anthony                5325 Austin Rd Lake Cormorant MS 38641        Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                        September 25, 2019
                                                                                                                        Employment Agreement, dated
4046 William Mize Christopher              90 Austin Cir Oakland TN 38060                Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                        August 22, 2022
                                                                                                                        Employment Agreement, dated
4047 William Suiter A                      9160 Pomelo Rd East Ft Myers FL 33967         Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                        March 07, 2022
                                                                                                                        Employment Agreement, dated
4048 Willie Powell Jr B                    19310 Southwest 54th St Miramar FL 33029      Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                        January 02, 2019
                                           John McGinley 123 36th Street Pittsburgh PA                                  Exclusive Distribution Agreement,
4049 Wilson-McGinley, Inc                                                                Vital Pharmaceuticals, Inc.                                          $0.00
                                           15201                                                                        dated November 30, 2021
                                           Attn: Kody Winkel 2200 South Redhills Drive                                  Distributor Agreement, dated
4050 Winkel Distributing Company                                                         Vital Pharmaceuticals, Inc.                                          $0.00
                                           Richfield UT 84701                                                           November 01, 2018
                                                                                         Vital Pharmaceuticals, Inc.    Manufacturing, Confidentiality, and
4051 Winona Foods, Inc.                    1552 Lineville Road Green Bay WI 54313                                                                             $0.00
                                                                                         d/b/a VPX Sports               Non-Compete Agreement
                                                                                                                        Severance Agreement and General
4052 Winsome Kirlew                        2800 NW 199th Avenue Plantation FL 33323      Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                        Release, dated April 25, 2014
                                                                                                                        Work for Hire Agreement, dated
4053                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                        August 06, 2012
                                                                                                                        Premise Use Agreement, dated
4054 Winston Delawar Photography, LLC 8400 SW 41st Street Davie FL 33328                 Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                        September 01, 2012
                                                                                                                        Employment Agreement, dated June
4055 Winston Williams Egbert               9520 Northwest 9th Ct Plantation FL 33324     Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                        08, 2020
                                                                                                                        Confidentiality and Non-Disclosure
                                           4355 E Airport Drive Suite 104 Ontario CA     Vital Pharmaceuticals, Inc.
4056 Wirenet Communications, Inc                                                                                        Agreement, dated September 05,        $0.00
                                           91764                                         dba Bang Energy
                                                                                                                        2019
                                                                                                                        Confidentiality and Non-Disclosure
                                           4355 E Airport Dr Ste 104 Ontario 91761       Vital Pharmaceuticals, Inc.,
4057 Wirenet Communications, Inc.                                                                                       Agreement, dated September 05,        $0.00
                                           Canada                                        d/b/a Bang Energy
                                                                                                                        2019
                                                                                         Vital Pharmaceuticals, Inc.,   Confidentiality and Non-Disclosure
4058 WJW Associates, LTD.                  6952 W 12th St Jacksonville FL 32220                                                                               $0.00
                                                                                         d/b/a Bang Energy              Agreement, dated August 24, 2020
                                           Attn: Dana Wodika 25625 Southfield Rd.                                       SALES REPRESENTATIVE
4059 Wodika Devine, Inc.                                                                 Vital Pharmaceuticals, Inc.                                          $0.00
                                           Southfield MI 48075                                                          AGREEMENT, dated July 19, 2012
                                                                                                                        Confidentiality and Non-Disclosure
                                                                                         Vital Pharmaceuticals, Inc.,
4060 Wonder Lab Films, LLC                 3560 Meadow Gate Dr Muirrysville PA 15668                                    Agreement, dated September 11,        $0.00
                                                                                         d/b/a Bang Energy
                                                                                                                        2020
                                                                                                                        Equipment Order/Service
4061 Wood Business Systems                 5555 Nob Hill Road Sunrise FL 33351           Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                        Agreement, dated June 28, 2012
                                                                                                                        Commercial Lease Agreement, dated
4062 Woodberry Properties, LLC             PO Box 89188 Tampa FL 33689                   Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                        September 01, 2017
                                           3165 Brighton Henrietta Townline Rd,                                         Exclusive Distribution Agreement,
4063 Wright Beverage Distributing                                                        Vital Pharmaceuticals, Inc.                                          $0.00
                                           Rochester, NY 14623                                                          dated November 01, 2022
       Wright Enrichment, Inc. d/b/a the                                                 Vital Pharmaceuticals, Inc.,   Mutual Non-Disclosure Agreement,
4064                                       6428 Airport Road Crowley LA 70526-1365                                                                            $0.00
       Wright Group                                                                      DBA VPX/Redline                dated March 15, 2018
                                           P.O. BOX 33003 / ST PETERSBURG FL 33733-
4065 Wright National Flood Insurance                                                     Vital Pharmaceuticals, Inc.    Flood Insurance (GA)                 $0.00
                                           8003 / US
                                                                                                                        Employment Agreement, dated
4066 Xavier Guerrero                       824 Lewis St Pomona CA 91768                  Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                                        September 05, 2019
                                           104 NW 133rd Terrace Apt 201 Plantation FL                                   Employment Agreement, dated
4067 Xiaoxi Liao                                                                         Vital Pharmaceuticals, Inc.                                     $0.00
                                           33325                                                                        September 05, 2013
                                                                                                                        Brand Ambassador (National Team)
4068                                                                                     Vital Pharmaceuticals, Inc.
                                                                                                                        Agreement, dated March 29, 2017
                                                                                                                        Employment Agreement, dated June
4069 Yadelin Luzardo                       6651 Falconsgate Ave Davie FL 33331           Vital Pharmaceuticals, Inc.                                     $0.00
                                                                                                                        20, 2022
                                Case 22-17842-PDR                      Doc 1658             Filed 07/14/23 Exclusive
                                                                                                              Page      267 ofModeling
                                                                                                                     Promotional 279
4070                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                       Agreement, dated May 01, 2014
                                         Anand Swaroop 319 Enclave Lane Bedminster                                     Supply Agreement, dated June 18,
4071 Yag Mag, Inc.                                                                      Vital Pharmaceuticals, Inc.                                         $0.00
                                         NJ 07921                                                                      2008
                                                                                                                       Affiliate Member Agreement, dated
4072                                                                                    Quash Seltzer, LLC
                                                                                                                       September 26, 2021
                                                                                                                       Employment Agreement, dated April
4073 Yan Munoz Santiago K                9405 East Gobbler Dr Floral City FL 34436      Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                       12, 2021
                                                                                                                       Employment Agreement, dated
4074 Yanilis Polito-Guzman               4200 Sheridan St Apt 201 Hollywood FL 33021 Vital Pharmaceuticals, Inc.                                            $0.00
                                                                                                                       March 24, 2021
                                                                                                                       Employment Agreement, dated
4075 Yarianis Castro                     1269 West 26th Place Apt 3 Hialeah FL 33010    Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                       January 03, 2022
                                                                                                                       Elite Team Agreement, dated June
4076                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                       01, 2018
                                                                                                                       Elite Team Agreement, dated
4077                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                       October 02, 2018
                                                                                                                       Exclusive Promotional Modeling
4078                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                       Agreement, dated March 10, 2016
                                                                                                                       Employment Agreement, dated
4079 Yaylin Duran                        5583 NW 200th Ln Miami FL 33055                Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                       October 14, 2019
                                                                                                                       Employment Agreement, dated
4080 Ydalia Lubin Rosalie                10237 Northwest 7th St Coral Springs FL 33071 Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                       November 11, 2019
                                                                                                                       Elite Team Agreement, dated July 17,
4081                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                       2018
                                                                                                                       Employment Agreement, dated June
4082 Yenelipse Torres                    7301 W 29th Way Hialeah Gardens FL 33018       Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                       28, 2021
                                                                                                                       Employment Agreement, dated
4083 Yesenia Gonzalez Yeslin             Hillside Meadow Place Brandon FL 33610         Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                       January 02, 2019
                                                                                                                       Employment Agreement, dated
4084 Yessica Irizarry Nicole             9826 NW 26th St Sunrise FL 33322               Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                       January 25, 2021
                                                                                                                       CONFIDENTIALITY & NON-
       YM&U Group Ltd.                   9100 Wilshire Boulevard Suite 100W Beverly     Vital Pharmaceuticals, Inc.,
4085                                                                                                                   DISCLOSURE AGREEMENT, dated          $0.00
       (“YM&U”)                          Hills CA 90212                                 DBA Bang Energy
                                                                                                                       February 08, 2019
                                                                                                                       Employment Agreement, dated May
4086 Yneiris Maggiolo Carrera De Los A   1223 Fairlake Trace Apt 816 Weston FL 33326    Vital Pharmaceuticals, Inc.                                         $0.00
                                                                                                                       04, 2018
       Young's Market Company of
       Arizona, LLC d/b/a Republic       Thomas C. Cole 809 Jefferson Highway New                                      Exclusive Distribution Agreement,
4087                                                                                    Vital Pharmaceuticals, Inc.                                          $0.00
       National Distributing             Orleans LA 70221                                                              dated May 01, 2021
       Company of Arizona
       Young's Market Company of
       Arizona, LLC d/b/a Republic       Thomas C. Cole 809 Jefferson Highway New                                      Exclusive Distribution Agreement,
4088                                                                                    Quash Seltzer, LLC                                                   $0.00
       National Distributing             Orleans LA 70221                                                              dated May 01, 2021
       Company of Arizona
       Young's Market Company, LLC
                                         Thomas C. Cole 809 Jefferson Highway New                                      Exclusive Distribution Agreement,
4089   d/b/a Young's Market Company of                                                  Vital Pharmaceuticals, Inc.                                          $0.00
                                         Orleans LA 70221                                                              dated April 28, 2021
       Hawaii
       Young's Market Company, LLC
                                         Thomas C. Cole 809 Jefferson Highway New                                      Exclusive Distribution Agreement,
4090   d/b/a Young's Market Company of                                                  Quash Seltzer, LLC                                                   $0.00
                                         Orleans LA 70221                                                              dated April 28, 2021
       Hawaii
                                         5400 South University Drive Suite 116 Davie FL                                Retention Agreement, dated
4091 Your Collection Solution, Inc.                                                     Vital Pharmaceuticals, Inc.                                          $0.00
                                         33328                                                                         December 06, 2012
                                                                                                                       Employment Agreement, dated
4092 Yubelkis Colon                      8411 Northwest 24th Ct Sunrise FL 33322        Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                       December 30, 2019
                                                                                                                       Marketing Project X Confidentiality
4093 Yunior Sanchez                      yunior.sanchez@bangenergy.com                  Vital Pharmaceuticals, Inc.    and Non-Disclosure Agreement,         $0.00
                                                                                                                       dated September 22, 2021
                                         1127 Lake Terry Dr Apt E West Palm Beach FL                                   Employment Agreement, dated
4094 Yvens Darius                                                                       Vital Pharmaceuticals, Inc.                                          $0.00
                                         33411                                                                         February 14, 2022
                                                                                                                       Employment Agreement, dated July
4095 Yvette M Atondo                     7702 Roundrock Rd Dallas TX 75248              Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                       11, 2022
                                                                                                                       Select Agreement, dated November
4096                                                                                    Quash Seltzer, LLC
                                                                                                                       01, 2021
                                                                                                                       Employment Agreement, dated May
4097 Zachary J Lollis                    1600 N Park Dr Weston FL 33326-3278            Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                       18, 2020
                                                                                                                       Employment Agreement, dated
4098 Zachary Lindsey                     1848 Openwoods Rd Middleburg FL 32068          Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                       November 19, 2019
                                                                                                                       Employment Agreement, dated
4099 Zachary McDaniel                    23405 W Mohave St Buckeye AZ 85326             Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                       March 02, 2020
                                                                                                                       Employment Agreement, dated June
4100 Zachary Owoc John                   196 Hanging Moss Dr Oviedo FL 32765            Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                       15, 2021
                                                                                                                       Employment Agreement, dated May
4101 Zachary Reyes Charles               4625 45th Ave Se Apt C3 Lacey WA 98503-5909 Vital Pharmaceuticals, Inc.                                             $0.00
                                                                                                                       03, 2021
                                                                                                                       Model Release and Affidavit, dated
4102                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                       July 05, 2011
                                                                                                                       brand ambassador, dated March 28,
4103                                                                                    Vital Pharmaceuticals, Inc.
                                                                                                                       2018
                                Case 22-17842-PDR                    Doc 1658             Filed 07/14/23 SERVICE
                                                                                                            Page    268 ofdated
                                                                                                                 AGREEMENT, 279
4104 Zero Pack LLC                     2440 SW 67th Avenue Miami FL 33155              Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                      September 30, 2021
                                                                                                                      Employment Agreement, dated June
4105 Zhihui Zheng                      252 Aspen Way Davie FL 33325                    Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                      06, 2022
                                       Kyle Watkins 1301 Scott Street Missoula MT                                     Exclusive Distribution Agreement,
4106 Zip Inc., d/b/a Zip Beverage                                                      Vital Pharmaceuticals, Inc.                                          $0.00
                                       59802                                                                          dated November 08, 2021
                                       Kyle Watkins 1301 Scott Street Missoula MT                                     Exclusive Distribution Agreement,
4107 Zip Inc., d/b/a Zip Beverage                                                      Quash Seltzer, LLC                                                   $0.00
                                       59802                                                                          dated November 08, 2021
                                       Attn: Bill Watkins 1301 Scott Street Missoula                                  Distributor Agreement, dated April
4108 Zip, Inc., d/b/a Zip Beverage                                                     Vital Pharmaceuticals, Inc.                                          $0.00
                                       MT 59802                                                                       22, 2015
                                                                                                                      Employment Agreement, dated
4109 Zitlaly Esparza Berenice          16632 Rorimer St La Puente CA 91744             Vital Pharmaceuticals, Inc.                                          $0.00
                                                                                                                      December 01, 2021
                                                                                                                      Trainer Services Agreement, dated
4110                                                                                   Quash Seltzer, LLC
                                                                                                                      November 13, 2021
                                                                                                                      Invoice for Annual Subscription for
                                       4141 Hacienda Drive, Pleasanton, CA 94588-
4111 ZOHO Corporation                                                                  Vital Pharmaceuticals, Inc.    Endpoints Central Cloud UEM           $0.00
                                       8549
                                                                                                                      Edition, dated May 02, 2023
                                                                                       Vital Pharmaceuticals, Inc.,   Confidentiality Agreement, dated
4112 Zuffa, LLC                        6650 S Torrey Pines Dr, Las Vegas, NV 89118                                                                          $0.00
                                                                                       d/b/a Bang Energy              September 30, 2020
                                       Attn: Carlos Zumarraga 9302 NW 101 St
4113 Zuma & Sons Distributors, Corp.                                                   Vital Pharmaceuticals, Inc.    Distributor Agreement, dated 2007     $0.00
                                       Medley FL 33178
                                                                                       Vital Pharmaceuticals, Inc.    Non-Disclosure and Confidentiality
4114 Zumbro River Brand Inc.           138 West Front Street Owatonna MN 55060                                                                              $0.00
                                                                                       d/b/a VPX Sports               Agreement
4115 Zurama (Sury) Rodriguez           8301 NW 15th Ct Coral Springs FL 33071-6212 Vital Pharmaceuticals, Inc.        Employment Agreement                  $0.00
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